                    EXHIBIT A




IMPAC 10007063v.1
                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


    In re:                                                  Case No. 20-10343 (LSS)

    Boy Scouts of America and Delaware BSA, Chapter 11
    LLC,1
                                            Jointly Administered
                 Debtors.


        MOTION OF THE ROMAN CATHOLIC AD HOC COMMITTEE TO COMPEL
         THE RULE 30(b)(6) DEPOSITIONS OF (I) THE DEBTORS, (II) CENTURY,
                  (III) CHUBB, (IV) HARTFORD, AND (V) ZURICH

             The Roman Catholic Ad Hoc Committee (the “RCAHC”) hereby moves this Court (the

“Motion”) pursuant to Rules 26, 30, and 37 of the Federal Rules of Civil Procedure (the “Federal

Rules”), as made applicable by Rules 7026, 7030 and 7037 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”) and Rules 7026-1, 7030-1, and 9006-1 of the Local Rules of

Bankruptcy Practice and Procedure for the United States Bankruptcy Court for the District of

Delaware (the “Local Rules”) to compel the above-captioned debtors and debtors in possession

(the “Debtors”), Century, Chubb, Hartford, and Zurich to appear for depositions noticed pursuant

to Federal Rule 30(b)(6) (the “30(b)(6) Notices”). In support thereof, the RCAHC state as

follows:

                                                BACKGROUND

             1.    On December 14, 2021, the Mediator in these cases filed the Century and Chubb

Companies Term Sheet, which set out a fundamental reworking of the treatment of Roman

Catholic Chartered Organizations and the injunctions and releases that they were set to receive



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  The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
number are as follows: Boy Scouts of America (6300); and Delaware BSA, LLC (4311). The Debtors’ mailing
address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
under the Modified Fifth Amended Plan of Reorganization. On December 18, 2021, the Debtors

filed the Second Modified Fifth Amended Plan of Reorganization (the “Plan”) [Dckt. No. 7832].

       2.      Under both the Century Term Sheet and the Plan, Participating Charter

Organizations (or Limited Protected Parties, the terms are identical and apply only to Roman

Catholic Chartered Organizations) or Opt-Out Chartered Organizations (again, only Roman

Catholic Chartered Organizations) will have only certain Abuse Claims that asserted against

them channeled and released.

       3.      Which Abuse Claims will be channeled is not a function just of the existence of a

claim and against whom a claim is asserted (which is how channeling injunctions in all other

mass tort bankruptcies of which the RCAHC is aware have operated). Instead, under the Plan,

an Abuse Claim is channeled only in the following circumstance:

               Abuse Claims against insureds and co-insureds covered under insurance policies
               issued by the Settling Insurers shall be channeled under the Settling Insurer Policy
               Injunction and released.

Century and Chubb Companies Term Sheet, Section 11 [Dckt. No. 7745] (emphasis added).

Nearly identical language, which extends the concept to policies issued by any Settling Insurer

(as that term is defined in the Plan), is contained in the Plan. See Plan Art. I, Sections A.55, 181,

206 (definition of Channeling Injunction, Opt-Out Abuse Claims, Pre-1976 Chartered

Organization Abuse Claims) and Article X, Section F – Channeling Injunction.

       4.      In addition, Century, Chubb, and the Debtors purport to compromise, waive, and

assign — non-consensually — every past or present Roman Catholic Chartered Organization’s

rights in its own insurance policies if the policies were issued by a Settling Insurer and cover an

Abuse Claim (the “Chartered Organization Insurance Rights Impairment”). See Century and

Chubb Companies Term Sheet, Section 9. The Plan has likewise extended the definition of




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Insurance Policies to now include a Chartered Organization’s own insurance policies and thus,

the releases a Settling Insurer will receive for obligations under Insurance Policies it issued will

now extend to Roman Catholic Chartered Organizations’ own insurance policies, policies that

are not now, and never will be, part of the Debtors’ estates. See Redline of Plan, at Art. I,

Sections A. 151 [Dckt. No. 7833].

       5.      Hartford, through its most favored nation clause in Section vii of the Hartford

Term Sheet [Dckt. No. 6210] is availing itself of the same terms. The Zurich Term Sheet

contains language identical to the Century and Chubb Companies Term Sheet in all material

respects. Both Hartford and Zurich will be treated as Settling Insurers under the Plan.

       6.      As noted at the hearing on December 21, 2021, these material changes to the Plan

necessitated discovery by the RCAHC into two main questions:

                   a. What is the scope of the Channeling Injunction with respect to Roman

                       Catholic Chartered Organizations? In other words, which Abuse Claims

                       against insureds and co-insureds are covered under Insurance Policies

                       issued by the Settling Insurers?

                   b. What Insurance Policies issued to Roman Catholic Entities, not to the

                       Debtors or Local Councils, are being compromised pursuant to the Plan?

       7.      The RCAHC asked Century, Harford, and Zurich to admit or deny that policies

that they issued covered Abuse Claims against insureds and co-insureds, using the precise

language in the Century and Chubb Companies Term Sheet and the Plan. The requests for

admission directed to Century, Hartford, Zurich, and the Debtors, served on December 27, 2021,

are attached hereto as Exhibits B-1, B-2, B-3, & B-4, respectively.




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         8.       Each and every Settling Insurer objected to the requests for admission with

respect to their policies. The Debtors likewise objected and refused to admit to any Insurance

Policies providing coverage. The responses and objections of Century, Hartford, Zurich, and the

Debtors to the RCAHC’s requests for admission are attached hereto as Exhibits C-1, C-2, C-3,

& C-4, respectively.

         9.       Not one of the Settling Insurers agreed to perform a search of their own records to

identify the insurance policies issued to Roman Catholic Entities for which they seek non-

consensual releases.

         10.      Having been thwarted in its attempts to obtain this critical material in an efficient

manner, the RCAHC was forced to issue the Rule 30(b)(6) Deposition Notices on January 13,

2022. The Rule 30(b)(6) Deposition Notices for the Debtors, Century, Chubb, Hartford, and

Zurich are attached hereto as Exhibits D-1, D-2, D-3, D-4, & D-5, respectively.

         11.      All the respondents to this Motion have refused to produce witnesses other than

the Debtors. The Debtors, however, have only indicated they will provide a witness subject to

responses and objections, which they served this late evening on the RCAHC, and after holding a

meet and confer.2 An email chain between counsel to the RCAHC and the Debtors is attached


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  On January 16, 2022, the RCAHC reached out to each of the respondents to meet and confer on suitable times for
the depositions. Meet and confers with Hartford and Zurich were unsuccessful, and Hartford and Zurich have
moved to quash [Dckt. Nos. 8455 & 8497]. Hartford’s and Zurich’s motions to quash are attached hereto as
Exhibits E & F, respectively.

The Debtors, Century and Chubb did not respond to the January 16, 2022 request and Century ignored a January 23,
2022 follow up. Both Century and Chubb served responses and objections late on January 24, 2022 (though using
an extremely truncated service list that excluded the undersigned counsel, a tactic Century has employed multiple
times). Century’s and Chubb’s responses and objections are attached hereto as Exhibits G & H, respectively.

Spans of 11 and 12 days to respond (and 11 and 12 days for Hartford and Zurich to move to quash), all of which
were done just days before the January 28, 2022 fact discovery cutoff has led the RCAHC to conclude that their
good faith efforts to meet and confer will continue to go unheeded and that this Court’s intervention is necessary.
The conduct is simply not consonant with the Court’s admonition parties should not “take their foot off the gas”
with respect to discovery. (December 21, 2021 Hrg. Tr. p. 106).



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hereto as Exhibit I and the Debtors’ responses and objections to the 30(b)(6) Notice is attached

as Exhibit J. Notwithstanding the Debtors’ efforts, in the interests of time, the RCAHC must

move forward with the Motion as to the Debtors as well.

                                     RELIEF REQUESTED

        12.     The RCAHC seeks to compel the depositions of the Debtors and the Settling

Insurers pursuant to the Rule 30(b)(6) Deposition Notices and in accordance with Rule 30(b)(6),

Local Rules 7026-1 and 7030-1, and section 105(a) of the Bankruptcy Code.

                                BASIS FOR RELIEF REQUESTED

        13.     Rule 30(b)(6) provides that an “organization must…designate one or more

officers, directors, or managing agents, or designate other persons who consent to testify on its

behalf; and it may set out the matters on which each person designated will testify.” Local Rule

7030-1(b) provides that “reasonable notice” for the taking of depositions under Rule 30(b) shall

not be less than seven (7) days. Section 105(a) of the Bankruptcy Code provides the Court with

the authority to issue any order, process, or judgment that is necessary or appropriate to carry out

the provisions of this title.

        14.     The RCAHC promptly served requests for admission in connection with the Plan

and settlements reached by the Settling Insurers. When no substantive responses were

forthcoming, the RCAHC served the 30(b)(6) Notices, which seek information relevant to the

settlements and necessary to the RCAHC’s pursuit of its objections to confirmation of the Plan.

        15.     The insurance settlements that contain the terms above are all incorporated into

the Plan. The Plan seeks to approve those settlements. Collectively, they total over $1.6 billion.

Yet the Debtors and the Settling Insurers seek to avoid all discovery related to the settlements

and the Plan terms incorporating those settlements.




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       16.     So great is their desire to avoid scrutiny that not one single settlement agreement

has been disclosed to this Court or the RCAHC (and others). Indeed, the RCAHC is coming to

the conclusion that the respondents’ strategy is not to disclose the settlement agreements until

well after the confirmation hearing is underway, eliminating any ability to review the

agreements, take discovery in respect to them, or to allow parties the time to formulate

objections to those settlements – ambushing this Court and any party that objects to the Plan.

       17.     The respondents offer a series of limpid responses. Hartford and Zurich plead

that they did not negotiate the language that revised the Channeling Injunction and releases. Yet

they demand to be in the tent of the protections afforded under those provisions.

       18.     The Debtors, Century, and Chubb argue that policy coverage issues are irrelevant

and outside the scope of what this Court will decide. Yet the scope Channeling Injunction is

entirely dependent on what policies provide coverage – language they collectively drafted.

Indeed, Debtors’ own feasibility expert expressly relied on the Century and Chubb Term Sheet

and the Plan in his rebuttal report supporting his feasibility opinion, including specifically the

“covered under insurance policies” language.

       19.     The Settling Insurers plead that Century’s paragraph 11 and the Plan require a

legal conclusion about coverage. It is amazing that sophisticated insurance carriers refuse to

answer the very question that they have posed to the Court.

       20.     It is frankly unfathomable that these parties propose that the Court enter a

channeling injunction without providing the Court with on scintilla of information about the

actual scope of the injunction.




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       21.     Likewise, the Debtors and the Settling Insurers propose that this Court authorize

an unprecedented raid on the rights of non-debtors in property over which this Court has no

jurisdiction yet will not tell the RCAHC or the Court exactly what property is implicated.

       22.     Thus, the RCAHC requests the following relief:

                  a. Compel Century, Chubb, Hartford, and Zurich to appear to answer all

                      topics noted in the Rule 30(b)(6) Deposition Notices by February 8, 2022,

                      with no more than one deposition per day.

                  b. To the extent that a Settling Insurer’s finalized settlement agreement is not

                      filed on the docket at least forty-eight (48) hours prior to the start of a

                      deposition, the RCAHC shall have the right to re-open the Settling Insurer

                      on the next day on which there are no depositions scheduled, provided that

                      the RCAHC has at least forty-eight hours to review the settlement

                      agreement.

                  c. The Debtors shall sit for their deposition the day following the conclusion

                      of the depositions for Century, Chubb, Hartford, and Zurich.

                  d. Extend the RCAHC’s deadline to object to the Plan until five (5) days

                      after all the depositions have been completed.

                        LOCAL RULE 7026-1(d) CERTIFICATION

       23.     The undersigned counsel certifies that the RCAHC has made reasonable efforts to

reach an agreement with the opposing parties regarding the relief requested herein, but no

agreement has been reached at this time. The undersigned counsel further certifies to those

efforts reflected in paragraph 11 and footnote 2 above. The RCAHC will continue to attempt to




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resolve and/or narrow the issues related to the Motion, but believe that the Court’s intervention is

necessary at this time.

         WHEREFORE, the RCAHC respectfully request that the Court enter an order, in the

form substantially attached hereto as Exhibit A, granting the relief requested, and for such other

and further relief as the Court deems just and proper.

 Dated: January 25, 2022                     POTTER ANDERSON & CORROON LLP
 Wilmington, Delaware
                                             /s/ Jeremy W. Ryan
                                             Jeremy W. Ryan (Bar No. 4057)
                                             Aaron H. Stulman (Bar No. 5807)
                                             1313 N. Market Street, 6th Floor
                                             Wilmington, DE 19801-6108
                                             Telephone: (302) 984-6000
                                             Facsimile: (302) 658-1192
                                             Email: jryan@potteranderson.com
                                                     astulman@potteranderson.com

                                             - and -

                                             SCHIFF HARDIN LLP

                                             Everett Cygal, admitted pro hac vice
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                                             Counsel for the Roman Catholic Ad Hoc Committee




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IMPAC - 10006522v.4 01/25/2022 9:55 PM
EXHIBIT A
                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


    In re:                                                   Case No. 20-10343 (LSS)

    Boy Scouts of America and Delaware BSA, Chapter 11
    LLC,1
                                            Jointly Administered
                 Debtors.
                                                             Re: Docket No. ____

     ORDER COMPELLING THE RULE 30(B)(6) DEPOSITIONS OF (I) THE DEBTORS,
           (II) CENTURY, (III) CHUBB, (IV) HARTFORD, AND (V) ZURICH

             Upon consideration of the Motion of the Roman Catholic Ad Hoc Committee to Compel

the Rule 30(b)(6) Depositions of (I) the Debtors, (II) Century, (III) Chubb, (IV) Hartford, and

(V) Zurich (the “Motion”)2; and the Court having jurisdiction to consider the Motion and the relief

requested therein pursuant to 28 U.S.C. §§ 157 and 157(b); and consideration of the Motion being

a core proceeding within the meaning of 28 U.S.C. § 157(b)(2); and the venue being proper

pursuant to 28 U.S.C. §§ 1408 and 1409; and it appearing that no other or further notice need be

provided; and after due deliberation, it is HEREBY ORDERED THAT:

             1.    The Motion is GRANTED as set forth herein.

             2.    The Century, Chubb, Hartford, and Zurich shall appear for deposition to answer all

topics noted in the Rule 30(b)(6) Deposition Notices by February 8, 2022, with no more than one

deposition per day.

             3.    To the extent that a Settling Insurer’s finalized settlement agreement is not filed on

the docket at least forty-eight (48) hours prior to the start of its deposition, the RCAHC shall have



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  The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
number are as follows: Boy Scouts of America (6300); and Delaware BSA, LLC (4311). The Debtors’ mailing
address is 1325 West Walnut Hill Lane, Irving, Texas 75038.

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    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion.
the right to re-open the deposition of that Settling Insurer on the next day on which there are no

depositions scheduled, provided that the RCAHC has at least forty-eight hours to review the

settlement agreement.

         4.       The Debtors shall appear for deposition to answer all topics noted in the Rule

30(b)(6) Deposition Notice the day following the conclusion of the depositions of Century, Chubb,

Hartford, and Zurich.

         5.       The RCAHC’s deadline to object to the Plan shall be extended until five (5) days

after all the depositions have been completed.

         6.       The parties are hereby authorized to take such actions as may be necessary to

implement the relief granted by this Order.

         7.       This Court shall retain exclusive jurisdiction over any and all matters arising from

the interpretation, implementation, and enforcement of this Order.




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EXHIBIT B-1
                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

In re:                                          Case No. 20-10343 (LSS)

Boy Scouts of America and Delaware BSA,         Chapter 11
LLC,                                            Jointly Administered

               Debtors.


   THE ROMAN CATHOLIC AD HOC COMMITTEE’S REQUESTS FOR ADMISSION
               TO CENTURY AND THE CHUBB COMPANIES

         Pursuant to Rule 36 of the Federal Rules of Civil Procedure, as made applicable to these

proceedings by Rules 9014, 7026 and 7034 of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”), and pursuant to the Local Rules of Bankruptcy Practice and Procedure of

the United States Bankruptcy Court for the District of Delaware (the “Local Rules”), the Roman

Catholic Ad Hoc Committee (“RCAHC”), by and through its attorneys, hereby request that the (a)

Westchester Fire Insurance Company; (b) Westchester Surplus Lines Insurance Company; (c)

Industrial Insurance Company of Hawaii; (d) Chubb Custom Insurance Company; (e) Federal

Insurance Company; (f) Pacific Indemnity Company; (g) Texas Pacific Indemnity Company; (h)

U.S. Fire Insurance Company, to the extent policies were assumed by or novated to Westchester Fire

Insurance Company; (i) International Insurance Company to the extent policies were assumed by or

novated to Westchester Fire Insurance Company; (j) Industrial Indemnity Company; (k) Pacific

Employers Insurance Company; (l) The North River Insurance Company; (m) Aetna Insurance

Company; (n) American Foreign Insurance Association; (o) Chubb Atlantic Indemnity Ltd.; (p)

INA Insurance Company of Illinois; (q) Century Indemnity Company, as successor to CCI Insurance

Company, as successor to Insurance Company of North America and Indemnity Insurance Company

of North America; (r) Century Indemnity Company as successor to CIGNA Specialty Insurance




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Company f/k/a California Union Insurance Company; and (s) Insurance Company of North America

(collectively, “Century and the Chubb Companies”) respond to the following Requests for

Admission within fourteen (14) days of service.

       Federal Rule of Civil Procedure 36, made applicable to this proceeding pursuant to

Bankruptcy Rules 7036 and 9014(c), is hereby incorporated by reference and applies to each of the

following instructions. As is more fully set out in Rule 36(a), You must admit or deny each request,

and, where necessary, specify the parts of each request to which You object or cannot in good faith

admit or deny. If You object to only part of a Request for Admission, You must admit or deny the

remainder of the Request for Admission. If You object to or deny any Request for Admission or

portion of a Request for Admission, You must state the ground for each objection. Any ground not

stated shall be waived.

       Unless otherwise defined, capitalized terms have the meanings stated in the Modification

Motion or in the Debtors’ Second Modified Fifth Amended Plan of Reorganization, [D.I. 7832].

“You” or “your” means the Century and Chubb Companies, including representatives, agents,

attorneys, predecessor, successors, and anyone acting or purporting to act on their behalf.




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                                                                                 Requests for Admission

                                                        Abraham Lincoln (144):
Request # 1    For Policy # SBL 25103   issued to the                                    Local Council and   effective 6/1/1967    to 6/1/1968    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Abraham Lincoln (144)

                                                        Abraham Lincoln (144):
Request # 2    For Policy # SBL 25103   issued to the                                    Local Council and   effective 6/1/1968    to 6/1/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Abraham Lincoln (144)

                                                        Abraham Lincoln (144):
Request # 3    For Policy # SBL 25103   issued to the                                    Local Council and   effective 6/1/1969    to 6/1/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Abraham Lincoln (144)

                                                        Abraham Lincoln (144):
Request # 4    For Policy # SBL 25103   issued to the                                    Local Council and   effective 6/1/1970    to 6/1/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Abraham Lincoln (144)

                                                        Abraham Lincoln (144):
Request # 5    For Policy # SBL 25103   issued to the                                    Local Council and   effective 6/1/1971    to 6/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Abraham Lincoln (144)

                                                        Alabama-Florida (003):
Request # 6    For Policy # SBL 48811   issued to the                                    Local Council and   effective 2/23/1970   to 2/23/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Alabama-Florida 1963- (003)

                                                        Alabama-Florida (003):
Request # 7    For Policy # SBL 52409   issued to the                                    Local Council and   effective 2/23/1971   to 2/23/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Alabama-Florida 1963- (003)

                                                        Allegheny Highlands (382): Elk
Request # 8    For Policy # SBL xxx71   issued to the                                    Local Council and   effective 3/1/1965    to 3/1/1966    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Lick 1947-1973 (499)

                                                        Allegheny Highlands (382): Elk
Request # 9    For Policy # SBL xxx71   issued to the                                    Local Council and   effective 3/1/1966    to 3/1/1967    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Lick 1947-1973 (499)

                                                        Allegheny Highlands (382): Elk
Request # 10   For Policy # SBL xxx71   issued to the                                    Local Council and   effective 3/1/1967    to 3/1/1968    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Lick 1947-1973 (499)

                                                        Allegheny Highlands (382): Elk
Request # 11   For Policy # SBL 46909   issued to the                                    Local Council and   effective 3/1/1968    to 3/1/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Lick 1947-1973 (499)

                                                        Allegheny Highlands (382): Elk
Request # 12   For Policy # SBL 46909   issued to the                                    Local Council and   effective 3/1/1969    to 3/1/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Lick 1947-1973 (499)

                                                        Allegheny Highlands (382): Elk
Request # 13   For Policy # SBL 46909   issued to the                                    Local Council and   effective 3/1/1970    to 3/1/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Lick 1947-1973 (499)

                                                        Allegheny Highlands (382): Elk
Request # 14   For Policy # Unknown     issued to the                                    Local Council and   effective 3/1/1971    to 3/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Lick 1947-1973 (499)

                                                        Aloha (104): Kilauea 1922-1972
Request # 15   For Policy # Unknown     issued to the                                  Local Council and     effective 3/1/1969    to 3/1/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        (103)




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                                                          Aloha (104): Kilauea 1922-1972
Request # 16   For Policy # SBL 46929     issued to the                                  Local Council and   effective 3/1/1970    to 3/1/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (103)

                                                          Aloha (104): Kilauea 1922-1972
Request # 17   For Policy # SBL 51410     issued to the                                  Local Council and   effective 3/1/1971    to 3/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (103)

                                                          Aloha (104): Maui County 1915-
Request # 18   For Policy # SBL 4 23 85   issued to the                                  Local Council and   effective 3/23/1965   to 3/23/1966   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          2019 (102)

                                                          Aloha (104): Maui County 1915-
Request # 19   For Policy # SBL 4 23 85   issued to the                                  Local Council and   effective 3/23/1966   to 3/23/1967   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          2019 (102)

                                                          Aloha (104): Maui County 1915-
Request # 20   For Policy # SBL 4 23 85   issued to the                                  Local Council and   effective 3/23/1967   to 3/23/1968   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          2019 (102)

                                                          Aloha (104): Maui County 1915-
Request # 21   For Policy # SBL 4 69 28   issued to the                                  Local Council and   effective 3/23/1968   to 3/23/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          2019 (102)

                                                          Aloha (104): Maui County 1915-
Request # 22   For Policy # SBL 4 69 28   issued to the                                  Local Council and   effective 3/23/1969   to 3/23/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          2019 (102)

                                                          Aloha (104): Maui County 1915-
Request # 23   For Policy # SBL 4 69 28   issued to the                                  Local Council and   effective 3/23/1970   to 3/23/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          2019 (102)

                                                          Aloha (104): Maui County 1915-
Request # 24   For Policy # SBL 51515     issued to the                                  Local Council and   effective 3/23/1971   to 3/23/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          2019 (102)

                                                          Andrew Jackson (303): Andrew
Request # 25   For Policy # Unknown       issued to the                                Local Council and     effective 1/1/1971    to 1/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Jackson (303)

                                                          Anthony Wayne Area (157):
Request # 26   For Policy # SBL 41084     issued to the                                  Local Council and   effective 9/9/1965    to 9/9/1966    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Anthony Wayne Area (157)

                                                          Anthony Wayne Area (157):
Request # 27   For Policy # SBL 41084     issued to the                                  Local Council and   effective 9/9/1966    to 9/9/1967    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Anthony Wayne Area (157)

                                                          Anthony Wayne Area (157):
Request # 28   For Policy # SBL 41084     issued to the                                  Local Council and   effective 9/9/1967    to 9/8/1968    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Anthony Wayne Area (157)

                                                          Anthony Wayne Area (157):
Request # 29   For Policy # SBL 41084     issued to the                                  Local Council and   effective 9/9/1968    to 9/9/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Anthony Wayne Area (157)

                                                          Anthony Wayne Area (157):
Request # 30   For Policy # SBL 41084     issued to the                                  Local Council and   effective 9/9/1969    to 9/9/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Anthony Wayne Area (157)

                                                          Anthony Wayne Area (157):
Request # 31   For Policy # Unknown       issued to the                                  Local Council and   effective 9/9/1970    to 9/9/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Anthony Wayne Area (157)

                                                          Anthony Wayne Area (157):
Request # 32   For Policy # Unknown       issued to the                                  Local Council and   effective 9/9/1971    to 9/9/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Anthony Wayne Area (157)



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                                                          Anthony Wayne Area (157):
Request # 33   For Policy # XBC 89871     issued to the                                   Local Council and   effective 9/9/1972    to 9/9/1973    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Anthony Wayne Area (157)

                                                          Anthony Wayne Area (157):
Request # 34   For Policy # XBC 89871     issued to the                                   Local Council and   effective 9/9/1973    to 9/9/1974    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Anthony Wayne Area (157)

                                                          Anthony Wayne Area (157):
Request # 35   For Policy # XBC 89871     issued to the                                   Local Council and   effective 9/9/1974    to 9/9/1975    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Anthony Wayne Area (157)

                                                          Anthony Wayne Area (157):
Request # 36   For Policy # XBC 116559    issued to the                                   Local Council and   effective 9/9/1975    to 9/9/1976    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Anthony Wayne Area (157)

                                                          Anthony Wayne Area (157):
Request # 37   For Policy # XBC 116559    issued to the                                   Local Council and   effective 9/9/1976    to 9/9/1977    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Anthony Wayne Area (157)

                                                          Anthony Wayne Area (157):
Request # 38   For Policy # XBC 116559    issued to the                                   Local Council and   effective 9/9/1977    to 1/1/1978    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Anthony Wayne Area (157)

                                                          Arbuckle Area (468): Arbuckle
Request # 39   For Policy # SBL 4 29 53   issued to the                                   Local Council and   effective 3/1/1965    to 3/1/1966    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area (468)

                                                          Arbuckle Area (468): Arbuckle
Request # 40   For Policy # SBL 4 29 53   issued to the                                   Local Council and   effective 3/1/1966    to 3/1/1967    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area (468)

                                                          Arbuckle Area (468): Arbuckle
Request # 41   For Policy # SBL 4 29 53   issued to the                                   Local Council and   effective 3/1/1967    to 3/1/1968    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area (468)

                                                          Arbuckle Area (468): Arbuckle
Request # 42   For Policy # SBL 46911     issued to the                                   Local Council and   effective 3/1/1968    to 3/1/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area (468)

                                                          Arbuckle Area (468): Arbuckle
Request # 43   For Policy # SBL 46911     issued to the                                   Local Council and   effective 3/1/1969    to 3/1/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area (468)

                                                          Arbuckle Area (468): Arbuckle
Request # 44   For Policy # SBL 46911     issued to the                                   Local Council and   effective 3/1/1970    to 3/1/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area (468)

                                                          Arbuckle Area (468): Arbuckle
Request # 45   For Policy # SBL 5 14 15   issued to the                                   Local Council and   effective 3/1/1971    to 3/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area (468)

                                                          Arbuckle Area (468): Arbuckle
Request # 46   For Policy # SBL 5 14 00   issued to the                                   Local Council and   effective 3/11/1971   to 3/11/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area (468)

                                                          Baden-Powell (368):
Request # 47   For Policy # 9CGL 86259    issued to the                               Local Council and       effective 3/19/1958   to 3/19/1959   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Susquenango 1925-1998 (368)

                                                          Baden-Powell (368):
Request # 48   For Policy # 9-CGL-86604   issued to the                               Local Council and       effective 3/19/1959   to 3/19/1960   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Susquenango 1925-1998 (368)

                                                          Baden-Powell (368):
Request # 49   For Policy # Unknown       issued to the                               Local Council and       effective 3/19/1960   to 3/19/1961   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Susquenango 1925-1998 (368)



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                                                        Baden-Powell (368):
Request # 50   For Policy # Unknown     issued to the                               Local Council and   effective 3/19/1961   to 3/19/1962   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Susquenango 1925-1998 (368)

                                                        Baden-Powell (368):
Request # 51   For Policy # Unknown     issued to the                               Local Council and   effective 3/19/1962   to 3/19/1963   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Susquenango 1925-1998 (368)

                                                        Baden-Powell (368):
Request # 52   For Policy # Unknown     issued to the                               Local Council and   effective 3/19/1963   to 3/19/1964   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Susquenango 1925-1998 (368)

                                                        Baden-Powell (368):
Request # 53   For Policy # Unknown     issued to the                               Local Council and   effective 3/19/1964   to 3/19/1965   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Susquenango 1925-1998 (368)

                                                        Baden-Powell (368):
Request # 54   For Policy # Unknown     issued to the                               Local Council and   effective 3/19/1965   to 3/19/1966   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Susquenango 1925-1998 (368)

                                                        Baden-Powell (368):
Request # 55   For Policy # Unknown     issued to the                               Local Council and   effective 3/19/1966   to 3/19/1967   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Susquenango 1925-1998 (368)

                                                        Baden-Powell (368):
Request # 56   For Policy # AGP 57 03   issued to the                               Local Council and   effective 3/19/1966   to 3/19/1967   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Susquenango 1925-1998 (368)

                                                        Baden-Powell (368):
Request # 57   For Policy # AGP 57 03   issued to the                               Local Council and   effective 3/19/1967   to 3/19/1968   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Susquenango 1925-1998 (368)

                                                        Baden-Powell (368):
Request # 58   For Policy # Unknown     issued to the                               Local Council and   effective 3/19/1967   to 3/19/1968   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Susquenango 1925-1998 (368)

                                                        Baden-Powell (368):
Request # 59   For Policy # Unknown     issued to the                               Local Council and   effective 3/19/1968   to 3/19/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Susquenango 1925-1998 (368)

                                                        Baden-Powell (368):
Request # 60   For Policy # AGP 57 03   issued to the                               Local Council and   effective 3/19/1968   to 3/19/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Susquenango 1925-1998 (368)

                                                        Baden-Powell (368):
Request # 61   For Policy # Unknown     issued to the                               Local Council and   effective 3/19/1969   to 3/19/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Susquenango 1925-1998 (368)

                                                        Baden-Powell (368):
Request # 62   For Policy # Unknown     issued to the                               Local Council and   effective 3/19/1970   to 3/19/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Susquenango 1925-1998 (368)

                                                        Baden-Powell (368):
Request # 63   For Policy # Unknown     issued to the                               Local Council and   effective 3/19/1971   to 3/19/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Susquenango 1925-1998 (368)

                                                        Baden-Powell (368):
Request # 64   For Policy # Unknown     issued to the                               Local Council and   effective 3/19/1972   to 3/19/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Susquenango 1925-1998 (368)

                                                        Baden-Powell (368):
Request # 65   For Policy # Unknown     issued to the                               Local Council and   effective 3/19/1973   to 3/19/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Susquenango 1925-1998 (368)

                                                        Baden-Powell (368):
Request # 66   For Policy # Unknown     issued to the                               Local Council and   effective 3/19/1974   to 1/1/1975    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Susquenango 1925-1998 (368)



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                                                           Baden-Powell (368):
Request # 67   For Policy # X OT 3 14 17   issued to the                                   Local Council and   effective 1/1/1975    to 5/14/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Tioughnioga 1940-1975 (383)

                                                           Baden-Powell (368):
Request # 68   For Policy # GLP 37 99 52   issued to the                                   Local Council and   effective 1/1/1975    to 5/14/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Tioughnioga 1940-1975 (383)

                                                           Bay-Lakes (635): Badger 1926-
Request # 69   For Policy # SBL 4 69 47    issued to the                                   Local Council and   effective 6/24/1968   to 6/24/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1973 (622)

                                                           Bay-Lakes (635): Badger 1926-
Request # 70   For Policy # SBL 4 69 47    issued to the                                   Local Council and   effective 6/24/1969   to 6/24/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1973 (622)

                                                           Bay-Lakes (635): Badger 1926-
Request # 71   For Policy # SBL 4 69 47    issued to the                                   Local Council and   effective 6/24/1970   to 6/24/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1973 (622)

                                                           Bay-Lakes (635): Badger 1926-
Request # 72   For Policy # SBL 51563      issued to the                                   Local Council and   effective 6/24/1971   to 6/24/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1973 (622)

                                                           Bay-Lakes (635): Hiawathaland
Request # 73   For Policy # SBL 4 53 79    issued to the                                 Local Council and     effective 2/10/1966   to 2/10/1967   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1945-2012 (261)

                                                           Bay-Lakes (635): Hiawathaland
Request # 74   For Policy # SBL-4-15-27    issued to the                                 Local Council and     effective 2/10/1967   to 2/10/1968   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1945-2012 (261)

                                                           Bay-Lakes (635): Hiawathaland
Request # 75   For Policy # SBL 4 13 34    issued to the                                 Local Council and     effective 2/10/1968   to 2/10/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1945-2012 (261)

                                                           Bay-Lakes (635): Hiawathaland
Request # 76   For Policy # SBL 4 15 46    issued to the                                 Local Council and     effective 2/10/1969   to 2/10/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1945-2012 (261)

                                                           Bay-Lakes (635): Hiawathaland
Request # 77   For Policy # SBL 41553      issued to the                                 Local Council and     effective 2/10/1970   to 2/10/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1945-2012 (261)

                                                           Bay-Lakes (635): Hiawathaland
Request # 78   For Policy # SBL 4 15 61    issued to the                                 Local Council and     effective 2/10/1971   to 2/10/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1945-2012 (261)

                                                           Bay-Lakes (635): Kettle Moraine
Request # 79   For Policy # SBL 45395      issued to the                                   Local Council and   effective 1/1/1967    to 1/1/1968    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1935-1973 (632)

                                                           Bay-Lakes (635): Kettle Moraine
Request # 80   For Policy # SBL 45395      issued to the                                   Local Council and   effective 1/1/1968    to 1/1/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1935-1973 (632)

                                                           Bay-Lakes (635): Kettle Moraine
Request # 81   For Policy # SBL 45395      issued to the                                   Local Council and   effective 1/1/1969    to 1/1/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1935-1973 (632)

                                                           Bay-Lakes (635): Kettle Moraine
Request # 82   For Policy # SBL 51311      issued to the                                   Local Council and   effective 1/1/1970    to 1/1/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1935-1973 (632)

                                                           Bay-Lakes (635): Kettle Moraine
Request # 83   For Policy # SBL 51311      issued to the                                   Local Council and   effective 1/1/1971    to 1/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1935-1973 (632)



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                                                           Bay-Lakes (635): Kettle Moraine
Request # 84    For Policy # SBL 51311     issued to the                                   Local Council and   effective 1/1/1972    to 1/1/1973    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1935-1973 (632)

                                                           Bay-Lakes (635): Nicolet Area
Request # 85    For Policy # SBL-4-15-18   issued to the                                   Local Council and   effective 7/1/1964    to 7/1/1965    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1934-1973 (621)

                                                           Bay-Lakes (635): Nicolet Area
Request # 86    For Policy # SBL-4-15-18   issued to the                                   Local Council and   effective 7/1/1965    to 7/1/1966    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1934-1973 (621)

                                                           Bay-Lakes (635): Nicolet Area
Request # 87    For Policy # SBL-4-15-18   issued to the                                   Local Council and   effective 7/1/1966    to 7/1/1967    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1934-1973 (621)

                                                           Bay-Lakes (635): Nicolet Area
Request # 88    For Policy # SBL-4-15-29   issued to the                                   Local Council and   effective 7/1/1967    to 7/1/1968    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1934-1973 (621)

                                                           Bay-Lakes (635): Nicolet Area
Request # 89    For Policy # SBL 4 15 41   issued to the                                   Local Council and   effective 7/1/1968    to 7/1/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1934-1973 (621)

                                                           Bay-Lakes (635): Nicolet Area
Request # 90    For Policy # SBL 4 15 48   issued to the                                   Local Council and   effective 7/1/1969    to 7/1/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1934-1973 (621)

                                                           Bay-Lakes (635): Nicolet Area
Request # 91    For Policy # SBL 4 15 55   issued to the                                   Local Council and   effective 7/1/1970    to 7/1/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1934-1973 (621)

                                                           Bay-Lakes (635): Nicolet Area
Request # 92    For Policy # SBL 41567     issued to the                                   Local Council and   effective 7/1/1971    to 7/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1934-1973 (621)

                                                           Bay-Lakes (635): Valley 1925-
Request # 93    For Policy # SBL 4 69 05   issued to the                                   Local Council and   effective 2/15/1970   to 2/15/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1973 (635)

                                                           Bay-Lakes (635): Valley 1925-
Request # 94    For Policy # SBL 5 13 97   issued to the                                   Local Council and   effective 2/15/1971   to 2/15/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1973 (635)

                                                           Bay-Lakes (635): Valley 1925-
Request # 95    For Policy # SBL 5 13 97   issued to the                                   Local Council and   effective 2/15/1972   to 2/15/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1973 (635)

                                                           Bay-Lakes (635): Waumegesako
Request # 96    For Policy # SBL 5 04 23   issued to the                                Local Council and      effective 5/25/1968   to 5/25/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1940-1973 (625)

                                                           Bay-Lakes (635): Waumegesako
Request # 97    For Policy # SBL 5 04 23   issued to the                                Local Council and      effective 5/25/1969   to 5/25/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1940-1973 (625)

                                                           Bay-Lakes (635): Waumegesako
Request # 98    For Policy # SBL 5 04 23   issued to the                                Local Council and      effective 5/25/1970   to 5/25/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1940-1973 (625)

                                                           Bay-Lakes (635): Waumegesako
Request # 99    For Policy # SBL 5 15 42   issued to the                                Local Council and      effective 5/25/1971   to 5/25/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1940-1973 (625)

                                                           Black Hills Area (695): Black
Request # 100   For Policy # 730859        issued to the                                   Local Council and   effective 9/15/1960   to 9/15/1961   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Hills Area (695)



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                                                            Black Hills Area (695): Black
Request # 101   For Policy # 730859         issued to the                                   Local Council and   effective 9/15/1961   to 9/15/1962   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Hills Area (695)

                                                            Black Hills Area (695): Black
Request # 102   For Policy # 758883         issued to the                                   Local Council and   effective 9/15/1962   to 9/15/1963   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Hills Area (695)

                                                            Black Hills Area (695): Black
Request # 103   For Policy # 758883         issued to the                                   Local Council and   effective 9/15/1963   to 9/15/1964   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Hills Area (695)

                                                            Black Hills Area (695): Black
Request # 104   For Policy # 758883         issued to the                                   Local Council and   effective 9/15/1964   to 10/15/1964 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Hills Area (695)

                                                            Black Hills Area (695): Black
Request # 105   For Policy # 37010          issued to the                                   Local Council and   effective 10/15/1964 to 10/15/1965 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Hills Area (695)

                                                            Black Hills Area (695): Black
Request # 106   For Policy # 37010          issued to the                                   Local Council and   effective 10/15/1965 to 4/1/1966     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Hills Area (695)

                                                            Black Hills Area (695): Black
Request # 107   For Policy # SBL 37016      issued to the                                   Local Council and   effective 10/1/1966   to 10/1/1967   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Hills Area (695)

                                                            Black Hills Area (695): Black
Request # 108   For Policy # SBL 44622      issued to the                                   Local Council and   effective 10/1/1967   to 10/1/1968   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Hills Area (695)

                                                            Black Hills Area (695): Black
Request # 109   For Policy # SBL 44640      issued to the                                   Local Council and   effective 10/1/1968   to 10/1/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Hills Area (695)

                                                            Black Hills Area (695): Black
Request # 110   For Policy # SBL 44656      issued to the                                   Local Council and   effective 10/1/1969   to 10/1/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Hills Area (695)

                                                            Black Hills Area (695): Black
Request # 111   For Policy # SBL 44675      issued to the                                   Local Council and   effective 10/1/1970   to 10/1/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Hills Area (695)

                                                            Black Hills Area (695): Black
Request # 112   For Policy # 12019          issued to the                                   Local Council and   effective 10/1/1970   to 10/1/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Hills Area (695)

                                                            Black Hills Area (695): Black
Request # 113   For Policy # 118045         issued to the                                   Local Council and   effective 10/1/1971   to 10/1/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Hills Area (695)

                                                            Black Hills Area (695): Black
Request # 114   For Policy # GAL 136151     issued to the                                   Local Council and   effective 10/1/1972   to 10/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Hills Area (695)

                                                            Black Hills Area (695): Black
Request # 115   For Policy # XBC 9 75 72    issued to the                                   Local Council and   effective 10/1/1972   to 10/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Hills Area (695)

                                                            Black Hills Area (695): Black
Request # 116   For Policy # XBC 9 75 72    issued to the                                   Local Council and   effective 10/1/1973   to 10/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Hills Area (695)

                                                            Black Hills Area (695): Black
Request # 117   For Policy # GAL 21 17 76   issued to the                                   Local Council and   effective 10/1/1973   to 10/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Hills Area (695)



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                                                           Black Hills Area (695): Black
Request # 118   For Policy # XBC 9 75 72   issued to the                                   Local Council and   effective 10/1/1974   to 10/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Hills Area (695)

                                                           Black Hills Area (695): Black
Request # 119   For Policy # GAL214564     issued to the                                   Local Council and   effective 10/1/1974   to 10/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Hills Area (695)

                                                           Black Hills Area (695): Black
Request # 120   For Policy # XBC 9 75 72   issued to the                                   Local Council and   effective 10/1/1975   to 10/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Hills Area (695)

                                                           Black Hills Area (695): Black
Request # 121   For Policy # GAL214564     issued to the                                   Local Council and   effective 10/1/1975   to 10/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Hills Area (695)

                                                           Black Hills Area (695): Black
Request # 122   For Policy # Unknown       issued to the                                   Local Council and   effective 10/1/1976   to 10/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Hills Area (695)

                                                           Black Hills Area (695): Black
Request # 123   For Policy # Unknown       issued to the                                   Local Council and   effective 10/1/1977   to 10/1/1978   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Hills Area (695)

                                                           Black Warrior (006): Black
Request # 124   For Policy # SBL 45386     issued to the                                   Local Council and   effective 6/1/1966    to 6/1/1967    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Warrior (006)

                                                           Black Warrior (006): Black
Request # 125   For Policy # SBL 45386     issued to the                                   Local Council and   effective 6/1/1967    to 6/1/1968    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Warrior (006)

                                                           Black Warrior (006): Black
Request # 126   For Policy # SBL 45386     issued to the                                   Local Council and   effective 6/1/1968    to 6/1/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Warrior (006)

                                                           Black Warrior (006): Black
Request # 127   For Policy # SBL 51185     issued to the                                   Local Council and   effective 6/1/1969    to 6/1/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Warrior (006)

                                                           Black Warrior (006): Black
Request # 128   For Policy # SBL 51185     issued to the                                   Local Council and   effective 6/1/1970    to 6/1/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Warrior (006)

                                                           Black Warrior (006): Black
Request # 129   For Policy # SBL 51185     issued to the                                   Local Council and   effective 6/1/1971    to 6/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Warrior (006)

                                                           Blackhawk Area (660):
Request # 130   For Policy # SBL 25062     issued to the                                   Local Council and   effective 3/13/1967   to 3/13/1968   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Blackhawk Area 1971- (660)

                                                           Blackhawk Area (660):
Request # 131   For Policy # SBL 48 903    issued to the                                   Local Council and   effective 3/13/1968   to 3/13/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Blackhawk Area 1971- (660)

                                                           Blackhawk Area (660):
Request # 132   For Policy # SBL 48907     issued to the                                   Local Council and   effective 3/13/1969   to 3/13/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Blackhawk Area 1971- (660)

                                                           Blackhawk Area (660):
Request # 133   For Policy # SBL 48909     issued to the                                   Local Council and   effective 3/13/1970   to 3/13/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Blackhawk Area 1971- (660)

                                                           Blackhawk Area (660):
Request # 134   For Policy # Unknown       issued to the                                   Local Council and   effective 3/13/1971   to 7/1/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Blackhawk Area 1971- (660)



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                                                            Blackhawk Area (660):
Request # 135   For Policy # Unknown        issued to the                                Local Council and   effective 7/1/1971    to 7/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Blackhawk Area 1971- (660)

                                                            Blackhawk Area (660):
Request # 136   For Policy # XBC 66384      issued to the                                Local Council and   effective 3/13/1972   to 3/13/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Blackhawk Area 1971- (660)

                                                            Blackhawk Area (660):
Request # 137   For Policy # XBC 6 63 84    issued to the                                Local Council and   effective 3/13/1972   to 3/13/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Blackhawk Area 1971- (660)

                                                            Blackhawk Area (660):
Request # 138   For Policy # Unknown        issued to the                                Local Council and   effective 7/1/1972    to 7/1/1973    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Blackhawk Area 1971- (660)

                                                            Blackhawk Area (660):
Request # 139   For Policy # XBC 6 63 84    issued to the                                Local Council and   effective 3/13/1973   to 3/13/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Blackhawk Area 1971- (660)

                                                            Blackhawk Area (660):
Request # 140   For Policy # XBC 66384      issued to the                                Local Council and   effective 3/13/1973   to 3/13/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Blackhawk Area 1971- (660)

                                                            Blackhawk Area (660):
Request # 141   For Policy # Unknown        issued to the                                Local Council and   effective 7/1/1973    to 3/13/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Blackhawk Area 1971- (660)

                                                            Blackhawk Area (660):
Request # 142   For Policy # XBC 66384      issued to the                                Local Council and   effective 3/13/1974   to 3/13/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Blackhawk Area 1971- (660)

                                                            Blackhawk Area (660):
Request # 143   For Policy # XBC 6 63 84    issued to the                                Local Council and   effective 3/13/1974   to 3/13/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Blackhawk Area 1971- (660)

                                                            Blackhawk Area (660):
Request # 144   For Policy # GAL 21 xx xx   issued to the                                Local Council and   effective 3/13/1974   to 3/13/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Blackhawk Area 1971- (660)

                                                            Blackhawk Area (660):
Request # 145   For Policy # XBC 11 31 12   issued to the                                Local Council and   effective 3/13/1975   to 3/13/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Blackhawk Area 1971- (660)

                                                            Blackhawk Area (660):
Request # 146   For Policy # GAL 21 10 26   issued to the                                Local Council and   effective 3/13/1975   to 3/13/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Blackhawk Area 1971- (660)

                                                            Blackhawk Area (660):
Request # 147   For Policy # XBC 113112     issued to the                                Local Council and   effective 3/13/1975   to 3/13/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Blackhawk Area 1971- (660)

                                                            Blackhawk Area (660):
Request # 148   For Policy # Unknown        issued to the                                Local Council and   effective 7/1/1975    to 7/1/1976    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Blackhawk Area 1971- (660)

                                                            Blackhawk Area (660):
Request # 149   For Policy # GAL 21 10 48   issued to the                                Local Council and   effective 3/13/1976   to 3/13/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Blackhawk Area 1971- (660)

                                                            Blackhawk Area (660):
Request # 150   For Policy # XBC 113112     issued to the                                Local Council and   effective 3/13/1976   to 3/13/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Blackhawk Area 1971- (660)

                                                            Blackhawk Area (660):
Request # 151   For Policy # Unknown        issued to the                                Local Council and   effective 7/1/1976    to 7/1/1977    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Blackhawk Area 1971- (660)



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                                                            Blackhawk Area (660):
Request # 152   For Policy # Unknown        issued to the                                 Local Council and   effective 7/1/1976    to 7/1/1977    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Blackhawk Area 1971- (660)

                                                            Blackhawk Area (660):
Request # 153   For Policy # GAL 21 09 06   issued to the                                 Local Council and   effective 3/13/1977   to 1/1/1978    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Blackhawk Area 1971- (660)

                                                            Blackhawk Area (660):
Request # 154   For Policy # XBC 113112     issued to the                                 Local Council and   effective 3/13/1977   to 3/13/1978   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Blackhawk Area 1971- (660)

                                                            Blackhawk Area (660):
Request # 155   For Policy # Unknown        issued to the                                 Local Council and   effective 7/1/1977    to 7/1/1978    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Blackhawk Area 1971- (660)
                                                            Blue Ridge Mountains (599):
Request # 156   For Policy # LAB 1 72 22    issued to the   Piedmont Area 1932-1972       Local Council and   effective 4/1/1966    to 4/1/1967    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            (594)
                                                            Blue Ridge Mountains (599):
Request # 157   For Policy # LAB 1 72 22    issued to the   Piedmont Area 1932-1972       Local Council and   effective 4/1/1967    to 4/1/1968    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            (594)
                                                            Blue Ridge Mountains (599):
Request # 158   For Policy # LAB 1 72 22    issued to the   Piedmont Area 1932-1972       Local Council and   effective 4/1/1968    to 4/1/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            (594)
                                                            Blue Ridge Mountains (599):
Request # 159   For Policy # LAB 2 21 33    issued to the   Piedmont Area 1932-1972       Local Council and   effective 4/1/1969    to 4/1/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            (594)
                                                            Blue Ridge Mountains (599):
Request # 160   For Policy # LAB 2 21 33    issued to the   Piedmont Area 1932-1972       Local Council and   effective 4/1/1970    to 4/1/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            (594)
                                                            Blue Ridge Mountains (599):
Request # 161   For Policy # LAB 2 21 33    issued to the   Piedmont Area 1932-1972       Local Council and   effective 4/1/1971    to 4/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            (594)
                                                            Buckeye (436): Columbiana
Request # 162   For Policy # SBL 50425      issued to the                                 Local Council and   effective 6/11/1968   to 6/11/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1953-1991 (455)

                                                            Buckeye (436): Columbiana
Request # 163   For Policy # SBL 50425      issued to the                                 Local Council and   effective 6/11/1969   to 6/11/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1953-1991 (455)

                                                            Buckeye (436): Columbiana
Request # 164   For Policy # SBL 50425      issued to the                                 Local Council and   effective 6/11/1970   to 6/11/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1953-1991 (455)

                                                            Buckeye (436): Columbiana
Request # 165   For Policy # SBL 51560      issued to the                                 Local Council and   effective 6/11/1971   to 6/11/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1953-1991 (455)

                                                            Buckskin (617): Appalachian
Request # 166   For Policy # SBL 5 04 29    issued to the                                 Local Council and   effective 7/23/1968   to 7/23/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1946-1956 (673)

                                                            Buckskin (617): Appalachian
Request # 167   For Policy # SBL 5 04 29    issued to the                                 Local Council and   effective 7/23/1969   to 7/23/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1946-1956 (673)

                                                            Buckskin (617): Appalachian
Request # 168   For Policy # SBL 5 04 29    issued to the                                 Local Council and   effective 7/23/1970   to 7/23/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1946-1956 (673)



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                                                             Buckskin (617): Appalachian
Request # 169   For Policy # SBL 51578       issued to the                                   Local Council and   effective 7/23/1971   to 12/4/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             1956-1986 (707)

                                                             Buckskin (617): Buckskin 1949-
Request # 170   For Policy # XBC 22636       issued to the                                  Local Council and    effective 4/10/1966   to 4/10/1967   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             (617)

                                                             Buckskin (617): Buckskin 1949-
Request # 171   For Policy # XBC 22636       issued to the                                  Local Council and    effective 4/10/1967   to 4/10/1968   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             (617)

                                                             Buckskin (617): Buckskin 1949-
Request # 172   For Policy # XBC 22636       issued to the                                  Local Council and    effective 4/10/1968   to 4/10/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             (617)

                                                             Buckskin (617): Buckskin 1949-
Request # 173   For Policy # XBC 2 29 75     issued to the                                  Local Council and    effective 4/10/1969   to 4/10/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             (617)

                                                             Buckskin (617): Buckskin 1949-
Request # 174   For Policy # XBC 2 29 75     issued to the                                  Local Council and    effective 4/10/1970   to 4/10/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             (617)

                                                             Buckskin (617): Buckskin 1949-
Request # 175   For Policy # XBC 2 29 75     issued to the                                  Local Council and    effective 4/10/1971   to 4/10/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             (617)

                                                             Buckskin (617): Central West
Request # 176   For Policy # GLP 61 92 32    issued to the                                   Local Council and   effective 1/1/1976    to 1/1/1977    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             Virginia 1941-1990 (616)

                                                             Buckskin (617): Central West
Request # 177   For Policy # GLP 65 21 69    issued to the                                   Local Council and   effective 1/1/1977    to 1/1/1978    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             Virginia 1941-1990 (616)

                                                             Buckskin (617): Chief Cornstalk
Request # 178   For Policy # SBL 4 32 79     issued to the                                   Local Council and   effective 5/29/1970   to 5/29/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             1954-1990 (756)

                                                             Buckskin (617): Chief Cornstalk
Request # 179   For Policy # Unknown         issued to the                                   Local Council and   effective 5/29/1971   to 5/29/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             1954-1990 (756)

                                                             Buckskin (617): Kootaga Area
Request # 180   For Policy # SBL 4 29 97     issued to the                                   Local Council and   effective 6/1/1965    to 6/1/1966    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             1933-1991 (618)

                                                             Buckskin (617): Kootaga Area
Request # 181   For Policy # SBL 4 29 97     issued to the                                   Local Council and   effective 6/1/1966    to 6/1/1967    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             1933-1991 (618)

                                                             Buckskin (617): Kootaga Area
Request # 182   For Policy # SBL 4 29 97     issued to the                                   Local Council and   effective 6/1/1967    to 6/1/1968    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             1933-1991 (618)

                                                             Buckskin (617): Kootaga Area
Request # 183   For Policy #   SBL 5 04 05   issued to the                                   Local Council and   effective 6/1/1968    to 6/1/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             1933-1991 (618)

                                                             Buckskin (617): Kootaga Area
Request # 184   For Policy #   SBL 5 04 05   issued to the                                   Local Council and   effective 6/1/1969    to 6/1/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             1933-1991 (618)

                                                             Buckskin (617): Kootaga Area
Request # 185   For Policy #   SBL 5 04 05   issued to the                                   Local Council and   effective 6/1/1970    to 6/1/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             1933-1991 (618)



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                                                           Buckskin (617): Kootaga Area
Request # 186   For Policy # SBL 5 15 75   issued to the                                    Local Council and     effective 6/1/1971    to 6/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1933-1991 (618)

                                                           Buckskin (617): Tri-State Area
Request # 187   For Policy # SBL 4 29 77   issued to the                                    Local Council and     effective 4/1/1967    to 4/1/1968    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1935-2014 (672)

                                                           Buckskin (617): Tri-State Area
Request # 188   For Policy # SBL 4 69 50   issued to the                                    Local Council and     effective 4/1/1968    to 4/1/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1935-2014 (672)

                                                           Buckskin (617): Tri-State Area
Request # 189   For Policy # Unknown       issued to the                                    Local Council and     effective 4/1/1969    to 4/1/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1935-2014 (672)

                                                           Buckskin (617): Tri-State Area
Request # 190   For Policy # Unknown       issued to the                                    Local Council and     effective 4/1/1970    to 4/1/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1935-2014 (672)

                                                           Buckskin (617): Tri-State Area
Request # 191   For Policy # Unknown       issued to the                                    Local Council and     effective 4/1/1971    to 4/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1935-2014 (672)

Request # 192   For Policy # SBL 43267     issued to the Bucktail (509): Bucktail (509)     Local Council and     effective 10/1/1968   to 10/1/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 193   For Policy # SBL 43267     issued to the Bucktail (509): Bucktail (509)     Local Council and     effective 10/1/1969   to 10/1/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 194   For Policy # SBL 43267     issued to the Bucktail (509): Bucktail (509)     Local Council and     effective 10/1/1970   to 10/1/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.

                                                           Buffalo Trail (567): Buffalo Trail
Request # 195   For Policy # SBL 45419     issued to the                                      Local Council and   effective 7/13/1968   to 7/13/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (567)

                                                           Buffalo Trail (567): Buffalo Trail
Request # 196   For Policy # SBL 45422     issued to the                                      Local Council and   effective 7/13/1969   to 7/13/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (567)

                                                           Buffalo Trail (567): Buffalo Trail
Request # 197   For Policy # Unknown       issued to the                                      Local Council and   effective 7/13/1970   to 7/13/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (567)

                                                           Buffalo Trail (567): Buffalo Trail
Request # 198   For Policy # Unknown       issued to the                                      Local Council and   effective 7/13/1971   to 7/13/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (567)

                                                           Calcasieu Area (209): Calcasieu
Request # 199   For Policy # SBL 51302     issued to the                                   Local Council and      effective 11/26/1969 to 11/26/1970 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area (209)

                                                           Calcasieu Area (209): Calcasieu
Request # 200   For Policy # SBL 51302     issued to the                                   Local Council and      effective 11/26/1970 to 11/26/1971 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area (209)

                                                           Calcasieu Area (209): Calcasieu
Request # 201   For Policy # SBL 51302     issued to the                                   Local Council and      effective 11/26/1971 to 11/26/1972 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area (209)
                                                         California Inland Empire (045):
Request # 202   For Policy # SBL 2 28 54   issued to the Arrowhead Area 1933-1972        Local Council and        effective 5/17/1965   to 5/17/1966   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (048)


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                                                           California Inland Empire (045):
Request # 203   For Policy # SBL 2 28 54   issued to the   Arrowhead Area 1933-1972          Local Council and   effective 5/17/1966   to 5/17/1967   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (048)
                                                           California Inland Empire (045):
Request # 204   For Policy # SBL 2 28 54   issued to the   Arrowhead Area 1933-1972          Local Council and   effective 5/17/1967   to 5/17/1968   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (048)
                                                           California Inland Empire (045):
Request # 205   For Policy # SBL 4 59 02   issued to the   Arrowhead Area 1933-1972          Local Council and   effective 5/17/1968   to 5/17/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (048)
                                                           California Inland Empire (045):
Request # 206   For Policy # SBL 4 59 02   issued to the   Arrowhead Area 1933-1972          Local Council and   effective 5/17/1969   to 5/17/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (048)
                                                           California Inland Empire (045):
Request # 207   For Policy # SBL 4 59 02   issued to the   Arrowhead Area 1933-1972          Local Council and   effective 5/17/1970   to 5/17/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (048)
                                                           California Inland Empire (045):
Request # 208   For Policy # Unknown       issued to the   Arrowhead Area 1933-1972          Local Council and   effective 5/17/1971   to 5/17/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (048)
                                                           California Inland Empire (045):
Request # 209   For Policy # SBL 4 53 77   issued to the                                   Local Council and     effective 1/10/1966   to 1/10/1967   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Grayback 1952-1974 (024)

                                                           California Inland Empire (045):
Request # 210   For Policy # SBL 4 53 77   issued to the                                   Local Council and     effective 1/10/1967   to 1/10/1968   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Grayback 1952-1974 (024)

                                                           California Inland Empire (045):
Request # 211   For Policy # SBL 4 53 77   issued to the                                   Local Council and     effective 1/10/1968   to 1/9/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Grayback 1952-1974 (024)

                                                           California Inland Empire (045):
Request # 212   For Policy # SBL 50438     issued to the                                   Local Council and     effective 1/10/1969   to 1/10/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Grayback 1952-1974 (024)

                                                           California Inland Empire (045):
Request # 213   For Policy # SBL 50438     issued to the                                   Local Council and     effective 1/10/1970   to 1/10/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Grayback 1952-1974 (024)

                                                           California Inland Empire (045):
Request # 214   For Policy # SBL 50438     issued to the                                   Local Council and     effective 1/10/1971   to 1/10/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Grayback 1952-1974 (024)

                                                           Cape Cod and Islands (224):
Request # 215   For Policy # Unknown       issued to the                                     Local Council and   effective 10/21/1970 to 10/21/1971 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Cape Cod 1925-1981 (224)

                                                           Cape Cod and Islands (224):
Request # 216   For Policy # Unknown       issued to the                                     Local Council and   effective 10/21/1971 to 6/3/1972     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Cape Cod 1925-1981 (224)

                                                           Cape Fear (425): Cape Fear
Request # 217   For Policy # Unknown       issued to the                                     Local Council and   effective 1/1/1966    to 1/1/1967    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area 1930-1989 (425)

                                                           Cape Fear (425): Cape Fear
Request # 218   For Policy # Unknown       issued to the                                     Local Council and   effective 1/1/1967    to 1/1/1968    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area 1930-1989 (425)

                                                           Cape Fear (425): Cape Fear
Request # 219   For Policy # Unknown       issued to the                                     Local Council and   effective 1/1/1968    to 1/1/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area 1930-1989 (425)



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                                                           Cape Fear (425): Cape Fear
Request # 220   For Policy # Unknown       issued to the                                 Local Council and   effective 1/1/1969    to 1/1/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area 1930-1989 (425)

                                                           Cape Fear (425): Cape Fear
Request # 221   For Policy # Unknown       issued to the                                 Local Council and   effective 1/1/1970    to 1/1/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area 1930-1989 (425)

                                                           Cape Fear (425): Cape Fear
Request # 222   For Policy # Unknown       issued to the                                 Local Council and   effective 1/1/1971    to 1/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area 1930-1989 (425)

                                                           Cape Fear (425): Cape Fear
Request # 223   For Policy # Unknown       issued to the                                 Local Council and   effective 1/1/1972    to 1/1/1973    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area 1930-1989 (425)

                                                           Cape Fear (425): Cape Fear
Request # 224   For Policy # Unknown       issued to the                                 Local Council and   effective 1/1/1973    to 1/1/1974    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area 1930-1989 (425)

                                                           Cape Fear (425): Cape Fear
Request # 225   For Policy # Unknown       issued to the                                 Local Council and   effective 1/1/1974    to 1/1/1975    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area 1930-1989 (425)

                                                           Cape Fear (425): Cape Fear
Request # 226   For Policy # Unknown       issued to the                                 Local Council and   effective 1/1/1975    to 1/1/1976    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area 1930-1989 (425)

                                                           Cape Fear (425): Cape Fear
Request # 227   For Policy # Unknown       issued to the                                 Local Council and   effective 1/1/1976    to 1/1/1977    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area 1930-1989 (425)

                                                           Cape Fear (425): Cape Fear
Request # 228   For Policy # Unknown       issued to the                                 Local Council and   effective 1/1/1977    to 1/1/1978    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area 1930-1989 (425)

                                                           Central Minnesota (296):
Request # 229   For Policy # SBL 5 04 26   issued to the                                 Local Council and   effective 8/5/1968    to 8/5/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Central Minnesota (296)

                                                           Central Minnesota (296):
Request # 230   For Policy # SBL 5 04 26   issued to the                                 Local Council and   effective 8/5/1969    to 8/5/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Central Minnesota (296)

                                                           Central Minnesota (296):
Request # 231   For Policy # SBL 5 04 26   issued to the                                 Local Council and   effective 8/5/1970    to 8/5/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Central Minnesota (296)

                                                           Central Minnesota (296):
Request # 232   For Policy # Unknown       issued to the                                 Local Council and   effective 8/5/1971    to 8/5/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Central Minnesota (296)

                                                           Cherokee Area (469): Cherokee
Request # 233   For Policy # SBL 51195     issued to the                                 Local Council and   effective 7/5/1969    to 7/5/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area (469)

                                                           Cherokee Area (469): Cherokee
Request # 234   For Policy # SBL 51195     issued to the                                 Local Council and   effective 7/5/1970    to 7/5/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area (469)

                                                           Cherokee Area (469): Cherokee
Request # 235   For Policy # SBL 51195     issued to the                                 Local Council and   effective 7/5/1971    to 7/5/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area (469)

                                                           Cherokee Area (556): Cherokee
Request # 236   For Policy # SBL 45397     issued to the                                 Local Council and   effective 3/17/1967   to 3/17/1968   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area (556)



                                                                                                                     16
                                                           Cherokee Area (556): Cherokee
Request # 237   For Policy # SBL 45397     issued to the                                 Local Council and     effective 3/17/1968   to 3/17/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area (556)

                                                           Cherokee Area (556): Cherokee
Request # 238   For Policy # SBL 45397     issued to the                                 Local Council and     effective 3/17/1969   to 3/17/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area (556)

                                                           Cherokee Area (556): Cherokee
Request # 239   For Policy # Unknown       issued to the                                 Local Council and     effective 3/17/1970   to 3/17/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area (556)

                                                           Cherokee Area (556): Cherokee
Request # 240   For Policy # Unknown       issued to the                                 Local Council and     effective 3/17/1971   to 3/17/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area (556)

                                                           Cherokee Area (556): Cherokee
Request # 241   For Policy # Unknown       issued to the                                 Local Council and     effective 3/17/1972   to 3/18/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area (556)

                                                           Chester County (539): Chester
Request # 242   For Policy # Unknown       issued to the                                   Local Council and   effective 1/1/1957    to 1/1/1958    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           County (539)

                                                           Chester County (539): Chester
Request # 243   For Policy # Unknown       issued to the                                   Local Council and   effective 1/1/1965    to 1/1/1966    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           County (539)

                                                           Chester County (539): Chester
Request # 244   For Policy # Unknown       issued to the                                   Local Council and   effective 1/1/1966    to 1/1/1967    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           County (539)

                                                           Chester County (539): Chester
Request # 245   For Policy # Unknown       issued to the                                   Local Council and   effective 1/1/1967    to 1/1/1968    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           County (539)

                                                           Chester County (539): Chester
Request # 246   For Policy # Unknown       issued to the                                   Local Council and   effective 1/1/1968    to 1/1/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           County (539)

                                                           Chester County (539): Chester
Request # 247   For Policy # Unknown       issued to the                                   Local Council and   effective 1/1/1969    to 1/1/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           County (539)

                                                           Chester County (539): Chester
Request # 248   For Policy # SBL 44296     issued to the                                   Local Council and   effective 3/11/1969   to 3/11/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           County (539)

                                                           Chester County (539): Chester
Request # 249   For Policy # Unknown       issued to the                                   Local Council and   effective 1/1/1970    to 3/11/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           County (539)

                                                           Chester County (539): Chester
Request # 250   For Policy # SBL 53213     issued to the                                   Local Council and   effective 3/11/1970   to 3/11/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           County (539)

                                                           Chester County (539): Chester
Request # 251   For Policy # SBL 5 32 52   issued to the                                   Local Council and   effective 3/11/1971   to 3/11/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           County (539)

                                                           Chickasaw (558): Chickasaw
Request # 252   For Policy # SBL 4 53 64   issued to the                                   Local Council and   effective 8/1/1965    to 8/1/1966    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1916- (558)

                                                           Chickasaw (558): Chickasaw
Request # 253   For Policy # SBL 4 53 64   issued to the                                   Local Council and   effective 8/1/1966    to 8/1/1967    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1916- (558)



                                                                                                                       17
                                                           Chickasaw (558): Chickasaw
Request # 254   For Policy # SBL 4 53 64   issued to the                                   Local Council and   effective 8/1/1967    to 8/1/1968    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1916- (558)

                                                           Chickasaw (558): Chickasaw
Request # 255   For Policy # SBL 5 04 15   issued to the                                   Local Council and   effective 8/1/1968    to 8/1/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1916- (558)

                                                           Chickasaw (558): Chickasaw
Request # 256   For Policy # SBL 5 04 15   issued to the                                   Local Council and   effective 8/1/1969    to 8/1/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1916- (558)

                                                           Chickasaw (558): Chickasaw
Request # 257   For Policy # SBL 5 04 15   issued to the                                   Local Council and   effective 8/1/1970    to 8/1/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1916- (558)

                                                           Chickasaw (558): Chickasaw
Request # 258   For Policy # SBL 52766     issued to the                                   Local Council and   effective 8/1/1971    to 8/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1916- (558)

                                                           Choctaw Area (302): Choctaw
Request # 259   For Policy # SBL 4 29 67   issued to the                                   Local Council and   effective 3/15/1965   to 3/15/1966   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area (302)

                                                           Choctaw Area (302): Choctaw
Request # 260   For Policy # SBL 4 29 67   issued to the                                   Local Council and   effective 3/15/1966   to 3/15/1967   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area (302)

                                                           Choctaw Area (302): Choctaw
Request # 261   For Policy # SBL 4 29 67   issued to the                                   Local Council and   effective 3/15/1967   to 3/15/1968   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area (302)

                                                           Choctaw Area (302): Choctaw
Request # 262   For Policy # SBL 4 69 17   issued to the                                   Local Council and   effective 3/15/1968   to 3/15/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area (302)

                                                           Choctaw Area (302): Choctaw
Request # 263   For Policy # SBL 4 69 17   issued to the                                   Local Council and   effective 3/15/1969   to 3/15/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area (302)

                                                           Choctaw Area (302): Choctaw
Request # 264   For Policy # SBL 4 69 17   issued to the                                   Local Council and   effective 3/15/1970   to 3/15/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area (302)

                                                           Choctaw Area (302): Choctaw
Request # 265   For Policy # Unknown       issued to the                                   Local Council and   effective 3/15/1971   to 3/15/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area (302)

                                                           Circle Ten (571): Circle Ten
Request # 266   For Policy # Unknown       issued to the                                   Local Council and   effective 7/1/1970    to 7/1/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1913- (571)

                                                           Circle Ten (571): Circle Ten
Request # 267   For Policy # SBL 4 54 34   issued to the                                   Local Council and   effective 7/1/1971    to 7/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1913- (571)

                                                           Circle Ten (571): Circle Ten
Request # 268   For Policy # Unknown       issued to the                                   Local Council and   effective 1/1/1977    to 1/1/1978    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1913- (571)

                                                           Coastal Carolina (550): Coastal
Request # 269   For Policy # SBL 5 02 31   issued to the                                   Local Council and   effective 6/7/1968    to 6/7/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Carolina (550)

                                                           Coastal Carolina (550): Coastal
Request # 270   For Policy # SBL 5 10 71   issued to the                                   Local Council and   effective 6/7/1969    to 6/7/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Carolina (550)



                                                                                                                       18
                                                           Coastal Carolina (550): Coastal
Request # 271   For Policy # SBL 5 26 62   issued to the                                   Local Council and    effective 6/7/1970    to 6/7/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Carolina (550)

                                                           Coastal Carolina (550): Coastal
Request # 272   For Policy # SBL 5 36 40   issued to the                                   Local Council and    effective 6/7/1971    to 6/7/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Carolina (550)
                                                           Coastal Georgia (099):
Request # 273   For Policy # SBL 51393     issued to the   Okefenokee Area 1926-2014       Local Council and    effective 7/1/1970    to 7/1/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (758)
                                                           Coastal Georgia (099):
Request # 274   For Policy # SBL 51393     issued to the   Okefenokee Area 1926-2014       Local Council and    effective 7/1/1971    to 7/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (758)
                                                           Colonial Virginia (595): Old
Request # 275   For Policy # LAB 2 21 79   issued to the   Dominion Area 1927-1992         Local Council and    effective 1/23/1970   to 1/23/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (601)
                                                           Colonial Virginia (595): Old
Request # 276   For Policy # LAB 2 21 79   issued to the   Dominion Area 1927-1992         Local Council and    effective 1/23/1971   to 1/23/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (601)
                                                           Connecticut Rivers (066):
Request # 277   For Policy # SBL 4 29 80   issued to the   Eastern Connecticut 1929-1972   Local Council and    effective 4/15/1965   to 4/15/1966   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (076)
                                                           Connecticut Rivers (066):
Request # 278   For Policy # SBL 4 29 80   issued to the   Eastern Connecticut 1929-1972   Local Council and    effective 4/15/1966   to 4/15/1967   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (076)
                                                           Connecticut Rivers (066):
Request # 279   For Policy # SBL 4 29 80   issued to the   Eastern Connecticut 1929-1972   Local Council and    effective 4/15/1967   to 4/15/1968   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (076)
                                                           Connecticut Rivers (066):
Request # 280   For Policy # SBL 4 69 37   issued to the   Eastern Connecticut 1929-1972   Local Council and    effective 4/15/1968   to 4/15/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (076)
                                                           Connecticut Rivers (066):
Request # 281   For Policy # SBL 4 69 37   issued to the   Eastern Connecticut 1929-1972   Local Council and    effective 4/15/1969   to 4/15/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (076)
                                                           Connecticut Rivers (066):
Request # 282   For Policy # SBL 4 69 37   issued to the   Eastern Connecticut 1929-1972   Local Council and    effective 4/15/1970   to 4/15/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (076)
                                                           Connecticut Rivers (066):
Request # 283   For Policy # SBL 5 14 99   issued to the   Eastern Connecticut 1929-1972   Local Council and    effective 4/15/1971   to 4/15/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (076)
                                                           Connecticut Rivers (066): Indian
Request # 284   For Policy # SBL 5 14 99   issued to the                                    Local Council and   effective 10/1/1971   to 4/15/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Trails 1971-1992 (073)

                                                           Connecticut Rivers (066): Long
Request # 285   For Policy # CG 67 34 60   issued to the                                  Local Council and     effective 12/15/1982 to 12/15/1983 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Rivers 1972-1995 (066)

                                                           Connecticut Rivers (066):
Request # 286   For Policy # SBL 4 29 78   issued to the                                   Local Council and    effective 3/20/1965   to 3/20/1966   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Nathan Hale 1967-1972 (072)

                                                           Connecticut Rivers (066):
Request # 287   For Policy # SBL 4 29 78   issued to the                                   Local Council and    effective 3/20/1966   to 3/20/1967   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Nathan Hale 1967-1972 (072)



                                                                                                                        19
                                                           Connecticut Rivers (066):
Request # 288   For Policy # SBL 4 29 78   issued to the                                   Local Council and    effective 3/20/1967   to 3/20/1968   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Nathan Hale 1967-1972 (072)

                                                           Connecticut Rivers (066):
Request # 289   For Policy # SBL 46918     issued to the                                   Local Council and    effective 3/20/1968   to 3/20/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Nathan Hale 1967-1972 (072)

                                                           Connecticut Rivers (066):
Request # 290   For Policy # SBL 46918     issued to the                                   Local Council and    effective 3/20/1969   to 3/20/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Nathan Hale 1967-1972 (072)

                                                           Connecticut Rivers (066):
Request # 291   For Policy # SBL 46918     issued to the                                   Local Council and    effective 3/20/1970   to 3/20/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Nathan Hale 1967-1972 (072)

                                                           Connecticut Rivers (066):
Request # 292   For Policy # SBL 51411     issued to the                                   Local Council and    effective 3/20/1971   to 3/20/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Nathan Hale 1967-1972 (072)

                                                           Connecticut Rivers (066):
Request # 293   For Policy # SBL 5 04 09   issued to the                                   Local Council and    effective 5/1/1968    to 5/1/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Pequot 1935-1971 (077)

                                                           Connecticut Rivers (066):
Request # 294   For Policy # SBL 5 04 09   issued to the                                   Local Council and    effective 5/1/1969    to 5/1/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Pequot 1935-1971 (077)

                                                           Connecticut Rivers (066):
Request # 295   For Policy # SBL 5 04 09   issued to the                                   Local Council and    effective 5/1/1970    to 5/1/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Pequot 1935-1971 (077)

                                                           Connecticut Rivers (066):
Request # 296   For Policy # SBL 5 15 38   issued to the                                   Local Council and    effective 5/1/1971    to 10/1/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Pequot 1935-1971 (077)

                                                           Connecticut Rivers (066): Tunxis
Request # 297   For Policy # SBL 51586     issued to the                                    Local Council and   effective 6/28/1971   to 6/28/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1947-1972 (079)
                                                           Connecticut Yankee (072):
Request # 298   For Policy # SBL 46908     issued to the   Alfred W. Dater 1939-1972       Local Council and    effective 3/5/1968    to 3/5/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (078)
                                                           Connecticut Yankee (072):
Request # 299   For Policy # SBL 46908     issued to the   Alfred W. Dater 1939-1972       Local Council and    effective 3/5/1969    to 3/5/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (078)
                                                           Connecticut Yankee (072):
Request # 300   For Policy # SBL 46908     issued to the   Alfred W. Dater 1939-1972       Local Council and    effective 3/5/1970    to 3/5/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (078)
                                                           Connecticut Yankee (072):
Request # 301   For Policy # SBL 5 13 98   issued to the   Alfred W. Dater 1939-1972       Local Council and    effective 3/5/1971    to 3/5/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (078)
                                                           Connecticut Yankee (072):
Request # 302   For Policy # SBL 5 04 10   issued to the   Central Connecticut 1929-1978   Local Council and    effective 5/14/1968   to 5/14/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (071)
                                                           Connecticut Yankee (072):
Request # 303   For Policy # SBL 5 04 10   issued to the   Central Connecticut 1929-1978   Local Council and    effective 5/14/1969   to 5/14/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (071)
                                                           Connecticut Yankee (072):
Request # 304   For Policy # SBL 5 04 10   issued to the   Central Connecticut 1929-1978   Local Council and    effective 5/14/1970   to 5/14/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (071)


                                                                                                                        20
                                                            Connecticut Yankee (072):
Request # 305   For Policy # SBL 51549      issued to the   Central Connecticut 1929-1978   Local Council and   effective 5/14/1971   to 5/14/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            (071)
                                                            Connecticut Yankee (072):
Request # 306   For Policy # GLP 59 87 52   issued to the   Central Connecticut 1929-1978   Local Council and   effective 2/13/1975   to 2/13/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            (071)
                                                            Connecticut Yankee (072):
Request # 307   For Policy # XBC 11 73 80   issued to the   Central Connecticut 1929-1978   Local Council and   effective 7/1/1975    to 2/13/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            (071)
                                                            Connecticut Yankee (072):
Request # 308   For Policy # GLP 63 06 26   issued to the   Central Connecticut 1929-1978   Local Council and   effective 2/13/1976   to 2/13/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            (071)
                                                            Connecticut Yankee (072):
Request # 309   For Policy # XBC 11 73 80   issued to the   Central Connecticut 1929-1978   Local Council and   effective 2/13/1976   to 2/13/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            (071)
                                                            Connecticut Yankee (072):
Request # 310   For Policy # GLP 66 59 57   issued to the   Central Connecticut 1929-1978   Local Council and   effective 2/13/1977   to 2/13/1978   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            (071)
                                                            Connecticut Yankee (072):
Request # 311   For Policy # XBC 11 75 11   issued to the   Central Connecticut 1929-1978   Local Council and   effective 2/13/1977   to 2/13/1978   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            (071)
                                                            Connecticut Yankee (072):
Request # 312   For Policy # AGP-1-69-76    issued to the                                   Local Council and   effective 1/7/1970    to 1/7/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Quinnipiac 1935-1998 (074)

                                                            Connecticut Yankee (072):
Request # 313   For Policy # SBL 4 77 79    issued to the                                   Local Council and   effective 2/1/1970    to 2/1/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Quinnipiac 1935-1998 (074)

                                                            Connecticut Yankee (072):
Request # 314   For Policy # AGP-1-69-76    issued to the                                   Local Council and   effective 1/7/1971    to 1/7/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Quinnipiac 1935-1998 (074)

                                                            Connecticut Yankee (072):
Request # 315   For Policy # SBL 5 29 23    issued to the                                   Local Council and   effective 2/1/1971    to 2/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Quinnipiac 1935-1998 (074)

                                                            Connecticut Yankee (072):
Request # 316   For Policy # AGP-1-69-76    issued to the                                   Local Council and   effective 1/7/1972    to 1/7/1973    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Quinnipiac 1935-1998 (074)

                                                            Connecticut Yankee (072):
Request # 317   For Policy # AGP-1-69-76    issued to the                                   Local Council and   effective 1/7/1973    to 6/1/1973    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Quinnipiac 1935-1998 (074)

                                                            Conquistador (413):
Request # 318   For Policy # GK-12042       issued to the                                   Local Council and   effective 1/1/1987    to 1/1/1988    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Conquistador 1953- (413)

                                                            Coronado Area (192): Coronado
Request # 319   For Policy # SBL 28074      issued to the                                 Local Council and     effective 3/1/1966    to 3/1/1967    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Area (192)

                                                            Coronado Area (192): Coronado
Request # 320   For Policy # SBL 28082      issued to the                                 Local Council and     effective 3/1/1967    to 3/1/1968    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Area (192)

                                                            Coronado Area (192): Coronado
Request # 321   For Policy # SBL 28088      issued to the                                 Local Council and     effective 3/1/1968    to 3/1/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Area (192)



                                                                                                                        21
                                                           Coronado Area (192): Coronado
Request # 322   For Policy # SBL 5 11 88   issued to the                                 Local Council and       effective 3/1/1969    to 3/1/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area (192)

                                                           Coronado Area (192): Coronado
Request # 323   For Policy # SBL 5 08 57   issued to the                                 Local Council and       effective 3/1/1970    to 3/1/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area (192)

                                                           Coronado Area (192): Coronado
Request # 324   For Policy # SBL 5 08 57   issued to the                                 Local Council and       effective 3/1/1971    to 3/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area (192)

                                                           Coronado Area (192): Coronado
Request # 325   For Policy # SBL 5 08 57   issued to the                                 Local Council and       effective 3/1/1972    to 1/1/1973    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area (192)

                                                           Cradle of Liberty (525):
Request # 326   For Policy # SBL 4 34 21   issued to the                                     Local Council and   effective 2/1/1965    to 2/1/1966    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Philadelphia 1914-1996 (525)

                                                           Cradle of Liberty (525):
Request # 327   For Policy # SBL 4 34 21   issued to the                                     Local Council and   effective 2/1/1966    to 2/1/1967    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Philadelphia 1914-1996 (525)

                                                           Cradle of Liberty (525):
Request # 328   For Policy # SBL 4 34 21   issued to the                                     Local Council and   effective 2/1/1967    to 2/1/1968    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Philadelphia 1914-1996 (525)

                                                           Cradle of Liberty (525):
Request # 329   For Policy # SBL 4 41 51   issued to the                                     Local Council and   effective 2/1/1968    to 2/1/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Philadelphia 1914-1996 (525)

                                                           Cradle of Liberty (525):
Request # 330   For Policy # AGP-93-25     issued to the                                     Local Council and   effective 3/16/1968   to 3/16/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Philadelphia 1914-1996 (525)

                                                           Cradle of Liberty (525):
Request # 331   For Policy # SBL 5 11 77   issued to the                                     Local Council and   effective 2/1/1969    to 2/1/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Philadelphia 1914-1996 (525)

                                                           Cradle of Liberty (525):
Request # 332   For Policy # SBL 4 41 51   issued to the                                     Local Council and   effective 2/1/1969    to 2/1/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Philadelphia 1914-1996 (525)

                                                           Cradle of Liberty (525):
Request # 333   For Policy # SBL 5 11 77   issued to the                                     Local Council and   effective 2/1/1970    to 2/1/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Philadelphia 1914-1996 (525)

                                                           Cradle of Liberty (525):
Request # 334   For Policy # SBL 4 41 51   issued to the                                     Local Council and   effective 2/1/1970    to 2/1/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Philadelphia 1914-1996 (525)

                                                           Cradle of Liberty (525):
Request # 335   For Policy # SBL 5 11 77   issued to the                                     Local Council and   effective 2/1/1971    to 2/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Philadelphia 1914-1996 (525)

                                                           Cradle of Liberty (525): Valley
Request # 336   For Policy # Unknown       issued to the                                     Local Council and   effective 1/1/1962    to 1/1/1963    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Forge 1936-1996 (507)

                                                           Cradle of Liberty (525): Valley
Request # 337   For Policy # SBL-4-34-60   issued to the                                     Local Council and   effective 3/14/1967   to 3/14/1968   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Forge 1936-1996 (507)

                                                           Cradle of Liberty (525): Valley
Request # 338   For Policy # SBL-44-1-85   issued to the                                     Local Council and   effective 3/14/1968   to 3/14/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Forge 1936-1996 (507)



                                                                                                                         22
                                                            Cradle of Liberty (525): Valley
Request # 339   For Policy # Unknown        issued to the                                     Local Council and   effective 3/14/1969   to 3/14/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Forge 1936-1996 (507)

                                                            Cradle of Liberty (525): Valley
Request # 340   For Policy # Unknown        issued to the                                     Local Council and   effective 3/14/1970   to 3/14/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Forge 1936-1996 (507)

                                                            Cradle of Liberty (525): Valley
Request # 341   For Policy # Unknown        issued to the                                     Local Council and   effective 3/14/1971   to 1/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Forge 1936-1996 (507)
                                                            Crossroads of America (160):
Request # 342   For Policy # XCP 10769      issued to the   Crossroads of America 1972-       Local Council and   effective 6/1/1975    to 6/1/1976    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            (160)
                                                            Crossroads of America (160):
Request # 343   For Policy # XCP 10769      issued to the   Crossroads of America 1972-       Local Council and   effective 6/1/1976    to 6/1/1977    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            (160)
                                                            Crossroads of America (160):
Request # 344   For Policy # XCP 10769      issued to the   Crossroads of America 1972-       Local Council and   effective 6/1/1977    to 6/1/1978    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            (160)
                                                            Crossroads of America (160):
Request # 345   For Policy # SBL 5 15 56    issued to the   Delaware County 1924-1972         Local Council and   effective 6/1/1971    to 6/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            (679)
                                                            Crossroads of America (160):
Request # 346   For Policy # SBL-4-67-60    issued to the   Kikthawenund Area 1935-1972       Local Council and   effective 6/9/1968    to 6/9/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            (149)
                                                            Crossroads of America (160):
Request # 347   For Policy # SBL 46771      issued to the   Kikthawenund Area 1935-1972       Local Council and   effective 6/9/1969    to 6/9/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            (149)
                                                            Crossroads of America (160):
Request # 348   For Policy # SBL 46782      issued to the   Kikthawenund Area 1935-1972       Local Council and   effective 6/9/1970    to 6/9/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            (149)
                                                            Crossroads of America (160):
Request # 349   For Policy # Unknown        issued to the   Kikthawenund Area 1935-1972       Local Council and   effective 6/9/1971    to 6/9/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            (149)
                                                            Crossroads of America (160):
Request # 350   For Policy # SBL 46772      issued to the                                 Local Council and       effective 4/11/1969   to 4/11/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Wabash Valley 1931-2002 (166)

                                                            Crossroads of America (160):
Request # 351   For Policy # SBL 46772      issued to the                                 Local Council and       effective 4/11/1970   to 4/11/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Wabash Valley 1931-2002 (166)

                                                            Crossroads of America (160):
Request # 352   For Policy # SBL 46798      issued to the                                 Local Council and       effective 4/11/1971   to 4/11/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Wabash Valley 1931-2002 (166)

                                                            Crossroads of America (160):
Request # 353   For Policy # ALB 54057      issued to the                                 Local Council and       effective 4/11/1972   to 4/11/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Wabash Valley 1931-2002 (166)

                                                            Crossroads of America (160):
Request # 354   For Policy # GLP 42 18 47   issued to the                                 Local Council and       effective 4/11/1973   to 4/11/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Wabash Valley 1931-2002 (166)

                                                            Crossroads of America (160):
Request # 355   For Policy # GLP 428340     issued to the                                 Local Council and       effective 4/11/1974   to 4/11/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Wabash Valley 1931-2002 (166)



                                                                                                                          23
                                                            Crossroads of America (160):
Request # 356   For Policy # GLP 59 24 34   issued to the                                 Local Council and     effective 4/11/1975   to 12/2/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Wabash Valley 1931-2002 (166)

                                                            Crossroads of America (160):
Request # 357   For Policy # GLP 59 24 34   issued to the                                 Local Council and     effective 12/2/1975   to 4/11/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Wabash Valley 1931-2002 (166)
                                                            Crossroads of America (160):
Request # 358   For Policy # SBL 4 10 99    issued to the   Whitewater Valley 1935-1972     Local Council and   effective 6/1/1966    to 6/1/1967    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            (151)
                                                            Crossroads of America (160):
Request # 359   For Policy # SBL 4 67 34    issued to the   Whitewater Valley 1935-1972     Local Council and   effective 6/1/1967    to 6/1/1968    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            (151)
                                                            Crossroads of America (160):
Request # 360   For Policy # SBL-4-67-59    issued to the   Whitewater Valley 1935-1972     Local Council and   effective 6/1/1968    to 6/1/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            (151)
                                                            Crossroads of America (160):
Request # 361   For Policy # SBL 46781      issued to the   Whitewater Valley 1935-1972     Local Council and   effective 6/1/1969    to 6/1/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            (151)
                                                            Crossroads of America (160):
Request # 362   For Policy # SBL 46781      issued to the   Whitewater Valley 1935-1972     Local Council and   effective 6/1/1970    to 6/1/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            (151)
                                                            Crossroads of America (160):
Request # 363   For Policy # Unknown        issued to the   Whitewater Valley 1935-1972     Local Council and   effective 6/1/1971    to 6/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            (151)
                                                            Crossroads of the West (590):
Request # 364   For Policy # SBL 51307      issued to the   Cache Valley Area 1924-1993     Local Council and   effective 1/1/1970    to 1/1/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            (588)
                                                            Crossroads of the West (590):
Request # 365   For Policy # SBL 51307      issued to the   Cache Valley Area 1924-1993     Local Council and   effective 1/1/1971    to 1/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            (588)
                                                            Crossroads of the West (590):
Request # 366   For Policy # SBL 51307      issued to the   Cache Valley Area 1924-1993     Local Council and   effective 1/1/1972    to 1/1/1973    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            (588)
                                                            Crossroads of the West (590):
Request # 367   For Policy # SBL 5 15 47    issued to the                                   Local Council and   effective 5/1/1971    to 5/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Jim Bridger 1946-1993 (639)

                                                            Crossroads of the West (590):
Request # 368   For Policy # SBL 5 04 27    issued to the                                   Local Council and   effective 7/11/1968   to 7/11/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Utah National Parks -2020 (591)

                                                            Crossroads of the West (590):
Request # 369   For Policy # SBL 5 04 27    issued to the                                   Local Council and   effective 7/11/1969   to 7/11/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Utah National Parks -2020 (591)

                                                            Crossroads of the West (590):
Request # 370   For Policy # SBL 5 04 27    issued to the                                   Local Council and   effective 7/11/1970   to 7/11/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Utah National Parks -2020 (591)

                                                            Crossroads of the West (590):
Request # 371   For Policy # SBL 5 15 80    issued to the                                   Local Council and   effective 7/11/1971   to 7/11/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Utah National Parks -2020 (591)

                                                            Dan Beard (438): Dan Beard
Request # 372   For Policy # SBL 4 53 74    issued to the                                   Local Council and   effective 1/1/1966    to 1/1/1967    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1956- (438)



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                                                            Dan Beard (438): Dan Beard
Request # 373   For Policy # SBL 4 53 74    issued to the                                Local Council and   effective 1/1/1967    to 1/1/1968    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1956- (438)

                                                            Dan Beard (438): Dan Beard
Request # 374   For Policy # SBL 4 53 74    issued to the                                Local Council and   effective 1/1/1968    to 1/1/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1956- (438)

                                                            Dan Beard (438): Dan Beard
Request # 375   For Policy # Unknown        issued to the                                Local Council and   effective 1/1/1969    to 1/1/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1956- (438)

                                                            Dan Beard (438): Dan Beard
Request # 376   For Policy # Unknown        issued to the                                Local Council and   effective 1/1/1970    to 1/1/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1956- (438)

                                                            Dan Beard (438): Dan Beard
Request # 377   For Policy # Unknown        issued to the                                Local Council and   effective 1/1/1971    to 1/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1956- (438)

                                                            Dan Beard (438): Dan Beard
Request # 378   For Policy # AGP 54W935     issued to the                                Local Council and   effective 12/15/1972 to 12/15/1973 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1956- (438)

                                                            Dan Beard (438): Dan Beard
Request # 379   For Policy # XBC 86865      issued to the                                Local Council and   effective 12/15/1972 to 12/15/1973 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1956- (438)

                                                            Dan Beard (438): Dan Beard
Request # 380   For Policy # XBC 11 36 16   issued to the                                Local Council and   effective 12/15/1973 to 12/15/1974 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1956- (438)

                                                            Dan Beard (438): Dan Beard
Request # 381   For Policy # AGP 54W935     issued to the                                Local Council and   effective 12/15/1973 to 12/15/1974 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1956- (438)

                                                            Dan Beard (438): Dan Beard
Request # 382   For Policy # AGP 54W935     issued to the                                Local Council and   effective 12/15/1974 to 12/15/1975 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1956- (438)

                                                            Dan Beard (438): Dan Beard
Request # 383   For Policy # XBC 11 37 84   issued to the                                Local Council and   effective 12/15/1974 to 12/15/1975 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1956- (438)

                                                            Dan Beard (438): Dan Beard
Request # 384   For Policy # AGP 54W935     issued to the                                Local Council and   effective 12/15/1975 to 12/15/1976 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1956- (438)

                                                            Dan Beard (438): Dan Beard
Request # 385   For Policy # AGP D0 00 83 93issued to the                                Local Council and   effective 12/1/1976   to 12/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1956- (438)

                                                            Dan Beard (438): Dan Beard
Request # 386   For Policy # AGP D0 00 83 93issued to the                                Local Council and   effective 12/1/1977   to 12/1/1978   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1956- (438)

                                                            Denver Area (061): Western
Request # 387   For Policy # SBL 4 29 75    issued to the                                Local Council and   effective 3/5/1965    to 3/5/1966    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Colorado 1942-2019 (064)

                                                            Denver Area (061): Western
Request # 388   For Policy # SBL 4 29 75    issued to the                                Local Council and   effective 3/5/1966    to 3/5/1967    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Colorado 1942-2019 (064)

                                                            Denver Area (061): Western
Request # 389   For Policy # SBL 4 29 75    issued to the                                Local Council and   effective 3/5/1967    to 3/5/1968    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Colorado 1942-2019 (064)



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                                                            Denver Area (061): Western
Request # 390   For Policy # SBL 46921      issued to the                                    Local Council and   effective 3/5/1968    to 3/5/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Colorado 1942-2019 (064)

                                                            Denver Area (061): Western
Request # 391   For Policy # SBL 46921      issued to the                                    Local Council and   effective 3/5/1969    to 3/5/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Colorado 1942-2019 (064)

                                                            Denver Area (061): Western
Request # 392   For Policy # SBL 46921      issued to the                                    Local Council and   effective 3/5/1970    to 3/5/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Colorado 1942-2019 (064)

                                                            Denver Area (061): Western
Request # 393   For Policy # SBL 51399      issued to the                                    Local Council and   effective 3/5/1971    to 3/5/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Colorado 1942-2019 (064)

                                                            Denver Area (061): Western
Request # 394   For Policy # Unknown        issued to the                                    Local Council and   effective 3/5/1971    to 3/2/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Colorado 1942-2019 (064)

                                                            Evangeline Area (212):
Request # 395   For Policy # SBL 4 53 75    issued to the                                    Local Council and   effective 2/1/1966    to 2/1/1967    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Evangeline Area (212)

                                                            Evangeline Area (212):
Request # 396   For Policy # SBL 4 53 75    issued to the                                    Local Council and   effective 2/1/1967    to 2/1/1968    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Evangeline Area (212)

                                                            Evangeline Area (212):
Request # 397   For Policy # SBL 4 53 75    issued to the                                    Local Council and   effective 2/1/1968    to 2/1/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Evangeline Area (212)

                                                            Evangeline Area (212):
Request # 398   For Policy # Unknown        issued to the                                    Local Council and   effective 2/1/1969    to 2/1/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Evangeline Area (212)

                                                            Evangeline Area (212):
Request # 399   For Policy # Unknown        issued to the                                    Local Council and   effective 2/1/1970    to 2/1/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Evangeline Area (212)

                                                            Evangeline Area (212):
Request # 400   For Policy # Unknown        issued to the                                    Local Council and   effective 2/1/1971    to 2/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Evangeline Area (212)

                                                            Five Rivers (375): Steuben Area
Request # 401   For Policy # AGP 15 39 33   issued to the                                   Local Council and    effective 4/19/1976   to 4/19/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1931-1991 (402)

                                                            Flint River (095): Flint River
Request # 402   For Policy # SBL 48843      issued to the                                    Local Council and   effective 7/6/1971    to 7/5/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            (095)

                                                            French Creek (532): Custaloga
Request # 403   For Policy # SBL 50421      issued to the                                    Local Council and   effective 11/29/1968 to 11/29/1969 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1969-1972 (531)

                                                            French Creek (532): Custaloga
Request # 404   For Policy # SBL 50421      issued to the                                    Local Council and   effective 11/29/1969 to 11/29/1970 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1969-1972 (531)

                                                            French Creek (532): Custaloga
Request # 405   For Policy # SBL 50421      issued to the                                    Local Council and   effective 11/29/1970 to 11/29/1971 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1969-1972 (531)

                                                            French Creek (532): Mercer
Request # 406   For Policy # SBL 4 53 73    issued to the                                    Local Council and   effective 11/29/1965 to 11/29/1966 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            County 1927-1969 (531)



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                                                           French Creek (532): Mercer
Request # 407   For Policy # SBL 4 53 73   issued to the                                  Local Council and   effective 11/29/1966 to 11/29/1967 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           County 1927-1969 (531)

                                                           French Creek (532): Mercer
Request # 408   For Policy # SBL 4 53 73   issued to the                                  Local Council and   effective 11/29/1967 to 11/29/1968 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           County 1927-1969 (531)

                                                           French Creek (532): Mercer
Request # 409   For Policy # SBL 50421     issued to the                                  Local Council and   effective 11/29/1968 to 11/29/1969 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           County 1927-1969 (531)

                                                           French Creek (532): Mercer
Request # 410   For Policy # SBL 50421     issued to the                                  Local Council and   effective 11/29/1969 to 11/29/1970 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           County 1927-1969 (531)

                                                           French Creek (532): Mercer
Request # 411   For Policy # SBL 50421     issued to the                                  Local Council and   effective 11/29/1970 to 11/29/1971 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           County 1927-1969 (531)
                                                         French Creek (532):
Request # 412   For Policy # SBL-4-32-87   issued to the Washington Trail 1944-1972       Local Council and   effective 6/25/1969   to 1/15/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (511)
                                                         French Creek (532):
Request # 413   For Policy # Unknown       issued to the Washington Trail 1944-1972       Local Council and   effective 1/1/1970    to 1/1/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (511)
                                                         French Creek (532):
Request # 414   For Policy # SBL 4 32 98   issued to the Washington Trail 1944-1972       Local Council and   effective 1/15/1970   to 1/15/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (511)
                                                         French Creek (532):
Request # 415   For Policy # SBL 4 32 98   issued to the Washington Trail 1944-1972       Local Council and   effective 1/15/1971   to 1/15/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (511)
                                                           Gamehaven (299): Gamehaven
Request # 416   For Policy # SBL 3-70-22   issued to the                              Local Council and       effective 6/1/1966    to 6/1/1967    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (299)

                                                           Gamehaven (299): Gamehaven
Request # 417   For Policy # SBL-4-46-14   issued to the                              Local Council and       effective 6/1/1967    to 6/1/1968    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (299)

                                                           Gamehaven (299): Gamehaven
Request # 418   For Policy # SBL-4-46-35   issued to the                              Local Council and       effective 6/1/1968    to 6/1/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (299)

                                                           Gamehaven (299): Gamehaven
Request # 419   For Policy # SBL 4 46 49   issued to the                              Local Council and       effective 6/1/1969    to 6/1/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (299)

                                                           Gamehaven (299): Gamehaven
Request # 420   For Policy # SBL 44671     issued to the                              Local Council and       effective 6/1/1970    to 6/1/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (299)

                                                           Gamehaven (299): Gamehaven
Request # 421   For Policy # SBL 44689     issued to the                              Local Council and       effective 6/1/1971    to 6/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (299)

                                                           Garden State (690): Southern
Request # 422   For Policy # SBL 4 29 99   issued to the                                  Local Council and   effective 4/1/1965    to 4/1/1966    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           New Jersey 1967-1990 (334)

                                                           Garden State (690): Southern
Request # 423   For Policy # SBL 4 29 99   issued to the                                  Local Council and   effective 4/1/1966    to 4/1/1967    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           New Jersey 1967-1990 (334)



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                                                           Garden State (690): Southern
Request # 424   For Policy # SBL 4 29 99   issued to the                                    Local Council and    effective 4/1/1967    to 4/1/1968    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           New Jersey 1967-1990 (334)

                                                           Garden State (690): Southern
Request # 425   For Policy # SBL 4 69 40   issued to the                                    Local Council and    effective 4/1/1968    to 4/1/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           New Jersey 1967-1990 (334)

                                                           Garden State (690): Southern
Request # 426   For Policy # SBL 4 69 40   issued to the                                    Local Council and    effective 4/1/1969    to 4/1/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           New Jersey 1967-1990 (334)

                                                           Garden State (690): Southern
Request # 427   For Policy # SBL 4 69 40   issued to the                                    Local Council and    effective 4/1/1970    to 4/1/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           New Jersey 1967-1990 (334)

                                                           Garden State (690): Southern
Request # 428   For Policy # SBL 5 15 14   issued to the                                    Local Council and    effective 4/1/1971    to 4/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           New Jersey 1967-1990 (334)

                                                           Georgia-Carolina (093): Georgia-
Request # 429   For Policy # SBL 4 88 14   issued to the                                    Local Council and    effective 5/30/1968   to 5/30/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Carolina (093)

                                                           Georgia-Carolina (093): Georgia-
Request # 430   For Policy # SBL 48824     issued to the                                    Local Council and    effective 5/30/1969   to 5/30/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Carolina (093)

                                                           Georgia-Carolina (093): Georgia-
Request # 431   For Policy # Unknown       issued to the                                    Local Council and    effective 5/30/1970   to 5/30/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Carolina (093)

                                                           Georgia-Carolina (093): Georgia-
Request # 432   For Policy # Unknown       issued to the                                    Local Council and    effective 5/30/1971   to 5/30/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Carolina (093)

                                                           Georgia-Carolina (093): Georgia-
Request # 433   For Policy # Unknown       issued to the                                    Local Council and    effective 5/30/1972   to 1/1/1973    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Carolina (093)

                                                           Glacier's Edge (620): Four Lakes
Request # 434   For Policy # SBL 4 15 49   issued to the                                    Local Council and    effective 7/10/1969   to 7/10/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1928-2005 (628)

                                                           Glacier's Edge (620): Four Lakes
Request # 435   For Policy # SBL 4 15 56   issued to the                                    Local Council and    effective 7/10/1970   to 7/10/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1928-2005 (628)

                                                           Glacier's Edge (620): Four Lakes
Request # 436   For Policy # Unknown       issued to the                                    Local Council and    effective 7/10/1971   to 7/10/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1928-2005 (628)

                                                           Glacier's Edge (620): Four Lakes
Request # 437   For Policy # Unknown       issued to the                                    Local Council and    effective 7/10/1972   to 11/16/1972 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1928-2005 (628)

                                                           Glacier's Edge (620): Sinnissippi
Request # 438   For Policy # SBL 45383     issued to the                                     Local Council and   effective 4/28/1966   to 4/28/1967   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1966-2005 (626)

                                                           Glacier's Edge (620): Sinnissippi
Request # 439   For Policy # SBL 45383     issued to the                                     Local Council and   effective 4/28/1967   to 4/28/1968   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1966-2005 (626)

                                                           Glacier's Edge (620): Sinnissippi
Request # 440   For Policy # SBL 45383     issued to the                                     Local Council and   effective 4/28/1968   to 4/28/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1966-2005 (626)



                                                                                                                         28
                                                           Glacier's Edge (620): Sinnissippi
Request # 441   For Policy # SBL 50448     issued to the                                     Local Council and   effective 4/28/1969   to 4/28/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1966-2005 (626)

                                                           Glacier's Edge (620): Sinnissippi
Request # 442   For Policy # SBL 50448     issued to the                                     Local Council and   effective 4/28/1970   to 4/28/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1966-2005 (626)

                                                           Glacier's Edge (620): Sinnissippi
Request # 443   For Policy # SBL 50448     issued to the                                     Local Council and   effective 4/28/1971   to 4/28/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1966-2005 (626)

                                                           Golden Gate Area (023):
Request # 444   For Policy # SBL 5 11 80   issued to the                                    Local Council and    effective 3/2/1969    to 3/2/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Alameda -2020 (022)

                                                           Golden Gate Area (023):
Request # 445   For Policy # SBL 5 11 80   issued to the                                    Local Council and    effective 3/2/1970    to 3/2/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Alameda -2020 (022)

                                                           Golden Gate Area (023):
Request # 446   For Policy # SBL 5 11 80   issued to the                                    Local Council and    effective 3/2/1971    to 3/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Alameda -2020 (022)

                                                           Golden Gate Area (023):
Request # 447   For Policy # SBL 4 29 83   issued to the                                  Local Council and      effective 4/28/1965   to 4/28/1966   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Silverado Area 1928-1992 (038)

                                                           Golden Gate Area (023):
Request # 448   For Policy # SBL 4 29 83   issued to the                                  Local Council and      effective 4/28/1966   to 4/28/1967   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Silverado Area 1928-1992 (038)

                                                           Golden Gate Area (023):
Request # 449   For Policy # SBL 4 29 83   issued to the                                  Local Council and      effective 4/28/1967   to 4/28/1968   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Silverado Area 1928-1992 (038)

                                                           Golden Gate Area (023):
Request # 450   For Policy # SBL 4 69 32   issued to the                                  Local Council and      effective 4/28/1968   to 4/28/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Silverado Area 1928-1992 (038)

                                                           Golden Gate Area (023):
Request # 451   For Policy # SBL 4 69 32   issued to the                                  Local Council and      effective 4/28/1969   to 4/28/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Silverado Area 1928-1992 (038)

                                                           Golden Gate Area (023):
Request # 452   For Policy # SBL 4 69 32   issued to the                                  Local Council and      effective 4/28/1970   to 4/28/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Silverado Area 1928-1992 (038)

                                                           Golden Gate Area (023):
Request # 453   For Policy # Unknown       issued to the                                  Local Council and      effective 4/28/1971   to 4/28/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Silverado Area 1928-1992 (038)

                                                           Grand Canyon (010): Grand
Request # 454   For Policy # SBL 4 29 93   issued to the                                    Local Council and    effective 4/1/1965    to 4/1/1966    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Canyon 1944-1993 (012)

                                                           Grand Canyon (010): Grand
Request # 455   For Policy # SBL 4 29 93   issued to the                                    Local Council and    effective 4/1/1966    to 4/1/1967    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Canyon 1944-1993 (012)

                                                           Grand Canyon (010): Grand
Request # 456   For Policy # SBL 4 29 93   issued to the                                    Local Council and    effective 4/1/1967    to 4/1/1968    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Canyon 1944-1993 (012)

                                                           Grand Canyon (010): Grand
Request # 457   For Policy # SBL 4 69 31   issued to the                                    Local Council and    effective 4/1/1968    to 4/1/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Canyon 1944-1993 (012)



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                                                           Grand Canyon (010): Grand
Request # 458   For Policy # SBL 4 69 31   issued to the                                  Local Council and   effective 4/1/1969    to 4/1/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Canyon 1944-1993 (012)

                                                           Grand Canyon (010): Grand
Request # 459   For Policy # SBL 4 69 31   issued to the                                  Local Council and   effective 4/1/1970    to 4/1/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Canyon 1944-1993 (012)

                                                           Grand Canyon (010): Grand
Request # 460   For Policy # Unknown       issued to the                                  Local Council and   effective 4/1/1971    to 4/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Canyon 1944-1993 (012)

                                                           Grand Columbia (614): Fort
Request # 461   For Policy # SBL 5 15 52   issued to the                                  Local Council and   effective 5/7/1971    to 5/7/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Simcoe Area 1954-1992 (614)

                                                           Grand Teton (107): Tendoy
Request # 462   For Policy # SBL 4 29 90   issued to the                                  Local Council and   effective 6/1/1965    to 6/1/1966    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area 1934-1993 (109)

                                                           Grand Teton (107): Tendoy
Request # 463   For Policy # SBL 4 29 90   issued to the                                  Local Council and   effective 6/1/1966    to 6/1/1967    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area 1934-1993 (109)

                                                           Grand Teton (107): Tendoy
Request # 464   For Policy # SBL 4 29 90   issued to the                                  Local Council and   effective 6/1/1967    to 6/1/1968    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area 1934-1993 (109)

                                                           Grand Teton (107): Tendoy
Request # 465   For Policy # SBL 4 69 48   issued to the                                  Local Council and   effective 6/1/1968    to 6/1/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area 1934-1993 (109)

                                                           Grand Teton (107): Tendoy
Request # 466   For Policy # SBL 4 69 48   issued to the                                  Local Council and   effective 6/1/1969    to 6/1/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area 1934-1993 (109)

                                                           Grand Teton (107): Tendoy
Request # 467   For Policy # SBL 4 69 48   issued to the                                  Local Council and   effective 6/1/1970    to 6/1/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area 1934-1993 (109)

                                                           Grand Teton (107): Tendoy
Request # 468   For Policy # SBL 51558     issued to the                                  Local Council and   effective 6/1/1971    to 6/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area 1934-1993 (109)

                                                           Grand Teton (107): Teton Peaks
Request # 469   For Policy # SBL 45400     issued to the                                  Local Council and   effective 12/1/1965   to 12/1/1966   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1925-1993 (107)

                                                           Grand Teton (107): Teton Peaks
Request # 470   For Policy # SBL 45400     issued to the                                  Local Council and   effective 12/1/1966   to 12/1/1967   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1925-1993 (107)

                                                           Grand Teton (107): Teton Peaks
Request # 471   For Policy # SBL 45400     issued to the                                  Local Council and   effective 12/1/1967   to 12/1/1968   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1925-1993 (107)

                                                           Grand Teton (107): Teton Peaks
Request # 472   For Policy # SBL 50432     issued to the                                  Local Council and   effective 12/1/1968   to 12/1/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1925-1993 (107)

                                                           Grand Teton (107): Teton Peaks
Request # 473   For Policy # SBL 50432     issued to the                                  Local Council and   effective 12/1/1969   to 12/1/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1925-1993 (107)

                                                           Grand Teton (107): Teton Peaks
Request # 474   For Policy # SBL 50432     issued to the                                  Local Council and   effective 12/1/1970   to 12/1/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1925-1993 (107)



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                                                           Great Rivers (653): Great Rivers
Request # 475   For Policy # SBL 5 13 03   issued to the                                    Local Council and   effective 11/26/1969 to 1/1/1970     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1951- (653)

                                                           Great Smoky Mountain (557):
Request # 476   For Policy # Unknown       issued to the                                   Local Council and    effective 1/1/1970    to 1/1/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Great Smoky Mountain (557)

                                                           Great Smoky Mountain (557):
Request # 477   For Policy # Unknown       issued to the                                   Local Council and    effective 1/1/1971    to 1/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Great Smoky Mountain (557)

                                                           Great Smoky Mountain (557):
Request # 478   For Policy # Unknown       issued to the                                   Local Council and    effective 1/1/1972    to 4/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Great Smoky Mountain (557)

                                                           Great Trail (433): Mahoning
Request # 479   For Policy # Unknown       issued to the                                   Local Council and    effective 3/12/1964   to 3/12/1965   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Valley 1927-1993 (466)

                                                           Great Trail (433): Mahoning
Request # 480   For Policy # Unknown       issued to the                                   Local Council and    effective 3/12/1965   to 3/12/1966   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Valley 1927-1993 (466)

                                                           Great Trail (433): Mahoning
Request # 481   For Policy # Unknown       issued to the                                   Local Council and    effective 3/12/1966   to 3/11/1967   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Valley 1927-1993 (466)

                                                           Great Trail (433): Mahoning
Request # 482   For Policy # SBL 4 29 61   issued to the                                   Local Council and    effective 3/11/1967   to 3/11/1968   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Valley 1927-1993 (466)

                                                           Great Trail (433): Mahoning
Request # 483   For Policy # SBL 4 69 16   issued to the                                   Local Council and    effective 3/11/1968   to 3/11/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Valley 1927-1993 (466)

                                                           Great Trail (433): Mahoning
Request # 484   For Policy # SBL 4 69 16   issued to the                                   Local Council and    effective 3/11/1969   to 3/11/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Valley 1927-1993 (466)

                                                           Great Trail (433): Mahoning
Request # 485   For Policy # SBL 4 69 16   issued to the                                   Local Council and    effective 3/11/1970   to 3/11/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Valley 1927-1993 (466)

                                                           Great Trail (433): Mahoning
Request # 486   For Policy # Unknown       issued to the                                   Local Council and    effective 3/11/1971   to 3/11/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Valley 1927-1993 (466)
                                                           Greater Alabama (001):
Request # 487   For Policy # Unknown       issued to the   Birmingham Area 1915-1996       Local Council and    effective 8/1/1966    to 8/1/1967    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (002)
                                                           Greater Alabama (001):
Request # 488   For Policy # SBL 48816     issued to the   Birmingham Area 1915-1996       Local Council and    effective 8/4/1968    to 8/4/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (002)
                                                           Greater Alabama (001):
Request # 489   For Policy # SBL 2 42 03   issued to the   Birmingham Area 1915-1996       Local Council and    effective 8/4/1969    to 8/4/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (002)
                                                           Greater Alabama (001):
Request # 490   For Policy # Unknown       issued to the   Birmingham Area 1915-1996       Local Council and    effective 8/4/1970    to 8/4/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (002)
                                                           Greater Alabama (001):
Request # 491   For Policy # Unknown       issued to the   Birmingham Area 1915-1996       Local Council and    effective 8/4/1971    to 8/4/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (002)


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                                                         Greater Alabama (001):
Request # 492   For Policy # Unknown       issued to the Birmingham Area 1915-1996         Local Council and   effective 8/4/1972    to 9/16/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (002)
                                                           Greater Alabama (001):
Request # 493   For Policy # Unknown       issued to the                                   Local Council and   effective 1/1/1966    to 1/1/1967    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Choccolocco 1921-1998 (001)

                                                           Greater Alabama (001):
Request # 494   For Policy # Unknown       issued to the                                   Local Council and   effective 1/1/1967    to 1/1/1968    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Choccolocco 1921-1998 (001)

                                                           Greater Alabama (001):
Request # 495   For Policy # Unknown       issued to the                                   Local Council and   effective 1/1/1968    to 1/1/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Choccolocco 1921-1998 (001)

                                                           Greater Alabama (001):
Request # 496   For Policy # Unknown       issued to the                                   Local Council and   effective 1/1/1969    to 1/1/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Choccolocco 1921-1998 (001)

                                                           Greater Alabama (001):
Request # 497   For Policy # Unknown       issued to the                                   Local Council and   effective 1/1/1970    to 1/1/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Choccolocco 1921-1998 (001)

                                                           Greater Alabama (001):
Request # 498   For Policy # Unknown       issued to the                                   Local Council and   effective 1/1/1971    to 1/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Choccolocco 1921-1998 (001)
                                                         Greater Alabama (001):
Request # 499   For Policy # SBL 3 96 65   issued to the Tennessee Valley 1934-1998        Local Council and   effective 3/25/1966   to 3/25/1967   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (659)
                                                         Greater Alabama (001):
Request # 500   For Policy # SBL 3 96 65   issued to the Tennessee Valley 1934-1998        Local Council and   effective 3/25/1967   to 3/25/1968   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (659)
                                                         Greater Alabama (001):
Request # 501   For Policy # SBL 3 96 65   issued to the Tennessee Valley 1934-1998        Local Council and   effective 3/25/1968   to 3/25/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (659)
                                                         Greater Alabama (001):
Request # 502   For Policy # SBL 4 88 22   issued to the Tennessee Valley 1934-1998        Local Council and   effective 3/25/1969   to 3/25/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (659)
                                                         Greater Alabama (001):
Request # 503   For Policy # SBL 4 88 22   issued to the Tennessee Valley 1934-1998        Local Council and   effective 3/25/1970   to 3/25/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (659)
                                                         Greater Alabama (001):
Request # 504   For Policy # SBL 4 88 22   issued to the Tennessee Valley 1934-1998        Local Council and   effective 3/25/1971   to 3/25/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (659)
                                                         Greater Los Angeles Area (033):
Request # 505   For Policy # XBC 19014     issued to the Los Angeles Area 1945-2015        Local Council and   effective 6/11/1964   to 6/11/1965   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (033)
                                                         Greater Los Angeles Area (033):
Request # 506   For Policy # XBC 19014     issued to the Los Angeles Area 1945-2015        Local Council and   effective 6/11/1964   to 6/11/1965   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (033)
                                                         Greater Los Angeles Area (033):
Request # 507   For Policy # XBC 19014     issued to the Los Angeles Area 1945-2015        Local Council and   effective 6/11/1965   to 6/11/1966   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (033)
                                                         Greater Los Angeles Area (033):
Request # 508   For Policy # XBC 19014     issued to the Los Angeles Area 1945-2015        Local Council and   effective 6/11/1965   to 6/11/1966   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (033)


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                                                         Greater Los Angeles Area (033):
Request # 509   For Policy # XBC 19014   issued to the   Los Angeles Area 1945-2015        Local Council and   effective 6/11/1966   to 6/11/1967   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (033)
                                                         Greater Los Angeles Area (033):
Request # 510   For Policy # XBC 19014   issued to the   Los Angeles Area 1945-2015        Local Council and   effective 6/11/1966   to 6/11/1967   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (033)
                                                         Greater Los Angeles Area (033):
Request # 511   For Policy # Unknown     issued to the   Los Angeles Area 1945-2015        Local Council and   effective 11/19/1969 to 11/19/1970 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (033)
                                                         Greater Los Angeles Area (033):
Request # 512   For Policy # Unknown     issued to the   Los Angeles Area 1945-2015        Local Council and   effective 11/19/1970 to 11/19/1971 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (033)
                                                         Greater Los Angeles Area (033):
Request # 513   For Policy # Unknown     issued to the   Los Angeles Area 1945-2015        Local Council and   effective 11/19/1971 to 11/19/1972 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (033)
                                                         Greater Los Angeles Area (033):
Request # 514   For Policy # Unknown     issued to the   Los Angeles Area 1945-2015        Local Council and   effective 11/19/1972 to 11/19/1973 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (033)
                                                         Greater Los Angeles Area (033):
Request # 515   For Policy # Unknown     issued to the   Los Angeles Area 1945-2015        Local Council and   effective 11/19/1973 to 11/19/1974 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (033)
                                                         Greater Los Angeles Area (033):
Request # 516   For Policy # Unknown     issued to the   Los Angeles Area 1945-2015        Local Council and   effective 11/19/1974 to 1/1/1975     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (033)
                                                         Greater New York (640):
Request # 517   For Policy # Unknown     issued to the   Greater New York 1936-1967        Local Council and   effective 1/1/1959    to 1/1/1960    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (719)
                                                         Greater New York (640):
Request # 518   For Policy # Unknown     issued to the   Greater New York 1936-1967        Local Council and   effective 1/1/1960    to 1/1/1961    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (719)
                                                         Greater New York (640):
Request # 519   For Policy # Unknown     issued to the   Greater New York 1936-1967        Local Council and   effective 1/1/1961    to 1/1/1962    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (719)
                                                         Greater New York (640):
Request # 520   For Policy # Unknown     issued to the   Greater New York 1936-1967        Local Council and   effective 1/1/1962    to 1/1/1963    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (719)
                                                         Greater New York (640):
Request # 521   For Policy # Unknown     issued to the   Greater New York 1936-1967        Local Council and   effective 1/1/1963    to 1/1/1964    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (719)
                                                         Greater New York (640):
Request # 522   For Policy # Unknown     issued to the   Greater New York 1936-1967        Local Council and   effective 1/1/1964    to 1/1/1965    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (719)
                                                         Greater New York (640):
Request # 523   For Policy # Unknown     issued to the   Greater New York 1936-1967        Local Council and   effective 1/1/1965    to 1/1/1966    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (719)
                                                         Greater New York (640):
Request # 524   For Policy # Unknown     issued to the   Greater New York 1936-1967        Local Council and   effective 1/1/1966    to 1/1/1967    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (719)
                                                         Greater New York (640):
Request # 525   For Policy # Unknown     issued to the                                     Local Council and   effective 1/1/1967    to 1/1/1968    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Greater New York 1967- (640)



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                                                            Greater New York (640):
Request # 526   For Policy # Unknown        issued to the                                   Local Council and   effective 1/1/1968    to 1/1/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Greater New York 1967- (640)

                                                            Greater New York (640):
Request # 527   For Policy # Unknown        issued to the                                   Local Council and   effective 1/1/1969    to 1/1/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Greater New York 1967- (640)

                                                            Greater New York (640):
Request # 528   For Policy # Unknown        issued to the                                   Local Council and   effective 1/1/1970    to 1/1/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Greater New York 1967- (640)

                                                            Greater New York (640):
Request # 529   For Policy # Unknown        issued to the                                   Local Council and   effective 1/1/1971    to 1/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Greater New York 1967- (640)

                                                            Greater New York (640):
Request # 530   For Policy # Unknown        issued to the                                   Local Council and   effective 1/1/1972    to 1/1/1973    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Greater New York 1967- (640)

                                                            Greater New York (640):
Request # 531   For Policy # Unknown        issued to the                                   Local Council and   effective 1/1/1973    to 1/1/1974    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Greater New York 1967- (640)

                                                            Greater New York (640):
Request # 532   For Policy # Unknown        issued to the                                   Local Council and   effective 1/1/1974    to 1/1/1975    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Greater New York 1967- (640)
                                                          Greater New York, Brooklyn
Request # 533   For Policy # GLP 15 57 72   issued to the Borough (642): Brooklyn 1911-     Local Council and   effective 7/16/1966   to 7/16/1967   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1967 (369)
                                                          Greater New York, Brooklyn
Request # 534   For Policy # GLP 15 57 72   issued to the Borough (642): Brooklyn 1911-     Local Council and   effective 7/16/1967   to 7/16/1968   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1967 (369)
                                                          Greater New York, Brooklyn
Request # 535   For Policy # GLP 15 57 72   issued to the Borough (642): Brooklyn 1911-     Local Council and   effective 7/16/1968   to 7/16/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1967 (369)
                                                          Greater St. Louis Area (312):
Request # 536   For Policy # SBL 45390      issued to the Cahokia Mound 1925-1991           Local Council and   effective 7/1/1966    to 7/1/1967    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (128)
                                                          Greater St. Louis Area (312):
Request # 537   For Policy # SBL 45390      issued to the Cahokia Mound 1925-1991           Local Council and   effective 7/1/1967    to 7/1/1968    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (128)
                                                          Greater St. Louis Area (312):
Request # 538   For Policy # SBL 45390      issued to the Cahokia Mound 1925-1991           Local Council and   effective 7/1/1968    to 4/1/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (128)
                                                          Greater St. Louis Area (312):
Request # 539   For Policy # Unknown        issued to the Cahokia Mound 1925-1991           Local Council and   effective 4/1/1969    to 4/1/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (128)
                                                          Greater St. Louis Area (312):
Request # 540   For Policy # Unknown        issued to the Cahokia Mound 1925-1991           Local Council and   effective 4/1/1970    to 4/1/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (128)
                                                          Greater St. Louis Area (312):
Request # 541   For Policy # Unknown        issued to the Cahokia Mound 1925-1991           Local Council and   effective 4/1/1971    to 4/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (128)
                                                            Greater St. Louis Area (312):
Request # 542   For Policy # SBL 4 23 73    issued to the                                   Local Council and   effective 4/1/1965    to 4/1/1966    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Okaw Valley 1965-2017 (116)



                                                                                                                        34
                                                            Greater St. Louis Area (312):
Request # 543   For Policy # SBL 4 23 73    issued to the                                   Local Council and   effective 4/1/1966    to 4/1/1967    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Okaw Valley 1965-2017 (116)

                                                            Greater St. Louis Area (312):
Request # 544   For Policy # SBL 4 23 73    issued to the                                   Local Council and   effective 4/1/1967    to 4/1/1968    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Okaw Valley 1965-2017 (116)

                                                            Greater St. Louis Area (312):
Request # 545   For Policy # SBL 4 69 33    issued to the                                   Local Council and   effective 4/1/1968    to 4/1/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Okaw Valley 1965-2017 (116)

                                                            Greater St. Louis Area (312):
Request # 546   For Policy # SBL 4 69 33    issued to the                                   Local Council and   effective 4/1/1969    to 4/1/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Okaw Valley 1965-2017 (116)

                                                            Greater St. Louis Area (312):
Request # 547   For Policy # SBL 4 69 33    issued to the                                   Local Council and   effective 4/1/1970    to 4/1/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Okaw Valley 1965-2017 (116)

                                                            Greater St. Louis Area (312):
Request # 548   For Policy # SBL 5 15 16    issued to the                                   Local Council and   effective 4/1/1971    to 4/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Okaw Valley 1965-2017 (116)

                                                            Greater St. Louis Area (312):
Request # 549   For Policy # XBC 118599     issued to the                                   Local Council and   effective 1/1/1975    to 1/1/1976    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Okaw Valley 1965-2017 (116)

                                                            Greater St. Louis Area (312):
Request # 550   For Policy # GLP 770115     issued to the                                   Local Council and   effective 1/1/1975    to 10/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Okaw Valley 1965-2017 (116)

                                                            Greater St. Louis Area (312):
Request # 551   For Policy # Unknown        issued to the                                   Local Council and   effective 1/1/1969    to 1/1/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Saint Louis 1911-1995 (312)

                                                            Greater St. Louis Area (312):
Request # 552   For Policy # Unknown        issued to the                                   Local Council and   effective 1/1/1970    to 1/1/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Saint Louis 1911-1995 (312)

                                                            Greater St. Louis Area (312):
Request # 553   For Policy # Unknown        issued to the                                   Local Council and   effective 1/1/1971    to 1/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Saint Louis 1911-1995 (312)

                                                            Greater St. Louis Area (312):
Request # 554   For Policy # GLP 429908     issued to the                                   Local Council and   effective 4/1/1974    to 4/1/1975    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Saint Louis 1911-1995 (312)

                                                            Greater St. Louis Area (312):
Request # 555   For Policy # GLP 43 02 89   issued to the                                   Local Council and   effective 4/1/1975    to 4/1/1976    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Saint Louis 1911-1995 (312)
                                                          Greater St. Louis Area (312):
Request # 556   For Policy # SBL 51306      issued to the Southeast Missouri 1930-1993 Local Council and        effective 1/1/1970    to 1/1/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (305)
                                                          Greater St. Louis Area (312):
Request # 557   For Policy # SBL 51306      issued to the Southeast Missouri 1930-1993 Local Council and        effective 1/1/1971    to 1/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (305)
                                                          Greater St. Louis Area (312):
Request # 558   For Policy # SBL 51306      issued to the Southeast Missouri 1930-1993 Local Council and        effective 1/1/1972    to 1/1/1973    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (305)
                                                            Greater Tampa Bay Area (089):
Request # 559   For Policy # SBL 46156      issued to the                                 Local Council and     effective 7/10/1969   to 7/10/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Gulf Ridge -2016 (086)



                                                                                                                        35
                                                           Greater Tampa Bay Area (089):
Request # 560   For Policy # SBL 46177     issued to the                                 Local Council and   effective 7/10/1970   to 7/10/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Gulf Ridge -2016 (086)

                                                           Greater Tampa Bay Area (089):
Request # 561   For Policy # Unknown       issued to the                                 Local Council and   effective 7/10/1971   to 7/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Gulf Ridge -2016 (086)

                                                           Greater Tampa Bay Area (089):
Request # 562   For Policy # SBL 5 11 90   issued to the                                 Local Council and   effective 6/1/1969    to 6/1/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Pinellas Area 1970-1978 (089)

                                                           Greater Tampa Bay Area (089):
Request # 563   For Policy # SBL 5 11 90   issued to the                                 Local Council and   effective 6/1/1970    to 6/1/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Pinellas Area 1970-1978 (089)

                                                           Greater Tampa Bay Area (089):
Request # 564   For Policy # SBL 5 11 90   issued to the                                 Local Council and   effective 6/1/1971    to 6/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Pinellas Area 1970-1978 (089)
                                                         Greater Wyoming (638):
Request # 565   For Policy # SBL 4 29 91   issued to the Central Wyoming 1918-2016       Local Council and   effective 3/1/1965    to 3/1/1966    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (638)
                                                         Greater Wyoming (638):
Request # 566   For Policy # SBL 4 29 91   issued to the Central Wyoming 1918-2016       Local Council and   effective 3/1/1966    to 3/1/1967    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (638)
                                                         Greater Wyoming (638):
Request # 567   For Policy # SBL 4 29 91   issued to the Central Wyoming 1918-2016       Local Council and   effective 3/1/1967    to 3/1/1968    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (638)
                                                         Greater Wyoming (638):
Request # 568   For Policy # SBL 4 69 22   issued to the Central Wyoming 1918-2016       Local Council and   effective 3/1/1968    to 3/1/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (638)
                                                         Greater Wyoming (638):
Request # 569   For Policy # SBL 4 69 02   issued to the Central Wyoming 1918-2016       Local Council and   effective 3/1/1968    to 3/1/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (638)
                                                         Greater Wyoming (638):
Request # 570   For Policy # SBL 4 69 22   issued to the Central Wyoming 1918-2016       Local Council and   effective 3/1/1969    to 3/1/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (638)
                                                         Greater Wyoming (638):
Request # 571   For Policy # SBL 4 69 02   issued to the Central Wyoming 1918-2016       Local Council and   effective 3/1/1969    to 3/1/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (638)
                                                         Greater Wyoming (638):
Request # 572   For Policy # SBL 4 69 22   issued to the Central Wyoming 1918-2016       Local Council and   effective 3/1/1970    to 3/1/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (638)
                                                         Greater Wyoming (638):
Request # 573   For Policy # SBL 4 69 02   issued to the Central Wyoming 1918-2016       Local Council and   effective 3/1/1970    to 3/1/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (638)
                                                         Greater Wyoming (638):
Request # 574   For Policy # SBL 5 15 17   issued to the Central Wyoming 1918-2016       Local Council and   effective 3/1/1971    to 3/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (638)
                                                           Greater Yosemite (059):
Request # 575   For Policy # SBL 50441     issued to the                                 Local Council and   effective 1/25/1969   to 1/25/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Yosemite Area 1922-1998 (059)

                                                           Greater Yosemite (059):
Request # 576   For Policy # SBL 50441     issued to the                                 Local Council and   effective 1/25/1970   to 1/25/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Yosemite Area 1922-1998 (059)



                                                                                                                     36
                                                            Greater Yosemite (059):
Request # 577   For Policy # SBL 50441      issued to the                                 Local Council and       effective 1/25/1971   to 1/25/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Yosemite Area 1922-1998 (059)

                                                            Heart of America (307): Kansas
Request # 578   For Policy # Unknown        issued to the                                  Local Council and      effective 5/14/1969   to 5/14/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            City Area 1925-1974 (309)

                                                            Heart of America (307): Kansas
Request # 579   For Policy # Unknown        issued to the                                  Local Council and      effective 5/14/1970   to 5/14/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            City Area 1925-1974 (309)

                                                            Heart of America (307): Kansas
Request # 580   For Policy # Unknown        issued to the                                  Local Council and      effective 5/14/1971   to 5/14/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            City Area 1925-1974 (309)

                                                            Heart of America (307): Kansas
Request # 581   For Policy # Unknown        issued to the                                  Local Council and      effective 5/14/1972   to 5/16/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            City Area 1925-1974 (309)

                                                            Heart of America (307): Kansas
Request # 582   For Policy # GLP 42 40 26   issued to the                                  Local Council and      effective 6/18/1974   to 9/11/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            City Area 1925-1974 (309)

                                                            Heart of Virginia (602): Robert
Request # 583   For Policy # CGL 20 87 40   issued to the                                     Local Council and   effective 5/27/1963   to 5/26/1964   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            E. Lee 1953-2003 (602)

                                                            Heart of Virginia (602): Robert
Request # 584   For Policy # Unknown        issued to the                                     Local Council and   effective 5/26/1964   to 5/26/1965   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            E. Lee 1953-2003 (602)

                                                            Heart of Virginia (602): Robert
Request # 585   For Policy # Unknown        issued to the                                     Local Council and   effective 5/26/1965   to 5/26/1966   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            E. Lee 1953-2003 (602)

                                                            Heart of Virginia (602): Robert
Request # 586   For Policy # Unknown        issued to the                                     Local Council and   effective 5/26/1966   to 5/26/1967   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            E. Lee 1953-2003 (602)

                                                            Heart of Virginia (602): Robert
Request # 587   For Policy # Unknown        issued to the                                     Local Council and   effective 5/26/1967   to 5/26/1968   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            E. Lee 1953-2003 (602)

                                                            Heart of Virginia (602): Robert
Request # 588   For Policy # Unknown        issued to the                                     Local Council and   effective 5/26/1968   to 5/26/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            E. Lee 1953-2003 (602)

                                                            Heart of Virginia (602): Robert
Request # 589   For Policy # Unknown        issued to the                                     Local Council and   effective 5/26/1969   to 1/1/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            E. Lee 1953-2003 (602)

                                                            Heart of Virginia (602): Robert
Request # 590   For Policy # Unknown        issued to the                                     Local Council and   effective 1/1/1970    to 1/1/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            E. Lee 1953-2003 (602)

                                                            Heart of Virginia (602): Robert
Request # 591   For Policy # Unknown        issued to the                                     Local Council and   effective 1/1/1971    to 1/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            E. Lee 1953-2003 (602)

                                                            Heart of Virginia (602): Robert
Request # 592   For Policy # Unknown        issued to the                                     Local Council and   effective 1/1/1972    to 1/1/1973    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            E. Lee 1953-2003 (602)

                                                            Heart of Virginia (602): Robert
Request # 593   For Policy # Unknown        issued to the                                     Local Council and   effective 1/1/1973    to 1/1/1974    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            E. Lee 1953-2003 (602)



                                                                                                                          37
                                                            Heart of Virginia (602): Robert
Request # 594   For Policy # GLP 461031     issued to the                                     Local Council and   effective 5/27/1973   to 5/27/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            E. Lee 1953-2003 (602)

                                                            Heart of Virginia (602): Robert
Request # 595   For Policy # GLP 461031     issued to the                                     Local Council and   effective 5/27/1974   to 5/27/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            E. Lee 1953-2003 (602)

                                                            Heart of Virginia (602): Robert
Request # 596   For Policy # Unknown        issued to the                                     Local Council and   effective 1/1/1975    to 1/1/1976    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            E. Lee 1953-2003 (602)

                                                            Heart of Virginia (602): Robert
Request # 597   For Policy # GLP 461031     issued to the                                     Local Council and   effective 5/27/1975   to 5/26/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            E. Lee 1953-2003 (602)

                                                            Heart of Virginia (602): Robert
Request # 598   For Policy # Unknown        issued to the                                     Local Council and   effective 1/1/1976    to 1/1/1977    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            E. Lee 1953-2003 (602)

                                                            Heart of Virginia (602): Robert
Request # 599   For Policy # GLP 64 71 57   issued to the                                     Local Council and   effective 5/27/1976   to 5/27/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            E. Lee 1953-2003 (602)

                                                            Heart of Virginia (602): Robert
Request # 600   For Policy # Unknown        issued to the                                     Local Council and   effective 1/1/1977    to 1/1/1978    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            E. Lee 1953-2003 (602)

                                                            Hoosier Trails (145): White
Request # 601   For Policy # SBL-4-10-75    issued to the                                     Local Council and   effective 2/27/1966   to 2/27/1967   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            River Area 1927-1973 (145)

                                                            Hoosier Trails (145): White
Request # 602   For Policy # SBL-4-67-26    issued to the                                     Local Council and   effective 2/27/1967   to 2/27/1968   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            River Area 1927-1973 (145)

                                                            Hoosier Trails (145): White
Request # 603   For Policy # SBL 46763      issued to the                                     Local Council and   effective 2/27/1969   to 2/27/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            River Area 1927-1973 (145)

                                                            Hoosier Trails (145): White
Request # 604   For Policy # SBL 46763      issued to the                                     Local Council and   effective 2/27/1970   to 2/27/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            River Area 1927-1973 (145)

                                                            Hoosier Trails (145): White
Request # 605   For Policy # SBL 4 67 96    issued to the                                     Local Council and   effective 2/27/1971   to 2/27/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            River Area 1927-1973 (145)

                                                            Housatonic (069): Housatonic
Request # 606   For Policy # SBL 4 29 88    issued to the                                     Local Council and   effective 5/1/1965    to 5/1/1966    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            (069)

                                                            Housatonic (069): Housatonic
Request # 607   For Policy # SBL 4 29 88    issued to the                                     Local Council and   effective 5/1/1966    to 5/1/1967    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            (069)

                                                            Housatonic (069): Housatonic
Request # 608   For Policy # SBL 4 29 88    issued to the                                     Local Council and   effective 5/1/1967    to 5/1/1968    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            (069)

                                                            Housatonic (069): Housatonic
Request # 609   For Policy # SBL 4 69 43    issued to the                                     Local Council and   effective 5/1/1968    to 5/1/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            (069)

                                                            Housatonic (069): Housatonic
Request # 610   For Policy # SBL 4 69 43    issued to the                                     Local Council and   effective 5/1/1969    to 5/1/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            (069)



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                                                           Housatonic (069): Housatonic
Request # 611   For Policy # SBL 4 69 43   issued to the                                  Local Council and   effective 5/1/1970    to 5/1/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (069)

                                                           Housatonic (069): Housatonic
Request # 612   For Policy # SBL 51537     issued to the                                  Local Council and   effective 5/1/1971    to 5/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (069)

                                                           Hudson Valley (374): Dutchess
Request # 613   For Policy # GAL-40332     issued to the                                 Local Council and    effective 3/24/1968   to 3/24/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           County 1919-1996 (374)

                                                           Hudson Valley (374): Dutchess
Request # 614   For Policy # GAL-8-46-50   issued to the                                 Local Council and    effective 3/24/1969   to 3/24/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           County 1919-1996 (374)

                                                           Hudson Valley (374): Dutchess
Request # 615   For Policy # GAL-8-61-59   issued to the                                 Local Council and    effective 3/24/1970   to 3/24/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           County 1919-1996 (374)

                                                           Hudson Valley (374): Dutchess
Request # 616   For Policy # Unknown       issued to the                                 Local Council and    effective 3/24/1971   to 3/24/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           County 1919-1996 (374)

                                                           Hudson Valley (374): Dutchess
Request # 617   For Policy # Unknown       issued to the                                 Local Council and    effective 3/24/1972   to 3/24/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           County 1919-1996 (374)

                                                           Hudson Valley (374): Dutchess
Request # 618   For Policy # Unknown       issued to the                                 Local Council and    effective 3/24/1973   to 3/24/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           County 1919-1996 (374)

                                                           Hudson Valley (374): Dutchess
Request # 619   For Policy # Unknown       issued to the                                 Local Council and    effective 3/24/1974   to 1/1/1975    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           County 1919-1996 (374)

                                                           Hudson Valley (374): Hudson-
Request # 620   For Policy # XBC 83413     issued to the                                  Local Council and   effective 6/27/1973   to 6/27/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Delaware 1958-1996 (392)

                                                           Hudson Valley (374): Hudson-
Request # 621   For Policy # Unknown       issued to the                                  Local Council and   effective 6/27/1973   to 6/27/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Delaware 1958-1996 (392)

                                                           Hudson Valley (374): Hudson-
Request # 622   For Policy # Unknown       issued to the                                  Local Council and   effective 6/27/1974   to 1/1/1975    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Delaware 1958-1996 (392)

                                                           Hudson Valley (374): Hudson-
Request # 623   For Policy # XBC 83413     issued to the                                  Local Council and   effective 6/27/1974   to 6/27/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Delaware 1958-1996 (392)

                                                           Hudson Valley (374): Hudson-
Request # 624   For Policy # XBC 83413     issued to the                                  Local Council and   effective 6/27/1975   to 6/27/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Delaware 1958-1996 (392)

Request # 625   For Policy # SBL 4 78 99   issued to the Illowa (133): Illowa 1967- (133) Local Council and   effective 6/1/1967    to 5/31/1968   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 626   For Policy # SBL 47934     issued to the Illowa (133): Illowa 1967- (133) Local Council and   effective 6/1/1968    to 6/1/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 627   For Policy # SBL 52104     issued to the Illowa (133): Illowa 1967- (133) Local Council and   effective 6/1/1969    to 6/1/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.



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Request # 628   For Policy # SBL 52123      issued to the Illowa (133): Illowa 1967- (133) Local Council and    effective 6/1/1970    to 6/1/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 629   For Policy # Unknown        issued to the Illowa (133): Illowa 1967- (133) Local Council and    effective 1/1/1971    to 1/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 630   For Policy # SB 52145       issued to the Illowa (133): Illowa 1967- (133) Local Council and    effective 6/1/1971    to 6/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 631   For Policy # GAL 12 73 95   issued to the Illowa (133): Illowa 1967- (133) Local Council and    effective 6/1/1972    to 12/1/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 632   For Policy # XBC 10 19 73   issued to the Illowa (133): Illowa 1967- (133) Local Council and    effective 12/1/1972   to 6/1/1973    admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 633   For Policy # GAL 12 73 95   issued to the Illowa (133): Illowa 1967- (133) Local Council and    effective 12/1/1972   to 6/1/1973    admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 634   For Policy # GAL 21 38 79   issued to the Illowa (133): Illowa 1967- (133) Local Council and    effective 6/1/1973    to 6/1/1974    admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 635   For Policy # XBC 10 20 50   issued to the Illowa (133): Illowa 1967- (133) Local Council and    effective 6/1/1973    to 6/1/1974    admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 636   For Policy # XBC 10 21 77   issued to the Illowa (133): Illowa 1967- (133) Local Council and    effective 6/1/1974    to 6/1/1975    admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 637   For Policy # GAL 21 50 78   issued to the Illowa (133): Illowa 1967- (133) Local Council and    effective 6/1/1974    to 6/1/1975    admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 638   For Policy # Unknown        issued to the Illowa (133): Illowa 1967- (133) Local Council and    effective 1/1/1975    to 1/1/1976    admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 639   For Policy # GAL 32 96 17   issued to the Illowa (133): Illowa 1967- (133) Local Council and    effective 6/1/1975    to 6/1/1976    admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 640   For Policy # Unknown        issued to the Illowa (133): Illowa 1967- (133) Local Council and    effective 1/1/1976    to 1/1/1977    admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 641   For Policy # GAL 34 36 68   issued to the Illowa (133): Illowa 1967- (133) Local Council and    effective 6/1/1976    to 6/1/1977    admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 642   For Policy # Unknown        issued to the Illowa (133): Illowa 1967- (133) Local Council and    effective 1/1/1977    to 1/1/1978    admit that Abuse Claims against insureds and co-insureds are covered under the policy.

                                                            Illowa (133): Prairie 1941-1993
Request # 643   For Policy # SBL 4 29 95    issued to the                                   Local Council and   effective 3/25/1965   to 3/25/1966   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            (125)

                                                            Illowa (133): Prairie 1941-1993
Request # 644   For Policy # SBL 4 29 95    issued to the                                   Local Council and   effective 3/25/1966   to 3/25/1967   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            (125)



                                                                                                                        40
                                                           Illowa (133): Prairie 1941-1993
Request # 645   For Policy # SBL 4 29 95   issued to the                                   Local Council and   effective 3/25/1967   to 3/25/1968   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (125)

                                                           Illowa (133): Prairie 1941-1993
Request # 646   For Policy # SBL 4 69 13   issued to the                                   Local Council and   effective 3/25/1968   to 3/25/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (125)

                                                           Illowa (133): Prairie 1941-1993
Request # 647   For Policy # SBL 4 69 13   issued to the                                   Local Council and   effective 3/25/1969   to 3/25/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (125)

                                                           Illowa (133): Prairie 1941-1993
Request # 648   For Policy # SBL 4 69 13   issued to the                                   Local Council and   effective 3/25/1970   to 3/25/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (125)

                                                           Illowa (133): Prairie 1941-1993
Request # 649   For Policy # SBL 5 14 95   issued to the                                   Local Council and   effective 3/25/1971   to 3/25/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (125)

                                                           Illowa (133): Sac-Fox 1959-1967
Request # 650   For Policy # ABL 2 49 69   issued to the                                   Local Council and   effective 3/1/1965    to 3/1/1966    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (134)

                                                           Illowa (133): Sac-Fox 1959-1967
Request # 651   For Policy # SBL-2-50-18   issued to the                                   Local Council and   effective 3/1/1966    to 3/1/1967    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (134)

                                                           Illowa (133): Sac-Fox 1959-1967
Request # 652   For Policy # SBL-2-50-18   issued to the                                   Local Council and   effective 3/1/1967    to 3/1/1968    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (134)

                                                           Inland Northwest (611): Idaho
Request # 653   For Policy # SBL 4 53 57   issued to the                                   Local Council and   effective 6/21/1965   to 6/21/1966   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Panhandle 1928-1992 (110)

                                                           Inland Northwest (611): Idaho
Request # 654   For Policy # SBL 4 53 57   issued to the                                   Local Council and   effective 6/21/1966   to 6/21/1967   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Panhandle 1928-1992 (110)

                                                           Inland Northwest (611): Idaho
Request # 655   For Policy # SBL 4 53 57   issued to the                                   Local Council and   effective 6/21/1967   to 6/20/1968   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Panhandle 1928-1992 (110)

                                                           Inland Northwest (611): Idaho
Request # 656   For Policy # SBL 50408     issued to the                                   Local Council and   effective 6/21/1968   to 6/21/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Panhandle 1928-1992 (110)

                                                           Inland Northwest (611): Idaho
Request # 657   For Policy # SBL 50408     issued to the                                   Local Council and   effective 6/21/1969   to 6/21/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Panhandle 1928-1992 (110)

                                                           Inland Northwest (611): Idaho
Request # 658   For Policy # SBL 50408     issued to the                                   Local Council and   effective 6/21/1970   to 6/21/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Panhandle 1928-1992 (110)

                                                           Inland Northwest (611): Idaho
Request # 659   For Policy # SBL 51572     issued to the                                   Local Council and   effective 6/21/1971   to 6/21/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Panhandle 1928-1992 (110)

                                                           Inland Northwest (611): Inland
Request # 660   For Policy # Unknown       issued to the                                  Local Council and    effective 6/30/1961   to 6/30/1962   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Empire 1931-1987 (611)

                                                           Inland Northwest (611): Inland
Request # 661   For Policy # XBC-24884     issued to the                                  Local Council and    effective 3/14/1968   to 3/14/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Empire 1931-1987 (611)



                                                                                                                       41
                                                           Inland Northwest (611): Inland
Request # 662   For Policy # XBC-24884     issued to the                                  Local Council and    effective 3/14/1969   to 3/14/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Empire 1931-1987 (611)

                                                           Inland Northwest (611): Inland
Request # 663   For Policy # XBC-24884     issued to the                                  Local Council and    effective 3/14/1970   to 3/14/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Empire 1931-1987 (611)

                                                           Inland Northwest (611): Inland
Request # 664   For Policy # XBC 8 85 08   issued to the                                  Local Council and    effective 6/10/1971   to 6/10/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Empire 1931-1987 (611)

                                                           Inland Northwest (611): Inland
Request # 665   For Policy # XBC 8 89 86   issued to the                                  Local Council and    effective 6/10/1972   to 5/29/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Empire 1931-1987 (611)

                                                           Iroquois Trail (376): Genesee
Request # 666   For Policy # XBC 81983     issued to the                                   Local Council and   effective 11/1/1973   to 11/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1925-1994 (367)

                                                           Iroquois Trail (376): Genesee
Request # 667   For Policy # XBC 81983     issued to the                                   Local Council and   effective 11/1/1974   to 11/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1925-1994 (367)

                                                           Iroquois Trail (376): Genesee
Request # 668   For Policy # XBC 81983     issued to the                                   Local Council and   effective 11/1/1975   to 1/1/1976    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1925-1994 (367)

                                                           Jayhawk Area (197): Jayhawk
Request # 669   For Policy # SBL-2-80-78   issued to the                                   Local Council and   effective 11/1/1966   to 11/1/1967   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area (197)

                                                           Jayhawk Area (197): Jayhawk
Request # 670   For Policy # SBL-2-80-83   issued to the                                   Local Council and   effective 11/1/1967   to 11/1/1968   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area (197)

                                                           Jayhawk Area (197): Jayhawk
Request # 671   For Policy # SBL 28094     issued to the                                   Local Council and   effective 11/1/1968   to 11/1/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area (197)

                                                           Jayhawk Area (197): Jayhawk
Request # 672   For Policy # SBL 50855     issued to the                                   Local Council and   effective 11/1/1969   to 11/1/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area (197)

                                                           Jayhawk Area (197): Jayhawk
Request # 673   For Policy # SBL 50861     issued to the                                   Local Council and   effective 11/1/1970   to 11/1/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area (197)

                                                           Jayhawk Area (197): Jayhawk
Request # 674   For Policy # Unknown       issued to the                                   Local Council and   effective 1/1/1971    to 1/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area (197)

                                                           Jayhawk Area (197): Jayhawk
Request # 675   For Policy # Unknown       issued to the                                   Local Council and   effective 1/1/1972    to 1/1/1973    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area (197)

                                                           Jayhawk Area (197): Jayhawk
Request # 676   For Policy # Unknown       issued to the                                   Local Council and   effective 1/1/1973    to 1/1/1974    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area (197)

                                                           Jayhawk Area (197): Jayhawk
Request # 677   For Policy # Unknown       issued to the                                   Local Council and   effective 1/1/1974    to 1/1/1975    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area (197)

                                                           Jayhawk Area (197): Jayhawk
Request # 678   For Policy # Unknown       issued to the                                   Local Council and   effective 1/1/1975    to 1/1/1976    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area (197)



                                                                                                                       42
                                                           Jayhawk Area (197): Jayhawk
Request # 679   For Policy # Unknown       issued to the                                    Local Council and   effective 1/1/1976    to 1/1/1977    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area (197)

                                                           Jayhawk Area (197): Jayhawk
Request # 680   For Policy # Unknown       issued to the                                    Local Council and   effective 1/1/1977    to 1/1/1978    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area (197)

                                                           Jayhawk Area (197): Jayhawk
Request # 681   For Policy # Unknown       issued to the                                    Local Council and   effective 1/1/1978    to 1/1/1979    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area (197)

                                                           Jayhawk Area (197): Jayhawk
Request # 682   For Policy # Unknown       issued to the                                    Local Council and   effective 1/1/1979    to 1/1/1980    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area (197)

                                                           Jersey Shore (341): Atlantic
Request # 683   For Policy # SBL 50022     issued to the                                    Local Council and   effective 5/6/1970    to 5/6/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area 1926-1992 (331)

                                                           Jersey Shore (341): Atlantic
Request # 684   For Policy # SBL 50088     issued to the                                    Local Council and   effective 5/6/1971    to 5/6/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area 1926-1992 (331)

                                                           Jersey Shore (341): Ocean
Request # 685   For Policy # SBL 50087     issued to the                                    Local Council and   effective 5/11/1971   to 5/11/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           County 1940-1993 (341)

                                                           Juniata Valley (497): Juniata
Request # 686   For Policy # SBL 45396     issued to the                                    Local Council and   effective 2/22/1967   to 2/22/1968   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Valley (497)

                                                           Juniata Valley (497): Juniata
Request # 687   For Policy # SBL 45396     issued to the                                    Local Council and   effective 2/22/1968   to 2/22/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Valley (497)

                                                           Juniata Valley (497): Juniata
Request # 688   For Policy # SBL 45396     issued to the                                    Local Council and   effective 2/22/1969   to 2/22/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Valley (497)

                                                           Juniata Valley (497): Juniata
Request # 689   For Policy # Unknown       issued to the                                    Local Council and   effective 2/22/1970   to 2/22/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Valley (497)

                                                           Juniata Valley (497): Juniata
Request # 690   For Policy # Unknown       issued to the                                    Local Council and   effective 2/22/1971   to 2/22/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Valley (497)

                                                           La Salle (165): Pioneer Trails
Request # 691   For Policy # SBL 4 53 65   issued to the                                    Local Council and   effective 7/15/1965   to 7/15/1966   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1935-1972 (155)

                                                           La Salle (165): Pioneer Trails
Request # 692   For Policy # SBL 4 53 65   issued to the                                    Local Council and   effective 7/15/1966   to 7/15/1967   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1935-1972 (155)

                                                           La Salle (165): Pioneer Trails
Request # 693   For Policy # SBL 4 53 65   issued to the                                    Local Council and   effective 7/15/1967   to 7/15/1968   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1935-1972 (155)

                                                           La Salle (165): Pioneer Trails
Request # 694   For Policy # SBL 5 04 14   issued to the                                    Local Council and   effective 7/15/1968   to 7/15/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1935-1972 (155)

                                                           La Salle (165): Pioneer Trails
Request # 695   For Policy # SBL-4-67-66   issued to the                                    Local Council and   effective 12/29/1968 to 12/29/1969 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1935-1972 (155)



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                                                           La Salle (165): Pioneer Trails
Request # 696   For Policy # SBL 5 04 14   issued to the                                    Local Council and   effective 7/15/1969   to 7/15/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1935-1972 (155)

                                                           La Salle (165): Pioneer Trails
Request # 697   For Policy # Unknown       issued to the                                    Local Council and   effective 12/29/1969 to 12/29/1970 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1935-1972 (155)

                                                           La Salle (165): Pioneer Trails
Request # 698   For Policy # SBL 5 04 14   issued to the                                    Local Council and   effective 7/15/1970   to 7/15/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1935-1972 (155)

                                                           La Salle (165): Pioneer Trails
Request # 699   For Policy # Unknown       issued to the                                    Local Council and   effective 12/29/1970 to 12/29/1971 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1935-1972 (155)

                                                           La Salle (165): Pioneer Trails
Request # 700   For Policy # Unknown       issued to the                                    Local Council and   effective 12/29/1971 to 12/29/1972 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1935-1972 (155)

                                                           La Salle (165): Pottawattomie
Request # 701   For Policy # SBL-4-67-21   issued to the                                    Local Council and   effective 2/26/1967   to 2/26/1968   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1926-1972 (731)

                                                           La Salle (165): Pottawattomie
Request # 702   For Policy # SBL-4-67-50   issued to the                                    Local Council and   effective 2/26/1968   to 2/26/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1926-1972 (731)

                                                           La Salle (165): Pottawattomie
Request # 703   For Policy # SBL 50451     issued to the                                    Local Council and   effective 2/26/1969   to 2/26/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1926-1972 (731)

                                                           La Salle (165): Pottawattomie
Request # 704   For Policy # SBL 50451     issued to the                                    Local Council and   effective 2/26/1970   to 2/26/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1926-1972 (731)

                                                           La Salle (165): Pottawattomie
Request # 705   For Policy # SBL 50451     issued to the                                    Local Council and   effective 2/26/1971   to 2/26/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1926-1972 (731)

                                                           Lake Erie (440): Greater
Request # 706   For Policy # Unknown       issued to the                                    Local Council and   effective 1/1/1947    to 1/1/1948    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Cleveland -2017 (440)

                                                           Lake Erie (440): Greater
Request # 707   For Policy # Unknown       issued to the                                    Local Council and   effective 1/1/1948    to 1/1/1949    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Cleveland -2017 (440)

                                                           Lake Erie (440): Greater
Request # 708   For Policy # Unknown       issued to the                                    Local Council and   effective 1/1/1949    to 1/1/1950    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Cleveland -2017 (440)

                                                           Lake Erie (440): Greater
Request # 709   For Policy # Unknown       issued to the                                    Local Council and   effective 1/1/1950    to 1/1/1951    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Cleveland -2017 (440)

                                                           Lake Erie (440): Greater
Request # 710   For Policy # Unknown       issued to the                                    Local Council and   effective 1/1/1951    to 1/1/1952    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Cleveland -2017 (440)

                                                           Lake Erie (440): Greater
Request # 711   For Policy # Unknown       issued to the                                    Local Council and   effective 1/1/1952    to 1/1/1953    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Cleveland -2017 (440)

                                                           Lake Erie (440): Greater
Request # 712   For Policy # Unknown       issued to the                                    Local Council and   effective 1/1/1953    to 1/1/1954    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Cleveland -2017 (440)



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                                                         Lake Erie (440): Greater
Request # 713   For Policy # Unknown     issued to the                              Local Council and   effective 1/1/1954    to 1/1/1955    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Cleveland -2017 (440)

                                                         Lake Erie (440): Greater
Request # 714   For Policy # Unknown     issued to the                              Local Council and   effective 1/1/1955    to 1/1/1956    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Cleveland -2017 (440)

                                                         Lake Erie (440): Greater
Request # 715   For Policy # Unknown     issued to the                              Local Council and   effective 1/1/1956    to 1/1/1957    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Cleveland -2017 (440)

                                                         Lake Erie (440): Greater
Request # 716   For Policy # Unknown     issued to the                              Local Council and   effective 1/1/1957    to 1/1/1958    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Cleveland -2017 (440)

                                                         Lake Erie (440): Greater
Request # 717   For Policy # Unknown     issued to the                              Local Council and   effective 1/1/1958    to 1/1/1959    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Cleveland -2017 (440)

                                                         Lake Erie (440): Greater
Request # 718   For Policy # Unknown     issued to the                              Local Council and   effective 1/1/1959    to 1/1/1960    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Cleveland -2017 (440)

                                                         Lake Erie (440): Greater
Request # 719   For Policy # Unknown     issued to the                              Local Council and   effective 1/1/1960    to 1/1/1961    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Cleveland -2017 (440)

                                                         Lake Erie (440): Greater
Request # 720   For Policy # Unknown     issued to the                              Local Council and   effective 1/1/1961    to 1/1/1962    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Cleveland -2017 (440)

                                                         Lake Erie (440): Greater
Request # 721   For Policy # Unknown     issued to the                              Local Council and   effective 1/1/1962    to 1/1/1963    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Cleveland -2017 (440)

                                                         Lake Erie (440): Greater
Request # 722   For Policy # Unknown     issued to the                              Local Council and   effective 1/1/1963    to 1/1/1964    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Cleveland -2017 (440)

                                                         Lake Erie (440): Greater
Request # 723   For Policy # Unknown     issued to the                              Local Council and   effective 1/1/1964    to 1/1/1965    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Cleveland -2017 (440)

                                                         Lake Erie (440): Greater
Request # 724   For Policy # Unknown     issued to the                              Local Council and   effective 1/1/1965    to 1/1/1966    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Cleveland -2017 (440)

                                                         Lake Erie (440): Greater
Request # 725   For Policy # Unknown     issued to the                              Local Council and   effective 1/1/1966    to 1/1/1967    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Cleveland -2017 (440)

                                                         Lake Erie (440): Greater
Request # 726   For Policy # Unknown     issued to the                              Local Council and   effective 1/1/1967    to 1/1/1968    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Cleveland -2017 (440)

                                                         Lake Erie (440): Greater
Request # 727   For Policy # ALB 46445   issued to the                              Local Council and   effective 6/28/1967   to 6/27/1968   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Cleveland -2017 (440)

                                                         Lake Erie (440): Greater
Request # 728   For Policy # ALB 46445   issued to the                              Local Council and   effective 6/28/1968   to 6/28/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Cleveland -2017 (440)

                                                         Lake Erie (440): Greater
Request # 729   For Policy # ALB 46445   issued to the                              Local Council and   effective 6/28/1969   to 6/28/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Cleveland -2017 (440)



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                                                           Lake Erie (440): Greater
Request # 730   For Policy # SBL 51942     issued to the                                   Local Council and   effective 6/28/1970   to 6/28/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Cleveland -2017 (440)

                                                           Lake Erie (440): Greater
Request # 731   For Policy # SBL 51942     issued to the                                   Local Council and   effective 6/28/1971   to 6/27/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Cleveland -2017 (440)

                                                           Lake Erie (440): Greater
Request # 732   For Policy # SBL 51942     issued to the                                   Local Council and   effective 6/28/1972   to 6/28/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Cleveland -2017 (440)

                                                           Lake Erie (440): Greater
Request # 733   For Policy # Unknown       issued to the                                   Local Council and   effective 6/28/1973   to 6/28/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Cleveland -2017 (440)
                                                           Lake Erie (440): Johnny
Request # 734   For Policy # SBL-4-64-52   issued to the   Appleseed Area 1926-1994        Local Council and   effective 1/22/1967   to 1/22/1968   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (453)
                                                           Lake Erie (440): Johnny
Request # 735   For Policy # SBL-4-64-74   issued to the   Appleseed Area 1926-1994        Local Council and   effective 1/22/1968   to 1/22/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (453)
                                                           Lake Erie (440): Johnny
Request # 736   For Policy # SBL-5-19-01   issued to the   Appleseed Area 1926-1994        Local Council and   effective 1/22/1969   to 1/22/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (453)
                                                           Lake Erie (440): Johnny
Request # 737   For Policy # SBL 5 19 33   issued to the   Appleseed Area 1926-1994        Local Council and   effective 1/22/1970   to 1/22/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (453)
                                                           Lake Erie (440): Johnny
Request # 738   For Policy # XUA 37 25     issued to the   Appleseed Area 1926-1994        Local Council and   effective 1/22/1971   to 1/22/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (453)
                                                           Lake Erie (440): Johnny
Request # 739   For Policy # SBL 5 19 58   issued to the   Appleseed Area 1926-1994        Local Council and   effective 1/22/1971   to 1/22/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (453)
                                                           Las Vegas Area (328): Boulder
Request # 740   For Policy # SBL 51318     issued to the                                   Local Council and   effective 2/17/1970   to 2/17/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Dam Area 1944-2005 (328)

                                                           Las Vegas Area (328): Boulder
Request # 741   For Policy # SBL 51318     issued to the                                   Local Council and   effective 2/17/1971   to 2/17/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Dam Area 1944-2005 (328)

                                                           Las Vegas Area (328): Boulder
Request # 742   For Policy # SBL 51318     issued to the                                   Local Council and   effective 2/17/1972   to 2/17/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Dam Area 1944-2005 (328)

                                                           Last Frontier (480): Black
Request # 743   For Policy # Unknown       issued to the                                   Local Council and   effective 12/31/1974 to 12/31/1975 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Beaver 1930-1996 (471)

                                                           Last Frontier (480): Black
Request # 744   For Policy # Unknown       issued to the                                   Local Council and   effective 12/31/1975 to 12/30/1976 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Beaver 1930-1996 (471)

                                                           Last Frontier (480): Black
Request # 745   For Policy # Unknown       issued to the                                   Local Council and   effective 12/31/1976 to 12/31/1977 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Beaver 1930-1996 (471)

                                                           Last Frontier (480): Last
Request # 746   For Policy # Unknown       issued to the                                   Local Council and   effective 1/1/1964    to 1/1/1965    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Frontier 1939- (480)



                                                                                                                       46
                                                            Last Frontier (480): Last
Request # 747   For Policy # Unknown        issued to the                                Local Council and   effective 1/1/1965   to 1/1/1966    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Frontier 1939- (480)

                                                            Last Frontier (480): Last
Request # 748   For Policy # Unknown        issued to the                                Local Council and   effective 1/1/1966   to 1/1/1967    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Frontier 1939- (480)

                                                            Last Frontier (480): Last
Request # 749   For Policy # Unknown        issued to the                                Local Council and   effective 1/1/1967   to 1/1/1968    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Frontier 1939- (480)

                                                            Last Frontier (480): Last
Request # 750   For Policy # Unknown        issued to the                                Local Council and   effective 1/1/1968   to 1/1/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Frontier 1939- (480)

                                                            Last Frontier (480): Last
Request # 751   For Policy # Unknown        issued to the                                Local Council and   effective 1/1/1969   to 1/1/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Frontier 1939- (480)

                                                            Last Frontier (480): Last
Request # 752   For Policy # Unknown        issued to the                                Local Council and   effective 1/1/1970   to 1/1/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Frontier 1939- (480)

                                                            Last Frontier (480): Last
Request # 753   For Policy # Unknown        issued to the                                Local Council and   effective 1/1/1971   to 1/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Frontier 1939- (480)

                                                            Last Frontier (480): Last
Request # 754   For Policy # Unknown        issued to the                                Local Council and   effective 1/1/1972   to 1/1/1973    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Frontier 1939- (480)

                                                            Last Frontier (480): Last
Request # 755   For Policy # Unknown        issued to the                                Local Council and   effective 1/1/1973   to 1/1/1974    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Frontier 1939- (480)

                                                            Last Frontier (480): Last
Request # 756   For Policy # Unknown        issued to the                                Local Council and   effective 1/1/1974   to 1/1/1975    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Frontier 1939- (480)

                                                            Laurel Highlands (527):
Request # 757   For Policy # SBL 43224      issued to the                                Local Council and   effective 7/1/1967   to 1/1/1968    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Allegheny 1921-1967 (527)
                                                            Laurel Highlands (527):
Request # 758   For Policy # SBL 4 32 55    issued to the   Allegheny Trails 1967-1993   Local Council and   effective 1/1/1968   to 1/1/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            (527)
                                                            Laurel Highlands (527):
Request # 759   For Policy # SBL43276       issued to the   Allegheny Trails 1967-1993   Local Council and   effective 1/1/1969   to 1/1/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            (527)
                                                            Laurel Highlands (527):
Request # 760   For Policy # SBL 43295      issued to the   Allegheny Trails 1967-1993   Local Council and   effective 1/1/1970   to 1/1/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            (527)
                                                            Laurel Highlands (527):
Request # 761   For Policy # SBL 52313      issued to the   Allegheny Trails 1967-1993   Local Council and   effective 1/1/1971   to 1/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            (527)
                                                            Laurel Highlands (527):
Request # 762   For Policy # GAL120157      issued to the   Allegheny Trails 1967-1993   Local Council and   effective 1/1/1972   to 1/1/1973    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            (527)
                                                            Laurel Highlands (527):
Request # 763   For Policy # GLP 40 87 78   issued to the   Allegheny Trails 1967-1993   Local Council and   effective 1/1/1973   to 5/31/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            (527)


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                                                             Laurel Highlands (527): Blair-
Request # 764   For Policy # SBL 4 29 60     issued to the                                    Local Council and   effective 3/1/1965   to 3/1/1966   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             Bedford 1929-1970 (496)

                                                             Laurel Highlands (527): Blair-
Request # 765   For Policy # SBL 4 29 60     issued to the                                    Local Council and   effective 3/1/1966   to 3/1/1967   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             Bedford 1929-1970 (496)

                                                             Laurel Highlands (527): Blair-
Request # 766   For Policy # SBL 4 29 60     issued to the                                    Local Council and   effective 3/1/1967   to 3/1/1968   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             Bedford 1929-1970 (496)

                                                             Laurel Highlands (527): Blair-
Request # 767   For Policy # SBL 4 69 20     issued to the                                    Local Council and   effective 3/1/1968   to 3/1/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             Bedford 1929-1970 (496)

                                                             Laurel Highlands (527): Blair-
Request # 768   For Policy # SBL 4 69 20     issued to the                                    Local Council and   effective 3/1/1969   to 3/1/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             Bedford 1929-1970 (496)

                                                             Laurel Highlands (527): Blair-
Request # 769   For Policy # SBL 46910       issued to the                                    Local Council and   effective 3/1/1970   to 3/1/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             Bedford 1929-1970 (496)

                                                             Laurel Highlands (527): Blair-
Request # 770   For Policy # SBL 4 69 20     issued to the                                    Local Council and   effective 3/1/1970   to 3/1/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             Bedford 1929-1970 (496)

                                                             Laurel Highlands (527): Blair-
Request # 771   For Policy # SBL 51496       issued to the                                    Local Council and   effective 3/1/1971   to 3/1/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             Bedford 1929-1970 (496)

                                                             Laurel Highlands (527): East
Request # 772   For Policy # SBL-4-32-15     issued to the                                    Local Council and   effective 1/1/1967   to 1/1/1968   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             Boroughs 1921-1973 (540)

                                                             Laurel Highlands (527): East
Request # 773   For Policy # SBL 4 32 56     issued to the                                    Local Council and   effective 1/1/1968   to 1/1/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             Boroughs 1921-1973 (540)

                                                             Laurel Highlands (527): East
Request # 774   For Policy # SBL 4 32 78     issued to the                                    Local Council and   effective 1/1/1969   to 1/1/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             Boroughs 1921-1973 (540)

                                                             Laurel Highlands (527): East
Request # 775   For Policy # SBL 52311       issued to the                                    Local Council and   effective 1/1/1971   to 1/1/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             Boroughs 1921-1973 (540)

                                                             Laurel Highlands (527): East
Request # 776   For Policy # GAL 12 01 58    issued to the                                    Local Council and   effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             Boroughs 1921-1973 (540)

                                                             Laurel Highlands (527): East
Request # 777   For Policy # GAL 11 71 47    issued to the                                    Local Council and   effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             Valley Area 1973-1993 (530)

                                                             Laurel Highlands (527): East
Request # 778   For Policy # GLP 408779      issued to the                                    Local Council and   effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             Valley Area 1973-1993 (530)

                                                             Laurel Highlands (527): East
Request # 779   For Policy #   XBC 8 63 64   issued to the                                    Local Council and   effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             Valley Area 1973-1993 (530)

                                                             Laurel Highlands (527): East
Request # 780   For Policy # GAL 20 60 95    issued to the                                    Local Council and   effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             Valley Area 1973-1993 (530)



                                                                                                                          48
                                                            Laurel Highlands (527): East
Request # 781   For Policy # XBC 110662     issued to the                                    Local Council and   effective 1/1/1974    to 1/1/1975    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Valley Area 1973-1993 (530)

                                                            Laurel Highlands (527): East
Request # 782   For Policy # GAL 20 63 77   issued to the                                    Local Council and   effective 1/1/1975    to 1/1/1976    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Valley Area 1973-1993 (530)

                                                            Laurel Highlands (527): East
Request # 783   For Policy # GAL 32 85 17   issued to the                                    Local Council and   effective 1/1/1976    to 1/1/1977    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Valley Area 1973-1993 (530)

                                                            Laurel Highlands (527): East
Request # 784   For Policy # GAL 33 71 19   issued to the                                    Local Council and   effective 1/1/1977    to 1/1/1978    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Valley Area 1973-1993 (530)
                                                            Laurel Highlands (527):
Request # 785   For Policy # SBL-4-32-57    issued to the   Monongahela Valley 1952-1971     Local Council and   effective 1/1/1968    to 1/1/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            (516)
                                                            Laurel Highlands (527):
Request # 786   For Policy # Unknown        issued to the   Monongahela Valley 1952-1971     Local Council and   effective 1/1/1969    to 1/1/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            (516)
                                                            Laurel Highlands (527):
Request # 787   For Policy # Unknown        issued to the   Monongahela Valley 1952-1971     Local Council and   effective 1/1/1970    to 1/1/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            (516)
                                                            Laurel Highlands (527):
Request # 788   For Policy # Unknown        issued to the   Monongahela Valley 1952-1971     Local Council and   effective 1/1/1971    to 1/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            (516)
                                                            Laurel Highlands (527): Mon-
Request # 789   For Policy # GAL 12 01 59   issued to the                                    Local Council and   effective 1/1/1972    to 1/1/1973    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Yough 1971-1973 (523)
                                                          Laurel Highlands (527):
Request # 790   For Policy # SBL 45382      issued to the Nemacolin Trails 1964-1967         Local Council and   effective 4/1/1966    to 4/1/1967    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (720)
                                                          Laurel Highlands (527):
Request # 791   For Policy # SBL 45382      issued to the Nemacolin Trails 1964-1967         Local Council and   effective 4/1/1967    to 6/15/1967   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (720)
                                                            Laurel Highlands (527): Penn's
Request # 792   For Policy # SBL 5 15 22    issued to the                                    Local Council and   effective 2/16/1971   to 2/16/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Woods 1970-1992 (508)

                                                            Leatherstocking (400): Upper
Request # 793   For Policy # GA048921       issued to the                                    Local Council and   effective 1/1/1967    to 1/1/1968    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Mohawk 1937-1981 (406)

                                                            Leatherstocking (400): Upper
Request # 794   For Policy # Unknown        issued to the                                    Local Council and   effective 1/1/1968    to 1/1/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Mohawk 1937-1981 (406)

                                                            Leatherstocking (400): Upper
Request # 795   For Policy # Unknown        issued to the                                    Local Council and   effective 1/1/1969    to 1/1/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Mohawk 1937-1981 (406)

                                                            Leatherstocking (400): Upper
Request # 796   For Policy # Unknown        issued to the                                    Local Council and   effective 1/1/1970    to 1/1/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Mohawk 1937-1981 (406)

                                                            Leatherstocking (400): Upper
Request # 797   For Policy # Unknown        issued to the                                    Local Council and   effective 1/1/1971    to 1/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Mohawk 1937-1981 (406)



                                                                                                                         49
                                                           Lincoln Heritage (205):
Request # 798   For Policy # SBL xxxx6     issued to the                                  Local Council and   effective 3/1/1967    to 3/1/1968    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Audubon 1952-1994 (200)

                                                           Lincoln Heritage (205):
Request # 799   For Policy # SBL 44476     issued to the                                  Local Council and   effective 3/1/1968    to 3/1/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Audubon 1952-1994 (200)

                                                           Lincoln Heritage (205):
Request # 800   For Policy # SBL 5 11 78   issued to the                                  Local Council and   effective 3/1/1969    to 3/1/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Audubon 1952-1994 (200)

                                                           Lincoln Heritage (205):
Request # 801   For Policy # SBL 5 11 78   issued to the                                  Local Council and   effective 3/1/1970    to 3/1/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Audubon 1952-1994 (200)

                                                           Lincoln Heritage (205):
Request # 802   For Policy # SBL 5 11 78   issued to the                                  Local Council and   effective 3/1/1971    to 3/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Audubon 1952-1994 (200)

                                                           Lincoln Heritage (205): Four
Request # 803   For Policy # SBL 44415     issued to the                                  Local Council and   effective 5/7/1965    to 5/7/1966    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Rivers 1940-1994 (207)

                                                           Lincoln Heritage (205): Four
Request # 804   For Policy # SBL 44415     issued to the                                  Local Council and   effective 5/7/1966    to 5/7/1967    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Rivers 1940-1994 (207)

                                                           Lincoln Heritage (205): Four
Request # 805   For Policy # SBL 44415     issued to the                                  Local Council and   effective 5/7/1967    to 5/7/1968    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Rivers 1940-1994 (207)

                                                           Lincoln Heritage (205): Four
Request # 806   For Policy # SBL 44478     issued to the                                  Local Council and   effective 5/7/1968    to 5/7/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Rivers 1940-1994 (207)

                                                           Lincoln Heritage (205): Four
Request # 807   For Policy # SBL 44478     issued to the                                  Local Council and   effective 5/7/1969    to 5/7/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Rivers 1940-1994 (207)

                                                           Lincoln Heritage (205): Four
Request # 808   For Policy # SBL 44478     issued to the                                  Local Council and   effective 5/7/1970    to 5/7/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Rivers 1940-1994 (207)

                                                           Lincoln Heritage (205): Four
Request # 809   For Policy # Unknown       issued to the                                  Local Council and   effective 5/7/1971    to 5/7/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Rivers 1940-1994 (207)

                                                           Lincoln Heritage (205): Four
Request # 810   For Policy # Unknown       issued to the                                  Local Council and   effective 5/7/1972    to 1/1/1973    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Rivers 1940-1994 (207)
                                                         Lincoln Heritage (205): George
Request # 811   For Policy # SBL 5 04 28   issued to the Rogers Clark Area 1927-1993    Local Council and     effective 11/19/1968 to 11/19/1969 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (143)
                                                         Lincoln Heritage (205): George
Request # 812   For Policy # SBL 5 04 28   issued to the Rogers Clark Area 1927-1993    Local Council and     effective 11/19/1969 to 11/19/1970 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (143)
                                                         Lincoln Heritage (205): George
Request # 813   For Policy # SBL 5 04 28   issued to the Rogers Clark Area 1927-1993    Local Council and     effective 11/19/1970 to 11/19/1971 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (143)
                                                           Long Beach Area (032): Long
Request # 814   For Policy # SBL 42932     issued to the                                  Local Council and   effective 4/1/1965    to 4/1/1966    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Beach Area (032)



                                                                                                                      50
                                                           Long Beach Area (032): Long
Request # 815   For Policy # SBL 42932     issued to the                                  Local Council and   effective 4/1/1966    to 4/1/1967    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Beach Area (032)

                                                           Long Beach Area (032): Long
Request # 816   For Policy # SBL 42932     issued to the                                  Local Council and   effective 4/1/1967    to 4/1/1968    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Beach Area (032)

                                                           Long Beach Area (032): Long
Request # 817   For Policy # SBL 46936     issued to the                                  Local Council and   effective 4/1/1968    to 4/1/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Beach Area (032)

                                                           Long Beach Area (032): Long
Request # 818   For Policy # SBL 46936     issued to the                                  Local Council and   effective 4/1/1969    to 4/1/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Beach Area (032)

                                                           Long Beach Area (032): Long
Request # 819   For Policy # SBL 46936     issued to the                                  Local Council and   effective 4/1/1970    to 4/1/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Beach Area (032)

                                                           Long Beach Area (032): Long
Request # 820   For Policy # SBL 51508     issued to the                                  Local Council and   effective 4/1/1971    to 4/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Beach Area (032)

                                                           Longhorn (662): Longhorn -
Request # 821   For Policy # Unknown       issued to the                                  Local Council and   effective 1/1/1965    to 1/1/1966    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           2001 (582)

                                                           Longhorn (662): Longhorn -
Request # 822   For Policy # Unknown       issued to the                                  Local Council and   effective 1/1/1966    to 1/1/1967    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           2001 (582)

                                                           Longhorn (662): Longhorn -
Request # 823   For Policy # Unknown       issued to the                                  Local Council and   effective 1/1/1967    to 1/1/1968    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           2001 (582)

                                                           Longhorn (662): Longhorn -
Request # 824   For Policy # Unknown       issued to the                                  Local Council and   effective 1/1/1968    to 1/1/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           2001 (582)

                                                           Longhorn (662): Longhorn -
Request # 825   For Policy # Unknown       issued to the                                  Local Council and   effective 1/1/1969    to 1/1/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           2001 (582)

                                                           Longhorn (662): Longhorn -
Request # 826   For Policy # Unknown       issued to the                                  Local Council and   effective 1/1/1970    to 1/1/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           2001 (582)

                                                           Longhorn (662): Longhorn -
Request # 827   For Policy # Unknown       issued to the                                  Local Council and   effective 1/1/1971    to 1/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           2001 (582)

                                                           Longhorn (662): Longhorn -
Request # 828   For Policy # Unknown       issued to the                                  Local Council and   effective 1/1/1972    to 1/1/1973    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           2001 (582)

                                                           Longhorn (662): Longhorn -
Request # 829   For Policy # Unknown       issued to the                                  Local Council and   effective 1/1/1973    to 1/1/1974    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           2001 (582)

                                                           Longhorn (662): Longhorn -
Request # 830   For Policy # Unknown       issued to the                                  Local Council and   effective 1/1/1974    to 1/1/1975    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           2001 (582)

                                                           Longs Peak (062): Wyo-Braska
Request # 831   For Policy # SBL-4-79-46   issued to the                                  Local Council and   effective 11/12/1968 to 11/12/1969 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1936-1975 (325)



                                                                                                                      51
                                                           Longs Peak (062): Wyo-Braska
Request # 832   For Policy # SBL 52108     issued to the                                   Local Council and   effective 11/12/1969 to 11/12/1970 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1936-1975 (325)

                                                           Longs Peak (062): Wyo-Braska
Request # 833   For Policy # SBL 52126     issued to the                                   Local Council and   effective 11/12/1970 to 11/12/1971 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1936-1975 (325)

                                                           Los Padres (053): Santa Lucia
Request # 834   For Policy # SBL 46901     issued to the                                   Local Council and   effective 1/14/1965   to 1/14/1966   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area 1939-1994 (056)

                                                           Los Padres (053): Santa Lucia
Request # 835   For Policy # SBL 46901     issued to the                                   Local Council and   effective 1/14/1966   to 1/14/1967   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area 1939-1994 (056)

                                                           Los Padres (053): Santa Lucia
Request # 836   For Policy # SBL 46901     issued to the                                   Local Council and   effective 1/14/1967   to 1/14/1968   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area 1939-1994 (056)

                                                           Los Padres (053): Santa Lucia
Request # 837   For Policy # SBL 46901     issued to the                                   Local Council and   effective 1/14/1968   to 1/14/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area 1939-1994 (056)

                                                           Los Padres (053): Santa Lucia
Request # 838   For Policy # SBL 46901     issued to the                                   Local Council and   effective 1/14/1969   to 1/14/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area 1939-1994 (056)

                                                           Los Padres (053): Santa Lucia
Request # 839   For Policy # SBL 46901     issued to the                                   Local Council and   effective 1/14/1970   to 1/14/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area 1939-1994 (056)

                                                           Los Padres (053): Santa Lucia
Request # 840   For Policy # SBL 5 13 94   issued to the                                   Local Council and   effective 1/14/1971   to 1/14/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area 1939-1994 (056)

                                                           Los Padres (053): Santa Lucia
Request # 841   For Policy # SBL 5 13 94   issued to the                                   Local Council and   effective 1/14/1972   to 1/14/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area 1939-1994 (056)
                                                           Louisiana Purchase (213):
Request # 842   For Policy # SBL 3 12 49   issued to the   Ouachita Valley 1925-2003       Local Council and   effective 4/27/1966   to 4/27/1967   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (213)
                                                           Louisiana Purchase (213):
Request # 843   For Policy # SBL 3 12 49   issued to the   Ouachita Valley 1925-2003       Local Council and   effective 4/27/1967   to 4/27/1968   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (213)
                                                           Louisiana Purchase (213):
Request # 844   For Policy # SBL 3 12 49   issued to the   Ouachita Valley 1925-2003       Local Council and   effective 4/27/1968   to 4/27/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (213)
                                                           Louisiana Purchase (213):
Request # 845   For Policy # SBL 3 12 49   issued to the   Ouachita Valley 1925-2003       Local Council and   effective 4/27/1969   to 4/27/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (213)
                                                           Louisiana Purchase (213):
Request # 846   For Policy # SBL 3 12 49   issued to the   Ouachita Valley 1925-2003       Local Council and   effective 4/27/1970   to 4/27/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (213)
                                                           Louisiana Purchase (213):
Request # 847   For Policy # SBL 3 12 49   issued to the   Ouachita Valley 1925-2003       Local Council and   effective 4/27/1971   to 4/27/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (213)

Request # 848   For Policy # SBL 51181     issued to the Marin (035): Marin (035)          Local Council and   effective 4/10/1969   to 4/10/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.



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Request # 849   For Policy # SBL 51181       issued to the Marin (035): Marin (035)         Local Council and   effective 4/10/1970   to 4/10/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 850   For Policy # SBL 51181       issued to the Marin (035): Marin (035)         Local Council and   effective 4/10/1971   to 4/10/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.

                                                             Mayflower (251): Squanto 1936-
Request # 851   For Policy # Unknown         issued to the                                  Local Council and   effective 7/1/1966    to 7/1/1967    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             1969 (228)

                                                             Mayflower (251): Squanto 1936-
Request # 852   For Policy # Unknown         issued to the                                  Local Council and   effective 7/1/1967    to 7/1/1968    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             1969 (228)

                                                             Mayflower (251): Squanto 1936-
Request # 853   For Policy # Unknown         issued to the                                  Local Council and   effective 7/1/1968    to 7/1/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             1969 (228)

                                                             Mayflower (251): Squanto 1936-
Request # 854   For Policy # SBL 51194       issued to the                                  Local Council and   effective 7/1/1969    to 10/30/1969 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             1969 (228)

                                                             Michigan Crossroads (780):
Request # 855   For Policy #   SBL 4 29 80   issued to the                                  Local Council and   effective 3/29/1965   to 3/29/1966   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             Blue Water 1939-2012 (277)

                                                             Michigan Crossroads (780):
Request # 856   For Policy # Unknown         issued to the                                  Local Council and   effective 6/1/1965    to 6/1/1966    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             Blue Water 1939-2012 (277)

                                                             Michigan Crossroads (780):
Request # 857   For Policy #   SBL 4 29 80   issued to the                                  Local Council and   effective 3/29/1966   to 3/29/1967   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             Blue Water 1939-2012 (277)

                                                             Michigan Crossroads (780):
Request # 858   For Policy # Unknown         issued to the                                  Local Council and   effective 6/1/1966    to 6/1/1967    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             Blue Water 1939-2012 (277)

                                                             Michigan Crossroads (780):
Request # 859   For Policy #   SBL 4 29 80   issued to the                                  Local Council and   effective 3/29/1967   to 3/29/1968   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             Blue Water 1939-2012 (277)

                                                             Michigan Crossroads (780):
Request # 860   For Policy # Unknown         issued to the                                  Local Council and   effective 6/1/1967    to 3/29/1968   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             Blue Water 1939-2012 (277)

                                                             Michigan Crossroads (780):
Request # 861   For Policy # SBL 46919       issued to the                                  Local Council and   effective 3/29/1968   to 3/29/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             Blue Water 1939-2012 (277)

                                                             Michigan Crossroads (780):
Request # 862   For Policy # SBL 46919       issued to the                                  Local Council and   effective 3/29/1969   to 3/29/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             Blue Water 1939-2012 (277)

                                                             Michigan Crossroads (780):
Request # 863   For Policy # SBL 46919       issued to the                                  Local Council and   effective 3/29/1970   to 3/29/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             Blue Water 1939-2012 (277)

                                                             Michigan Crossroads (780):
Request # 864   For Policy # SBL 51414       issued to the                                  Local Council and   effective 3/29/1971   to 3/29/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             Blue Water 1939-2012 (277)

                                                             Michigan Crossroads (780):
Request # 865   For Policy # SBL 52003       issued to the                                Local Council and     effective 5/1/1969    to 5/1/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             Chief Okemos 1932-2012 (271)



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                                                           Michigan Crossroads (780):
Request # 866   For Policy # XPL 17689     issued to the                                Local Council and     effective 5/1/1970    to 5/1/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Chief Okemos 1932-2012 (271)

                                                           Michigan Crossroads (780):
Request # 867   For Policy # SBL 52042     issued to the                                Local Council and     effective 5/1/1970    to 5/1/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Chief Okemos 1932-2012 (271)

                                                           Michigan Crossroads (780):
Request # 868   For Policy # XPL 17748     issued to the                                Local Council and     effective 5/1/1971    to 5/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Chief Okemos 1932-2012 (271)

                                                           Michigan Crossroads (780):
Request # 869   For Policy # SBL 52066     issued to the                                Local Council and     effective 5/1/1971    to 5/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Chief Okemos 1932-2012 (271)

                                                           Michigan Crossroads (780):
Request # 870   For Policy # Unknown       issued to the                                Local Council and     effective 5/1/1972    to 5/1/1973    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Chief Okemos 1932-2012 (271)

                                                           Michigan Crossroads (780):
Request # 871   For Policy # XPL 17748     issued to the                                Local Council and     effective 5/1/1972    to 6/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Chief Okemos 1932-2012 (271)

                                                           Michigan Crossroads (780):
Request # 872   For Policy # LB-3-79-18    issued to the                                  Local Council and   effective 6/1/1962    to 6/1/1963    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Clinton Valley 1937-2009 (276)

                                                           Michigan Crossroads (780):
Request # 873   For Policy # LB-3-79-18    issued to the                                  Local Council and   effective 6/1/1963    to 6/1/1964    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Clinton Valley 1937-2009 (276)

                                                           Michigan Crossroads (780):
Request # 874   For Policy # LB-3-79-18    issued to the                                  Local Council and   effective 6/1/1964    to 6/1/1965    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Clinton Valley 1937-2009 (276)

                                                           Michigan Crossroads (780):
Request # 875   For Policy # SBL 4 24 72   issued to the                                  Local Council and   effective 6/1/1965    to 6/1/1966    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Clinton Valley 1937-2009 (276)

                                                           Michigan Crossroads (780):
Request # 876   For Policy # SBL 4 24 72   issued to the                                  Local Council and   effective 6/1/1966    to 6/1/1967    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Clinton Valley 1937-2009 (276)

                                                           Michigan Crossroads (780):
Request # 877   For Policy # SBL 4 24 72   issued to the                                  Local Council and   effective 6/1/1967    to 6/1/1968    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Clinton Valley 1937-2009 (276)

                                                           Michigan Crossroads (780):
Request # 878   For Policy # SBL 47729     issued to the                                  Local Council and   effective 6/1/1968    to 6/1/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Clinton Valley 1937-2009 (276)

                                                           Michigan Crossroads (780):
Request # 879   For Policy # SBL 47729     issued to the                                  Local Council and   effective 6/1/1969    to 6/1/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Clinton Valley 1937-2009 (276)

                                                           Michigan Crossroads (780):
Request # 880   For Policy # SBL 47729     issued to the                                  Local Council and   effective 6/1/1970    to 6/1/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Clinton Valley 1937-2009 (276)

                                                           Michigan Crossroads (780):
Request # 881   For Policy # SBL 52072     issued to the                                  Local Council and   effective 6/1/1971    to 6/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Clinton Valley 1937-2009 (276)

                                                           Michigan Crossroads (780):
Request # 882   For Policy # SBL 45740     issued to the                                  Local Council and   effective 2/13/1966   to 2/13/1967   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Detroit Area -2009 (262)



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                                                           Michigan Crossroads (780):
Request # 883   For Policy # SBL-4-76-71   issued to the                                  Local Council and   effective 2/13/1967   to 2/13/1968   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Detroit Area -2009 (262)

                                                           Michigan Crossroads (780):
Request # 884   For Policy # SBL 4 77 22   issued to the                                  Local Council and   effective 2/13/1968   to 2/13/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Detroit Area -2009 (262)

                                                           Michigan Crossroads (780):
Request # 885   For Policy # SBL 4 77 56   issued to the                                  Local Council and   effective 2/13/1969   to 2/13/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Detroit Area -2009 (262)

                                                           Michigan Crossroads (780):
Request # 886   For Policy # SBL 4 77 56   issued to the                                  Local Council and   effective 2/13/1970   to 2/13/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Detroit Area -2009 (262)

                                                           Michigan Crossroads (780):
Request # 887   For Policy # SBL 52065     issued to the                                  Local Council and   effective 2/13/1971   to 2/13/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Detroit Area -2009 (262)

                                                           Michigan Crossroads (780):
Request # 888   For Policy # Unknown       issued to the                                  Local Council and   effective 1/1/1961    to 1/1/1962    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Grand Valley 1936-1975 (266)

                                                           Michigan Crossroads (780):
Request # 889   For Policy # Unknown       issued to the                                  Local Council and   effective 1/1/1962    to 1/1/1963    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Grand Valley 1936-1975 (266)

                                                           Michigan Crossroads (780):
Request # 890   For Policy # SBL-4-95-05   issued to the                                  Local Council and   effective 5/20/1962   to 5/20/1963   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Grand Valley 1936-1975 (266)

                                                           Michigan Crossroads (780):
Request # 891   For Policy # Unknown       issued to the                                  Local Council and   effective 1/1/1963    to 1/1/1964    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Grand Valley 1936-1975 (266)

                                                           Michigan Crossroads (780):
Request # 892   For Policy # SBL-4-95-05   issued to the                                  Local Council and   effective 5/20/1963   to 5/19/1964   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Grand Valley 1936-1975 (266)

                                                           Michigan Crossroads (780):
Request # 893   For Policy # Unknown       issued to the                                  Local Council and   effective 1/1/1964    to 5/20/1964   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Grand Valley 1936-1975 (266)

                                                           Michigan Crossroads (780):
Request # 894   For Policy # SBL-4-95-05   issued to the                                  Local Council and   effective 5/20/1964   to 5/20/1965   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Grand Valley 1936-1975 (266)

                                                           Michigan Crossroads (780):
Request # 895   For Policy # SBL-4-24-73   issued to the                                  Local Council and   effective 5/20/1965   to 5/20/1966   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Grand Valley 1936-1975 (266)

                                                           Michigan Crossroads (780):
Request # 896   For Policy # SBL-4-24-73   issued to the                                  Local Council and   effective 5/20/1966   to 5/20/1967   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Grand Valley 1936-1975 (266)

                                                           Michigan Crossroads (780):
Request # 897   For Policy # SBL-4-24-73   issued to the                                  Local Council and   effective 5/20/1967   to 5/20/1968   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Grand Valley 1936-1975 (266)

                                                           Michigan Crossroads (780):
Request # 898   For Policy # Unknown       issued to the                                  Local Council and   effective 5/20/1968   to 5/20/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Grand Valley 1936-1975 (266)

                                                           Michigan Crossroads (780):
Request # 899   For Policy # SBL-4-77-27   issued to the                                  Local Council and   effective 5/20/1969   to 5/20/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Grand Valley 1936-1975 (266)



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                                                            Michigan Crossroads (780):
Request # 900   For Policy # SBL-5-20-37    issued to the                                   Local Council and   effective 5/20/1970   to 5/20/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Grand Valley 1936-1975 (266)

                                                            Michigan Crossroads (780):
Request # 901   For Policy # SBL-5-20-37    issued to the                                   Local Council and   effective 5/20/1971   to 5/20/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Grand Valley 1936-1975 (266)

                                                            Michigan Crossroads (780):
Request # 902   For Policy # GLP 43 22 35   issued to the                                   Local Council and   effective 1/1/1975    to 6/2/1975    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Grand Valley 1936-1975 (266)

                                                            Michigan Crossroads (780):
Request # 903   For Policy # XBC 123702     issued to the                                   Local Council and   effective 1/1/1975    to 6/2/1975    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Grand Valley 1936-1975 (266)

                                                            Michigan Crossroads (780):
Request # 904   For Policy # Unknown        issued to the                                   Local Council and   effective 1/1/1975    to 1/1/1976    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Grand Valley 1936-1975 (266)

                                                            Michigan Crossroads (780):
Request # 905   For Policy # SBL 4 29 76    issued to the                                 Local Council and     effective 4/24/1965   to 4/24/1966   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Land O' Lakes 1937-1993 (269)

                                                            Michigan Crossroads (780):
Request # 906   For Policy # SBL 4 29 76    issued to the                                 Local Council and     effective 4/24/1966   to 4/24/1967   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Land O' Lakes 1937-1993 (269)

                                                            Michigan Crossroads (780):
Request # 907   For Policy # SBL 4 29 76    issued to the                                 Local Council and     effective 4/24/1967   to 4/24/1968   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Land O' Lakes 1937-1993 (269)

                                                            Michigan Crossroads (780):
Request # 908   For Policy # SBL 4 69 30    issued to the                                 Local Council and     effective 4/24/1968   to 4/24/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Land O' Lakes 1937-1993 (269)

                                                            Michigan Crossroads (780):
Request # 909   For Policy # SBL 4 69 30    issued to the                                 Local Council and     effective 4/24/1969   to 4/24/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Land O' Lakes 1937-1993 (269)

                                                            Michigan Crossroads (780):
Request # 910   For Policy # SBL 4 69 30    issued to the                                 Local Council and     effective 4/24/1970   to 4/24/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Land O' Lakes 1937-1993 (269)

                                                            Michigan Crossroads (780):
Request # 911   For Policy # SBL 5 15 06    issued to the                                 Local Council and     effective 4/24/1971   to 4/23/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Land O' Lakes 1937-1993 (269)

                                                            Michigan Crossroads (780):
Request # 912   For Policy # LAB-1-69-55    issued to the                                   Local Council and   effective 6/4/1964    to 6/4/1965    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Scenic Trails 1939-2012 (274)

                                                            Michigan Crossroads (780):
Request # 913   For Policy # SBL-4-24-74    issued to the                                   Local Council and   effective 6/4/1965    to 6/4/1966    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Scenic Trails 1939-2012 (274)

                                                            Michigan Crossroads (780):
Request # 914   For Policy # SBL-4-24-74    issued to the                                   Local Council and   effective 6/4/1966    to 6/4/1967    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Scenic Trails 1939-2012 (274)

                                                            Michigan Crossroads (780):
Request # 915   For Policy # SBL-4-24-74    issued to the                                   Local Council and   effective 6/4/1967    to 6/4/1968    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Scenic Trails 1939-2012 (274)

                                                            Michigan Crossroads (780):
Request # 916   For Policy # SBL-4-24-74    issued to the                                   Local Council and   effective 6/4/1968    to 6/4/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Scenic Trails 1939-2012 (274)



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                                                            Michigan Crossroads (780):
Request # 917   For Policy # SBL-5-20-06    issued to the                                   Local Council and   effective 6/4/1969    to 6/4/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Scenic Trails 1939-2012 (274)

                                                            Michigan Crossroads (780):
Request # 918   For Policy # SBL 52038      issued to the                                   Local Council and   effective 6/4/1970    to 6/4/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Scenic Trails 1939-2012 (274)

                                                            Michigan Crossroads (780):
Request # 919   For Policy # SBL 52038      issued to the                                   Local Council and   effective 6/4/1971    to 6/3/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Scenic Trails 1939-2012 (274)
                                                            Michigan Crossroads (780):
Request # 920   For Policy # OBP 68693      issued to the   Southwestern Michigan 1941-     Local Council and   effective 10/29/1969 to 10/29/1970 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1973 (258)
                                                            Michigan Crossroads (780):
Request # 921   For Policy # OBP 68693      issued to the   Southwestern Michigan 1941-     Local Council and   effective 10/29/1970 to 10/29/1971 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1973 (258)
                                                            Michigan Crossroads (780):
Request # 922   For Policy # OBP 68693      issued to the   Southwestern Michigan 1941-     Local Council and   effective 10/29/1971 to 10/29/1972 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1973 (258)
                                                            Michigan Crossroads (780):
Request # 923   For Policy # OBP 12 56 44   issued to the   Southwestern Michigan 1941-     Local Council and   effective 10/29/1972 to 1/1/1973     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1973 (258)
                                                            Michigan Crossroads (780): Tall
Request # 924   For Policy # SBL-4-24-59    issued to the                                   Local Council and   effective 6/12/1967   to 6/12/1968   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Pine 1937-2012 (264)

                                                            Michigan Crossroads (780): Tall
Request # 925   For Policy # SBL-4-77-37    issued to the                                   Local Council and   effective 6/12/1968   to 6/12/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Pine 1937-2012 (264)

                                                            Michigan Crossroads (780): Tall
Request # 926   For Policy # SBL 52007      issued to the                                   Local Council and   effective 6/12/1969   to 6/12/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Pine 1937-2012 (264)

                                                            Michigan Crossroads (780): Tall
Request # 927   For Policy # SBL 52046      issued to the                                   Local Council and   effective 6/12/1970   to 6/12/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Pine 1937-2012 (264)

                                                            Michigan Crossroads (780): Tall
Request # 928   For Policy # Unknown        issued to the                                   Local Council and   effective 6/12/1971   to 1/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Pine 1937-2012 (264)

                                                            Michigan Crossroads (780):
Request # 929   For Policy # SBL 4 57 66    issued to the                                   Local Council and   effective 7/27/1966   to 7/27/1967   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Timber Trails 1944-1975 (275)

                                                            Michigan Crossroads (780):
Request # 930   For Policy # SBL-4-76-81    issued to the                                   Local Council and   effective 7/27/1967   to 7/27/1968   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Timber Trails 1944-1975 (275)

                                                            Michigan Crossroads (780):
Request # 931   For Policy # SBL-4-76-81    issued to the                                   Local Council and   effective 7/27/1968   to 7/27/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Timber Trails 1944-1975 (275)

                                                            Michigan Crossroads (780):
Request # 932   For Policy # SBL 52012      issued to the                                   Local Council and   effective 7/27/1969   to 7/27/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Timber Trails 1944-1975 (275)

                                                            Michigan Crossroads (780):
Request # 933   For Policy # Unknown        issued to the                                   Local Council and   effective 7/27/1970   to 7/27/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Timber Trails 1944-1975 (275)



                                                                                                                        57
                                                           Michigan Crossroads (780):
Request # 934   For Policy # Unknown       issued to the                                   Local Council and   effective 7/27/1971   to 1/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Timber Trails 1944-1975 (275)

                                                           Michigan Crossroads (780):
Request # 935   For Policy # SBL 4 29 54   issued to the                                   Local Council and   effective 3/1/1965    to 3/1/1966    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Wolverine 1925-1973 (711)

                                                           Michigan Crossroads (780):
Request # 936   For Policy # SBL 4 29 54   issued to the                                   Local Council and   effective 3/1/1966    to 3/1/1967    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Wolverine 1925-1973 (711)

                                                           Michigan Crossroads (780):
Request # 937   For Policy # SBL 4 29 54   issued to the                                   Local Council and   effective 3/1/1967    to 3/1/1968    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Wolverine 1925-1973 (711)

                                                           Michigan Crossroads (780):
Request # 938   For Policy # Unknown       issued to the                                   Local Council and   effective 2/29/1968   to 2/28/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Wolverine 1925-1973 (711)

                                                           Michigan Crossroads (780):
Request # 939   For Policy # Unknown       issued to the                                   Local Council and   effective 2/28/1969   to 2/28/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Wolverine 1925-1973 (711)

                                                           Michigan Crossroads (780):
Request # 940   For Policy # Unknown       issued to the                                   Local Council and   effective 2/28/1970   to 3/1/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Wolverine 1925-1973 (711)

                                                           Michigan Crossroads (780):
Request # 941   For Policy # SBL 51315     issued to the                                   Local Council and   effective 3/1/1970    to 3/1/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Wolverine 1925-1973 (711)

                                                           Michigan Crossroads (780):
Request # 942   For Policy # SBL 51315     issued to the                                   Local Council and   effective 3/1/1971    to 3/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Wolverine 1925-1973 (711)

                                                           Mid-America (326): Mid-
Request # 943   For Policy # Unknown       issued to the                                   Local Council and   effective 1/1/1970    to 1/1/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           America 1965- (326)

                                                           Mid-America (326): Mid-
Request # 944   For Policy # Unknown       issued to the                                   Local Council and   effective 1/1/1971    to 1/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           America 1965- (326)

                                                           Mid-America (326): Mid-
Request # 945   For Policy # Unknown       issued to the                                   Local Council and   effective 1/1/1972    to 1/1/1973    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           America 1965- (326)

                                                           Mid-America (326): Prairie Gold
Request # 946   For Policy # SBL 52139     issued to the                                   Local Council and   effective 3/23/1971   to 3/23/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area 1942-2000 (179)

                                                           Mid-America (326): Sergeant
Request # 947   For Policy # Unknown       issued to the                                   Local Council and   effective 1/1/1961    to 1/1/1962    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Floyd Area 1939-1972 (185)

                                                           Mid-America (326): Sergeant
Request # 948   For Policy # Unknown       issued to the                                   Local Council and   effective 1/1/1962    to 1/1/1963    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Floyd Area 1939-1972 (185)

                                                           Mid-America (326): Sergeant
Request # 949   For Policy # Unknown       issued to the                                   Local Council and   effective 1/1/1963    to 1/1/1964    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Floyd Area 1939-1972 (185)

                                                           Mid-America (326): Sergeant
Request # 950   For Policy # Unknown       issued to the                                   Local Council and   effective 1/1/1964    to 1/1/1965    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Floyd Area 1939-1972 (185)



                                                                                                                       58
                                                           Mid-America (326): Sergeant
Request # 951   For Policy # Unknown       issued to the                                 Local Council and   effective 1/1/1965    to 1/1/1966    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Floyd Area 1939-1972 (185)

                                                           Mid-America (326): Sergeant
Request # 952   For Policy # Unknown       issued to the                                 Local Council and   effective 1/1/1966    to 1/1/1967    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Floyd Area 1939-1972 (185)

                                                           Mid-America (326): Sergeant
Request # 953   For Policy # SBL 4 49 67   issued to the                                 Local Council and   effective 3/23/1966   to 3/23/1967   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Floyd Area 1939-1972 (185)

                                                           Mid-America (326): Sergeant
Request # 954   For Policy # Unknown       issued to the                                 Local Council and   effective 1/1/1967    to 3/23/1967   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Floyd Area 1939-1972 (185)

                                                           Mid-America (326): Sergeant
Request # 955   For Policy # SBL 4 78 67   issued to the                                 Local Council and   effective 3/23/1967   to 3/22/1968   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Floyd Area 1939-1972 (185)

                                                           Mid-America (326): Sergeant
Request # 956   For Policy # SBL 4 79 20   issued to the                                 Local Council and   effective 3/23/1968   to 3/23/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Floyd Area 1939-1972 (185)

                                                           Mid-America (326): Sergeant
Request # 957   For Policy # SBL 4 79 54   issued to the                                 Local Council and   effective 3/23/1969   to 3/23/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Floyd Area 1939-1972 (185)

                                                           Mid-America (326): Sergeant
Request # 958   For Policy # SBL 52117     issued to the                                 Local Council and   effective 3/23/1970   to 3/23/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Floyd Area 1939-1972 (185)

                                                           Mid-America (326): Sergeant
Request # 959   For Policy # SBL 52139     issued to the                                 Local Council and   effective 3/23/1971   to 3/23/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Floyd Area 1939-1972 (185)

                                                           Middle Tennessee (560):
Request # 960   For Policy # SBL 5 04 06   issued to the                                 Local Council and   effective 4/1/1968    to 4/1/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Middle Tennessee (560)

                                                           Middle Tennessee (560):
Request # 961   For Policy # SBL 5 04 06   issued to the                                 Local Council and   effective 4/1/1969    to 4/1/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Middle Tennessee (560)

                                                           Middle Tennessee (560):
Request # 962   For Policy # SBL 5 04 06   issued to the                                 Local Council and   effective 4/1/1970    to 4/1/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Middle Tennessee (560)

                                                           Mid-Iowa (177): Southern Iowa
Request # 963   For Policy # SBL 4 53 76   issued to the                                 Local Council and   effective 1/24/1966   to 1/24/1967   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area 1929-1970 (184)

                                                           Mid-Iowa (177): Southern Iowa
Request # 964   For Policy # SBL 4 53 76   issued to the                                 Local Council and   effective 1/24/1967   to 1/24/1968   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area 1929-1970 (184)

                                                           Mid-Iowa (177): Southern Iowa
Request # 965   For Policy # SBL 4 53 76   issued to the                                 Local Council and   effective 1/24/1968   to 1/24/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area 1929-1970 (184)

                                                           Mid-Iowa (177): Southern Iowa
Request # 966   For Policy # SBL 5 04 33   issued to the                                 Local Council and   effective 1/24/1969   to 1/24/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area 1929-1970 (184)

                                                           Mid-Iowa (177): Southern Iowa
Request # 967   For Policy # SBL 5 04 33   issued to the                                 Local Council and   effective 1/24/1970   to 5/1/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area 1929-1970 (184)



                                                                                                                     59
                                                            Minsi Trails (502): Delaware
Request # 968   For Policy # 2075           issued to the                                      Local Council and   effective 10/16/1944 to 10/16/1945 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Valley Area 1932-1969 (510)

                                                            Minsi Trails (502): Lehigh
Request # 969   For Policy # SBL Unknown    issued to the                                      Local Council and   effective 12/1/1965   to 5/1/1966    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            County 1930-1969 (729)

                                                            Minsi Trails (502): Lehigh
Request # 970   For Policy # SBL 4 47 99    issued to the                                      Local Council and   effective 5/1/1966    to 5/1/1967    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            County 1930-1969 (729)

                                                            Minsi Trails (502): Lehigh
Request # 971   For Policy # SBL 4 47 99    issued to the                                      Local Council and   effective 5/1/1967    to 5/1/1968    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            County 1930-1969 (729)

                                                            Minsi Trails (502): Lehigh
Request # 972   For Policy # SBL 4 47 99    issued to the                                      Local Council and   effective 5/1/1968    to 5/1/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            County 1930-1969 (729)

                                                            Minsi Trails (502): Lehigh
Request # 973   For Policy # SBL 4 85 34    issued to the                                      Local Council and   effective 5/1/1969    to 5/9/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            County 1930-1969 (729)

                                                            Minsi Trails (502): Minsi Trails
Request # 974   For Policy # SBL 44799      issued to the                                      Local Council and   effective 1/1/1967    to 1/1/1968    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1968- (502)

                                                            Minsi Trails (502): Minsi Trails
Request # 975   For Policy # SBL 44799      issued to the                                      Local Council and   effective 1/1/1968    to 1/1/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1968- (502)

                                                            Minsi Trails (502): Minsi Trails
Request # 976   For Policy # SBL 44799      issued to the                                      Local Council and   effective 1/1/1969    to 1/1/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1968- (502)

                                                            Minsi Trails (502): Minsi Trails
Request # 977   For Policy # SBL-48567      issued to the                                      Local Council and   effective 1/1/1970    to 1/1/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1968- (502)

                                                            Minsi Trails (502): Minsi Trails
Request # 978   For Policy # SBL-48567      issued to the                                      Local Council and   effective 1/1/1971    to 1/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1968- (502)

                                                            Minsi Trails (502): Minsi Trails
Request # 979   For Policy # SBL-48567      issued to the                                      Local Council and   effective 1/1/1972    to 1/1/1973    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1968- (502)

                                                            Minsi Trails (502): Minsi Trails
Request # 980   For Policy # SBL-48567      issued to the                                      Local Council and   effective 1/1/1973    to 1/1/1974    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1968- (502)

                                                            Minsi Trails (502): Minsi Trails
Request # 981   For Policy # XBC-96766      issued to the                                      Local Council and   effective 1/1/1973    to 1/1/1974    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1968- (502)

                                                            Minsi Trails (502): Minsi Trails
Request # 982   For Policy # GLP 40 72 24   issued to the                                      Local Council and   effective 1/1/1973    to 1/1/1974    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1968- (502)

                                                            Minsi Trails (502): Minsi Trails
Request # 983   For Policy # GLP 40 72 24   issued to the                                      Local Council and   effective 1/1/1974    to 1/1/1975    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1968- (502)

                                                            Minsi Trails (502): Minsi Trails
Request # 984   For Policy # Unknown        issued to the                                      Local Council and   effective 1/1/1974    to 1/1/1975    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1968- (502)



                                                                                                                           60
                                                            Minsi Trails (502): Minsi Trails
Request # 985   For Policy # GLP 40 72 24   issued to the                                      Local Council and   effective 1/1/1975    to 1/1/1976    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1968- (502)

                                                            Minsi Trails (502): Minsi Trails
Request # 986   For Policy # Unknown        issued to the                                      Local Council and   effective 1/1/1976    to 1/1/1977    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1968- (502)

                                                            Minsi Trails (502): Minsi Trails
Request # 987   For Policy # GLP-621176     issued to the                                      Local Council and   effective 1/1/1977    to 1/1/1978    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1968- (502)

                                                            Mississippi Valley (141): Saukee
Request # 988   For Policy # SBL 5 04 24    issued to the                                    Local Council and     effective 6/20/1968   to 6/20/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Area 1935-1993 (141)

                                                            Mississippi Valley (141): Saukee
Request # 989   For Policy # SBL 5 04 24    issued to the                                    Local Council and     effective 6/20/1969   to 6/20/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Area 1935-1993 (141)

                                                            Mississippi Valley (141): Saukee
Request # 990   For Policy # SBL 5 04 24    issued to the                                    Local Council and     effective 6/20/1970   to 6/20/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Area 1935-1993 (141)

                                                            Mississippi Valley (141): Saukee
Request # 991   For Policy # SBL 5 15 61    issued to the                                    Local Council and     effective 6/20/1971   to 6/20/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Area 1935-1993 (141)
                                                          Mississippi Valley (141):
Request # 992   For Policy # SBL 4 30 00    issued to the Southeast Iowa 1929-1993             Local Council and   effective 6/1/1965    to 6/1/1966    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (171)
                                                          Mississippi Valley (141):
Request # 993   For Policy # SBL 4 30 00    issued to the Southeast Iowa 1929-1993             Local Council and   effective 6/1/1966    to 6/1/1967    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (171)
                                                          Mississippi Valley (141):
Request # 994   For Policy # SBL 4 30 00    issued to the Southeast Iowa 1929-1993             Local Council and   effective 6/1/1967    to 6/1/1968    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (171)
                                                          Mississippi Valley (141):
Request # 995   For Policy # SBL 4 69 46    issued to the Southeast Iowa 1929-1993             Local Council and   effective 6/1/1968    to 6/1/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (171)
                                                          Mississippi Valley (141):
Request # 996   For Policy # SBL 4 69 46    issued to the Southeast Iowa 1929-1993             Local Council and   effective 6/1/1969    to 6/1/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (171)
                                                          Mississippi Valley (141):
Request # 997   For Policy # SBL 4 69 46    issued to the Southeast Iowa 1929-1993             Local Council and   effective 6/1/1970    to 6/1/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (171)
                                                          Mississippi Valley (141):
Request # 998   For Policy # SBL 5 15 59    issued to the Southeast Iowa 1929-1993             Local Council and   effective 6/1/1971    to 6/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (171)
                                                            Mobile Area (004): Mobile Area
Request # 999   For Policy # SBL 46907      issued to the                                  Local Council and       effective 2/1/1970    to 2/1/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            (004)

                                                            Mobile Area (004): Mobile Area
Request # 1000 For Policy # SBL 51408       issued to the                                  Local Council and       effective 2/1/1971    to 2/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            (004)

                                                            Monmouth (347): Monmouth
Request # 1001 For Policy # SBL 42996       issued to the                                      Local Council and   effective 2/1/1965    to 2/1/1966    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            (347)



                                                                                                                           61
                                                           Monmouth (347): Monmouth
Request # 1002 For Policy # SBL 42996      issued to the                                  Local Council and   effective 2/1/1966    to 2/1/1967    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (347)

                                                           Monmouth (347): Monmouth
Request # 1003 For Policy # SBL 42996      issued to the                                  Local Council and   effective 2/1/1967    to 2/1/1968    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (347)

                                                           Monmouth (347): Monmouth
Request # 1004 For Policy # SBL 46903      issued to the                                  Local Council and   effective 2/1/1968    to 2/1/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (347)

                                                           Monmouth (347): Monmouth
Request # 1005 For Policy # SBL 46903      issued to the                                  Local Council and   effective 2/1/1969    to 2/1/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (347)

                                                           Monmouth (347): Monmouth
Request # 1006 For Policy # SBL 46903      issued to the                                  Local Council and   effective 2/1/1970    to 2/1/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (347)

                                                           Monmouth (347): Monmouth
Request # 1007 For Policy # SBL 51395      issued to the                                  Local Council and   effective 2/1/1971    to 2/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (347)

                                                           Montana (315): Western
Request # 1008 For Policy # SBL 3 31 46    issued to the                                  Local Council and   effective 2/1/1971    to 2/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Montana 1924-1973 (320)

                                                           Montana (315): Western
Request # 1009 For Policy # GAL 11 86 75   issued to the                                  Local Council and   effective 2/1/1972    to 1/31/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Montana 1924-1973 (320)

                                                           Mountain West (106):
Request # 1010 For Policy # SBL 4 29 74    issued to the                                Local Council and     effective 3/31/1965   to 3/31/1966   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Mountainview 1951-1968 (105)

                                                           Mountain West (106):
Request # 1011 For Policy # SBL 4 29 74    issued to the                                Local Council and     effective 3/31/1966   to 3/31/1967   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Mountainview 1951-1968 (105)

                                                           Mountain West (106):
Request # 1012 For Policy # GK-12042       issued to the                                Local Council and     effective 1/1/1967    to 1/1/1968    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Mountainview 1951-1968 (105)

                                                           Mountain West (106):
Request # 1013 For Policy # SBL 4 29 74    issued to the                                Local Council and     effective 3/31/1967   to 3/31/1968   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Mountainview 1951-1968 (105)

                                                           Mountain West (106): Ore-Ida
Request # 1014 For Policy # SBL 50411      issued to the                                  Local Council and   effective 3/31/1968   to 3/31/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1933-2020 (106)

                                                           Mountain West (106): Ore-Ida
Request # 1015 For Policy # SBL 50411      issued to the                                  Local Council and   effective 3/31/1969   to 3/31/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1933-2020 (106)

                                                           Mountain West (106): Ore-Ida
Request # 1016 For Policy # SBL 50411      issued to the                                  Local Council and   effective 3/31/1970   to 3/31/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1933-2020 (106)

                                                           Mountain West (106): Ore-Ida
Request # 1017 For Policy # Unknown        issued to the                                  Local Council and   effective 3/31/1971   to 1/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1933-2020 (106)

                                                           Mountain West (106): Ore-Ida
Request # 1018 For Policy # XBC 11 46 94   issued to the                                  Local Council and   effective 2/15/1974   to 2/1/1975    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1933-2020 (106)



                                                                                                                      62
                                                           Mountain West (106): Ore-Ida
Request # 1019 For Policy # XBC 11 48 44   issued to the                                  Local Council and   effective 2/1/1975    to 2/1/1976    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1933-2020 (106)

                                                           Mountaineer Area (615):
Request # 1020 For Policy # SBL 45387      issued to the                                  Local Council and   effective 6/4/1966    to 6/4/1967    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Mountaineer Area (615)

                                                           Mountaineer Area (615):
Request # 1021 For Policy # SBL 45387      issued to the                                  Local Council and   effective 6/4/1967    to 6/3/1968    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Mountaineer Area (615)

                                                           Mountaineer Area (615):
Request # 1022 For Policy # SBL 45387      issued to the                                  Local Council and   effective 6/4/1968    to 6/4/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Mountaineer Area (615)

                                                           Mountaineer Area (615):
Request # 1023 For Policy # SBL 51184      issued to the                                  Local Council and   effective 6/4/1969    to 6/4/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Mountaineer Area (615)

                                                           Mountaineer Area (615):
Request # 1024 For Policy # SBL 51184      issued to the                                  Local Council and   effective 6/4/1970    to 6/4/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Mountaineer Area (615)

                                                           Mountaineer Area (615):
Request # 1025 For Policy # SBL 51184      issued to the                                  Local Council and   effective 6/4/1971    to 6/3/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Mountaineer Area (615)

                                                           Muskingum Valley (467):
Request # 1026 For Policy # SBL 4-44-28    issued to the                                Local Council and     effective 6/26/1965   to 6/26/1966   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Muskingum Valley 1956- (467)

                                                           Muskingum Valley (467):
Request # 1027 For Policy # SBL 4-44-28    issued to the                                Local Council and     effective 6/26/1966   to 6/26/1967   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Muskingum Valley 1956- (467)

                                                           Muskingum Valley (467):
Request # 1028 For Policy # SBL 4-44-28    issued to the                                Local Council and     effective 6/26/1967   to 6/26/1968   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Muskingum Valley 1956- (467)

                                                           Muskingum Valley (467):
Request # 1029 For Policy # SBL-4-44-79    issued to the                                Local Council and     effective 6/26/1968   to 6/26/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Muskingum Valley 1956- (467)

                                                           Muskingum Valley (467):
Request # 1030 For Policy # SBL-4-44-79    issued to the                                Local Council and     effective 6/26/1969   to 6/26/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Muskingum Valley 1956- (467)

                                                           Muskingum Valley (467):
Request # 1031 For Policy # SBL-4-44-79    issued to the                                Local Council and     effective 6/26/1970   to 6/26/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Muskingum Valley 1956- (467)

                                                           Muskingum Valley (467):
Request # 1032 For Policy # SBL 25204      issued to the                                Local Council and     effective 6/26/1971   to 6/25/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Muskingum Valley 1956- (467)

                                                           Muskingum Valley (467):
Request # 1033 For Policy # SBL 25204      issued to the                                Local Council and     effective 6/26/1972   to 2/1/1973    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Muskingum Valley 1956- (467)

                                                           Narragansett (546): Annawon
Request # 1034 For Policy # SBL 5 13 14    issued to the                                  Local Council and   effective 3/1/1970    to 3/1/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1930-2016 (225)

                                                           Narragansett (546): Annawon
Request # 1035 For Policy # SBL 5 13 14    issued to the                                  Local Council and   effective 3/1/1971    to 3/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1930-2016 (225)



                                                                                                                      63
                                                           Narragansett (546): Annawon
Request # 1036 For Policy # SBL 5 13 14    issued to the                                  Local Council and   effective 3/1/1972    to 1/1/1973    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1930-2016 (225)

                                                           Narragansett (546): Cachalot
Request # 1037 For Policy # SBL 40247      issued to the                                  Local Council and   effective 11/1/1965   to 11/1/1966   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1935-1971 (245)

                                                           Narragansett (546): Cachalot
Request # 1038 For Policy # SBL 40247      issued to the                                  Local Council and   effective 11/1/1966   to 11/1/1967   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1935-1971 (245)

                                                           Narragansett (546): Cachalot
Request # 1039 For Policy # SBL 40247      issued to the                                  Local Council and   effective 11/1/1967   to 11/1/1968   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1935-1971 (245)

                                                           Narragansett (546): Cachalot
Request # 1040 For Policy # SBL 50614      issued to the                                  Local Council and   effective 11/1/1968   to 11/1/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1935-1971 (245)

                                                           Narragansett (546): Cachalot
Request # 1041 For Policy # SBL 50614      issued to the                                  Local Council and   effective 11/1/1969   to 11/1/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1935-1971 (245)

                                                           Narragansett (546): Cachalot
Request # 1042 For Policy # SBL 50614      issued to the                                  Local Council and   effective 11/1/1970   to 11/1/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1935-1971 (245)
                                                         National Capital Area (082):
Request # 1043 For Policy # SMP 35 29 46   issued to the National Capital Area 1911-      Local Council and   effective 4/1/1981    to 4/1/1982    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (082)
                                                         National Capital Area (082):
Request # 1044 For Policy # CPP 42 58 80   issued to the National Capital Area 1911-      Local Council and   effective 4/1/1982    to 4/1/1983    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (082)
                                                         New Birth of Freedom (544):
Request # 1045 For Policy # LB 3541        issued to the Harrisburg Area 1927-1948        Local Council and   effective 6/20/1946   to 6/20/1947   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (515)
                                                           New Birth of Freedom (544):
Request # 1046 For Policy # LB-4-21-48     issued to the                                 Local Council and    effective 10/20/1964 to 10/20/1965 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Keystone Area 1948-2010 (515)

                                                           New Birth of Freedom (544):
Request # 1047 For Policy # LB-4-21-48     issued to the                                 Local Council and    effective 10/20/1965 to 10/20/1966 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Keystone Area 1948-2010 (515)

                                                           New Birth of Freedom (544):
Request # 1048 For Policy # LB-4-21-48     issued to the                                 Local Council and    effective 10/20/1966 to 10/20/1967 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Keystone Area 1948-2010 (515)

                                                           New Birth of Freedom (544):
Request # 1049 For Policy # ALB-4-84-03    issued to the                                 Local Council and    effective 10/20/1967 to 10/20/1968 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Keystone Area 1948-2010 (515)

                                                           New Birth of Freedom (544):
Request # 1050 For Policy # ALB-4-84-03    issued to the                                 Local Council and    effective 10/20/1968 to 10/20/1969 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Keystone Area 1948-2010 (515)

                                                           New Birth of Freedom (544):
Request # 1051 For Policy # ALB-4-84-03    issued to the                                 Local Council and    effective 10/20/1969 to 10/20/1970 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Keystone Area 1948-2010 (515)

                                                           New Birth of Freedom (544):
Request # 1052 For Policy # Unknown        issued to the                                 Local Council and    effective 10/19/1970 to 10/19/1971 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Keystone Area 1948-2010 (515)



                                                                                                                      64
                                                          New Birth of Freedom (544):
Request # 1053 For Policy # Unknown       issued to the                                 Local Council and      effective 10/19/1971 to 10/19/1972 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Keystone Area 1948-2010 (515)

                                                          New Birth of Freedom (544):
Request # 1054 For Policy # Unknown       issued to the                                 Local Council and      effective 10/19/1972 to 10/19/1973 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Keystone Area 1948-2010 (515)

                                                          New Birth of Freedom (544):
Request # 1055 For Policy # Unknown       issued to the                                 Local Council and      effective 10/19/1973 to 10/19/1974 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Keystone Area 1948-2010 (515)

                                                          New Birth of Freedom (544):
Request # 1056 For Policy # Unknown       issued to the                                 Local Council and      effective 10/19/1974 to 1/1/1975     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Keystone Area 1948-2010 (515)

                                                          North Florida (087): North
Request # 1057 For Policy # SBL 45384     issued to the                                    Local Council and   effective 4/8/1966    to 4/8/1967    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Florida (087)

                                                          North Florida (087): North
Request # 1058 For Policy # SBL 45384     issued to the                                    Local Council and   effective 4/8/1967    to 4/8/1968    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Florida (087)

                                                          North Florida (087): North
Request # 1059 For Policy # SBL 45384     issued to the                                    Local Council and   effective 4/8/1968    to 4/8/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Florida (087)

                                                          North Florida (087): North
Request # 1060 For Policy # SBL 50444     issued to the                                    Local Council and   effective 4/8/1969    to 4/8/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Florida (087)

                                                          North Florida (087): North
Request # 1061 For Policy # SBL 50444     issued to the                                    Local Council and   effective 4/8/1970    to 4/8/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Florida (087)

                                                          North Florida (087): North
Request # 1062 For Policy # SBL 50444     issued to the                                    Local Council and   effective 4/8/1971    to 4/7/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Florida (087)

                                                          Northeast Illinois (129):
Request # 1063 For Policy # SBL-2-59-19   issued to the                                    Local Council and   effective 2/25/1966   to 2/25/1967   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Evanston 1916-1969 (124)

                                                          Northeast Illinois (129):
Request # 1064 For Policy # SBL-2-50-54   issued to the                                    Local Council and   effective 2/25/1967   to 2/25/1968   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Evanston 1916-1969 (124)

                                                          Northeast Illinois (129):
Request # 1065 For Policy # SBL-2-51-38   issued to the                                    Local Council and   effective 2/25/1968   to 2/25/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Evanston 1916-1969 (124)

                                                          Northeast Illinois (129):
Request # 1066 For Policy # SBL-2-51-38   issued to the                                    Local Council and   effective 2/25/1969   to 6/12/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Evanston 1916-1969 (124)
                                                        Northeast Illinois (129):
Request # 1067 For Policy # SBL 51814     issued to the Evanston-North Shore Area          Local Council and   effective 6/12/1969   to 6/25/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        1969-1971 (129)
                                                        Northeast Illinois (129):
Request # 1068 For Policy # SBL 51833     issued to the Evanston-North Shore Area          Local Council and   effective 6/25/1970   to 6/25/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        1969-1971 (129)
                                                          Northeast Illinois (129):
Request # 1069 For Policy # GAL 27962     issued to the                                    Local Council and   effective 6/25/1971   to 6/25/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Northeast Illinois 1971- (129)



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                                                             Northeast Illinois (129):
Request # 1070 For Policy # GAL 28017        issued to the                                    Local Council and   effective 6/25/1972   to 12/1/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             Northeast Illinois 1971- (129)

                                                             Northeast Illinois (129): Oak
Request # 1071 For Policy # SBL 25 02 5      issued to the                                    Local Council and   effective 6/21/1966   to 6/21/1967   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             Plain 1940-1971 (126)

                                                             Northeast Illinois (129): Oak
Request # 1072 For Policy # SBL 25 10 2      issued to the                                    Local Council and   effective 6/21/1967   to 6/21/1968   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             Plain 1940-1971 (126)

                                                             Northeast Illinois (129): Oak
Request # 1073 For Policy # SBL 25 15 1      issued to the                                    Local Council and   effective 6/21/1968   to 6/21/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             Plain 1940-1971 (126)

                                                             Northeast Illinois (129): Oak
Request # 1074 For Policy # SBL 51808        issued to the                                    Local Council and   effective 6/21/1969   to 6/21/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             Plain 1940-1971 (126)

                                                             Northeast Illinois (129): Oak
Request # 1075 For Policy # SBL 51808        issued to the                                    Local Council and   effective 6/21/1970   to 6/21/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             Plain 1940-1971 (126)

                                                             Northeast Illinois (129): Oak
Request # 1076 For Policy # SBL 51808        issued to the                                    Local Council and   effective 6/21/1971   to 12/20/1972 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             Plain 1940-1971 (126)
                                                           Northeastern Pennsylvania
Request # 1077 For Policy # SBL 4 29 70      issued to the (501): Anthracite 1927-1970        Local Council and   effective 4/1/1967    to 4/1/1968    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (514)
                                                           Northeastern Pennsylvania
Request # 1078 For Policy # SBL 4 69 34      issued to the (501): Anthracite 1927-1970        Local Council and   effective 4/1/1968    to 4/1/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (514)
                                                           Northeastern Pennsylvania
Request # 1079 For Policy # SBL 4 69 34      issued to the (501): Anthracite 1927-1970        Local Council and   effective 4/1/1969    to 4/1/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (514)
                                                           Northeastern Pennsylvania
Request # 1080 For Policy # SBL 48449        issued to the (501): Forest Lakes 1962-1990      Local Council and   effective 3/30/1968   to 3/30/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (501)
                                                           Northeastern Pennsylvania
Request # 1081 For Policy # SBL 48449        issued to the (501): Forest Lakes 1962-1990      Local Council and   effective 3/30/1969   to 3/30/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (501)
                                                           Northeastern Pennsylvania
Request # 1082 For Policy # SBL 48449        issued to the (501): Forest Lakes 1962-1990      Local Council and   effective 3/30/1970   to 3/30/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (501)
                                                           Northeastern Pennsylvania
Request # 1083 For Policy # SBL 53071        issued to the (501): Forest Lakes 1962-1990      Local Council and   effective 3/30/1971   to 3/29/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (501)
                                                           Northeastern Pennsylvania
Request # 1084 For Policy # SBL 53071        issued to the (501): Forest Lakes 1962-1990      Local Council and   effective 3/30/1972   to 3/30/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (501)
                                                           Northeastern Pennsylvania
Request # 1085 For Policy # SBL 53071        issued to the (501): Forest Lakes 1962-1990      Local Council and   effective 3/30/1973   to 3/30/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (501)
                                                           Northeastern Pennsylvania
Request # 1086 For Policy #   GLP 56 95 31   issued to the (501): Forest Lakes 1962-1990      Local Council and   effective 3/30/1974   to 3/30/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (501)


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                                                             Northeastern Pennsylvania
Request # 1087 For Policy #   GLP 56 95 31   issued to the   (501): Forest Lakes 1962-1990   Local Council and   effective 3/30/1975   to 3/30/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             (501)
                                                             Northeastern Pennsylvania
Request # 1088 For Policy #   GLP 56 95 31   issued to the   (501): Forest Lakes 1962-1990   Local Council and   effective 3/30/1976   to 3/30/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             (501)
                                                             Northeastern Pennsylvania
Request # 1089 For Policy # GLP 66 36 60     issued to the   (501): Forest Lakes 1962-1990   Local Council and   effective 3/30/1977   to 1/1/1978    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             (501)
                                                             Northeastern Pennsylvania
Request # 1090 For Policy # SBL 51392        issued to the   (501): Penn Mountains 1970-     Local Council and   effective 4/1/1970    to 4/1/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             1990 (522)
                                                             Northeastern Pennsylvania
Request # 1091 For Policy # SBL 51392        issued to the   (501): Penn Mountains 1970-     Local Council and   effective 4/1/1971    to 3/31/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             1990 (522)
                                                             Northeastern Pennsylvania
Request # 1092 For Policy # SBL 51392        issued to the   (501): Penn Mountains 1970-     Local Council and   effective 4/1/1972    to 4/1/1973    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             1990 (522)
                                                             Northeastern Pennsylvania
Request # 1093 For Policy # SBL 4 53 72      issued to the   (501): Wyoming Valley 1925-     Local Council and   effective 1/1/1966    to 1/1/1967    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             1969 (542)
                                                             Northeastern Pennsylvania
Request # 1094 For Policy # SBL 4 53 72      issued to the   (501): Wyoming Valley 1925-     Local Council and   effective 1/1/1967    to 1/1/1968    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             1969 (542)
                                                             Northeastern Pennsylvania
Request # 1095 For Policy # SBL 4 53 72      issued to the   (501): Wyoming Valley 1925-     Local Council and   effective 1/1/1968    to 1/1/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             1969 (542)
                                                             Northeastern Pennsylvania
Request # 1096 For Policy # SBL 50434        issued to the   (501): Wyoming Valley 1925-     Local Council and   effective 1/1/1969    to 1/1/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             1969 (542)
                                                             Northeastern Pennsylvania
Request # 1097 For Policy # SBL 50434        issued to the   (501): Wyoming Valley 1925-     Local Council and   effective 1/1/1970    to 4/1/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             1969 (542)
                                                             Northern Lights (429): Lake
Request # 1098 For Policy # SBL-4-46-37      issued to the                                   Local Council and   effective 7/1/1968    to 7/1/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             Agassiz 1933-1974 (430)

                                                             Northern Lights (429): Lake
Request # 1099 For Policy # SBL 4 46 52      issued to the                                   Local Council and   effective 7/1/1969    to 7/1/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             Agassiz 1933-1974 (430)

                                                             Northern Lights (429): Lake
Request # 1100 For Policy # SBL 4 46 70      issued to the                                   Local Council and   effective 7/1/1970    to 7/1/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             Agassiz 1933-1974 (430)

                                                             Northern Lights (429): Lake
Request # 1101 For Policy # SBL 4 46 90      issued to the                                   Local Council and   effective 7/1/1971    to 7/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             Agassiz 1933-1974 (430)

                                                             Northern Lights (429): Lake
Request # 1102 For Policy # GAL 13 57 61     issued to the                                   Local Council and   effective 7/1/1972    to 11/10/1972 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             Agassiz 1933-1974 (430)

                                                             Northern Lights (429): Missouri
Request # 1103 For Policy # SBL 4 46 60      issued to the                                   Local Council and   effective 1/17/1970   to 1/17/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             Valley 1929-1974 (432)



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                                                          Northern Lights (429): Missouri
Request # 1104 For Policy # SBL 4 46 78   issued to the                                   Local Council and   effective 1/17/1971   to 1/17/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Valley 1929-1974 (432)

                                                          Northern Lights (429): Northern
Request # 1105 For Policy # XBC 132519    issued to the                                   Local Council and   effective 1/1/1975    to 1/1/1976    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Lights 1974- (429)

                                                          Northern Lights (429): Red
Request # 1106 For Policy # Unknown       issued to the                                   Local Council and   effective 6/1/1963    to 6/1/1964    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          River Valley 1925-1974 (429)

                                                          Northern Lights (429): Red
Request # 1107 For Policy # Unknown       issued to the                                   Local Council and   effective 6/1/1964    to 6/1/1965    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          River Valley 1925-1974 (429)

                                                          Northern Lights (429): Red
Request # 1108 For Policy # Unknown       issued to the                                   Local Council and   effective 6/1/1965    to 6/1/1966    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          River Valley 1925-1974 (429)

                                                          Northern Lights (429): Red
Request # 1109 For Policy # Unknown       issued to the                                   Local Council and   effective 6/1/1966    to 6/1/1967    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          River Valley 1925-1974 (429)

                                                          Northern Lights (429): Red
Request # 1110 For Policy # Unknown       issued to the                                   Local Council and   effective 6/1/1967    to 6/1/1968    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          River Valley 1925-1974 (429)

                                                          Northern Lights (429): Red
Request # 1111 For Policy # SBL-4-46-39   issued to the                                   Local Council and   effective 8/16/1968   to 8/16/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          River Valley 1925-1974 (429)

                                                          Northern Lights (429): Red
Request # 1112 For Policy # SBL 4 46 50   issued to the                                   Local Council and   effective 8/16/1969   to 8/16/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          River Valley 1925-1974 (429)

                                                          Northern Lights (429): Red
Request # 1113 For Policy # SBL 4 46 74   issued to the                                   Local Council and   effective 8/16/1970   to 8/16/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          River Valley 1925-1974 (429)

                                                          Northern Lights (429): Red
Request # 1114 For Policy # SBL 44688     issued to the                                   Local Council and   effective 8/16/1971   to 8/16/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          River Valley 1925-1974 (429)

                                                          Northern New Jersey (333):
Request # 1115 For Policy # SBL 45385     issued to the                                   Local Council and   effective 4/25/1966   to 4/25/1967   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Aheka 1939-1972 (354)

                                                          Northern New Jersey (333):
Request # 1116 For Policy # SBL 45385     issued to the                                   Local Council and   effective 4/25/1967   to 4/25/1968   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Aheka 1939-1972 (354)

                                                          Northern New Jersey (333):
Request # 1117 For Policy # SBL 45385     issued to the                                   Local Council and   effective 4/25/1968   to 4/25/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Aheka 1939-1972 (354)

                                                          Northern New Jersey (333):
Request # 1118 For Policy # SBL 51182     issued to the                                   Local Council and   effective 4/25/1969   to 4/25/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Aheka 1939-1972 (354)

                                                          Northern New Jersey (333):
Request # 1119 For Policy # SBL 51175     issued to the                                   Local Council and   effective 4/25/1969   to 4/26/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Aheka 1939-1972 (354)

                                                          Northern New Jersey (333):
Request # 1120 For Policy # SBL 51182     issued to the                                   Local Council and   effective 4/25/1970   to 4/25/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Aheka 1939-1972 (354)



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                                                          Northern New Jersey (333):
Request # 1121 For Policy # SBL 51182     issued to the                                  Local Council and   effective 4/25/1971   to 4/24/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Aheka 1939-1972 (354)
                                                          Northern New Jersey (333):
Request # 1122 For Policy # SBL 4 29 98   issued to the   Alexander Hamilton 1936-1968   Local Council and   effective 4/1/1965    to 4/1/1966    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (351)
                                                          Northern New Jersey (333):
Request # 1123 For Policy # SBL 4 29 98   issued to the   Alexander Hamilton 1936-1968   Local Council and   effective 4/1/1966    to 4/1/1967    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (351)
                                                          Northern New Jersey (333):
Request # 1124 For Policy # SBL 4 29 98   issued to the   Alexander Hamilton 1936-1968   Local Council and   effective 4/1/1967    to 4/1/1968    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (351)
                                                          Northern New Jersey (333):
Request # 1125 For Policy # SBL 4 69 45   issued to the   Alexander Hamilton 1936-1968   Local Council and   effective 4/1/1968    to 4/1/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (351)
                                                          Northern New Jersey (333):
Request # 1126 For Policy # SBL 4 69 45   issued to the   Alexander Hamilton 1936-1968   Local Council and   effective 4/1/1969    to 4/1/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (351)
                                                          Northern New Jersey (333):
Request # 1127 For Policy # SBL 4 69 45   issued to the   Alexander Hamilton 1936-1968   Local Council and   effective 4/1/1970    to 4/1/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (351)
                                                          Northern New Jersey (333):
Request # 1128 For Policy # SBL 4 29 90   issued to the                                  Local Council and   effective 5/11/1965   to 5/11/1966   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Alhtaha 1942-1972 (355)

                                                          Northern New Jersey (333):
Request # 1129 For Policy # SBL 4 29 90   issued to the                                  Local Council and   effective 5/11/1966   to 5/11/1967   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Alhtaha 1942-1972 (355)

                                                          Northern New Jersey (333):
Request # 1130 For Policy # SBL 4 29 90   issued to the                                  Local Council and   effective 5/11/1967   to 5/11/1968   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Alhtaha 1942-1972 (355)

                                                          Northern New Jersey (333):
Request # 1131 For Policy # SBL 4 69 39   issued to the                                  Local Council and   effective 5/11/1968   to 5/11/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Alhtaha 1942-1972 (355)

                                                          Northern New Jersey (333):
Request # 1132 For Policy # SBL 4 69 39   issued to the                                  Local Council and   effective 5/11/1969   to 5/11/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Alhtaha 1942-1972 (355)

                                                          Northern New Jersey (333):
Request # 1133 For Policy # SBL 4 69 39   issued to the                                  Local Council and   effective 5/11/1970   to 5/11/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Alhtaha 1942-1972 (355)

                                                          Northern New Jersey (333):
Request # 1134 For Policy # Unknown       issued to the                                  Local Council and   effective 11/1/1963   to 11/1/1964   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Bayonne 1918-1993 (332)

                                                          Northern New Jersey (333):
Request # 1135 For Policy # Unknown       issued to the                                  Local Council and   effective 11/1/1964   to 11/1/1965   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Bayonne 1918-1993 (332)

                                                          Northern New Jersey (333):
Request # 1136 For Policy # SBL 45370     issued to the                                  Local Council and   effective 11/1/1965   to 11/1/1966   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Bayonne 1918-1993 (332)

                                                          Northern New Jersey (333):
Request # 1137 For Policy # SBL 45370     issued to the                                  Local Council and   effective 11/1/1966   to 11/1/1967   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Bayonne 1918-1993 (332)



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                                                          Northern New Jersey (333):
Request # 1138 For Policy # SBL 45370     issued to the                                Local Council and   effective 11/1/1967   to 11/1/1968   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Bayonne 1918-1993 (332)

                                                          Northern New Jersey (333):
Request # 1139 For Policy # SBL 50420     issued to the                                Local Council and   effective 11/1/1968   to 11/1/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Bayonne 1918-1993 (332)

                                                          Northern New Jersey (333):
Request # 1140 For Policy # SBL 50420     issued to the                                Local Council and   effective 11/1/1969   to 11/1/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Bayonne 1918-1993 (332)

                                                          Northern New Jersey (333):
Request # 1141 For Policy # SBL 50420     issued to the                                Local Council and   effective 11/1/1970   to 11/1/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Bayonne 1918-1993 (332)

                                                          Northern New Jersey (333):
Request # 1142 For Policy # SBL 6 53 52   issued to the                                Local Council and   effective 5/13/1965   to 5/13/1966   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Hudson 1936-1968 (342)

                                                          Northern New Jersey (333):
Request # 1143 For Policy # SBL 6 53 52   issued to the                                Local Council and   effective 5/13/1966   to 5/13/1967   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Hudson 1936-1968 (342)

                                                          Northern New Jersey (333):
Request # 1144 For Policy # SBL 6 53 52   issued to the                                Local Council and   effective 5/13/1967   to 5/13/1968   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Hudson 1936-1968 (342)

                                                          Northern New Jersey (333):
Request # 1145 For Policy # SBL 4 69 51   issued to the                                Local Council and   effective 5/13/1968   to 5/13/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Hudson 1936-1968 (342)
                                                          Northern New Jersey (333):
Request # 1146 For Policy # SBL 4 69 45   issued to the   Hudson-Hamilton 1968-1993    Local Council and   effective 4/1/1968    to 4/1/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (348)
                                                          Northern New Jersey (333):
Request # 1147 For Policy # SBL 4 69 45   issued to the   Hudson-Hamilton 1968-1993    Local Council and   effective 4/1/1969    to 4/1/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (348)
                                                          Northern New Jersey (333):
Request # 1148 For Policy # SBL 4 69 45   issued to the   Hudson-Hamilton 1968-1993    Local Council and   effective 4/1/1970    to 4/1/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (348)
                                                          Northern New Jersey (333):
Request # 1149 For Policy # Unknown       issued to the   North Bergen County 1921-    Local Council and   effective 1/1/1961    to 1/1/1962    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1969 (350)
                                                          Northern New Jersey (333):
Request # 1150 For Policy # Unknown       issued to the   North Bergen County 1921-    Local Council and   effective 1/1/1962    to 1/1/1963    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1969 (350)
                                                          Northern New Jersey (333):
Request # 1151 For Policy # Unknown       issued to the   North Bergen County 1921-    Local Council and   effective 1/1/1963    to 1/1/1964    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1969 (350)
                                                          Northern New Jersey (333):
Request # 1152 For Policy # Unknown       issued to the   North Bergen County 1921-    Local Council and   effective 1/1/1964    to 1/1/1965    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1969 (350)
                                                          Northern New Jersey (333):
Request # 1153 For Policy # Unknown       issued to the   North Bergen County 1921-    Local Council and   effective 1/1/1965    to 1/1/1966    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1969 (350)
                                                          Northern New Jersey (333):
Request # 1154 For Policy # Unknown       issued to the   North Bergen County 1921-    Local Council and   effective 1/1/1966    to 3/23/1966   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1969 (350)


                                                                                                                   70
                                                           Northern New Jersey (333):
Request # 1155 For Policy # SBL 4 53 81    issued to the   North Bergen County 1921-     Local Council and   effective 3/23/1966   to 3/23/1967   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1969 (350)
                                                           Northern New Jersey (333):
Request # 1156 For Policy # SBL 4 53 81    issued to the   North Bergen County 1921-     Local Council and   effective 3/23/1967   to 3/23/1968   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1969 (350)
                                                           Northern New Jersey (333):
Request # 1157 For Policy # SBL 4 53 81    issued to the   North Bergen County 1921-     Local Council and   effective 3/23/1968   to 3/23/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1969 (350)
                                                           Northern New Jersey (333):
Request # 1158 For Policy # SBL 5 11 79    issued to the   North Bergen County 1921-     Local Council and   effective 3/23/1969   to 3/23/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1969 (350)
                                                           Northern New Jersey (333):
Request # 1159 For Policy # SBL 5 11 79    issued to the   North Bergen County 1921-     Local Council and   effective 3/23/1970   to 3/23/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1969 (350)
                                                           Northern New Jersey (333):
Request # 1160 For Policy # SBL 5 11 79    issued to the   North Bergen County 1921-     Local Council and   effective 3/23/1971   to 3/23/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1969 (350)
                                                           Northern New Jersey (333):
Request # 1161 For Policy # GLP-17-77-71   issued to the   Orange Mountain 1949-1976     Local Council and   effective 8/18/1967   to 8/18/1968   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (337)
                                                           Northern New Jersey (333):
Request # 1162 For Policy # GLP-17-39-79   issued to the   Orange Mountain 1949-1976     Local Council and   effective 8/18/1968   to 8/18/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (337)
                                                           Northern New Jersey (333):
Request # 1163 For Policy # Unknown        issued to the   Orange Mountain 1949-1976     Local Council and   effective 8/18/1970   to 8/18/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (337)
                                                           Northern New Jersey (333):
Request # 1164 For Policy # Unknown        issued to the   Orange Mountain 1949-1976     Local Council and   effective 8/18/1971   to 8/18/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (337)
                                                           Northern New Jersey (333):
Request # 1165 For Policy # Unknown        issued to the   Orange Mountain 1949-1976     Local Council and   effective 8/18/1972   to 8/18/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (337)
                                                           Northern New Jersey (333):
Request # 1166 For Policy # Unknown        issued to the   Orange Mountain 1949-1976     Local Council and   effective 8/18/1973   to 8/18/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (337)
                                                           Northern New Jersey (333):
Request # 1167 For Policy # Unknown        issued to the   Orange Mountain 1949-1976     Local Council and   effective 8/18/1974   to 1/1/1975    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (337)
                                                           Northern New Jersey (333):
Request # 1168 For Policy # Unknown        issued to the   Ridgewood and Glen Rock 1922- Local Council and   effective 6/14/1946   to 6/14/1947   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1997 (359)
                                                           Northern New Jersey (333):
Request # 1169 For Policy # Unknown        issued to the   Ridgewood and Glen Rock 1922- Local Council and   effective 6/14/1947   to 6/14/1948   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1997 (359)
                                                           Northern New Jersey (333):
Request # 1170 For Policy # Unknown        issued to the   Ridgewood and Glen Rock 1922- Local Council and   effective 6/14/1948   to 6/14/1949   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1997 (359)
                                                           Northern New Jersey (333):
Request # 1171 For Policy # Unknown        issued to the   Ridgewood and Glen Rock 1922- Local Council and   effective 6/14/1949   to 6/14/1950   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1997 (359)


                                                                                                                     71
                                                          Northern New Jersey (333):
Request # 1172 For Policy # Unknown       issued to the   Ridgewood and Glen Rock 1922- Local Council and   effective 6/14/1950   to 6/14/1951   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1997 (359)
                                                          Northern New Jersey (333):
Request # 1173 For Policy # Unknown       issued to the   Ridgewood and Glen Rock 1922- Local Council and   effective 6/14/1951   to 6/14/1952   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1997 (359)
                                                          Northern New Jersey (333):
Request # 1174 For Policy # Unknown       issued to the   Ridgewood and Glen Rock 1922- Local Council and   effective 6/14/1952   to 6/14/1953   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1997 (359)
                                                          Northern New Jersey (333):
Request # 1175 For Policy # Unknown       issued to the   Ridgewood and Glen Rock 1922- Local Council and   effective 6/14/1953   to 6/14/1954   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1997 (359)
                                                          Northern New Jersey (333):
Request # 1176 For Policy # Unknown       issued to the   Ridgewood and Glen Rock 1922- Local Council and   effective 6/14/1954   to 6/14/1955   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1997 (359)
                                                          Northern New Jersey (333):
Request # 1177 For Policy # Unknown       issued to the   Ridgewood and Glen Rock 1922- Local Council and   effective 6/14/1955   to 6/14/1956   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1997 (359)
                                                          Northern New Jersey (333):
Request # 1178 For Policy # Unknown       issued to the   Ridgewood and Glen Rock 1922- Local Council and   effective 6/14/1956   to 6/14/1957   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1997 (359)
                                                          Northern New Jersey (333):
Request # 1179 For Policy # Unknown       issued to the   Ridgewood and Glen Rock 1922- Local Council and   effective 6/14/1957   to 6/14/1958   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1997 (359)
                                                          Northern New Jersey (333):
Request # 1180 For Policy # Unknown       issued to the   Ridgewood and Glen Rock 1922- Local Council and   effective 6/14/1958   to 6/14/1959   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1997 (359)
                                                          Northern New Jersey (333):
Request # 1181 For Policy # Unknown       issued to the   Ridgewood and Glen Rock 1922- Local Council and   effective 6/14/1959   to 6/14/1960   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1997 (359)
                                                          Northern New Jersey (333):
Request # 1182 For Policy # Unknown       issued to the   Ridgewood and Glen Rock 1922- Local Council and   effective 6/14/1960   to 6/14/1961   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1997 (359)
                                                          Northern New Jersey (333):
Request # 1183 For Policy # Unknown       issued to the   Ridgewood and Glen Rock 1922- Local Council and   effective 6/14/1961   to 6/14/1962   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1997 (359)
                                                          Northern New Jersey (333):
Request # 1184 For Policy # Unknown       issued to the   Ridgewood and Glen Rock 1922- Local Council and   effective 6/14/1962   to 6/14/1963   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1997 (359)
                                                          Northern New Jersey (333):
Request # 1185 For Policy # Unknown       issued to the   Ridgewood and Glen Rock 1922- Local Council and   effective 6/14/1963   to 6/14/1964   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1997 (359)
                                                          Northern New Jersey (333):
Request # 1186 For Policy # Unknown       issued to the   Ridgewood and Glen Rock 1922- Local Council and   effective 6/14/1964   to 6/14/1965   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1997 (359)
                                                          Northern New Jersey (333):
Request # 1187 For Policy # SBL 4 53 60   issued to the   Ridgewood and Glen Rock 1922- Local Council and   effective 6/14/1965   to 6/14/1966   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1997 (359)
                                                          Northern New Jersey (333):
Request # 1188 For Policy # Unknown       issued to the   Ridgewood and Glen Rock 1922- Local Council and   effective 6/14/1965   to 6/14/1966   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1997 (359)


                                                                                                                    72
                                                          Northern New Jersey (333):
Request # 1189 For Policy # SBL 4 53 60   issued to the   Ridgewood and Glen Rock 1922- Local Council and    effective 6/14/1966   to 6/14/1967   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1997 (359)
                                                          Northern New Jersey (333):
Request # 1190 For Policy # Unknown       issued to the   Ridgewood and Glen Rock 1922- Local Council and    effective 6/14/1966   to 6/14/1967   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1997 (359)
                                                          Northern New Jersey (333):
Request # 1191 For Policy # SBL 4 53 60   issued to the   Ridgewood and Glen Rock 1922- Local Council and    effective 6/14/1967   to 6/14/1968   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1997 (359)
                                                          Northern New Jersey (333):
Request # 1192 For Policy # SBL 50403     issued to the   Ridgewood and Glen Rock 1922- Local Council and    effective 6/14/1968   to 6/14/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1997 (359)
                                                          Northern New Jersey (333):
Request # 1193 For Policy # SBL 50403     issued to the   Ridgewood and Glen Rock 1922- Local Council and    effective 6/14/1969   to 6/14/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1997 (359)
                                                          Northern New Jersey (333):
Request # 1194 For Policy # SBL 50403     issued to the   Ridgewood and Glen Rock 1922- Local Council and    effective 6/14/1970   to 6/14/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1997 (359)
                                                          Northern New Jersey (333):
Request # 1195 For Policy # SBL 5 15 57   issued to the   Ridgewood and Glen Rock 1922- Local Council and    effective 6/14/1971   to 6/14/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1997 (359)
                                                          Northern New Jersey (333):
Request # 1196 For Policy # SBL 4 53 71   issued to the                                  Local Council and   effective 5/13/1965   to 5/13/1966   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Robert Treat 1933-1976 (349)

                                                          Northern New Jersey (333):
Request # 1197 For Policy # SBL 4 53 71   issued to the                                  Local Council and   effective 5/13/1966   to 5/13/1967   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Robert Treat 1933-1976 (349)

                                                          Northern New Jersey (333):
Request # 1198 For Policy # SBL 4 53 71   issued to the                                  Local Council and   effective 5/13/1967   to 5/13/1968   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Robert Treat 1933-1976 (349)

                                                          Northern New Jersey (333):
Request # 1199 For Policy # SBL 4 69 44   issued to the                                  Local Council and   effective 5/13/1968   to 5/13/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Robert Treat 1933-1976 (349)

                                                          Northern New Jersey (333):
Request # 1200 For Policy # SBL 4 69 44   issued to the                                  Local Council and   effective 5/13/1969   to 5/13/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Robert Treat 1933-1976 (349)

                                                          Northern New Jersey (333):
Request # 1201 For Policy # SBL 4 69 44   issued to the                                  Local Council and   effective 5/13/1970   to 5/13/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Robert Treat 1933-1976 (349)

                                                          Northern New Jersey (333):
Request # 1202 For Policy # SBL 5 15 44   issued to the                                  Local Council and   effective 5/13/1971   to 5/13/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Robert Treat 1933-1976 (349)

                                                          Northern New Jersey (333):
Request # 1203 For Policy # SBL 45388     issued to the                                  Local Council and   effective 6/1/1966    to 6/1/1967    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Tamarack 1935-1986 (333)

                                                          Northern New Jersey (333):
Request # 1204 For Policy # SBL 45388     issued to the                                  Local Council and   effective 6/1/1967    to 6/1/1968    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Tamarack 1935-1986 (333)

                                                          Northern New Jersey (333):
Request # 1205 For Policy # SBL 45388     issued to the                                  Local Council and   effective 6/1/1968    to 6/1/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Tamarack 1935-1986 (333)



                                                                                                                     73
                                                          Northern New Jersey (333):
Request # 1206 For Policy # SBL 5 11 86   issued to the                                 Local Council and   effective 6/1/1969    to 6/1/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Tamarack 1935-1986 (333)

                                                          Northern New Jersey (333):
Request # 1207 For Policy # SBL 5 11 86   issued to the                                 Local Council and   effective 6/1/1970    to 6/1/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Tamarack 1935-1986 (333)

                                                          Northern New Jersey (333):
Request # 1208 For Policy # SBL 5 11 86   issued to the                                 Local Council and   effective 6/1/1971    to 6/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Tamarack 1935-1986 (333)

                                                          Northern Star (250): Viking
Request # 1209 For Policy # Unknown       issued to the                                 Local Council and   effective 1/1/1957    to 1/1/1958    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1951-2005 (289)

                                                          Northern Star (250): Viking
Request # 1210 For Policy # Unknown       issued to the                                 Local Council and   effective 1/1/1958    to 1/1/1959    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1951-2005 (289)

                                                          Northern Star (250): Viking
Request # 1211 For Policy # Unknown       issued to the                                 Local Council and   effective 1/1/1959    to 1/1/1960    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1951-2005 (289)

                                                          Northern Star (250): Viking
Request # 1212 For Policy # Unknown       issued to the                                 Local Council and   effective 1/1/1960    to 1/1/1961    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1951-2005 (289)

                                                          Northern Star (250): Viking
Request # 1213 For Policy # Unknown       issued to the                                 Local Council and   effective 1/1/1961    to 7/1/1961    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1951-2005 (289)

                                                          Northern Star (250): Viking
Request # 1214 For Policy # XUA 1461      issued to the                                 Local Council and   effective 7/1/1961    to 9/1/1961    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1951-2005 (289)

                                                          Northern Star (250): Viking
Request # 1215 For Policy # Unknown       issued to the                                 Local Council and   effective 9/1/1961    to 9/1/1962    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1951-2005 (289)

                                                          Northern Star (250): Viking
Request # 1216 For Policy # Unknown       issued to the                                 Local Council and   effective 9/1/1962    to 9/1/1963    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1951-2005 (289)

                                                          Northern Star (250): Viking
Request # 1217 For Policy # Unknown       issued to the                                 Local Council and   effective 9/1/1963    to 9/1/1964    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1951-2005 (289)

                                                          Northern Star (250): Viking
Request # 1218 For Policy # Unknown       issued to the                                 Local Council and   effective 9/1/1964    to 9/1/1965    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1951-2005 (289)

                                                          Northern Star (250): Viking
Request # 1219 For Policy # Unknown       issued to the                                 Local Council and   effective 9/1/1965    to 6/1/1966    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1951-2005 (289)

                                                          Northern Star (250): Viking
Request # 1220 For Policy # SBL-3-70-25   issued to the                                 Local Council and   effective 6/18/1966   to 6/18/1967   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1951-2005 (289)

                                                          Northern Star (250): Viking
Request # 1221 For Policy # SBL 4 46 20   issued to the                                 Local Council and   effective 6/18/1967   to 6/18/1968   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1951-2005 (289)

                                                          Northern Star (250): Viking
Request # 1222 For Policy # SBL 4 46 38   issued to the                                 Local Council and   effective 6/18/1968   to 6/18/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1951-2005 (289)



                                                                                                                    74
                                                             Northern Star (250): Viking
Request # 1223 For Policy # SBL 4 46 48      issued to the                                    Local Council and   effective 6/18/1969   to 6/18/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             1951-2005 (289)

                                                             Northern Star (250): Viking
Request # 1224 For Policy # SBL 44669        issued to the                                    Local Council and   effective 6/18/1970   to 6/18/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             1951-2005 (289)

                                                             Northwest Georgia (100):
Request # 1225 For Policy # SBL 4 88 35      issued to the                                    Local Council and   effective 7/29/1970   to 7/29/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             Northwest Georgia (100)

                              AGP D0 05 09                   Ohio River Valley (619): Fort
Request # 1226 For Policy #                  issued to the                                 Local Council and      effective 4/19/1977   to 1/9/1978    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                              68 1                           Steuben Area 1929-1991 (459)

                                                             Ohio River Valley (619):
Request # 1227 For Policy # SBL 43230        issued to the                                  Local Council and     effective 6/15/1967   to 6/15/1968   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             National Trail 1966-1991 (619)

                                                             Ohio River Valley (619):
Request # 1228 For Policy # SBL 43259        issued to the                                  Local Council and     effective 6/15/1968   to 6/15/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             National Trail 1966-1991 (619)

                                                             Ohio River Valley (619):
Request # 1229 For Policy # SBL 43259        issued to the                                  Local Council and     effective 6/15/1969   to 6/15/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             National Trail 1966-1991 (619)

                                                             Ohio River Valley (619):
Request # 1230 For Policy # SBL 43259        issued to the                                  Local Council and     effective 6/15/1970   to 6/15/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             National Trail 1966-1991 (619)

                                                             Ohio River Valley (619):
Request # 1231 For Policy # SBL 43259        issued to the                                  Local Council and     effective 6/15/1971   to 6/15/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             National Trail 1966-1991 (619)

                                                             Old Hickory (427): Old Hickory
Request # 1232 For Policy # 7 04 34          issued to the                                    Local Council and   effective 1/1/1967    to 1/1/1968    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             (427)

                                                             Old Hickory (427): Old Hickory
Request # 1233 For Policy # Unknown          issued to the                                    Local Council and   effective 1/1/1968    to 1/1/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             (427)

                                                             Old Hickory (427): Old Hickory
Request # 1234 For Policy # Unknown          issued to the                                    Local Council and   effective 1/1/1969    to 2/28/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             (427)

                                                             Old Hickory (427): Old Hickory
Request # 1235 For Policy # SBL 51025        issued to the                                    Local Council and   effective 2/28/1969   to 2/28/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             (427)

                                                             Old Hickory (427): Old Hickory
Request # 1236 For Policy # SBL 52588        issued to the                                    Local Council and   effective 2/28/1970   to 2/28/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             (427)

                                                             Old Hickory (427): Old Hickory
Request # 1237 For Policy # SBL 53595        issued to the                                    Local Council and   effective 2/28/1971   to 2/28/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             (427)

                                                             Old North State (070):
Request # 1238 For Policy # SBL 50252        issued to the                                    Local Council and   effective 6/9/1968    to 6/9/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             Cherokee 1923-1994 (417)

                                                             Old North State (070):
Request # 1239 For Policy # SBL 51056        issued to the                                    Local Council and   effective 6/9/1969    to 6/9/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             Cherokee 1923-1994 (417)



                                                                                                                          75
                                                          Old North State (070):
Request # 1240 For Policy # SBL 5 26 52   issued to the                                   Local Council and   effective 6/9/1970    to 6/9/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Cherokee 1923-1994 (417)

                                                          Old North State (070):
Request # 1241 For Policy # Unknown       issued to the                                   Local Council and   effective 6/9/1971    to 6/9/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Cherokee 1923-1994 (417)

                                                          Old North State (070):
Request # 1242 For Policy # Unknown       issued to the                                   Local Council and   effective 6/9/1972    to 6/9/1973    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Cherokee 1923-1994 (417)

                                                          Old North State (070):
Request # 1243 For Policy # Unknown       issued to the                                   Local Council and   effective 6/9/1973    to 1/1/1974    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Cherokee 1923-1994 (417)

                                                          Old North State (070): General
Request # 1244 For Policy # SBL 5 10 55   issued to the                                  Local Council and    effective 4/24/1969   to 4/24/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Greene 1947-1992 (418)

                                                          Old North State (070): General
Request # 1245 For Policy # SBL 52627     issued to the                                  Local Council and    effective 4/24/1970   to 4/24/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Greene 1947-1992 (418)

                                                          Old North State (070): General
Request # 1246 For Policy # SBL 53619     issued to the                                  Local Council and    effective 4/21/1971   to 4/21/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Greene 1947-1992 (418)

                                                          Old North State (070): Uwharrie
Request # 1247 For Policy # SBL 5 11 92   issued to the                                   Local Council and   effective 5/29/1969   to 5/29/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1923-1992 (419)

                                                          Old North State (070): Uwharrie
Request # 1248 For Policy # SBL 5 11 92   issued to the                                   Local Council and   effective 5/29/1970   to 5/29/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1923-1992 (419)

                                                          Old North State (070): Uwharrie
Request # 1249 For Policy # SBL 5 11 92   issued to the                                   Local Council and   effective 5/29/1971   to 5/29/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1923-1992 (419)

                                                          Orange County (039): North
Request # 1250 For Policy # SBL 4 59 03   issued to the                                   Local Council and   effective 12/1/1968   to 12/1/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Orange 1965-1972 (037)

                                                          Orange County (039): North
Request # 1251 For Policy # SBL 4 59 03   issued to the                                   Local Council and   effective 12/1/1969   to 12/1/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Orange 1965-1972 (037)

                                                          Orange County (039): North
Request # 1252 For Policy # SBL 4 59 03   issued to the                                   Local Council and   effective 12/1/1970   to 12/1/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Orange 1965-1972 (037)

                                                          Ozark Trails (306): Mo-Kan Area
Request # 1253 For Policy # SBL 51587     issued to the                                   Local Council and   effective 6/15/1971   to 6/15/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1929-1994 (306)
                                                        Pacific Harbors (612):
Request # 1254 For Policy # SBL 50443     issued to the Tumwater Area 1934-1993           Local Council and   effective 2/16/1969   to 2/16/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        (737)
                                                        Pacific Harbors (612):
Request # 1255 For Policy # SBL 50443     issued to the Tumwater Area 1934-1993           Local Council and   effective 2/16/1970   to 2/16/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        (737)
                                                        Pacific Harbors (612):
Request # 1256 For Policy # SBL 50443     issued to the Tumwater Area 1934-1993           Local Council and   effective 2/16/1971   to 2/16/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        (737)


                                                                                                                      76
                                                           Pacific Harbors (612): Twin
Request # 1257 For Policy # SBL 51197      issued to the                                Local Council and        effective 10/1/1969   to 10/1/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Harbors Area 1930-1993 (607)

                                                           Pacific Harbors (612): Twin
Request # 1258 For Policy # SBL 51197      issued to the                                Local Council and        effective 10/1/1970   to 10/1/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Harbors Area 1930-1993 (607)

                                                           Pacific Harbors (612): Twin
Request # 1259 For Policy # SBL 51197      issued to the                                Local Council and        effective 10/1/1971   to 10/1/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Harbors Area 1930-1993 (607)

                                                           Pacific Skyline (031): San Mateo
Request # 1260 For Policy # SBL 5 04 42    issued to the                                    Local Council and    effective 1/19/1969   to 1/19/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           County 1932-1994 (020)

                                                           Pacific Skyline (031): San Mateo
Request # 1261 For Policy # SBL 5 04 42    issued to the                                    Local Council and    effective 1/19/1970   to 1/19/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           County 1932-1994 (020)

                                                           Pacific Skyline (031): San Mateo
Request # 1262 For Policy # SBL 5 04 42    issued to the                                    Local Council and    effective 1/19/1971   to 1/19/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           County 1932-1994 (020)

                                                           Pacific Skyline (031): Stanford
Request # 1263 For Policy # SBL 48595      issued to the                                     Local Council and   effective 2/18/1965   to 2/18/1966   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area 1940-1994 (031)

                                                           Pacific Skyline (031): Stanford
Request # 1264 For Policy # SBL 48595      issued to the                                     Local Council and   effective 2/18/1966   to 2/18/1967   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area 1940-1994 (031)

                                                           Pacific Skyline (031): Stanford
Request # 1265 For Policy # SBL 48595      issued to the                                     Local Council and   effective 2/18/1967   to 2/18/1968   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area 1940-1994 (031)

                                                           Pacific Skyline (031): Stanford
Request # 1266 For Policy # SBL 46904      issued to the                                     Local Council and   effective 2/18/1968   to 2/18/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area 1940-1994 (031)

                                                           Pacific Skyline (031): Stanford
Request # 1267 For Policy # SBL 46904      issued to the                                     Local Council and   effective 2/18/1969   to 2/18/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area 1940-1994 (031)

                                                           Pacific Skyline (031): Stanford
Request # 1268 For Policy # SBL 46904      issued to the                                     Local Council and   effective 2/18/1970   to 2/18/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area 1940-1994 (031)

                                                           Pacific Skyline (031): Stanford
Request # 1269 For Policy # SBL 51509      issued to the                                     Local Council and   effective 2/18/1971   to 2/18/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area 1940-1994 (031)

                                                           Pacific Skyline (031): Stanford
Request # 1270 For Policy # GAL 34 32 31   issued to the                                     Local Council and   effective 2/4/1977    to 1/1/1978    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area 1940-1994 (031)

Request # 1271 For Policy # SBL 50254      issued to the Palmetto (549): Palmetto (549) Local Council and        effective 7/1/1968    to 7/1/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1272 For Policy # SBL 51087      issued to the Palmetto (549): Palmetto (549) Local Council and        effective 7/1/1969    to 7/1/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1273 For Policy # SBL 52670      issued to the Palmetto (549): Palmetto (549) Local Council and        effective 7/1/1970    to 7/1/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.



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Request # 1274 For Policy # SBL 53661     issued to the Palmetto (549): Palmetto (549) Local Council and     effective 7/1/1971    to 7/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.

                                                          Pathway to Adventure (456):
Request # 1275 For Policy # SBL-2-50-05   issued to the                                  Local Council and   effective 1/1/1966    to 1/1/1967    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Chicago Area 1930-2016 (118)

                                                          Pathway to Adventure (456):
Request # 1276 For Policy # SBL-2-50-63   issued to the                                  Local Council and   effective 1/1/1967    to 1/1/1968    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Chicago Area 1930-2016 (118)

                                                          Pathway to Adventure (456):
Request # 1277 For Policy # SBL-2-51-31   issued to the                                  Local Council and   effective 1/1/1968    to 1/1/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Chicago Area 1930-2016 (118)

                                                          Pathway to Adventure (456):
Request # 1278 For Policy # SBL 25162     issued to the                                  Local Council and   effective 1/1/1969    to 1/1/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Chicago Area 1930-2016 (118)

                                                          Pathway to Adventure (456):
Request # 1279 For Policy # SBL 51835     issued to the                                  Local Council and   effective 1/1/1970    to 1/1/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Chicago Area 1930-2016 (118)

                                                          Pathway to Adventure (456):
Request # 1280 For Policy # SBL 5 18 50   issued to the                                  Local Council and   effective 1/1/1971    to 1/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Chicago Area 1930-2016 (118)

                                                          Pathway to Adventure (456):
Request # 1281 For Policy # Unknown       issued to the                                  Local Council and   effective 1/1/1972    to 1/1/1973    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Chicago Area 1930-2016 (118)
                                                          Pathway to Adventure (456):
Request # 1282 For Policy # SBL 52763     issued to the   Northwest Suburban 1926-       Local Council and   effective 5/13/1971   to 5/13/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          2016 (751)
                                                          Pathway to Adventure (456):
Request # 1283 For Policy # Unknown       issued to the   Northwest Suburban 1926-       Local Council and   effective 5/13/1971   to 5/13/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          2016 (751)
                                                          Pathway to Adventure (456):
Request # 1284 For Policy # SBL-2-49-60   issued to the   Thatcher Woods Area 1941-      Local Council and   effective 4/2/1965    to 4/2/1966    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1993 (136)
                                                          Pathway to Adventure (456):
Request # 1285 For Policy # SBL 2 50 73   issued to the   Thatcher Woods Area 1941-      Local Council and   effective 4/2/1966    to 4/2/1967    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1993 (136)
                                                          Pathway to Adventure (456):
Request # 1286 For Policy # SBL 2 50 73   issued to the   Thatcher Woods Area 1941-      Local Council and   effective 4/2/1967    to 4/2/1968    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1993 (136)
                                                          Pathway to Adventure (456):
Request # 1287 For Policy # SBL 25148     issued to the   Thatcher Woods Area 1941-      Local Council and   effective 4/2/1968    to 4/2/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1993 (136)
                                                          Pathway to Adventure (456):
Request # 1288 For Policy # SBL 51801     issued to the   Thatcher Woods Area 1941-      Local Council and   effective 4/2/1969    to 4/2/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1993 (136)
                                                          Pathway to Adventure (456):
Request # 1289 For Policy # SBL 51825     issued to the   Thatcher Woods Area 1941-      Local Council and   effective 4/2/1970    to 4/2/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1993 (136)
                                                          Pathway to Adventure (456):
Request # 1290 For Policy # SBL 51856     issued to the   Thatcher Woods Area 1941-      Local Council and   effective 4/2/1971    to 4/2/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1993 (136)


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                                                        Pathway to Adventure (456):
Request # 1291 For Policy # SBL 45369   issued to the   West Suburban 1918-1993        Local Council and   effective 10/1/1965   to 10/1/1966   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        (147)
                                                        Pathway to Adventure (456):
Request # 1292 For Policy # SBL 45369   issued to the   West Suburban 1918-1993        Local Council and   effective 10/1/1966   to 10/1/1967   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        (147)
                                                        Pathway to Adventure (456):
Request # 1293 For Policy # SBL 45369   issued to the   West Suburban 1918-1993        Local Council and   effective 10/1/1967   to 10/1/1968   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        (147)
                                                        Pathway to Adventure (456):
Request # 1294 For Policy # SBL 50419   issued to the   West Suburban 1918-1993        Local Council and   effective 10/1/1968   to 10/1/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        (147)
                                                        Pathway to Adventure (456):
Request # 1295 For Policy # SBL 50419   issued to the   West Suburban 1918-1993        Local Council and   effective 10/1/1969   to 10/1/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        (147)
                                                        Pathway to Adventure (456):
Request # 1296 For Policy # SBL 50419   issued to the   West Suburban 1918-1993        Local Council and   effective 10/1/1970   to 10/1/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        (147)
                                                        Pathway to Adventure (456):
Request # 1297 For Policy # Unknown     issued to the   West Suburban 1918-1993        Local Council and   effective 1/1/1974    to 1/1/1975    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        (147)
                                                        Pathway to Adventure (456):
Request # 1298 For Policy # Unknown     issued to the   West Suburban 1918-1993        Local Council and   effective 1/1/1974    to 1/1/1975    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        (147)
                                                        Patriots' Path (358): Watchung
Request # 1299 For Policy # 2115        issued to the                                  Local Council and   effective 1/27/1945   to 1/27/1946   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Area 1926-1999 (358)

                                                        Patriots' Path (358): Watchung
Request # 1300 For Policy # 2115        issued to the                                  Local Council and   effective 1/27/1946   to 1/27/1947   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Area 1926-1999 (358)

                                                        Patriots' Path (358): Watchung
Request # 1301 For Policy # 2115        issued to the                                  Local Council and   effective 1/27/1947   to 1/27/1948   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Area 1926-1999 (358)

                                                        Patriots' Path (358): Watchung
Request # 1302 For Policy # Unknown     issued to the                                  Local Council and   effective 1/27/1948   to 1/27/1949   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Area 1926-1999 (358)

                                                        Patriots' Path (358): Watchung
Request # 1303 For Policy # Unknown     issued to the                                  Local Council and   effective 1/27/1949   to 1/27/1950   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Area 1926-1999 (358)

                                                        Patriots' Path (358): Watchung
Request # 1304 For Policy # Unknown     issued to the                                  Local Council and   effective 1/27/1950   to 1/27/1951   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Area 1926-1999 (358)

                                                        Patriots' Path (358): Watchung
Request # 1305 For Policy # Unknown     issued to the                                  Local Council and   effective 1/27/1951   to 1/27/1952   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Area 1926-1999 (358)

                                                        Patriots' Path (358): Watchung
Request # 1306 For Policy # Unknown     issued to the                                  Local Council and   effective 1/27/1952   to 1/27/1953   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Area 1926-1999 (358)

                                                        Patriots' Path (358): Watchung
Request # 1307 For Policy # Unknown     issued to the                                  Local Council and   effective 1/27/1953   to 1/27/1954   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Area 1926-1999 (358)



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                                                      Patriots' Path (358): Watchung
Request # 1308 For Policy # Unknown   issued to the                                  Local Council and   effective 1/27/1954   to 1/27/1955   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                      Area 1926-1999 (358)

                                                      Patriots' Path (358): Watchung
Request # 1309 For Policy # Unknown   issued to the                                  Local Council and   effective 1/27/1955   to 1/27/1956   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                      Area 1926-1999 (358)

                                                      Patriots' Path (358): Watchung
Request # 1310 For Policy # Unknown   issued to the                                  Local Council and   effective 1/27/1956   to 1/27/1957   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                      Area 1926-1999 (358)

                                                      Patriots' Path (358): Watchung
Request # 1311 For Policy # Unknown   issued to the                                  Local Council and   effective 1/27/1957   to 1/27/1958   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                      Area 1926-1999 (358)

                                                      Patriots' Path (358): Watchung
Request # 1312 For Policy # Unknown   issued to the                                  Local Council and   effective 1/27/1958   to 1/27/1959   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                      Area 1926-1999 (358)

                                                      Patriots' Path (358): Watchung
Request # 1313 For Policy # Unknown   issued to the                                  Local Council and   effective 1/27/1959   to 1/27/1960   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                      Area 1926-1999 (358)

                                                      Patriots' Path (358): Watchung
Request # 1314 For Policy # Unknown   issued to the                                  Local Council and   effective 1/27/1960   to 1/27/1961   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                      Area 1926-1999 (358)

                                                      Patriots' Path (358): Watchung
Request # 1315 For Policy # Unknown   issued to the                                  Local Council and   effective 1/27/1961   to 1/27/1962   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                      Area 1926-1999 (358)

                                                      Patriots' Path (358): Watchung
Request # 1316 For Policy # Unknown   issued to the                                  Local Council and   effective 1/27/1962   to 1/27/1963   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                      Area 1926-1999 (358)

                                                      Patriots' Path (358): Watchung
Request # 1317 For Policy # Unknown   issued to the                                  Local Council and   effective 1/27/1963   to 1/27/1964   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                      Area 1926-1999 (358)

                                                      Patriots' Path (358): Watchung
Request # 1318 For Policy # Unknown   issued to the                                  Local Council and   effective 1/27/1964   to 1/27/1965   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                      Area 1926-1999 (358)

                                                      Patriots' Path (358): Watchung
Request # 1319 For Policy # Unknown   issued to the                                  Local Council and   effective 1/27/1965   to 1/27/1966   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                      Area 1926-1999 (358)

                                                      Patriots' Path (358): Watchung
Request # 1320 For Policy # Unknown   issued to the                                  Local Council and   effective 1/27/1966   to 1/27/1967   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                      Area 1926-1999 (358)

                                                      Patriots' Path (358): Watchung
Request # 1321 For Policy # Unknown   issued to the                                  Local Council and   effective 1/27/1967   to 1/27/1968   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                      Area 1926-1999 (358)

                                                      Patriots' Path (358): Watchung
Request # 1322 For Policy # Unknown   issued to the                                  Local Council and   effective 1/27/1968   to 1/27/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                      Area 1926-1999 (358)

                                                      Patriots' Path (358): Watchung
Request # 1323 For Policy # Unknown   issued to the                                  Local Council and   effective 1/27/1969   to 1/27/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                      Area 1926-1999 (358)

                                                      Patriots' Path (358): Watchung
Request # 1324 For Policy # Unknown   issued to the                                  Local Council and   effective 1/27/1970   to 3/20/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                      Area 1926-1999 (358)



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                                                          Patriots' Path (358): Watchung
Request # 1325 For Policy # GAL-16124     issued to the                                  Local Council and   effective 3/20/1970   to 3/20/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area 1926-1999 (358)

                                                          Patriots' Path (358): Watchung
Request # 1326 For Policy # SBL 21690     issued to the                                  Local Council and   effective 5/27/1971   to 5/27/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area 1926-1999 (358)

                                                          Pee Dee Area (552): Pee Dee
Request # 1327 For Policy # SBL 4 53 56   issued to the                                  Local Council and   effective 7/1/1965    to 7/1/1966    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area (552)

                                                          Pee Dee Area (552): Pee Dee
Request # 1328 For Policy # SBL 4 53 56   issued to the                                  Local Council and   effective 7/1/1966    to 7/1/1967    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area (552)

                                                          Pee Dee Area (552): Pee Dee
Request # 1329 For Policy # SBL 4 53 56   issued to the                                  Local Council and   effective 7/1/1967    to 7/1/1968    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area (552)

                                                          Pee Dee Area (552): Pee Dee
Request # 1330 For Policy # SBL 5 04 07   issued to the                                  Local Council and   effective 7/1/1968    to 7/1/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area (552)

                                                          Pee Dee Area (552): Pee Dee
Request # 1331 For Policy # SBL 5 04 07   issued to the                                  Local Council and   effective 7/1/1969    to 7/1/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area (552)

                                                          Pee Dee Area (552): Pee Dee
Request # 1332 For Policy # SBL 5 04 07   issued to the                                  Local Council and   effective 7/1/1970    to 7/1/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area (552)

                                                          Pee Dee Area (552): Pee Dee
Request # 1333 For Policy # SBL 51579     issued to the                                  Local Council and   effective 7/1/1971    to 7/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area (552)
                                                          Pennsylvania Dutch (524):
Request # 1334 For Policy # Unknown       issued to the   Lancaster County 1924-1971     Local Council and   effective 12/31/1965 to 12/31/1966 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (519)
                                                          Pennsylvania Dutch (524):
Request # 1335 For Policy # Unknown       issued to the   Lancaster County 1924-1971     Local Council and   effective 12/31/1966 to 12/31/1967 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (519)
                                                          Pennsylvania Dutch (524):
Request # 1336 For Policy # Unknown       issued to the   Lancaster County 1924-1971     Local Council and   effective 12/31/1967 to 12/16/1968 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (519)
                                                          Pennsylvania Dutch (524):
Request # 1337 For Policy # SBL 4 85 12   issued to the   Lancaster County 1924-1971     Local Council and   effective 12/16/1968 to 12/16/1969 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (519)
                                                          Pennsylvania Dutch (524):
Request # 1338 For Policy # SBL 4 85 12   issued to the   Lancaster County 1924-1971     Local Council and   effective 12/16/1969 to 12/16/1970 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (519)
                                                          Pennsylvania Dutch (524):
Request # 1339 For Policy # SBL 4 85 12   issued to the   Lancaster County 1924-1971     Local Council and   effective 12/16/1970 to 12/16/1971 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (519)
                                                          Pennsylvania Dutch (524):
Request # 1340 For Policy # SBL 53073     issued to the   Lancaster-Lebanon 1971-1995    Local Council and   effective 4/26/1971   to 4/25/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (524)
                                                          Pennsylvania Dutch (524):
Request # 1341 For Policy # SBL 53073     issued to the   Lancaster-Lebanon 1971-1995    Local Council and   effective 4/26/1972   to 4/26/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (524)


                                                                                                                     81
                                                           Pennsylvania Dutch (524):
Request # 1342 For Policy # XBC 9 67 55    issued to the   Lancaster-Lebanon 1971-1995   Local Council and   effective 11/28/1972 to 11/28/1973 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (524)
                                                           Pennsylvania Dutch (524):
Request # 1343 For Policy # SBL 53073      issued to the   Lancaster-Lebanon 1971-1995   Local Council and   effective 4/26/1973   to 4/26/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (524)
                                                           Pennsylvania Dutch (524):
Request # 1344 For Policy # XBC 9 67 55    issued to the   Lancaster-Lebanon 1971-1995   Local Council and   effective 11/28/1973 to 11/28/1974 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (524)
                                                           Pennsylvania Dutch (524):
Request # 1345 For Policy # XBC 9 67 55    issued to the   Lancaster-Lebanon 1971-1995   Local Council and   effective 11/28/1974 to 1/1/1975     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (524)
                                                           Pennsylvania Dutch (524):
Request # 1346 For Policy # XBC 11 69 81   issued to the   Lancaster-Lebanon 1971-1995   Local Council and   effective 1/1/1975    to 1/1/1976    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (524)
                                                           Pennsylvania Dutch (524):
Request # 1347 For Policy # SBL 4 47 25    issued to the   Lebanon County 1924-1971      Local Council and   effective 4/26/1967   to 4/26/1968   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (650)
                                                           Pennsylvania Dutch (524):
Request # 1348 For Policy # SBL 4 84 45    issued to the   Lebanon County 1924-1971      Local Council and   effective 4/26/1968   to 4/26/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (650)
                                                           Pennsylvania Dutch (524):
Request # 1349 For Policy # SBL 4 84 45    issued to the   Lebanon County 1924-1971      Local Council and   effective 4/26/1969   to 4/26/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (650)
                                                           Pennsylvania Dutch (524):
Request # 1350 For Policy # SBL 4 84 45    issued to the   Lebanon County 1924-1971      Local Council and   effective 4/26/1970   to 4/26/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (650)
                                                           Pennsylvania Dutch (524):
Request # 1351 For Policy # SBL 5 30 73    issued to the   Lebanon County 1924-1971      Local Council and   effective 4/26/1971   to 4/25/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (650)
                                                           Pennsylvania Dutch (524):
Request # 1352 For Policy # SBL 5 30 73    issued to the   Lebanon County 1924-1971      Local Council and   effective 4/26/1972   to 4/26/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (650)
                                                           Pennsylvania Dutch (524):
Request # 1353 For Policy # SBL 5 30 73    issued to the   Lebanon County 1924-1971      Local Council and   effective 4/26/1973   to 4/26/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (650)
                                                           Pennsylvania Dutch (524):
Request # 1354 For Policy # SBL 5 30 73    issued to the   Lebanon County 1924-1971      Local Council and   effective 4/26/1974   to 1/1/1975    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (650)
                                                           Piedmont (042): Piedmont
Request # 1355 For Policy # SBL 4 53 99    issued to the                                 Local Council and   effective 6/1/1967    to 6/1/1968    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (042)

                                                           Piedmont (042): Piedmont
Request # 1356 For Policy # SBL 4 53 99    issued to the                                 Local Council and   effective 6/1/1968    to 6/1/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (042)

                                                           Piedmont (042): Piedmont
Request # 1357 For Policy # SBL 4 53 99    issued to the                                 Local Council and   effective 6/1/1969    to 6/1/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (042)

                                                           Piedmont (042): Piedmont
Request # 1358 For Policy # SBL 5 13 90    issued to the                                 Local Council and   effective 6/1/1970    to 6/1/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (042)



                                                                                                                     82
                                                            Piedmont (042): Piedmont
Request # 1359 For Policy # SBL 5 13 90     issued to the                                   Local Council and   effective 6/1/1971    to 6/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            (042)

                                                            Piedmont (420): Piedmont
Request # 1360 For Policy # SBL 50251       issued to the                                   Local Council and   effective 6/15/1968   to 6/15/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            (420)

                                                            Piedmont (420): Piedmont
Request # 1361 For Policy # SBL 51085       issued to the                                   Local Council and   effective 6/15/1969   to 6/15/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            (420)

                                                            Piedmont (420): Piedmont
Request # 1362 For Policy # Unknown         issued to the                                   Local Council and   effective 1/1/1970    to 1/1/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            (420)

                                                            Piedmont (420): Piedmont
Request # 1363 For Policy # SBL 52676       issued to the                                   Local Council and   effective 6/15/1970   to 6/15/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            (420)

                                                            Piedmont (420): Piedmont
Request # 1364 For Policy # SBL 53638       issued to the                                   Local Council and   effective 6/15/1971   to 6/15/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            (420)

                                                            Pony Express (311): Pony
Request # 1365 For Policy # SBL 5 08 54     issued to the                                   Local Council and   effective 12/29/1969 to 12/29/1970 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Express (311)

                                                            Pony Express (311): Pony
Request # 1366 For Policy # SBL 5 08 62     issued to the                                   Local Council and   effective 12/29/1970 to 12/29/1971 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Express (311)

                                                            Pony Express (311): Pony
Request # 1367 For Policy # Unknown         issued to the                                   Local Council and   effective 12/29/1971 to 1/1/1972     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Express (311)

                                                            Prairielands (117): Arrowhead
Request # 1368 For Policy # Unknown         issued to the                                   Local Council and   effective 1/1/1968    to 1/1/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1933-1991 (117)

                                                            Prairielands (117): Arrowhead
Request # 1369 For Policy #   SBL 5 04 12   issued to the                                   Local Council and   effective 6/1/1968    to 6/1/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1933-1991 (117)

                                                            Prairielands (117): Arrowhead
Request # 1370 For Policy #   SBL 5 04 12   issued to the                                   Local Council and   effective 6/1/1969    to 6/1/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1933-1991 (117)

                                                            Prairielands (117): Arrowhead
Request # 1371 For Policy #   SBL 5 04 12   issued to the                                   Local Council and   effective 6/1/1970    to 6/1/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1933-1991 (117)

                                                            Prairielands (117): Arrowhead
Request # 1372 For Policy # SBL 51570       issued to the                                   Local Council and   effective 6/1/1971    to 6/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1933-1991 (117)

                                                            Quapaw Area (018): Ouachita
Request # 1373 For Policy # SBL 4 53 62     issued to the                                   Local Council and   effective 5/27/1965   to 5/27/1966   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Area 1925-2012 (014)

                                                            Quapaw Area (018): Ouachita
Request # 1374 For Policy # SBL 4 53 62     issued to the                                   Local Council and   effective 5/27/1966   to 5/27/1967   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Area 1925-2012 (014)

                                                            Quapaw Area (018): Ouachita
Request # 1375 For Policy # SBL 4 53 62     issued to the                                   Local Council and   effective 5/27/1967   to 5/27/1968   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Area 1925-2012 (014)



                                                                                                                        83
                                                          Quapaw Area (018): Ouachita
Request # 1376 For Policy # SBL 4 69 41   issued to the                                  Local Council and   effective 5/27/1968   to 5/27/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area 1925-2012 (014)

                                                          Quapaw Area (018): Ouachita
Request # 1377 For Policy # SBL 4 69 41   issued to the                                  Local Council and   effective 5/27/1969   to 5/27/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area 1925-2012 (014)

                                                          Quapaw Area (018): Ouachita
Request # 1378 For Policy # SBL 4 69 41   issued to the                                  Local Council and   effective 5/27/1970   to 5/27/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area 1925-2012 (014)

                                                          Quapaw Area (018): Ouachita
Request # 1379 For Policy # Unknown       issued to the                                  Local Council and   effective 5/27/1971   to 1/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area 1925-2012 (014)

                                                          Quapaw Area (018): Quapaw
Request # 1380 For Policy # Unknown       issued to the                                  Local Council and   effective 1/1/1966    to 1/1/1967    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area 1927- (018)

                                                          Quapaw Area (018): Quapaw
Request # 1381 For Policy # Unknown       issued to the                                  Local Council and   effective 1/1/1967    to 1/1/1968    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area 1927- (018)

                                                          Quapaw Area (018): Quapaw
Request # 1382 For Policy # Unknown       issued to the                                  Local Council and   effective 1/1/1968    to 1/1/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area 1927- (018)

                                                          Quapaw Area (018): Quapaw
Request # 1383 For Policy # Unknown       issued to the                                  Local Council and   effective 1/1/1969    to 1/1/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area 1927- (018)

                                                          Quapaw Area (018): Quapaw
Request # 1384 For Policy # Unknown       issued to the                                  Local Council and   effective 1/1/1970    to 1/1/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area 1927- (018)

                                                          Quapaw Area (018): Quapaw
Request # 1385 For Policy # Unknown       issued to the                                  Local Council and   effective 1/1/1971    to 1/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area 1927- (018)

                                                          Quapaw Area (018): Quapaw
Request # 1386 For Policy # Unknown       issued to the                                  Local Council and   effective 1/1/1972    to 1/1/1973    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area 1927- (018)

                                                          Quapaw Area (018): Quapaw
Request # 1387 For Policy # Unknown       issued to the                                  Local Council and   effective 1/1/1973    to 1/1/1974    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area 1927- (018)

                                                          Quapaw Area (018): Quapaw
Request # 1388 For Policy # Unknown       issued to the                                  Local Council and   effective 1/1/1974    to 1/1/1975    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area 1927- (018)

                                                          Quapaw Area (018): Quapaw
Request # 1389 For Policy # Unknown       issued to the                                  Local Council and   effective 1/1/1975    to 1/1/1976    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area 1927- (018)

                                                          Quivira (198): Quivira 1918-
Request # 1390 For Policy # Unknown       issued to the                                  Local Council and   effective 1/1/1965    to 1/1/1966    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (198)

                                                          Quivira (198): Quivira 1918-
Request # 1391 For Policy # SBL-2-80-76   issued to the                                  Local Council and   effective 6/1/1966    to 6/1/1967    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (198)

                                                          Quivira (198): Quivira 1918-
Request # 1392 For Policy # SBL-2-80-81   issued to the                                  Local Council and   effective 6/1/1967    to 6/1/1968    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (198)



                                                                                                                     84
                                                          Quivira (198): Quivira 1918-
Request # 1393 For Policy # SBL-2-80-89   issued to the                                   Local Council and   effective 6/1/1968    to 6/1/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (198)

                                                          Quivira (198): Quivira 1918-
Request # 1394 For Policy # Unknown       issued to the                                   Local Council and   effective 1/1/1969    to 1/1/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (198)

                                                          Quivira (198): Quivira 1918-
Request # 1395 For Policy # SBL 5 08 58   issued to the                                   Local Council and   effective 6/1/1970    to 6/1/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (198)

                                                          Quivira (198): Quivira 1918-
Request # 1396 For Policy # SBL 5 08 63   issued to the                                   Local Council and   effective 6/1/1971    to 5/31/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (198)

                                                          Quivira (198): Sekan Area 1930-
Request # 1397 For Policy # SBL 5 15 50   issued to the                                   Local Council and   effective 5/28/1971   to 12/31/1971 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1972 (193)

Request # 1398 For Policy # SBL 4 29 87   issued to the Rainbow (702): Rainbow (702)      Local Council and   effective 3/2/1965    to 3/2/1966    admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1399 For Policy # SBL 4 29 87   issued to the Rainbow (702): Rainbow (702)      Local Council and   effective 3/2/1966    to 3/2/1967    admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1400 For Policy # SBL 4 29 87   issued to the Rainbow (702): Rainbow (702)      Local Council and   effective 3/2/1967    to 3/2/1968    admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1401 For Policy # SBL 46920     issued to the Rainbow (702): Rainbow (702)      Local Council and   effective 3/2/1968    to 3/2/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1402 For Policy # SBL 46920     issued to the Rainbow (702): Rainbow (702)      Local Council and   effective 3/2/1969    to 3/2/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1403 For Policy # SBL 46920     issued to the Rainbow (702): Rainbow (702)      Local Council and   effective 3/2/1970    to 3/2/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1404 For Policy # SBL 51497     issued to the Rainbow (702): Rainbow (702)      Local Council and   effective 3/2/1971    to 3/2/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.

                                                        Redwood Empire (041):
Request # 1405 For Policy # SBL 36222     issued to the Sonoma-Mendocino Area 1944- Local Council and         effective 5/20/1970   to 5/20/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        1992 (041)
                                                        Redwood Empire (041):
Request # 1406 For Policy # SBL 51574     issued to the Sonoma-Mendocino Area 1944- Local Council and         effective 5/20/1971   to 5/20/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        1992 (041)
                                                          Rio Grande (775): Rio Grande
Request # 1407 For Policy # Unknown       issued to the                                   Local Council and   effective 1/1/1970    to 1/1/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (775)

                                                          Rio Grande (775): Rio Grande
Request # 1408 For Policy # Unknown       issued to the                                   Local Council and   effective 1/1/1971    to 1/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (775)

                                                          Rip Van Winkle (405): Rip Van
Request # 1409 For Policy # AGP-82-37     issued to the                                   Local Council and   effective 11/12/1966 to 11/12/1967 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Winkle 1950- (405)



                                                                                                                      85
                                                           Rip Van Winkle (405): Rip Van
Request # 1410 For Policy # AGP-82-37      issued to the                                   Local Council and   effective 11/12/1967 to 11/12/1968 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Winkle 1950- (405)

                                                           Rip Van Winkle (405): Rip Van
Request # 1411 For Policy # AGP-82-37      issued to the                                   Local Council and   effective 11/12/1968 to 11/12/1969 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Winkle 1950- (405)

                                                           Rip Van Winkle (405): Rip Van
Request # 1412 For Policy # AGP-82-72      issued to the                                   Local Council and   effective 11/12/1969 to 11/12/1970 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Winkle 1950- (405)

                                                           Rip Van Winkle (405): Rip Van
Request # 1413 For Policy # AGP-82-72      issued to the                                   Local Council and   effective 11/12/1970 to 11/12/1971 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Winkle 1950- (405)

                                                           Rip Van Winkle (405): Rip Van
Request # 1414 For Policy # AGP-82-72      issued to the                                   Local Council and   effective 11/12/1971 to 7/11/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Winkle 1950- (405)

                                                           Rip Van Winkle (405): Rip Van
Request # 1415 For Policy # GAL 227276     issued to the                                   Local Council and   effective 1/1/1975    to 1/1/1976    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Winkle 1950- (405)

                                                           Rip Van Winkle (405): Rip Van
Request # 1416 For Policy # XBC 99313      issued to the                                   Local Council and   effective 1/1/1975    to 1/1/1976    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Winkle 1950- (405)

                                                           Rip Van Winkle (405): Rip Van
Request # 1417 For Policy # Unknown        issued to the                                   Local Council and   effective 1/1/1975    to 1/1/1976    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Winkle 1950- (405)

                                                           Rip Van Winkle (405): Rip Van
Request # 1418 For Policy # GAL 344145     issued to the                                   Local Council and   effective 1/1/1976    to 1/1/1977    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Winkle 1950- (405)

                                                           Rip Van Winkle (405): Rip Van
Request # 1419 For Policy # GAL 36 28 32   issued to the                                   Local Council and   effective 1/1/1977    to 1/1/1978    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Winkle 1950- (405)
                                                           Sagamore (162):
Request # 1420 For Policy # SBL 41085      issued to the   Meshingomesia 1929-1973         Local Council and   effective 10/1/1965   to 10/1/1966   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (163)
                                                           Sagamore (162):
Request # 1421 For Policy # SBL 41085      issued to the   Meshingomesia 1929-1973         Local Council and   effective 10/1/1966   to 10/1/1967   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (163)
                                                           Sagamore (162):
Request # 1422 For Policy # SBL 41085      issued to the   Meshingomesia 1929-1973         Local Council and   effective 10/1/1967   to 10/1/1968   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (163)
                                                           Sagamore (162):
Request # 1423 For Policy # SBL 41085      issued to the   Meshingomesia 1929-1973         Local Council and   effective 10/1/1968   to 10/1/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (163)
                                                           Sagamore (162):
Request # 1424 For Policy # SBL 41085      issued to the   Meshingomesia 1929-1973         Local Council and   effective 10/1/1969   to 10/1/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (163)

Request # 1425 For Policy # SBL 4 53 59    issued to the Samoset (627): Samoset (627)      Local Council and   effective 6/1/1965    to 6/1/1966    admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1426 For Policy # SBL 4 53 59    issued to the Samoset (627): Samoset (627)      Local Council and   effective 6/1/1966    to 6/1/1967    admit that Abuse Claims against insureds and co-insureds are covered under the policy.



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Request # 1427 For Policy # SBL 4 53 59   issued to the Samoset (627): Samoset (627)       Local Council and   effective 6/1/1967    to 6/1/1968    admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1428 For Policy # SBL 4 15 40   issued to the Samoset (627): Samoset (627)       Local Council and   effective 6/1/1968    to 6/1/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1429 For Policy # SBL 4 15 40   issued to the Samoset (627): Samoset (627)       Local Council and   effective 6/1/1969    to 6/1/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1430 For Policy # SBL 4 15 40   issued to the Samoset (627): Samoset (627)       Local Council and   effective 6/1/1970    to 6/1/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1431 For Policy # SBL 4 15 64   issued to the Samoset (627): Samoset (627)       Local Council and   effective 6/1/1971    to 6/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1432 For Policy # Unknown       issued to the Samoset (627): Samoset (627)       Local Council and   effective 6/1/1972    to 6/1/1973    admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1433 For Policy # Unknown       issued to the Samoset (627): Samoset (627)       Local Council and   effective 6/1/1973    to 6/1/1974    admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1434 For Policy # Unknown       issued to the Samoset (627): Samoset (627)       Local Council and   effective 6/1/1974    to 1/1/1975    admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1435 For Policy # Unknown       issued to the Samoset (627): Samoset (627)       Local Council and   effective 1/1/1976    to 1/1/1977    admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1436 For Policy # GAL 212382    issued to the Samoset (627): Samoset (627)       Local Council and   effective 1/1/1976    to 1/1/1977    admit that Abuse Claims against insureds and co-insureds are covered under the policy.

                                                          San Diego-Imperial (049):
Request # 1437 For Policy # SBL 4 69 81   issued to the                                    Local Council and   effective 4/1/1965    to 4/1/1966    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Desert Trails 1959-1993 (029)

                                                          San Diego-Imperial (049):
Request # 1438 For Policy # SBL 4 69 81   issued to the                                    Local Council and   effective 4/1/1966    to 4/1/1967    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Desert Trails 1959-1993 (029)

                                                          San Diego-Imperial (049):
Request # 1439 For Policy # SBL 4 69 81   issued to the                                    Local Council and   effective 4/1/1967    to 4/1/1968    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Desert Trails 1959-1993 (029)

                                                          San Diego-Imperial (049):
Request # 1440 For Policy # SBL 4 69 35   issued to the                                    Local Council and   effective 4/1/1968    to 4/1/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Desert Trails 1959-1993 (029)

                                                          San Diego-Imperial (049):
Request # 1441 For Policy # SBL 4 69 35   issued to the                                    Local Council and   effective 4/1/1969    to 4/1/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Desert Trails 1959-1993 (029)

                                                          San Diego-Imperial (049):
Request # 1442 For Policy # SBL 4 69 35   issued to the                                    Local Council and   effective 4/1/1970    to 4/1/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Desert Trails 1959-1993 (029)

                                                          Santa Fe Trail (194): Santa Fe
Request # 1443 For Policy # SBL 50430     issued to the                                    Local Council and   effective 11/1/1968   to 11/1/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Trail (194)



                                                                                                                       87
                                                           Santa Fe Trail (194): Santa Fe
Request # 1444 For Policy # SBL 50430      issued to the                                    Local Council and   effective 11/1/1969   to 11/1/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Trail (194)

                                                           Santa Fe Trail (194): Santa Fe
Request # 1445 For Policy # SBL 50430      issued to the                                    Local Council and   effective 11/1/1970   to 11/1/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Trail (194)

                                                           Seneca Waterways (397):
Request # 1446 For Policy # GLP 32 23 19   issued to the                                    Local Council and   effective 5/17/1972   to 5/21/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Finger Lakes 1924-2009 (391)

                                                           Sequoia (027): Mount Whitney
Request # 1447 For Policy # SBL 45380      issued to the                                Local Council and       effective 3/1/1966    to 3/1/1967    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area 1929-1992 (054)

                                                           Sequoia (027): Mount Whitney
Request # 1448 For Policy # SBL 45380      issued to the                                Local Council and       effective 3/1/1967    to 3/1/1968    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area 1929-1992 (054)

                                                           Sequoia (027): Mount Whitney
Request # 1449 For Policy # SBL 45380      issued to the                                Local Council and       effective 3/1/1968    to 3/1/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area 1929-1992 (054)

                                                           Sequoia (027): Mount Whitney
Request # 1450 For Policy # SBL 50440      issued to the                                Local Council and       effective 3/1/1969    to 3/1/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area 1929-1992 (054)

                                                           Sequoia (027): Mount Whitney
Request # 1451 For Policy # SBL 50440      issued to the                                Local Council and       effective 3/1/1970    to 3/1/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area 1929-1992 (054)

                                                           Sequoia (027): Mount Whitney
Request # 1452 For Policy # SBL 50440      issued to the                                Local Council and       effective 3/1/1971    to 3/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area 1929-1992 (054)

                                                           Sequoia (027): Sequoia 1925-
Request # 1453 For Policy # SBL 4 69 62    issued to the                                    Local Council and   effective 3/1/1965    to 3/1/1966    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (027)

                                                           Sequoia (027): Sequoia 1925-
Request # 1454 For Policy # SBL 4 69 62    issued to the                                    Local Council and   effective 3/1/1966    to 3/1/1967    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (027)

                                                           Sequoia (027): Sequoia 1925-
Request # 1455 For Policy # SBL 4 69 62    issued to the                                    Local Council and   effective 3/1/1967    to 3/1/1968    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (027)

                                                           Sequoia (027): Sequoia 1925-
Request # 1456 For Policy # SBL 4 69 27    issued to the                                    Local Council and   effective 3/1/1968    to 3/1/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (027)

                                                           Sequoia (027): Sequoia 1925-
Request # 1457 For Policy # SBL 4 69 27    issued to the                                    Local Council and   effective 3/1/1969    to 3/1/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (027)

                                                           Sequoia (027): Sequoia 1925-
Request # 1458 For Policy # SBL 4 69 27    issued to the                                    Local Council and   effective 3/1/1970    to 3/1/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (027)

                                                           Sequoia (027): Sequoia 1925-
Request # 1459 For Policy # SBL 5 15 10    issued to the                                    Local Council and   effective 3/1/1971    to 3/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (027)

                                                           Sequoyah (713): Sequoyah
Request # 1460 For Policy # SBL 51193      issued to the                                    Local Council and   effective 6/11/1969   to 6/11/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (713)



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                                                           Sequoyah (713): Sequoyah
Request # 1461 For Policy # SBL 51193      issued to the                                 Local Council and   effective 6/11/1970   to 6/11/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (713)

                                                           Sequoyah (713): Sequoyah
Request # 1462 For Policy # SBL 51193      issued to the                                 Local Council and   effective 6/11/1971   to 6/11/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (713)

                                                           Sequoyah (713): Sequoyah
Request # 1463 For Policy # Unknown        issued to the                                 Local Council and   effective 1/1/1977    to 1/1/1978    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (713)

                                                           Shenandoah Area (598):
Request # 1464 For Policy # Unknown        issued to the                                 Local Council and   effective 1/1/1966    to 1/1/1967    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Shenandoah Area (598)

                                                           Shenandoah Area (598):
Request # 1465 For Policy # Unknown        issued to the                                 Local Council and   effective 1/1/1967    to 1/1/1968    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Shenandoah Area (598)

                                                           Shenandoah Area (598):
Request # 1466 For Policy # Unknown        issued to the                                 Local Council and   effective 1/1/1968    to 1/1/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Shenandoah Area (598)

                                                           Shenandoah Area (598):
Request # 1467 For Policy # Unknown        issued to the                                 Local Council and   effective 1/1/1969    to 1/1/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Shenandoah Area (598)

                                                           Shenandoah Area (598):
Request # 1468 For Policy # Unknown        issued to the                                 Local Council and   effective 1/1/1970    to 1/1/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Shenandoah Area (598)

                                                           Shenandoah Area (598):
Request # 1469 For Policy # Unknown        issued to the                                 Local Council and   effective 1/1/1971    to 1/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Shenandoah Area (598)

                                                           Shenandoah Area (598):
Request # 1470 For Policy # Unknown        issued to the                                 Local Council and   effective 1/1/1972    to 1/1/1973    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Shenandoah Area (598)
                                                         Silicon Valley Monterey Bay
Request # 1471 For Policy # Unknown        issued to the (055): Santa Clara County 1929- Local Council and   effective 1/1/1976    to 1/1/1977    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         2012 (055)
                                                         Silicon Valley Monterey Bay
Request # 1472 For Policy # GAL 34 32 19   issued to the (055): Santa Clara County 1929- Local Council and   effective 6/7/1977    to 6/7/1978    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         2012 (055)
                                                           Simon Kenton (441): Chief
Request # 1473 For Policy # SBL 4 53 66    issued to the                                 Local Council and   effective 7/1/1965    to 7/1/1966    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Logan 1944-1994 (464)

                                                           Simon Kenton (441): Chief
Request # 1474 For Policy # SBL 4 53 66    issued to the                                 Local Council and   effective 7/1/1966    to 7/1/1967    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Logan 1944-1994 (464)

                                                           Simon Kenton (441): Chief
Request # 1475 For Policy # SBL 4 53 66    issued to the                                 Local Council and   effective 7/1/1967    to 7/1/1968    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Logan 1944-1994 (464)

                                                           Simon Kenton (441): Chief
Request # 1476 For Policy # SBL 50413      issued to the                                 Local Council and   effective 7/1/1968    to 7/1/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Logan 1944-1994 (464)

                                                           Simon Kenton (441): Chief
Request # 1477 For Policy # SBL 50413      issued to the                                 Local Council and   effective 7/1/1969    to 7/1/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Logan 1944-1994 (464)



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                                                           Simon Kenton (441): Chief
Request # 1478 For Policy # SBL 50413      issued to the                                  Local Council and   effective 7/1/1970    to 7/1/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Logan 1944-1994 (464)

                                                           Simon Kenton (441): Chief
Request # 1479 For Policy # SBL 51585      issued to the                                  Local Council and   effective 7/1/1971    to 7/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Logan 1944-1994 (464)

                                                           Simon Kenton (441): Licking
Request # 1480 For Policy # SBL 4 29 58    issued to the                                  Local Council and   effective 1/14/1965   to 1/14/1966   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           County 1922-1987 (451)

                                                           Simon Kenton (441): Licking
Request # 1481 For Policy # SBL 4 29 58    issued to the                                  Local Council and   effective 1/14/1966   to 1/14/1967   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           County 1922-1987 (451)

                                                           Simon Kenton (441): Licking
Request # 1482 For Policy # SBL 4 29 58    issued to the                                  Local Council and   effective 1/14/1967   to 1/14/1968   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           County 1922-1987 (451)

                                                           Simon Kenton (441): Licking
Request # 1483 For Policy # SBL 46902      issued to the                                  Local Council and   effective 1/14/1968   to 1/14/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           County 1922-1987 (451)

                                                           Simon Kenton (441): Licking
Request # 1484 For Policy # SBL 46902      issued to the                                  Local Council and   effective 1/14/1969   to 1/14/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           County 1922-1987 (451)

                                                           Simon Kenton (441): Licking
Request # 1485 For Policy # SBL 46902      issued to the                                  Local Council and   effective 1/14/1970   to 6/28/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           County 1922-1987 (451)

                                                           Sioux (733): Pheasant 1942-
Request # 1486 For Policy # SBL 4 53 93    issued to the                                  Local Council and   effective 11/1/1966   to 11/1/1967   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1978 (693)

                                                           Sioux (733): Pheasant 1942-
Request # 1487 For Policy # Unknown        issued to the                                  Local Council and   effective 11/1/1967   to 11/1/1968   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1978 (693)

                                                           Sioux (733): Pheasant 1942-
Request # 1488 For Policy # Unknown        issued to the                                  Local Council and   effective 11/1/1968   to 11/1/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1978 (693)

                                                           Sioux (733): Pheasant 1942-
Request # 1489 For Policy # SBL 5 11 99    issued to the                                  Local Council and   effective 11/1/1969   to 11/1/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1978 (693)

                                                           Sioux (733): Pheasant 1942-
Request # 1490 For Policy # SBL 5 11 99    issued to the                                  Local Council and   effective 11/1/1970   to 11/1/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1978 (693)

                                                           Sioux (733): Pheasant 1942-
Request # 1491 For Policy # SBL 5 11 99    issued to the                                  Local Council and   effective 11/1/1971   to 11/1/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1978 (693)

                                                           Sioux (733): Pheasant 1942-
Request # 1492 For Policy # AGP 14 41 08   issued to the                                  Local Council and   effective 1/1/1976    to 1/1/1977    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1978 (693)

                                                           Sioux (733): Pheasant 1942-
Request # 1493 For Policy # AGP 14 41 08   issued to the                                  Local Council and   effective 1/1/1977    to 1/1/1978    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1978 (693)

Request # 1494 For Policy # CGL 243562     issued to the Sioux (733): Sioux 1927- (733)   Local Council and   effective 5/13/1966   to 5/13/1967   admit that Abuse Claims against insureds and co-insureds are covered under the policy.



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Request # 1495 For Policy # GLP-07-93-29   issued to the Sioux (733): Sioux 1927- (733)   Local Council and   effective 5/13/1967   to 5/13/1968   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1496 For Policy # GLP-14-72-39   issued to the Sioux (733): Sioux 1927- (733)   Local Council and   effective 5/13/1968   to 5/13/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1497 For Policy # GLP 22 78 40   issued to the Sioux (733): Sioux 1927- (733)   Local Council and   effective 5/13/1969   to 5/13/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1498 For Policy # GLP 22 79 77   issued to the Sioux (733): Sioux 1927- (733)   Local Council and   effective 5/13/1970   to 5/13/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1499 For Policy # GLP 30 83 96   issued to the Sioux (733): Sioux 1927- (733)   Local Council and   effective 5/13/1971   to 5/12/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1500 For Policy # Unknown        issued to the Sioux (733): Sioux 1927- (733)   Local Council and   effective 5/13/1972   to 1/1/1973    admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1501 For Policy # Unknown        issued to the Sioux (733): Sioux 1927- (733)   Local Council and   effective 1/1/1973    to 1/1/1974    admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1502 For Policy # GAL 21 16 51   issued to the Sioux (733): Sioux 1927- (733)   Local Council and   effective 1/1/1973    to 5/24/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1503 For Policy # XBC 97586      issued to the Sioux (733): Sioux 1927- (733)   Local Council and   effective 1/1/1973    to 1/1/1974    admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1504 For Policy # AGP 13 14 41   issued to the Sioux (733): Sioux 1927- (733)   Local Council and   effective 5/24/1973   to 1/1/1974    admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1505 For Policy # XBC 97752      issued to the Sioux (733): Sioux 1927- (733)   Local Council and   effective 1/1/1974    to 1/1/1975    admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1506 For Policy # AGP 13 14 75   issued to the Sioux (733): Sioux 1927- (733)   Local Council and   effective 1/1/1974    to 1/1/1975    admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1507 For Policy # Unknown        issued to the Sioux (733): Sioux 1927- (733)   Local Council and   effective 1/1/1974    to 1/1/1975    admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1508 For Policy # Unknown        issued to the Sioux (733): Sioux 1927- (733)   Local Council and   effective 1/1/1975    to 1/1/1976    admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1509 For Policy # AGP 13 14 75   issued to the Sioux (733): Sioux 1927- (733)   Local Council and   effective 1/1/1975    to 1/1/1976    admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1510 For Policy # XBC 97752      issued to the Sioux (733): Sioux 1927- (733)   Local Council and   effective 1/1/1975    to 1/1/1976    admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1511 For Policy # AGP 13 14 75   issued to the Sioux (733): Sioux 1927- (733)   Local Council and   effective 1/1/1976    to 1/1/1977    admit that Abuse Claims against insureds and co-insureds are covered under the policy.



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Request # 1512 For Policy # AGP 13 14 75   issued to the Sioux (733): Sioux 1927- (733)    Local Council and   effective 1/1/1977    to 1/1/1978    admit that Abuse Claims against insureds and co-insureds are covered under the policy.

                                                           South Georgia (098): Chehaw
Request # 1513 For Policy # SBL 5 11 87    issued to the                                   Local Council and   effective 4/23/1969   to 4/23/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1939-1984 (097)

                                                           South Georgia (098): Chehaw
Request # 1514 For Policy # SBL 5 11 87    issued to the                                   Local Council and   effective 4/23/1970   to 4/23/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1939-1984 (097)

                                                           South Georgia (098): Chehaw
Request # 1515 For Policy # SBL 5 11 87    issued to the                                   Local Council and   effective 4/23/1971   to 4/23/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1939-1984 (097)

                                                           Southwest Florida (088):
Request # 1516 For Policy # SBL 45392      issued to the                                   Local Council and   effective 1/1/1967    to 1/1/1968    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Southwest Florida 1966- (088)

                                                           Southwest Florida (088):
Request # 1517 For Policy # SBL 45392      issued to the                                   Local Council and   effective 1/1/1968    to 1/1/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Southwest Florida 1966- (088)

                                                           Southwest Florida (088):
Request # 1518 For Policy # SBL 45392      issued to the                                   Local Council and   effective 1/1/1969    to 1/1/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Southwest Florida 1966- (088)

                                                           Southwest Florida (088):
Request # 1519 For Policy # SBL 51305      issued to the                                   Local Council and   effective 1/1/1970    to 1/1/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Southwest Florida 1966- (088)

                                                           Southwest Florida (088):
Request # 1520 For Policy # SBL 51305      issued to the                                   Local Council and   effective 1/1/1971    to 1/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Southwest Florida 1966- (088)

                                                           Southwest Florida (088):
Request # 1521 For Policy # SBL 51305      issued to the                                   Local Council and   effective 1/1/1972    to 1/1/1973    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Southwest Florida 1966- (088)

                                                           Southwest Florida (088): Sunny
Request # 1522 For Policy # SBL 4 53 54    issued to the                                  Local Council and    effective 11/17/1965 to 11/17/1966 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Land 1925-1995 (724)

                                                           Southwest Florida (088): Sunny
Request # 1523 For Policy # SBL 4 53 54    issued to the                                  Local Council and    effective 11/17/1966 to 11/17/1967 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Land 1925-1995 (724)

                                                           Southwest Florida (088): Sunny
Request # 1524 For Policy # SBL 4 53 54    issued to the                                  Local Council and    effective 11/17/1967 to 11/17/1968 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Land 1925-1995 (724)

                                                           Southwest Florida (088): Sunny
Request # 1525 For Policy # SBL 50422      issued to the                                  Local Council and    effective 11/17/1968 to 11/17/1969 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Land 1925-1995 (724)

                                                           Southwest Florida (088): Sunny
Request # 1526 For Policy # SBL 50422      issued to the                                  Local Council and    effective 11/17/1969 to 11/17/1970 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Land 1925-1995 (724)

                                                           Southwest Florida (088): Sunny
Request # 1527 For Policy # SBL 50422      issued to the                                  Local Council and    effective 11/17/1970 to 11/17/1971 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Land 1925-1995 (724)

                                                           Spirit of Adventure (227):
Request # 1528 For Policy # Unknown        issued to the                                  Local Council and    effective 1/1/1965    to 1/1/1966    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Greater Lowell 1977-1999 (238)



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                                                        Spirit of Adventure (227):
Request # 1529 For Policy # Unknown     issued to the                                  Local Council and     effective 1/1/1966    to 1/1/1967    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Greater Lowell 1977-1999 (238)

                                                        Spirit of Adventure (227):
Request # 1530 For Policy # Unknown     issued to the                                  Local Council and     effective 1/1/1967    to 1/1/1968    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Greater Lowell 1977-1999 (238)

                                                        Spirit of Adventure (227):
Request # 1531 For Policy # Unknown     issued to the                                  Local Council and     effective 1/1/1968    to 1/1/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Greater Lowell 1977-1999 (238)

                                                        Spirit of Adventure (227):
Request # 1532 For Policy # Unknown     issued to the                                  Local Council and     effective 1/1/1969    to 1/1/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Greater Lowell 1977-1999 (238)

                                                        Spirit of Adventure (227):
Request # 1533 For Policy # Unknown     issued to the                                  Local Council and     effective 1/1/1970    to 3/6/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Greater Lowell 1977-1999 (238)

                                                        Spirit of Adventure (227): Lone
Request # 1534 For Policy # SBL 46915   issued to the                                   Local Council and    effective 3/6/1970    to 3/6/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Tree 1926-1993 (749)

                                                        Spirit of Adventure (227): Lone
Request # 1535 For Policy # SBL 51409   issued to the                                   Local Council and    effective 3/6/1971    to 3/6/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Tree 1926-1993 (749)

                                                        Spirit of Adventure (227): North
Request # 1536 For Policy # SBL 50418   issued to the                                    Local Council and   effective 6/10/1968   to 6/10/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Essex 1925-1993 (712)

                                                        Spirit of Adventure (227): North
Request # 1537 For Policy # SBL 50418   issued to the                                    Local Council and   effective 6/10/1969   to 6/10/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Essex 1925-1993 (712)

                                                        Spirit of Adventure (227): North
Request # 1538 For Policy # SBL 50418   issued to the                                    Local Council and   effective 6/10/1970   to 6/10/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Essex 1925-1993 (712)

                                                        Spirit of Adventure (227): North
Request # 1539 For Policy # SBL 51562   issued to the                                    Local Council and   effective 6/10/1971   to 6/10/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Essex 1925-1993 (712)

                                                        Suffolk County (404): Suffolk
Request # 1540 For Policy # XBC 65760   issued to the                                   Local Council and    effective 6/1/1967    to 6/1/1968    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        County (404)

                                                        Suffolk County (404): Suffolk
Request # 1541 For Policy # XBC 65760   issued to the                                   Local Council and    effective 6/1/1968    to 6/1/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        County (404)

                                                        Suffolk County (404): Suffolk
Request # 1542 For Policy # XBC 65760   issued to the                                   Local Council and    effective 6/1/1969    to 6/1/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        County (404)

                                                        Suffolk County (404): Suffolk
Request # 1543 For Policy # XBC-73765   issued to the                                   Local Council and    effective 6/1/1970    to 6/1/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        County (404)

                                                        Suffolk County (404): Suffolk
Request # 1544 For Policy # XBC-73765   issued to the                                   Local Council and    effective 6/1/1971    to 3/9/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        County (404)

                                                        Suffolk County (404): Suffolk
Request # 1545 For Policy # XBC 73765   issued to the                                   Local Council and    effective 3/9/1972    to 3/7/1973    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        County (404)



                                                                                                                     93
                                                          Suffolk County (404): Suffolk
Request # 1546 For Policy # XBC 73765     issued to the                                   Local Council and   effective 3/7/1973    to 6/1/1973    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          County (404)

                                                          Susquehanna (533):
Request # 1547 For Policy # XBC 9 85 02   issued to the                                   Local Council and   effective 1/1/1972    to 1/1/1973    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Susquehanna 1975- (533)

                                                          Susquehanna (533):
Request # 1548 For Policy # XBC 9 85 02   issued to the                                   Local Council and   effective 1/1/1973    to 1/1/1974    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Susquehanna 1975- (533)

                                                          Susquehanna (533):
Request # 1549 For Policy # XBC 9 85 02   issued to the                                   Local Council and   effective 1/1/1974    to 1/1/1975    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Susquehanna 1975- (533)
                                                          Susquehanna (533):
Request # 1550 For Policy # 4 47 50       issued to the   Susquehanna Valley Area 1927-   Local Council and   effective 6/14/1965   to 6/14/1966   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1975 (533)
                                                          Susquehanna (533):
Request # 1551 For Policy # 4 47 50       issued to the   Susquehanna Valley Area 1927-   Local Council and   effective 6/14/1966   to 6/14/1967   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1975 (533)
                                                          Susquehanna (533):
Request # 1552 For Policy # 4 47 50       issued to the   Susquehanna Valley Area 1927-   Local Council and   effective 6/14/1967   to 6/14/1968   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1975 (533)
                                                          Susquehanna (533):
Request # 1553 For Policy # SBL 4 84 64   issued to the   Susquehanna Valley Area 1927-   Local Council and   effective 6/14/1968   to 6/14/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1975 (533)
                                                          Susquehanna (533):
Request # 1554 For Policy # SBL 4 84 64   issued to the   Susquehanna Valley Area 1927-   Local Council and   effective 6/14/1969   to 6/14/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1975 (533)
                                                          Susquehanna (533):
Request # 1555 For Policy # SBL 4 84 64   issued to the   Susquehanna Valley Area 1927-   Local Council and   effective 6/14/1970   to 6/14/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1975 (533)
                                                          Susquehanna (533):
Request # 1556 For Policy # SBL 53078     issued to the   Susquehanna Valley Area 1927-   Local Council and   effective 7/14/1971   to 7/13/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1975 (533)
                                                          Susquehanna (533):
Request # 1557 For Policy # SBL 53078     issued to the   Susquehanna Valley Area 1927-   Local Council and   effective 7/14/1972   to 2/22/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1975 (533)
                                                          Susquehanna (533):
Request # 1558 For Policy # GLP 411728    issued to the   Susquehanna Valley Area 1927-   Local Council and   effective 2/22/1973   to 2/22/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1975 (533)
                                                          Susquehanna (533):
Request # 1559 For Policy # XBC 9 68 34   issued to the   Susquehanna Valley Area 1927-   Local Council and   effective 2/22/1973   to 2/22/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1975 (533)
                                                          Susquehanna (533):
Request # 1560 For Policy # XBC 9 68 34   issued to the   Susquehanna Valley Area 1927-   Local Council and   effective 2/22/1974   to 2/22/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1975 (533)
                                                          Susquehanna (533):
Request # 1561 For Policy # GLP 411728    issued to the   Susquehanna Valley Area 1927-   Local Council and   effective 2/22/1974   to 2/22/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1975 (533)
                                                          Susquehanna (533): West
Request # 1562 For Policy # SBL-4-48-96   issued to the                                   Local Council and   effective 2/9/1967    to 2/9/1968    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Branch 1935-1975 (543)



                                                                                                                      94
                                                           Susquehanna (533): West
Request # 1563 For Policy # SBL-4-48-96    issued to the                              Local Council and   effective 2/9/1968    to 2/9/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Branch 1935-1975 (543)

                                                           Susquehanna (533): West
Request # 1564 For Policy # SBL-4-48-96    issued to the                              Local Council and   effective 2/9/1969    to 2/9/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Branch 1935-1975 (543)

                                                           Susquehanna (533): West
Request # 1565 For Policy # SBL 5 30 08    issued to the                              Local Council and   effective 2/9/1970    to 2/9/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Branch 1935-1975 (543)

                                                           Susquehanna (533): West
Request # 1566 For Policy # SBL 5 30 08    issued to the                              Local Council and   effective 2/9/1971    to 2/9/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Branch 1935-1975 (543)

                                                           Susquehanna (533): West
Request # 1567 For Policy # SBL 5 30 08    issued to the                              Local Council and   effective 2/9/1972    to 2/9/1973    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Branch 1935-1975 (543)

                                                           Susquehanna (533): West
Request # 1568 For Policy # XBC 9 68 17    issued to the                              Local Council and   effective 2/9/1973    to 2/9/1974    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Branch 1935-1975 (543)

                                                           Susquehanna (533): West
Request # 1569 For Policy # GLP 40 76 42   issued to the                              Local Council and   effective 2/9/1973    to 2/9/1974    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Branch 1935-1975 (543)

                                                           Susquehanna (533): West
Request # 1570 For Policy # XBC 9 68 17    issued to the                              Local Council and   effective 2/9/1974    to 2/9/1975    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Branch 1935-1975 (543)

                                                           Susquehanna (533): West
Request # 1571 For Policy # GLP 40 76 42   issued to the                              Local Council and   effective 2/9/1974    to 2/9/1975    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Branch 1935-1975 (543)

                                                           Susquehanna (533): West
Request # 1572 For Policy # GLP 40 76 42   issued to the                              Local Council and   effective 2/9/1975    to 3/26/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Branch 1935-1975 (543)

                                                           Susquehanna (533): West
Request # 1573 For Policy # XBC 9 68 17    issued to the                              Local Council and   effective 2/9/1975    to 2/9/1976    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Branch 1935-1975 (543)

                                                           Tecumseh (439): Tecumseh
Request # 1574 For Policy # AGP-68-33      issued to the                              Local Council and   effective 12/15/1965 to 12/15/1966 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (439)

                                                           Tecumseh (439): Tecumseh
Request # 1575 For Policy # AGP-68-33      issued to the                              Local Council and   effective 12/15/1966 to 12/15/1967 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (439)

                                                           Tecumseh (439): Tecumseh
Request # 1576 For Policy # AGP-68-33      issued to the                              Local Council and   effective 12/15/1967 to 12/15/1968 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (439)

                                                           Tecumseh (439): Tecumseh
Request # 1577 For Policy # AGP-1-64-96    issued to the                              Local Council and   effective 12/15/1968 to 12/15/1969 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (439)

                                                           Tecumseh (439): Tecumseh
Request # 1578 For Policy # Unknown        issued to the                              Local Council and   effective 12/15/1968 to 12/15/1969 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (439)

                                                           Tecumseh (439): Tecumseh
Request # 1579 For Policy # AGP-1-64-96    issued to the                              Local Council and   effective 12/15/1969 to 12/15/1970 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (439)



                                                                                                                  95
                                                          Tecumseh (439): Tecumseh
Request # 1580 For Policy # Unknown       issued to the                                  Local Council and   effective 12/15/1969 to 12/15/1970 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (439)

                                                          Tecumseh (439): Tecumseh
Request # 1581 For Policy # Unknown       issued to the                                  Local Council and   effective 12/15/1970 to 12/15/1971 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (439)

                                                          Tecumseh (439): Tecumseh
Request # 1582 For Policy # AGP-1-64-96   issued to the                                  Local Council and   effective 12/15/1970 to 12/15/1971 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (439)

                                                          Tecumseh (439): Tecumseh
Request # 1583 For Policy # Unknown       issued to the                                  Local Council and   effective 12/15/1971 to 12/15/1972 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (439)

                                                          Tecumseh (439): Tecumseh
Request # 1584 For Policy # Unknown       issued to the                                  Local Council and   effective 12/15/1972 to 12/15/1973 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (439)

                                                          Tecumseh (439): Tecumseh
Request # 1585 For Policy # Unknown       issued to the                                  Local Council and   effective 12/15/1973 to 12/15/1974 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (439)

                                                          Tecumseh (439): Tecumseh
Request # 1586 For Policy # Unknown       issued to the                                  Local Council and   effective 12/15/1974 to 1/1/1975     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (439)

                                                          Texas Southwest (741): Concho
Request # 1587 For Policy # SBL 51317     issued to the                                 Local Council and    effective 4/1/1970    to 4/1/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Valley 1926-2012 (741)

                                                          Texas Southwest (741): Concho
Request # 1588 For Policy # SBL 5 13 91   issued to the                                 Local Council and    effective 4/1/1970    to 4/1/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Valley 1926-2012 (741)

                                                          Texas Southwest (741): Concho
Request # 1589 For Policy # SBL 5 13 91   issued to the                                 Local Council and    effective 4/1/1971    to 4/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Valley 1926-2012 (741)

                                                          Texas Southwest (741): Concho
Request # 1590 For Policy # SBL 51317     issued to the                                 Local Council and    effective 4/1/1971    to 3/31/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Valley 1926-2012 (741)

                                                          Texas Southwest (741): Concho
Request # 1591 For Policy # SBL 51317     issued to the                                 Local Council and    effective 4/1/1972    to 4/1/1973    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Valley 1926-2012 (741)

                                                          Texas Trails (561): Chisholm
Request # 1592 For Policy # SBL 5 14 98   issued to the                                  Local Council and   effective 2/15/1971   to 2/15/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Trail 1926-2003 (561)

                                                          Texas Trails (561): Comanche
Request # 1593 For Policy # SBL 45420     issued to the                                  Local Council and   effective 12/5/1968   to 12/5/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Trail 1932-2003 (479)

                                                          Texas Trails (561): Comanche
Request # 1594 For Policy # SBL 45425     issued to the                                  Local Council and   effective 12/5/1969   to 12/5/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Trail 1932-2003 (479)

                                                          Texas Trails (561): Comanche
Request # 1595 For Policy # Unknown       issued to the                                  Local Council and   effective 12/5/1970   to 12/5/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Trail 1932-2003 (479)

                                                          Texas Trails (561): Comanche
Request # 1596 For Policy # Unknown       issued to the                                  Local Council and   effective 12/5/1971   to 1/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Trail 1932-2003 (479)



                                                                                                                     96
                                                           Theodore Roosevelt (386):
Request # 1597 For Policy # Unknown        issued to the                                 Local Council and   effective 1/1/1961    to 1/1/1962    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Nassau County 1916-1997 (386)

                                                           Theodore Roosevelt (386):
Request # 1598 For Policy # Unknown        issued to the                                 Local Council and   effective 1/1/1962    to 1/1/1963    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Nassau County 1916-1997 (386)

                                                           Theodore Roosevelt (386):
Request # 1599 For Policy # Unknown        issued to the                                 Local Council and   effective 1/1/1963    to 1/1/1964    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Nassau County 1916-1997 (386)

                                                           Theodore Roosevelt (386):
Request # 1600 For Policy # Unknown        issued to the                                 Local Council and   effective 1/1/1964    to 1/1/1965    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Nassau County 1916-1997 (386)

                                                           Theodore Roosevelt (386):
Request # 1601 For Policy # Unknown        issued to the                                 Local Council and   effective 1/1/1965    to 1/1/1966    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Nassau County 1916-1997 (386)

                                                           Theodore Roosevelt (386):
Request # 1602 For Policy # Unknown        issued to the                                 Local Council and   effective 1/1/1966    to 1/1/1967    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Nassau County 1916-1997 (386)

                                                           Theodore Roosevelt (386):
Request # 1603 For Policy # Unknown        issued to the                                 Local Council and   effective 1/1/1967    to 1/1/1968    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Nassau County 1916-1997 (386)

                                                           Theodore Roosevelt (386):
Request # 1604 For Policy # XBC 41011      issued to the                                 Local Council and   effective 1/12/1967   to 1/12/1968   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Nassau County 1916-1997 (386)

                                                           Theodore Roosevelt (386):
Request # 1605 For Policy # XBC 41011      issued to the                                 Local Council and   effective 1/12/1968   to 1/12/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Nassau County 1916-1997 (386)

                                                           Theodore Roosevelt (386):
Request # 1606 For Policy # AGP-1-88-16    issued to the                                 Local Council and   effective 1/1/1969    to 1/1/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Nassau County 1916-1997 (386)

                                                           Theodore Roosevelt (386):
Request # 1607 For Policy # XBC 41011      issued to the                                 Local Council and   effective 1/12/1969   to 1/12/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Nassau County 1916-1997 (386)

                                                           Theodore Roosevelt (386):
Request # 1608 For Policy # AGP-1-88-16    issued to the                                 Local Council and   effective 1/1/1970    to 1/1/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Nassau County 1916-1997 (386)

                                                           Theodore Roosevelt (386):
Request # 1609 For Policy # XBC 43053      issued to the                                 Local Council and   effective 1/12/1970   to 1/12/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Nassau County 1916-1997 (386)

                                                           Theodore Roosevelt (386):
Request # 1610 For Policy # GLP 19 73 26   issued to the                                 Local Council and   effective 2/20/1970   to 2/20/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Nassau County 1916-1997 (386)

                                                           Theodore Roosevelt (386):
Request # 1611 For Policy # AGP-1-88-16    issued to the                                 Local Council and   effective 1/1/1971    to 1/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Nassau County 1916-1997 (386)

                                                           Theodore Roosevelt (386):
Request # 1612 For Policy # XBC 43053      issued to the                                 Local Council and   effective 1/12/1971   to 1/12/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Nassau County 1916-1997 (386)

                                                           Theodore Roosevelt (386):
Request # 1613 For Policy # GLP 28 44 92   issued to the                                 Local Council and   effective 2/20/1971   to 2/20/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Nassau County 1916-1997 (386)



                                                                                                                     97
                                                           Theodore Roosevelt (386):
Request # 1614 For Policy # Unknown        issued to the                                 Local Council and     effective 1/1/1972    to 1/1/1973    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Nassau County 1916-1997 (386)

                                                           Theodore Roosevelt (386):
Request # 1615 For Policy # XBC 43053      issued to the                                 Local Council and     effective 1/12/1972   to 1/12/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Nassau County 1916-1997 (386)

                                                           Theodore Roosevelt (386):
Request # 1616 For Policy # Unknown        issued to the                                 Local Council and     effective 1/1/1973    to 1/1/1974    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Nassau County 1916-1997 (386)

                                                           Theodore Roosevelt (386):
Request # 1617 For Policy # XBC 45540      issued to the                                 Local Council and     effective 1/12/1973   to 1/12/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Nassau County 1916-1997 (386)

                                                           Theodore Roosevelt (386):
Request # 1618 For Policy # Unknown        issued to the                                 Local Council and     effective 1/1/1974    to 1/1/1975    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Nassau County 1916-1997 (386)

                                                           Theodore Roosevelt (386):
Request # 1619 For Policy # XBC 45540      issued to the                                 Local Council and     effective 1/12/1974   to 1/12/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Nassau County 1916-1997 (386)

                                                           Theodore Roosevelt (386):
Request # 1620 For Policy # AGP 09 98 41   issued to the                                 Local Council and     effective 1/1/1975    to 1/1/1976    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Nassau County 1916-1997 (386)

                                                           Theodore Roosevelt (386):
Request # 1621 For Policy # XBC 45540      issued to the                                 Local Council and     effective 1/12/1975   to 1/12/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Nassau County 1916-1997 (386)

                                                           Theodore Roosevelt (386):
Request # 1622 For Policy # XCP 12350      issued to the                                 Local Council and     effective 1/12/1976   to 3/1/1976    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Nassau County 1916-1997 (386)

                                                           Three Fires (127): Chief
Request # 1623 For Policy # SBL 4 29 79    issued to the                                   Local Council and   effective 3/29/1965   to 3/29/1966   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Shabbona 1931-1968 (735)

                                                           Three Fires (127): Chief
Request # 1624 For Policy # SBL 4 29 79    issued to the                                   Local Council and   effective 3/29/1966   to 3/29/1967   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Shabbona 1931-1968 (735)

                                                           Three Fires (127): Chief
Request # 1625 For Policy # SBL 4 29 79    issued to the                                   Local Council and   effective 3/29/1967   to 3/29/1968   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Shabbona 1931-1968 (735)

                                                           Three Fires (127): Du Page Area
Request # 1626 For Policy # RWP-2-70-86    issued to the                                   Local Council and   effective 1/1/1967    to 1/1/1968    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1928-1992 (148)

                                                           Three Fires (127): Du Page Area
Request # 1627 For Policy # RWP-2-70-86    issued to the                                   Local Council and   effective 1/1/1968    to 1/1/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1928-1992 (148)

                                                           Three Fires (127): Du Page Area
Request # 1628 For Policy # RWP-2-70-86    issued to the                                   Local Council and   effective 1/1/1969    to 1/1/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1928-1992 (148)

                                                           Three Fires (127): Du Page Area
Request # 1629 For Policy # SBL 5 11 76    issued to the                                   Local Council and   effective 4/29/1969   to 4/29/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1928-1992 (148)

                                                           Three Fires (127): Du Page Area
Request # 1630 For Policy # XPL 17137      issued to the                                   Local Council and   effective 4/29/1970   to 4/29/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1928-1992 (148)



                                                                                                                       98
                                                           Three Fires (127): Du Page Area
Request # 1631 For Policy # SBL 51829      issued to the                                   Local Council and   effective 4/29/1970   to 4/29/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1928-1992 (148)

                                                           Three Fires (127): Du Page Area
Request # 1632 For Policy # SBL 5 11 76    issued to the                                   Local Council and   effective 4/29/1970   to 4/29/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1928-1992 (148)

                                                           Three Fires (127): Du Page Area
Request # 1633 For Policy # SBL 5 11 76    issued to the                                   Local Council and   effective 4/29/1971   to 4/29/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1928-1992 (148)

                                                           Three Fires (127): Du Page Area
Request # 1634 For Policy # XPL 17137      issued to the                                   Local Council and   effective 4/29/1971   to 4/28/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1928-1992 (148)

                                                           Three Fires (127): Du Page Area
Request # 1635 For Policy # SBL 51829      issued to the                                   Local Council and   effective 4/29/1971   to 4/28/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1928-1992 (148)

                                                           Three Fires (127): Two Rivers
Request # 1636 For Policy # SBL-2-51-01    issued to the                                   Local Council and   effective 3/1/1967    to 3/1/1968    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1968-1992 (127)

                                                           Three Fires (127): Two Rivers
Request # 1637 For Policy # SBL-2-51-43    issued to the                                   Local Council and   effective 3/1/1968    to 3/1/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1968-1992 (127)

                                                           Three Fires (127): Two Rivers
Request # 1638 For Policy # SBL 51809      issued to the                                   Local Council and   effective 3/1/1969    to 3/1/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1968-1992 (127)

                                                           Three Fires (127): Two Rivers
Request # 1639 For Policy # SBL 51826      issued to the                                   Local Council and   effective 3/1/1970    to 3/1/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1968-1992 (127)

                                                           Three Fires (127): Two Rivers
Request # 1640 For Policy # SBL 5 18 58    issued to the                                   Local Council and   effective 3/1/1971    to 3/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1968-1992 (127)

                                                           Three Fires (127): Two Rivers
Request # 1641 For Policy # GAL 24 20 22   issued to the                                   Local Council and   effective 1/1/1975    to 1/1/1976    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1968-1992 (127)

                                                           Three Fires (127): Two Rivers
Request # 1642 For Policy # Unknown        issued to the                                   Local Council and   effective 1/1/1975    to 1/1/1976    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1968-1992 (127)

                                                           Three Fires (127): Two Rivers
Request # 1643 For Policy # GAL 23 79 42   issued to the                                   Local Council and   effective 1/1/1976    to 1/1/1977    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1968-1992 (127)

                                                           Three Fires (127): Two Rivers
Request # 1644 For Policy # GAL 23 74 77   issued to the                                   Local Council and   effective 1/1/1977    to 1/1/1978    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1968-1992 (127)

                                                           Three Harbors (636): Kenosha
Request # 1645 For Policy # SBL 41511      issued to the                                   Local Council and   effective 2/5/1966    to 2/5/1967    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1961-1972 (623)

                                                           Three Harbors (636): Kenosha
Request # 1646 For Policy # SBL 41526      issued to the                                   Local Council and   effective 2/5/1967    to 2/5/1968    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1961-1972 (623)

                                                           Three Harbors (636): Kenosha
Request # 1647 For Policy # SBL-4-15-35    issued to the                                   Local Council and   effective 2/5/1968    to 2/5/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1961-1972 (623)



                                                                                                                       99
                                                           Three Harbors (636): Kenosha
Request # 1648 For Policy # SBL-4-15-39    issued to the                                  Local Council and   effective 2/5/1968    to 2/5/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1961-1972 (623)
                                                           Three Harbors (636):
Request # 1649 For Policy # CGL190079      issued to the   Milwaukee County 1929-2011     Local Council and   effective 10/1/1962   to 10/1/1963   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (629)
                                                           Three Harbors (636):
Request # 1650 For Policy # Unknown        issued to the   Milwaukee County 1929-2011     Local Council and   effective 1/1/1963    to 1/1/1964    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (629)
                                                           Three Harbors (636):
Request # 1651 For Policy # CGL190079      issued to the   Milwaukee County 1929-2011     Local Council and   effective 10/1/1963   to 10/1/1964   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (629)
                                                           Three Harbors (636):
Request # 1652 For Policy # CGL190079      issued to the   Milwaukee County 1929-2011     Local Council and   effective 10/1/1964   to 10/1/1965   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (629)
                                                           Three Harbors (636):
Request # 1653 For Policy # SBL 41515      issued to the   Milwaukee County 1929-2011     Local Council and   effective 10/1/1965   to 10/1/1966   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (629)
                                                           Three Harbors (636):
Request # 1654 For Policy # SBL-4-15-20    issued to the   Milwaukee County 1929-2011     Local Council and   effective 10/1/1966   to 10/1/1967   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (629)
                                                           Three Harbors (636):
Request # 1655 For Policy # SBL-4-15-31    issued to the   Milwaukee County 1929-2011     Local Council and   effective 10/1/1967   to 10/1/1968   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (629)
                                                           Three Harbors (636):
Request # 1656 For Policy # SBL 4 15 42    issued to the   Milwaukee County 1929-2011     Local Council and   effective 10/1/1968   to 10/1/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (629)
                                                           Three Harbors (636):
Request # 1657 For Policy # SBL 4 15 50    issued to the   Milwaukee County 1929-2011     Local Council and   effective 10/1/1969   to 10/1/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (629)
                                                           Three Harbors (636):
Request # 1658 For Policy # SBL 4 15 59    issued to the   Milwaukee County 1929-2011     Local Council and   effective 10/1/1970   to 10/1/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (629)
                                                           Three Harbors (636):
Request # 1659 For Policy # Unknown        issued to the   Milwaukee County 1929-2011     Local Council and   effective 10/1/1971   to 10/1/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (629)
                                                           Three Harbors (636):
Request # 1660 For Policy # Unknown        issued to the   Milwaukee County 1929-2011     Local Council and   effective 10/1/1972   to 10/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (629)
                                                           Three Harbors (636): Racine
Request # 1661 For Policy # SBL 5 11 91    issued to the                                  Local Council and   effective 6/15/1969   to 6/15/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           County 1927-1972 (631)

                                                           Three Harbors (636): Racine
Request # 1662 For Policy # SBL 5 11 91    issued to the                                  Local Council and   effective 6/15/1970   to 6/15/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           County 1927-1972 (631)

                                                           Three Harbors (636): Racine
Request # 1663 For Policy # SBL 5 11 91    issued to the                                  Local Council and   effective 6/15/1971   to 6/15/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           County 1927-1972 (631)

                                                           Three Harbors (636): Southeast
Request # 1664 For Policy # GAL 21 22 13   issued to the                                  Local Council and   effective 1/1/1975    to 1/1/1976    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Wisconsin 1972-2011 (634)



                                                                                                                      100
                                                           Three Harbors (636): Southeast
Request # 1665 For Policy # GAL 21 23 07   issued to the                                  Local Council and   effective 1/1/1976    to 1/1/1977    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Wisconsin 1972-2011 (634)

                                                           Tidewater (596): Tidewater
Request # 1666 For Policy # LB 4 17 55     issued to the                                  Local Council and   effective 1/1/1966    to 1/1/1967    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (596)

                                                           Tidewater (596): Tidewater
Request # 1667 For Policy # ALB-4-17-88    issued to the                                  Local Council and   effective 1/1/1967    to 1/1/1968    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (596)

                                                           Tidewater (596): Tidewater
Request # 1668 For Policy # ALB-4-17-88    issued to the                                  Local Council and   effective 1/1/1968    to 1/1/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (596)

                                                           Tidewater (596): Tidewater
Request # 1669 For Policy # ALB-4-17-88    issued to the                                  Local Council and   effective 1/1/1969    to 1/1/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (596)

                                                           Tidewater (596): Tidewater
Request # 1670 For Policy # Unknown        issued to the                                  Local Council and   effective 1/1/1971    to 1/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (596)

                                                           Tidewater (596): Tidewater
Request # 1671 For Policy # Unknown        issued to the                                  Local Council and   effective 1/1/1972    to 1/1/1973    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (596)

                                                           Tidewater (596): Tidewater
Request # 1672 For Policy # Unknown        issued to the                                  Local Council and   effective 1/1/1973    to 1/1/1974    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (596)

                                                           Tidewater (596): Tidewater
Request # 1673 For Policy # Unknown        issued to the                                  Local Council and   effective 1/1/1974    to 1/1/1975    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (596)

                                                           Transatlantic (802):
Request # 1674 For Policy # Unknown        issued to the                                  Local Council and   effective 1/1/1975    to 1/1/1976    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Transatlantic 1953- (802)

                                                           Transatlantic (802):
Request # 1675 For Policy # Unknown        issued to the                                  Local Council and   effective 1/1/1976    to 1/1/1977    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Transatlantic 1953- (802)

                                                           Transatlantic (802):
Request # 1676 For Policy # Unknown        issued to the                                  Local Council and   effective 1/1/1977    to 1/1/1978    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Transatlantic 1953- (802)

                                                           Tukabatchee Area (005):
Request # 1677 For Policy # SBL 45391      issued to the                                  Local Council and   effective 11/1/1966   to 11/1/1967   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Tukabatchee Area (005)

                                                           Tukabatchee Area (005):
Request # 1678 For Policy # SBL 45391      issued to the                                  Local Council and   effective 11/1/1967   to 11/1/1968   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Tukabatchee Area (005)

                                                           Tukabatchee Area (005):
Request # 1679 For Policy # SBL 45391      issued to the                                  Local Council and   effective 11/1/1968   to 11/1/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Tukabatchee Area (005)

                                                           Tukabatchee Area (005):
Request # 1680 For Policy # SBL 5 11 98    issued to the                                  Local Council and   effective 11/1/1969   to 11/1/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Tukabatchee Area (005)

                                                           Tukabatchee Area (005):
Request # 1681 For Policy # SBL 5 11 98    issued to the                                  Local Council and   effective 11/1/1970   to 11/1/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Tukabatchee Area (005)



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                                                           Tukabatchee Area (005):
Request # 1682 For Policy # SBL 5 11 98    issued to the                                    Local Council and   effective 11/1/1971   to 11/1/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Tukabatchee Area (005)

                                                           Twin Valley (283): Cedar Valley
Request # 1683 For Policy # SBL 45389      issued to the                                   Local Council and    effective 6/20/1966   to 6/20/1967   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area 1937-1969 (282)

                                                           Twin Valley (283): Cedar Valley
Request # 1684 For Policy # SBL-4-46-15    issued to the                                   Local Council and    effective 6/20/1967   to 6/20/1968   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area 1937-1969 (282)

                                                           Twin Valley (283): Twin Valley
Request # 1685 For Policy # SBL 44634      issued to the                                    Local Council and   effective 10/1/1967   to 10/1/1968   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1969- (283)

                                                           Twin Valley (283): Twin Valley
Request # 1686 For Policy # SBL 44646      issued to the                                    Local Council and   effective 10/1/1968   to 10/1/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1969- (283)

                                                           Twin Valley (283): Twin Valley
Request # 1687 For Policy # SBL 4 46 54    issued to the                                    Local Council and   effective 10/1/1969   to 10/1/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1969- (283)

                                                           Twin Valley (283): Twin Valley
Request # 1688 For Policy # SBL 44673      issued to the                                    Local Council and   effective 10/1/1970   to 10/1/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1969- (283)

                                                           Twin Valley (283): Twin Valley
Request # 1689 For Policy # GAL 11 80 46   issued to the                                    Local Council and   effective 10/1/1971   to 10/1/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1969- (283)

                                                           Twin Valley (283): Twin Valley
Request # 1690 For Policy # Unknown        issued to the                                    Local Council and   effective 1/1/1972    to 1/1/1973    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1969- (283)

                                                           Twin Valley (283): Twin Valley
Request # 1691 For Policy # GAL 13 61 40   issued to the                                    Local Council and   effective 10/1/1972   to 1/1/1973    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1969- (283)

                                                           Unknown (N/A): Unknown
Request # 1692 For Policy # LG 67 00 88    issued to the                                    Local Council and   effective 2/1/1964    to 2/1/1965    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (N/A)

                                                           Unknown (N/A): Unknown
Request # 1693 For Policy # OLT 77 92 72   issued to the                                    Local Council and   effective 5/3/1964    to 5/3/1965    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (N/A)

                                                           Unknown (N/A): Unknown
Request # 1694 For Policy # LG 67 00 88    issued to the                                    Local Council and   effective 2/1/1965    to 2/1/1966    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (N/A)

                                                           Unknown (N/A): Unknown
Request # 1695 For Policy # OLT 77 39 54   issued to the                                    Local Council and   effective 2/16/1965   to 2/16/1966   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (N/A)

                                                           Unknown (N/A): Unknown
Request # 1696 For Policy # OLT 77 92 72   issued to the                                    Local Council and   effective 5/3/1965    to 5/3/1966    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (N/A)

                                                           Unknown (N/A): Unknown
Request # 1697 For Policy # OLT 74 48 16   issued to the                                    Local Council and   effective 5/24/1965   to 5/24/1966   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (N/A)

                                                           Unknown (N/A): Unknown
Request # 1698 For Policy # OLT 784768     issued to the                                    Local Council and   effective 1/26/1966   to 1/26/1967   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (N/A)



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                                                           Unknown (N/A): Unknown
Request # 1699 For Policy # LG 67 00 88    issued to the                            Local Council and   effective 2/1/1966    to 2/1/1967    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (N/A)

                                                           Unknown (N/A): Unknown
Request # 1700 For Policy # OLT 77 39 54   issued to the                            Local Council and   effective 2/16/1966   to 2/16/1967   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (N/A)

                                                           Unknown (N/A): Unknown
Request # 1701 For Policy # OLT 78 88 46   issued to the                            Local Council and   effective 3/28/1966   to 3/28/1967   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (N/A)

                                                           Unknown (N/A): Unknown
Request # 1702 For Policy # OLT 77 92 72   issued to the                            Local Council and   effective 5/3/1966    to 5/3/1967    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (N/A)

                                                           Unknown (N/A): Unknown
Request # 1703 For Policy # OLT 78 88 36   issued to the                            Local Council and   effective 5/24/1966   to 5/24/1967   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (N/A)

                                                           Unknown (N/A): Unknown
Request # 1704 For Policy # LG-69-82-98    issued to the                            Local Council and   effective 8/8/1966    to 8/8/1967    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (N/A)

                                                           Unknown (N/A): Unknown
Request # 1705 For Policy # GLP 62 83      issued to the                            Local Council and   effective 10/4/1966   to 10/4/1967   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (N/A)

                                                           Unknown (N/A): Unknown
Request # 1706 For Policy # GLP 20490      issued to the                            Local Council and   effective 1/11/1967   to 1/11/1968   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (N/A)

                                                           Unknown (N/A): Unknown
Request # 1707 For Policy # GLP-4-20-49    issued to the                            Local Council and   effective 1/26/1967   to 1/26/1968   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (N/A)

                                                           Unknown (N/A): Unknown
Request # 1708 For Policy # GLP 27123      issued to the                            Local Council and   effective 2/14/1967   to 2/14/1968   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (N/A)

                                                           Unknown (N/A): Unknown
Request # 1709 For Policy # OLT 77 39 54   issued to the                            Local Council and   effective 2/16/1967   to 2/16/1968   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (N/A)

                                                           Unknown (N/A): Unknown
Request # 1710 For Policy # GLP 42204      issued to the                            Local Council and   effective 3/6/1967    to 3/6/1968    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (N/A)

                                                           Unknown (N/A): Unknown
Request # 1711 For Policy # GLP-4-20-28    issued to the                            Local Council and   effective 3/28/1967   to 3/28/1968   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (N/A)

                                                           Unknown (N/A): Unknown
Request # 1712 For Policy # GLP 44650      issued to the                            Local Council and   effective 3/30/1967   to 3/30/1968   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (N/A)

                                                           Unknown (N/A): Unknown
Request # 1713 For Policy # GLP 07 11 59   issued to the                            Local Council and   effective 4/11/1967   to 4/10/1968   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (N/A)

                                                           Unknown (N/A): Unknown
Request # 1714 For Policy # GLP-07-08-30   issued to the                            Local Council and   effective 5/3/1967    to 5/3/1968    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (N/A)

                                                           Unknown (N/A): Unknown
Request # 1715 For Policy # GLP 07 08 30   issued to the                            Local Council and   effective 5/3/1967    to 5/3/1968    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (N/A)



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                                                           Unknown (N/A): Unknown
Request # 1716 For Policy # OLT 78 88 36   issued to the                            Local Council and   effective 5/24/1967   to 5/24/1968   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (N/A)

                                                           Unknown (N/A): Unknown
Request # 1717 For Policy # GLP 07 17 68   issued to the                            Local Council and   effective 6/10/1967   to 6/10/1968   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (N/A)

                                                           Unknown (N/A): Unknown
Request # 1718 For Policy # GLP-7-10-90    issued to the                            Local Council and   effective 6/10/1967   to 6/10/1968   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (N/A)

                                                           Unknown (N/A): Unknown
Request # 1719 For Policy # GLP 07 77 68   issued to the                            Local Council and   effective 6/10/1967   to 6/10/1968   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (N/A)

                                                           Unknown (N/A): Unknown
Request # 1720 For Policy # LG-69-82-98    issued to the                            Local Council and   effective 8/8/1967    to 8/8/1968    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (N/A)

                                                           Unknown (N/A): Unknown
Request # 1721 For Policy # GLP-06-40-05   issued to the                            Local Council and   effective 10/4/1967   to 10/4/1968   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (N/A)

                                                           Unknown (N/A): Unknown
Request # 1722 For Policy # GLP-06-40-05   issued to the                            Local Council and   effective 10/4/1967   to 10/4/1968   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (N/A)

                                                           Unknown (N/A): Unknown
Request # 1723 For Policy # GAL 15474      issued to the                            Local Council and   effective 10/17/1967 to 10/16/1968 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (N/A)

                                                           Unknown (N/A): Unknown
Request # 1724 For Policy # GLP 17683      issued to the                            Local Council and   effective 12/21/1967 to 12/20/1968 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (N/A)

                                                           Unknown (N/A): Unknown
Request # 1725 For Policy # GLP-13-77-44   issued to the                            Local Council and   effective 1/11/1968   to 1/11/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (N/A)

                                                           Unknown (N/A): Unknown
Request # 1726 For Policy # GLP-4-20-49    issued to the                            Local Council and   effective 1/26/1968   to 4/9/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (N/A)

                                                           Unknown (N/A): Unknown
Request # 1727 For Policy # GLP-14-65-79   issued to the                            Local Council and   effective 2/14/1968   to 2/14/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (N/A)

                                                           Unknown (N/A): Unknown
Request # 1728 For Policy # GLP-13-44-76   issued to the                            Local Council and   effective 2/16/1968   to 2/16/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (N/A)

                                                           Unknown (N/A): Unknown
Request # 1729 For Policy # GLP-13-82-64   issued to the                            Local Council and   effective 3/6/1968    to 3/6/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (N/A)

                                                           Unknown (N/A): Unknown
Request # 1730 For Policy # GLP-13-63-87   issued to the                            Local Council and   effective 3/20/1968   to 3/20/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (N/A)

                                                           Unknown (N/A): Unknown
Request # 1731 For Policy # GLP-13-78-83   issued to the                            Local Council and   effective 3/30/1968   to 3/30/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (N/A)

                                                           Unknown (N/A): Unknown
Request # 1732 For Policy # GLP-07-08-30   issued to the                            Local Council and   effective 5/3/1968    to 5/3/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (N/A)



                                                                                                                104
                                                           Unknown (N/A): Unknown
Request # 1733 For Policy # GLP 07 08 30   issued to the                            Local Council and   effective 5/3/1968    to 5/3/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (N/A)

                                                           Unknown (N/A): Unknown
Request # 1734 For Policy # OLT 78 88 36   issued to the                            Local Council and   effective 5/24/1968   to 5/24/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (N/A)

                                                           Unknown (N/A): Unknown
Request # 1735 For Policy # GLP-7-10-90    issued to the                            Local Council and   effective 6/10/1968   to 6/10/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (N/A)

                                                           Unknown (N/A): Unknown
Request # 1736 For Policy # GLP 07 17 68   issued to the                            Local Council and   effective 6/10/1968   to 6/10/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (N/A)

                                                           Unknown (N/A): Unknown
Request # 1737 For Policy # GLP 07 77 68   issued to the                            Local Council and   effective 6/10/1968   to 6/10/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (N/A)

                                                           Unknown (N/A): Unknown
Request # 1738 For Policy # LG-69-82-98    issued to the                            Local Council and   effective 8/8/1968    to 8/8/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (N/A)

                                                           Unknown (N/A): Unknown
Request # 1739 For Policy # GLP-06-40-05   issued to the                            Local Council and   effective 10/4/1968   to 8/7/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (N/A)

                                                           Unknown (N/A): Unknown
Request # 1740 For Policy # GLP-06-40-05   issued to the                            Local Council and   effective 10/4/1968   to 10/4/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (N/A)

                                                           Unknown (N/A): Unknown
Request # 1741 For Policy # GAL 15556      issued to the                            Local Council and   effective 10/17/1968 to 10/17/1969 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (N/A)

                                                           Unknown (N/A): Unknown
Request # 1742 For Policy # GLP-18-01-66   issued to the                            Local Council and   effective 12/21/1968 to 12/21/1969 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (N/A)

                                                           Unknown (N/A): Unknown
Request # 1743 For Policy # GLP-13-44-76   issued to the                            Local Council and   effective 2/16/1969   to 2/16/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (N/A)

                                                           Unknown (N/A): Unknown
Request # 1744 For Policy # GLP-22-32-34   issued to the                            Local Council and   effective 3/30/1969   to 3/30/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (N/A)

                                                           Unknown (N/A): Unknown
Request # 1745 For Policy # GLP 07 08 30   issued to the                            Local Council and   effective 5/3/1969    to 5/3/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (N/A)

                                                           Unknown (N/A): Unknown
Request # 1746 For Policy # GLP-07-08-30   issued to the                            Local Council and   effective 5/3/1969    to 5/3/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (N/A)

                                                           Unknown (N/A): Unknown
Request # 1747 For Policy # GLP-22-87-11   issued to the                            Local Council and   effective 5/18/1969   to 5/19/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (N/A)

                                                           Unknown (N/A): Unknown
Request # 1748 For Policy # GLP 07 17 68   issued to the                            Local Council and   effective 6/10/1969   to 6/10/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (N/A)

                                                           Unknown (N/A): Unknown
Request # 1749 For Policy # GLP-7-10-90    issued to the                            Local Council and   effective 6/10/1969   to 6/10/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (N/A)



                                                                                                                105
                                                           Unknown (N/A): Unknown
Request # 1750 For Policy # GLP 07 77 68   issued to the                            Local Council and   effective 6/10/1969   to 6/10/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (N/A)

                                                           Unknown (N/A): Unknown
Request # 1751 For Policy # GLP-19-66-19   issued to the                            Local Council and   effective 6/15/1969   to 6/16/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (N/A)

                                                           Unknown (N/A): Unknown
Request # 1752 For Policy # GLP-06-40-05   issued to the                            Local Council and   effective 10/4/1969   to 10/4/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (N/A)

                                                           Unknown (N/A): Unknown
Request # 1753 For Policy # GLP-24-50-57   issued to the                            Local Council and   effective 12/21/1969 to 12/21/1970 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (N/A)

                                                           Unknown (N/A): Unknown
Request # 1754 For Policy # GLP-24-50-57   issued to the                            Local Council and   effective 12/21/1969 to 12/21/1970 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (N/A)

                                                           Unknown (N/A): Unknown
Request # 1755 For Policy # GLP-13-44-76   issued to the                            Local Council and   effective 2/16/1970   to 2/16/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (N/A)

                                                           Unknown (N/A): Unknown
Request # 1756 For Policy # GLP-25-10-46   issued to the                            Local Council and   effective 3/30/1970   to 12/3/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (N/A)

                                                           Unknown (N/A): Unknown
Request # 1757 For Policy # GLP 25 19 91   issued to the                            Local Council and   effective 6/10/1970   to 6/10/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (N/A)

                                                           Unknown (N/A): Unknown
Request # 1758 For Policy # GLP-25-19-91   issued to the                            Local Council and   effective 6/10/1970   to 6/10/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (N/A)

                                                           Unknown (N/A): Unknown
Request # 1759 For Policy # GLP-25-19-91   issued to the                            Local Council and   effective 6/10/1971   to 6/10/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (N/A)

                                                           Unknown (N/A): Unknown
Request # 1760 For Policy # GLP 25 19 91   issued to the                            Local Council and   effective 6/10/1971   to 6/10/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (N/A)

                                                           Unknown (N/A): Unknown
Request # 1761 For Policy # GLP-30-95-03   issued to the                            Local Council and   effective 6/20/1971   to 6/21/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (N/A)

                                                           Unknown (N/A): Unknown
Request # 1762 For Policy # GLP 25 19 91   issued to the                            Local Council and   effective 6/10/1972   to 6/10/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (N/A)

                                                           Unknown (N/A): Unknown
Request # 1763 For Policy # GLP-25-19-91   issued to the                            Local Council and   effective 6/10/1972   to 6/10/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (N/A)

                                                           Unknown (N/A): Unknown
Request # 1764 For Policy # GLP 37 85 02   issued to the                            Local Council and   effective 7/1/1972    to 7/1/1973    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (N/A)

                                                           Unknown (N/A): Unknown
Request # 1765 For Policy # GLP 37 85 02   issued to the                            Local Council and   effective 7/1/1973    to 7/1/1974    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (N/A)

                                                           Unknown (N/A): Unknown
Request # 1766 For Policy # GLP 37 85 02   issued to the                            Local Council and   effective 7/1/1974    to 7/1/1975    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (N/A)



                                                                                                                106
                                                           Unknown (N/A): Unknown
Request # 1767 For Policy # GLP 59 12 04   issued to the                                  Local Council and   effective 2/20/1975   to 2/20/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (N/A)

                                                           Unknown (N/A): Unknown
Request # 1768 For Policy # GLP 59 12 04   issued to the                                  Local Council and   effective 2/20/1976   to 2/20/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (N/A)

                                                           Unknown (N/A): Unknown
Request # 1769 For Policy # GLP 59 12 04   issued to the                                  Local Council and   effective 2/20/1977   to 2/20/1978   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (N/A)

                                                           Ventura County (057): Ventura
Request # 1770 For Policy # SBL xxx78      issued to the                                 Local Council and    effective 5/23/1965   to 5/23/1966   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           County (057)

                                                           Ventura County (057): Ventura
Request # 1771 For Policy # SBL xxx78      issued to the                                 Local Council and    effective 5/23/1966   to 5/23/1967   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           County (057)

                                                           Ventura County (057): Ventura
Request # 1772 For Policy # SBL xxx78      issued to the                                 Local Council and    effective 5/23/1967   to 5/23/1968   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           County (057)

                                                           Ventura County (057): Ventura
Request # 1773 For Policy # SBL 46938      issued to the                                 Local Council and    effective 5/23/1968   to 5/23/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           County (057)

                                                           Ventura County (057): Ventura
Request # 1774 For Policy # SBL 46938      issued to the                                 Local Council and    effective 5/23/1969   to 5/23/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           County (057)

                                                           Ventura County (057): Ventura
Request # 1775 For Policy # SBL 46938      issued to the                                 Local Council and    effective 5/23/1970   to 5/23/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           County (057)

                                                           Ventura County (057): Ventura
Request # 1776 For Policy # SBL 51453      issued to the                                 Local Council and    effective 5/23/1971   to 5/23/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           County (057)

                                                           Verdugo Hills (058): Verdugo
Request # 1777 For Policy # GLP 706452     issued to the                                  Local Council and   effective 1/1/1978    to 1/1/1979    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Hills (058)
                                                           Voyageurs Area (286):
Request # 1778 For Policy # SBL 4 53 58    issued to the   Headwaters Area 1929-1994      Local Council and   effective 1/1/1965    to 1/1/1966    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (290)
                                                           Voyageurs Area (286):
Request # 1779 For Policy # SBL 4 53 58    issued to the   Headwaters Area 1929-1994      Local Council and   effective 1/1/1966    to 1/1/1967    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (290)
                                                           Voyageurs Area (286):
Request # 1780 For Policy # SBL 4 53 58    issued to the   Headwaters Area 1929-1994      Local Council and   effective 1/1/1967    to 1/1/1968    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (290)
                                                           Voyageurs Area (286):
Request # 1781 For Policy # SBL 4 69 23    issued to the   Headwaters Area 1929-1994      Local Council and   effective 1/1/1968    to 1/1/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (290)
                                                           Voyageurs Area (286):
Request # 1782 For Policy # SBL 4 69 23    issued to the   Headwaters Area 1929-1994      Local Council and   effective 1/1/1969    to 1/1/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (290)
                                                           Voyageurs Area (286):
Request # 1783 For Policy # SBL 4 69 23    issued to the   Headwaters Area 1929-1994      Local Council and   effective 1/1/1970    to 1/1/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (290)


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                                                        Voyageurs Area (286):
Request # 1784 For Policy # SBL 5 13 96   issued to the Headwaters Area 1929-1994        Local Council and   effective 1/1/1971    to 1/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        (290)
                                                        Voyageurs Area (286):
Request # 1785 For Policy # SBL 5 13 96   issued to the Headwaters Area 1929-1994        Local Council and   effective 1/1/1972    to 1/1/1973    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        (290)
                                                          W.D. Boyce (138): Starved Rock
Request # 1786 For Policy # SBL-2-50-34   issued to the                                  Local Council and   effective 9/21/1966   to 9/21/1967   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area 1926-1973 (132)

                                                          W.D. Boyce (138): Starved Rock
Request # 1787 For Policy # SBL-4-89-01   issued to the                                  Local Council and   effective 9/21/1967   to 9/21/1968   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area 1926-1973 (132)

                                                          W.D. Boyce (138): Starved Rock
Request # 1788 For Policy # SBL-4-89-01   issued to the                                  Local Council and   effective 9/21/1968   to 9/21/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area 1926-1973 (132)

                                                          W.D. Boyce (138): Starved Rock
Request # 1789 For Policy # SBL-4-89-01   issued to the                                  Local Council and   effective 9/21/1969   to 9/21/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area 1926-1973 (132)

                                                          W.D. Boyce (138): Starved Rock
Request # 1790 For Policy # SBL-4-89-01   issued to the                                  Local Council and   effective 9/21/1970   to 9/21/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area 1926-1973 (132)

                                                          West Tennessee Area (559):
Request # 1791 For Policy # SBL 3 95 48   issued to the                                  Local Council and   effective 5/29/1968   to 5/29/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          West Tennessee Area (559)

                                                          West Tennessee Area (559):
Request # 1792 For Policy # SBL 3 95 54   issued to the                                  Local Council and   effective 5/29/1969   to 5/29/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          West Tennessee Area (559)

                                                          West Tennessee Area (559):
Request # 1793 For Policy # Unknown       issued to the                                  Local Council and   effective 5/29/1970   to 5/29/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          West Tennessee Area (559)

                                                          West Tennessee Area (559):
Request # 1794 For Policy # Unknown       issued to the                                  Local Council and   effective 5/29/1971   to 1/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          West Tennessee Area (559)
                                                          Westchester-Putnam (388):
Request # 1795 For Policy # Unknown       issued to the   Washington Irving 1951-1973    Local Council and   effective 1/1/1965    to 1/1/1966    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (388)
                                                          Westchester-Putnam (388):
Request # 1796 For Policy # XBC 27296     issued to the   Washington Irving 1951-1973    Local Council and   effective 6/1/1968    to 6/1/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (388)
                                                          Westchester-Putnam (388):
Request # 1797 For Policy # XBC 27379     issued to the   Washington Irving 1951-1973    Local Council and   effective 6/1/1969    to 6/1/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (388)
                                                          Westchester-Putnam (388):
Request # 1798 For Policy # XBC 27487     issued to the   Washington Irving 1951-1973    Local Council and   effective 6/1/1970    to 6/1/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (388)
                                                          Western Los Angeles County
Request # 1799 For Policy # XCP 6616      issued to the   (051): San Fernando Valley     Local Council and   effective 7/1/1970    to 7/1/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1923-1972 (050)
                                                          Western Los Angeles County
Request # 1800 For Policy # SBL 5 14 06   issued to the   (051): San Fernando Valley     Local Council and   effective 7/1/1970    to 7/1/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1923-1972 (050)


                                                                                                                     108
                                                           Western Los Angeles County
Request # 1801 For Policy # SBL 5 14 06    issued to the   (051): San Fernando Valley    Local Council and   effective 7/1/1971    to 7/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1923-1972 (050)
                                                           Western Los Angeles County
Request # 1802 For Policy # XCP 6616       issued to the   (051): San Fernando Valley    Local Council and   effective 7/1/1971    to 7/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1923-1972 (050)
                                                           Western Los Angeles County
Request # 1803 For Policy # XCP 6616       issued to the   (051): San Fernando Valley    Local Council and   effective 7/1/1972    to 8/7/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1923-1972 (050)
                                                           Western Los Angeles County
Request # 1804 For Policy # SBL 5 14 06    issued to the   (051): San Fernando Valley    Local Council and   effective 7/1/1972    to 8/7/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1923-1972 (050)
                                                           Westmoreland-Fayette (512):
Request # 1805 For Policy # GLP-4-39-53    issued to the                                 Local Council and   effective 5/14/1967   to 5/14/1968   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Westmoreland-Fayette (512)

                                                           Westmoreland-Fayette (512):
Request # 1806 For Policy # GLP-17-15-33   issued to the                                 Local Council and   effective 5/14/1968   to 5/14/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Westmoreland-Fayette (512)

                                                           Westmoreland-Fayette (512):
Request # 1807 For Policy # Unknown        issued to the                                 Local Council and   effective 5/14/1969   to 5/14/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Westmoreland-Fayette (512)

                                                           Westmoreland-Fayette (512):
Request # 1808 For Policy # Unknown        issued to the                                 Local Council and   effective 5/14/1970   to 5/14/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Westmoreland-Fayette (512)

                                                           Westmoreland-Fayette (512):
Request # 1809 For Policy # Unknown        issued to the                                 Local Council and   effective 5/14/1971   to 1/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Westmoreland-Fayette (512)

                                                           Winnebago (173): Winnebago
Request # 1810 For Policy # CLP-10-11-88   issued to the                                 Local Council and   effective 4/6/1966    to 4/6/1967    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1937- (173)

                                                           Winnebago (173): Winnebago
Request # 1811 For Policy # GAL-2-42-19    issued to the                                 Local Council and   effective 4/6/1967    to 4/6/1968    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1937- (173)

                                                           Winnebago (173): Winnebago
Request # 1812 For Policy # GAL-23819      issued to the                                 Local Council and   effective 4/6/1968    to 4/6/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1937- (173)

                                                           Winnebago (173): Winnebago
Request # 1813 For Policy # GAL 9 51 19    issued to the                                 Local Council and   effective 4/6/1969    to 4/6/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1937- (173)

                                                           Winnebago (173): Winnebago
Request # 1814 For Policy # GAL 96141      issued to the                                 Local Council and   effective 4/6/1970    to 4/6/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1937- (173)

                                                           Winnebago (173): Winnebago
Request # 1815 For Policy # SBL 52141      issued to the                                 Local Council and   effective 4/6/1971    to 11/1/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1937- (173)

                                                           Winnebago (173): Winnebago
Request # 1816 For Policy # Unknown        issued to the                                 Local Council and   effective 11/1/1971   to 11/1/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1937- (173)

                                                           Winnebago (173): Winnebago
Request # 1817 For Policy # Unknown        issued to the                                 Local Council and   effective 11/1/1972   to 1/1/1973    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1937- (173)



                                                                                                                     109
                                                        Winnebago (173): Winnebago
Request # 1818 For Policy # Unknown     issued to the                                Local Council and   effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        1937- (173)

                                                        Winnebago (173): Winnebago
Request # 1819 For Policy # Unknown     issued to the                                Local Council and   effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        1937- (173)

                                                        Yocona Area (748): Yocona
Request # 1820 For Policy # Unknown     issued to the                                Local Council and   effective 1/1/1965   to 1/1/1966   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Area (748)

                                                        Yocona Area (748): Yocona
Request # 1821 For Policy # Unknown     issued to the                                Local Council and   effective 1/1/1966   to 1/1/1967   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Area (748)

                                                        Yocona Area (748): Yocona
Request # 1822 For Policy # Unknown     issued to the                                Local Council and   effective 1/1/1967   to 1/1/1968   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Area (748)

                                                        Yocona Area (748): Yocona
Request # 1823 For Policy # Unknown     issued to the                                Local Council and   effective 1/1/1968   to 1/1/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Area (748)

                                                        Yocona Area (748): Yocona
Request # 1824 For Policy # Unknown     issued to the                                Local Council and   effective 1/1/1969   to 1/1/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Area (748)

                                                        Yocona Area (748): Yocona
Request # 1825 For Policy # SBL 51310   issued to the                                Local Council and   effective 1/1/1970   to 1/1/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Area (748)

                                                        Yocona Area (748): Yocona
Request # 1826 For Policy # SBL 51310   issued to the                                Local Council and   effective 1/1/1971   to 1/1/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Area (748)

                                                        Yocona Area (748): Yocona
Request # 1827 For Policy # SBL 51310   issued to the                                Local Council and   effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Area (748)




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Dated: December 27, 2021
Wilmington, Delaware       SCHIFF HARDIN LLP

                           /s/Everett J. Cygal
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                           David Spector, admitted pro hac vice
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                           -and-

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EXHIBIT B-2
                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

In re:                                            Case No. 20-10343 (LSS)

Boy Scouts of America and Delaware BSA,           Chapter 11
LLC,                                              Jointly Administered

               Debtors.


   THE ROMAN CATHOLIC AD HOC COMMITTEE’S REQUESTS FOR ADMISSION
               TO HARTFORD ACCIDENT AND INDEMNITY

         Pursuant to Rule 36 of the Federal Rules of Civil Procedure, as made applicable to these

proceedings by Rules 9014, 7026 and 7034 of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”), and pursuant to the Local Rules of Bankruptcy Practice and Procedure of

the United States Bankruptcy Court for the District of Delaware (the “Local Rules”), the Roman

Catholic Ad Hoc Committee (“RCAHC”), by and through its attorneys, hereby request that the

Hartford Accident and Indemnity Company (“Hartford”) respond to the following Requests for

Admission within fourteen (14) days of service.

         Federal Rule of Civil Procedure 36, made applicable to this proceeding pursuant to

Bankruptcy Rules 7036 and 9014(c), is hereby incorporated by reference and applies to each of the

following instructions. As is more fully set out in Rule 36(a), You must admit or deny each request,

and, where necessary, specify the parts of each request to which You object or cannot in good faith

admit or deny. If You object to only part of a Request for Admission, You must admit or deny the

remainder of the Request for Admission. If You object to or deny any Request for Admission or

portion of a Request for Admission, You must state the ground for each objection. Any ground not

stated shall be waived.




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       Unless otherwise defined, capitalized terms have the meanings stated in the Modification

Motion or in the Debtors’ Second Modified Fifth Amended Plan of Reorganization, [D.I. 7832].

“You” or “your” means Hartford including its representatives, agents, attorneys, predecessor,

successors, and anyone acting or purporting to act on its behalf.




                                                 2
                                                                                                  Requests for Admission
                                                         Abraham Lincoln (144): Abraham
Request # 1    For Policy # 10HUA43302   issued to the                                     Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Lincoln (144)

                                                         Abraham Lincoln (144): Abraham
Request # 2    For Policy # 10CA43303    issued to the                                     Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Lincoln (144)

                                                         Abraham Lincoln (144): Abraham
Request # 3    For Policy # 10HUA43302   issued to the                                     Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Lincoln (144)

                                                         Abraham Lincoln (144): Abraham
Request # 4    For Policy # 10CA43303    issued to the                                     Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Lincoln (144)

                                                         Abraham Lincoln (144): Abraham
Request # 5    For Policy # 10CA43329    issued to the                                     Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Lincoln (144)

                                                         Abraham Lincoln (144): Abraham
Request # 6    For Policy # 10HUA43331   issued to the                                     Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Lincoln (144)

                                                         Abraham Lincoln (144): Abraham
Request # 7    For Policy # 10CA43342E   issued to the                                     Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Lincoln (144)

                                                         Abraham Lincoln (144): Abraham
Request # 8    For Policy # 10CA43349E   issued to the                                     Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Lincoln (144)

                                                         Alabama-Florida (003): Alabama-
Request # 9    For Policy # 10CA43303    issued to the                                     Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Florida 1963- (003)

                                                         Alabama-Florida (003): Alabama-
Request # 10   For Policy # 10HUA43302   issued to the                                     Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Florida 1963- (003)

                                                         Alabama-Florida (003): Alabama-
Request # 11   For Policy # 10HUA43302   issued to the                                     Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Florida 1963- (003)

                                                         Alabama-Florida (003): Alabama-
Request # 12   For Policy # 10CA43303    issued to the                                     Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Florida 1963- (003)

                                                         Alabama-Florida (003): Alabama-
Request # 13   For Policy # 10HUA43331   issued to the                                     Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Florida 1963- (003)

                                                         Alabama-Florida (003): Alabama-
Request # 14   For Policy # 10CA43329    issued to the                                     Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Florida 1963- (003)

                                                         Alabama-Florida (003): Alabama-
Request # 15   For Policy # 10CA43342E   issued to the                                     Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Florida 1963- (003)

                                                         Alabama-Florida (003): Alabama-
Request # 16   For Policy # 10CA43349E   issued to the                                     Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Florida 1963- (003)



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                                                         Alamo Area (583): Alamo Area
Request # 17   For Policy # 10CA43342E   issued to the                                      Local Council and effective 1/1/1975    to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (583)

                                                         Alamo Area (583): Alamo Area
Request # 18   For Policy # 10CA43349E   issued to the                                      Local Council and effective 1/1/1976    to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (583)

                                                         Allegheny Highlands (382):
Request # 19   For Policy # 10CA43342E   issued to the                                      Local Council and effective 1/1/1975    to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Allegheny Highlands 1973- (382)

                                                         Allegheny Highlands (382):
Request # 20   For Policy # 10CA43349E   issued to the                                      Local Council and effective 1/1/1976    to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Allegheny Highlands 1973- (382)

                                                         Allegheny Highlands (382): Elk Lick
Request # 21   For Policy # 10CA43303    issued to the                                       Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1947-1973 (499)

                                                         Allegheny Highlands (382): Elk Lick
Request # 22   For Policy # 10HUA43302   issued to the                                       Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1947-1973 (499)

                                                         Allegheny Highlands (382): Elk Lick
Request # 23   For Policy # 10HUA43302   issued to the                                       Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1947-1973 (499)

                                                         Allegheny Highlands (382): Elk Lick
Request # 24   For Policy # 10CA43303    issued to the                                       Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1947-1973 (499)

                                                         Allegheny Highlands (382): Elk Lick
Request # 25   For Policy # 10CA43329    issued to the                                       Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1947-1973 (499)

                                                         Allegheny Highlands (382): Elk Lick
Request # 26   For Policy # 10HUA43331   issued to the                                       Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1947-1973 (499)

                                                         Allegheny Highlands (382): Seneca
Request # 27   For Policy # 10CA43342E   issued to the                                     Local Council and effective 1/1/1975     to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1929-1975 (750)

Request # 28   For Policy # 10CA43342E   issued to the Aloha (104): Aloha 1957- (104)       Local Council and effective 1/1/1975    to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 29   For Policy # 10CA43349E   issued to the Aloha (104): Aloha 1957- (104)       Local Council and effective 1/1/1976    to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.

                                                         Aloha (104): Chamorro 1970-1973
Request # 30   For Policy # 10HUA43302   issued to the                                   Local Council and effective 1/1/1972       to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (649)

                                                         Aloha (104): Chamorro 1970-1973
Request # 31   For Policy # 10CA43303    issued to the                                   Local Council and effective 1/1/1972       to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (649)

                                                         Aloha (104): Chamorro 1970-1973
Request # 32   For Policy # 10HUA43302   issued to the                                   Local Council and effective 1/1/1973       to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (649)

                                                         Aloha (104): Kilauea 1922-1972
Request # 33   For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1972    to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (103)



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                                                         Aloha (104): Kilauea 1922-1972
Request # 34   For Policy # 10CA43303    issued to the                                    Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (103)

                                                         Aloha (104): Kilauea 1922-1972
Request # 35   For Policy # 10HUA43302   issued to the                                    Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (103)

                                                         Aloha (104): Kilauea 1922-1972
Request # 36   For Policy # 10CA43303    issued to the                                    Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (103)

                                                         Aloha (104): Kilauea 1922-1972
Request # 37   For Policy # 10HUA43331   issued to the                                    Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (103)

                                                         Aloha (104): Kilauea 1922-1972
Request # 38   For Policy # 10CA43329    issued to the                                    Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (103)

                                                         Aloha (104): Maui County 1915-
Request # 39   For Policy # 10HUA43302   issued to the                                    Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         2019 (102)

                                                         Aloha (104): Maui County 1915-
Request # 40   For Policy # 10CA43303    issued to the                                    Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         2019 (102)

                                                         Aloha (104): Maui County 1915-
Request # 41   For Policy # 10HUA43302   issued to the                                    Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         2019 (102)

                                                         Aloha (104): Maui County 1915-
Request # 42   For Policy # 10CA43303    issued to the                                    Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         2019 (102)

                                                         Aloha (104): Maui County 1915-
Request # 43   For Policy # 10CA43329    issued to the                                    Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         2019 (102)

                                                         Aloha (104): Maui County 1915-
Request # 44   For Policy # 10HUA43331   issued to the                                    Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         2019 (102)

                                                         Aloha (104): Maui County 1915-
Request # 45   For Policy # 10CA43342E   issued to the                                    Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         2019 (102)

                                                         Aloha (104): Maui County 1915-
Request # 46   For Policy # 10CA43349E   issued to the                                    Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         2019 (102)

                                                         Andrew Jackson (303): Andrew
Request # 47   For Policy # 10HUA43302   issued to the                                    Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Jackson (303)

                                                         Andrew Jackson (303): Andrew
Request # 48   For Policy # 10CA43303    issued to the                                    Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Jackson (303)

                                                         Andrew Jackson (303): Andrew
Request # 49   For Policy # 10CA43342E   issued to the                                    Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Jackson (303)

                                                         Andrew Jackson (303): Andrew
Request # 50   For Policy # 10CA43349E   issued to the                                    Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Jackson (303)



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                                                         Anthony Wayne Area (157):
Request # 51   For Policy # 10CA43342E   issued to the                                       Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Anthony Wayne Area (157)

                                                         Anthony Wayne Area (157):
Request # 52   For Policy # 10CA43349E   issued to the                                       Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Anthony Wayne Area (157)

                                                         Arbuckle Area (468): Arbuckle Area
Request # 53   For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1972    to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (468)

                                                         Arbuckle Area (468): Arbuckle Area
Request # 54   For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1972    to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (468)

                                                         Arbuckle Area (468): Arbuckle Area
Request # 55   For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1973    to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (468)

                                                         Arbuckle Area (468): Arbuckle Area
Request # 56   For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1973    to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (468)

                                                         Arbuckle Area (468): Arbuckle Area
Request # 57   For Policy # 10HUA43331   issued to the                                      Local Council and effective 1/1/1974    to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (468)

                                                         Arbuckle Area (468): Arbuckle Area
Request # 58   For Policy # 10CA43329    issued to the                                      Local Council and effective 1/1/1974    to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (468)

                                                         Arbuckle Area (468): Arbuckle Area
Request # 59   For Policy # 10CA43342E   issued to the                                      Local Council and effective 1/1/1975    to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (468)

                                                         Arbuckle Area (468): Arbuckle Area
Request # 60   For Policy # 10CA43349E   issued to the                                      Local Council and effective 1/1/1976    to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (468)

                                                         Atlanta Area (092): Atlanta Area
Request # 61   For Policy # 10CA43342E   issued to the                                       Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (092)

                                                         Atlanta Area (092): Atlanta Area
Request # 62   For Policy # 10CA43349E   issued to the                                       Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (092)

                                                         Baden-Powell (368): Baden-Powell
Request # 63   For Policy # 10CA43342E   issued to the                                    Local Council and effective 1/1/1975      to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1975-1998 (381)

                                                         Baden-Powell (368): Baden-Powell
Request # 64   For Policy # 10CA43349E   issued to the                                    Local Council and effective 1/1/1976      to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1975-1998 (381)

                                                         Baden-Powell (368): Louis Agassiz
Request # 65   For Policy # 10CA43303    issued to the                                       Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Fuertes 1929-1975 (381)

                                                         Baden-Powell (368): Louis Agassiz
Request # 66   For Policy # 10HUA43302   issued to the                                       Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Fuertes 1929-1975 (381)

                                                         Baden-Powell (368): Louis Agassiz
Request # 67   For Policy # 10CA43342E   issued to the                                       Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Fuertes 1929-1975 (381)



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                                                            Baden-Powell (368): Susquenango
Request # 68   For Policy # 10CA43342E      issued to the                                   Local Council and effective 1/1/1975     to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1925-1998 (368)

                                                            Baden-Powell (368): Susquenango
Request # 69   For Policy # 10CA43349E      issued to the                                   Local Council and effective 1/1/1976     to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1925-1998 (368)

                                                            Baden-Powell (368): Tioughnioga
Request # 70   For Policy # 10HUA43302      issued to the                                     Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1940-1975 (383)

                                                            Baden-Powell (368): Tioughnioga
Request # 71   For Policy # 10CA43303       issued to the                                     Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1940-1975 (383)

                                                            Baden-Powell (368): Tioughnioga
Request # 72   For Policy # 10CA43303       issued to the                                     Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1940-1975 (383)

                                                            Baden-Powell (368): Tioughnioga
Request # 73   For Policy # 10HUA43302      issued to the                                     Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1940-1975 (383)

                                                            Baden-Powell (368): Tioughnioga
Request # 74   For Policy # 10CA43329       issued to the                                     Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1940-1975 (383)

                                                            Baden-Powell (368): Tioughnioga
Request # 75   For Policy # 10HUA43331      issued to the                                     Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1940-1975 (383)

                                                            Baden-Powell (368): Tioughnioga
Request # 76   For Policy # 10CA43342E      issued to the                                     Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1940-1975 (383)

                                                            Baltimore Area (220): Baltimore
Request # 77   For Policy # 30 CBP 104757   issued to the                                     Local Council and effective 1/1/1970   to 1/1/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Area (220)

                                                            Baltimore Area (220): Baltimore
Request # 78   For Policy # 30 CBP 108939   issued to the                                     Local Council and effective 1/1/1971   to 1/1/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Area (220)

                                                            Baltimore Area (220): Baltimore
Request # 79   For Policy # 30 CBP 108939   issued to the                                     Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Area (220)

                                                            Baltimore Area (220): Baltimore
Request # 80   For Policy # 30 CBP 108939   issued to the                                     Local Council and effective 1/1/1973   to 5/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Area (220)

                                                            Baltimore Area (220): Baltimore
Request # 81   For Policy # 30 CBP 108939   issued to the                                     Local Council and effective 5/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Area (220)

                                                            Baltimore Area (220): Baltimore
Request # 82   For Policy # 30 CBP 115631   issued to the                                     Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Area (220)

                                                            Baltimore Area (220): Baltimore
Request # 83   For Policy # 30 CBP 115631   issued to the                                     Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Area (220)

                                                            Baltimore Area (220): Baltimore
Request # 84   For Policy # 10CA43342E      issued to the                                     Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Area (220)



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                                                             Baltimore Area (220): Baltimore
Request # 85    For Policy # 30 CBP 115631   issued to the                                     Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             Area (220)

                                                             Baltimore Area (220): Baltimore
Request # 86    For Policy # 10CA43349E      issued to the                                     Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             Area (220)

                                                             Baltimore Area (220): Baltimore
Request # 87    For Policy # 30 CBP 115827   issued to the                                     Local Council and effective 1/1/1977   to 1/1/1978   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             Area (220)

                                                             Baltimore Area (220): Baltimore
Request # 88    For Policy # 30 CBP 115827   issued to the                                     Local Council and effective 1/1/1978   to 1/1/1979   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             Area (220)

                                                             Baltimore Area (220): Baltimore
Request # 89    For Policy # 30 CBP 115827   issued to the                                     Local Council and effective 1/1/1979   to 1/1/1980   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             Area (220)

Request # 90    For Policy # 10HUA43302      issued to the Bay Area (574): Bay Area (574)      Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 91    For Policy # 10CA43303       issued to the Bay Area (574): Bay Area (574)      Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 92    For Policy # 10CA43329       issued to the Bay Area (574): Bay Area (574)      Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 93    For Policy # 10HUA43331      issued to the Bay Area (574): Bay Area (574)      Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 94    For Policy # 10CA43342E      issued to the Bay Area (574): Bay Area (574)      Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 95    For Policy # 10CA43349E      issued to the Bay Area (574): Bay Area (574)      Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.

                                                             Bay-Lakes (635): Badger 1926-1973
Request # 96    For Policy # 10CA43303       issued to the                                     Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             (622)

                                                             Bay-Lakes (635): Badger 1926-1973
Request # 97    For Policy # 10HUA43302      issued to the                                     Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             (622)

                                                             Bay-Lakes (635): Badger 1926-1973
Request # 98    For Policy # 10CA43303       issued to the                                     Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             (622)

                                                             Bay-Lakes (635): Badger 1926-1973
Request # 99    For Policy # 10HUA43302      issued to the                                     Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             (622)

Request # 100   For Policy # 10HUA43302      issued to the Bay-Lakes (635): Bay-Lakes (635)    Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 101   For Policy # 10CA43303       issued to the Bay-Lakes (635): Bay-Lakes (635)    Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.



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Request # 102   For Policy # 10CA43342E   issued to the Bay-Lakes (635): Bay-Lakes (635)     Local Council and effective 1/1/1975    to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 103   For Policy # 10CA43349E   issued to the Bay-Lakes (635): Bay-Lakes (635)     Local Council and effective 1/1/1976    to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.

                                                          Bay-Lakes (635): Hiawathaland
Request # 104   For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1972    to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1945-2012 (261)

                                                          Bay-Lakes (635): Hiawathaland
Request # 105   For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1972    to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1945-2012 (261)

                                                          Bay-Lakes (635): Hiawathaland
Request # 106   For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1973    to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1945-2012 (261)

                                                          Bay-Lakes (635): Hiawathaland
Request # 107   For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1973    to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1945-2012 (261)

                                                          Bay-Lakes (635): Hiawathaland
Request # 108   For Policy # 10CA43329    issued to the                                      Local Council and effective 1/1/1974    to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1945-2012 (261)

                                                          Bay-Lakes (635): Hiawathaland
Request # 109   For Policy # 10HUA43331   issued to the                                      Local Council and effective 1/1/1974    to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1945-2012 (261)

                                                          Bay-Lakes (635): Hiawathaland
Request # 110   For Policy # 10CA43342E   issued to the                                      Local Council and effective 1/1/1975    to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1945-2012 (261)

                                                          Bay-Lakes (635): Hiawathaland
Request # 111   For Policy # 10CA43349E   issued to the                                      Local Council and effective 1/1/1976    to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1945-2012 (261)

                                                          Bay-Lakes (635): Kettle Moraine
Request # 112   For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1973    to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1935-1973 (632)

                                                          Bay-Lakes (635): Kettle Moraine
Request # 113   For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1973    to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1935-1973 (632)

                                                          Bay-Lakes (635): Kettle Moraine
Request # 114   For Policy # 10CA43329    issued to the                                      Local Council and effective 1/1/1974    to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1935-1973 (632)

                                                          Bay-Lakes (635): Kettle Moraine
Request # 115   For Policy # 10HUA43331   issued to the                                      Local Council and effective 1/1/1974    to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1935-1973 (632)

                                                          Bay-Lakes (635): Nicolet Area 1934-
Request # 116   For Policy # 10CA43303    issued to the                                       Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1973 (621)

                                                          Bay-Lakes (635): Nicolet Area 1934-
Request # 117   For Policy # 10HUA43302   issued to the                                       Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1973 (621)

                                                          Bay-Lakes (635): Nicolet Area 1934-
Request # 118   For Policy # 10HUA43302   issued to the                                       Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1973 (621)



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                                                          Bay-Lakes (635): Nicolet Area 1934-
Request # 119   For Policy # 10CA43303    issued to the                                       Local Council and effective 1/1/1973     to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1973 (621)

                                                          Bay-Lakes (635): Nicolet Area 1934-
Request # 120   For Policy # 10HUA43331   issued to the                                       Local Council and effective 1/1/1974     to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1973 (621)

                                                          Bay-Lakes (635): Nicolet Area 1934-
Request # 121   For Policy # 10CA43329    issued to the                                       Local Council and effective 1/1/1974     to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1973 (621)

                                                          Bay-Lakes (635): Twin Lakes 1935-
Request # 122   For Policy # 10HUA43302   issued to the                                     Local Council and effective 1/1/1973       to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1973 (630)

                                                          Bay-Lakes (635): Twin Lakes 1935-
Request # 123   For Policy # 10CA43303    issued to the                                     Local Council and effective 1/1/1973       to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1973 (630)

                                                          Bay-Lakes (635): Twin Lakes 1935-
Request # 124   For Policy # 10HUA43331   issued to the                                     Local Council and effective 1/1/1974       to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1973 (630)

                                                          Bay-Lakes (635): Twin Lakes 1935-
Request # 125   For Policy # 10CA43329    issued to the                                     Local Council and effective 1/1/1974       to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1973 (630)

                                                          Bay-Lakes (635): Valley 1925-1973
Request # 126   For Policy # 10CA43303    issued to the                                     Local Council and effective 1/1/1973       to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (635)

                                                          Bay-Lakes (635): Valley 1925-1973
Request # 127   For Policy # 10HUA43302   issued to the                                     Local Council and effective 1/1/1973       to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (635)

                                                          Bay-Lakes (635): Valley 1925-1973
Request # 128   For Policy # 10CA43329    issued to the                                     Local Council and effective 1/1/1974       to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (635)

                                                          Bay-Lakes (635): Valley 1925-1973
Request # 129   For Policy # 10HUA43331   issued to the                                     Local Council and effective 1/1/1974       to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (635)

                                                          Bay-Lakes (635): Waumegesako
Request # 130   For Policy # 10HUA43302   issued to the                                         Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1940-1973 (625)

                                                          Bay-Lakes (635): Waumegesako
Request # 131   For Policy # 10CA43303    issued to the                                         Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1940-1973 (625)

                                                          Bay-Lakes (635): Waumegesako
Request # 132   For Policy # 10CA43329    issued to the                                         Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1940-1973 (625)

                                                          Bay-Lakes (635): Waumegesako
Request # 133   For Policy # 10HUA43331   issued to the                                         Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1940-1973 (625)

                                                          Black Hills Area (695): Black Hills
Request # 134   For Policy # 10CA43342E   issued to the                                         Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area (695)

                                                          Black Hills Area (695): Black Hills
Request # 135   For Policy # 10CA43349E   issued to the                                         Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area (695)



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                                                             Black Swamp Area (449): Put-Han-
Request # 136   For Policy # 10CA43342E      issued to the                                    Local Council and effective 1/1/1975     to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             Sen Area 1930-1992 (449)

                                                             Black Swamp Area (449): Put-Han-
Request # 137   For Policy # 45 CBP 130782   issued to the                                    Local Council and effective 3/26/1975 to 3/26/1976 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             Sen Area 1930-1992 (449)

                                                             Black Swamp Area (449): Put-Han-
Request # 138   For Policy # 10CA43349E      issued to the                                    Local Council and effective 1/1/1976     to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             Sen Area 1930-1992 (449)

                                                             Black Swamp Area (449): Put-Han-
Request # 139   For Policy # 45 CBP 130782   issued to the                                    Local Council and effective 3/26/1976 to 3/26/1977 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             Sen Area 1930-1992 (449)

                                                             Black Swamp Area (449): Put-Han-
Request # 140   For Policy # 45 CBP 130782   issued to the                                    Local Council and effective 3/26/1977 to 3/26/1978 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             Sen Area 1930-1992 (449)

                                                             Black Swamp Area (449): Shawnee
Request # 141   For Policy # 10CA43342E      issued to the                                   Local Council and effective 1/1/1975      to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             1926-1992 (452)

                                                             Black Swamp Area (449): Shawnee
Request # 142   For Policy # 10CA43349E      issued to the                                   Local Council and effective 1/1/1976      to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             1926-1992 (452)

                                                             Black Warrior (006): Black Warrior
Request # 143   For Policy # 10CA43303       issued to the                                      Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             (006)

                                                             Black Warrior (006): Black Warrior
Request # 144   For Policy # 10HUA43302      issued to the                                      Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             (006)

                                                             Black Warrior (006): Black Warrior
Request # 145   For Policy # 10CA43303       issued to the                                      Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             (006)

                                                             Black Warrior (006): Black Warrior
Request # 146   For Policy # 10HUA43302      issued to the                                      Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             (006)

                                                             Black Warrior (006): Black Warrior
Request # 147   For Policy # 10CA43329       issued to the                                      Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             (006)

                                                             Black Warrior (006): Black Warrior
Request # 148   For Policy # 10HUA43331      issued to the                                      Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             (006)

                                                             Black Warrior (006): Black Warrior
Request # 149   For Policy # 10CA43342E      issued to the                                      Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             (006)

                                                             Black Warrior (006): Black Warrior
Request # 150   For Policy # 10CA43349E      issued to the                                      Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             (006)

                                                             Blackhawk Area (660): Blackhawk
Request # 151   For Policy # 10CA43342E      issued to the                                     Local Council and effective 1/1/1975    to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             Area 1971- (660)

                                                             Blackhawk Area (660): Blackhawk
Request # 152   For Policy # 10CA43349E      issued to the                                     Local Council and effective 1/1/1976    to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             Area 1971- (660)



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                                                          Blue Grass (204): Blue Grass 1963-
Request # 153   For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (204)

                                                          Blue Grass (204): Blue Grass 1963-
Request # 154   For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (204)

                                                          Blue Grass (204): Blue Grass 1963-
Request # 155   For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (204)

                                                          Blue Grass (204): Blue Grass 1963-
Request # 156   For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (204)

                                                          Blue Grass (204): Blue Grass 1963-
Request # 157   For Policy # 10CA43329    issued to the                                      Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (204)

                                                          Blue Grass (204): Blue Grass 1963-
Request # 158   For Policy # 10HUA43331   issued to the                                      Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (204)

                                                          Blue Grass (204): Blue Grass 1963-
Request # 159   For Policy # 10CA43342E   issued to the                                      Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (204)

                                                          Blue Grass (204): Blue Grass 1963-
Request # 160   For Policy # 10CA43349E   issued to the                                      Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (204)

                                                          Blue Grass (204): Lonesome Pine
Request # 161   For Policy # 10CA43303    issued to the                                     Local Council and effective 1/1/1972    to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1934-1979 (203)

                                                          Blue Grass (204): Lonesome Pine
Request # 162   For Policy # 10HUA43302   issued to the                                     Local Council and effective 1/1/1972    to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1934-1979 (203)

                                                          Blue Grass (204): Lonesome Pine
Request # 163   For Policy # 10CA43303    issued to the                                     Local Council and effective 1/1/1973    to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1934-1979 (203)

                                                          Blue Grass (204): Lonesome Pine
Request # 164   For Policy # 10HUA43302   issued to the                                     Local Council and effective 1/1/1973    to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1934-1979 (203)

                                                          Blue Grass (204): Lonesome Pine
Request # 165   For Policy # 10CA43329    issued to the                                     Local Council and effective 1/1/1974    to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1934-1979 (203)

                                                          Blue Grass (204): Lonesome Pine
Request # 166   For Policy # 10HUA43331   issued to the                                     Local Council and effective 1/1/1974    to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1934-1979 (203)

                                                          Blue Grass (204): Lonesome Pine
Request # 167   For Policy # 10CA43342E   issued to the                                     Local Council and effective 1/1/1975    to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1934-1979 (203)

                                                          Blue Grass (204): Lonesome Pine
Request # 168   For Policy # 10CA43349E   issued to the                                     Local Council and effective 1/1/1976    to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1934-1979 (203)

                                                          Blue Mountain (604): Blue
Request # 169   For Policy # 10CA43342E   issued to the                                     Local Council and effective 1/1/1975    to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Mountain (604)



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                                                            Blue Mountain (604): Blue
Request # 170   For Policy # 10CA43349E     issued to the                                      Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Mountain (604)

Request # 171   For Policy # 10CA43342E     issued to the Blue Ridge (551): Blue Ridge (551)   Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 172   For Policy # 10CA43349E     issued to the Blue Ridge (551): Blue Ridge (551)   Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.

                                                            Blue Ridge Mountains (599): Blue
Request # 173   For Policy # 10CA43342E     issued to the                                      Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Ridge Mountains 1972- (599)

                                                            Blue Ridge Mountains (599): Blue
Request # 174   For Policy # 10CA43349E     issued to the                                      Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Ridge Mountains 1972- (599)

                                                            Buckeye (436): Buckeye 1958-
Request # 175   For Policy # 10CA43342E     issued to the                                      Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            (436)

                                                            Buckeye (436): Buckeye 1958-
Request # 176   For Policy # 10CA43349E     issued to the                                      Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            (436)

                                                            Buckeye (436): Columbiana 1953-
Request # 177   For Policy # 10CA43342E     issued to the                                      Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1991 (455)

                                                            Buckeye (436): Columbiana 1953-
Request # 178   For Policy # 10CA43349E     issued to the                                      Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1991 (455)

                                                            Buckskin (617): Appalachian 1946-
Request # 179   For Policy # 10 HUA 43300   issued to the                                     Local Council and effective 5/1/1971    to 5/1/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1956 (673)

                                                            Buckskin (617): Appalachian 1946-
Request # 180   For Policy # 10CA43315      issued to the                                     Local Council and effective 9/21/1971 to 1/1/1972     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1956 (673)

                                                            Buckskin (617): Appalachian 1956-
Request # 181   For Policy # 10CA43303      issued to the                                     Local Council and effective 1/1/1972    to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1986 (707)

                                                            Buckskin (617): Appalachian 1956-
Request # 182   For Policy # 10HUA43302     issued to the                                     Local Council and effective 1/1/1972    to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1986 (707)

                                                            Buckskin (617): Appalachian 1956-
Request # 183   For Policy # 10CA43303      issued to the                                     Local Council and effective 1/1/1973    to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1986 (707)

                                                            Buckskin (617): Appalachian 1956-
Request # 184   For Policy # 10HUA43302     issued to the                                     Local Council and effective 1/1/1973    to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1986 (707)

                                                            Buckskin (617): Appalachian 1956-
Request # 185   For Policy # 10CA43342E     issued to the                                     Local Council and effective 1/1/1975    to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1986 (707)

                                                            Buckskin (617): Appalachian 1956-
Request # 186   For Policy # 10CA43349E     issued to the                                     Local Council and effective 1/1/1976    to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1986 (707)



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                                                          Buckskin (617): Appalachian 1986-
Request # 187   For Policy # 10CA43303    issued to the                                     Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1991 (707)

                                                          Buckskin (617): Appalachian 1986-
Request # 188   For Policy # 10HUA43302   issued to the                                     Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1991 (707)

                                                          Buckskin (617): Appalachian 1986-
Request # 189   For Policy # 10HUA43331   issued to the                                     Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1991 (707)

                                                          Buckskin (617): Appalachian 1986-
Request # 190   For Policy # 10CA43329    issued to the                                     Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1991 (707)

                                                          Buckskin (617): Buckskin 1949-
Request # 191   For Policy # 10CA43303    issued to the                                     Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (617)

                                                          Buckskin (617): Buckskin 1949-
Request # 192   For Policy # 10HUA43302   issued to the                                     Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (617)

                                                          Buckskin (617): Buckskin 1949-
Request # 193   For Policy # 10CA43329    issued to the                                     Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (617)

                                                          Buckskin (617): Buckskin 1949-
Request # 194   For Policy # 10HUA43331   issued to the                                     Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (617)

                                                          Buckskin (617): Central West
Request # 195   For Policy # 10CA43303    issued to the                                     Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Virginia 1941-1990 (616)

                                                          Buckskin (617): Central West
Request # 196   For Policy # 10HUA43302   issued to the                                     Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Virginia 1941-1990 (616)

                                                          Buckskin (617): Central West
Request # 197   For Policy # 10CA43303    issued to the                                     Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Virginia 1941-1990 (616)

                                                          Buckskin (617): Central West
Request # 198   For Policy # 10HUA43302   issued to the                                     Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Virginia 1941-1990 (616)

                                                          Buckskin (617): Central West
Request # 199   For Policy # 10HUA43331   issued to the                                     Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Virginia 1941-1990 (616)

                                                          Buckskin (617): Central West
Request # 200   For Policy # 10CA43329    issued to the                                     Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Virginia 1941-1990 (616)

                                                          Buckskin (617): Central West
Request # 201   For Policy # 10CA43342E   issued to the                                     Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Virginia 1941-1990 (616)

                                                          Buckskin (617): Central West
Request # 202   For Policy # 10CA43349E   issued to the                                     Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Virginia 1941-1990 (616)

                                                          Buckskin (617): Chief Cornstalk
Request # 203   For Policy # 10CA43303    issued to the                                     Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1954-1990 (756)



                                                                                                                   14
                                                          Buckskin (617): Chief Cornstalk
Request # 204   For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1972     to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1954-1990 (756)

                                                          Buckskin (617): Chief Cornstalk
Request # 205   For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1973     to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1954-1990 (756)

                                                          Buckskin (617): Chief Cornstalk
Request # 206   For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1973     to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1954-1990 (756)

                                                          Buckskin (617): Chief Cornstalk
Request # 207   For Policy # 10CA43329    issued to the                                      Local Council and effective 1/1/1974     to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1954-1990 (756)

                                                          Buckskin (617): Chief Cornstalk
Request # 208   For Policy # 10HUA43331   issued to the                                      Local Council and effective 1/1/1974     to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1954-1990 (756)

                                                          Buckskin (617): Chief Cornstalk
Request # 209   For Policy # 10CA43342E   issued to the                                      Local Council and effective 1/1/1975     to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1954-1990 (756)

                                                          Buckskin (617): Chief Cornstalk
Request # 210   For Policy # 10CA43349E   issued to the                                      Local Council and effective 1/1/1976     to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1954-1990 (756)

                                                          Buckskin (617): Kootaga Area 1933-
Request # 211   For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1972     to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1991 (618)

                                                          Buckskin (617): Kootaga Area 1933-
Request # 212   For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1972     to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1991 (618)

                                                          Buckskin (617): Kootaga Area 1933-
Request # 213   For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1973     to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1991 (618)

                                                          Buckskin (617): Kootaga Area 1933-
Request # 214   For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1973     to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1991 (618)

                                                          Buckskin (617): Kootaga Area 1933-
Request # 215   For Policy # 10CA43329    issued to the                                      Local Council and effective 1/1/1974     to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1991 (618)

                                                          Buckskin (617): Kootaga Area 1933-
Request # 216   For Policy # 10HUA43331   issued to the                                      Local Council and effective 1/1/1974     to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1991 (618)

                                                          Buckskin (617): Kootaga Area 1933-
Request # 217   For Policy # 10CA43342E   issued to the                                      Local Council and effective 1/1/1975     to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1991 (618)

                                                          Buckskin (617): Kootaga Area 1933-
Request # 218   For Policy # 10CA43349E   issued to the                                      Local Council and effective 1/1/1976     to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1991 (618)

                                                          Buckskin (617): Tri-State Area 1935-
Request # 219   For Policy # 10CA43303    issued to the                                        Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          2014 (672)

                                                          Buckskin (617): Tri-State Area 1935-
Request # 220   For Policy # 10HUA43302   issued to the                                        Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          2014 (672)



                                                                                                                     15
                                                            Buckskin (617): Tri-State Area 1935-
Request # 221   For Policy # 10CA43303      issued to the                                        Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            2014 (672)

                                                            Buckskin (617): Tri-State Area 1935-
Request # 222   For Policy # 10HUA43302     issued to the                                        Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            2014 (672)

                                                            Buckskin (617): Tri-State Area 1935-
Request # 223   For Policy # 10CA43329      issued to the                                        Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            2014 (672)

                                                            Buckskin (617): Tri-State Area 1935-
Request # 224   For Policy # 10HUA43331     issued to the                                        Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            2014 (672)

                                                            Buckskin (617): Tri-State Area 1935-
Request # 225   For Policy # 10CA43342E     issued to the                                        Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            2014 (672)

                                                            Buckskin (617): Tri-State Area 1935-
Request # 226   For Policy # 10CA43349E     issued to the                                        Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            2014 (672)

Request # 227   For Policy # 10 HUA 43300   issued to the Bucktail (509): Bucktail (509)         Local Council and effective 5/1/1971   to 5/1/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 228   For Policy # 10CA43315      issued to the Bucktail (509): Bucktail (509)         Local Council and effective 9/21/1971 to 1/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 229   For Policy # 10HUA43302     issued to the Bucktail (509): Bucktail (509)         Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 230   For Policy # 10CA43303      issued to the Bucktail (509): Bucktail (509)         Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 231   For Policy # 10HUA43302     issued to the Bucktail (509): Bucktail (509)         Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 232   For Policy # 10CA43303      issued to the Bucktail (509): Bucktail (509)         Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 233   For Policy # 10HUA43331     issued to the Bucktail (509): Bucktail (509)         Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 234   For Policy # 10CA43329      issued to the Bucktail (509): Bucktail (509)         Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 235   For Policy # 10CA43342E     issued to the Bucktail (509): Bucktail (509)         Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 236   For Policy # 10CA43349E     issued to the Bucktail (509): Bucktail (509)         Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.

                                                            Buffalo Trace (156): Buffalo Trace
Request # 237   For Policy # 10CA43342E     issued to the                                        Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1955- (156)



                                                                                                                        16
                                                          Buffalo Trace (156): Buffalo Trace
Request # 238   For Policy # 10CA43349E   issued to the                                        Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1955- (156)

                                                          Buffalo Trail (567): Buffalo Trail
Request # 239   For Policy # 10HUA43302   issued to the                                        Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (567)

                                                          Buffalo Trail (567): Buffalo Trail
Request # 240   For Policy # 10CA43303    issued to the                                        Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (567)

                                                          Buffalo Trail (567): Buffalo Trail
Request # 241   For Policy # 10CA43303    issued to the                                        Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (567)

                                                          Buffalo Trail (567): Buffalo Trail
Request # 242   For Policy # 10HUA43302   issued to the                                        Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (567)

                                                          Buffalo Trail (567): Buffalo Trail
Request # 243   For Policy # 10HUA43331   issued to the                                        Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (567)

                                                          Buffalo Trail (567): Buffalo Trail
Request # 244   For Policy # 10CA43329    issued to the                                        Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (567)

                                                          Buffalo Trail (567): Buffalo Trail
Request # 245   For Policy # 10CA43342E   issued to the                                        Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (567)

                                                          Buffalo Trail (567): Buffalo Trail
Request # 246   For Policy # 10CA43349E   issued to the                                        Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (567)

                                                          Caddo Area (584): Caddo Area
Request # 247   For Policy # 10CA43303    issued to the                                        Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (584)

                                                          Caddo Area (584): Caddo Area
Request # 248   For Policy # 10HUA43302   issued to the                                        Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (584)

                                                          Caddo Area (584): Caddo Area
Request # 249   For Policy # 10CA43303    issued to the                                        Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (584)

                                                          Caddo Area (584): Caddo Area
Request # 250   For Policy # 10HUA43302   issued to the                                        Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (584)

                                                          Caddo Area (584): Caddo Area
Request # 251   For Policy # 10CA43329    issued to the                                        Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (584)

                                                          Caddo Area (584): Caddo Area
Request # 252   For Policy # 10HUA43331   issued to the                                        Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (584)

                                                          Caddo Area (584): Caddo Area
Request # 253   For Policy # 10CA43342E   issued to the                                        Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (584)

                                                          Caddo Area (584): Caddo Area
Request # 254   For Policy # 10CA43349E   issued to the                                        Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (584)



                                                                                                                      17
                                                          Calcasieu Area (209): Calcasieu
Request # 255   For Policy # 10CA43303    issued to the                                     Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area (209)

                                                          Calcasieu Area (209): Calcasieu
Request # 256   For Policy # 10HUA43302   issued to the                                     Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area (209)

                                                          Calcasieu Area (209): Calcasieu
Request # 257   For Policy # 10HUA43302   issued to the                                     Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area (209)

                                                          Calcasieu Area (209): Calcasieu
Request # 258   For Policy # 10CA43303    issued to the                                     Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area (209)

                                                          Calcasieu Area (209): Calcasieu
Request # 259   For Policy # 10CA43329    issued to the                                     Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area (209)

                                                          Calcasieu Area (209): Calcasieu
Request # 260   For Policy # 10HUA43331   issued to the                                     Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area (209)

                                                          Calcasieu Area (209): Calcasieu
Request # 261   For Policy # 10CA43342E   issued to the                                     Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area (209)

                                                          Calcasieu Area (209): Calcasieu
Request # 262   For Policy # 10CA43349E   issued to the                                     Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area (209)

                                                          California Inland Empire (045):
Request # 263   For Policy # 10CA43303    issued to the                                     Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Arrowhead Area 1933-1972 (048)

                                                          California Inland Empire (045):
Request # 264   For Policy # 10HUA43302   issued to the                                     Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Arrowhead Area 1933-1972 (048)

                                                          California Inland Empire (045):
Request # 265   For Policy # 10CA43303    issued to the                                     Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Arrowhead Area 1933-1972 (048)

                                                          California Inland Empire (045):
Request # 266   For Policy # 10HUA43302   issued to the                                     Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Arrowhead Area 1933-1972 (048)
                                                          California Inland Empire (045):
Request # 267   For Policy # 10CA43303    issued to the   California Inland Empire 1972-    Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (045)
                                                          California Inland Empire (045):
Request # 268   For Policy # 10HUA43302   issued to the   California Inland Empire 1972-    Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (045)
                                                          California Inland Empire (045):
Request # 269   For Policy # 10HUA43331   issued to the   California Inland Empire 1972-    Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (045)
                                                          California Inland Empire (045):
Request # 270   For Policy # 10CA43329    issued to the   California Inland Empire 1972-    Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (045)
                                                          California Inland Empire (045):
Request # 271   For Policy # 10CA43342E   issued to the   California Inland Empire 1972-    Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (045)


                                                                                                                   18
                                                        California Inland Empire (045):
Request # 272   For Policy # 10CA43349E   issued to the California Inland Empire 1972-       Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        (045)
                                                          California Inland Empire (045):
Request # 273   For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Grayback 1952-1974 (024)

                                                          California Inland Empire (045):
Request # 274   For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Grayback 1952-1974 (024)

                                                          California Inland Empire (045):
Request # 275   For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Grayback 1952-1974 (024)

                                                          California Inland Empire (045):
Request # 276   For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Grayback 1952-1974 (024)

                                                          California Inland Empire (045):
Request # 277   For Policy # 10CA43329    issued to the                                      Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Grayback 1952-1974 (024)

                                                          California Inland Empire (045):
Request # 278   For Policy # 10HUA43331   issued to the                                      Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Grayback 1952-1974 (024)

                                                          Cape Cod and Islands (224): Cape
Request # 279   For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Cod 1925-1981 (224)

                                                          Cape Cod and Islands (224): Cape
Request # 280   For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Cod 1925-1981 (224)

                                                          Cape Cod and Islands (224): Cape
Request # 281   For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Cod 1925-1981 (224)

                                                          Cape Cod and Islands (224): Cape
Request # 282   For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Cod 1925-1981 (224)

                                                          Cape Cod and Islands (224): Cape
Request # 283   For Policy # 10CA43329    issued to the                                      Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Cod 1925-1981 (224)

                                                          Cape Cod and Islands (224): Cape
Request # 284   For Policy # 10HUA43331   issued to the                                      Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Cod 1925-1981 (224)

                                                          Cape Cod and Islands (224): Cape
Request # 285   For Policy # 10CA43342E   issued to the                                      Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Cod 1925-1981 (224)

                                                          Cape Cod and Islands (224): Cape
Request # 286   For Policy # 10CA43349E   issued to the                                      Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Cod 1925-1981 (224)

                                                          Cape Fear (425): Cape Fear Area
Request # 287   For Policy # 10CA43342E   issued to the                                      Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1930-1989 (425)

                                                          Cape Fear (425): Cape Fear Area
Request # 288   For Policy # 10CA43349E   issued to the                                      Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1930-1989 (425)



                                                                                                                    19
                                                          Capitol Area (564): Capitol Area
Request # 289   For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1973    to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (564)

                                                          Capitol Area (564): Capitol Area
Request # 290   For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1973    to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (564)

                                                          Capitol Area (564): Capitol Area
Request # 291   For Policy # 10CA43329    issued to the                                      Local Council and effective 1/1/1974    to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (564)

                                                          Capitol Area (564): Capitol Area
Request # 292   For Policy # 10HUA43331   issued to the                                      Local Council and effective 1/1/1974    to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (564)

                                                          Capitol Area (564): Capitol Area
Request # 293   For Policy # 10CA43342E   issued to the                                      Local Council and effective 1/1/1975    to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (564)

                                                          Capitol Area (564): Capitol Area
Request # 294   For Policy # 10CA43349E   issued to the                                      Local Council and effective 1/1/1976    to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (564)

                                                          Cascade Pacific (492): Cascade Area
Request # 295   For Policy # 10CA43342E   issued to the                                       Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1926-1993 (493)

                                                          Cascade Pacific (492): Cascade Area
Request # 296   For Policy # 10CA43349E   issued to the                                       Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1926-1993 (493)

                                                          Cascade Pacific (492): Columbia-
Request # 297   For Policy # 10CA43342E   issued to the                                      Local Council and effective 1/1/1975    to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Pacific 1966-1993 (492)

                                                          Cascade Pacific (492): Columbia-
Request # 298   For Policy # 10CA43349E   issued to the                                      Local Council and effective 1/1/1976    to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Pacific 1966-1993 (492)

Request # 299   For Policy # 10CA43342E   issued to the Catalina (011): Catalina 1963- (011) Local Council and effective 1/1/1975    to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 300   For Policy # 10CA43349E   issued to the Catalina (011): Catalina 1963- (011) Local Council and effective 1/1/1976    to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.

                                                          Central Florida (083): Central
Request # 301   For Policy # 10CA43342E   issued to the                                      Local Council and effective 1/1/1975    to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Florida (083)

                                                          Central Florida (083): Central
Request # 302   For Policy # 10CA43349E   issued to the                                      Local Council and effective 1/1/1976    to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Florida (083)

                                                          Central Georgia (096): Central
Request # 303   For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1972    to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Georgia (096)

                                                          Central Georgia (096): Central
Request # 304   For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1972    to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Georgia (096)

                                                          Central Georgia (096): Central
Request # 305   For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1973    to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Georgia (096)



                                                                                                                     20
                                                          Central Georgia (096): Central
Request # 306   For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Georgia (096)

                                                          Central Georgia (096): Central
Request # 307   For Policy # 10CA43329    issued to the                                      Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Georgia (096)

                                                          Central Georgia (096): Central
Request # 308   For Policy # 10HUA43331   issued to the                                      Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Georgia (096)

                                                          Central Georgia (096): Central
Request # 309   For Policy # 10CA43342E   issued to the                                      Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Georgia (096)

                                                          Central Georgia (096): Central
Request # 310   For Policy # 10CA43349E   issued to the                                      Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Georgia (096)

                                                          Central Minnesota (296): Central
Request # 311   For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Minnesota (296)

                                                          Central Minnesota (296): Central
Request # 312   For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Minnesota (296)

                                                          Central Minnesota (296): Central
Request # 313   For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Minnesota (296)

                                                          Central Minnesota (296): Central
Request # 314   For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Minnesota (296)

                                                          Central Minnesota (296): Central
Request # 315   For Policy # 10CA43329    issued to the                                      Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Minnesota (296)

                                                          Central Minnesota (296): Central
Request # 316   For Policy # 10HUA43331   issued to the                                      Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Minnesota (296)

                                                          Central Minnesota (296): Central
Request # 317   For Policy # 10CA43342E   issued to the                                      Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Minnesota (296)

                                                          Central Minnesota (296): Central
Request # 318   For Policy # 10CA43349E   issued to the                                      Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Minnesota (296)

                                                          Central North Carolina (416):
Request # 319   For Policy # 10CA43342E   issued to the                                      Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Central North Carolina (416)

                                                          Central North Carolina (416):
Request # 320   For Policy # 10CA43349E   issued to the                                      Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Central North Carolina (416)

                                                          Chattahoochee (091):
Request # 321   For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Chattahoochee 1964- (091)

                                                          Chattahoochee (091):
Request # 322   For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Chattahoochee 1964- (091)



                                                                                                                    21
                                                          Chattahoochee (091):
Request # 323   For Policy # 10CA43303    issued to the                                    Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Chattahoochee 1964- (091)

                                                          Chattahoochee (091):
Request # 324   For Policy # 10HUA43302   issued to the                                    Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Chattahoochee 1964- (091)

                                                          Chattahoochee (091):
Request # 325   For Policy # 10CA43329    issued to the                                    Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Chattahoochee 1964- (091)

                                                          Chattahoochee (091):
Request # 326   For Policy # 10HUA43331   issued to the                                    Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Chattahoochee 1964- (091)

                                                          Chattahoochee (091):
Request # 327   For Policy # 10CA43342E   issued to the                                    Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Chattahoochee 1964- (091)

                                                          Chattahoochee (091):
Request # 328   For Policy # 10CA43349E   issued to the                                    Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Chattahoochee 1964- (091)

                                                          Chattahoochee (091): George H.
Request # 329   For Policy # 10CA43342E   issued to the                                    Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Lanier 1950-1989 (094)

                                                          Chattahoochee (091): George H.
Request # 330   For Policy # 10CA43349E   issued to the                                    Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Lanier 1950-1989 (094)

                                                          Cherokee Area (469): Cherokee
Request # 331   For Policy # 10HUA43302   issued to the                                    Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area (469)

                                                          Cherokee Area (469): Cherokee
Request # 332   For Policy # 10CA43303    issued to the                                    Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area (469)

                                                          Cherokee Area (469): Cherokee
Request # 333   For Policy # 10CA43303    issued to the                                    Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area (469)

                                                          Cherokee Area (469): Cherokee
Request # 334   For Policy # 10HUA43302   issued to the                                    Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area (469)

                                                          Cherokee Area (469): Cherokee
Request # 335   For Policy # 10CA43329    issued to the                                    Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area (469)

                                                          Cherokee Area (469): Cherokee
Request # 336   For Policy # 10HUA43331   issued to the                                    Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area (469)

                                                          Cherokee Area (469): Cherokee
Request # 337   For Policy # 10CA43342E   issued to the                                    Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area (469)

                                                          Cherokee Area (469): Cherokee
Request # 338   For Policy # 10CA43349E   issued to the                                    Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area (469)

                                                          Cherokee Area (556): Cherokee
Request # 339   For Policy # 10HUA43302   issued to the                                    Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area (556)



                                                                                                                  22
                                                          Cherokee Area (556): Cherokee
Request # 340   For Policy # 10CA43303    issued to the                                    Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area (556)

                                                          Cherokee Area (556): Cherokee
Request # 341   For Policy # 10HUA43302   issued to the                                    Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area (556)

                                                          Cherokee Area (556): Cherokee
Request # 342   For Policy # 10CA43303    issued to the                                    Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area (556)

                                                          Cherokee Area (556): Cherokee
Request # 343   For Policy # 10CA43329    issued to the                                    Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area (556)

                                                          Cherokee Area (556): Cherokee
Request # 344   For Policy # 10HUA43331   issued to the                                    Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area (556)

                                                          Cherokee Area (556): Cherokee
Request # 345   For Policy # 10CA43342E   issued to the                                    Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area (556)

                                                          Cherokee Area (556): Cherokee
Request # 346   For Policy # 10CA43349E   issued to the                                    Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area (556)

                                                          Chester County (539): Chester
Request # 347   For Policy # 10HUA43302   issued to the                                    Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          County (539)

                                                          Chester County (539): Chester
Request # 348   For Policy # 10CA43303    issued to the                                    Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          County (539)

                                                          Chester County (539): Chester
Request # 349   For Policy # 10CA43303    issued to the                                    Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          County (539)

                                                          Chester County (539): Chester
Request # 350   For Policy # 10HUA43302   issued to the                                    Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          County (539)

                                                          Chester County (539): Chester
Request # 351   For Policy # 10HUA43331   issued to the                                    Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          County (539)

                                                          Chester County (539): Chester
Request # 352   For Policy # 10CA43329    issued to the                                    Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          County (539)

                                                          Chester County (539): Chester
Request # 353   For Policy # 10CA43342E   issued to the                                    Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          County (539)

                                                          Chester County (539): Chester
Request # 354   For Policy # 10CA43349E   issued to the                                    Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          County (539)

                                                          Chickasaw (558): Chickasaw 1916-
Request # 355   For Policy # 10CA43303    issued to the                                    Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (558)

                                                          Chickasaw (558): Chickasaw 1916-
Request # 356   For Policy # 10HUA43302   issued to the                                    Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (558)



                                                                                                                  23
                                                          Chickasaw (558): Chickasaw 1916-
Request # 357   For Policy # 10CA43303    issued to the                                    Local Council and effective 1/1/1973       to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (558)

                                                          Chickasaw (558): Chickasaw 1916-
Request # 358   For Policy # 10HUA43302   issued to the                                    Local Council and effective 1/1/1973       to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (558)

                                                          Chickasaw (558): Chickasaw 1916-
Request # 359   For Policy # 10CA43329    issued to the                                    Local Council and effective 1/1/1974       to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (558)

                                                          Chickasaw (558): Chickasaw 1916-
Request # 360   For Policy # 10HUA43331   issued to the                                    Local Council and effective 1/1/1974       to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (558)

                                                          Chickasaw (558): Delta Area 1924-
Request # 361   For Policy # 10CA43342E   issued to the                                     Local Council and effective 1/1/1975      to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1993 (300)

                                                          Chickasaw (558): Delta Area 1924-
Request # 362   For Policy # 10CA43349E   issued to the                                     Local Council and effective 1/1/1976      to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1993 (300)

                                                          Chief Cornplanter (538): Chief
Request # 363   For Policy # 10CA43303    issued to the                                        Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Cornplanter 1952- (538)

                                                          Chief Cornplanter (538): Chief
Request # 364   For Policy # 10HUA43302   issued to the                                        Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Cornplanter 1952- (538)

                                                          Chief Cornplanter (538): Chief
Request # 365   For Policy # 10HUA43302   issued to the                                        Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Cornplanter 1952- (538)

                                                          Chief Cornplanter (538): Chief
Request # 366   For Policy # 10CA43303    issued to the                                        Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Cornplanter 1952- (538)

                                                          Chief Cornplanter (538): Chief
Request # 367   For Policy # 10CA43329    issued to the                                        Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Cornplanter 1952- (538)

                                                          Chief Cornplanter (538): Chief
Request # 368   For Policy # 10HUA43331   issued to the                                        Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Cornplanter 1952- (538)

                                                          Chief Cornplanter (538): Chief
Request # 369   For Policy # 10CA43342E   issued to the                                        Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Cornplanter 1952- (538)

                                                          Chief Cornplanter (538): Chief
Request # 370   For Policy # 10CA43349E   issued to the                                        Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Cornplanter 1952- (538)

                                                          Chief Seattle (609): Chief Seattle
Request # 371   For Policy # 10CA43342E   issued to the                                        Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1954- (609)

                                                          Chief Seattle (609): Chief Seattle
Request # 372   For Policy # 10CA43349E   issued to the                                        Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1954- (609)

                                                          Chief Seattle (609): Olympic Area
Request # 373   For Policy # 10CA43303    issued to the                                        Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1956-1974 (605)



                                                                                                                      24
                                                          Chief Seattle (609): Olympic Area
Request # 374   For Policy # 10HUA43302   issued to the                                       Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1956-1974 (605)

                                                          Chief Seattle (609): Olympic Area
Request # 375   For Policy # 10CA43303    issued to the                                       Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1956-1974 (605)

                                                          Chief Seattle (609): Olympic Area
Request # 376   For Policy # 10HUA43302   issued to the                                       Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1956-1974 (605)

                                                          Chief Seattle (609): Olympic Area
Request # 377   For Policy # 10CA43329    issued to the                                       Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1956-1974 (605)

                                                          Chief Seattle (609): Olympic Area
Request # 378   For Policy # 10HUA43331   issued to the                                       Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1956-1974 (605)

                                                          Chippewa Valley (637): Chippewa
Request # 379   For Policy # 10CA43303    issued to the                                       Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Valley (637)

                                                          Chippewa Valley (637): Chippewa
Request # 380   For Policy # 10HUA43302   issued to the                                       Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Valley (637)

                                                          Chippewa Valley (637): Chippewa
Request # 381   For Policy # 10HUA43302   issued to the                                       Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Valley (637)

                                                          Chippewa Valley (637): Chippewa
Request # 382   For Policy # 10CA43303    issued to the                                       Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Valley (637)

                                                          Chippewa Valley (637): Chippewa
Request # 383   For Policy # 10CA43329    issued to the                                       Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Valley (637)

                                                          Chippewa Valley (637): Chippewa
Request # 384   For Policy # 10HUA43331   issued to the                                       Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Valley (637)

                                                          Chippewa Valley (637): Chippewa
Request # 385   For Policy # 10CA43342E   issued to the                                       Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Valley (637)

                                                          Chippewa Valley (637): Chippewa
Request # 386   For Policy # 10CA43349E   issued to the                                       Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Valley (637)

                                                          Choctaw Area (302): Choctaw Area
Request # 387   For Policy # 10CA43303    issued to the                                    Local Council and effective 1/1/1973      to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (302)

                                                          Choctaw Area (302): Choctaw Area
Request # 388   For Policy # 10HUA43302   issued to the                                    Local Council and effective 1/1/1973      to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (302)

                                                          Choctaw Area (302): Choctaw Area
Request # 389   For Policy # 10CA43329    issued to the                                    Local Council and effective 1/1/1974      to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (302)

                                                          Choctaw Area (302): Choctaw Area
Request # 390   For Policy # 10HUA43331   issued to the                                    Local Council and effective 1/1/1974      to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (302)



                                                                                                                     25
                                                          Choctaw Area (302): Choctaw Area
Request # 391   For Policy # 10CA43342E   issued to the                                    Local Council and effective 1/1/1975       to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (302)

                                                          Choctaw Area (302): Choctaw Area
Request # 392   For Policy # 10CA43349E   issued to the                                    Local Council and effective 1/1/1976       to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (302)

                                                          Cimarron (474): Great Salt Plains
Request # 393   For Policy # 10CA43303    issued to the                                        Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1927-2000 (474)

                                                          Cimarron (474): Great Salt Plains
Request # 394   For Policy # 10HUA43302   issued to the                                        Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1927-2000 (474)

                                                          Cimarron (474): Great Salt Plains
Request # 395   For Policy # 10CA43329    issued to the                                        Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1927-2000 (474)

                                                          Cimarron (474): Great Salt Plains
Request # 396   For Policy # 10HUA43331   issued to the                                        Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1927-2000 (474)

                                                          Cimarron (474): Great Salt Plains
Request # 397   For Policy # 10CA43342E   issued to the                                        Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1927-2000 (474)

                                                          Cimarron (474): Great Salt Plains
Request # 398   For Policy # 10CA43349E   issued to the                                        Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1927-2000 (474)

                                                          Cimarron (474): Will Rogers 1948-
Request # 399   For Policy # 10CA43303    issued to the                                        Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          2000 (473)

                                                          Cimarron (474): Will Rogers 1948-
Request # 400   For Policy # 10HUA43302   issued to the                                        Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          2000 (473)

                                                          Cimarron (474): Will Rogers 1948-
Request # 401   For Policy # 10CA43303    issued to the                                        Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          2000 (473)

                                                          Cimarron (474): Will Rogers 1948-
Request # 402   For Policy # 10HUA43302   issued to the                                        Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          2000 (473)

                                                          Cimarron (474): Will Rogers 1948-
Request # 403   For Policy # 10CA43329    issued to the                                        Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          2000 (473)

                                                          Cimarron (474): Will Rogers 1948-
Request # 404   For Policy # 10HUA43331   issued to the                                        Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          2000 (473)

                                                          Cimarron (474): Will Rogers 1948-
Request # 405   For Policy # 10CA43342E   issued to the                                        Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          2000 (473)

                                                          Cimarron (474): Will Rogers 1948-
Request # 406   For Policy # 10CA43349E   issued to the                                        Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          2000 (473)

                                                          Circle Ten (571): Circle Ten 1913-
Request # 407   For Policy # 10CA43342E   issued to the                                        Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (571)



                                                                                                                      26
                                                          Circle Ten (571): Circle Ten 1913-
Request # 408   For Policy # 10CA43349E   issued to the                                        Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (571)

                                                          Circle Ten (571): NeTseO Trails
Request # 409   For Policy # 10CA43303    issued to the                                        Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1955-2017 (580)

                                                          Circle Ten (571): NeTseO Trails
Request # 410   For Policy # 10HUA43302   issued to the                                        Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1955-2017 (580)

                                                          Circle Ten (571): NeTseO Trails
Request # 411   For Policy # 10CA43303    issued to the                                        Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1955-2017 (580)

                                                          Circle Ten (571): NeTseO Trails
Request # 412   For Policy # 10HUA43302   issued to the                                        Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1955-2017 (580)

                                                          Circle Ten (571): NeTseO Trails
Request # 413   For Policy # 10CA43329    issued to the                                        Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1955-2017 (580)

                                                          Circle Ten (571): NeTseO Trails
Request # 414   For Policy # 10HUA43331   issued to the                                        Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1955-2017 (580)

                                                          Circle Ten (571): NeTseO Trails
Request # 415   For Policy # 10CA43342E   issued to the                                        Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1955-2017 (580)

                                                          Circle Ten (571): NeTseO Trails
Request # 416   For Policy # 10CA43349E   issued to the                                        Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1955-2017 (580)

                                                          Circle Ten (571): Texoma Valley
Request # 417   For Policy # 10HUA43302   issued to the                                        Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1966-1993 (566)

                                                          Circle Ten (571): Texoma Valley
Request # 418   For Policy # 10CA43303    issued to the                                        Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1966-1993 (566)

                                                          Circle Ten (571): Texoma Valley
Request # 419   For Policy # 10CA43329    issued to the                                        Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1966-1993 (566)

                                                          Circle Ten (571): Texoma Valley
Request # 420   For Policy # 10HUA43331   issued to the                                        Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1966-1993 (566)

                                                          Circle Ten (571): Texoma Valley
Request # 421   For Policy # 10CA43342E   issued to the                                        Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1966-1993 (566)

                                                          Circle Ten (571): Texoma Valley
Request # 422   For Policy # 10CA43349E   issued to the                                        Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1966-1993 (566)

                                                          Coastal Carolina (550): Coastal
Request # 423   For Policy # 10HUA43302   issued to the                                        Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Carolina (550)

                                                          Coastal Carolina (550): Coastal
Request # 424   For Policy # 10CA43303    issued to the                                        Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Carolina (550)



                                                                                                                      27
                                                            Coastal Carolina (550): Coastal
Request # 425   For Policy # 10HUA43302     issued to the                                     Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Carolina (550)

                                                            Coastal Carolina (550): Coastal
Request # 426   For Policy # 10CA43303      issued to the                                     Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Carolina (550)

                                                            Coastal Carolina (550): Coastal
Request # 427   For Policy # 10CA43329      issued to the                                     Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Carolina (550)

                                                            Coastal Carolina (550): Coastal
Request # 428   For Policy # 10HUA43331     issued to the                                     Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Carolina (550)

                                                            Coastal Carolina (550): Coastal
Request # 429   For Policy # 10CA43342E     issued to the                                     Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Carolina (550)

                                                            Coastal Carolina (550): Coastal
Request # 430   For Policy # 10CA43349E     issued to the                                     Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Carolina (550)

                                                            Coastal Georgia (099): Coastal
Request # 431   For Policy # 10HUA43302     issued to the                                     Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Empire -2014 (099)

                                                            Coastal Georgia (099): Coastal
Request # 432   For Policy # 10CA43329      issued to the                                     Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Empire -2014 (099)

                                                            Coastal Georgia (099): Coastal
Request # 433   For Policy # 10HUA43331     issued to the                                     Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Empire -2014 (099)

                                                            Coastal Georgia (099): Coastal
Request # 434   For Policy # 10CA43342E     issued to the                                     Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Empire -2014 (099)

                                                            Coastal Georgia (099): Coastal
Request # 435   For Policy # 10CA43349E     issued to the                                     Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Empire -2014 (099)

                                                            Coastal Georgia (099): Coastal
Request # 436   For Policy # 20 SBM US2073 issued to the                                      Local Council and effective 1/1/2007   to 1/1/2008   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Empire -2014 (099)

                                                            Coastal Georgia (099): Coastal
Request # 437   For Policy # 20 SBM US2073 issued to the                                      Local Council and effective 1/1/2007   to 1/1/2008   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Empire -2014 (099)

                                                            Coastal Georgia (099): Coastal
Request # 438   For Policy # 10CA43303      issued to the                                     Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Georgia 2014- (099)

                                                            Coastal Georgia (099): Coastal
Request # 439   For Policy # 10HUA43302     issued to the                                     Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Georgia 2014- (099)

                                                            Coastal Georgia (099): Coastal
Request # 440   For Policy # 10CA43303      issued to the                                     Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Georgia 2014- (099)

                                                            Coastal Georgia (099): Coastal
Request # 441   For Policy # 10HUA43302     issued to the                                     Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Georgia 2014- (099)



                                                                                                                     28
                                                          Coastal Georgia (099): Okefenokee
Request # 442   For Policy # 10CA43303    issued to the                                     Local Council and effective 1/1/1972      to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area 1926-2014 (758)

                                                          Coastal Georgia (099): Okefenokee
Request # 443   For Policy # 10HUA43302   issued to the                                     Local Council and effective 1/1/1972      to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area 1926-2014 (758)

                                                          Coastal Georgia (099): Okefenokee
Request # 444   For Policy # 10CA43303    issued to the                                     Local Council and effective 1/1/1973      to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area 1926-2014 (758)

                                                          Coastal Georgia (099): Okefenokee
Request # 445   For Policy # 10HUA43302   issued to the                                     Local Council and effective 1/1/1973      to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area 1926-2014 (758)

                                                          Coastal Georgia (099): Okefenokee
Request # 446   For Policy # 10CA43329    issued to the                                     Local Council and effective 1/1/1974      to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area 1926-2014 (758)

                                                          Coastal Georgia (099): Okefenokee
Request # 447   For Policy # 10HUA43331   issued to the                                     Local Council and effective 1/1/1974      to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area 1926-2014 (758)

                                                          Coastal Georgia (099): Okefenokee
Request # 448   For Policy # 10CA43342E   issued to the                                     Local Council and effective 1/1/1975      to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area 1926-2014 (758)

                                                          Coastal Georgia (099): Okefenokee
Request # 449   For Policy # 10CA43349E   issued to the                                     Local Council and effective 1/1/1976      to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area 1926-2014 (758)

                                                          Colonial Virginia (595): Old
Request # 450   For Policy # 10HUA43302   issued to the                                        Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Dominion Area 1927-1992 (601)

                                                          Colonial Virginia (595): Old
Request # 451   For Policy # 10CA43303    issued to the                                        Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Dominion Area 1927-1992 (601)

                                                          Colonial Virginia (595): Old
Request # 452   For Policy # 10HUA43302   issued to the                                        Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Dominion Area 1927-1992 (601)

                                                          Colonial Virginia (595): Old
Request # 453   For Policy # 10CA43303    issued to the                                        Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Dominion Area 1927-1992 (601)

                                                          Colonial Virginia (595): Old
Request # 454   For Policy # 10CA43329    issued to the                                        Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Dominion Area 1927-1992 (601)

                                                          Colonial Virginia (595): Old
Request # 455   For Policy # 10HUA43331   issued to the                                        Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Dominion Area 1927-1992 (601)

                                                          Colonial Virginia (595): Old
Request # 456   For Policy # 10CA43342E   issued to the                                        Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Dominion Area 1927-1992 (601)

                                                          Colonial Virginia (595): Old
Request # 457   For Policy # 10CA43349E   issued to the                                        Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Dominion Area 1927-1992 (601)

                                                          Colonial Virginia (595): Peninsula
Request # 458   For Policy # 10HUA43302   issued to the                                        Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1929-1992 (595)



                                                                                                                      29
                                                          Colonial Virginia (595): Peninsula
Request # 459   For Policy # 10CA43303    issued to the                                        Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1929-1992 (595)

                                                          Colonial Virginia (595): Peninsula
Request # 460   For Policy # 10CA43329    issued to the                                        Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1929-1992 (595)

                                                          Colonial Virginia (595): Peninsula
Request # 461   For Policy # 10HUA43331   issued to the                                        Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1929-1992 (595)

                                                          Colonial Virginia (595): Peninsula
Request # 462   For Policy # 10CA43342E   issued to the                                        Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1929-1992 (595)

                                                          Colonial Virginia (595): Peninsula
Request # 463   For Policy # 10CA43349E   issued to the                                        Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1929-1992 (595)

                                                          Columbia-Montour (504): Columbia-
Request # 464   For Policy # 10CA43342E   issued to the                                     Local Council and effective 1/1/1975      to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Montour (504)

                                                          Columbia-Montour (504): Columbia-
Request # 465   For Policy # 10CA43349E   issued to the                                     Local Council and effective 1/1/1976      to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Montour (504)

                                                          Connecticut Rivers (066): Indian
Request # 466   For Policy # 10CA43303    issued to the                                        Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Trails 1971-1992 (073)

                                                          Connecticut Rivers (066): Indian
Request # 467   For Policy # 10HUA43302   issued to the                                        Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Trails 1971-1992 (073)

                                                          Connecticut Rivers (066): Indian
Request # 468   For Policy # 10CA43303    issued to the                                        Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Trails 1971-1992 (073)

                                                          Connecticut Rivers (066): Indian
Request # 469   For Policy # 10HUA43302   issued to the                                        Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Trails 1971-1992 (073)

                                                          Connecticut Rivers (066): Indian
Request # 470   For Policy # 10CA43329    issued to the                                        Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Trails 1971-1992 (073)

                                                          Connecticut Rivers (066): Indian
Request # 471   For Policy # 10HUA43331   issued to the                                        Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Trails 1971-1992 (073)

                                                          Connecticut Rivers (066): Indian
Request # 472   For Policy # 10CA43342E   issued to the                                        Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Trails 1971-1992 (073)

                                                          Connecticut Rivers (066): Indian
Request # 473   For Policy # 10CA43349E   issued to the                                        Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Trails 1971-1992 (073)

                                                          Connecticut Rivers (066): Long
Request # 474   For Policy # 10CA43342E   issued to the                                        Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Rivers 1972-1995 (066)

                                                          Connecticut Rivers (066): Long
Request # 475   For Policy # 10CA43349E   issued to the                                        Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Rivers 1972-1995 (066)



                                                                                                                      30
                                                          Connecticut Rivers (066): Nathan
Request # 476   For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Hale 1967-1972 (072)

                                                          Connecticut Rivers (066): Nathan
Request # 477   For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Hale 1967-1972 (072)

                                                          Connecticut Rivers (066): Nathan
Request # 478   For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Hale 1967-1972 (072)

                                                          Connecticut Rivers (066): Nathan
Request # 479   For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Hale 1967-1972 (072)

                                                          Connecticut Rivers (066): Tunxis
Request # 480   For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1947-1972 (079)

                                                          Connecticut Rivers (066): Tunxis
Request # 481   For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1947-1972 (079)

                                                          Connecticut Rivers (066): Tunxis
Request # 482   For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1947-1972 (079)

                                                          Connecticut Rivers (066): Tunxis
Request # 483   For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1947-1972 (079)

                                                          Connecticut Yankee (072): Alfred
Request # 484   For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          W. Dater 1939-1972 (078)

                                                          Connecticut Yankee (072): Alfred
Request # 485   For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          W. Dater 1939-1972 (078)

                                                          Connecticut Yankee (072): Alfred
Request # 486   For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          W. Dater 1939-1972 (078)

                                                          Connecticut Yankee (072): Alfred
Request # 487   For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          W. Dater 1939-1972 (078)

                                                          Connecticut Yankee (072): Central
Request # 488   For Policy # 10HUA43302   issued to the                                     Local Council and effective 1/1/1972    to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Connecticut 1929-1978 (071)

                                                          Connecticut Yankee (072): Central
Request # 489   For Policy # 10CA43303    issued to the                                     Local Council and effective 1/1/1972    to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Connecticut 1929-1978 (071)

                                                          Connecticut Yankee (072): Central
Request # 490   For Policy # 10CA43303    issued to the                                     Local Council and effective 1/1/1973    to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Connecticut 1929-1978 (071)

                                                          Connecticut Yankee (072): Central
Request # 491   For Policy # 10HUA43302   issued to the                                     Local Council and effective 1/1/1973    to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Connecticut 1929-1978 (071)

                                                          Connecticut Yankee (072): Central
Request # 492   For Policy # 10CA43329    issued to the                                     Local Council and effective 1/1/1974    to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Connecticut 1929-1978 (071)



                                                                                                                    31
                                                          Connecticut Yankee (072): Central
Request # 493   For Policy # 10HUA43331   issued to the                                     Local Council and effective 1/1/1974     to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Connecticut 1929-1978 (071)

                                                          Connecticut Yankee (072): Central
Request # 494   For Policy # 10CA43342E   issued to the                                     Local Council and effective 1/1/1975     to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Connecticut 1929-1978 (071)

                                                          Connecticut Yankee (072): Central
Request # 495   For Policy # 10CA43349E   issued to the                                     Local Council and effective 1/1/1976     to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Connecticut 1929-1978 (071)

                                                          Connecticut Yankee (072): Fairfield
Request # 496   For Policy # 10CA43303    issued to the                                       Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          County 1972-1998 (068)

                                                          Connecticut Yankee (072): Fairfield
Request # 497   For Policy # 10HUA43302   issued to the                                       Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          County 1972-1998 (068)

                                                          Connecticut Yankee (072): Fairfield
Request # 498   For Policy # 10CA43329    issued to the                                       Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          County 1972-1998 (068)

                                                          Connecticut Yankee (072): Fairfield
Request # 499   For Policy # 10HUA43331   issued to the                                       Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          County 1972-1998 (068)

                                                          Connecticut Yankee (072): Fairfield
Request # 500   For Policy # 10CA43342E   issued to the                                       Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          County 1972-1998 (068)

                                                          Connecticut Yankee (072): Fairfield
Request # 501   For Policy # 10CA43349E   issued to the                                       Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          County 1972-1998 (068)

                                                          Connecticut Yankee (072):
Request # 502   For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1972    to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Mauwehu 1952-1972 (075)

                                                          Connecticut Yankee (072):
Request # 503   For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1972    to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Mauwehu 1952-1972 (075)

                                                          Connecticut Yankee (072):
Request # 504   For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1973    to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Mauwehu 1952-1972 (075)

                                                          Connecticut Yankee (072):
Request # 505   For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1973    to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Mauwehu 1952-1972 (075)

                                                          Connecticut Yankee (072):
Request # 506   For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1972    to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Quinnipiac 1935-1998 (074)

                                                          Connecticut Yankee (072):
Request # 507   For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1972    to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Quinnipiac 1935-1998 (074)

                                                          Connecticut Yankee (072):
Request # 508   For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1973    to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Quinnipiac 1935-1998 (074)

                                                          Connecticut Yankee (072):
Request # 509   For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1973    to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Quinnipiac 1935-1998 (074)



                                                                                                                     32
                                                          Connecticut Yankee (072):
Request # 510   For Policy # 10CA43329    issued to the                                      Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Quinnipiac 1935-1998 (074)

                                                          Connecticut Yankee (072):
Request # 511   For Policy # 10HUA43331   issued to the                                      Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Quinnipiac 1935-1998 (074)

                                                          Connecticut Yankee (072):
Request # 512   For Policy # 10CA43342E   issued to the                                      Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Quinnipiac 1935-1998 (074)

                                                          Connecticut Yankee (072):
Request # 513   For Policy # 10CA43349E   issued to the                                      Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Quinnipiac 1935-1998 (074)

                                                          Conquistador (413): Conquistador
Request # 514   For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1953- (413)

                                                          Conquistador (413): Conquistador
Request # 515   For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1953- (413)

                                                          Conquistador (413): Conquistador
Request # 516   For Policy # 10CA43329    issued to the                                      Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1953- (413)

                                                          Conquistador (413): Conquistador
Request # 517   For Policy # 10HUA43331   issued to the                                      Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1953- (413)

                                                          Conquistador (413): Conquistador
Request # 518   For Policy # 10CA43342E   issued to the                                      Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1953- (413)

                                                          Conquistador (413): Conquistador
Request # 519   For Policy # 10CA43349E   issued to the                                      Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1953- (413)

                                                          Cornhusker (324): Cornhusker
Request # 520   For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (324)

                                                          Cornhusker (324): Cornhusker
Request # 521   For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (324)

                                                          Cornhusker (324): Cornhusker
Request # 522   For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (324)

                                                          Cornhusker (324): Cornhusker
Request # 523   For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (324)

                                                          Cornhusker (324): Cornhusker
Request # 524   For Policy # 10CA43329    issued to the                                      Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (324)

                                                          Cornhusker (324): Cornhusker
Request # 525   For Policy # 10HUA43331   issued to the                                      Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (324)

                                                          Cornhusker (324): Cornhusker
Request # 526   For Policy # 10CA43342E   issued to the                                      Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (324)



                                                                                                                    33
                                                          Cornhusker (324): Cornhusker
Request # 527   For Policy # 10CA43349E   issued to the                                     Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (324)

                                                          Coronado Area (192): Coronado
Request # 528   For Policy # 10CA43303    issued to the                                     Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area (192)

                                                          Coronado Area (192): Coronado
Request # 529   For Policy # 10HUA43302   issued to the                                     Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area (192)

                                                          Coronado Area (192): Coronado
Request # 530   For Policy # 10CA43329    issued to the                                     Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area (192)

                                                          Coronado Area (192): Coronado
Request # 531   For Policy # 10HUA43331   issued to the                                     Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area (192)

                                                          Coronado Area (192): Coronado
Request # 532   For Policy # 10CA43342E   issued to the                                     Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area (192)

                                                          Coronado Area (192): Coronado
Request # 533   For Policy # 10CA43349E   issued to the                                     Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area (192)

                                                          Cradle of Liberty (525):
Request # 534   For Policy # 10CA43303    issued to the                                     Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Philadelphia 1914-1996 (525)

                                                          Cradle of Liberty (525):
Request # 535   For Policy # 10HUA43302   issued to the                                     Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Philadelphia 1914-1996 (525)

                                                          Cradle of Liberty (525):
Request # 536   For Policy # 10CA43303    issued to the                                     Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Philadelphia 1914-1996 (525)

                                                          Cradle of Liberty (525):
Request # 537   For Policy # 10HUA43302   issued to the                                     Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Philadelphia 1914-1996 (525)

                                                          Cradle of Liberty (525):
Request # 538   For Policy # 10CA43329    issued to the                                     Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Philadelphia 1914-1996 (525)

                                                          Cradle of Liberty (525):
Request # 539   For Policy # 10HUA43331   issued to the                                     Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Philadelphia 1914-1996 (525)

                                                          Cradle of Liberty (525):
Request # 540   For Policy # 10CA43342E   issued to the                                     Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Philadelphia 1914-1996 (525)

                                                          Cradle of Liberty (525):
Request # 541   For Policy # 10CA43349E   issued to the                                     Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Philadelphia 1914-1996 (525)

                                                          Cradle of Liberty (525): Valley
Request # 542   For Policy # 10CA43303    issued to the                                     Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Forge 1936-1996 (507)

                                                          Cradle of Liberty (525): Valley
Request # 543   For Policy # 10HUA43302   issued to the                                     Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Forge 1936-1996 (507)



                                                                                                                   34
                                                          Cradle of Liberty (525): Valley
Request # 544   For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1973     to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Forge 1936-1996 (507)

                                                          Cradle of Liberty (525): Valley
Request # 545   For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1973     to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Forge 1936-1996 (507)

                                                          Cradle of Liberty (525): Valley
Request # 546   For Policy # 10CA43329    issued to the                                      Local Council and effective 1/1/1974     to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Forge 1936-1996 (507)

                                                          Cradle of Liberty (525): Valley
Request # 547   For Policy # 10HUA43331   issued to the                                      Local Council and effective 1/1/1974     to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Forge 1936-1996 (507)

                                                          Cradle of Liberty (525): Valley
Request # 548   For Policy # 10CA43342E   issued to the                                      Local Council and effective 1/1/1975     to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Forge 1936-1996 (507)

                                                          Cradle of Liberty (525): Valley
Request # 549   For Policy # 10CA43349E   issued to the                                      Local Council and effective 1/1/1976     to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Forge 1936-1996 (507)

                                                          Crater Lake (491): Crater Lake 1993-
Request # 550   For Policy # 10HUA43302   issued to the                                        Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (491)

                                                          Crater Lake (491): Crater Lake 1993-
Request # 551   For Policy # 10CA43303    issued to the                                        Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (491)

                                                          Crater Lake (491): Crater Lake 1993-
Request # 552   For Policy # 10HUA43331   issued to the                                        Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (491)

                                                          Crater Lake (491): Crater Lake 1993-
Request # 553   For Policy # 10CA43329    issued to the                                        Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (491)

                                                          Crater Lake (491): Modoc Area
Request # 554   For Policy # 10CA43342E   issued to the                                      Local Council and effective 1/1/1975     to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1936-1993 (494)

                                                          Crater Lake (491): Modoc Area
Request # 555   For Policy # 10CA43349E   issued to the                                      Local Council and effective 1/1/1976     to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1936-1993 (494)

                                                          Crossroads of America (160):
Request # 556   For Policy # 10CA43342E   issued to the                                     Local Council and effective 1/1/1975      to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Crossroads of America 1972- (160)

                                                          Crossroads of America (160):
Request # 557   For Policy # 10CA43349E   issued to the                                     Local Council and effective 1/1/1976      to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Crossroads of America 1972- (160)

                                                          Crossroads of America (160):
Request # 558   For Policy # 10CA43303    issued to the                                   Local Council and effective 1/1/1972        to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Delaware County 1924-1972 (679)

                                                          Crossroads of America (160):
Request # 559   For Policy # 10HUA43302   issued to the                                   Local Council and effective 1/1/1972        to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Delaware County 1924-1972 (679)

                                                          Crossroads of America (160):
Request # 560   For Policy # 10CA43303    issued to the                                   Local Council and effective 1/1/1973        to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Delaware County 1924-1972 (679)



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                                                          Crossroads of America (160):
Request # 561   For Policy # 10HUA43302   issued to the                                   Local Council and effective 1/1/1973       to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Delaware County 1924-1972 (679)

                                                          Crossroads of America (160):
Request # 562   For Policy # 10CA43342E   issued to the                                       Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Wabash Valley 1931-2002 (166)

                                                          Crossroads of America (160):
Request # 563   For Policy # 10CA43349E   issued to the                                       Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Wabash Valley 1931-2002 (166)

                                                          Crossroads of the West (590):
Request # 564   For Policy # 10HUA43302   issued to the                                     Local Council and effective 1/1/1973     to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Cache Valley Area 1924-1993 (588)

                                                          Crossroads of the West (590):
Request # 565   For Policy # 10CA43303    issued to the                                     Local Council and effective 1/1/1973     to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Cache Valley Area 1924-1993 (588)

                                                          Crossroads of the West (590):
Request # 566   For Policy # 10CA43329    issued to the                                     Local Council and effective 1/1/1974     to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Cache Valley Area 1924-1993 (588)

                                                          Crossroads of the West (590):
Request # 567   For Policy # 10HUA43331   issued to the                                     Local Council and effective 1/1/1974     to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Cache Valley Area 1924-1993 (588)

                                                          Crossroads of the West (590):
Request # 568   For Policy # 10CA43342E   issued to the                                     Local Council and effective 1/1/1975     to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Cache Valley Area 1924-1993 (588)

                                                          Crossroads of the West (590):
Request # 569   For Policy # 10CA43349E   issued to the                                     Local Council and effective 1/1/1976     to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Cache Valley Area 1924-1993 (588)

                                                          Crossroads of the West (590):
Request # 570   For Policy # 10CA43342E   issued to the                                       Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Great Salt Lake 1951-2020 (590)

                                                          Crossroads of the West (590):
Request # 571   For Policy # 10CA43349E   issued to the                                       Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Great Salt Lake 1951-2020 (590)

                                                          Crossroads of the West (590): Jim
Request # 572   For Policy # 10CA43303    issued to the                                       Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Bridger 1946-1993 (639)

                                                          Crossroads of the West (590): Jim
Request # 573   For Policy # 10HUA43302   issued to the                                       Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Bridger 1946-1993 (639)

                                                          Crossroads of the West (590): Jim
Request # 574   For Policy # 10HUA43302   issued to the                                       Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Bridger 1946-1993 (639)

                                                          Crossroads of the West (590): Jim
Request # 575   For Policy # 10CA43303    issued to the                                       Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Bridger 1946-1993 (639)

                                                          Crossroads of the West (590): Jim
Request # 576   For Policy # 10CA43329    issued to the                                       Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Bridger 1946-1993 (639)

                                                          Crossroads of the West (590): Jim
Request # 577   For Policy # 10HUA43331   issued to the                                       Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Bridger 1946-1993 (639)



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                                                          Crossroads of the West (590): Jim
Request # 578   For Policy # 10CA43342E   issued to the                                       Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Bridger 1946-1993 (639)

                                                          Crossroads of the West (590): Jim
Request # 579   For Policy # 10CA43349E   issued to the                                       Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Bridger 1946-1993 (639)

                                                          Crossroads of the West (590): Lake
Request # 580   For Policy # 10CA43342E   issued to the                                      Local Council and effective 1/1/1975    to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Bonneville 1951-1993 (589)

                                                          Crossroads of the West (590): Lake
Request # 581   For Policy # 10CA43349E   issued to the                                      Local Council and effective 1/1/1976    to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Bonneville 1951-1993 (589)

                                                          Crossroads of the West (590): Utah
Request # 582   For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1972    to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          National Parks -2020 (591)

                                                          Crossroads of the West (590): Utah
Request # 583   For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1972    to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          National Parks -2020 (591)

                                                          Crossroads of the West (590): Utah
Request # 584   For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1973    to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          National Parks -2020 (591)

                                                          Crossroads of the West (590): Utah
Request # 585   For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1973    to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          National Parks -2020 (591)

                                                          Crossroads of the West (590): Utah
Request # 586   For Policy # 10CA43329    issued to the                                      Local Council and effective 1/1/1974    to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          National Parks -2020 (591)

                                                          Crossroads of the West (590): Utah
Request # 587   For Policy # 10HUA43331   issued to the                                      Local Council and effective 1/1/1974    to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          National Parks -2020 (591)

                                                          Crossroads of the West (590): Utah
Request # 588   For Policy # 10CA43342E   issued to the                                      Local Council and effective 1/1/1975    to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          National Parks -2020 (591)

                                                          Crossroads of the West (590): Utah
Request # 589   For Policy # 10CA43349E   issued to the                                      Local Council and effective 1/1/1976    to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          National Parks -2020 (591)

                                                          Dan Beard (438): Dan Beard 1956-
Request # 590   For Policy # 10CA43303    issued to the                                    Local Council and effective 1/1/1972      to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (438)

                                                          Dan Beard (438): Dan Beard 1956-
Request # 591   For Policy # 10HUA43302   issued to the                                    Local Council and effective 1/1/1972      to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (438)

                                                          Dan Beard (438): Dan Beard 1956-
Request # 592   For Policy # 10HUA43302   issued to the                                    Local Council and effective 1/1/1973      to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (438)

                                                          Dan Beard (438): Dan Beard 1956-
Request # 593   For Policy # 10HUA43331   issued to the                                    Local Council and effective 1/1/1974      to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (438)

                                                          Dan Beard (438): Dan Beard 1956-
Request # 594   For Policy # 10CA43329    issued to the                                    Local Council and effective 1/1/1974      to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (438)



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                                                          Dan Beard (438): Dan Beard 1956-
Request # 595   For Policy # 10CA43342E   issued to the                                    Local Council and effective 1/1/1975     to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (438)

                                                          Dan Beard (438): Dan Beard 1956-
Request # 596   For Policy # 10CA43349E   issued to the                                    Local Council and effective 1/1/1976     to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (438)

                                                          Dan Beard (438): Mound Builders
Request # 597   For Policy # 10CA43342E   issued to the                                      Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area 1932-1985 (454)

                                                          Dan Beard (438): Mound Builders
Request # 598   For Policy # 10CA43349E   issued to the                                      Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area 1932-1985 (454)

                                                          Daniel Boone (414): Daniel Boone
Request # 599   For Policy # 10CA43342E   issued to the                                      Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (414)

                                                          Daniel Boone (414): Daniel Boone
Request # 600   For Policy # 10CA43349E   issued to the                                      Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (414)

                                                          Daniel Webster (330): Daniel
Request # 601   For Policy # 10CA43342E   issued to the                                      Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Webster (330)

                                                          Daniel Webster (330): Daniel
Request # 602   For Policy # 10CA43349E   issued to the                                      Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Webster (330)

                                                          De Soto Area (013): De Soto Area
Request # 603   For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (013)

                                                          De Soto Area (013): De Soto Area
Request # 604   For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (013)

                                                          De Soto Area (013): De Soto Area
Request # 605   For Policy # 10HUA43331   issued to the                                      Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (013)

                                                          De Soto Area (013): De Soto Area
Request # 606   For Policy # 10CA43329    issued to the                                      Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (013)

                                                          De Soto Area (013): De Soto Area
Request # 607   For Policy # 10CA43342E   issued to the                                      Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (013)

                                                          De Soto Area (013): De Soto Area
Request # 608   For Policy # 10CA43349E   issued to the                                      Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (013)

                                                          Del-Mar-Va (081): Del-Mar-Va
Request # 609   For Policy # 10CA43342E   issued to the                                      Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (081)

                                                          Del-Mar-Va (081): Del-Mar-Va
Request # 610   For Policy # 10CA43349E   issued to the                                      Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (081)

                                                          Denver Area (061): Denver Area
Request # 611   For Policy # 10CA43342E   issued to the                                      Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1926- (061)



                                                                                                                    38
                                                          Denver Area (061): Denver Area
Request # 612   For Policy # 10CA43349E   issued to the                                        Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1926- (061)

                                                          Denver Area (061): Western
Request # 613   For Policy # 10CA43303    issued to the                                        Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Colorado 1942-2019 (064)

                                                          Denver Area (061): Western
Request # 614   For Policy # 10HUA43302   issued to the                                        Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Colorado 1942-2019 (064)

                                                          Denver Area (061): Western
Request # 615   For Policy # 10CA43342E   issued to the                                        Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Colorado 1942-2019 (064)

                                                          Denver Area (061): Western
Request # 616   For Policy # 10CA43349E   issued to the                                        Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Colorado 1942-2019 (064)

                                                          Direct Service (800): Canal Zone
Request # 617   For Policy # 10CA43303    issued to the                                        Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1933-1979 (801)

                                                          Direct Service (800): Canal Zone
Request # 618   For Policy # 10HUA43302   issued to the                                        Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1933-1979 (801)

                                                          Direct Service (800): Canal Zone
Request # 619   For Policy # 10HUA43302   issued to the                                        Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1933-1979 (801)

                                                          Direct Service (800): Canal Zone
Request # 620   For Policy # 10CA43303    issued to the                                        Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1933-1979 (801)

                                                          Direct Service (800): Canal Zone
Request # 621   For Policy # 10HUA43331   issued to the                                        Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1933-1979 (801)

                                                          Direct Service (800): Canal Zone
Request # 622   For Policy # 10CA43329    issued to the                                        Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1933-1979 (801)

                                                          Direct Service (800): Canal Zone
Request # 623   For Policy # 10CA43342E   issued to the                                        Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1933-1979 (801)

                                                          Direct Service (800): Canal Zone
Request # 624   For Policy # 10CA43349E   issued to the                                        Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1933-1979 (801)

                                                          East Carolina (426): East Carolina
Request # 625   For Policy # 10CA43342E   issued to the                                        Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (426)

                                                          East Carolina (426): East Carolina
Request # 626   For Policy # 10CA43349E   issued to the                                        Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (426)

                                                          East Texas Area (585): East Texas
Request # 627   For Policy # 10CA43303    issued to the                                        Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area (585)

                                                          East Texas Area (585): East Texas
Request # 628   For Policy # 10HUA43302   issued to the                                        Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area (585)



                                                                                                                      39
                                                          East Texas Area (585): East Texas
Request # 629   For Policy # 10CA43329    issued to the                                       Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area (585)

                                                          East Texas Area (585): East Texas
Request # 630   For Policy # 10HUA43331   issued to the                                       Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area (585)

                                                          East Texas Area (585): East Texas
Request # 631   For Policy # 10CA43342E   issued to the                                       Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area (585)

                                                          East Texas Area (585): East Texas
Request # 632   For Policy # 10CA43349E   issued to the                                       Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area (585)

                                                          Erie Shores (460): Toledo Area
Request # 633   For Policy # 10CA43342E   issued to the                                       Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1929-1999 (460)

                                                          Erie Shores (460): Toledo Area
Request # 634   For Policy # 10CA43349E   issued to the                                       Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1929-1999 (460)

                                                          Evangeline Area (212): Evangeline
Request # 635   For Policy # 10CA43303    issued to the                                       Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area (212)

                                                          Evangeline Area (212): Evangeline
Request # 636   For Policy # 10HUA43302   issued to the                                       Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area (212)

                                                          Evangeline Area (212): Evangeline
Request # 637   For Policy # 10CA43303    issued to the                                       Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area (212)

                                                          Evangeline Area (212): Evangeline
Request # 638   For Policy # 10HUA43302   issued to the                                       Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area (212)

                                                          Evangeline Area (212): Evangeline
Request # 639   For Policy # 10CA43329    issued to the                                       Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area (212)

                                                          Evangeline Area (212): Evangeline
Request # 640   For Policy # 10HUA43331   issued to the                                       Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area (212)

                                                          Evangeline Area (212): Evangeline
Request # 641   For Policy # Unknown      issued to the                                       Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area (212)

                                                          Evangeline Area (212): Evangeline
Request # 642   For Policy # 10CA43342E   issued to the                                       Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area (212)

                                                          Evangeline Area (212): Evangeline
Request # 643   For Policy # 10CA43349E   issued to the                                       Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area (212)

Request # 644   For Policy # 10CA43303    issued to the Far East (803): Far East (803)        Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 645   For Policy # 10HUA43302   issued to the Far East (803): Far East (803)        Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.



                                                                                                                     40
Request # 646   For Policy # 10CA43303    issued to the Far East (803): Far East (803)          Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 647   For Policy # 10HUA43302   issued to the Far East (803): Far East (803)          Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 648   For Policy # 10CA43329    issued to the Far East (803): Far East (803)          Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 649   For Policy # 10HUA43331   issued to the Far East (803): Far East (803)          Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 650   For Policy # 10CA43342E   issued to the Far East (803): Far East (803)          Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 651   For Policy # 10CA43349E   issued to the Far East (803): Far East (803)          Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.

                                                          Five Rivers (375): General Sullivan
Request # 652   For Policy # 10CA43303    issued to the                                         Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1927-1992 (779)

                                                          Five Rivers (375): General Sullivan
Request # 653   For Policy # 10HUA43302   issued to the                                         Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1927-1992 (779)

                                                          Five Rivers (375): General Sullivan
Request # 654   For Policy # 10CA43342E   issued to the                                         Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1927-1992 (779)

                                                          Five Rivers (375): General Sullivan
Request # 655   For Policy # 10CA43349E   issued to the                                         Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1927-1992 (779)

                                                          Five Rivers (375): Steuben Area
Request # 656   For Policy # 10CA43303    issued to the                                         Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1931-1991 (402)

                                                          Five Rivers (375): Steuben Area
Request # 657   For Policy # 10HUA43302   issued to the                                         Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1931-1991 (402)

                                                          Five Rivers (375): Steuben Area
Request # 658   For Policy # 10CA43329    issued to the                                         Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1931-1991 (402)

                                                          Five Rivers (375): Steuben Area
Request # 659   For Policy # 10HUA43331   issued to the                                         Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1931-1991 (402)

                                                          Five Rivers (375): Steuben Area
Request # 660   For Policy # 10CA43342E   issued to the                                         Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1931-1991 (402)

                                                          Five Rivers (375): Steuben Area
Request # 661   For Policy # 10CA43349E   issued to the                                         Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1931-1991 (402)

                                                          Five Rivers (375): Sullivan Trail
Request # 662   For Policy # 10CA43303    issued to the                                         Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1947-1991 (375)



                                                                                                                       41
                                                             Five Rivers (375): Sullivan Trail
Request # 663   For Policy # 10HUA43302      issued to the                                        Local Council and effective 1/1/1973   to 1/1/1974     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             1947-1991 (375)

                                                             Five Rivers (375): Sullivan Trail
Request # 664   For Policy # 10CA43329       issued to the                                        Local Council and effective 1/1/1974   to 1/1/1975     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             1947-1991 (375)

                                                             Five Rivers (375): Sullivan Trail
Request # 665   For Policy # 10HUA43331      issued to the                                        Local Council and effective 1/1/1974   to 1/1/1975     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             1947-1991 (375)

                                                             Five Rivers (375): Sullivan Trail
Request # 666   For Policy # 10CA43342E      issued to the                                        Local Council and effective 1/1/1975   to 1/1/1976     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             1947-1991 (375)

                                                             Five Rivers (375): Sullivan Trail
Request # 667   For Policy # 10CA43349E      issued to the                                        Local Council and effective 1/1/1976   to 1/1/1977     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             1947-1991 (375)

                                                             Five Rivers (375): Sullivan Trail
Request # 668   For Policy # 01 UEC FN2321   issued to the                                        Local Council and effective 10/28/1991 to 11/8/1992 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             1947-1991 (375)

Request # 669   For Policy # 10HUA43302      issued to the Flint River (095): Flint River (095)   Local Council and effective 1/1/1972   to 1/1/1973     admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 670   For Policy # 10CA43303       issued to the Flint River (095): Flint River (095)   Local Council and effective 1/1/1972   to 1/1/1973     admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 671   For Policy # 10HUA43302      issued to the Flint River (095): Flint River (095)   Local Council and effective 1/1/1973   to 1/1/1974     admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 672   For Policy # 10CA43303       issued to the Flint River (095): Flint River (095)   Local Council and effective 1/1/1973   to 1/1/1974     admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 673   For Policy # 10CA43329       issued to the Flint River (095): Flint River (095)   Local Council and effective 1/1/1974   to 1/1/1975     admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 674   For Policy # 10HUA43331      issued to the Flint River (095): Flint River (095)   Local Council and effective 1/1/1974   to 1/1/1975     admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 675   For Policy # 10CA43342E      issued to the Flint River (095): Flint River (095)   Local Council and effective 1/1/1975   to 1/1/1976     admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 676   For Policy # 10CA43349E      issued to the Flint River (095): Flint River (095)   Local Council and effective 1/1/1976   to 1/1/1977     admit that Abuse Claims against insureds and co-insureds are covered under the policy.

                                                             French Creek (532): Colonel Drake
Request # 677   For Policy # 10CA43303       issued to the                                     Local Council and effective 1/1/1972      to 1/1/1973     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             1942-1972 (537)

                                                             French Creek (532): Colonel Drake
Request # 678   For Policy # 10HUA43302      issued to the                                     Local Council and effective 1/1/1972      to 1/1/1973     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             1942-1972 (537)

                                                             French Creek (532): Colonel Drake
Request # 679   For Policy # 10CA43303       issued to the                                     Local Council and effective 1/1/1973      to 1/1/1974     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             1942-1972 (537)



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                                                            French Creek (532): Custaloga 1969-
Request # 680   For Policy # 10 HUA 43300   issued to the                                       Local Council and effective 5/1/1971   to 5/1/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1972 (531)

                                                            French Creek (532): Custaloga 1969-
Request # 681   For Policy # 10CA43315      issued to the                                       Local Council and effective 9/21/1971 to 1/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1972 (531)

                                                            French Creek (532): Custaloga 1969-
Request # 682   For Policy # 10CA43303      issued to the                                       Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1972 (531)

                                                            French Creek (532): Custaloga 1969-
Request # 683   For Policy # 10HUA43302     issued to the                                       Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1972 (531)

                                                            French Creek (532): Custaloga 1969-
Request # 684   For Policy # 10CA43303      issued to the                                       Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1972 (531)

                                                            French Creek (532): French Creek
Request # 685   For Policy # 10CA43303      issued to the                                      Local Council and effective 1/1/1972    to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1972- (532)

                                                            French Creek (532): French Creek
Request # 686   For Policy # 10HUA43302     issued to the                                      Local Council and effective 1/1/1972    to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1972- (532)

                                                            French Creek (532): French Creek
Request # 687   For Policy # 10HUA43302     issued to the                                      Local Council and effective 1/1/1973    to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1972- (532)

                                                            French Creek (532): French Creek
Request # 688   For Policy # 10CA43303      issued to the                                      Local Council and effective 1/1/1973    to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1972- (532)

                                                            French Creek (532): French Creek
Request # 689   For Policy # 10HUA43331     issued to the                                      Local Council and effective 1/1/1974    to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1972- (532)

                                                            French Creek (532): French Creek
Request # 690   For Policy # 10CA43329      issued to the                                      Local Council and effective 1/1/1974    to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1972- (532)

                                                            French Creek (532): French Creek
Request # 691   For Policy # 10CA43342E     issued to the                                      Local Council and effective 1/1/1975    to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1972- (532)

                                                            French Creek (532): French Creek
Request # 692   For Policy # 10CA43349E     issued to the                                      Local Council and effective 1/1/1976    to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1972- (532)

                                                            French Creek (532): Washington
Request # 693   For Policy # 10HUA43302     issued to the                                      Local Council and effective 1/1/1972    to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Trail 1944-1972 (511)

                                                            French Creek (532): Washington
Request # 694   For Policy # 10CA43303      issued to the                                      Local Council and effective 1/1/1972    to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Trail 1944-1972 (511)

                                                            French Creek (532): Washington
Request # 695   For Policy # 10CA43303      issued to the                                      Local Council and effective 1/1/1973    to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Trail 1944-1972 (511)

                                                            Gamehaven (299): Gamehaven
Request # 696   For Policy # 10HUA43302     issued to the                                      Local Council and effective 1/1/1972    to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            (299)



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                                                          Gamehaven (299): Gamehaven
Request # 697   For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (299)

                                                          Gamehaven (299): Gamehaven
Request # 698   For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (299)

                                                          Gamehaven (299): Gamehaven
Request # 699   For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (299)

                                                          Gamehaven (299): Gamehaven
Request # 700   For Policy # 10CA43329    issued to the                                      Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (299)

                                                          Gamehaven (299): Gamehaven
Request # 701   For Policy # 10HUA43331   issued to the                                      Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (299)

                                                          Gamehaven (299): Gamehaven
Request # 702   For Policy # 10CA43342E   issued to the                                      Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (299)

                                                          Gamehaven (299): Gamehaven
Request # 703   For Policy # 10CA43349E   issued to the                                      Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (299)

                                                          Garden State (690): Burlington
Request # 704   For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          County 1925-2013 (690)

                                                          Garden State (690): Burlington
Request # 705   For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          County 1925-2013 (690)

                                                          Garden State (690): Burlington
Request # 706   For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          County 1925-2013 (690)

                                                          Garden State (690): Burlington
Request # 707   For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          County 1925-2013 (690)

                                                          Garden State (690): Burlington
Request # 708   For Policy # 10CA43342E   issued to the                                      Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          County 1925-2013 (690)

                                                          Garden State (690): Burlington
Request # 709   For Policy # 10CA43349E   issued to the                                      Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          County 1925-2013 (690)

                                                          Garden State (690): Camden
Request # 710   For Policy # 10CA43342E   issued to the                                      Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          County 1921-1998 (335)

                                                          Garden State (690): Camden
Request # 711   For Policy # 10CA43349E   issued to the                                      Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          County 1921-1998 (335)

                                                          Garden State (690): Garden State
Request # 712   For Policy # 10CA43329    issued to the                                      Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          2013- (690)

                                                          Garden State (690): Garden State
Request # 713   For Policy # 10HUA43331   issued to the                                      Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          2013- (690)



                                                                                                                    44
                                                          Garden State (690): Southern New
Request # 714   For Policy # 10CA43342E   issued to the                                    Local Council and effective 1/1/1975    to 1/1/1976     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Jersey 1967-1990 (334)

                                                          Garden State (690): Southern New
Request # 715   For Policy # 10CA43349E   issued to the                                    Local Council and effective 1/1/1976    to 1/1/1977     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Jersey 1967-1990 (334)

                                                          Garden State (690): Southern New
Request # 716   For Policy # 10CA43303    issued to the                                    Local Council and effective 1/1/1972    to 1/1/1973     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Jersey 1990-2013 (334)

                                                          Garden State (690): Southern New
Request # 717   For Policy # 10HUA43302   issued to the                                    Local Council and effective 1/1/1972    to 1/1/1973     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Jersey 1990-2013 (334)

                                                          Garden State (690): Southern New
Request # 718   For Policy # 10CA43303    issued to the                                    Local Council and effective 1/1/1973    to 1/1/1974     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Jersey 1990-2013 (334)

                                                          Garden State (690): Southern New
Request # 719   For Policy # 10HUA43302   issued to the                                    Local Council and effective 1/1/1973    to 1/1/1974     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Jersey 1990-2013 (334)

                                                          Garden State (690): Southern New
Request # 720   For Policy # 10CA43329    issued to the                                    Local Council and effective 1/1/1974    to 1/1/1975     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Jersey 1990-2013 (334)

                                                          Garden State (690): Southern New
Request # 721   For Policy # 10HUA43331   issued to the                                    Local Council and effective 1/1/1974    to 1/1/1975     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Jersey 1990-2013 (334)

                                                          Gateway Area (624): Gateway Area
Request # 722   For Policy # 715173       issued to the                                    Local Council and effective 12/15/1962 to 12/15/1963 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (624)

                                                          Gateway Area (624): Gateway Area
Request # 723   For Policy # 715173       issued to the                                    Local Council and effective 12/15/1962 to 12/15/1963 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (624)

                                                          Gateway Area (624): Gateway Area
Request # 724   For Policy # 716126       issued to the                                    Local Council and effective 12/15/1963 to 12/15/1964 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (624)

                                                          Gateway Area (624): Gateway Area
Request # 725   For Policy # 717220       issued to the                                    Local Council and effective 12/15/1964 to 12/15/1965 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (624)

                                                          Gateway Area (624): Gateway Area
Request # 726   For Policy # 86C718423    issued to the                                    Local Council and effective 12/15/1965 to 12/15/1966 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (624)

                                                          Gateway Area (624): Gateway Area
Request # 727   For Policy # 86C718423    issued to the                                    Local Council and effective 12/15/1966 to 12/15/1967 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (624)

                                                          Gateway Area (624): Gateway Area
Request # 728   For Policy # 86C718423    issued to the                                    Local Council and effective 12/15/1967 to 12/15/1968 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (624)

                                                          Gateway Area (624): Gateway Area
Request # 729   For Policy # 86C807701    issued to the                                    Local Council and effective 12/15/1968 to 12/15/1969 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (624)

                                                          Gateway Area (624): Gateway Area
Request # 730   For Policy # 86C807701    issued to the                                    Local Council and effective 12/15/1969 to 12/15/1970 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (624)



                                                                                                                   45
                                                          Gateway Area (624): Gateway Area
Request # 731   For Policy # 86C807701    issued to the                                    Local Council and effective 12/15/1970 to 12/15/1971 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (624)

                                                          Gateway Area (624): Gateway Area
Request # 732   For Policy # 10HUA43302   issued to the                                    Local Council and effective 1/1/1972     to 1/1/1973    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (624)

                                                          Gateway Area (624): Gateway Area
Request # 733   For Policy # 10CA43303    issued to the                                    Local Council and effective 1/1/1972     to 1/1/1973    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (624)

                                                          Gateway Area (624): Gateway Area
Request # 734   For Policy # 10CA43303    issued to the                                    Local Council and effective 1/1/1973     to 1/1/1974    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (624)

                                                          Gateway Area (624): Gateway Area
Request # 735   For Policy # 10HUA43302   issued to the                                    Local Council and effective 1/1/1973     to 1/1/1974    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (624)

                                                          Gateway Area (624): Gateway Area
Request # 736   For Policy # 10HUA43331   issued to the                                    Local Council and effective 1/1/1974     to 1/1/1975    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (624)

                                                          Gateway Area (624): Gateway Area
Request # 737   For Policy # 10CA43329    issued to the                                    Local Council and effective 1/1/1974     to 1/1/1975    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (624)

                                                          Gateway Area (624): Gateway Area
Request # 738   For Policy # 10CA43342E   issued to the                                    Local Council and effective 1/1/1975     to 1/1/1976    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (624)

                                                          Gateway Area (624): Gateway Area
Request # 739   For Policy # 10CA43349E   issued to the                                    Local Council and effective 1/1/1976     to 1/1/1977    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (624)

                                                          Georgia-Carolina (093): Georgia-
Request # 740   For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1973   to 1/1/1974    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Carolina (093)

                                                          Georgia-Carolina (093): Georgia-
Request # 741   For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1973   to 1/1/1974    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Carolina (093)

                                                          Georgia-Carolina (093): Georgia-
Request # 742   For Policy # 10CA43329    issued to the                                      Local Council and effective 1/1/1974   to 1/1/1975    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Carolina (093)

                                                          Georgia-Carolina (093): Georgia-
Request # 743   For Policy # 10HUA43331   issued to the                                      Local Council and effective 1/1/1974   to 1/1/1975    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Carolina (093)

                                                          Georgia-Carolina (093): Georgia-
Request # 744   For Policy # 10CA43342E   issued to the                                      Local Council and effective 1/1/1975   to 1/1/1976    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Carolina (093)

                                                          Georgia-Carolina (093): Georgia-
Request # 745   For Policy # 10CA43349E   issued to the                                      Local Council and effective 1/1/1976   to 1/1/1977    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Carolina (093)

                                                          Glacier's Edge (620): Four Lakes
Request # 746   For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1972   to 1/1/1973    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1928-2005 (628)

                                                          Glacier's Edge (620): Four Lakes
Request # 747   For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1972   to 1/1/1973    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1928-2005 (628)



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                                                           Glacier's Edge (620): Four Lakes
Request # 748   For Policy # 10CA43303     issued to the                                       Local Council and effective 1/1/1973    to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1928-2005 (628)

                                                           Glacier's Edge (620): Four Lakes
Request # 749   For Policy # 10HUA43302    issued to the                                       Local Council and effective 1/1/1973    to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1928-2005 (628)

                                                           Glacier's Edge (620): Four Lakes
Request # 750   For Policy # 10CA43342E    issued to the                                       Local Council and effective 1/1/1975    to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1928-2005 (628)

                                                           Glacier's Edge (620): Four Lakes
Request # 751   For Policy # 10CA43349E    issued to the                                       Local Council and effective 1/1/1976    to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1928-2005 (628)

                                                           Glacier's Edge (620): Glacier's Edge
Request # 752   For Policy # 10CA43329     issued to the                                        Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           2005- (620)

                                                           Glacier's Edge (620): Glacier's Edge
Request # 753   For Policy # 10HUA43331    issued to the                                        Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           2005- (620)

                                                           Glacier's Edge (620): Sinnissippi
Request # 754   For Policy # 10HUA43302    issued to the                                       Local Council and effective 1/1/1972    to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1966-2005 (626)

                                                           Glacier's Edge (620): Sinnissippi
Request # 755   For Policy # 10CA43303     issued to the                                       Local Council and effective 1/1/1972    to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1966-2005 (626)

                                                           Glacier's Edge (620): Sinnissippi
Request # 756   For Policy # 10CA43303     issued to the                                       Local Council and effective 1/1/1973    to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1966-2005 (626)

                                                           Glacier's Edge (620): Sinnissippi
Request # 757   For Policy # 10HUA43302    issued to the                                       Local Council and effective 1/1/1973    to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1966-2005 (626)

                                                           Glacier's Edge (620): Sinnissippi
Request # 758   For Policy # 10CA43329     issued to the                                       Local Council and effective 1/1/1974    to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1966-2005 (626)

                                                           Glacier's Edge (620): Sinnissippi
Request # 759   For Policy # 10HUA43331    issued to the                                       Local Council and effective 1/1/1974    to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1966-2005 (626)

                                                           Glacier's Edge (620): Sinnissippi
Request # 760   For Policy # 10CA43342E    issued to the                                       Local Council and effective 1/1/1975    to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1966-2005 (626)

                                                           Glacier's Edge (620): Sinnissippi
Request # 761   For Policy # 10CA43349E    issued to the                                       Local Council and effective 1/1/1976    to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1966-2005 (626)

                                                           Golden Empire (047): Buttes Area
Request # 762   For Policy # 10CA43342E    issued to the                                       Local Council and effective 1/1/1975    to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1924-1992 (647)

                                                           Golden Empire (047): Buttes Area
Request # 763   For Policy # 10CA43349E    issued to the                                       Local Council and effective 1/1/1976    to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1924-1992 (647)

                                                           Golden Empire (047): Golden
Request # 764   For Policy # 54 C 990478   issued to the                                       Local Council and effective 7/1/1972    to 7/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Empire 1937- (047)



                                                                                                                      47
                                                           Golden Empire (047): Golden
Request # 765   For Policy # 54 C 990478   issued to the                                      Local Council and effective 7/1/1973   to 7/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Empire 1937- (047)

                                                           Golden Empire (047): Golden
Request # 766   For Policy # 54 C 990478   issued to the                                      Local Council and effective 7/1/1974   to 7/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Empire 1937- (047)

                                                           Golden Empire (047): Golden
Request # 767   For Policy # 10CA43342E    issued to the                                      Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Empire 1937- (047)

                                                           Golden Empire (047): Golden
Request # 768   For Policy # 10CA43349E    issued to the                                      Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Empire 1937- (047)

                                                           Golden Empire (047): Mount
Request # 769   For Policy # 10CA43342E    issued to the                                      Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Lassen Area 1924-1992 (036)

                                                           Golden Empire (047): Mount
Request # 770   For Policy # 10CA43349E    issued to the                                      Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Lassen Area 1924-1992 (036)

                                                           Golden Gate Area (023): Alameda -
Request # 771   For Policy # 10CA43303     issued to the                                     Local Council and effective 1/1/1972    to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           2020 (022)

                                                           Golden Gate Area (023): Alameda -
Request # 772   For Policy # 10HUA43302    issued to the                                     Local Council and effective 1/1/1972    to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           2020 (022)

                                                           Golden Gate Area (023): Alameda -
Request # 773   For Policy # 10CA43303     issued to the                                     Local Council and effective 1/1/1973    to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           2020 (022)

                                                           Golden Gate Area (023): Alameda -
Request # 774   For Policy # 10HUA43302    issued to the                                     Local Council and effective 1/1/1973    to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           2020 (022)

                                                           Golden Gate Area (023): Alameda -
Request # 775   For Policy # 10CA43329     issued to the                                     Local Council and effective 1/1/1974    to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           2020 (022)

                                                           Golden Gate Area (023): Alameda -
Request # 776   For Policy # 10HUA43331    issued to the                                     Local Council and effective 1/1/1974    to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           2020 (022)

                                                           Golden Gate Area (023): Alameda -
Request # 777   For Policy # 10CA43342E    issued to the                                     Local Council and effective 1/1/1975    to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           2020 (022)

                                                           Golden Gate Area (023): Alameda -
Request # 778   For Policy # 10CA43349E    issued to the                                     Local Council and effective 1/1/1976    to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           2020 (022)

                                                           Golden Gate Area (023): Mount
Request # 779   For Policy # 10CA43342E    issued to the                                      Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Diablo 1951-1992 (023)

                                                           Golden Gate Area (023): Mount
Request # 780   For Policy # 10CA43349E    issued to the                                      Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Diablo 1951-1992 (023)

                                                           Golden Gate Area (023): Mount
Request # 781   For Policy # 10CA43342E    issued to the                                      Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Diablo Silverado 1992-2020 (023)



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                                                          Golden Gate Area (023): Mount
Request # 782   For Policy # 10CA43349E   issued to the                                       Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Diablo Silverado 1992-2020 (023)
                                                        Golden Gate Area (023): San
Request # 783   For Policy # 10CA43342E   issued to the Francisco Bay Area 1965-2020          Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        (028)
                                                        Golden Gate Area (023): San
Request # 784   For Policy # 10CA43349E   issued to the Francisco Bay Area 1965-2020          Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        (028)
                                                          Golden Gate Area (023): Silverado
Request # 785   For Policy # 10CA43303    issued to the                                       Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area 1928-1992 (038)

                                                          Golden Gate Area (023): Silverado
Request # 786   For Policy # 10HUA43302   issued to the                                       Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area 1928-1992 (038)

                                                          Golden Gate Area (023): Silverado
Request # 787   For Policy # 10CA43303    issued to the                                       Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area 1928-1992 (038)

                                                          Golden Gate Area (023): Silverado
Request # 788   For Policy # 10HUA43302   issued to the                                       Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area 1928-1992 (038)

                                                          Golden Gate Area (023): Silverado
Request # 789   For Policy # 10CA43329    issued to the                                       Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area 1928-1992 (038)

                                                          Golden Gate Area (023): Silverado
Request # 790   For Policy # 10HUA43331   issued to the                                       Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area 1928-1992 (038)

                                                          Golden Gate Area (023): Silverado
Request # 791   For Policy # 10CA43342E   issued to the                                       Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area 1928-1992 (038)

                                                          Golden Gate Area (023): Silverado
Request # 792   For Policy # 10CA43349E   issued to the                                       Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area 1928-1992 (038)

                                                          Golden Spread (562): Adobe Walls
Request # 793   For Policy # 10CA43342E   issued to the                                    Local Council and effective 1/1/1975      to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area 1934-1986 (569)

                                                          Golden Spread (562): Adobe Walls
Request # 794   For Policy # 10CA43349E   issued to the                                    Local Council and effective 1/1/1976      to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area 1934-1986 (569)

                                                          Golden Spread (562): Llano
Request # 795   For Policy # 10CA43342E   issued to the                                       Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Estacado 1939-1986 (562)

                                                          Golden Spread (562): Llano
Request # 796   For Policy # 10CA43349E   issued to the                                       Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Estacado 1939-1986 (562)

                                                          Grand Canyon (010): Copper 1962-
Request # 797   For Policy # 10CA43303    issued to the                                    Local Council and effective 1/1/1973      to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1977 (009)

                                                          Grand Canyon (010): Copper 1962-
Request # 798   For Policy # 10HUA43302   issued to the                                    Local Council and effective 1/1/1973      to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1977 (009)



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                                                          Grand Canyon (010): Copper 1962-
Request # 799   For Policy # 10CA43342E   issued to the                                    Local Council and effective 1/1/1975    to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1977 (009)

                                                          Grand Canyon (010): Copper 1962-
Request # 800   For Policy # 10CA43349E   issued to the                                    Local Council and effective 1/1/1976    to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1977 (009)

                                                          Grand Canyon (010): Grand Canyon
Request # 801   For Policy # 10HUA43302   issued to the                                    Local Council and effective 1/1/1972    to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1944-1993 (012)

                                                          Grand Canyon (010): Grand Canyon
Request # 802   For Policy # 10CA43303    issued to the                                    Local Council and effective 1/1/1972    to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1944-1993 (012)

                                                          Grand Canyon (010): Grand Canyon
Request # 803   For Policy # 10HUA43302   issued to the                                    Local Council and effective 1/1/1973    to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1944-1993 (012)

                                                          Grand Canyon (010): Grand Canyon
Request # 804   For Policy # 10CA43303    issued to the                                    Local Council and effective 1/1/1973    to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1944-1993 (012)

                                                          Grand Canyon (010): Grand Canyon
Request # 805   For Policy # 10CA43329    issued to the                                    Local Council and effective 1/1/1974    to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1944-1993 (012)

                                                          Grand Canyon (010): Grand Canyon
Request # 806   For Policy # 10HUA43331   issued to the                                    Local Council and effective 1/1/1974    to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1944-1993 (012)

                                                          Grand Canyon (010): Grand Canyon
Request # 807   For Policy # 10CA43342E   issued to the                                    Local Council and effective 1/1/1975    to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1944-1993 (012)

                                                          Grand Canyon (010): Grand Canyon
Request # 808   For Policy # 10CA43349E   issued to the                                    Local Council and effective 1/1/1976    to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1944-1993 (012)

                                                          Grand Canyon (010): Theodore
Request # 809   For Policy # 10CA43342E   issued to the                                     Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Roosevelt 1962-1993 (010)

                                                          Grand Canyon (010): Theodore
Request # 810   For Policy # 10CA43349E   issued to the                                     Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Roosevelt 1962-1993 (010)

                                                          Grand Columbia (614): Fort Simcoe
Request # 811   For Policy # 10HUA43302   issued to the                                     Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area 1954-1992 (614)

                                                          Grand Columbia (614): Fort Simcoe
Request # 812   For Policy # 10CA43303    issued to the                                     Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area 1954-1992 (614)

                                                          Grand Columbia (614): Fort Simcoe
Request # 813   For Policy # 10CA43303    issued to the                                     Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area 1954-1992 (614)

                                                          Grand Columbia (614): Fort Simcoe
Request # 814   For Policy # 10HUA43302   issued to the                                     Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area 1954-1992 (614)

                                                          Grand Columbia (614): Fort Simcoe
Request # 815   For Policy # 10CA43329    issued to the                                     Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area 1954-1992 (614)



                                                                                                                   50
                                                          Grand Columbia (614): Fort Simcoe
Request # 816   For Policy # 10HUA43331   issued to the                                     Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area 1954-1992 (614)

                                                          Grand Columbia (614): Fort Simcoe
Request # 817   For Policy # 10CA43342E   issued to the                                     Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area 1954-1992 (614)

                                                          Grand Columbia (614): Fort Simcoe
Request # 818   For Policy # 10CA43349E   issued to the                                     Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area 1954-1992 (614)
                                                          Grand Columbia (614): North
Request # 819   For Policy # 10CA43303    issued to the   Central Washington 1924-1992      Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (613)
                                                          Grand Columbia (614): North
Request # 820   For Policy # 10HUA43302   issued to the   Central Washington 1924-1992      Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (613)
                                                          Grand Columbia (614): North
Request # 821   For Policy # 10HUA43302   issued to the   Central Washington 1924-1992      Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (613)
                                                          Grand Columbia (614): North
Request # 822   For Policy # 10CA43303    issued to the   Central Washington 1924-1992      Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (613)
                                                          Grand Columbia (614): North
Request # 823   For Policy # 10CA43329    issued to the   Central Washington 1924-1992      Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (613)
                                                          Grand Columbia (614): North
Request # 824   For Policy # 10HUA43331   issued to the   Central Washington 1924-1992      Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (613)
                                                          Grand Columbia (614): North
Request # 825   For Policy # 10CA43342E   issued to the   Central Washington 1924-1992      Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (613)
                                                          Grand Columbia (614): North
Request # 826   For Policy # 10CA43349E   issued to the   Central Washington 1924-1992      Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (613)
                                                          Grand Teton (107): Tendoy Area
Request # 827   For Policy # 10HUA43302   issued to the                                     Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1934-1993 (109)

                                                          Grand Teton (107): Tendoy Area
Request # 828   For Policy # 10CA43303    issued to the                                     Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1934-1993 (109)

                                                          Grand Teton (107): Tendoy Area
Request # 829   For Policy # 10CA43303    issued to the                                     Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1934-1993 (109)

                                                          Grand Teton (107): Tendoy Area
Request # 830   For Policy # 10HUA43302   issued to the                                     Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1934-1993 (109)

                                                          Grand Teton (107): Tendoy Area
Request # 831   For Policy # 10CA43329    issued to the                                     Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1934-1993 (109)

                                                          Grand Teton (107): Tendoy Area
Request # 832   For Policy # 10HUA43331   issued to the                                     Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1934-1993 (109)



                                                                                                                   51
                                                            Grand Teton (107): Tendoy Area
Request # 833   For Policy # 10CA43342E     issued to the                                      Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1934-1993 (109)

                                                            Grand Teton (107): Tendoy Area
Request # 834   For Policy # 10CA43349E     issued to the                                      Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1934-1993 (109)

                                                            Grand Teton (107): Teton Peaks
Request # 835   For Policy # 10 HUA 43300   issued to the                                      Local Council and effective 5/1/1971   to 5/1/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1925-1993 (107)

                                                            Grand Teton (107): Teton Peaks
Request # 836   For Policy # 10CA43315      issued to the                                      Local Council and effective 9/21/1971 to 1/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1925-1993 (107)

                                                            Grand Teton (107): Teton Peaks
Request # 837   For Policy # 10HUA43302     issued to the                                      Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1925-1993 (107)

                                                            Grand Teton (107): Teton Peaks
Request # 838   For Policy # 10CA43303      issued to the                                      Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1925-1993 (107)

                                                            Grand Teton (107): Teton Peaks
Request # 839   For Policy # 10CA43303      issued to the                                      Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1925-1993 (107)

                                                            Grand Teton (107): Teton Peaks
Request # 840   For Policy # 10HUA43302     issued to the                                      Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1925-1993 (107)

                                                            Grand Teton (107): Teton Peaks
Request # 841   For Policy # 10CA43329      issued to the                                      Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1925-1993 (107)

                                                            Grand Teton (107): Teton Peaks
Request # 842   For Policy # 10HUA43331     issued to the                                      Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1925-1993 (107)

                                                            Grand Teton (107): Teton Peaks
Request # 843   For Policy # 10CA43342E     issued to the                                      Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1925-1993 (107)

                                                            Grand Teton (107): Teton Peaks
Request # 844   For Policy # 10CA43349E     issued to the                                      Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1925-1993 (107)

                                                            Great Alaska (610): Alaska 1934-
Request # 845   For Policy # 10HUA43302     issued to the                                      Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1954 (610)

                                                            Great Alaska (610): Alaska 1934-
Request # 846   For Policy # 10HUA43302     issued to the                                      Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1954 (610)

                                                            Great Alaska (610): Great Alaska
Request # 847   For Policy # 10CA43329      issued to the                                      Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            2006- (610)

                                                            Great Alaska (610): Great Alaska
Request # 848   For Policy # 10HUA43331     issued to the                                      Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            2006- (610)

                                                            Great Alaska (610): Southeast
Request # 849   For Policy # 10CA43303      issued to the                                      Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Alaska 1955-2006 (608)



                                                                                                                      52
                                                          Great Alaska (610): Southeast
Request # 850   For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Alaska 1955-2006 (608)

                                                          Great Alaska (610): Southeast
Request # 851   For Policy # 10CA43329    issued to the                                      Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Alaska 1955-2006 (608)

                                                          Great Alaska (610): Southeast
Request # 852   For Policy # 10HUA43331   issued to the                                      Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Alaska 1955-2006 (608)

                                                          Great Alaska (610): Southeast
Request # 853   For Policy # 10CA43342E   issued to the                                      Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Alaska 1955-2006 (608)

                                                          Great Alaska (610): Southeast
Request # 854   For Policy # 10CA43349E   issued to the                                      Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Alaska 1955-2006 (608)

                                                          Great Alaska (610): Western Alaska
Request # 855   For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1954-2005 (610)

                                                          Great Alaska (610): Western Alaska
Request # 856   For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1954-2005 (610)

                                                          Great Alaska (610): Western Alaska
Request # 857   For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1954-2005 (610)

                                                          Great Alaska (610): Western Alaska
Request # 858   For Policy # 10CA43342E   issued to the                                      Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1954-2005 (610)

                                                          Great Alaska (610): Western Alaska
Request # 859   For Policy # 10CA43349E   issued to the                                      Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1954-2005 (610)

                                                          Great Lakes FSC (784): Great Lakes
Request # 860   For Policy # 10CA43342E   issued to the                                      Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          FSC (784)

                                                          Great Lakes FSC (784): Great Lakes
Request # 861   For Policy # 10CA43349E   issued to the                                      Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          FSC (784)

                                                          Great Rivers (653): Great Rivers
Request # 862   For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1951- (653)

                                                          Great Rivers (653): Great Rivers
Request # 863   For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1951- (653)

                                                          Great Rivers (653): Great Rivers
Request # 864   For Policy # 10HUA43331   issued to the                                      Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1951- (653)

                                                          Great Rivers (653): Great Rivers
Request # 865   For Policy # 10CA43329    issued to the                                      Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1951- (653)

                                                          Great Rivers (653): Great Rivers
Request # 866   For Policy # 10CA43342E   issued to the                                      Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1951- (653)



                                                                                                                    53
                                                          Great Rivers (653): Great Rivers
Request # 867   For Policy # 10CA43349E   issued to the                                       Local Council and effective 1/1/1976    to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1951- (653)

                                                          Great Smoky Mountain (557):
Request # 868   For Policy # 10CA43303    issued to the                                       Local Council and effective 1/1/1972    to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Great Smoky Mountain (557)

                                                          Great Smoky Mountain (557):
Request # 869   For Policy # 10HUA43302   issued to the                                       Local Council and effective 1/1/1972    to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Great Smoky Mountain (557)

                                                          Great Smoky Mountain (557):
Request # 870   For Policy # 10CA43303    issued to the                                       Local Council and effective 1/1/1973    to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Great Smoky Mountain (557)

                                                          Great Smoky Mountain (557):
Request # 871   For Policy # 10HUA43302   issued to the                                       Local Council and effective 1/1/1973    to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Great Smoky Mountain (557)

                                                          Great Smoky Mountain (557):
Request # 872   For Policy # 10HUA43331   issued to the                                       Local Council and effective 1/1/1974    to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Great Smoky Mountain (557)

                                                          Great Smoky Mountain (557):
Request # 873   For Policy # 10CA43329    issued to the                                       Local Council and effective 1/1/1974    to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Great Smoky Mountain (557)

                                                          Great Smoky Mountain (557):
Request # 874   For Policy # 10CA43342E   issued to the                                       Local Council and effective 1/1/1975    to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Great Smoky Mountain (557)

                                                          Great Smoky Mountain (557):
Request # 875   For Policy # 10CA43349E   issued to the                                       Local Council and effective 1/1/1976    to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Great Smoky Mountain (557)

                                                          Great Southwest (412): Great
Request # 876   For Policy # 10CA43349E   issued to the                                       Local Council and effective 1/1/1976    to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Southwest Area 1976-1982 (412)

                                                          Great Southwest (412): Kit Carson
Request # 877   For Policy # 10CA43342E   issued to the                                       Local Council and effective 1/1/1975    to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1955-1976 (412)

                                                          Great Southwest (412): Kit Carson
Request # 878   For Policy # 10CA43349E   issued to the                                       Local Council and effective 1/1/1976    to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1955-1976 (412)

                                                          Great Trail (433): Great Trail 1971-
Request # 879   For Policy # 10CA43342E   issued to the                                        Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (433)

                                                          Great Trail (433): Great Trail 1971-
Request # 880   For Policy # 10CA43349E   issued to the                                        Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (433)

                                                          Great Trail (433): Mahoning Valley
Request # 881   For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1972     to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1927-1993 (466)

                                                          Great Trail (433): Mahoning Valley
Request # 882   For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1972     to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1927-1993 (466)

                                                          Great Trail (433): Mahoning Valley
Request # 883   For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1973     to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1927-1993 (466)



                                                                                                                     54
                                                             Great Trail (433): Mahoning Valley
Request # 884   For Policy # 10CA43303       issued to the                                      Local Council and effective 1/1/1973    to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             1927-1993 (466)

                                                             Great Trail (433): Mahoning Valley
Request # 885   For Policy # 10CA43329       issued to the                                      Local Council and effective 1/1/1974    to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             1927-1993 (466)

                                                             Great Trail (433): Mahoning Valley
Request # 886   For Policy # 10HUA43331      issued to the                                      Local Council and effective 1/1/1974    to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             1927-1993 (466)

                                                             Great Trail (433): Mahoning Valley
Request # 887   For Policy # 10CA43342E      issued to the                                      Local Council and effective 1/1/1975    to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             1927-1993 (466)

                                                             Great Trail (433): Mahoning Valley
Request # 888   For Policy # 10CA43349E      issued to the                                      Local Council and effective 1/1/1976    to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             1927-1993 (466)

                                                             Great Trail (433): Northeast Ohio
Request # 889   For Policy # 10CA43342E      issued to the                                       Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             1929-1993 (463)

                                                             Great Trail (433): Northeast Ohio
Request # 890   For Policy # 10CA43349E      issued to the                                       Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             1929-1993 (463)

                                                             Great Trail (433): Northeast Ohio
Request # 891   For Policy # 45 CBP 132079   issued to the                                       Local Council and effective 8/1/1981   to 8/1/1982   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             1929-1993 (463)

                                                             Great Trail (433): Northeast Ohio
Request # 892   For Policy # 45 CBP 132079   issued to the                                       Local Council and effective 8/1/1982   to 8/1/1983   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             1929-1993 (463)

                                                             Great Trail (433): Northeast Ohio
Request # 893   For Policy # 45 CBP 132079   issued to the                                       Local Council and effective 8/1/1983   to 8/1/1984   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             1929-1993 (463)

                                                             Great Trail (433): Western Reserve
Request # 894   For Policy # 10 HUA 43300    issued to the                                      Local Council and effective 5/1/1971    to 5/1/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             1948-1993 (461)

                                                             Great Trail (433): Western Reserve
Request # 895   For Policy # 10CA43315       issued to the                                      Local Council and effective 9/21/1971 to 1/1/1972     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             1948-1993 (461)

                                                             Great Trail (433): Western Reserve
Request # 896   For Policy # 10HUA43302      issued to the                                      Local Council and effective 1/1/1972    to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             1948-1993 (461)

                                                             Great Trail (433): Western Reserve
Request # 897   For Policy # 10CA43303       issued to the                                      Local Council and effective 1/1/1972    to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             1948-1993 (461)

                                                             Great Trail (433): Western Reserve
Request # 898   For Policy # 10CA43303       issued to the                                      Local Council and effective 1/1/1973    to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             1948-1993 (461)

                                                             Great Trail (433): Western Reserve
Request # 899   For Policy # 10HUA43302      issued to the                                      Local Council and effective 1/1/1973    to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             1948-1993 (461)

                                                             Great Trail (433): Western Reserve
Request # 900   For Policy # 10CA43342E      issued to the                                      Local Council and effective 1/1/1975    to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             1948-1993 (461)



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                                                          Great Trail (433): Western Reserve
Request # 901   For Policy # 10CA43349E   issued to the                                      Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1948-1993 (461)

                                                          Greater Alabama (001):
Request # 902   For Policy # 10HUA43302   issued to the                                   Local Council and effective 1/1/1972      to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Birmingham Area 1915-1996 (002)

                                                          Greater Alabama (001):
Request # 903   For Policy # 10CA43303    issued to the                                   Local Council and effective 1/1/1972      to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Birmingham Area 1915-1996 (002)

                                                          Greater Alabama (001):
Request # 904   For Policy # 10CA43303    issued to the                                   Local Council and effective 1/1/1973      to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Birmingham Area 1915-1996 (002)

                                                          Greater Alabama (001):
Request # 905   For Policy # 10HUA43302   issued to the                                   Local Council and effective 1/1/1973      to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Birmingham Area 1915-1996 (002)

                                                          Greater Alabama (001):
Request # 906   For Policy # 10CA43329    issued to the                                   Local Council and effective 1/1/1974      to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Birmingham Area 1915-1996 (002)

                                                          Greater Alabama (001):
Request # 907   For Policy # 10HUA43331   issued to the                                   Local Council and effective 1/1/1974      to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Birmingham Area 1915-1996 (002)

                                                          Greater Alabama (001):
Request # 908   For Policy # 10CA43342E   issued to the                                   Local Council and effective 1/1/1975      to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Birmingham Area 1915-1996 (002)

                                                          Greater Alabama (001):
Request # 909   For Policy # 10CA43349E   issued to the                                   Local Council and effective 1/1/1976      to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Birmingham Area 1915-1996 (002)

                                                          Greater Alabama (001):
Request # 910   For Policy # 10CA43342E   issued to the                                     Local Council and effective 1/1/1975    to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Choccolocco 1921-1998 (001)

                                                          Greater Alabama (001):
Request # 911   For Policy # 10CA43349E   issued to the                                     Local Council and effective 1/1/1976    to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Choccolocco 1921-1998 (001)

                                                          Greater Alabama (001): Tennessee
Request # 912   For Policy # 10CA43303    issued to the                                    Local Council and effective 1/1/1972     to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Valley 1934-1998 (659)

                                                          Greater Alabama (001): Tennessee
Request # 913   For Policy # 10HUA43302   issued to the                                    Local Council and effective 1/1/1972     to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Valley 1934-1998 (659)

                                                          Greater Alabama (001): Tennessee
Request # 914   For Policy # 10HUA43302   issued to the                                    Local Council and effective 1/1/1973     to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Valley 1934-1998 (659)

                                                          Greater Alabama (001): Tennessee
Request # 915   For Policy # 10CA43303    issued to the                                    Local Council and effective 1/1/1973     to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Valley 1934-1998 (659)

                                                          Greater Alabama (001): Tennessee
Request # 916   For Policy # 10CA43329    issued to the                                    Local Council and effective 1/1/1974     to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Valley 1934-1998 (659)

                                                          Greater Alabama (001): Tennessee
Request # 917   For Policy # 10HUA43331   issued to the                                    Local Council and effective 1/1/1974     to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Valley 1934-1998 (659)



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                                                          Greater Alabama (001): Tennessee
Request # 918   For Policy # 10CA43342E   issued to the                                    Local Council and effective 1/1/1975      to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Valley 1934-1998 (659)

                                                          Greater Alabama (001): Tennessee
Request # 919   For Policy # 10CA43349E   issued to the                                    Local Council and effective 1/1/1976      to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Valley 1934-1998 (659)

                                                          Greater Los Angeles Area (033): Los
Request # 920   For Policy # 10CA43342E   issued to the                                       Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Angeles Area 1945-2015 (033)

                                                          Greater Los Angeles Area (033): Los
Request # 921   For Policy # 10CA43349E   issued to the                                       Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Angeles Area 1945-2015 (033)

                                                          Greater Los Angeles Area (033): Old
Request # 922   For Policy # 10CA43342E   issued to the                                       Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Baldy 1921-2006 (043)

                                                          Greater Los Angeles Area (033): Old
Request # 923   For Policy # 10CA43349E   issued to the                                       Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Baldy 1921-2006 (043)

                                                          Greater Los Angeles Area (033):
Request # 924   For Policy # 10CA43342E   issued to the                                      Local Council and effective 1/1/1975    to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          San Gabriel Valley 1951-2015 (040)

                                                          Greater Los Angeles Area (033):
Request # 925   For Policy # 10CA43349E   issued to the                                      Local Council and effective 1/1/1976    to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          San Gabriel Valley 1951-2015 (040)

                                                          Greater New York (640): Greater
Request # 926   For Policy # 10CA43342E   issued to the                                      Local Council and effective 1/1/1975    to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          New York 1967- (640)

                                                          Greater New York (640): Greater
Request # 927   For Policy # 10CA43349E   issued to the                                      Local Council and effective 1/1/1976    to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          New York 1967- (640)
                                                          Greater New York, Bronx Borough
Request # 928   For Policy # 10CA43342E   issued to the   (641): Greater New York, Bronx     Local Council and effective 1/1/1975    to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Borough (641)
                                                          Greater New York, Bronx Borough
Request # 929   For Policy # 10CA43349E   issued to the   (641): Greater New York, Bronx     Local Council and effective 1/1/1976    to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Borough (641)
                                                          Greater New York, Brooklyn
Request # 930   For Policy # 10CA43342E   issued to the   Borough (642): Greater New York,   Local Council and effective 1/1/1975    to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Brooklyn Borough (642)
                                                          Greater New York, Brooklyn
Request # 931   For Policy # 10CA43349E   issued to the   Borough (642): Greater New York,   Local Council and effective 1/1/1976    to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Brooklyn Borough (642)
                                                          Greater New York, Manhattan
Request # 932   For Policy # 10CA43342E   issued to the   Borough (643): Greater New York,   Local Council and effective 1/1/1975    to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Manhattan Borough (643)
                                                          Greater New York, Manhattan
Request # 933   For Policy # 10CA43349E   issued to the   Borough (643): Greater New York,   Local Council and effective 1/1/1976    to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Manhattan Borough (643)
                                                          Greater New York, Queens
Request # 934   For Policy # 10CA43342E   issued to the   Borough (644): Greater New York,   Local Council and effective 1/1/1975    to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Queens Borough (644)


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                                                          Greater New York, Queens
Request # 935   For Policy # 10CA43349E   issued to the   Borough (644): Greater New York,   Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Queens Borough (644)
                                                          Greater New York, Staten Island
Request # 936   For Policy # 10CA43342E   issued to the   Borough (645): Greater New York,   Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Staten Island Borough (645)
                                                          Greater New York, Staten Island
Request # 937   For Policy # 10CA43349E   issued to the   Borough (645): Greater New York,   Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Staten Island Borough (645)
                                                          Greater Niagara Frontier (380):
Request # 938   For Policy # 10CA43342E   issued to the   Greater Niagara Frontier 1967-     Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (380)
                                                          Greater Niagara Frontier (380):
Request # 939   For Policy # 10CA43349E   issued to the   Greater Niagara Frontier 1967-     Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (380)
                                                          Greater St. Louis Area (312):
Request # 940   For Policy # 10CA43342E   issued to the                                      Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Cahokia Mound 1925-1991 (128)

                                                          Greater St. Louis Area (312):
Request # 941   For Policy # 10CA43349E   issued to the                                      Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Cahokia Mound 1925-1991 (128)

                                                          Greater St. Louis Area (312):
Request # 942   For Policy # 10CA43342E   issued to the                                      Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Egyptian 1940-1994 (120)

                                                          Greater St. Louis Area (312):
Request # 943   For Policy # 10CA43349E   issued to the                                      Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Egyptian 1940-1994 (120)

                                                          Greater St. Louis Area (312):
Request # 944   For Policy # 10CA43342E   issued to the                                      Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Lincoln Trails 1939-2018 (121)

                                                          Greater St. Louis Area (312):
Request # 945   For Policy # 10CA43349E   issued to the                                      Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Lincoln Trails 1939-2018 (121)

                                                          Greater St. Louis Area (312): Okaw
Request # 946   For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Valley 1965-2017 (116)

                                                          Greater St. Louis Area (312): Okaw
Request # 947   For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Valley 1965-2017 (116)

                                                          Greater St. Louis Area (312): Okaw
Request # 948   For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Valley 1965-2017 (116)

                                                          Greater St. Louis Area (312): Okaw
Request # 949   For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Valley 1965-2017 (116)

                                                          Greater St. Louis Area (312): Okaw
Request # 950   For Policy # 10CA43329    issued to the                                      Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Valley 1965-2017 (116)

                                                          Greater St. Louis Area (312): Okaw
Request # 951   For Policy # 10HUA43331   issued to the                                      Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Valley 1965-2017 (116)



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                                                            Greater St. Louis Area (312): Okaw
Request # 952   For Policy # 10CA43342E     issued to the                                      Local Council and effective 1/1/1975      to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Valley 1965-2017 (116)

                                                            Greater St. Louis Area (312): Okaw
Request # 953   For Policy # 10CA43349E     issued to the                                      Local Council and effective 1/1/1976      to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Valley 1965-2017 (116)

                                                            Greater St. Louis Area (312): Piasa
Request # 954   For Policy # 10CA43342E     issued to the                                         Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Bird 1930-1991 (112)

                                                            Greater St. Louis Area (312): Piasa
Request # 955   For Policy # 10CA43349E     issued to the                                         Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Bird 1930-1991 (112)

                                                            Greater St. Louis Area (312): Saint
Request # 956   For Policy # 10 HUA 43300   issued to the                                         Local Council and effective 5/1/1971   to 5/1/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Louis 1911-1995 (312)

                                                            Greater St. Louis Area (312): Saint
Request # 957   For Policy # 10CA43315      issued to the                                         Local Council and effective 9/21/1971 to 1/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Louis 1911-1995 (312)

                                                            Greater St. Louis Area (312): Saint
Request # 958   For Policy # 10HUA43302     issued to the                                         Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Louis 1911-1995 (312)

                                                            Greater St. Louis Area (312): Saint
Request # 959   For Policy # 10CA43303      issued to the                                         Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Louis 1911-1995 (312)

                                                            Greater St. Louis Area (312): Saint
Request # 960   For Policy # 10CA43303      issued to the                                         Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Louis 1911-1995 (312)

                                                            Greater St. Louis Area (312): Saint
Request # 961   For Policy # 10HUA43302     issued to the                                         Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Louis 1911-1995 (312)

                                                            Greater St. Louis Area (312): Saint
Request # 962   For Policy # 10CA43329      issued to the                                         Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Louis 1911-1995 (312)

                                                            Greater St. Louis Area (312): Saint
Request # 963   For Policy # 10HUA43331     issued to the                                         Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Louis 1911-1995 (312)

                                                            Greater St. Louis Area (312): Saint
Request # 964   For Policy # 10CA43342E     issued to the                                         Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Louis 1911-1995 (312)

                                                            Greater St. Louis Area (312): Saint
Request # 965   For Policy # 10CA43349E     issued to the                                         Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Louis 1911-1995 (312)
                                                          Greater St. Louis Area (312):
Request # 966   For Policy # 10CA43303      issued to the Southeast Missouri 1930-1993            Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (305)
                                                          Greater St. Louis Area (312):
Request # 967   For Policy # 10HUA43302     issued to the Southeast Missouri 1930-1993            Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (305)
                                                          Greater St. Louis Area (312):
Request # 968   For Policy # 10CA43329      issued to the Southeast Missouri 1930-1993            Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (305)


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                                                        Greater St. Louis Area (312):
Request # 969   For Policy # 10HUA43331   issued to the Southeast Missouri 1930-1993        Local Council and effective 1/1/1974    to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        (305)
                                                        Greater St. Louis Area (312):
Request # 970   For Policy # 10CA43342E   issued to the Southeast Missouri 1930-1993        Local Council and effective 1/1/1975    to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        (305)
                                                        Greater St. Louis Area (312):
Request # 971   For Policy # 10CA43349E   issued to the Southeast Missouri 1930-1993        Local Council and effective 1/1/1976    to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        (305)
                                                          Greater Tampa Bay Area (089): Gulf
Request # 972   For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Ridge -2016 (086)

                                                          Greater Tampa Bay Area (089): Gulf
Request # 973   For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Ridge -2016 (086)

                                                          Greater Tampa Bay Area (089): Gulf
Request # 974   For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Ridge -2016 (086)

                                                          Greater Tampa Bay Area (089): Gulf
Request # 975   For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Ridge -2016 (086)

                                                          Greater Tampa Bay Area (089): Gulf
Request # 976   For Policy # 10CA43329    issued to the                                      Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Ridge -2016 (086)

                                                          Greater Tampa Bay Area (089): Gulf
Request # 977   For Policy # 10HUA43331   issued to the                                      Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Ridge -2016 (086)

                                                          Greater Tampa Bay Area (089): Gulf
Request # 978   For Policy # 10CA43342E   issued to the                                      Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Ridge -2016 (086)

                                                          Greater Tampa Bay Area (089): Gulf
Request # 979   For Policy # 10CA43349E   issued to the                                      Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Ridge -2016 (086)

                                                          Greater Tampa Bay Area (089):
Request # 980   For Policy # 10CA43303    issued to the                                     Local Council and effective 1/1/1972    to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Pinellas 1930-1970 (089)

                                                          Greater Tampa Bay Area (089):
Request # 981   For Policy # 10HUA43302   issued to the                                     Local Council and effective 1/1/1972    to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Pinellas 1930-1970 (089)

                                                          Greater Tampa Bay Area (089):
Request # 982   For Policy # 10HUA43302   issued to the                                     Local Council and effective 1/1/1973    to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Pinellas 1930-1970 (089)

                                                          Greater Tampa Bay Area (089):
Request # 983   For Policy # 10CA43303    issued to the                                     Local Council and effective 1/1/1973    to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Pinellas 1930-1970 (089)

                                                          Greater Tampa Bay Area (089):
Request # 984   For Policy # 10CA43329    issued to the                                     Local Council and effective 1/1/1974    to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Pinellas 1930-1970 (089)

                                                          Greater Tampa Bay Area (089):
Request # 985   For Policy # 10HUA43331   issued to the                                     Local Council and effective 1/1/1974    to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Pinellas 1930-1970 (089)



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                                                             Greater Tampa Bay Area (089):
Request # 986   For Policy # 10CA43342E      issued to the                                      Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             Pinellas Area 1970-1978 (089)

                                                             Greater Tampa Bay Area (089):
Request # 987   For Policy # 21 CBP 158051   issued to the                                      Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             Pinellas Area 1970-1978 (089)

                                                             Greater Tampa Bay Area (089):
Request # 988   For Policy # 21 CBP 158051   issued to the                                      Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             Pinellas Area 1970-1978 (089)

                                                             Greater Tampa Bay Area (089):
Request # 989   For Policy # 10CA43349E      issued to the                                      Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             Pinellas Area 1970-1978 (089)

                                                             Greater Wyoming (638): Central
Request # 990   For Policy # 10HUA43302      issued to the                                      Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             Wyoming 1918-2016 (638)

                                                             Greater Wyoming (638): Central
Request # 991   For Policy # 10CA43303       issued to the                                      Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             Wyoming 1918-2016 (638)

                                                             Greater Wyoming (638): Central
Request # 992   For Policy # 10HUA43302      issued to the                                      Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             Wyoming 1918-2016 (638)

                                                             Greater Wyoming (638): Central
Request # 993   For Policy # 10CA43303       issued to the                                      Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             Wyoming 1918-2016 (638)

                                                             Greater Wyoming (638): Central
Request # 994   For Policy # 10CA43342E      issued to the                                      Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             Wyoming 1918-2016 (638)

                                                             Greater Wyoming (638): Central
Request # 995   For Policy # 10CA43349E      issued to the                                      Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             Wyoming 1918-2016 (638)

                                                             Greater Wyoming (638): Greater
Request # 996   For Policy # 10HUA43302      issued to the                                      Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             Wyoming 2016- (638)

                                                             Greater Yosemite (059): Forty-
Request # 997   For Policy # 10CA43342E      issued to the                                      Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             Niner 1957-1997 (052)

                                                             Greater Yosemite (059): Forty-
Request # 998   For Policy # 10CA43349E      issued to the                                      Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             Niner 1957-1997 (052)

                                                             Greater Yosemite (059): Yosemite
Request # 999   For Policy # 10CA43303       issued to the                                      Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             Area 1922-1998 (059)

                                                             Greater Yosemite (059): Yosemite
Request # 1000 For Policy # 10HUA43302       issued to the                                      Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             Area 1922-1998 (059)

                                                             Greater Yosemite (059): Yosemite
Request # 1001 For Policy # 10HUA43302       issued to the                                      Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             Area 1922-1998 (059)

                                                             Greater Yosemite (059): Yosemite
Request # 1002 For Policy # 10CA43303        issued to the                                      Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                             Area 1922-1998 (059)



                                                                                                                       61
                                                            Greater Yosemite (059): Yosemite
Request # 1003 For Policy # 10CA43329       issued to the                                      Local Council and effective 1/1/1974   to 1/1/1975     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Area 1922-1998 (059)

                                                            Greater Yosemite (059): Yosemite
Request # 1004 For Policy # 10HUA43331      issued to the                                      Local Council and effective 1/1/1974   to 1/1/1975     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Area 1922-1998 (059)

                                                            Greater Yosemite (059): Yosemite
Request # 1005 For Policy # 10CA43342E      issued to the                                      Local Council and effective 1/1/1975   to 1/1/1976     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Area 1922-1998 (059)

                                                            Greater Yosemite (059): Yosemite
Request # 1006 For Policy # 10CA43349E      issued to the                                      Local Council and effective 1/1/1976   to 1/1/1977     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Area 1922-1998 (059)

                                                            Green Mountain (592): Green
Request # 1007 For Policy # SMC 70 89 26    issued to the                                      Local Council and effective 5/2/1957   to 5/2/1958     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Mountain 1929-1965 (593)

                                                            Green Mountain (592): Green
Request # 1008 For Policy # SOLT 73 72 50   issued to the                                      Local Council and effective 5/28/1957 to 5/28/1958 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Mountain 1929-1965 (593)

                                                            Green Mountain (592): Green
Request # 1009 For Policy # SMC 800871      issued to the                                      Local Council and effective 5/2/1958   to 5/2/1959     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Mountain 1929-1965 (593)

                                                            Green Mountain (592): Green
Request # 1010 For Policy # SOLT 803705     issued to the                                      Local Council and effective 5/28/1958 to 5/28/1959 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Mountain 1929-1965 (593)

                                                            Green Mountain (592): Green
Request # 1011 For Policy # 10CA43342E      issued to the                                      Local Council and effective 1/1/1975   to 1/1/1976     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Mountain 1972- (592)

                                                            Green Mountain (592): Green
Request # 1012 For Policy # 10CA43349E      issued to the                                      Local Council and effective 1/1/1976   to 1/1/1977     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Mountain 1972- (592)

Request # 1013 For Policy # 10CA43303       issued to the Greenwich (067): Greenwich (067) Local Council and effective 1/1/1972       to 1/1/1973     admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1014 For Policy # 10HUA43302      issued to the Greenwich (067): Greenwich (067) Local Council and effective 1/1/1972       to 1/1/1973     admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1015 For Policy # 10CA43303       issued to the Greenwich (067): Greenwich (067) Local Council and effective 1/1/1973       to 1/1/1974     admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1016 For Policy # 10HUA43302      issued to the Greenwich (067): Greenwich (067) Local Council and effective 1/1/1973       to 1/1/1974     admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1017 For Policy # 10CA43329       issued to the Greenwich (067): Greenwich (067) Local Council and effective 1/1/1974       to 1/1/1975     admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1018 For Policy # 10HUA43331      issued to the Greenwich (067): Greenwich (067) Local Council and effective 1/1/1974       to 1/1/1975     admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1019 For Policy # 10CA43342E      issued to the Greenwich (067): Greenwich (067) Local Council and effective 1/1/1975       to 1/1/1976     admit that Abuse Claims against insureds and co-insureds are covered under the policy.



                                                                                                                      62
Request # 1020 For Policy # 10CA43349E     issued to the Greenwich (067): Greenwich (067) Local Council and effective 1/1/1976       to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1021 For Policy # 10HUA43302     issued to the Gulf Coast (773): Gulf Coast (773)   Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1022 For Policy # 10CA43303      issued to the Gulf Coast (773): Gulf Coast (773)   Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1023 For Policy # 10CA43303      issued to the Gulf Coast (773): Gulf Coast (773)   Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1024 For Policy # 10HUA43302     issued to the Gulf Coast (773): Gulf Coast (773)   Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1025 For Policy # 10CA43329      issued to the Gulf Coast (773): Gulf Coast (773)   Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1026 For Policy # 10HUA43331     issued to the Gulf Coast (773): Gulf Coast (773)   Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1027 For Policy # 10CA43342E     issued to the Gulf Coast (773): Gulf Coast (773)   Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1028 For Policy # 10CA43349E     issued to the Gulf Coast (773): Gulf Coast (773)   Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.

                                                           Gulf Stream (085): Gulf Stream
Request # 1029 For Policy # 10CA43342E     issued to the                                      Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1937-1995 (085)

                                                           Gulf Stream (085): Gulf Stream
Request # 1030 For Policy # 10CA43349E     issued to the                                      Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1937-1995 (085)

                                                           Gulf Stream (085): Gulf Stream
Request # 1031 For Policy # 10 HUA 43300   issued to the                                      Local Council and effective 5/1/1971   to 5/1/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1995- (085)

                                                           Gulf Stream (085): Gulf Stream
Request # 1032 For Policy # 10CA43315      issued to the                                      Local Council and effective 9/21/1971 to 1/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1995- (085)

                                                           Gulf Stream (085): Gulf Stream
Request # 1033 For Policy # 10CA43303      issued to the                                      Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1995- (085)

                                                           Gulf Stream (085): Gulf Stream
Request # 1034 For Policy # 10HUA43302     issued to the                                      Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1995- (085)

                                                           Gulf Stream (085): Gulf Stream
Request # 1035 For Policy # 10HUA43302     issued to the                                      Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1995- (085)

                                                           Gulf Stream (085): Gulf Stream
Request # 1036 For Policy # 10CA43303      issued to the                                      Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1995- (085)



                                                                                                                     63
                                                            Gulf Stream (085): Gulf Stream
Request # 1037 For Policy # 10CA43329       issued to the                                      Local Council and effective 1/1/1974   to 1/1/1975     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1995- (085)

                                                            Gulf Stream (085): Gulf Stream
Request # 1038 For Policy # 10HUA43331      issued to the                                      Local Council and effective 1/1/1974   to 1/1/1975     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1995- (085)

                                                            Hawk Mountain (528): Hawk
Request # 1039 For Policy # 39 CBP 109170   issued to the                                      Local Council and effective 10/29/1970 to 10/29/1971 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Mountain 1970- (528)

                                                            Hawk Mountain (528): Hawk
Request # 1040 For Policy # 39 CBP 109170   issued to the                                      Local Council and effective 10/29/1971 to 10/29/1972 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Mountain 1970- (528)

                                                            Hawk Mountain (528): Hawk
Request # 1041 For Policy # 39 CBP 109170   issued to the                                      Local Council and effective 10/29/1972 to 10/29/1973 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Mountain 1970- (528)

                                                            Hawk Mountain (528): Hawk
Request # 1042 For Policy # 39 CBP 161610   issued to the                                      Local Council and effective 10/29/1973 to 10/29/1974 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Mountain 1970- (528)

                                                            Hawk Mountain (528): Hawk
Request # 1043 For Policy # 39 CBP 161610   issued to the                                      Local Council and effective 10/29/1974 to 10/29/1975 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Mountain 1970- (528)

                                                            Hawk Mountain (528): Hawk
Request # 1044 For Policy # 10CA43342E      issued to the                                      Local Council and effective 1/1/1975   to 1/1/1976     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Mountain 1970- (528)

                                                            Hawk Mountain (528): Hawk
Request # 1045 For Policy # 39 CBP 161610   issued to the                                      Local Council and effective 10/29/1975 to 10/29/1976 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Mountain 1970- (528)

                                                            Hawk Mountain (528): Hawk
Request # 1046 For Policy # 10CA43349E      issued to the                                      Local Council and effective 1/1/1976   to 1/1/1977     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Mountain 1970- (528)

                                                            Hawk Mountain (528): Hawk
Request # 1047 For Policy # 44 CBP 448087   issued to the                                      Local Council and effective 10/29/1976 to 10/29/1977 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Mountain 1970- (528)

                                                            Hawk Mountain (528): Hawk
Request # 1048 For Policy # 44 CBP 448087   issued to the                                      Local Council and effective 10/29/1977 to 10/29/1978 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Mountain 1970- (528)

                                                            Hawk Mountain (528): Hawk
Request # 1049 For Policy # 44 CBP 448087   issued to the                                      Local Council and effective 10/29/1978 to 10/29/1979 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Mountain 1970- (528)

                                                            Hawkeye Area (172): Hawkeye
Request # 1050 For Policy # 10CA43342E      issued to the                                      Local Council and effective 1/1/1975   to 1/1/1976     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Area 1952- (172)

                                                            Hawkeye Area (172): Hawkeye
Request # 1051 For Policy # 10CA43349E      issued to the                                      Local Council and effective 1/1/1976   to 1/1/1977     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Area 1952- (172)

                                                            Heart of America (307): Heart of
Request # 1052 For Policy # 10CA43342E      issued to the                                      Local Council and effective 1/1/1975   to 1/1/1976     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            America 1974- (307)

                                                            Heart of America (307): Heart of
Request # 1053 For Policy # 10CA43349E      issued to the                                      Local Council and effective 1/1/1976   to 1/1/1977     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            America 1974- (307)



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                                                         Heart of America (307): Kansas City
Request # 1054 For Policy # 10HUA43302   issued to the                                       Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area 1925-1974 (309)

                                                         Heart of America (307): Kansas City
Request # 1055 For Policy # 10CA43303    issued to the                                       Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area 1925-1974 (309)

                                                         Heart of America (307): Kansas City
Request # 1056 For Policy # 10CA43303    issued to the                                       Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area 1925-1974 (309)

                                                         Heart of America (307): Kansas City
Request # 1057 For Policy # 10HUA43302   issued to the                                       Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area 1925-1974 (309)

                                                         Heart of America (307): Kansas City
Request # 1058 For Policy # 10CA43329    issued to the                                       Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area 1925-1974 (309)

                                                         Heart of America (307): Kansas City
Request # 1059 For Policy # 10HUA43331   issued to the                                       Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area 1925-1974 (309)

                                                         Heart of New England (230):
Request # 1060 For Policy # 10CA43342E   issued to the                                      Local Council and effective 1/1/1975    to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Mohegan 1955-2018 (254)

                                                         Heart of New England (230):
Request # 1061 For Policy # 10CA43349E   issued to the                                      Local Council and effective 1/1/1976    to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Mohegan 1955-2018 (254)

                                                         Heart of New England (230):
Request # 1062 For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1973    to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Monadnock 1924-1993 (232)

                                                         Heart of New England (230):
Request # 1063 For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1973    to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Monadnock 1924-1993 (232)

                                                         Heart of New England (230):
Request # 1064 For Policy # 10CA43329    issued to the                                      Local Council and effective 1/1/1974    to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Monadnock 1924-1993 (232)

                                                         Heart of New England (230):
Request # 1065 For Policy # 10HUA43331   issued to the                                      Local Council and effective 1/1/1974    to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Monadnock 1924-1993 (232)

                                                         Heart of New England (230):
Request # 1066 For Policy # 10CA43342E   issued to the                                      Local Council and effective 1/1/1975    to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Monadnock 1924-1993 (232)

                                                         Heart of New England (230):
Request # 1067 For Policy # 10CA43349E   issued to the                                      Local Council and effective 1/1/1976    to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Monadnock 1924-1993 (232)

                                                         Heart of New England (230):
Request # 1068 For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1972    to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Nashua Valley -2018 (230)

                                                         Heart of New England (230):
Request # 1069 For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1972    to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Nashua Valley -2018 (230)

                                                         Heart of New England (230):
Request # 1070 For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1973    to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Nashua Valley -2018 (230)



                                                                                                                    65
                                                            Heart of New England (230):
Request # 1071 For Policy # 10CA43303       issued to the                                        Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Nashua Valley -2018 (230)

                                                            Heart of New England (230):
Request # 1072 For Policy # 10CA43329       issued to the                                        Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Nashua Valley -2018 (230)

                                                            Heart of New England (230):
Request # 1073 For Policy # 10HUA43331      issued to the                                        Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Nashua Valley -2018 (230)

                                                            Heart of New England (230):
Request # 1074 For Policy # 10CA43342E      issued to the                                        Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Nashua Valley -2018 (230)

                                                            Heart of New England (230):
Request # 1075 For Policy # 10CA43349E      issued to the                                        Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Nashua Valley -2018 (230)

                                                            Heart of Virginia (602): Heart of
Request # 1076 For Policy # 10CA43342E      issued to the                                        Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Virginia (602)

                                                            Heart of Virginia (602): Heart of
Request # 1077 For Policy # 10CA43349E      issued to the                                        Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Virginia (602)

                                                            Heart of Virginia (602): Robert E.
Request # 1078 For Policy # 14 UUC CZ6576   issued to the                                        Local Council and effective 6/9/1998   to 6/9/1999   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Lee 1953-2003 (602)

                                                            Heart of Virginia (602): Robert E.
Request # 1079 For Policy # 14 UUC CZ6576   issued to the                                        Local Council and effective 6/9/1999   to 6/9/2000   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Lee 1953-2003 (602)

                                                            Heart of Virginia (602): Robert E.
Request # 1080 For Policy # 14 UUC CZ6576   issued to the                                        Local Council and effective 6/9/2000   to 6/9/2001   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Lee 1953-2003 (602)

                                                            Heart of Virginia (602): Robert E.
Request # 1081 For Policy # 14 UUC CZ6576   issued to the                                        Local Council and effective 6/9/2001   to 6/9/2002   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Lee 1953-2003 (602)

                                                            Hoosier Trails (145): Hoosier Trails
Request # 1082 For Policy # 736 CBP 109458 issued to the                                         Local Council and effective 4/1/1973   to 4/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1973- (145)

                                                            Hoosier Trails (145): Hoosier Trails
Request # 1083 For Policy # 736 CBP 109458 issued to the                                         Local Council and effective 4/1/1974   to 4/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1973- (145)

                                                            Hoosier Trails (145): Hoosier Trails
Request # 1084 For Policy # 10CA43342E      issued to the                                        Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1973- (145)

                                                            Hoosier Trails (145): Hoosier Trails
Request # 1085 For Policy # 736 CBP 109458 issued to the                                         Local Council and effective 4/1/1975   to 4/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1973- (145)

                                                            Hoosier Trails (145): Hoosier Trails
Request # 1086 For Policy # 10CA43349E      issued to the                                        Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1973- (145)

                                                            Hoosier Trails (145): Hoosier Trails
Request # 1087 For Policy # 36 CBP 185443   issued to the                                        Local Council and effective 4/1/1976   to 4/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1973- (145)



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                                                            Hoosier Trails (145): Hoosier Trails
Request # 1088 For Policy # 36 CBP 185443   issued to the                                        Local Council and effective 4/1/1977   to 4/1/1978   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1973- (145)

                                                            Hoosier Trails (145): Hoosier Trails
Request # 1089 For Policy # 36 CBP 185443   issued to the                                        Local Council and effective 4/1/1978   to 4/1/1979   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1973- (145)

Request # 1090 For Policy # 10CA43303       issued to the Housatonic (069): Housatonic (069) Local Council and effective 1/1/1972       to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1091 For Policy # 10HUA43302      issued to the Housatonic (069): Housatonic (069) Local Council and effective 1/1/1972       to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1092 For Policy # 10HUA43302      issued to the Housatonic (069): Housatonic (069) Local Council and effective 1/1/1973       to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1093 For Policy # 10CA43303       issued to the Housatonic (069): Housatonic (069) Local Council and effective 1/1/1973       to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1094 For Policy # 10CA43329       issued to the Housatonic (069): Housatonic (069) Local Council and effective 1/1/1974       to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1095 For Policy # 10HUA43331      issued to the Housatonic (069): Housatonic (069) Local Council and effective 1/1/1974       to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1096 For Policy # 10CA43342E      issued to the Housatonic (069): Housatonic (069) Local Council and effective 1/1/1975       to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1097 For Policy # 10CA43349E      issued to the Housatonic (069): Housatonic (069) Local Council and effective 1/1/1976       to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.

                                                            Hudson Valley (374): Dutchess
Request # 1098 For Policy # 10CA43342E      issued to the                                      Local Council and effective 1/1/1975     to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            County 1919-1996 (374)

                                                            Hudson Valley (374): Dutchess
Request # 1099 For Policy # 10CA43349E      issued to the                                      Local Council and effective 1/1/1976     to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            County 1919-1996 (374)

                                                            Hudson Valley (374): Hudson-
Request # 1100 For Policy # 10CA43342E      issued to the                                      Local Council and effective 1/1/1975     to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Delaware 1958-1996 (392)

                                                            Hudson Valley (374): Hudson-
Request # 1101 For Policy # 10CA43349E      issued to the                                      Local Council and effective 1/1/1976     to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Delaware 1958-1996 (392)

                                                            Hudson Valley (374): Rockland
Request # 1102 For Policy # 10CA43303       issued to the                                      Local Council and effective 1/1/1972     to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            County 1924-1996 (683)

                                                            Hudson Valley (374): Rockland
Request # 1103 For Policy # 10HUA43302      issued to the                                      Local Council and effective 1/1/1972     to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            County 1924-1996 (683)

                                                            Hudson Valley (374): Rockland
Request # 1104 For Policy # 10CA43303       issued to the                                      Local Council and effective 1/1/1973     to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            County 1924-1996 (683)



                                                                                                                       67
                                                         Hudson Valley (374): Rockland
Request # 1105 For Policy # 10HUA43302   issued to the                                     Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         County 1924-1996 (683)

                                                         Hudson Valley (374): Rockland
Request # 1106 For Policy # 10CA43329    issued to the                                     Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         County 1924-1996 (683)

                                                         Hudson Valley (374): Rockland
Request # 1107 For Policy # 10HUA43331   issued to the                                     Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         County 1924-1996 (683)

                                                         Hudson Valley (374): Rockland
Request # 1108 For Policy # 10CA43342E   issued to the                                     Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         County 1924-1996 (683)

                                                         Hudson Valley (374): Rockland
Request # 1109 For Policy # 10CA43349E   issued to the                                     Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         County 1924-1996 (683)

Request # 1110 For Policy # 10CA43342E   issued to the Illowa (133): Illowa 1967- (133)    Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1111 For Policy # 10CA43349E   issued to the Illowa (133): Illowa 1967- (133)    Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.

                                                         Illowa (133): Prairie 1941-1993
Request # 1112 For Policy # 10CA43303    issued to the                                     Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (125)

                                                         Illowa (133): Prairie 1941-1993
Request # 1113 For Policy # 10HUA43302   issued to the                                     Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (125)

                                                         Illowa (133): Prairie 1941-1993
Request # 1114 For Policy # 10HUA43302   issued to the                                     Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (125)

                                                         Illowa (133): Prairie 1941-1993
Request # 1115 For Policy # 10CA43303    issued to the                                     Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (125)

                                                         Illowa (133): Prairie 1941-1993
Request # 1116 For Policy # 10CA43329    issued to the                                     Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (125)

                                                         Illowa (133): Prairie 1941-1993
Request # 1117 For Policy # 10HUA43331   issued to the                                     Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (125)

                                                         Illowa (133): Prairie 1941-1993
Request # 1118 For Policy # 10CA43342E   issued to the                                     Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (125)

                                                         Illowa (133): Prairie 1941-1993
Request # 1119 For Policy # 10CA43349E   issued to the                                     Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (125)

                                                         Indian Nations (488): Eastern
Request # 1120 For Policy # 10CA43303    issued to the                                     Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Oklahoma Area 1949-1983 (478)

                                                         Indian Nations (488): Eastern
Request # 1121 For Policy # 10HUA43302   issued to the                                     Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Oklahoma Area 1949-1983 (478)



                                                                                                                  68
                                                         Indian Nations (488): Eastern
Request # 1122 For Policy # 10CA43329    issued to the                                     Local Council and effective 1/1/1974    to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Oklahoma Area 1949-1983 (478)

                                                         Indian Nations (488): Eastern
Request # 1123 For Policy # 10HUA43331   issued to the                                     Local Council and effective 1/1/1974    to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Oklahoma Area 1949-1983 (478)

                                                         Indian Nations (488): Eastern
Request # 1124 For Policy # 10CA43342E   issued to the                                     Local Council and effective 1/1/1975    to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Oklahoma Area 1949-1983 (478)

                                                         Indian Nations (488): Eastern
Request # 1125 For Policy # 10CA43349E   issued to the                                     Local Council and effective 1/1/1976    to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Oklahoma Area 1949-1983 (478)

                                                         Indian Nations (488): Indian
Request # 1126 For Policy # 10CA43342E   issued to the                                     Local Council and effective 1/1/1975    to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Nations 1957- (488)

                                                         Indian Nations (488): Indian
Request # 1127 For Policy # 10CA43349E   issued to the                                     Local Council and effective 1/1/1976    to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Nations 1957- (488)

                                                         Indian Waters (553): Central South
Request # 1128 For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Carolina 1929-1978 (553)

                                                         Indian Waters (553): Central South
Request # 1129 For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Carolina 1929-1978 (553)

                                                         Indian Waters (553): Central South
Request # 1130 For Policy # 10CA43329    issued to the                                      Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Carolina 1929-1978 (553)

                                                         Indian Waters (553): Central South
Request # 1131 For Policy # 10HUA43331   issued to the                                      Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Carolina 1929-1978 (553)

                                                         Indian Waters (553): Central South
Request # 1132 For Policy # 10CA43342E   issued to the                                      Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Carolina 1929-1978 (553)

                                                         Indian Waters (553): Central South
Request # 1133 For Policy # 10CA43349E   issued to the                                      Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Carolina 1929-1978 (553)

                                                         Inland Northwest (611): Idaho
Request # 1134 For Policy # 10CA43303    issued to the                                     Local Council and effective 1/1/1972    to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Panhandle 1928-1992 (110)

                                                         Inland Northwest (611): Idaho
Request # 1135 For Policy # 10HUA43302   issued to the                                     Local Council and effective 1/1/1972    to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Panhandle 1928-1992 (110)

                                                         Inland Northwest (611): Idaho
Request # 1136 For Policy # 10CA43303    issued to the                                     Local Council and effective 1/1/1973    to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Panhandle 1928-1992 (110)

                                                         Inland Northwest (611): Idaho
Request # 1137 For Policy # 10HUA43302   issued to the                                     Local Council and effective 1/1/1973    to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Panhandle 1928-1992 (110)

                                                         Inland Northwest (611): Idaho
Request # 1138 For Policy # 10CA43329    issued to the                                     Local Council and effective 1/1/1974    to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Panhandle 1928-1992 (110)



                                                                                                                   69
                                                           Inland Northwest (611): Idaho
Request # 1139 For Policy # 10HUA43331     issued to the                                          Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Panhandle 1928-1992 (110)

                                                           Inland Northwest (611): Idaho
Request # 1140 For Policy # 10CA43342E     issued to the                                          Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Panhandle 1928-1992 (110)

                                                           Inland Northwest (611): Idaho
Request # 1141 For Policy # 10CA43349E     issued to the                                          Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Panhandle 1928-1992 (110)

                                                           Inland Northwest (611): Inland
Request # 1142 For Policy # 10CA43342E     issued to the                                          Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Empire 1931-1987 (611)

                                                           Inland Northwest (611): Inland
Request # 1143 For Policy # 10CA43349E     issued to the                                          Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Empire 1931-1987 (611)

                                                           Inland Northwest (611): Lewis-
Request # 1144 For Policy # 10CA43342E     issued to the                                          Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Clark 1945-1992 (108)

                                                           Inland Northwest (611): Lewis-
Request # 1145 For Policy # 10CA43349E     issued to the                                          Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Clark 1945-1992 (108)

                                                           Iroquois Trail (376): Genesee 1925-
Request # 1146 For Policy # 10CA43342E     issued to the                                       Local Council and effective 1/1/1975      to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1994 (367)

                                                           Iroquois Trail (376): Genesee 1925-
Request # 1147 For Policy # 10CA43349E     issued to the                                       Local Council and effective 1/1/1976      to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1994 (367)

                                                           Iroquois Trail (376): Lewiston Trail
Request # 1148 For Policy # 10HUA43302     issued to the                                          Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1937-1994 (385)

                                                           Iroquois Trail (376): Lewiston Trail
Request # 1149 For Policy # 10CA43303      issued to the                                          Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1937-1994 (385)

                                                           Iroquois Trail (376): Lewiston Trail
Request # 1150 For Policy # 10CA43329      issued to the                                          Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1937-1994 (385)

                                                           Iroquois Trail (376): Lewiston Trail
Request # 1151 For Policy # 10HUA43331     issued to the                                          Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1937-1994 (385)

                                                           Iroquois Trail (376): Lewiston Trail
Request # 1152 For Policy # 32 C 715130    issued to the                                          Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1937-1994 (385)

                                                           Iroquois Trail (376): Lewiston Trail
Request # 1153 For Policy # 10CA43342E     issued to the                                          Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1937-1994 (385)

                                                           Iroquois Trail (376): Lewiston Trail
Request # 1154 For Policy # 32 HU 360257   issued to the                                          Local Council and effective 3/10/1975 to 4/8/1975    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1937-1994 (385)

                                                           Iroquois Trail (376): Lewiston Trail
Request # 1155 For Policy # 32 HU 360257   issued to the                                          Local Council and effective 4/8/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1937-1994 (385)



                                                                                                                         70
                                                           Iroquois Trail (376): Lewiston Trail
Request # 1156 For Policy # 10CA43349E     issued to the                                          Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1937-1994 (385)

                                                           Iroquois Trail (376): Lewiston Trail
Request # 1157 For Policy # 32C719701      issued to the                                          Local Council and effective 1/1/1977   to 1/1/1978   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1937-1994 (385)

                                                           Istrouma Area (211): Istrouma Area
Request # 1158 For Policy # 10CA43303      issued to the                                      Local Council and effective 1/1/1972       to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (211)

                                                           Istrouma Area (211): Istrouma Area
Request # 1159 For Policy # 10HUA43302     issued to the                                      Local Council and effective 1/1/1972       to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (211)

                                                           Istrouma Area (211): Istrouma Area
Request # 1160 For Policy # 10HUA43302     issued to the                                      Local Council and effective 1/1/1973       to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (211)

                                                           Istrouma Area (211): Istrouma Area
Request # 1161 For Policy # 10CA43303      issued to the                                      Local Council and effective 1/1/1973       to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (211)

                                                           Istrouma Area (211): Istrouma Area
Request # 1162 For Policy # 10HUA43331     issued to the                                      Local Council and effective 1/1/1974       to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (211)

                                                           Istrouma Area (211): Istrouma Area
Request # 1163 For Policy # 10CA43329      issued to the                                      Local Council and effective 1/1/1974       to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (211)

                                                           Istrouma Area (211): Istrouma Area
Request # 1164 For Policy # 10CA43342E     issued to the                                      Local Council and effective 1/1/1975       to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (211)

                                                           Istrouma Area (211): Istrouma Area
Request # 1165 For Policy # 10CA43349E     issued to the                                      Local Council and effective 1/1/1976       to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (211)

                                                           Jayhawk Area (197): Jayhawk Area
Request # 1166 For Policy # 10 HUA 43300   issued to the                                    Local Council and effective 5/1/1971         to 5/1/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (197)

                                                           Jayhawk Area (197): Jayhawk Area
Request # 1167 For Policy # 10CA43315      issued to the                                    Local Council and effective 9/21/1971 to 1/1/1972          admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (197)

                                                           Jayhawk Area (197): Jayhawk Area
Request # 1168 For Policy # 10CA43342E     issued to the                                    Local Council and effective 1/1/1975         to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (197)

                                                           Jayhawk Area (197): Jayhawk Area
Request # 1169 For Policy # 10CA43349E     issued to the                                    Local Council and effective 1/1/1976         to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (197)

                                                           Jersey Shore (341): Atlantic Area
Request # 1170 For Policy # 10CA43303      issued to the                                          Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1926-1992 (331)

                                                           Jersey Shore (341): Atlantic Area
Request # 1171 For Policy # 10HUA43302     issued to the                                          Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1926-1992 (331)

                                                           Jersey Shore (341): Atlantic Area
Request # 1172 For Policy # 10HUA43302     issued to the                                          Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1926-1992 (331)



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                                                           Jersey Shore (341): Atlantic Area
Request # 1173 For Policy # 10CA43303      issued to the                                       Local Council and effective 1/1/1973    to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1926-1992 (331)

                                                           Jersey Shore (341): Atlantic Area
Request # 1174 For Policy # 10CA43329      issued to the                                       Local Council and effective 1/1/1974    to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1926-1992 (331)

                                                           Jersey Shore (341): Atlantic Area
Request # 1175 For Policy # 10HUA43331     issued to the                                       Local Council and effective 1/1/1974    to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1926-1992 (331)

                                                           Jersey Shore (341): Atlantic Area
Request # 1176 For Policy # 10CA43342E     issued to the                                       Local Council and effective 1/1/1975    to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1926-1992 (331)

                                                           Jersey Shore (341): Atlantic Area
Request # 1177 For Policy # 10CA43349E     issued to the                                       Local Council and effective 1/1/1976    to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1926-1992 (331)

                                                           Jersey Shore (341): Ocean County
Request # 1178 For Policy # 10HUA43302     issued to the                                       Local Council and effective 1/1/1972    to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1940-1993 (341)

                                                           Jersey Shore (341): Ocean County
Request # 1179 For Policy # 10CA43303      issued to the                                       Local Council and effective 1/1/1972    to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1940-1993 (341)

                                                           Jersey Shore (341): Ocean County
Request # 1180 For Policy # 10CA43303      issued to the                                       Local Council and effective 1/1/1973    to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1940-1993 (341)

                                                           Jersey Shore (341): Ocean County
Request # 1181 For Policy # 10HUA43302     issued to the                                       Local Council and effective 1/1/1973    to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1940-1993 (341)

                                                           Jersey Shore (341): Ocean County
Request # 1182 For Policy # 10HUA43331     issued to the                                       Local Council and effective 1/1/1974    to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1940-1993 (341)

                                                           Jersey Shore (341): Ocean County
Request # 1183 For Policy # 10CA43329      issued to the                                       Local Council and effective 1/1/1974    to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1940-1993 (341)

                                                           Jersey Shore (341): Ocean County
Request # 1184 For Policy # 10CA43342E     issued to the                                       Local Council and effective 1/1/1975    to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1940-1993 (341)

                                                           Jersey Shore (341): Ocean County
Request # 1185 For Policy # 10CA43349E     issued to the                                       Local Council and effective 1/1/1976    to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1940-1993 (341)

                                                           Juniata Valley (497): Juniata Valley
Request # 1186 For Policy # 10CA43342E     issued to the                                        Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (497)

                                                           Juniata Valley (497): Juniata Valley
Request # 1187 For Policy # 10CA43349E     issued to the                                        Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (497)

                                                           Katahdin Area (216): Katahdin Area
Request # 1188 For Policy # 10 HUA 43300   issued to the                                      Local Council and effective 5/1/1971     to 5/1/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1929-1996 (216)

                                                           Katahdin Area (216): Katahdin Area
Request # 1189 For Policy # 10CA43315      issued to the                                      Local Council and effective 9/21/1971 to 1/1/1972      admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1929-1996 (216)



                                                                                                                      72
                                                         Katahdin Area (216): Katahdin Area
Request # 1190 For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1972    to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1929-1996 (216)

                                                         Katahdin Area (216): Katahdin Area
Request # 1191 For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1972    to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1929-1996 (216)

                                                         Katahdin Area (216): Katahdin Area
Request # 1192 For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1973    to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1929-1996 (216)

                                                         Katahdin Area (216): Katahdin Area
Request # 1193 For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1973    to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1929-1996 (216)

                                                         Katahdin Area (216): Katahdin Area
Request # 1194 For Policy # 10HUA43331   issued to the                                      Local Council and effective 1/1/1974    to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1929-1996 (216)

                                                         Katahdin Area (216): Katahdin Area
Request # 1195 For Policy # 10CA43329    issued to the                                      Local Council and effective 1/1/1974    to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1929-1996 (216)

                                                         Katahdin Area (216): Katahdin Area
Request # 1196 For Policy # 10CA43342E   issued to the                                      Local Council and effective 1/1/1975    to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1929-1996 (216)

                                                         Katahdin Area (216): Katahdin Area
Request # 1197 For Policy # 10CA43349E   issued to the                                      Local Council and effective 1/1/1976    to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1929-1996 (216)

                                                         La Salle (165): Northern Indiana
Request # 1198 For Policy # 10CA43342E   issued to the                                      Local Council and effective 1/1/1975    to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1973-1991 (165)

                                                         La Salle (165): Northern Indiana
Request # 1199 For Policy # 10CA43349E   issued to the                                      Local Council and effective 1/1/1976    to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1973-1991 (165)

                                                         La Salle (165): Pottawattomie 1926-
Request # 1200 For Policy # 10CA43303    issued to the                                       Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1972 (731)

                                                         La Salle (165): Pottawattomie 1926-
Request # 1201 For Policy # 10HUA43302   issued to the                                       Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1972 (731)

                                                         Lake Erie (440): Firelands Area
Request # 1202 For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1972    to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1925-1994 (458)

                                                         Lake Erie (440): Firelands Area
Request # 1203 For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1972    to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1925-1994 (458)

                                                         Lake Erie (440): Firelands Area
Request # 1204 For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1973    to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1925-1994 (458)

                                                         Lake Erie (440): Firelands Area
Request # 1205 For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1973    to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1925-1994 (458)

                                                         Lake Erie (440): Firelands Area
Request # 1206 For Policy # 10HUA43331   issued to the                                      Local Council and effective 1/1/1974    to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1925-1994 (458)



                                                                                                                    73
                                                         Lake Erie (440): Firelands Area
Request # 1207 For Policy # 10CA43329    issued to the                                      Local Council and effective 1/1/1974     to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1925-1994 (458)

                                                         Lake Erie (440): Firelands Area
Request # 1208 For Policy # 10CA43342E   issued to the                                      Local Council and effective 1/1/1975     to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1925-1994 (458)

                                                         Lake Erie (440): Firelands Area
Request # 1209 For Policy # 10CA43349E   issued to the                                      Local Council and effective 1/1/1976     to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1925-1994 (458)

                                                         Lake Erie (440): Greater Cleveland -
Request # 1210 For Policy # 10CA43342E   issued to the                                        Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         2017 (440)

                                                         Lake Erie (440): Greater Cleveland -
Request # 1211 For Policy # 10CA43349E   issued to the                                        Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         2017 (440)

                                                         Lake Erie (440): Harding Area 1926-
Request # 1212 For Policy # 10HUA43302   issued to the                                       Local Council and effective 1/1/1973    to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1994 (443)

                                                         Lake Erie (440): Harding Area 1926-
Request # 1213 For Policy # 10CA43303    issued to the                                       Local Council and effective 1/1/1973    to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1994 (443)

                                                         Lake Erie (440): Harding Area 1926-
Request # 1214 For Policy # 10HUA43331   issued to the                                       Local Council and effective 1/1/1974    to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1994 (443)

                                                         Lake Erie (440): Harding Area 1926-
Request # 1215 For Policy # 10CA43329    issued to the                                       Local Council and effective 1/1/1974    to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1994 (443)

                                                         Lake Erie (440): Harding Area 1926-
Request # 1216 For Policy # 10CA43342E   issued to the                                       Local Council and effective 1/1/1975    to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1994 (443)

                                                         Lake Erie (440): Harding Area 1926-
Request # 1217 For Policy # 10CA43349E   issued to the                                       Local Council and effective 1/1/1976    to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1994 (443)

                                                         Lake Erie (440): Johnny Appleseed
Request # 1218 For Policy # 10HUA43302   issued to the                                     Local Council and effective 1/1/1972      to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area 1926-1994 (453)

                                                         Lake Erie (440): Johnny Appleseed
Request # 1219 For Policy # 10CA43303    issued to the                                     Local Council and effective 1/1/1972      to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area 1926-1994 (453)

                                                         Lake Erie (440): Johnny Appleseed
Request # 1220 For Policy # 10CA43303    issued to the                                     Local Council and effective 1/1/1973      to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area 1926-1994 (453)

                                                         Lake Erie (440): Johnny Appleseed
Request # 1221 For Policy # 10HUA43302   issued to the                                     Local Council and effective 1/1/1973      to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area 1926-1994 (453)

                                                         Lake Erie (440): Johnny Appleseed
Request # 1222 For Policy # 10HUA43331   issued to the                                     Local Council and effective 1/1/1974      to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area 1926-1994 (453)

                                                         Lake Erie (440): Johnny Appleseed
Request # 1223 For Policy # 10CA43329    issued to the                                     Local Council and effective 1/1/1974      to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area 1926-1994 (453)



                                                                                                                    74
                                                         Lake Erie (440): Johnny Appleseed
Request # 1224 For Policy # 10CA43342E   issued to the                                     Local Council and effective 1/1/1975     to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area 1926-1994 (453)

                                                         Lake Erie (440): Johnny Appleseed
Request # 1225 For Policy # 10CA43349E   issued to the                                     Local Council and effective 1/1/1976     to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area 1926-1994 (453)

                                                         Las Vegas Area (328): Boulder Dam
Request # 1226 For Policy # 10CA43342E   issued to the                                     Local Council and effective 1/1/1975     to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area 1944-2005 (328)

                                                         Las Vegas Area (328): Boulder Dam
Request # 1227 For Policy # 10CA43349E   issued to the                                     Local Council and effective 1/1/1976     to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area 1944-2005 (328)

                                                         Last Frontier (480): Black Beaver
Request # 1228 For Policy # 10CA43303    issued to the                                       Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1930-1996 (471)

                                                         Last Frontier (480): Black Beaver
Request # 1229 For Policy # 10HUA43302   issued to the                                       Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1930-1996 (471)

                                                         Last Frontier (480): Black Beaver
Request # 1230 For Policy # 10CA43342E   issued to the                                       Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1930-1996 (471)

                                                         Last Frontier (480): Black Beaver
Request # 1231 For Policy # 10CA43349E   issued to the                                       Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1930-1996 (471)

                                                         Laurel Highlands (527): Allegheny
Request # 1232 For Policy # 10CA43342E   issued to the                                       Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Trails 1967-1993 (527)

                                                         Laurel Highlands (527): Allegheny
Request # 1233 For Policy # 10CA43349E   issued to the                                       Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Trails 1967-1993 (527)

                                                         Laurel Highlands (527): East Valley
Request # 1234 For Policy # 10CA43342E   issued to the                                       Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area 1973-1993 (530)

                                                         Laurel Highlands (527): East Valley
Request # 1235 For Policy # 10CA43349E   issued to the                                       Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area 1973-1993 (530)

                                                         Laurel Highlands (527): Penn's
Request # 1236 For Policy # 10HUA43302   issued to the                                       Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Woods 1970-1992 (508)

                                                         Laurel Highlands (527): Penn's
Request # 1237 For Policy # 10CA43303    issued to the                                       Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Woods 1970-1992 (508)

                                                         Laurel Highlands (527): Penn's
Request # 1238 For Policy # 10CA43303    issued to the                                       Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Woods 1970-1992 (508)

                                                         Laurel Highlands (527): Penn's
Request # 1239 For Policy # 10HUA43302   issued to the                                       Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Woods 1970-1992 (508)

                                                         Laurel Highlands (527): Penn's
Request # 1240 For Policy # 10CA43329    issued to the                                       Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Woods 1970-1992 (508)



                                                                                                                    75
                                                            Laurel Highlands (527): Penn's
Request # 1241 For Policy # 10HUA43331      issued to the                                     Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Woods 1970-1992 (508)

                                                            Laurel Highlands (527): Penn's
Request # 1242 For Policy # 10CA43342E      issued to the                                     Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Woods 1970-1992 (508)

                                                            Laurel Highlands (527): Penn's
Request # 1243 For Policy # 10CA43349E      issued to the                                     Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Woods 1970-1992 (508)

                                                            Laurel Highlands (527): Penn's
Request # 1244 For Policy # 10CA43342E      issued to the                                     Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Woods 1970-2011 (508)

                                                            Laurel Highlands (527): Penn's
Request # 1245 For Policy # 10CA43349E      issued to the                                     Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Woods 1970-2011 (508)

                                                            Laurel Highlands (527): Potomac
Request # 1246 For Policy # 30 CBP 109015   issued to the                                     Local Council and effective 6/1/1972   to 6/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1938-2014 (757)

                                                            Laurel Highlands (527): Potomac
Request # 1247 For Policy # 30 CBP 109015   issued to the                                     Local Council and effective 6/1/1973   to 6/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1938-2014 (757)

                                                            Laurel Highlands (527): Potomac
Request # 1248 For Policy # 30 CBP 109015   issued to the                                     Local Council and effective 6/1/1974   to 6/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1938-2014 (757)

                                                            Laurel Highlands (527): Potomac
Request # 1249 For Policy # 10CA43342E      issued to the                                     Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1938-2014 (757)

                                                            Laurel Highlands (527): Potomac
Request # 1250 For Policy # 30 CBP 115715   issued to the                                     Local Council and effective 6/1/1975   to 6/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1938-2014 (757)

                                                            Laurel Highlands (527): Potomac
Request # 1251 For Policy # 10CA43349E      issued to the                                     Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1938-2014 (757)

                                                            Laurel Highlands (527): Potomac
Request # 1252 For Policy # 30 CBP 115715   issued to the                                     Local Council and effective 6/1/1976   to 6/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1938-2014 (757)

                                                            Laurel Highlands (527): Potomac
Request # 1253 For Policy # 30 CBP 115715   issued to the                                     Local Council and effective 6/1/1977   to 6/1/1978   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1938-2014 (757)

                                                            Leatherstocking (400): General
Request # 1254 For Policy # 10CA43303       issued to the                                     Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Herkimer -2001 (400)

                                                            Leatherstocking (400): General
Request # 1255 For Policy # 10HUA43302      issued to the                                     Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Herkimer -2001 (400)

                                                            Leatherstocking (400): General
Request # 1256 For Policy # 10CA43303       issued to the                                     Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Herkimer -2001 (400)

                                                            Leatherstocking (400): General
Request # 1257 For Policy # 10HUA43302      issued to the                                     Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Herkimer -2001 (400)



                                                                                                                     76
                                                         Leatherstocking (400): General
Request # 1258 For Policy # 10CA43329    issued to the                                     Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Herkimer -2001 (400)

                                                         Leatherstocking (400): General
Request # 1259 For Policy # 10HUA43331   issued to the                                     Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Herkimer -2001 (400)

                                                         Leatherstocking (400): General
Request # 1260 For Policy # 10CA43342E   issued to the                                     Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Herkimer -2001 (400)

                                                         Leatherstocking (400): General
Request # 1261 For Policy # 10CA43349E   issued to the                                     Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Herkimer -2001 (400)

                                                         Leatherstocking (400): Iroquois
Request # 1262 For Policy # 10CA43342E   issued to the                                     Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1969-1981 (395)

                                                         Leatherstocking (400): Iroquois
Request # 1263 For Policy # 10CA43349E   issued to the                                     Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1969-1981 (395)

                                                         Leatherstocking (400): Otschodela
Request # 1264 For Policy # 10CA43303    issued to the                                     Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1927-2016 (393)

                                                         Leatherstocking (400): Otschodela
Request # 1265 For Policy # 10HUA43302   issued to the                                     Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1927-2016 (393)

                                                         Leatherstocking (400): Otschodela
Request # 1266 For Policy # 10CA43329    issued to the                                     Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1927-2016 (393)

                                                         Leatherstocking (400): Otschodela
Request # 1267 For Policy # 10HUA43331   issued to the                                     Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1927-2016 (393)

                                                         Leatherstocking (400): Otschodela
Request # 1268 For Policy # 10CA43342E   issued to the                                     Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1927-2016 (393)

                                                         Leatherstocking (400): Otschodela
Request # 1269 For Policy # 10CA43349E   issued to the                                     Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1927-2016 (393)

                                                         Leatherstocking (400): Upper
Request # 1270 For Policy # 10CA43303    issued to the                                     Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Mohawk 1937-1981 (406)

                                                         Leatherstocking (400): Upper
Request # 1271 For Policy # 10HUA43302   issued to the                                     Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Mohawk 1937-1981 (406)

                                                         Leatherstocking (400): Upper
Request # 1272 For Policy # 10HUA43302   issued to the                                     Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Mohawk 1937-1981 (406)

                                                         Leatherstocking (400): Upper
Request # 1273 For Policy # 10CA43303    issued to the                                     Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Mohawk 1937-1981 (406)

                                                         Leatherstocking (400): Upper
Request # 1274 For Policy # 10CA43329    issued to the                                     Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Mohawk 1937-1981 (406)



                                                                                                                  77
                                                           Leatherstocking (400): Upper
Request # 1275 For Policy # 10HUA43331     issued to the                                      Local Council and effective 1/1/1974    to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Mohawk 1937-1981 (406)

                                                           Leatherstocking (400): Upper
Request # 1276 For Policy # 10CA43342E     issued to the                                      Local Council and effective 1/1/1975    to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Mohawk 1937-1981 (406)

                                                           Leatherstocking (400): Upper
Request # 1277 For Policy # 10CA43349E     issued to the                                      Local Council and effective 1/1/1976    to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Mohawk 1937-1981 (406)

                                                           Lincoln Heritage (205): Audubon
Request # 1278 For Policy # 10HUA43302     issued to the                                      Local Council and effective 1/1/1972    to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1952-1994 (200)

                                                           Lincoln Heritage (205): Audubon
Request # 1279 For Policy # 10CA43303      issued to the                                      Local Council and effective 1/1/1972    to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1952-1994 (200)

                                                           Lincoln Heritage (205): Audubon
Request # 1280 For Policy # 10CA43303      issued to the                                      Local Council and effective 1/1/1973    to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1952-1994 (200)

                                                           Lincoln Heritage (205): Audubon
Request # 1281 For Policy # 10HUA43302     issued to the                                      Local Council and effective 1/1/1973    to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1952-1994 (200)

                                                           Lincoln Heritage (205): Audubon
Request # 1282 For Policy # 10HUA43331     issued to the                                      Local Council and effective 1/1/1974    to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1952-1994 (200)

                                                           Lincoln Heritage (205): Audubon
Request # 1283 For Policy # 10CA43329      issued to the                                      Local Council and effective 1/1/1974    to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1952-1994 (200)

                                                           Lincoln Heritage (205): Audubon
Request # 1284 For Policy # 10CA43342E     issued to the                                      Local Council and effective 1/1/1975    to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1952-1994 (200)

                                                           Lincoln Heritage (205): Audubon
Request # 1285 For Policy # 10CA43349E     issued to the                                      Local Council and effective 1/1/1976    to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1952-1994 (200)

                                                           Lincoln Heritage (205): Four Rivers
Request # 1286 For Policy # 10CA43342E     issued to the                                       Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1940-1994 (207)

                                                           Lincoln Heritage (205): Four Rivers
Request # 1287 For Policy # 10CA43349E     issued to the                                       Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1940-1994 (207)

                                                           Lincoln Heritage (205): George
Request # 1288 For Policy # 10 HUA 43300   issued to the                                     Local Council and effective 5/1/1971     to 5/1/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Rogers Clark Area 1927-1993 (143)

                                                           Lincoln Heritage (205): George
Request # 1289 For Policy # 10CA43315      issued to the                                     Local Council and effective 9/21/1971 to 1/1/1972      admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Rogers Clark Area 1927-1993 (143)

                                                           Lincoln Heritage (205): George
Request # 1290 For Policy # 10CA43303      issued to the                                     Local Council and effective 1/1/1972     to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Rogers Clark Area 1927-1993 (143)

                                                           Lincoln Heritage (205): George
Request # 1291 For Policy # 10HUA43302     issued to the                                     Local Council and effective 1/1/1972     to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Rogers Clark Area 1927-1993 (143)



                                                                                                                      78
                                                         Lincoln Heritage (205): George
Request # 1292 For Policy # 10HUA43302   issued to the                                     Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Rogers Clark Area 1927-1993 (143)

                                                         Lincoln Heritage (205): George
Request # 1293 For Policy # 10CA43303    issued to the                                     Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Rogers Clark Area 1927-1993 (143)

                                                         Lincoln Heritage (205): George
Request # 1294 For Policy # 10CA43329    issued to the                                     Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Rogers Clark Area 1927-1993 (143)

                                                         Lincoln Heritage (205): George
Request # 1295 For Policy # 10HUA43331   issued to the                                     Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Rogers Clark Area 1927-1993 (143)

                                                         Lincoln Heritage (205): George
Request # 1296 For Policy # 10CA43342E   issued to the                                     Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Rogers Clark Area 1927-1993 (143)

                                                         Lincoln Heritage (205): George
Request # 1297 For Policy # 10CA43349E   issued to the                                     Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Rogers Clark Area 1927-1993 (143)

                                                         Lincoln Heritage (205): Old
Request # 1298 For Policy # 10CA43342E   issued to the                                     Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Kentucky Home 1954-1993 (205)

                                                         Lincoln Heritage (205): Old
Request # 1299 For Policy # 10CA43349E   issued to the                                     Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Kentucky Home 1954-1993 (205)

                                                         Long Beach Area (032): Long Beach
Request # 1300 For Policy # 10CA43303    issued to the                                     Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area (032)

                                                         Long Beach Area (032): Long Beach
Request # 1301 For Policy # 10HUA43302   issued to the                                     Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area (032)

                                                         Long Beach Area (032): Long Beach
Request # 1302 For Policy # 10CA43303    issued to the                                     Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area (032)

                                                         Long Beach Area (032): Long Beach
Request # 1303 For Policy # 10HUA43302   issued to the                                     Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area (032)

                                                         Long Beach Area (032): Long Beach
Request # 1304 For Policy # 10CA43329    issued to the                                     Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area (032)

                                                         Long Beach Area (032): Long Beach
Request # 1305 For Policy # 10HUA43331   issued to the                                     Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area (032)

                                                         Long Beach Area (032): Long Beach
Request # 1306 For Policy # 10CA43342E   issued to the                                     Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area (032)

                                                         Long Beach Area (032): Long Beach
Request # 1307 For Policy # 10CA43349E   issued to the                                     Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area (032)

                                                         Longhorn (662): Heart O' Texas
Request # 1308 For Policy # 10CA43342E   issued to the                                     Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1929-2001 (662)



                                                                                                                  79
                                                         Longhorn (662): Heart O' Texas
Request # 1309 For Policy # 10CA43349E   issued to the                                     Local Council and effective 1/1/1976   to 1/1/1977     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1929-2001 (662)

                                                         Longhorn (662): Longhorn -2001
Request # 1310 For Policy # Unknown      issued to the                                     Local Council and effective 7/27/1961 to 7/27/1962 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (582)

                                                         Longhorn (662): Longhorn -2001
Request # 1311 For Policy # Unknown      issued to the                                     Local Council and effective 7/27/1962 to 7/27/1963 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (582)

                                                         Longhorn (662): Longhorn -2001
Request # 1312 For Policy # Unknown      issued to the                                     Local Council and effective 7/27/1963 to 7/27/1964 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (582)

                                                         Longhorn (662): Longhorn -2001
Request # 1313 For Policy # Unknown      issued to the                                     Local Council and effective 7/27/1964 to 1/1/1965      admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (582)

                                                         Longhorn (662): Longhorn -2001
Request # 1314 For Policy # 10CA43342E   issued to the                                     Local Council and effective 1/1/1975   to 1/1/1976     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (582)

                                                         Longhorn (662): Longhorn -2001
Request # 1315 For Policy # 10CA43349E   issued to the                                     Local Council and effective 1/1/1976   to 1/1/1977     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (582)

                                                         Longhouse (373): Cayuga County
Request # 1316 For Policy # 10HUA43302   issued to the                                     Local Council and effective 1/1/1972   to 1/1/1973     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1924-2009 (366)

                                                         Longhouse (373): Cayuga County
Request # 1317 For Policy # 10CA43303    issued to the                                     Local Council and effective 1/1/1972   to 1/1/1973     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1924-2009 (366)

                                                         Longhouse (373): Cayuga County
Request # 1318 For Policy # 10HUA43302   issued to the                                     Local Council and effective 1/1/1973   to 1/1/1974     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1924-2009 (366)

                                                         Longhouse (373): Cayuga County
Request # 1319 For Policy # 10CA43303    issued to the                                     Local Council and effective 1/1/1973   to 1/1/1974     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1924-2009 (366)

                                                         Longhouse (373): Cayuga County
Request # 1320 For Policy # 10CA43329    issued to the                                     Local Council and effective 1/1/1974   to 1/1/1975     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1924-2009 (366)

                                                         Longhouse (373): Cayuga County
Request # 1321 For Policy # 10HUA43331   issued to the                                     Local Council and effective 1/1/1974   to 1/1/1975     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1924-2009 (366)

                                                         Longhouse (373): Cayuga County
Request # 1322 For Policy # 10CA43342E   issued to the                                     Local Council and effective 1/1/1975   to 1/1/1976     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1924-2009 (366)

                                                         Longhouse (373): Cayuga County
Request # 1323 For Policy # 10CA43349E   issued to the                                     Local Council and effective 1/1/1976   to 1/1/1977     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1924-2009 (366)

                                                         Longhouse (373): Hiawatha -1999
Request # 1324 For Policy # 10CA43303    issued to the                                     Local Council and effective 1/1/1972   to 1/1/1973     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (373)

                                                         Longhouse (373): Hiawatha -1999
Request # 1325 For Policy # 10HUA43302   issued to the                                     Local Council and effective 1/1/1972   to 1/1/1973     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (373)



                                                                                                                  80
                                                           Longhouse (373): Hiawatha -1999
Request # 1326 For Policy # 10CA43303      issued to the                                      Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (373)

                                                           Longhouse (373): Hiawatha -1999
Request # 1327 For Policy # 10HUA43302     issued to the                                      Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (373)

                                                           Longhouse (373): Hiawatha -1999
Request # 1328 For Policy # 10CA43329      issued to the                                      Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (373)

                                                           Longhouse (373): Hiawatha -1999
Request # 1329 For Policy # 10HUA43331     issued to the                                      Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (373)

                                                           Longhouse (373): Hiawatha -1999
Request # 1330 For Policy # 10CA43342E     issued to the                                      Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (373)

                                                           Longhouse (373): Hiawatha -1999
Request # 1331 For Policy # 10CA43349E     issued to the                                      Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (373)

                                                           Longhouse (373): Jefferson Lewis
Request # 1332 For Policy # 10CA43303      issued to the                                      Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1932-1982 (408)

                                                           Longhouse (373): Jefferson Lewis
Request # 1333 For Policy # 10HUA43302     issued to the                                      Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1932-1982 (408)

                                                           Longhouse (373): Jefferson Lewis
Request # 1334 For Policy # 10CA43329      issued to the                                      Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1932-1982 (408)

                                                           Longhouse (373): Jefferson Lewis
Request # 1335 For Policy # 10HUA43331     issued to the                                      Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1932-1982 (408)

                                                           Longhouse (373): Jefferson Lewis
Request # 1336 For Policy # 10CA43342E     issued to the                                      Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1932-1982 (408)

                                                           Longhouse (373): Jefferson Lewis
Request # 1337 For Policy # 10CA43349E     issued to the                                      Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1932-1982 (408)

                                                           Longhouse (373): Saint Lawrence
Request # 1338 For Policy # 10CA43342E     issued to the                                      Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1938-1982 (403)

                                                           Longhouse (373): Saint Lawrence
Request # 1339 For Policy # 10CA43349E     issued to the                                      Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1938-1982 (403)

                                                           Longs Peak (062): Longs Peak 1975-
Request # 1340 For Policy # 10CA43342E     issued to the                                      Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (062)

                                                           Longs Peak (062): Longs Peak 1975-
Request # 1341 For Policy # 10CA43349E     issued to the                                      Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (062)

                                                           Longs Peak (062): Wyo-Braska 1936-
Request # 1342 For Policy # 10 HUA 43300   issued to the                                      Local Council and effective 5/1/1971   to 5/1/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1975 (325)



                                                                                                                     81
                                                         Longs Peak (062): Wyo-Braska 1936-
Request # 1343 For Policy # 10CA43315    issued to the                                      Local Council and effective 9/21/1971 to 1/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1975 (325)

                                                         Longs Peak (062): Wyo-Braska 1936-
Request # 1344 For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1975 (325)

                                                         Longs Peak (062): Wyo-Braska 1936-
Request # 1345 For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1975 (325)

                                                         Longs Peak (062): Wyo-Braska 1936-
Request # 1346 For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1975 (325)

                                                         Longs Peak (062): Wyo-Braska 1936-
Request # 1347 For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1975 (325)

                                                         Longs Peak (062): Wyo-Braska 1936-
Request # 1348 For Policy # 10CA43329    issued to the                                      Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1975 (325)

                                                         Longs Peak (062): Wyo-Braska 1936-
Request # 1349 For Policy # 10HUA43331   issued to the                                      Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1975 (325)

                                                         Longs Peak (062): Wyo-Braska 1936-
Request # 1350 For Policy # 10CA43342E   issued to the                                      Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1975 (325)

                                                         Los Padres (053): Mission 1929-
Request # 1351 For Policy # 10CA43342E   issued to the                                     Local Council and effective 1/1/1975    to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1994 (053)

                                                         Los Padres (053): Mission 1929-
Request # 1352 For Policy # 10CA43349E   issued to the                                     Local Council and effective 1/1/1976    to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1994 (053)

                                                         Los Padres (053): Santa Lucia Area
Request # 1353 For Policy # 10CA43342E   issued to the                                      Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1939-1994 (056)

                                                         Los Padres (053): Santa Lucia Area
Request # 1354 For Policy # 10CA43349E   issued to the                                      Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1939-1994 (056)

                                                         Louisiana Purchase (213):
Request # 1355 For Policy # 10HUA43302   issued to the                                     Local Council and effective 1/1/1973    to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Attakapas 1938-2003 (208)

                                                         Louisiana Purchase (213):
Request # 1356 For Policy # 10CA43303    issued to the                                     Local Council and effective 1/1/1973    to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Attakapas 1938-2003 (208)

                                                         Louisiana Purchase (213):
Request # 1357 For Policy # 10CA43329    issued to the                                     Local Council and effective 1/1/1974    to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Attakapas 1938-2003 (208)

                                                         Louisiana Purchase (213):
Request # 1358 For Policy # 10HUA43331   issued to the                                     Local Council and effective 1/1/1974    to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Attakapas 1938-2003 (208)

                                                         Louisiana Purchase (213):
Request # 1359 For Policy # 10CA43342E   issued to the                                     Local Council and effective 1/1/1975    to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Attakapas 1938-2003 (208)



                                                                                                                   82
                                                         Louisiana Purchase (213):
Request # 1360 For Policy # 10CA43349E   issued to the                                     Local Council and effective 1/1/1976    to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Attakapas 1938-2003 (208)

                                                         Louisiana Purchase (213): Ouachita
Request # 1361 For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Valley 1925-2003 (213)

                                                         Louisiana Purchase (213): Ouachita
Request # 1362 For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Valley 1925-2003 (213)

                                                         Louisiana Purchase (213): Ouachita
Request # 1363 For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Valley 1925-2003 (213)

                                                         Louisiana Purchase (213): Ouachita
Request # 1364 For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Valley 1925-2003 (213)

                                                         Louisiana Purchase (213): Ouachita
Request # 1365 For Policy # 10CA43329    issued to the                                      Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Valley 1925-2003 (213)

                                                         Louisiana Purchase (213): Ouachita
Request # 1366 For Policy # 10HUA43331   issued to the                                      Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Valley 1925-2003 (213)

                                                         Louisiana Purchase (213): Ouachita
Request # 1367 For Policy # 10CA43342E   issued to the                                      Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Valley 1925-2003 (213)

                                                         Louisiana Purchase (213): Ouachita
Request # 1368 For Policy # 10CA43349E   issued to the                                      Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Valley 1925-2003 (213)

Request # 1369 For Policy # 10CA43303    issued to the Marin (035): Marin (035)            Local Council and effective 1/1/1972    to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1370 For Policy # 10HUA43302   issued to the Marin (035): Marin (035)            Local Council and effective 1/1/1972    to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1371 For Policy # 10CA43303    issued to the Marin (035): Marin (035)            Local Council and effective 1/1/1973    to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1372 For Policy # 10HUA43302   issued to the Marin (035): Marin (035)            Local Council and effective 1/1/1973    to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1373 For Policy # 10CA43329    issued to the Marin (035): Marin (035)            Local Council and effective 1/1/1974    to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1374 For Policy # 10HUA43331   issued to the Marin (035): Marin (035)            Local Council and effective 1/1/1974    to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1375 For Policy # 10CA43342E   issued to the Marin (035): Marin (035)            Local Council and effective 1/1/1975    to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1376 For Policy # 10CA43349E   issued to the Marin (035): Marin (035)            Local Council and effective 1/1/1976    to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.



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                                                          Mason-Dixon (221): Mason-Dixon
Request # 1377 For Policy # 10CA43342E    issued to the                                       Local Council and effective 1/1/1975   to 1/1/1976     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1956- (221)

                                                          Mason-Dixon (221): Mason-Dixon
Request # 1378 For Policy # 10CA43349E    issued to the                                       Local Council and effective 1/1/1976   to 1/1/1977     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1956- (221)

                                                          Mayflower (251): Algonquin 1925-
Request # 1379 For Policy # 10CA43342E    issued to the                                    Local Council and effective 1/1/1975      to 1/1/1976     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1996 (241)

                                                          Mayflower (251): Algonquin 1925-
Request # 1380 For Policy # 10CA43349E    issued to the                                    Local Council and effective 1/1/1976      to 1/1/1977     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1996 (241)

                                                          Mayflower (251): Knox Trail 1996-
Request # 1381 For Policy # 34UUVIS5513   issued to the                                       Local Council and effective 6/20/2007 to 6/20/2008 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          2017 (244)

                                                          Mayflower (251): Knox Trail 1996-
Request # 1382 For Policy # 34UUVIS5513   issued to the                                       Local Council and effective 6/20/2008 to 6/20/2009 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          2017 (244)

                                                          Mayflower (251): Knox Trail 1996-
Request # 1383 For Policy # 34UUVIS5513   issued to the                                       Local Council and effective 6/20/2009 to 6/20/2010 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          2017 (244)

                                                          Mayflower (251): Knox Trail 1996-
Request # 1384 For Policy # 34UUVIS5513   issued to the                                       Local Council and effective 6/20/2010 to 6/20/2011 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          2017 (244)

                                                          Mayflower (251): Norumbega 1918-
Request # 1385 For Policy # 10HUA43302    issued to the                                    Local Council and effective 1/1/1972      to 1/1/1973     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1996 (246)

                                                          Mayflower (251): Norumbega 1918-
Request # 1386 For Policy # 10CA43303     issued to the                                    Local Council and effective 1/1/1972      to 1/1/1973     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1996 (246)

                                                          Mayflower (251): Norumbega 1918-
Request # 1387 For Policy # 10CA43303     issued to the                                    Local Council and effective 1/1/1973      to 1/1/1974     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1996 (246)

                                                          Mayflower (251): Norumbega 1918-
Request # 1388 For Policy # 10HUA43302    issued to the                                    Local Council and effective 1/1/1973      to 1/1/1974     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1996 (246)

                                                          Mayflower (251): Norumbega 1918-
Request # 1389 For Policy # 10CA43329     issued to the                                    Local Council and effective 1/1/1974      to 1/1/1975     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1996 (246)

                                                          Mayflower (251): Norumbega 1918-
Request # 1390 For Policy # 10HUA43331    issued to the                                    Local Council and effective 1/1/1974      to 1/1/1975     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1996 (246)

                                                          Mayflower (251): Norumbega 1918-
Request # 1391 For Policy # 10CA43342E    issued to the                                    Local Council and effective 1/1/1975      to 1/1/1976     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1996 (246)

                                                          Mayflower (251): Norumbega 1918-
Request # 1392 For Policy # 10CA43349E    issued to the                                    Local Council and effective 1/1/1976      to 1/1/1977     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1996 (246)

                                                          Mayflower (251): Old Colony 1969-
Request # 1393 For Policy # 10CA43342E    issued to the                                     Local Council and effective 1/1/1975     to 1/1/1976     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          2017 (249)



                                                                                                                     84
                                                         Mayflower (251): Old Colony 1969-
Request # 1394 For Policy # 10CA43349E   issued to the                                     Local Council and effective 1/1/1976    to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         2017 (249)

                                                         Mecklenburg County (415):
Request # 1395 For Policy # 10CA43342E   issued to the                                      Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Mecklenburg County (415)

                                                         Mecklenburg County (415):
Request # 1396 For Policy # 10CA43349E   issued to the                                      Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Mecklenburg County (415)

                                                         Miami Valley (444): Miami Valley
Request # 1397 For Policy # 10CA43342E   issued to the                                      Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (444)

                                                         Miami Valley (444): Miami Valley
Request # 1398 For Policy # 10CA43349E   issued to the                                      Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (444)

                                                         Michigan Crossroads (780): Blue
Request # 1399 For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Water 1939-2012 (277)

                                                         Michigan Crossroads (780): Blue
Request # 1400 For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Water 1939-2012 (277)

                                                         Michigan Crossroads (780): Blue
Request # 1401 For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Water 1939-2012 (277)

                                                         Michigan Crossroads (780): Blue
Request # 1402 For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Water 1939-2012 (277)

                                                         Michigan Crossroads (780): Blue
Request # 1403 For Policy # 10CA43329    issued to the                                      Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Water 1939-2012 (277)

                                                         Michigan Crossroads (780): Blue
Request # 1404 For Policy # 10HUA43331   issued to the                                      Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Water 1939-2012 (277)

                                                         Michigan Crossroads (780): Blue
Request # 1405 For Policy # 10CA43342E   issued to the                                      Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Water 1939-2012 (277)

                                                         Michigan Crossroads (780): Blue
Request # 1406 For Policy # 10CA43349E   issued to the                                      Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Water 1939-2012 (277)

                                                         Michigan Crossroads (780): Chief
Request # 1407 For Policy # 10CA43342E   issued to the                                      Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Okemos 1932-2012 (271)

                                                         Michigan Crossroads (780): Chief
Request # 1408 For Policy # 10CA43349E   issued to the                                      Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Okemos 1932-2012 (271)

                                                         Michigan Crossroads (780): Clinton
Request # 1409 For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Valley 1937-2009 (276)

                                                         Michigan Crossroads (780): Clinton
Request # 1410 For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Valley 1937-2009 (276)



                                                                                                                   85
                                                         Michigan Crossroads (780): Clinton
Request # 1411 For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Valley 1937-2009 (276)

                                                         Michigan Crossroads (780): Clinton
Request # 1412 For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Valley 1937-2009 (276)

                                                         Michigan Crossroads (780): Clinton
Request # 1413 For Policy # 10HUA43331   issued to the                                      Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Valley 1937-2009 (276)

                                                         Michigan Crossroads (780): Clinton
Request # 1414 For Policy # 10CA43329    issued to the                                      Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Valley 1937-2009 (276)

                                                         Michigan Crossroads (780): Clinton
Request # 1415 For Policy # 10CA43342E   issued to the                                      Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Valley 1937-2009 (276)

                                                         Michigan Crossroads (780): Clinton
Request # 1416 For Policy # 10CA43349E   issued to the                                      Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Valley 1937-2009 (276)

                                                         Michigan Crossroads (780): Detroit
Request # 1417 For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area -2009 (262)

                                                         Michigan Crossroads (780): Detroit
Request # 1418 For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area -2009 (262)

                                                         Michigan Crossroads (780): Detroit
Request # 1419 For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area -2009 (262)

                                                         Michigan Crossroads (780): Detroit
Request # 1420 For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area -2009 (262)

                                                         Michigan Crossroads (780): Detroit
Request # 1421 For Policy # 10CA43329    issued to the                                      Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area -2009 (262)

                                                         Michigan Crossroads (780): Detroit
Request # 1422 For Policy # 10HUA43331   issued to the                                      Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area -2009 (262)

                                                         Michigan Crossroads (780): Detroit
Request # 1423 For Policy # 10CA43342E   issued to the                                      Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area -2009 (262)

                                                         Michigan Crossroads (780): Detroit
Request # 1424 For Policy # 10CA43349E   issued to the                                      Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area -2009 (262)

                                                         Michigan Crossroads (780): Grand
Request # 1425 For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Valley 1936-1975 (266)

                                                         Michigan Crossroads (780): Grand
Request # 1426 For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Valley 1936-1975 (266)

                                                         Michigan Crossroads (780): Grand
Request # 1427 For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Valley 1936-1975 (266)



                                                                                                                   86
                                                         Michigan Crossroads (780): Grand
Request # 1428 For Policy # 10HUA43302   issued to the                                       Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Valley 1936-1975 (266)

                                                         Michigan Crossroads (780): Grand
Request # 1429 For Policy # 10CA43329    issued to the                                       Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Valley 1936-1975 (266)

                                                         Michigan Crossroads (780): Grand
Request # 1430 For Policy # 10HUA43331   issued to the                                       Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Valley 1936-1975 (266)

                                                         Michigan Crossroads (780): Grand
Request # 1431 For Policy # 10CA43342E   issued to the                                       Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Valley 1936-1975 (266)

                                                         Michigan Crossroads (780): Lake
Request # 1432 For Policy # 10CA43342E   issued to the                                       Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Huron Area 1971-2012 (265)

                                                         Michigan Crossroads (780): Lake
Request # 1433 For Policy # 10CA43349E   issued to the                                       Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Huron Area 1971-2012 (265)

                                                         Michigan Crossroads (780): Land O'
Request # 1434 For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1972    to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Lakes 1937-1993 (269)

                                                         Michigan Crossroads (780): Land O'
Request # 1435 For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1972    to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Lakes 1937-1993 (269)

                                                         Michigan Crossroads (780): Land O'
Request # 1436 For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1973    to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Lakes 1937-1993 (269)

                                                         Michigan Crossroads (780): Land O'
Request # 1437 For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1973    to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Lakes 1937-1993 (269)

                                                         Michigan Crossroads (780): Land O'
Request # 1438 For Policy # 10CA43329    issued to the                                      Local Council and effective 1/1/1974    to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Lakes 1937-1993 (269)

                                                         Michigan Crossroads (780): Land O'
Request # 1439 For Policy # 10HUA43331   issued to the                                      Local Council and effective 1/1/1974    to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Lakes 1937-1993 (269)

                                                         Michigan Crossroads (780): Land O'
Request # 1440 For Policy # 10CA43342E   issued to the                                      Local Council and effective 1/1/1975    to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Lakes 1937-1993 (269)

                                                         Michigan Crossroads (780): Land O'
Request # 1441 For Policy # 10CA43349E   issued to the                                      Local Council and effective 1/1/1976    to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Lakes 1937-1993 (269)

                                                         Michigan Crossroads (780): Scenic
Request # 1442 For Policy # 10CA43303    issued to the                                       Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Trails 1939-2012 (274)

                                                         Michigan Crossroads (780): Scenic
Request # 1443 For Policy # 10HUA43302   issued to the                                       Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Trails 1939-2012 (274)

                                                         Michigan Crossroads (780): Scenic
Request # 1444 For Policy # 10HUA43302   issued to the                                       Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Trails 1939-2012 (274)



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                                                         Michigan Crossroads (780): Scenic
Request # 1445 For Policy # 10CA43303    issued to the                                       Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Trails 1939-2012 (274)

                                                         Michigan Crossroads (780): Scenic
Request # 1446 For Policy # 10CA43329    issued to the                                       Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Trails 1939-2012 (274)

                                                         Michigan Crossroads (780): Scenic
Request # 1447 For Policy # 10HUA43331   issued to the                                       Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Trails 1939-2012 (274)

                                                         Michigan Crossroads (780): Scenic
Request # 1448 For Policy # 10CA43342E   issued to the                                       Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Trails 1939-2012 (274)

                                                         Michigan Crossroads (780): Scenic
Request # 1449 For Policy # 10CA43349E   issued to the                                       Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Trails 1939-2012 (274)
                                                       Michigan Crossroads (780):
Request # 1450 For Policy # 10CA43303    issued to the Southwest Michigan 1973-2012          Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                       (270)
                                                       Michigan Crossroads (780):
Request # 1451 For Policy # 10HUA43302   issued to the Southwest Michigan 1973-2012          Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                       (270)
                                                       Michigan Crossroads (780):
Request # 1452 For Policy # 10CA43329    issued to the Southwest Michigan 1973-2012          Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                       (270)
                                                       Michigan Crossroads (780):
Request # 1453 For Policy # 10HUA43331   issued to the Southwest Michigan 1973-2012          Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                       (270)
                                                       Michigan Crossroads (780):
Request # 1454 For Policy # 10CA43342E   issued to the Southwest Michigan 1973-2012          Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                       (270)
                                                       Michigan Crossroads (780):
Request # 1455 For Policy # 10CA43349E   issued to the Southwest Michigan 1973-2012          Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                       (270)
                                                         Michigan Crossroads (780): Tall
Request # 1456 For Policy # 10HUA43302   issued to the                                       Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Pine 1937-2012 (264)

                                                         Michigan Crossroads (780): Tall
Request # 1457 For Policy # 10CA43303    issued to the                                       Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Pine 1937-2012 (264)

                                                         Michigan Crossroads (780): Tall
Request # 1458 For Policy # 10CA43303    issued to the                                       Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Pine 1937-2012 (264)

                                                         Michigan Crossroads (780): Tall
Request # 1459 For Policy # 10HUA43302   issued to the                                       Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Pine 1937-2012 (264)

                                                         Michigan Crossroads (780): Tall
Request # 1460 For Policy # 10CA43329    issued to the                                       Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Pine 1937-2012 (264)

                                                         Michigan Crossroads (780): Tall
Request # 1461 For Policy # 10HUA43331   issued to the                                       Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Pine 1937-2012 (264)



                                                                                                                    88
                                                         Michigan Crossroads (780): Tall
Request # 1462 For Policy # 10CA43342E   issued to the                                     Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Pine 1937-2012 (264)

                                                         Michigan Crossroads (780): Tall
Request # 1463 For Policy # 10CA43349E   issued to the                                     Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Pine 1937-2012 (264)

                                                         Michigan Crossroads (780): Timber
Request # 1464 For Policy # 10HUA43302   issued to the                                     Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Trails 1944-1975 (275)

                                                         Michigan Crossroads (780): Timber
Request # 1465 For Policy # 10CA43303    issued to the                                     Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Trails 1944-1975 (275)

                                                         Michigan Crossroads (780): Timber
Request # 1466 For Policy # 10CA43303    issued to the                                     Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Trails 1944-1975 (275)

                                                         Michigan Crossroads (780): Timber
Request # 1467 For Policy # 10HUA43302   issued to the                                     Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Trails 1944-1975 (275)

                                                         Michigan Crossroads (780): Timber
Request # 1468 For Policy # 10HUA43331   issued to the                                     Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Trails 1944-1975 (275)

                                                         Michigan Crossroads (780): Timber
Request # 1469 For Policy # 10CA43329    issued to the                                     Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Trails 1944-1975 (275)

                                                         Michigan Crossroads (780): Timber
Request # 1470 For Policy # 10CA43342E   issued to the                                     Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Trails 1944-1975 (275)

                                                         Michigan Crossroads (780): West
Request # 1471 For Policy # 10CA43342E   issued to the                                     Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Michigan Shores 1975-1995 (266)

                                                         Michigan Crossroads (780): West
Request # 1472 For Policy # 10CA43349E   issued to the                                     Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Michigan Shores 1975-1995 (266)

                                                         Michigan Crossroads (780):
Request # 1473 For Policy # 10HUA43302   issued to the                                     Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Wolverine 1925-1973 (711)

                                                         Michigan Crossroads (780):
Request # 1474 For Policy # 10CA43303    issued to the                                     Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Wolverine 1925-1973 (711)

                                                         Michigan Crossroads (780):
Request # 1475 For Policy # 10HUA43302   issued to the                                     Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Wolverine 1925-1973 (711)

                                                         Michigan Crossroads (780):
Request # 1476 For Policy # 10CA43303    issued to the                                     Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Wolverine 1925-1973 (711)

                                                         Michigan Crossroads (780):
Request # 1477 For Policy # 10CA43342E   issued to the                                     Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Wolverine 1973-1993 (255)

                                                         Michigan Crossroads (780):
Request # 1478 For Policy # 10CA43349E   issued to the                                     Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Wolverine 1973-1993 (255)



                                                                                                                  89
                                                         Mid-America (326): Mid-America
Request # 1479 For Policy # 10CA43342E   issued to the                                     Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1965- (326)

                                                         Mid-America (326): Mid-America
Request # 1480 For Policy # 10CA43349E   issued to the                                     Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1965- (326)

                                                         Mid-America (326): Prairie Gold
Request # 1481 For Policy # 10CA43303    issued to the                                     Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area 1942-2000 (179)

                                                         Mid-America (326): Prairie Gold
Request # 1482 For Policy # 10HUA43302   issued to the                                     Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area 1942-2000 (179)

                                                         Mid-America (326): Prairie Gold
Request # 1483 For Policy # 10CA43303    issued to the                                     Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area 1942-2000 (179)

                                                         Mid-America (326): Prairie Gold
Request # 1484 For Policy # 10HUA43302   issued to the                                     Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area 1942-2000 (179)

                                                         Mid-America (326): Prairie Gold
Request # 1485 For Policy # 10CA43329    issued to the                                     Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area 1942-2000 (179)

                                                         Mid-America (326): Prairie Gold
Request # 1486 For Policy # 10HUA43331   issued to the                                     Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area 1942-2000 (179)

                                                         Mid-America (326): Prairie Gold
Request # 1487 For Policy # 10CA43342E   issued to the                                     Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area 1942-2000 (179)

                                                         Mid-America (326): Prairie Gold
Request # 1488 For Policy # 10CA43349E   issued to the                                     Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area 1942-2000 (179)

                                                         Middle Tennessee (560): Middle
Request # 1489 For Policy # 10HUA43302   issued to the                                     Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Tennessee (560)

                                                         Middle Tennessee (560): Middle
Request # 1490 For Policy # 10CA43303    issued to the                                     Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Tennessee (560)

                                                         Middle Tennessee (560): Middle
Request # 1491 For Policy # 10HUA43302   issued to the                                     Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Tennessee (560)

                                                         Middle Tennessee (560): Middle
Request # 1492 For Policy # 10CA43303    issued to the                                     Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Tennessee (560)

                                                         Middle Tennessee (560): Middle
Request # 1493 For Policy # 10CA43329    issued to the                                     Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Tennessee (560)

                                                         Middle Tennessee (560): Middle
Request # 1494 For Policy # 10HUA43331   issued to the                                     Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Tennessee (560)

                                                         Middle Tennessee (560): Middle
Request # 1495 For Policy # 10CA43342E   issued to the                                     Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Tennessee (560)



                                                                                                                  90
                                                         Middle Tennessee (560): Middle
Request # 1496 For Policy # 10CA43349E   issued to the                                      Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Tennessee (560)

                                                         Mid-Iowa (177): Mid-Iowa 1970-
Request # 1497 For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (177)

                                                         Mid-Iowa (177): Mid-Iowa 1970-
Request # 1498 For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (177)

                                                         Mid-Iowa (177): Mid-Iowa 1970-
Request # 1499 For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (177)

                                                         Mid-Iowa (177): Mid-Iowa 1970-
Request # 1500 For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (177)

                                                         Mid-Iowa (177): Mid-Iowa 1970-
Request # 1501 For Policy # 10CA43329    issued to the                                      Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (177)

                                                         Mid-Iowa (177): Mid-Iowa 1970-
Request # 1502 For Policy # 10HUA43331   issued to the                                      Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (177)

                                                         Mid-Iowa (177): Mid-Iowa 1970-
Request # 1503 For Policy # 10CA43342E   issued to the                                      Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (177)

                                                         Mid-Iowa (177): Mid-Iowa 1970-
Request # 1504 For Policy # 10CA43349E   issued to the                                      Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (177)

                                                         Midnight Sun (696): Midnight Sun
Request # 1505 For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (696)

                                                         Midnight Sun (696): Midnight Sun
Request # 1506 For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (696)

                                                         Midnight Sun (696): Midnight Sun
Request # 1507 For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (696)

                                                         Midnight Sun (696): Midnight Sun
Request # 1508 For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (696)

                                                         Midnight Sun (696): Midnight Sun
Request # 1509 For Policy # 10CA43329    issued to the                                      Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (696)

                                                         Midnight Sun (696): Midnight Sun
Request # 1510 For Policy # 10HUA43331   issued to the                                      Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (696)

                                                         Midnight Sun (696): Midnight Sun
Request # 1511 For Policy # 10CA43342E   issued to the                                      Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (696)

                                                         Midnight Sun (696): Midnight Sun
Request # 1512 For Policy # 10CA43349E   issued to the                                      Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (696)



                                                                                                                   91
                                                         Minsi Trails (502): Minsi Trails 1968-
Request # 1513 For Policy # 10CA43342E   issued to the                                          Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (502)

                                                         Minsi Trails (502): Minsi Trails 1968-
Request # 1514 For Policy # 10CA43349E   issued to the                                          Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (502)

                                                         Mississippi Valley (141): Saukee
Request # 1515 For Policy # 10CA43303    issued to the                                       Local Council and effective 1/1/1972      to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area 1935-1993 (141)

                                                         Mississippi Valley (141): Saukee
Request # 1516 For Policy # 10HUA43302   issued to the                                       Local Council and effective 1/1/1972      to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area 1935-1993 (141)

                                                         Mississippi Valley (141): Saukee
Request # 1517 For Policy # 10HUA43302   issued to the                                       Local Council and effective 1/1/1973      to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area 1935-1993 (141)

                                                         Mississippi Valley (141): Saukee
Request # 1518 For Policy # 10CA43303    issued to the                                       Local Council and effective 1/1/1973      to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area 1935-1993 (141)

                                                         Mississippi Valley (141): Saukee
Request # 1519 For Policy # 10CA43329    issued to the                                       Local Council and effective 1/1/1974      to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area 1935-1993 (141)

                                                         Mississippi Valley (141): Saukee
Request # 1520 For Policy # 10HUA43331   issued to the                                       Local Council and effective 1/1/1974      to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area 1935-1993 (141)

                                                         Mississippi Valley (141): Saukee
Request # 1521 For Policy # 10CA43342E   issued to the                                       Local Council and effective 1/1/1975      to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area 1935-1993 (141)

                                                         Mississippi Valley (141): Saukee
Request # 1522 For Policy # 10CA43349E   issued to the                                       Local Council and effective 1/1/1976      to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area 1935-1993 (141)

                                                         Mississippi Valley (141): Southeast
Request # 1523 For Policy # 10HUA43302   issued to the                                       Local Council and effective 1/1/1972      to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Iowa 1929-1993 (171)

                                                         Mississippi Valley (141): Southeast
Request # 1524 For Policy # 10CA43303    issued to the                                       Local Council and effective 1/1/1972      to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Iowa 1929-1993 (171)

                                                         Mississippi Valley (141): Southeast
Request # 1525 For Policy # 10HUA43302   issued to the                                       Local Council and effective 1/1/1973      to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Iowa 1929-1993 (171)

                                                         Mississippi Valley (141): Southeast
Request # 1526 For Policy # 10CA43303    issued to the                                       Local Council and effective 1/1/1973      to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Iowa 1929-1993 (171)

                                                         Mississippi Valley (141): Southeast
Request # 1527 For Policy # 10CA43329    issued to the                                       Local Council and effective 1/1/1974      to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Iowa 1929-1993 (171)

                                                         Mississippi Valley (141): Southeast
Request # 1528 For Policy # 10HUA43331   issued to the                                       Local Council and effective 1/1/1974      to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Iowa 1929-1993 (171)

                                                         Mississippi Valley (141): Southeast
Request # 1529 For Policy # 10CA43342E   issued to the                                       Local Council and effective 1/1/1975      to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Iowa 1929-1993 (171)



                                                                                                                      92
                                                         Mississippi Valley (141): Southeast
Request # 1530 For Policy # 10CA43349E   issued to the                                       Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Iowa 1929-1993 (171)

                                                         Mobile Area (004): Mobile Area
Request # 1531 For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1972    to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (004)

                                                         Mobile Area (004): Mobile Area
Request # 1532 For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1972    to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (004)

                                                         Mobile Area (004): Mobile Area
Request # 1533 For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1973    to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (004)

                                                         Mobile Area (004): Mobile Area
Request # 1534 For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1973    to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (004)

                                                         Mobile Area (004): Mobile Area
Request # 1535 For Policy # 10HUA43331   issued to the                                      Local Council and effective 1/1/1974    to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (004)

                                                         Mobile Area (004): Mobile Area
Request # 1536 For Policy # 10CA43329    issued to the                                      Local Council and effective 1/1/1974    to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (004)

                                                         Mobile Area (004): Mobile Area
Request # 1537 For Policy # 10CA43342E   issued to the                                      Local Council and effective 1/1/1975    to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (004)

                                                         Mobile Area (004): Mobile Area
Request # 1538 For Policy # 10CA43349E   issued to the                                      Local Council and effective 1/1/1976    to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (004)

Request # 1539 For Policy # 10CA43303    issued to the Monmouth (347): Monmouth (347) Local Council and effective 1/1/1972          to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1540 For Policy # 10HUA43302   issued to the Monmouth (347): Monmouth (347) Local Council and effective 1/1/1972          to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1541 For Policy # 10CA43303    issued to the Monmouth (347): Monmouth (347) Local Council and effective 1/1/1973          to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1542 For Policy # 10HUA43302   issued to the Monmouth (347): Monmouth (347) Local Council and effective 1/1/1973          to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1543 For Policy # 10CA43329    issued to the Monmouth (347): Monmouth (347) Local Council and effective 1/1/1974          to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1544 For Policy # 10HUA43331   issued to the Monmouth (347): Monmouth (347) Local Council and effective 1/1/1974          to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1545 For Policy # 10CA43342E   issued to the Monmouth (347): Monmouth (347) Local Council and effective 1/1/1975          to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1546 For Policy # 10CA43349E   issued to the Monmouth (347): Monmouth (347) Local Council and effective 1/1/1976          to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.



                                                                                                                    93
                                                         Montana (315): Montana 1973-
Request # 1547 For Policy # 10CA43342E   issued to the                                     Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (315)

                                                         Montana (315): Montana 1973-
Request # 1548 For Policy # 10CA43349E   issued to the                                     Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (315)

                                                         Montana (315): Vigilante 1944-
Request # 1549 For Policy # 10HUA43302   issued to the                                     Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1973 (313)

                                                         Montana (315): Vigilante 1944-
Request # 1550 For Policy # 10CA43303    issued to the                                     Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1973 (313)

                                                         Montana (315): Vigilante 1944-
Request # 1551 For Policy # 10CA43303    issued to the                                     Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1973 (313)

                                                         Montana (315): Vigilante 1944-
Request # 1552 For Policy # 10HUA43302   issued to the                                     Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1973 (313)

                                                         Montana (315): Vigilante 1944-
Request # 1553 For Policy # 10CA43329    issued to the                                     Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1973 (313)

                                                         Montana (315): Vigilante 1944-
Request # 1554 For Policy # 10HUA43331   issued to the                                     Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1973 (313)

                                                         Montana (315): Yellowstone Valley
Request # 1555 For Policy # 10CA43303    issued to the                                     Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1928-1973 (318)

                                                         Montana (315): Yellowstone Valley
Request # 1556 For Policy # 10HUA43302   issued to the                                     Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1928-1973 (318)

                                                         Moraine Trails (500): Lawrence
Request # 1557 For Policy # 10HUA43302   issued to the                                     Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         County 1922-1973 (520)

                                                         Moraine Trails (500): Lawrence
Request # 1558 For Policy # 10CA43303    issued to the                                     Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         County 1922-1973 (520)

                                                         Moraine Trails (500): Lawrence
Request # 1559 For Policy # 10HUA43302   issued to the                                     Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         County 1922-1973 (520)

                                                         Moraine Trails (500): Lawrence
Request # 1560 For Policy # 10CA43303    issued to the                                     Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         County 1922-1973 (520)

                                                         Moraine Trails (500): Moraine
Request # 1561 For Policy # 10CA43303    issued to the                                     Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Trails 1973- (500)

                                                         Moraine Trails (500): Moraine
Request # 1562 For Policy # 10HUA43302   issued to the                                     Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Trails 1973- (500)

                                                         Moraine Trails (500): Moraine
Request # 1563 For Policy # 10CA43329    issued to the                                     Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Trails 1973- (500)



                                                                                                                  94
                                                         Moraine Trails (500): Moraine
Request # 1564 For Policy # 10HUA43331   issued to the                                      Local Council and effective 1/1/1974     to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Trails 1973- (500)

                                                         Moraine Trails (500): Moraine
Request # 1565 For Policy # 10CA43342E   issued to the                                      Local Council and effective 1/1/1975     to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Trails 1973- (500)

                                                         Moraine Trails (500): Moraine
Request # 1566 For Policy # 10CA43349E   issued to the                                      Local Council and effective 1/1/1976     to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Trails 1973- (500)

                                                         Moraine Trails (500): Pioneer Trails
Request # 1567 For Policy # 10CA43303    issued to the                                        Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1949-1973 (500)

                                                         Moraine Trails (500): Pioneer Trails
Request # 1568 For Policy # 10HUA43302   issued to the                                        Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1949-1973 (500)

                                                         Moraine Trails (500): Pioneer Trails
Request # 1569 For Policy # 10CA43303    issued to the                                        Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1949-1973 (500)

                                                         Moraine Trails (500): Pioneer Trails
Request # 1570 For Policy # 10HUA43302   issued to the                                        Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1949-1973 (500)

                                                         Mount Baker (606): Evergreen Area
Request # 1571 For Policy # 10CA43342E   issued to the                                     Local Council and effective 1/1/1975      to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1941-1994 (606)

                                                         Mount Baker (606): Evergreen Area
Request # 1572 For Policy # 10CA43349E   issued to the                                     Local Council and effective 1/1/1976      to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1941-1994 (606)

                                                         Mount Baker (606): Mount Baker
Request # 1573 For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1972     to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1994- (606)

                                                         Mount Baker (606): Mount Baker
Request # 1574 For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1972     to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1994- (606)

                                                         Mount Baker (606): Mount Baker
Request # 1575 For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1973     to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1994- (606)

                                                         Mount Baker (606): Mount Baker
Request # 1576 For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1973     to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1994- (606)

                                                         Mount Baker (606): Mount Baker
Request # 1577 For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1972     to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area 1929-1994 (603)

                                                         Mount Baker (606): Mount Baker
Request # 1578 For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1972     to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area 1929-1994 (603)

                                                         Mount Baker (606): Mount Baker
Request # 1579 For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1973     to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area 1929-1994 (603)

                                                         Mount Baker (606): Mount Baker
Request # 1580 For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1973     to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area 1929-1994 (603)



                                                                                                                    95
                                                         Mount Baker (606): Mount Baker
Request # 1581 For Policy # 10CA43329    issued to the                                     Local Council and effective 1/1/1974    to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area 1929-1994 (603)

                                                         Mount Baker (606): Mount Baker
Request # 1582 For Policy # 10HUA43331   issued to the                                     Local Council and effective 1/1/1974    to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area 1929-1994 (603)

                                                         Mount Baker (606): Mount Baker
Request # 1583 For Policy # 10CA43342E   issued to the                                     Local Council and effective 1/1/1975    to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area 1929-1994 (603)

                                                         Mount Baker (606): Mount Baker
Request # 1584 For Policy # 10CA43349E   issued to the                                     Local Council and effective 1/1/1976    to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area 1929-1994 (603)

                                                         Mountain West (106): Ore-Ida 1933-
Request # 1585 For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         2020 (106)

                                                         Mountain West (106): Ore-Ida 1933-
Request # 1586 For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         2020 (106)

                                                         Mountain West (106): Ore-Ida 1933-
Request # 1587 For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         2020 (106)

                                                         Mountain West (106): Ore-Ida 1933-
Request # 1588 For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         2020 (106)

                                                         Mountain West (106): Ore-Ida 1933-
Request # 1589 For Policy # 10CA43329    issued to the                                      Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         2020 (106)

                                                         Mountain West (106): Ore-Ida 1933-
Request # 1590 For Policy # 10HUA43331   issued to the                                      Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         2020 (106)

                                                         Mountain West (106): Ore-Ida 1933-
Request # 1591 For Policy # 10CA43342E   issued to the                                      Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         2020 (106)

                                                         Mountain West (106): Ore-Ida 1933-
Request # 1592 For Policy # 10CA43349E   issued to the                                      Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         2020 (106)

                                                         Mountain West (106): Snake River -
Request # 1593 For Policy # 10CA43342E   issued to the                                      Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         2020 (111)

                                                         Mountain West (106): Snake River -
Request # 1594 For Policy # 10CA43349E   issued to the                                      Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         2020 (111)

                                                         Mountaineer Area (615):
Request # 1595 For Policy # 10CA43303    issued to the                                     Local Council and effective 1/1/1972    to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Mountaineer Area (615)

                                                         Mountaineer Area (615):
Request # 1596 For Policy # 10HUA43302   issued to the                                     Local Council and effective 1/1/1972    to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Mountaineer Area (615)

                                                         Mountaineer Area (615):
Request # 1597 For Policy # 10HUA43302   issued to the                                     Local Council and effective 1/1/1973    to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Mountaineer Area (615)



                                                                                                                   96
                                                         Mountaineer Area (615):
Request # 1598 For Policy # 10CA43303    issued to the                                     Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Mountaineer Area (615)

                                                         Mountaineer Area (615):
Request # 1599 For Policy # 10CA43329    issued to the                                     Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Mountaineer Area (615)

                                                         Mountaineer Area (615):
Request # 1600 For Policy # 10HUA43331   issued to the                                     Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Mountaineer Area (615)

                                                         Mountaineer Area (615):
Request # 1601 For Policy # 10CA43342E   issued to the                                     Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Mountaineer Area (615)

                                                         Mountaineer Area (615):
Request # 1602 For Policy # 10CA43349E   issued to the                                     Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Mountaineer Area (615)

                                                         Muskingum Valley (467):
Request # 1603 For Policy # 10HUA43302   issued to the                                     Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Muskingum Valley 1956- (467)

                                                         Muskingum Valley (467):
Request # 1604 For Policy # 10CA43303    issued to the                                     Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Muskingum Valley 1956- (467)

                                                         Muskingum Valley (467):
Request # 1605 For Policy # 10CA43329    issued to the                                     Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Muskingum Valley 1956- (467)

                                                         Muskingum Valley (467):
Request # 1606 For Policy # 10HUA43331   issued to the                                     Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Muskingum Valley 1956- (467)

                                                         Muskingum Valley (467):
Request # 1607 For Policy # 10CA43342E   issued to the                                     Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Muskingum Valley 1956- (467)

                                                         Muskingum Valley (467):
Request # 1608 For Policy # 10CA43349E   issued to the                                     Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Muskingum Valley 1956- (467)

                                                         Narragansett (546): Annawon 1930-
Request # 1609 For Policy # 10HUA43302   issued to the                                     Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         2016 (225)

                                                         Narragansett (546): Annawon 1930-
Request # 1610 For Policy # 10CA43303    issued to the                                     Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         2016 (225)

                                                         Narragansett (546): Annawon 1930-
Request # 1611 For Policy # 10CA43329    issued to the                                     Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         2016 (225)

                                                         Narragansett (546): Annawon 1930-
Request # 1612 For Policy # 10HUA43331   issued to the                                     Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         2016 (225)

                                                         Narragansett (546): Annawon 1930-
Request # 1613 For Policy # 10CA43342E   issued to the                                     Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         2016 (225)

                                                         Narragansett (546): Annawon 1930-
Request # 1614 For Policy # 10CA43349E   issued to the                                     Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         2016 (225)



                                                                                                                  97
                                                         Narragansett (546): Moby Dick
Request # 1615 For Policy # 10CA43342E   issued to the                                      Local Council and effective 1/1/1975    to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1971-2001 (245)

                                                         Narragansett (546): Moby Dick
Request # 1616 For Policy # 10CA43349E   issued to the                                      Local Council and effective 1/1/1976    to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1971-2001 (245)

                                                         Narragansett (546): Narragansett
Request # 1617 For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1973    to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1930- (546)

                                                         Narragansett (546): Narragansett
Request # 1618 For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1973    to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1930- (546)

                                                         Narragansett (546): Narragansett
Request # 1619 For Policy # 10CA43329    issued to the                                      Local Council and effective 1/1/1974    to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1930- (546)

                                                         Narragansett (546): Narragansett
Request # 1620 For Policy # 10HUA43331   issued to the                                      Local Council and effective 1/1/1974    to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1930- (546)

                                                         National Capital Area (082): Virgin
Request # 1621 For Policy # 10CA43303    issued to the                                       Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Islands 1965-2013 (410)

                                                         National Capital Area (082): Virgin
Request # 1622 For Policy # 10HUA43302   issued to the                                       Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Islands 1965-2013 (410)

                                                         National Capital Area (082): Virgin
Request # 1623 For Policy # 10CA43342E   issued to the                                       Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Islands 1965-2013 (410)

                                                         National Capital Area (082): Virgin
Request # 1624 For Policy # 10CA43349E   issued to the                                       Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Islands 1965-2013 (410)

                                                         Nevada Area (329): Nevada Area
Request # 1625 For Policy # 10CA43342E   issued to the                                      Local Council and effective 1/1/1975    to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (329)

                                                         Nevada Area (329): Nevada Area
Request # 1626 For Policy # 10CA43349E   issued to the                                      Local Council and effective 1/1/1976    to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (329)

                                                         New Birth of Freedom (544):
Request # 1627 For Policy # 10CA43342E   issued to the                                      Local Council and effective 1/1/1975    to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Keystone Area 1948-2010 (515)

                                                         New Birth of Freedom (544):
Request # 1628 For Policy # 10CA43349E   issued to the                                      Local Council and effective 1/1/1976    to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Keystone Area 1948-2010 (515)

                                                         New Birth of Freedom (544): York-
Request # 1629 For Policy # 10CA43303    issued to the                                     Local Council and effective 1/1/1972     to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Adams Area 1932-2010 (544)

                                                         New Birth of Freedom (544): York-
Request # 1630 For Policy # 10HUA43302   issued to the                                     Local Council and effective 1/1/1972     to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Adams Area 1932-2010 (544)

                                                         New Birth of Freedom (544): York-
Request # 1631 For Policy # 10HUA43302   issued to the                                     Local Council and effective 1/1/1973     to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Adams Area 1932-2010 (544)



                                                                                                                    98
                                                         New Birth of Freedom (544): York-
Request # 1632 For Policy # 10CA43303    issued to the                                     Local Council and effective 1/1/1973      to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Adams Area 1932-2010 (544)

                                                         New Birth of Freedom (544): York-
Request # 1633 For Policy # 10CA43329    issued to the                                     Local Council and effective 1/1/1974      to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Adams Area 1932-2010 (544)

                                                         New Birth of Freedom (544): York-
Request # 1634 For Policy # 10HUA43331   issued to the                                     Local Council and effective 1/1/1974      to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Adams Area 1932-2010 (544)

                                                         New Birth of Freedom (544): York-
Request # 1635 For Policy # 10CA43342E   issued to the                                     Local Council and effective 1/1/1975      to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Adams Area 1932-2010 (544)

                                                         New Birth of Freedom (544): York-
Request # 1636 For Policy # 10CA43349E   issued to the                                     Local Council and effective 1/1/1976      to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Adams Area 1932-2010 (544)

                                                         North Florida (087): North Florida
Request # 1637 For Policy # 10HUA43302   issued to the                                        Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (087)

                                                         North Florida (087): North Florida
Request # 1638 For Policy # 10CA43303    issued to the                                        Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (087)

                                                         North Florida (087): North Florida
Request # 1639 For Policy # 10HUA43302   issued to the                                        Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (087)

                                                         North Florida (087): North Florida
Request # 1640 For Policy # 10CA43303    issued to the                                        Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (087)

                                                         North Florida (087): North Florida
Request # 1641 For Policy # 10HUA43331   issued to the                                        Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (087)

                                                         North Florida (087): North Florida
Request # 1642 For Policy # 10CA43329    issued to the                                        Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (087)

                                                         North Florida (087): North Florida
Request # 1643 For Policy # 10CA43342E   issued to the                                        Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (087)

                                                         North Florida (087): North Florida
Request # 1644 For Policy # 10CA43349E   issued to the                                        Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (087)

                                                         Northeast Georgia (101): Northeast
Request # 1645 For Policy # 10CA43342E   issued to the                                      Local Council and effective 1/1/1975     to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Georgia 1935-1997 (101)

                                                         Northeast Georgia (101): Northeast
Request # 1646 For Policy # 10CA43349E   issued to the                                      Local Council and effective 1/1/1976     to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Georgia 1935-1997 (101)

                                                         Northeast Georgia (101): Northeast
Request # 1647 For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1972     to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Georgia 1997- (101)

                                                         Northeast Georgia (101): Northeast
Request # 1648 For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1972     to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Georgia 1997- (101)



                                                                                                                     99
                                                         Northeast Georgia (101): Northeast
Request # 1649 For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1973    to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Georgia 1997- (101)

                                                         Northeast Georgia (101): Northeast
Request # 1650 For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1973    to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Georgia 1997- (101)

                                                         Northeast Georgia (101): Northeast
Request # 1651 For Policy # 10CA43329    issued to the                                      Local Council and effective 1/1/1974    to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Georgia 1997- (101)

                                                         Northeast Georgia (101): Northeast
Request # 1652 For Policy # 10HUA43331   issued to the                                      Local Council and effective 1/1/1974    to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Georgia 1997- (101)

                                                         Northeast Illinois (129): Northeast
Request # 1653 For Policy # 10CA43303    issued to the                                       Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Illinois 1971- (129)

                                                         Northeast Illinois (129): Northeast
Request # 1654 For Policy # 10HUA43302   issued to the                                       Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Illinois 1971- (129)

                                                         Northeast Illinois (129): Northeast
Request # 1655 For Policy # 10CA43329    issued to the                                       Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Illinois 1971- (129)

                                                         Northeast Illinois (129): Northeast
Request # 1656 For Policy # 10HUA43331   issued to the                                       Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Illinois 1971- (129)

                                                         Northeast Illinois (129): Northeast
Request # 1657 For Policy # 10CA43342E   issued to the                                       Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Illinois 1971- (129)

                                                         Northeast Illinois (129): Northeast
Request # 1658 For Policy # 10CA43349E   issued to the                                       Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Illinois 1971- (129)

                                                         Northeast Iowa (178): Northeast
Request # 1659 For Policy # 10CA43342E   issued to the                                      Local Council and effective 1/1/1975    to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Iowa (178)

                                                         Northeast Iowa (178): Northeast
Request # 1660 For Policy # 10CA43349E   issued to the                                      Local Council and effective 1/1/1976    to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Iowa (178)

                                                         Northeastern Pennsylvania (501):
Request # 1661 For Policy # 10CA43342E   issued to the                                      Local Council and effective 1/1/1975    to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Forest Lakes 1962-1990 (501)

                                                         Northeastern Pennsylvania (501):
Request # 1662 For Policy # 10CA43349E   issued to the                                      Local Council and effective 1/1/1976    to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Forest Lakes 1962-1990 (501)

                                                         Northeastern Pennsylvania (501):
Request # 1663 For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1973    to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Penn Mountains 1970-1990 (522)

                                                         Northeastern Pennsylvania (501):
Request # 1664 For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1973    to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Penn Mountains 1970-1990 (522)

                                                         Northeastern Pennsylvania (501):
Request # 1665 For Policy # 10CA43342E   issued to the                                      Local Council and effective 1/1/1975    to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Penn Mountains 1970-1990 (522)



                                                                                                                   100
                                                         Northeastern Pennsylvania (501):
Request # 1666 For Policy # 10CA43349E   issued to the                                      Local Council and effective 1/1/1976    to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Penn Mountains 1970-1990 (522)

                                                         Northern Lights (429): Great Plains
Request # 1667 For Policy # 10CA43303    issued to the                                       Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area 1929-1974 (431)

                                                         Northern Lights (429): Great Plains
Request # 1668 For Policy # 10HUA43302   issued to the                                       Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area 1929-1974 (431)

                                                         Northern Lights (429): Great Plains
Request # 1669 For Policy # 10HUA43302   issued to the                                       Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area 1929-1974 (431)

                                                         Northern Lights (429): Great Plains
Request # 1670 For Policy # 10CA43303    issued to the                                       Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area 1929-1974 (431)

                                                         Northern Lights (429): Great Plains
Request # 1671 For Policy # 10CA43329    issued to the                                       Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area 1929-1974 (431)

                                                         Northern Lights (429): Great Plains
Request # 1672 For Policy # 10HUA43331   issued to the                                       Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area 1929-1974 (431)

                                                         Northern Lights (429): Missouri
Request # 1673 For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1972    to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Valley 1929-1974 (432)

                                                         Northern Lights (429): Missouri
Request # 1674 For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1972    to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Valley 1929-1974 (432)

                                                         Northern Lights (429): Missouri
Request # 1675 For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1973    to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Valley 1929-1974 (432)

                                                         Northern Lights (429): Missouri
Request # 1676 For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1973    to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Valley 1929-1974 (432)

                                                         Northern Lights (429): Missouri
Request # 1677 For Policy # 10CA43329    issued to the                                      Local Council and effective 1/1/1974    to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Valley 1929-1974 (432)

                                                         Northern Lights (429): Missouri
Request # 1678 For Policy # 10HUA43331   issued to the                                      Local Council and effective 1/1/1974    to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Valley 1929-1974 (432)

                                                         Northern Lights (429): Northern
Request # 1679 For Policy # 10CA43342E   issued to the                                      Local Council and effective 1/1/1975    to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Lights 1974- (429)

                                                         Northern Lights (429): Northern
Request # 1680 For Policy # 10CA43349E   issued to the                                      Local Council and effective 1/1/1976    to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Lights 1974- (429)

                                                         Northern Lights (429): Red River
Request # 1681 For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1973    to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Valley 1925-1974 (429)

                                                         Northern Lights (429): Red River
Request # 1682 For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1973    to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Valley 1925-1974 (429)



                                                                                                                   101
                                                           Northern Lights (429): Red River
Request # 1683 For Policy # 10HUA43331     issued to the                                      Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Valley 1925-1974 (429)

                                                           Northern Lights (429): Red River
Request # 1684 For Policy # 10CA43329      issued to the                                      Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Valley 1925-1974 (429)

                                                           Northern New Jersey (333): Aheka
Request # 1685 For Policy # 10CA43303      issued to the                                    Local Council and effective 1/1/1972     to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1939-1972 (354)

                                                           Northern New Jersey (333): Aheka
Request # 1686 For Policy # 10HUA43302     issued to the                                    Local Council and effective 1/1/1972     to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1939-1972 (354)

                                                           Northern New Jersey (333): Aheka
Request # 1687 For Policy # 10HUA43302     issued to the                                    Local Council and effective 1/1/1973     to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1939-1972 (354)

                                                           Northern New Jersey (333): Aheka
Request # 1688 For Policy # 10CA43303      issued to the                                    Local Council and effective 1/1/1973     to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1939-1972 (354)

                                                           Northern New Jersey (333):
Request # 1689 For Policy # 10HUA43302     issued to the                                      Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Alhtaha 1942-1972 (355)

                                                           Northern New Jersey (333):
Request # 1690 For Policy # 10CA43303      issued to the                                      Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Alhtaha 1942-1972 (355)

                                                           Northern New Jersey (333):
Request # 1691 For Policy # 10HUA43302     issued to the                                      Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Alhtaha 1942-1972 (355)

                                                           Northern New Jersey (333):
Request # 1692 For Policy # 10CA43303      issued to the                                      Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Alhtaha 1942-1972 (355)

                                                           Northern New Jersey (333):
Request # 1693 For Policy # 10HUA43331     issued to the                                      Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Alhtaha 1942-1972 (355)

                                                           Northern New Jersey (333):
Request # 1694 For Policy # 10CA43329      issued to the                                      Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Alhtaha 1942-1972 (355)

                                                           Northern New Jersey (333):
Request # 1695 For Policy # 10 HUA 43300   issued to the                                      Local Council and effective 5/1/1971   to 5/1/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Bayonne 1918-1993 (332)

                                                           Northern New Jersey (333):
Request # 1696 For Policy # 10CA43315      issued to the                                      Local Council and effective 9/21/1971 to 1/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Bayonne 1918-1993 (332)

                                                           Northern New Jersey (333):
Request # 1697 For Policy # 10HUA43302     issued to the                                      Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Bayonne 1918-1993 (332)

                                                           Northern New Jersey (333):
Request # 1698 For Policy # 10CA43303      issued to the                                      Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Bayonne 1918-1993 (332)

                                                           Northern New Jersey (333):
Request # 1699 For Policy # 10HUA43302     issued to the                                      Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Bayonne 1918-1993 (332)



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                                                         Northern New Jersey (333):
Request # 1700 For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Bayonne 1918-1993 (332)

                                                         Northern New Jersey (333):
Request # 1701 For Policy # 10CA43329    issued to the                                      Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Bayonne 1918-1993 (332)

                                                         Northern New Jersey (333):
Request # 1702 For Policy # 10HUA43331   issued to the                                      Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Bayonne 1918-1993 (332)

                                                         Northern New Jersey (333):
Request # 1703 For Policy # 10CA43342E   issued to the                                      Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Bayonne 1918-1993 (332)

                                                         Northern New Jersey (333):
Request # 1704 For Policy # 10CA43349E   issued to the                                      Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Bayonne 1918-1993 (332)

                                                         Northern New Jersey (333): Bergen
Request # 1705 For Policy # 10CA43342E   issued to the                                     Local Council and effective 1/1/1975    to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1969-1995 (350)

                                                         Northern New Jersey (333): Bergen
Request # 1706 For Policy # 10CA43349E   issued to the                                     Local Council and effective 1/1/1976    to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1969-1995 (350)

                                                         Northern New Jersey (333): Bergen
Request # 1707 For Policy # 10CA43303    issued to the                                     Local Council and effective 1/1/1972    to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1995-1999 (350)

                                                         Northern New Jersey (333): Bergen
Request # 1708 For Policy # 10HUA43302   issued to the                                     Local Council and effective 1/1/1972    to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1995-1999 (350)

                                                         Northern New Jersey (333): Bergen
Request # 1709 For Policy # 10CA43303    issued to the                                     Local Council and effective 1/1/1973    to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1995-1999 (350)

                                                         Northern New Jersey (333): Bergen
Request # 1710 For Policy # 10HUA43302   issued to the                                     Local Council and effective 1/1/1973    to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1995-1999 (350)

                                                         Northern New Jersey (333): Bergen
Request # 1711 For Policy # 10CA43329    issued to the                                     Local Council and effective 1/1/1974    to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1995-1999 (350)

                                                         Northern New Jersey (333): Bergen
Request # 1712 For Policy # 10HUA43331   issued to the                                     Local Council and effective 1/1/1974    to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1995-1999 (350)

                                                         Northern New Jersey (333): Eagle
Request # 1713 For Policy # 10CA43342E   issued to the                                      Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Rock 1931-1976 (346)

                                                         Northern New Jersey (333): Eagle
Request # 1714 For Policy # 10CA43349E   issued to the                                      Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Rock 1931-1976 (346)

                                                         Northern New Jersey (333): Essex
Request # 1715 For Policy # 10CA43349E   issued to the                                      Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1976-1999 (336)

                                                         Northern New Jersey (333):
Request # 1716 For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Hudson Liberty 1993-1999 (348)



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                                                           Northern New Jersey (333):
Request # 1717 For Policy # 10HUA43302     issued to the                                     Local Council and effective 1/1/1973    to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Hudson Liberty 1993-1999 (348)

                                                           Northern New Jersey (333):
Request # 1718 For Policy # 10CA43303      issued to the                                   Local Council and effective 1/1/1972      to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Hudson-Hamilton 1968-1993 (348)

                                                           Northern New Jersey (333):
Request # 1719 For Policy # 10CA43303      issued to the                                   Local Council and effective 1/1/1973      to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Hudson-Hamilton 1968-1993 (348)

                                                           Northern New Jersey (333):
Request # 1720 For Policy # 10HUA43302     issued to the                                   Local Council and effective 1/1/1973      to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Hudson-Hamilton 1968-1993 (348)

                                                           Northern New Jersey (333):
Request # 1721 For Policy # 10HUA43331     issued to the                                   Local Council and effective 1/1/1974      to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Hudson-Hamilton 1968-1993 (348)

                                                           Northern New Jersey (333):
Request # 1722 For Policy # 10CA43329      issued to the                                   Local Council and effective 1/1/1974      to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Hudson-Hamilton 1968-1993 (348)

                                                           Northern New Jersey (333):
Request # 1723 For Policy # 10CA43342E     issued to the                                   Local Council and effective 1/1/1975      to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Hudson-Hamilton 1968-1993 (348)

                                                           Northern New Jersey (333):
Request # 1724 For Policy # 10CA43349E     issued to the                                   Local Council and effective 1/1/1976      to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Hudson-Hamilton 1968-1993 (348)

                                                           Northern New Jersey (333):
Request # 1725 For Policy # 13 UUN CY4185 issued to the                                      Local Council and effective 4/5/1999    to 4/5/2000   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Northern New Jersey 1999- (333)

                                                           Northern New Jersey (333):
Request # 1726 For Policy # 13 UUN CY4185 issued to the                                      Local Council and effective 4/5/2000    to 4/5/2001   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Northern New Jersey 1999- (333)

                                                           Northern New Jersey (333): Orange
Request # 1727 For Policy # 10CA43342E     issued to the                                     Local Council and effective 1/1/1975    to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Mountain 1949-1976 (337)

                                                           Northern New Jersey (333): Orange
Request # 1728 For Policy # 10CA43349E     issued to the                                     Local Council and effective 1/1/1976    to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Mountain 1949-1976 (337)

                                                           Northern New Jersey (333): Passaic
Request # 1729 For Policy # 10CA43342E     issued to the                                      Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Valley 1973-1999 (353)

                                                           Northern New Jersey (333): Passaic
Request # 1730 For Policy # 10CA43349E     issued to the                                      Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Valley 1973-1999 (353)
                                                         Northern New Jersey (333):
Request # 1731 For Policy # 10CA43303      issued to the Ridgewood and Glen Rock 1922-       Local Council and effective 1/1/1972    to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1997 (359)
                                                         Northern New Jersey (333):
Request # 1732 For Policy # 10HUA43302     issued to the Ridgewood and Glen Rock 1922-       Local Council and effective 1/1/1972    to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1997 (359)
                                                         Northern New Jersey (333):
Request # 1733 For Policy # 10HUA43302     issued to the Ridgewood and Glen Rock 1922-       Local Council and effective 1/1/1973    to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1997 (359)


                                                                                                                    104
                                                         Northern New Jersey (333):
Request # 1734 For Policy # 10CA43303    issued to the   Ridgewood and Glen Rock 1922-     Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1997 (359)
                                                         Northern New Jersey (333):
Request # 1735 For Policy # 10CA43329    issued to the   Ridgewood and Glen Rock 1922-     Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1997 (359)
                                                         Northern New Jersey (333):
Request # 1736 For Policy # 10HUA43331   issued to the   Ridgewood and Glen Rock 1922-     Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1997 (359)
                                                         Northern New Jersey (333):
Request # 1737 For Policy # 10CA43342E   issued to the   Ridgewood and Glen Rock 1922-     Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1997 (359)
                                                         Northern New Jersey (333):
Request # 1738 For Policy # 10CA43349E   issued to the   Ridgewood and Glen Rock 1922-     Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1997 (359)
                                                         Northern New Jersey (333): Robert
Request # 1739 For Policy # 10CA43303    issued to the                                     Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Treat 1933-1976 (349)

                                                         Northern New Jersey (333): Robert
Request # 1740 For Policy # 10HUA43302   issued to the                                     Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Treat 1933-1976 (349)

                                                         Northern New Jersey (333): Robert
Request # 1741 For Policy # 10CA43303    issued to the                                     Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Treat 1933-1976 (349)

                                                         Northern New Jersey (333): Robert
Request # 1742 For Policy # 10HUA43302   issued to the                                     Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Treat 1933-1976 (349)

                                                         Northern New Jersey (333): Robert
Request # 1743 For Policy # 10CA43329    issued to the                                     Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Treat 1933-1976 (349)

                                                         Northern New Jersey (333): Robert
Request # 1744 For Policy # 10HUA43331   issued to the                                     Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Treat 1933-1976 (349)

                                                         Northern New Jersey (333): Robert
Request # 1745 For Policy # 10CA43342E   issued to the                                     Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Treat 1933-1976 (349)

                                                         Northern New Jersey (333): Robert
Request # 1746 For Policy # 10CA43349E   issued to the                                     Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Treat 1933-1976 (349)

                                                         Northern New Jersey (333):
Request # 1747 For Policy # 10CA43303    issued to the                                     Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Tamarack 1935-1986 (333)

                                                         Northern New Jersey (333):
Request # 1748 For Policy # 10HUA43302   issued to the                                     Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Tamarack 1935-1986 (333)

                                                         Northern New Jersey (333):
Request # 1749 For Policy # 10CA43303    issued to the                                     Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Tamarack 1935-1986 (333)

                                                         Northern New Jersey (333):
Request # 1750 For Policy # 10HUA43302   issued to the                                     Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Tamarack 1935-1986 (333)



                                                                                                                  105
                                                         Northern New Jersey (333):
Request # 1751 For Policy # 10CA43329    issued to the                                       Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Tamarack 1935-1986 (333)

                                                         Northern New Jersey (333):
Request # 1752 For Policy # 10HUA43331   issued to the                                       Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Tamarack 1935-1986 (333)

                                                         Northern New Jersey (333):
Request # 1753 For Policy # 10CA43342E   issued to the                                       Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Tamarack 1935-1986 (333)

                                                         Northern New Jersey (333):
Request # 1754 For Policy # 10CA43349E   issued to the                                       Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Tamarack 1935-1986 (333)

                                                         Northern Star (250): Indianhead
Request # 1755 For Policy # 10CA43342E   issued to the                                       Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Council 1955-2005 (295)

                                                         Northern Star (250): Indianhead
Request # 1756 For Policy # 10CA43349E   issued to the                                       Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Council 1955-2005 (295)

                                                         Northern Star (250): Viking 1951-
Request # 1757 For Policy # 10HUA43302   issued to the                                       Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         2005 (289)

                                                         Northern Star (250): Viking 1951-
Request # 1758 For Policy # 10CA43303    issued to the                                       Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         2005 (289)

                                                         Northern Star (250): Viking 1951-
Request # 1759 For Policy # 10HUA43302   issued to the                                       Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         2005 (289)

                                                         Northern Star (250): Viking 1951-
Request # 1760 For Policy # 10CA43303    issued to the                                       Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         2005 (289)

                                                         Northern Star (250): Viking 1951-
Request # 1761 For Policy # 10CA43329    issued to the                                       Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         2005 (289)

                                                         Northern Star (250): Viking 1951-
Request # 1762 For Policy # 10HUA43331   issued to the                                       Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         2005 (289)

                                                         Northern Star (250): Viking 1951-
Request # 1763 For Policy # 10CA43342E   issued to the                                       Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         2005 (289)

                                                         Northern Star (250): Viking 1951-
Request # 1764 For Policy # 10CA43349E   issued to the                                       Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         2005 (289)

                                                         Northwest Georgia (100):
Request # 1765 For Policy # 10CA43303    issued to the                                       Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Northwest Georgia (100)

                                                         Northwest Georgia (100):
Request # 1766 For Policy # 10HUA43302   issued to the                                       Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Northwest Georgia (100)

                                                         Northwest Georgia (100):
Request # 1767 For Policy # 10HUA43302   issued to the                                       Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Northwest Georgia (100)



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                                                         Northwest Georgia (100):
Request # 1768 For Policy # 10CA43303    issued to the                                    Local Council and effective 1/1/1973   to 1/1/1974     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Northwest Georgia (100)

                                                         Northwest Georgia (100):
Request # 1769 For Policy # 10CA43329    issued to the                                    Local Council and effective 1/1/1974   to 1/1/1975     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Northwest Georgia (100)

                                                         Northwest Georgia (100):
Request # 1770 For Policy # 10HUA43331   issued to the                                    Local Council and effective 1/1/1974   to 1/1/1975     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Northwest Georgia (100)

                                                         Northwest Georgia (100):
Request # 1771 For Policy # 10CA43342E   issued to the                                    Local Council and effective 1/1/1975   to 1/1/1976     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Northwest Georgia (100)

                                                         Northwest Georgia (100):
Request # 1772 For Policy # 10CA43349E   issued to the                                    Local Council and effective 1/1/1976   to 1/1/1977     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Northwest Georgia (100)

                                                         Northwest Georgia (100):
Request # 1773 For Policy # SMP 267512   issued to the                                    Local Council and effective 1/21/1976 to 3/9/1976      admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Northwest Georgia (100)

                                                         Northwest Georgia (100):
Request # 1774 For Policy # SMP 267512   issued to the                                    Local Council and effective 3/9/1976   to 1/21/1977 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Northwest Georgia (100)

                                                         Northwest Georgia (100):
Request # 1775 For Policy # SMP 267512   issued to the                                    Local Council and effective 1/21/1977 to 1/21/1978 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Northwest Georgia (100)

                                                         Northwest Texas (587): Northwest
Request # 1776 For Policy # 10HUA43302   issued to the                                    Local Council and effective 1/1/1973   to 1/1/1974     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Texas (587)

                                                         Northwest Texas (587): Northwest
Request # 1777 For Policy # 10CA43303    issued to the                                    Local Council and effective 1/1/1973   to 1/1/1974     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Texas (587)

                                                         Northwest Texas (587): Northwest
Request # 1778 For Policy # 10CA43329    issued to the                                    Local Council and effective 1/1/1974   to 1/1/1975     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Texas (587)

                                                         Northwest Texas (587): Northwest
Request # 1779 For Policy # 10HUA43331   issued to the                                    Local Council and effective 1/1/1974   to 1/1/1975     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Texas (587)

                                                         Northwest Texas (587): Northwest
Request # 1780 For Policy # 10CA43342E   issued to the                                    Local Council and effective 1/1/1975   to 1/1/1976     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Texas (587)

                                                         Northwest Texas (587): Northwest
Request # 1781 For Policy # 10CA43349E   issued to the                                    Local Council and effective 1/1/1976   to 1/1/1977     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Texas (587)

Request # 1782 For Policy # 10CA43303    issued to the Norwela (215): Norwela (215)       Local Council and effective 1/1/1973   to 1/1/1974     admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1783 For Policy # 10HUA43302   issued to the Norwela (215): Norwela (215)       Local Council and effective 1/1/1973   to 1/1/1974     admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1784 For Policy # 10HUA43331   issued to the Norwela (215): Norwela (215)       Local Council and effective 1/1/1974   to 1/1/1975     admit that Abuse Claims against insureds and co-insureds are covered under the policy.



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Request # 1785 For Policy # 10CA43329    issued to the Norwela (215): Norwela (215)          Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1786 For Policy # 10CA43342E   issued to the Norwela (215): Norwela (215)          Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1787 For Policy # 10CA43349E   issued to the Norwela (215): Norwela (215)          Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.

                                                         Occoneechee (421): Occoneechee
Request # 1788 For Policy # 10CA43303    issued to the                                  Local Council and effective 1/1/1973        to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (421)

                                                         Occoneechee (421): Occoneechee
Request # 1789 For Policy # 10HUA43302   issued to the                                  Local Council and effective 1/1/1973        to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (421)

                                                         Occoneechee (421): Occoneechee
Request # 1790 For Policy # 10CA43329    issued to the                                  Local Council and effective 1/1/1974        to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (421)

                                                         Occoneechee (421): Occoneechee
Request # 1791 For Policy # 10HUA43331   issued to the                                  Local Council and effective 1/1/1974        to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (421)

                                                         Occoneechee (421): Occoneechee
Request # 1792 For Policy # 10CA43342E   issued to the                                  Local Council and effective 1/1/1975        to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (421)

                                                         Occoneechee (421): Occoneechee
Request # 1793 For Policy # 10CA43349E   issued to the                                  Local Council and effective 1/1/1976        to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (421)

                                                         Ohio River Valley (619): Fort
Request # 1794 For Policy # 10CA43303    issued to the                                       Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Steuben Area 1929-1991 (459)

                                                         Ohio River Valley (619): Fort
Request # 1795 For Policy # 10HUA43302   issued to the                                       Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Steuben Area 1929-1991 (459)

                                                         Ohio River Valley (619): Fort
Request # 1796 For Policy # 10CA43329    issued to the                                       Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Steuben Area 1929-1991 (459)

                                                         Ohio River Valley (619): Fort
Request # 1797 For Policy # 10HUA43331   issued to the                                       Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Steuben Area 1929-1991 (459)

                                                         Ohio River Valley (619): Fort
Request # 1798 For Policy # 10CA43342E   issued to the                                       Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Steuben Area 1929-1991 (459)

                                                         Ohio River Valley (619): Fort
Request # 1799 For Policy # 10CA43349E   issued to the                                       Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Steuben Area 1929-1991 (459)

                                                         Ohio River Valley (619): National
Request # 1800 For Policy # 10HUA43302   issued to the                                       Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Trail 1966-1991 (619)

                                                         Ohio River Valley (619): National
Request # 1801 For Policy # 10CA43303    issued to the                                       Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Trail 1966-1991 (619)



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                                                         Ohio River Valley (619): National
Request # 1802 For Policy # 10HUA43302   issued to the                                       Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Trail 1966-1991 (619)

                                                         Ohio River Valley (619): National
Request # 1803 For Policy # 10CA43303    issued to the                                       Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Trail 1966-1991 (619)

                                                         Ohio River Valley (619): National
Request # 1804 For Policy # 10CA43329    issued to the                                       Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Trail 1966-1991 (619)

                                                         Ohio River Valley (619): National
Request # 1805 For Policy # 10HUA43331   issued to the                                       Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Trail 1966-1991 (619)

                                                         Ohio River Valley (619): National
Request # 1806 For Policy # 10CA43342E   issued to the                                       Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Trail 1966-1991 (619)

                                                         Ohio River Valley (619): National
Request # 1807 For Policy # 10CA43349E   issued to the                                       Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Trail 1966-1991 (619)

                                                         Old Hickory (427): Old Hickory
Request # 1808 For Policy # Unknown      issued to the                                       Local Council and effective 1/1/1959   to 1/1/1960   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (427)

                                                         Old Hickory (427): Old Hickory
Request # 1809 For Policy # Unknown      issued to the                                       Local Council and effective 1/1/1960   to 1/1/1961   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (427)

                                                         Old Hickory (427): Old Hickory
Request # 1810 For Policy # Unknown      issued to the                                       Local Council and effective 1/1/1961   to 1/1/1962   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (427)

                                                         Old Hickory (427): Old Hickory
Request # 1811 For Policy # Unknown      issued to the                                       Local Council and effective 1/1/1962   to 1/1/1963   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (427)

                                                         Old Hickory (427): Old Hickory
Request # 1812 For Policy # Unknown      issued to the                                       Local Council and effective 1/1/1963   to 1/1/1964   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (427)

                                                         Old Hickory (427): Old Hickory
Request # 1813 For Policy # Unknown      issued to the                                       Local Council and effective 1/1/1964   to 1/1/1965   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (427)

                                                         Old Hickory (427): Old Hickory
Request # 1814 For Policy # Unknown      issued to the                                       Local Council and effective 1/1/1965   to 1/1/1966   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (427)

                                                         Old Hickory (427): Old Hickory
Request # 1815 For Policy # Unknown      issued to the                                       Local Council and effective 1/1/1966   to 1/1/1967   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (427)

                                                         Old Hickory (427): Old Hickory
Request # 1816 For Policy # 10CA43303    issued to the                                       Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (427)

                                                         Old Hickory (427): Old Hickory
Request # 1817 For Policy # 10HUA43302   issued to the                                       Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (427)

                                                         Old Hickory (427): Old Hickory
Request # 1818 For Policy # 10CA43303    issued to the                                       Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (427)



                                                                                                                   109
                                                         Old Hickory (427): Old Hickory
Request # 1819 For Policy # 10HUA43302   issued to the                                     Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (427)

                                                         Old Hickory (427): Old Hickory
Request # 1820 For Policy # 10HUA43331   issued to the                                     Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (427)

                                                         Old Hickory (427): Old Hickory
Request # 1821 For Policy # 10CA43329    issued to the                                     Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (427)

                                                         Old Hickory (427): Old Hickory
Request # 1822 For Policy # 10CA43342E   issued to the                                     Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (427)

                                                         Old Hickory (427): Old Hickory
Request # 1823 For Policy # 10CA43349E   issued to the                                     Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (427)

                                                         Old North State (070): Cherokee
Request # 1824 For Policy # 10CA43342E   issued to the                                     Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1923-1994 (417)

                                                         Old North State (070): Cherokee
Request # 1825 For Policy # 10CA43349E   issued to the                                     Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1923-1994 (417)

                                                         Old North State (070): General
Request # 1826 For Policy # 10CA43342E   issued to the                                     Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Greene 1947-1992 (418)

                                                         Old North State (070): General
Request # 1827 For Policy # 10CA43349E   issued to the                                     Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Greene 1947-1992 (418)

                                                         Old North State (070): Uwharrie
Request # 1828 For Policy # 10CA43303    issued to the                                     Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1923-1992 (419)

                                                         Old North State (070): Uwharrie
Request # 1829 For Policy # 10HUA43302   issued to the                                     Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1923-1992 (419)

                                                         Old North State (070): Uwharrie
Request # 1830 For Policy # 10CA43303    issued to the                                     Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1923-1992 (419)

                                                         Old North State (070): Uwharrie
Request # 1831 For Policy # 10HUA43302   issued to the                                     Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1923-1992 (419)

                                                         Old North State (070): Uwharrie
Request # 1832 For Policy # 10CA43329    issued to the                                     Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1923-1992 (419)

                                                         Old North State (070): Uwharrie
Request # 1833 For Policy # 10HUA43331   issued to the                                     Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1923-1992 (419)

                                                         Old North State (070): Uwharrie
Request # 1834 For Policy # 10CA43342E   issued to the                                     Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1923-1992 (419)

                                                         Old North State (070): Uwharrie
Request # 1835 For Policy # 10CA43349E   issued to the                                     Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1923-1992 (419)



                                                                                                                 110
                                                         Orange County (039): Orange
Request # 1836 For Policy # 10CA43342E   issued to the                                       Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         County 1972- (039)

                                                         Orange County (039): Orange
Request # 1837 For Policy # 10CA43349E   issued to the                                       Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         County 1972- (039)

                                                         Oregon Trail (697): Oregon Trail
Request # 1838 For Policy # 10CA43342E   issued to the                                       Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (697)

                                                         Oregon Trail (697): Oregon Trail
Request # 1839 For Policy # 10CA43349E   issued to the                                       Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (697)

                                                         Overland Trails (322): Tri-Trails
Request # 1840 For Policy # 10CA43342E   issued to the                                       Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1954-1993 (323)

                                                         Overland Trails (322): Tri-Trails
Request # 1841 For Policy # 10CA43349E   issued to the                                       Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1954-1993 (323)

                                                         Ozark Trails (306): Mo-Kan Area
Request # 1842 For Policy # 10CA43303    issued to the                                       Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1929-1994 (306)

                                                         Ozark Trails (306): Mo-Kan Area
Request # 1843 For Policy # 10HUA43302   issued to the                                       Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1929-1994 (306)

                                                         Ozark Trails (306): Mo-Kan Area
Request # 1844 For Policy # 10HUA43302   issued to the                                       Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1929-1994 (306)

                                                         Ozark Trails (306): Mo-Kan Area
Request # 1845 For Policy # 10CA43303    issued to the                                       Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1929-1994 (306)

                                                         Ozark Trails (306): Mo-Kan Area
Request # 1846 For Policy # 10CA43329    issued to the                                       Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1929-1994 (306)

                                                         Ozark Trails (306): Mo-Kan Area
Request # 1847 For Policy # 10HUA43331   issued to the                                       Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1929-1994 (306)

                                                         Ozark Trails (306): Mo-Kan Area
Request # 1848 For Policy # 10CA43342E   issued to the                                       Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1929-1994 (306)

                                                         Ozark Trails (306): Mo-Kan Area
Request # 1849 For Policy # 10CA43349E   issued to the                                       Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1929-1994 (306)

                                                         Ozark Trails (306): Ozarks 1966-
Request # 1850 For Policy # 10HUA43302   issued to the                                       Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1994 (308)

                                                         Ozark Trails (306): Ozarks 1966-
Request # 1851 For Policy # 10CA43303    issued to the                                       Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1994 (308)

                                                         Ozark Trails (306): Ozarks 1966-
Request # 1852 For Policy # 10CA43303    issued to the                                       Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1994 (308)



                                                                                                                   111
                                                         Ozark Trails (306): Ozarks 1966-
Request # 1853 For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1973    to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1994 (308)

                                                         Ozark Trails (306): Ozarks 1966-
Request # 1854 For Policy # 10HUA43331   issued to the                                      Local Council and effective 1/1/1974    to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1994 (308)

                                                         Ozark Trails (306): Ozarks 1966-
Request # 1855 For Policy # 10CA43329    issued to the                                      Local Council and effective 1/1/1974    to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1994 (308)

                                                         Ozark Trails (306): Ozarks 1966-
Request # 1856 For Policy # 10CA43342E   issued to the                                      Local Council and effective 1/1/1975    to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1994 (308)

                                                         Ozark Trails (306): Ozarks 1966-
Request # 1857 For Policy # 10CA43349E   issued to the                                      Local Council and effective 1/1/1976    to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1994 (308)

                                                         Pacific Harbors (612): Mount
Request # 1858 For Policy # 10CA43342E   issued to the                                      Local Council and effective 1/1/1975    to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Rainier 1948-1993 (612)

                                                         Pacific Harbors (612): Mount
Request # 1859 For Policy # 10CA43349E   issued to the                                      Local Council and effective 1/1/1976    to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Rainier 1948-1993 (612)

                                                         Pacific Harbors (612): Tumwater
Request # 1860 For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1972    to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area 1934-1993 (737)

                                                         Pacific Harbors (612): Tumwater
Request # 1861 For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1972    to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area 1934-1993 (737)

                                                         Pacific Harbors (612): Tumwater
Request # 1862 For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1973    to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area 1934-1993 (737)

                                                         Pacific Harbors (612): Tumwater
Request # 1863 For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1973    to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area 1934-1993 (737)

                                                         Pacific Harbors (612): Tumwater
Request # 1864 For Policy # 10CA43329    issued to the                                      Local Council and effective 1/1/1974    to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area 1934-1993 (737)

                                                         Pacific Harbors (612): Tumwater
Request # 1865 For Policy # 10HUA43331   issued to the                                      Local Council and effective 1/1/1974    to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area 1934-1993 (737)

                                                         Pacific Harbors (612): Tumwater
Request # 1866 For Policy # 10CA43342E   issued to the                                      Local Council and effective 1/1/1975    to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area 1934-1993 (737)

                                                         Pacific Harbors (612): Tumwater
Request # 1867 For Policy # 10CA43349E   issued to the                                      Local Council and effective 1/1/1976    to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area 1934-1993 (737)

                                                         Pacific Harbors (612): Twin Harbors
Request # 1868 For Policy # 10HUA43302   issued to the                                       Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area 1930-1993 (607)

                                                         Pacific Harbors (612): Twin Harbors
Request # 1869 For Policy # 10CA43303    issued to the                                       Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area 1930-1993 (607)



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                                                         Pacific Harbors (612): Twin Harbors
Request # 1870 For Policy # 10CA43303    issued to the                                       Local Council and effective 1/1/1973    to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area 1930-1993 (607)

                                                         Pacific Harbors (612): Twin Harbors
Request # 1871 For Policy # 10HUA43302   issued to the                                       Local Council and effective 1/1/1973    to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area 1930-1993 (607)

                                                         Pacific Harbors (612): Twin Harbors
Request # 1872 For Policy # 10HUA43331   issued to the                                       Local Council and effective 1/1/1974    to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area 1930-1993 (607)

                                                         Pacific Harbors (612): Twin Harbors
Request # 1873 For Policy # 10CA43329    issued to the                                       Local Council and effective 1/1/1974    to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area 1930-1993 (607)

                                                         Pacific Harbors (612): Twin Harbors
Request # 1874 For Policy # 10CA43342E   issued to the                                       Local Council and effective 1/1/1975    to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area 1930-1993 (607)

                                                         Pacific Harbors (612): Twin Harbors
Request # 1875 For Policy # 10CA43349E   issued to the                                       Local Council and effective 1/1/1976    to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area 1930-1993 (607)

                                                         Pacific Skyline (031): San Mateo
Request # 1876 For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1972     to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         County 1932-1994 (020)

                                                         Pacific Skyline (031): San Mateo
Request # 1877 For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1972     to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         County 1932-1994 (020)

                                                         Pacific Skyline (031): San Mateo
Request # 1878 For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1973     to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         County 1932-1994 (020)

                                                         Pacific Skyline (031): San Mateo
Request # 1879 For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1973     to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         County 1932-1994 (020)

                                                         Pacific Skyline (031): San Mateo
Request # 1880 For Policy # 10HUA43331   issued to the                                      Local Council and effective 1/1/1974     to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         County 1932-1994 (020)

                                                         Pacific Skyline (031): San Mateo
Request # 1881 For Policy # 10CA43329    issued to the                                      Local Council and effective 1/1/1974     to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         County 1932-1994 (020)

                                                         Pacific Skyline (031): San Mateo
Request # 1882 For Policy # 10CA43342E   issued to the                                      Local Council and effective 1/1/1975     to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         County 1932-1994 (020)

                                                         Pacific Skyline (031): San Mateo
Request # 1883 For Policy # 10CA43349E   issued to the                                      Local Council and effective 1/1/1976     to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         County 1932-1994 (020)

                                                         Pacific Skyline (031): Stanford Area
Request # 1884 For Policy # 10CA43303    issued to the                                        Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1940-1994 (031)

                                                         Pacific Skyline (031): Stanford Area
Request # 1885 For Policy # 10HUA43302   issued to the                                        Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1940-1994 (031)

                                                         Pacific Skyline (031): Stanford Area
Request # 1886 For Policy # 10HUA43302   issued to the                                        Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1940-1994 (031)



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                                                         Pacific Skyline (031): Stanford Area
Request # 1887 For Policy # 10CA43303    issued to the                                        Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1940-1994 (031)

                                                         Pacific Skyline (031): Stanford Area
Request # 1888 For Policy # 10CA43329    issued to the                                        Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1940-1994 (031)

                                                         Pacific Skyline (031): Stanford Area
Request # 1889 For Policy # 10HUA43331   issued to the                                        Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1940-1994 (031)

                                                         Pacific Skyline (031): Stanford Area
Request # 1890 For Policy # 10CA43342E   issued to the                                        Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1940-1994 (031)

                                                         Pacific Skyline (031): Stanford Area
Request # 1891 For Policy # 10CA43349E   issued to the                                        Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1940-1994 (031)

Request # 1892 For Policy # 10HUA43302   issued to the Palmetto (549): Palmetto (549)       Local Council and effective 1/1/1972     to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1893 For Policy # 10CA43303    issued to the Palmetto (549): Palmetto (549)       Local Council and effective 1/1/1972     to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1894 For Policy # 10CA43303    issued to the Palmetto (549): Palmetto (549)       Local Council and effective 1/1/1973     to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1895 For Policy # 10HUA43302   issued to the Palmetto (549): Palmetto (549)       Local Council and effective 1/1/1973     to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1896 For Policy # 10CA43329    issued to the Palmetto (549): Palmetto (549)       Local Council and effective 1/1/1974     to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1897 For Policy # 10HUA43331   issued to the Palmetto (549): Palmetto (549)       Local Council and effective 1/1/1974     to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1898 For Policy # 10CA43342E   issued to the Palmetto (549): Palmetto (549)       Local Council and effective 1/1/1975     to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1899 For Policy # 10CA43349E   issued to the Palmetto (549): Palmetto (549)       Local Council and effective 1/1/1976     to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.

                                                         Pathway to Adventure (456):
Request # 1900 For Policy # 10CA43342E   issued to the                                      Local Council and effective 1/1/1975     to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Calumet 1965-2016 (152)

                                                         Pathway to Adventure (456):
Request # 1901 For Policy # 10CA43349E   issued to the                                      Local Council and effective 1/1/1976     to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Calumet 1965-2016 (152)

                                                         Pathway to Adventure (456):
Request # 1902 For Policy # 10CA43342E   issued to the                                      Local Council and effective 1/1/1975     to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Chicago Area 1930-2016 (118)

                                                         Pathway to Adventure (456):
Request # 1903 For Policy # 10CA43349E   issued to the                                      Local Council and effective 1/1/1976     to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Chicago Area 1930-2016 (118)



                                                                                                                    114
                                                         Pathway to Adventure (456):
Request # 1904 For Policy # 10HUA43302   issued to the   Northwest Suburban 1926-2016    Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (751)
                                                         Pathway to Adventure (456):
Request # 1905 For Policy # 10CA43303    issued to the   Northwest Suburban 1926-2016    Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (751)
                                                         Pathway to Adventure (456):
Request # 1906 For Policy # 10HUA43302   issued to the   Northwest Suburban 1926-2016    Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (751)
                                                         Pathway to Adventure (456):
Request # 1907 For Policy # 10CA43303    issued to the   Northwest Suburban 1926-2016    Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (751)
                                                         Pathway to Adventure (456):
Request # 1908 For Policy # 10CA43329    issued to the   Northwest Suburban 1926-2016    Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (751)
                                                         Pathway to Adventure (456):
Request # 1909 For Policy # 10HUA43331   issued to the   Northwest Suburban 1926-2016    Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (751)
                                                         Pathway to Adventure (456):
Request # 1910 For Policy # 10CA43342E   issued to the   Northwest Suburban 1926-2016    Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (751)
                                                         Pathway to Adventure (456):
Request # 1911 For Policy # 10CA43349E   issued to the   Northwest Suburban 1926-2016    Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (751)
                                                         Pathway to Adventure (456):
Request # 1912 For Policy # 10CA43342E   issued to the                                   Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Pathway to Adventure (456)

                                                         Pathway to Adventure (456):
Request # 1913 For Policy # 10CA43349E   issued to the                                   Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Pathway to Adventure (456)
                                                         Pathway to Adventure (456):
Request # 1914 For Policy # 10CA43303    issued to the   Thatcher Woods Area 1941-1993   Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (136)
                                                         Pathway to Adventure (456):
Request # 1915 For Policy # 10HUA43302   issued to the   Thatcher Woods Area 1941-1993   Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (136)
                                                         Pathway to Adventure (456):
Request # 1916 For Policy # 10HUA43302   issued to the   Thatcher Woods Area 1941-1993   Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (136)
                                                         Pathway to Adventure (456):
Request # 1917 For Policy # 10CA43303    issued to the   Thatcher Woods Area 1941-1993   Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (136)
                                                         Pathway to Adventure (456):
Request # 1918 For Policy # 10HUA43331   issued to the   Thatcher Woods Area 1941-1993   Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (136)
                                                         Pathway to Adventure (456):
Request # 1919 For Policy # 10CA43329    issued to the   Thatcher Woods Area 1941-1993   Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (136)
                                                         Pathway to Adventure (456):
Request # 1920 For Policy # 10CA43342E   issued to the   Thatcher Woods Area 1941-1993   Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (136)


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                                                         Pathway to Adventure (456):
Request # 1921 For Policy # 10CA43349E     issued to the Thatcher Woods Area 1941-1993         Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (136)
                                                           Pathway to Adventure (456): West
Request # 1922 For Policy # 10 HUA 43300   issued to the                                    Local Council and effective 5/1/1971      to 5/1/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Suburban 1918-1993 (147)

                                                           Pathway to Adventure (456): West
Request # 1923 For Policy # 10CA43315      issued to the                                    Local Council and effective 9/21/1971 to 1/1/1972       admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Suburban 1918-1993 (147)

                                                           Pathway to Adventure (456): West
Request # 1924 For Policy # 10HUA43302     issued to the                                    Local Council and effective 1/1/1972      to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Suburban 1918-1993 (147)

                                                           Pathway to Adventure (456): West
Request # 1925 For Policy # 10CA43303      issued to the                                    Local Council and effective 1/1/1972      to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Suburban 1918-1993 (147)

                                                           Pathway to Adventure (456): West
Request # 1926 For Policy # 10CA43303      issued to the                                    Local Council and effective 1/1/1973      to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Suburban 1918-1993 (147)

                                                           Pathway to Adventure (456): West
Request # 1927 For Policy # 10HUA43302     issued to the                                    Local Council and effective 1/1/1973      to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Suburban 1918-1993 (147)

                                                           Pathway to Adventure (456): West
Request # 1928 For Policy # 10CA43342E     issued to the                                    Local Council and effective 1/1/1975      to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Suburban 1918-1993 (147)

                                                           Pathway to Adventure (456): West
Request # 1929 For Policy # 10CA43349E     issued to the                                    Local Council and effective 1/1/1976      to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Suburban 1918-1993 (147)

                                                           Patriots' Path (358): Morris-Sussex
Request # 1930 For Policy # 10HUA43302     issued to the                                       Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1936-1999 (343)

                                                           Patriots' Path (358): Morris-Sussex
Request # 1931 For Policy # 10CA43303      issued to the                                       Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1936-1999 (343)

                                                           Patriots' Path (358): Morris-Sussex
Request # 1932 For Policy # 10CA43329      issued to the                                       Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1936-1999 (343)

                                                           Patriots' Path (358): Morris-Sussex
Request # 1933 For Policy # 10HUA43331     issued to the                                       Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1936-1999 (343)

                                                           Patriots' Path (358): Morris-Sussex
Request # 1934 For Policy # 10CA43342E     issued to the                                       Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1936-1999 (343)

                                                           Patriots' Path (358): Morris-Sussex
Request # 1935 For Policy # 10CA43349E     issued to the                                       Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1936-1999 (343)

                                                           Patriots' Path (358): Union 1928-
Request # 1936 For Policy # 10HUA43302     issued to the                                       Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1980 (338)

                                                           Patriots' Path (358): Union 1928-
Request # 1937 For Policy # 10CA43303      issued to the                                       Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1980 (338)



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                                                         Patriots' Path (358): Union 1928-
Request # 1938 For Policy # 10CA43303    issued to the                                       Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1980 (338)

                                                         Patriots' Path (358): Union 1928-
Request # 1939 For Policy # 10HUA43302   issued to the                                       Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1980 (338)

                                                         Patriots' Path (358): Union 1928-
Request # 1940 For Policy # 10CA43329    issued to the                                       Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1980 (338)

                                                         Patriots' Path (358): Union 1928-
Request # 1941 For Policy # 10HUA43331   issued to the                                       Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1980 (338)

                                                         Patriots' Path (358): Union 1928-
Request # 1942 For Policy # 10CA43342E   issued to the                                       Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1980 (338)

                                                         Patriots' Path (358): Union 1928-
Request # 1943 For Policy # 10CA43349E   issued to the                                       Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1980 (338)

                                                         Patriots' Path (358): Watchung
Request # 1944 For Policy # 10HUA43302   issued to the                                       Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area 1926-1999 (358)

                                                         Patriots' Path (358): Watchung
Request # 1945 For Policy # 10CA43303    issued to the                                       Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area 1926-1999 (358)

                                                         Patriots' Path (358): Watchung
Request # 1946 For Policy # 10CA43303    issued to the                                       Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area 1926-1999 (358)

                                                         Patriots' Path (358): Watchung
Request # 1947 For Policy # 10HUA43302   issued to the                                       Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area 1926-1999 (358)

                                                         Patriots' Path (358): Watchung
Request # 1948 For Policy # 10CA43329    issued to the                                       Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area 1926-1999 (358)

                                                         Patriots' Path (358): Watchung
Request # 1949 For Policy # 10HUA43331   issued to the                                       Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area 1926-1999 (358)

                                                         Patriots' Path (358): Watchung
Request # 1950 For Policy # 10CA43342E   issued to the                                       Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area 1926-1999 (358)

                                                         Patriots' Path (358): Watchung
Request # 1951 For Policy # 10CA43349E   issued to the                                       Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area 1926-1999 (358)

                                                         Pee Dee Area (552): Pee Dee Area
Request # 1952 For Policy # 10HUA43302   issued to the                                       Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (552)

                                                         Pee Dee Area (552): Pee Dee Area
Request # 1953 For Policy # 10CA43303    issued to the                                       Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (552)

                                                         Pee Dee Area (552): Pee Dee Area
Request # 1954 For Policy # 10CA43303    issued to the                                       Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (552)



                                                                                                                   117
                                                         Pee Dee Area (552): Pee Dee Area
Request # 1955 For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (552)

                                                         Pee Dee Area (552): Pee Dee Area
Request # 1956 For Policy # 10HUA43331   issued to the                                      Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (552)

                                                         Pee Dee Area (552): Pee Dee Area
Request # 1957 For Policy # 10CA43329    issued to the                                      Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (552)

                                                         Pee Dee Area (552): Pee Dee Area
Request # 1958 For Policy # 10CA43342E   issued to the                                      Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (552)

                                                         Pee Dee Area (552): Pee Dee Area
Request # 1959 For Policy # 10CA43349E   issued to the                                      Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (552)
                                                       Pennsylvania Dutch (524):
Request # 1960 For Policy # 10CA43342E   issued to the Lancaster-Lebanon 1971-1995          Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                       (524)
                                                       Pennsylvania Dutch (524):
Request # 1961 For Policy # 10CA43349E   issued to the Lancaster-Lebanon 1971-1995          Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                       (524)

Request # 1962 For Policy # 10CA43303    issued to the Piedmont (042): Piedmont (042)       Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1963 For Policy # 10HUA43302   issued to the Piedmont (042): Piedmont (042)       Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1964 For Policy # 10HUA43302   issued to the Piedmont (042): Piedmont (042)       Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1965 For Policy # 10CA43303    issued to the Piedmont (042): Piedmont (042)       Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1966 For Policy # 10CA43329    issued to the Piedmont (042): Piedmont (042)       Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1967 For Policy # 10HUA43331   issued to the Piedmont (042): Piedmont (042)       Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1968 For Policy # 10CA43342E   issued to the Piedmont (042): Piedmont (042)       Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1969 For Policy # 10CA43349E   issued to the Piedmont (042): Piedmont (042)       Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1970 For Policy # 10CA43303    issued to the Piedmont (420): Piedmont (420)       Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1971 For Policy # 10CA43303    issued to the Piedmont (420): Piedmont (420)       Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.



                                                                                                                  118
Request # 1972 For Policy # 10HUA43302    issued to the Piedmont (420): Piedmont (420)       Local Council and effective 1/1/1973   to 1/1/1974     admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1973 For Policy # 10CA43329     issued to the Piedmont (420): Piedmont (420)       Local Council and effective 1/1/1974   to 1/1/1975     admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1974 For Policy # 10HUA43331    issued to the Piedmont (420): Piedmont (420)       Local Council and effective 1/1/1974   to 1/1/1975     admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1975 For Policy # 10CA43342E    issued to the Piedmont (420): Piedmont (420)       Local Council and effective 1/1/1975   to 1/1/1976     admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1976 For Policy # 10CA43349E    issued to the Piedmont (420): Piedmont (420)       Local Council and effective 1/1/1976   to 1/1/1977     admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1977 For Policy # 10CA43342E    issued to the Pikes Peak (060): Pikes Peak (060)   Local Council and effective 1/1/1975   to 1/1/1976     admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1978 For Policy # 10CA43349E    issued to the Pikes Peak (060): Pikes Peak (060)   Local Council and effective 1/1/1976   to 1/1/1977     admit that Abuse Claims against insureds and co-insureds are covered under the policy.

                                                          Pine Burr Area (304): Pine Burr
Request # 1979 For Policy # 10CA43303     issued to the                                      Local Council and effective 1/1/1973   to 1/1/1974     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area (304)

                                                          Pine Burr Area (304): Pine Burr
Request # 1980 For Policy # 10HUA43302    issued to the                                      Local Council and effective 1/1/1973   to 1/1/1974     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area (304)

                                                          Pine Burr Area (304): Pine Burr
Request # 1981 For Policy # 10HUA43331    issued to the                                      Local Council and effective 1/1/1974   to 1/1/1975     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area (304)

                                                          Pine Burr Area (304): Pine Burr
Request # 1982 For Policy # 10CA43329     issued to the                                      Local Council and effective 1/1/1974   to 1/1/1975     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area (304)

                                                          Pine Burr Area (304): Pine Burr
Request # 1983 For Policy # 10CA43342E    issued to the                                      Local Council and effective 1/1/1975   to 1/1/1976     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area (304)

                                                          Pine Burr Area (304): Pine Burr
Request # 1984 For Policy # 10CA43349E    issued to the                                      Local Council and effective 1/1/1976   to 1/1/1977     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Area (304)

Request # 1985 For Policy # 04 C 154949   issued to the Pine Tree (218): Pine Tree (218)     Local Council and effective 1/25/1973 to 1/25/1974 admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1986 For Policy # 04 C 157992   issued to the Pine Tree (218): Pine Tree (218)     Local Council and effective 1/25/1974 to 1/25/1975 admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1987 For Policy # 10CA43342E    issued to the Pine Tree (218): Pine Tree (218)     Local Council and effective 1/1/1975   to 1/1/1976     admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1988 For Policy # 04 C 161230   issued to the Pine Tree (218): Pine Tree (218)     Local Council and effective 1/25/1975 to 1/25/1976 admit that Abuse Claims against insureds and co-insureds are covered under the policy.



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Request # 1989 For Policy # 10CA43349E    issued to the Pine Tree (218): Pine Tree (218)     Local Council and effective 1/1/1976    to 1/1/1977    admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1990 For Policy # 04 C 161099   issued to the Pine Tree (218): Pine Tree (218)     Local Council and effective 1/25/1976 to 1/25/1977 admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 1991 For Policy # 04 C 163132   issued to the Pine Tree (218): Pine Tree (218)     Local Council and effective 1/25/1977 to 1/25/1978 admit that Abuse Claims against insureds and co-insureds are covered under the policy.

                                                          Pony Express (311): Pony Express
Request # 1992 For Policy # 10CA43303     issued to the                                      Local Council and effective 1/1/1972    to 1/1/1973    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (311)

                                                          Pony Express (311): Pony Express
Request # 1993 For Policy # 10HUA43302    issued to the                                      Local Council and effective 1/1/1972    to 1/1/1973    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (311)

                                                          Pony Express (311): Pony Express
Request # 1994 For Policy # 10HUA43302    issued to the                                      Local Council and effective 1/1/1973    to 1/1/1974    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (311)

                                                          Pony Express (311): Pony Express
Request # 1995 For Policy # 10CA43303     issued to the                                      Local Council and effective 1/1/1973    to 1/1/1974    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (311)

                                                          Pony Express (311): Pony Express
Request # 1996 For Policy # 10CA43329     issued to the                                      Local Council and effective 1/1/1974    to 1/1/1975    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (311)

                                                          Pony Express (311): Pony Express
Request # 1997 For Policy # 10HUA43331    issued to the                                      Local Council and effective 1/1/1974    to 1/1/1975    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (311)

                                                          Pony Express (311): Pony Express
Request # 1998 For Policy # 10CA43342E    issued to the                                      Local Council and effective 1/1/1975    to 1/1/1976    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (311)

                                                          Pony Express (311): Pony Express
Request # 1999 For Policy # 10CA43349E    issued to the                                      Local Council and effective 1/1/1976    to 1/1/1977    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (311)

                                                          Potawatomi Area (651):
Request # 2000 For Policy # 10CA43342E    issued to the                                      Local Council and effective 1/1/1975    to 1/1/1976    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Potawatomi Area (651)

                                                          Potawatomi Area (651):
Request # 2001 For Policy # 10CA43349E    issued to the                                      Local Council and effective 1/1/1976    to 1/1/1977    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Potawatomi Area (651)

                                                          Prairielands (117): Arrowhead 1933-
Request # 2002 For Policy # 10CA43303     issued to the                                       Local Council and effective 1/1/1972   to 1/1/1973    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1991 (117)

                                                          Prairielands (117): Arrowhead 1933-
Request # 2003 For Policy # 10HUA43302    issued to the                                       Local Council and effective 1/1/1972   to 1/1/1973    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1991 (117)

                                                          Prairielands (117): Arrowhead 1933-
Request # 2004 For Policy # 10CA43303     issued to the                                       Local Council and effective 1/1/1973   to 1/1/1974    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1991 (117)

                                                          Prairielands (117): Arrowhead 1933-
Request # 2005 For Policy # 10HUA43302    issued to the                                       Local Council and effective 1/1/1973   to 1/1/1974    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1991 (117)



                                                                                                                    120
                                                         Prairielands (117): Arrowhead 1933-
Request # 2006 For Policy # 10CA43329    issued to the                                       Local Council and effective 1/1/1974    to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1991 (117)

                                                         Prairielands (117): Arrowhead 1933-
Request # 2007 For Policy # 10HUA43331   issued to the                                       Local Council and effective 1/1/1974    to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1991 (117)

                                                         Prairielands (117): Arrowhead 1933-
Request # 2008 For Policy # 10CA43342E   issued to the                                       Local Council and effective 1/1/1975    to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1991 (117)

                                                         Prairielands (117): Arrowhead 1933-
Request # 2009 For Policy # 10CA43349E   issued to the                                       Local Council and effective 1/1/1976    to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1991 (117)

                                                         Prairielands (117): Piankeshaw
Request # 2010 For Policy # 10CA43342E   issued to the                                      Local Council and effective 1/1/1975     to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1926-1991 (739)

                                                         Prairielands (117): Piankeshaw
Request # 2011 For Policy # 10CA43349E   issued to the                                      Local Council and effective 1/1/1976     to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1926-1991 (739)

                                                         President Ford FSC (781): President
Request # 2012 For Policy # 10CA43342E   issued to the                                       Local Council and effective 1/1/1975    to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Ford FSC (781)

                                                         President Ford FSC (781): President
Request # 2013 For Policy # 10CA43349E   issued to the                                       Local Council and effective 1/1/1976    to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Ford FSC (781)

                                                         Puerto Rico (661): Puerto Rico 1965-
Request # 2014 For Policy # 10CA43342E   issued to the                                        Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (661)

                                                         Puerto Rico (661): Puerto Rico 1965-
Request # 2015 For Policy # 10CA43349E   issued to the                                        Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (661)

                                                         Pushmataha Area (691):
Request # 2016 For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1973     to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Pushmataha Area (691)

                                                         Pushmataha Area (691):
Request # 2017 For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1973     to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Pushmataha Area (691)

                                                         Pushmataha Area (691):
Request # 2018 For Policy # 10HUA43331   issued to the                                      Local Council and effective 1/1/1974     to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Pushmataha Area (691)

                                                         Pushmataha Area (691):
Request # 2019 For Policy # 10CA43329    issued to the                                      Local Council and effective 1/1/1974     to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Pushmataha Area (691)

                                                         Pushmataha Area (691):
Request # 2020 For Policy # 10CA43342E   issued to the                                      Local Council and effective 1/1/1975     to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Pushmataha Area (691)

                                                         Pushmataha Area (691):
Request # 2021 For Policy # 10CA43349E   issued to the                                      Local Council and effective 1/1/1976     to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Pushmataha Area (691)

                                                         Quapaw Area (018): Eastern
Request # 2022 For Policy # 10CA43342E   issued to the                                      Local Council and effective 1/1/1975     to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Arkansas Area 1935-2002 (015)



                                                                                                                    121
                                                         Quapaw Area (018): Eastern
Request # 2023 For Policy # 10CA43349E   issued to the                                      Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Arkansas Area 1935-2002 (015)

                                                         Quapaw Area (018): Ouachita Area
Request # 2024 For Policy # 10CA43303    issued to the                                    Local Council and effective 1/1/1972     to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1925-2012 (014)

                                                         Quapaw Area (018): Ouachita Area
Request # 2025 For Policy # 10HUA43302   issued to the                                    Local Council and effective 1/1/1972     to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1925-2012 (014)

                                                         Quapaw Area (018): Ouachita Area
Request # 2026 For Policy # 10CA43303    issued to the                                    Local Council and effective 1/1/1973     to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1925-2012 (014)

                                                         Quapaw Area (018): Ouachita Area
Request # 2027 For Policy # 10HUA43302   issued to the                                    Local Council and effective 1/1/1973     to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1925-2012 (014)

                                                         Quapaw Area (018): Ouachita Area
Request # 2028 For Policy # 10CA43329    issued to the                                    Local Council and effective 1/1/1974     to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1925-2012 (014)

                                                         Quapaw Area (018): Ouachita Area
Request # 2029 For Policy # 10HUA43331   issued to the                                    Local Council and effective 1/1/1974     to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1925-2012 (014)

                                                         Quapaw Area (018): Ouachita Area
Request # 2030 For Policy # 10CA43342E   issued to the                                    Local Council and effective 1/1/1975     to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1925-2012 (014)

                                                         Quapaw Area (018): Ouachita Area
Request # 2031 For Policy # 10CA43349E   issued to the                                    Local Council and effective 1/1/1976     to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1925-2012 (014)

                                                         Quivira (198): Kanza 1946-1997
Request # 2032 For Policy # 10CA43342E   issued to the                                      Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (190)

                                                         Quivira (198): Kanza 1946-1997
Request # 2033 For Policy # 10CA43349E   issued to the                                      Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (190)

Request # 2034 For Policy # 10CA43303    issued to the Quivira (198): Quivira 1918- (198)   Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 2035 For Policy # 10HUA43302   issued to the Quivira (198): Quivira 1918- (198)   Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 2036 For Policy # 10CA43329    issued to the Quivira (198): Quivira 1918- (198)   Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 2037 For Policy # 10HUA43331   issued to the Quivira (198): Quivira 1918- (198)   Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 2038 For Policy # 10CA43342E   issued to the Quivira (198): Quivira 1918- (198)   Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 2039 For Policy # 10CA43349E   issued to the Quivira (198): Quivira 1918- (198)   Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.



                                                                                                                  122
Request # 2040 For Policy # 10HUA43302     issued to the Rainbow (702): Rainbow (702)      Local Council and effective 1/1/1972   to 1/1/1973     admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 2041 For Policy # 10CA43303      issued to the Rainbow (702): Rainbow (702)      Local Council and effective 1/1/1972   to 1/1/1973     admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 2042 For Policy # 10HUA43302     issued to the Rainbow (702): Rainbow (702)      Local Council and effective 1/1/1973   to 1/1/1974     admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 2043 For Policy # 10CA43303      issued to the Rainbow (702): Rainbow (702)      Local Council and effective 1/1/1973   to 1/1/1974     admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 2044 For Policy # 10CA43329      issued to the Rainbow (702): Rainbow (702)      Local Council and effective 1/1/1974   to 1/1/1975     admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 2045 For Policy # 10HUA43331     issued to the Rainbow (702): Rainbow (702)      Local Council and effective 1/1/1974   to 1/1/1975     admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 2046 For Policy # 82 C 282090    issued to the Rainbow (702): Rainbow (702)      Local Council and effective 1/1/1975   to 1/1/1976     admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 2047 For Policy # 10CA43342E     issued to the Rainbow (702): Rainbow (702)      Local Council and effective 1/1/1975   to 1/1/1976     admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 2048 For Policy # 82 HU 580155   issued to the Rainbow (702): Rainbow (702)      Local Council and effective 1/16/1975 to 1/16/1976 admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 2049 For Policy # 10CA43349E     issued to the Rainbow (702): Rainbow (702)      Local Council and effective 1/1/1976   to 1/1/1977     admit that Abuse Claims against insureds and co-insureds are covered under the policy.

                                                           Redwood Empire (041): Redwood
Request # 2050 For Policy # 10HUA43302     issued to the                                   Local Council and effective 1/1/1972   to 1/1/1973     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area 1923-1992 (044)

                                                           Redwood Empire (041): Redwood
Request # 2051 For Policy # 10CA43303      issued to the                                   Local Council and effective 1/1/1972   to 1/1/1973     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area 1923-1992 (044)

                                                           Redwood Empire (041): Redwood
Request # 2052 For Policy # 10HUA43302     issued to the                                   Local Council and effective 1/1/1973   to 1/1/1974     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area 1923-1992 (044)

                                                           Redwood Empire (041): Redwood
Request # 2053 For Policy # 10CA43303      issued to the                                   Local Council and effective 1/1/1973   to 1/1/1974     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area 1923-1992 (044)

                                                           Redwood Empire (041): Redwood
Request # 2054 For Policy # 10HUA43331     issued to the                                   Local Council and effective 1/1/1974   to 1/1/1975     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area 1923-1992 (044)

                                                           Redwood Empire (041): Redwood
Request # 2055 For Policy # 10CA43329      issued to the                                   Local Council and effective 1/1/1974   to 1/1/1975     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area 1923-1992 (044)

                                                           Redwood Empire (041): Redwood
Request # 2056 For Policy # 10CA43342E     issued to the                                   Local Council and effective 1/1/1975   to 1/1/1976     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area 1923-1992 (044)



                                                                                                                 123
                                                           Redwood Empire (041): Redwood
Request # 2057 For Policy # 10CA43349E     issued to the                                    Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area 1923-1992 (044)

                                                           Redwood Empire (041): Sonoma-
Request # 2058 For Policy # 10CA43303      issued to the                                    Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Mendocino Area 1944-1992 (041)

                                                           Redwood Empire (041): Sonoma-
Request # 2059 For Policy # 10HUA43302     issued to the                                    Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Mendocino Area 1944-1992 (041)

                                                           Redwood Empire (041): Sonoma-
Request # 2060 For Policy # 10CA43303      issued to the                                    Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Mendocino Area 1944-1992 (041)

                                                           Redwood Empire (041): Sonoma-
Request # 2061 For Policy # 10HUA43302     issued to the                                    Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Mendocino Area 1944-1992 (041)

                                                           Redwood Empire (041): Sonoma-
Request # 2062 For Policy # 10CA43342E     issued to the                                    Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Mendocino Area 1944-1992 (041)

                                                           Redwood Empire (041): Sonoma-
Request # 2063 For Policy # 10CA43349E     issued to the                                    Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Mendocino Area 1944-1992 (041)

Request # 2064 For Policy # 10CA43303      issued to the Rio Grande (775): Rio Grande (775) Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 2065 For Policy # 10HUA43302     issued to the Rio Grande (775): Rio Grande (775) Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 2066 For Policy # 10CA43303      issued to the Rio Grande (775): Rio Grande (775) Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 2067 For Policy # 10HUA43302     issued to the Rio Grande (775): Rio Grande (775) Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 2068 For Policy # 10HUA43331     issued to the Rio Grande (775): Rio Grande (775) Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 2069 For Policy # 10CA43329      issued to the Rio Grande (775): Rio Grande (775) Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 2070 For Policy # 10CA43342E     issued to the Rio Grande (775): Rio Grande (775) Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 2071 For Policy # 10CA43349E     issued to the Rio Grande (775): Rio Grande (775) Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.

                                                           Rip Van Winkle (405): Rip Van
Request # 2072 For Policy # 10 HUA 43300   issued to the                                    Local Council and effective 5/1/1971   to 5/1/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Winkle 1950- (405)

                                                           Rip Van Winkle (405): Rip Van
Request # 2073 For Policy # 10CA43315      issued to the                                    Local Council and effective 9/21/1971 to 1/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Winkle 1950- (405)



                                                                                                                  124
                                                         Rip Van Winkle (405): Rip Van
Request # 2074 For Policy # 10HUA43302   issued to the                                     Local Council and effective 1/1/1972    to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Winkle 1950- (405)

                                                         Rip Van Winkle (405): Rip Van
Request # 2075 For Policy # 10CA43303    issued to the                                     Local Council and effective 1/1/1972    to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Winkle 1950- (405)

                                                         Rip Van Winkle (405): Rip Van
Request # 2076 For Policy # 10HUA43302   issued to the                                     Local Council and effective 1/1/1973    to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Winkle 1950- (405)

                                                         Rip Van Winkle (405): Rip Van
Request # 2077 For Policy # 10CA43303    issued to the                                     Local Council and effective 1/1/1973    to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Winkle 1950- (405)

                                                         Rip Van Winkle (405): Rip Van
Request # 2078 For Policy # 10CA43329    issued to the                                     Local Council and effective 1/1/1974    to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Winkle 1950- (405)

                                                         Rip Van Winkle (405): Rip Van
Request # 2079 For Policy # 10HUA43331   issued to the                                     Local Council and effective 1/1/1974    to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Winkle 1950- (405)

                                                         Rip Van Winkle (405): Rip Van
Request # 2080 For Policy # 10CA43342E   issued to the                                     Local Council and effective 1/1/1975    to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Winkle 1950- (405)

                                                         Rip Van Winkle (405): Rip Van
Request # 2081 For Policy # 10CA43349E   issued to the                                     Local Council and effective 1/1/1976    to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Winkle 1950- (405)

                                                         Rocky Mountain (063): Rocky
Request # 2082 For Policy # 10CA43342E   issued to the                                     Local Council and effective 1/1/1975    to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Mountain (063)

                                                         Rocky Mountain (063): Rocky
Request # 2083 For Policy # 10CA43349E   issued to the                                     Local Council and effective 1/1/1976    to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Mountain (063)

                                                         Sagamore (162): Sagamore 1973-
Request # 2084 For Policy # 10CA43342E   issued to the                                     Local Council and effective 1/1/1975    to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (162)

                                                         Sagamore (162): Sagamore 1973-
Request # 2085 For Policy # 10CA43349E   issued to the                                     Local Council and effective 1/1/1976    to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (162)

                                                         Sagamore (162): Three Rivers 1936-
Request # 2086 For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1973 (162)

                                                         Sam Houston Area (576): Sam
Request # 2087 For Policy # 10CA43342E   issued to the                                     Local Council and effective 1/1/1975    to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Houston Area (576)

                                                         Sam Houston Area (576): Sam
Request # 2088 For Policy # 10CA43349E   issued to the                                     Local Council and effective 1/1/1976    to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Houston Area (576)

Request # 2089 For Policy # 10CA43342E   issued to the Samoset (627): Samoset (627)        Local Council and effective 1/1/1975    to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 2090 For Policy # 10CA43349E   issued to the Samoset (627): Samoset (627)        Local Council and effective 1/1/1976    to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.



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                                                           San Diego-Imperial (049): Desert
Request # 2091 For Policy # 10CA43303      issued to the                                          Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Trails 1959-1993 (029)

                                                           San Diego-Imperial (049): Desert
Request # 2092 For Policy # 10HUA43302     issued to the                                          Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Trails 1959-1993 (029)

                                                           San Diego-Imperial (049): Desert
Request # 2093 For Policy # 10HUA43302     issued to the                                          Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Trails 1959-1993 (029)

                                                           San Diego-Imperial (049): Desert
Request # 2094 For Policy # 10CA43303      issued to the                                          Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Trails 1959-1993 (029)

                                                           San Diego-Imperial (049): Desert
Request # 2095 For Policy # 10HUA43331     issued to the                                          Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Trails 1959-1993 (029)

                                                           San Diego-Imperial (049): Desert
Request # 2096 For Policy # 10CA43329      issued to the                                          Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Trails 1959-1993 (029)

                                                           San Diego-Imperial (049): Desert
Request # 2097 For Policy # 10CA43342E     issued to the                                          Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Trails 1959-1993 (029)

                                                           San Diego-Imperial (049): Desert
Request # 2098 For Policy # 10CA43349E     issued to the                                          Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Trails 1959-1993 (029)

                                                           San Diego-Imperial (049): San
Request # 2099 For Policy # 10CA43342E     issued to the                                          Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Diego County 1921-1993 (049)

                                                           San Diego-Imperial (049): San
Request # 2100 For Policy # 10CA43349E     issued to the                                          Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Diego County 1921-1993 (049)

                                                           San Diego-Imperial (049): San
Request # 2101 For Policy # 10CA43342E     issued to the                                          Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Diego-Imperial 2005- (049)

                                                           San Diego-Imperial (049): San
Request # 2102 For Policy # 10CA43349E     issued to the                                          Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Diego-Imperial 2005- (049)

                                                           Santa Fe Trail (194): Santa Fe Trail
Request # 2103 For Policy # 10 HUA 43300   issued to the                                          Local Council and effective 5/1/1971   to 5/1/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (194)

                                                           Santa Fe Trail (194): Santa Fe Trail
Request # 2104 For Policy # 10CA43315      issued to the                                          Local Council and effective 9/21/1971 to 1/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (194)

                                                           Santa Fe Trail (194): Santa Fe Trail
Request # 2105 For Policy # 10CA43303      issued to the                                          Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (194)

                                                           Santa Fe Trail (194): Santa Fe Trail
Request # 2106 For Policy # 10HUA43302     issued to the                                          Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (194)

                                                           Santa Fe Trail (194): Santa Fe Trail
Request # 2107 For Policy # 10HUA43302     issued to the                                          Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (194)



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                                                          Santa Fe Trail (194): Santa Fe Trail
Request # 2108 For Policy # 10CA43303     issued to the                                          Local Council and effective 1/1/1973   to 1/1/1974     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (194)

                                                          Santa Fe Trail (194): Santa Fe Trail
Request # 2109 For Policy # 10CA43329     issued to the                                          Local Council and effective 1/1/1974   to 1/1/1975     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (194)

                                                          Santa Fe Trail (194): Santa Fe Trail
Request # 2110 For Policy # 10HUA43331    issued to the                                          Local Council and effective 1/1/1974   to 1/1/1975     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (194)

                                                          Santa Fe Trail (194): Santa Fe Trail
Request # 2111 For Policy # 10CA43342E    issued to the                                          Local Council and effective 1/1/1975   to 1/1/1976     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (194)

                                                          Santa Fe Trail (194): Santa Fe Trail
Request # 2112 For Policy # 10CA43349E    issued to the                                          Local Council and effective 1/1/1976   to 1/1/1977     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          (194)

                                                          Seneca Waterways (397): Finger
Request # 2113 For Policy # 10CA43303     issued to the                                          Local Council and effective 1/1/1973   to 1/1/1974     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Lakes 1924-2009 (391)

                                                          Seneca Waterways (397): Finger
Request # 2114 For Policy # 10HUA43302    issued to the                                          Local Council and effective 1/1/1973   to 1/1/1974     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Lakes 1924-2009 (391)

                                                          Seneca Waterways (397): Finger
Request # 2115 For Policy # 03 C 804621   issued to the                                          Local Council and effective 4/27/1973 to 4/27/1974 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Lakes 1924-2009 (391)

                                                          Seneca Waterways (397): Finger
Request # 2116 For Policy # 10CA43329     issued to the                                          Local Council and effective 1/1/1974   to 1/1/1975     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Lakes 1924-2009 (391)

                                                          Seneca Waterways (397): Finger
Request # 2117 For Policy # 10HUA43331    issued to the                                          Local Council and effective 1/1/1974   to 1/1/1975     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Lakes 1924-2009 (391)

                                                          Seneca Waterways (397): Finger
Request # 2118 For Policy # 03 C 807376   issued to the                                          Local Council and effective 4/27/1974 to 4/27/1975 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Lakes 1924-2009 (391)

                                                          Seneca Waterways (397): Finger
Request # 2119 For Policy # 10CA43342E    issued to the                                          Local Council and effective 1/1/1975   to 1/1/1976     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Lakes 1924-2009 (391)

                                                          Seneca Waterways (397): Finger
Request # 2120 For Policy # 03 C 809631   issued to the                                          Local Council and effective 4/27/1975 to 4/27/1976 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Lakes 1924-2009 (391)

                                                          Seneca Waterways (397): Finger
Request # 2121 For Policy # 10CA43349E    issued to the                                          Local Council and effective 1/1/1976   to 1/1/1977     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Lakes 1924-2009 (391)

                                                          Seneca Waterways (397): Finger
Request # 2122 For Policy # 03 C 811730   issued to the                                          Local Council and effective 4/27/1976 to 4/27/1977 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Lakes 1924-2009 (391)

                                                          Seneca Waterways (397): Finger
Request # 2123 For Policy # 03 C 814173   issued to the                                          Local Council and effective 4/27/1977 to 4/27/1978 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Lakes 1924-2009 (391)

                                                          Seneca Waterways (397): Otetiana
Request # 2124 For Policy # 10CA43342E    issued to the                                    Local Council and effective 1/1/1975         to 1/1/1976     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          1943-2009 (397)



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                                                         Seneca Waterways (397): Otetiana
Request # 2125 For Policy # 10CA43349E   issued to the                                    Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1943-2009 (397)

                                                         Seneca Waterways (397): Otetiana
Request # 2126 For Policy # CBP 800237   issued to the                                    Local Council and effective 1/1/1977   to 1/1/1978   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1943-2009 (397)

                                                         Sequoia (027): Mount Whitney
Request # 2127 For Policy # 10HUA43302   issued to the                                    Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area 1929-1992 (054)

                                                         Sequoia (027): Mount Whitney
Request # 2128 For Policy # 10CA43303    issued to the                                    Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area 1929-1992 (054)

                                                         Sequoia (027): Mount Whitney
Request # 2129 For Policy # 10CA43303    issued to the                                    Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area 1929-1992 (054)

                                                         Sequoia (027): Mount Whitney
Request # 2130 For Policy # 10HUA43302   issued to the                                    Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area 1929-1992 (054)

                                                         Sequoia (027): Mount Whitney
Request # 2131 For Policy # 10HUA43331   issued to the                                    Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area 1929-1992 (054)

                                                         Sequoia (027): Mount Whitney
Request # 2132 For Policy # 10CA43329    issued to the                                    Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area 1929-1992 (054)

                                                         Sequoia (027): Mount Whitney
Request # 2133 For Policy # 10CA43342E   issued to the                                    Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area 1929-1992 (054)

                                                         Sequoia (027): Mount Whitney
Request # 2134 For Policy # 10CA43349E   issued to the                                    Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area 1929-1992 (054)

Request # 2135 For Policy # 10CA43303    issued to the Sequoia (027): Sequoia 1925- (027) Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 2136 For Policy # 10HUA43302   issued to the Sequoia (027): Sequoia 1925- (027) Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 2137 For Policy # 10HUA43302   issued to the Sequoia (027): Sequoia 1925- (027) Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 2138 For Policy # 10CA43303    issued to the Sequoia (027): Sequoia 1925- (027) Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 2139 For Policy # 10HUA43331   issued to the Sequoia (027): Sequoia 1925- (027) Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 2140 For Policy # 10CA43329    issued to the Sequoia (027): Sequoia 1925- (027) Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 2141 For Policy # 10CA43342E   issued to the Sequoia (027): Sequoia 1925- (027) Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.



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Request # 2142 For Policy # 10CA43349E   issued to the Sequoia (027): Sequoia 1925- (027) Local Council and effective 1/1/1976       to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 2143 For Policy # 10CA43303    issued to the Sequoyah (713): Sequoyah (713)         Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 2144 For Policy # 10HUA43302   issued to the Sequoyah (713): Sequoyah (713)         Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 2145 For Policy # 10HUA43302   issued to the Sequoyah (713): Sequoyah (713)         Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 2146 For Policy # 10CA43303    issued to the Sequoyah (713): Sequoyah (713)         Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 2147 For Policy # 10CA43329    issued to the Sequoyah (713): Sequoyah (713)         Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 2148 For Policy # 10HUA43331   issued to the Sequoyah (713): Sequoyah (713)         Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 2149 For Policy # 10CA43342E   issued to the Sequoyah (713): Sequoyah (713)         Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 2150 For Policy # 10CA43349E   issued to the Sequoyah (713): Sequoyah (713)         Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.

                                                         Shenandoah Area (598):
Request # 2151 For Policy # 10CA43342E   issued to the                                        Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Shenandoah Area (598)

                                                         Shenandoah Area (598):
Request # 2152 For Policy # 10CA43349E   issued to the                                        Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Shenandoah Area (598)
                                                         Silicon Valley Monterey Bay (055):
Request # 2153 For Policy # 10CA43342E   issued to the   Monterey Bay Area 1933-2013          Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (025)
                                                         Silicon Valley Monterey Bay (055):
Request # 2154 For Policy # 10CA43349E   issued to the   Monterey Bay Area 1933-2013          Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (025)
                                                         Silicon Valley Monterey Bay (055):
Request # 2155 For Policy # 10HUA43302   issued to the   Santa Clara County 1929-2012         Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (055)
                                                         Silicon Valley Monterey Bay (055):
Request # 2156 For Policy # 10CA43303    issued to the   Santa Clara County 1929-2012         Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (055)
                                                         Silicon Valley Monterey Bay (055):
Request # 2157 For Policy # 10CA43329    issued to the   Santa Clara County 1929-2012         Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (055)
                                                         Silicon Valley Monterey Bay (055):
Request # 2158 For Policy # 10HUA43331   issued to the   Santa Clara County 1929-2012         Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (055)


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                                                       Silicon Valley Monterey Bay (055):
Request # 2159 For Policy # 10CA43342E   issued to the Santa Clara County 1929-2012       Local Council and effective 1/1/1975     to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                       (055)
                                                       Silicon Valley Monterey Bay (055):
Request # 2160 For Policy # 10CA43349E   issued to the Santa Clara County 1929-2012       Local Council and effective 1/1/1976     to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                       (055)
                                                         Simon Kenton (441): Central Ohio
Request # 2161 For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1930-1994 (441)

                                                         Simon Kenton (441): Central Ohio
Request # 2162 For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1930-1994 (441)

                                                         Simon Kenton (441): Central Ohio
Request # 2163 For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1930-1994 (441)

                                                         Simon Kenton (441): Central Ohio
Request # 2164 For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1930-1994 (441)

                                                         Simon Kenton (441): Central Ohio
Request # 2165 For Policy # 10CA43329    issued to the                                      Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1930-1994 (441)

                                                         Simon Kenton (441): Central Ohio
Request # 2166 For Policy # 10HUA43331   issued to the                                      Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1930-1994 (441)

                                                         Simon Kenton (441): Central Ohio
Request # 2167 For Policy # 10CA43342E   issued to the                                      Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1930-1994 (441)

                                                         Simon Kenton (441): Central Ohio
Request # 2168 For Policy # 10CA43349E   issued to the                                      Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1930-1994 (441)

                                                         Simon Kenton (441): Chief Logan
Request # 2169 For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1944-1994 (464)

                                                         Simon Kenton (441): Chief Logan
Request # 2170 For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1944-1994 (464)

                                                         Simon Kenton (441): Chief Logan
Request # 2171 For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1944-1994 (464)

                                                         Simon Kenton (441): Chief Logan
Request # 2172 For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1944-1994 (464)

                                                         Simon Kenton (441): Chief Logan
Request # 2173 For Policy # 10CA43329    issued to the                                      Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1944-1994 (464)

                                                         Simon Kenton (441): Chief Logan
Request # 2174 For Policy # 10HUA43331   issued to the                                      Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1944-1994 (464)

                                                         Simon Kenton (441): Chief Logan
Request # 2175 For Policy # 10CA43342E   issued to the                                      Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1944-1994 (464)



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                                                         Simon Kenton (441): Chief Logan
Request # 2176 For Policy # 10CA43349E   issued to the                                     Local Council and effective 1/1/1976    to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1944-1994 (464)

                                                         Simon Kenton (441): Licking County
Request # 2177 For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1922-1987 (451)

                                                         Simon Kenton (441): Licking County
Request # 2178 For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1922-1987 (451)

                                                         Simon Kenton (441): Licking County
Request # 2179 For Policy # 10CA43329    issued to the                                      Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1922-1987 (451)

                                                         Simon Kenton (441): Licking County
Request # 2180 For Policy # 10HUA43331   issued to the                                      Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1922-1987 (451)

                                                         Simon Kenton (441): Licking County
Request # 2181 For Policy # 10CA43342E   issued to the                                      Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1922-1987 (451)

                                                         Simon Kenton (441): Licking County
Request # 2182 For Policy # 10CA43349E   issued to the                                      Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1922-1987 (451)

                                                         Simon Kenton (441): Scioto Area
Request # 2183 For Policy # 10CA43342E   issued to the                                     Local Council and effective 1/1/1975    to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1931-1994 (457)

                                                         Simon Kenton (441): Scioto Area
Request # 2184 For Policy # 10CA43349E   issued to the                                     Local Council and effective 1/1/1976    to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1931-1994 (457)

                                                         Sioux (733): Pheasant 1942-1978
Request # 2185 For Policy # 10CA43303    issued to the                                     Local Council and effective 1/1/1972    to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (693)

                                                         Sioux (733): Pheasant 1942-1978
Request # 2186 For Policy # 10HUA43302   issued to the                                     Local Council and effective 1/1/1972    to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (693)

                                                         Sioux (733): Pheasant 1942-1978
Request # 2187 For Policy # 10HUA43302   issued to the                                     Local Council and effective 1/1/1973    to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (693)

                                                         Sioux (733): Pheasant 1942-1978
Request # 2188 For Policy # 10CA43303    issued to the                                     Local Council and effective 1/1/1973    to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (693)

                                                         Sioux (733): Pheasant 1942-1978
Request # 2189 For Policy # 10CA43329    issued to the                                     Local Council and effective 1/1/1974    to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (693)

                                                         Sioux (733): Pheasant 1942-1978
Request # 2190 For Policy # 10HUA43331   issued to the                                     Local Council and effective 1/1/1974    to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (693)

                                                         Sioux (733): Pheasant 1942-1978
Request # 2191 For Policy # 10CA43342E   issued to the                                     Local Council and effective 1/1/1975    to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (693)

                                                         Sioux (733): Pheasant 1942-1978
Request # 2192 For Policy # 10CA43349E   issued to the                                     Local Council and effective 1/1/1976    to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (693)



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                                                         South Florida (084): South Florida
Request # 2193 For Policy # 10CA43303    issued to the                                        Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (084)

                                                         South Florida (084): South Florida
Request # 2194 For Policy # 10HUA43302   issued to the                                        Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (084)

                                                         South Florida (084): South Florida
Request # 2195 For Policy # 10HUA43302   issued to the                                        Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (084)

                                                         South Florida (084): South Florida
Request # 2196 For Policy # 10CA43303    issued to the                                        Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (084)

                                                         South Florida (084): South Florida
Request # 2197 For Policy # 10CA43342E   issued to the                                        Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (084)

                                                         South Florida (084): South Florida
Request # 2198 For Policy # 10CA43349E   issued to the                                        Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (084)

                                                         South Georgia (098): Alapaha Area
Request # 2199 For Policy # 10CA43303    issued to the                                     Local Council and effective 1/1/1973      to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1960-2012 (098)

                                                         South Georgia (098): Alapaha Area
Request # 2200 For Policy # 10HUA43302   issued to the                                     Local Council and effective 1/1/1973      to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1960-2012 (098)

                                                         South Georgia (098): Alapaha Area
Request # 2201 For Policy # 10CA43329    issued to the                                     Local Council and effective 1/1/1974      to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1960-2012 (098)

                                                         South Georgia (098): Alapaha Area
Request # 2202 For Policy # 10HUA43331   issued to the                                     Local Council and effective 1/1/1974      to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1960-2012 (098)

                                                         South Georgia (098): Alapaha Area
Request # 2203 For Policy # 10CA43342E   issued to the                                     Local Council and effective 1/1/1975      to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1960-2012 (098)

                                                         South Georgia (098): Alapaha Area
Request # 2204 For Policy # 10CA43349E   issued to the                                     Local Council and effective 1/1/1976      to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1960-2012 (098)

                                                         South Georgia (098): Chehaw 1939-
Request # 2205 For Policy # 10CA43303    issued to the                                     Local Council and effective 1/1/1972      to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1984 (097)

                                                         South Georgia (098): Chehaw 1939-
Request # 2206 For Policy # 10HUA43302   issued to the                                     Local Council and effective 1/1/1972      to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1984 (097)

                                                         South Georgia (098): Chehaw 1939-
Request # 2207 For Policy # 10HUA43302   issued to the                                     Local Council and effective 1/1/1973      to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1984 (097)

                                                         South Georgia (098): Chehaw 1939-
Request # 2208 For Policy # 10CA43303    issued to the                                     Local Council and effective 1/1/1973      to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1984 (097)

                                                         South Georgia (098): Chehaw 1939-
Request # 2209 For Policy # 10CA43329    issued to the                                     Local Council and effective 1/1/1974      to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1984 (097)



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                                                            South Georgia (098): Chehaw 1939-
Request # 2210 For Policy # 10HUA43331      issued to the                                     Local Council and effective 1/1/1974     to 1/1/1975    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1984 (097)

                                                            South Georgia (098): Chehaw 1939-
Request # 2211 For Policy # 10CA43342E      issued to the                                     Local Council and effective 1/1/1975     to 1/1/1976    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1984 (097)

                                                            South Georgia (098): Chehaw 1939-
Request # 2212 For Policy # 10CA43349E      issued to the                                     Local Council and effective 1/1/1976     to 1/1/1977    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1984 (097)

                                                            South Plains (694): South Plains
Request # 2213 For Policy # 46 IC 632582    issued to the                                      Local Council and effective 2/16/1973 to 2/16/1974 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            (694)

                                                            South Plains (694): South Plains
Request # 2214 For Policy # 46 IC 632582    issued to the                                      Local Council and effective 2/16/1974 to 2/16/1975 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            (694)

                                                            South Plains (694): South Plains
Request # 2215 For Policy # 10CA43342E      issued to the                                      Local Council and effective 1/1/1975    to 1/1/1976    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            (694)

                                                            South Plains (694): South Plains
Request # 2216 For Policy # 46 IC 632582    issued to the                                      Local Council and effective 2/16/1975 to 2/16/1976 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            (694)

                                                            South Plains (694): South Plains
Request # 2217 For Policy # 10CA43349E      issued to the                                      Local Council and effective 1/1/1976    to 1/1/1977    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            (694)

                                                            South Plains (694): South Plains
Request # 2218 For Policy # 46 TMP 100576   issued to the                                      Local Council and effective 2/16/1976 to 2/16/1977 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            (694)

                                                            South Plains (694): South Plains
Request # 2219 For Policy # 46 TMP 100576   issued to the                                      Local Council and effective 2/16/1977 to 2/16/1978 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            (694)

                                                            South Plains (694): South Plains
Request # 2220 For Policy # 46 TMP 100576   issued to the                                      Local Council and effective 2/16/1978 to 2/16/1979 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            (694)

                                                            South Texas (577): Gulf Coast 1929-
Request # 2221 For Policy # 10CA43303       issued to the                                       Local Council and effective 1/1/1973   to 1/1/1974    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            2002 (577)

                                                            South Texas (577): Gulf Coast 1929-
Request # 2222 For Policy # 10HUA43302      issued to the                                       Local Council and effective 1/1/1973   to 1/1/1974    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            2002 (577)

                                                            South Texas (577): Gulf Coast 1929-
Request # 2223 For Policy # 10CA43329       issued to the                                       Local Council and effective 1/1/1974   to 1/1/1975    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            2002 (577)

                                                            South Texas (577): Gulf Coast 1929-
Request # 2224 For Policy # 10HUA43331      issued to the                                       Local Council and effective 1/1/1974   to 1/1/1975    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            2002 (577)

                                                            South Texas (577): Gulf Coast 1929-
Request # 2225 For Policy # 10CA43342E      issued to the                                       Local Council and effective 1/1/1975   to 1/1/1976    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            2002 (577)

                                                            South Texas (577): Gulf Coast 1929-
Request # 2226 For Policy # 10CA43349E      issued to the                                       Local Council and effective 1/1/1976   to 1/1/1977    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            2002 (577)



                                                                                                                      133
                                                           Southeast Louisiana (214): New
Request # 2227 For Policy # 10 HUA 43300   issued to the                                     Local Council and effective 5/1/1971    to 5/1/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Orleans Area 1927-1993 (214)

                                                           Southeast Louisiana (214): New
Request # 2228 For Policy # 10CA43315      issued to the                                     Local Council and effective 9/21/1971 to 1/1/1972     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Orleans Area 1927-1993 (214)

                                                           Southeast Louisiana (214): New
Request # 2229 For Policy # 10HUA43302     issued to the                                     Local Council and effective 1/1/1972    to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Orleans Area 1927-1993 (214)

                                                           Southeast Louisiana (214): New
Request # 2230 For Policy # 10CA43303      issued to the                                     Local Council and effective 1/1/1972    to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Orleans Area 1927-1993 (214)

                                                           Southeast Louisiana (214): New
Request # 2231 For Policy # 10CA43303      issued to the                                     Local Council and effective 1/1/1973    to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Orleans Area 1927-1993 (214)

                                                           Southeast Louisiana (214): New
Request # 2232 For Policy # 10HUA43302     issued to the                                     Local Council and effective 1/1/1973    to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Orleans Area 1927-1993 (214)

                                                           Southeast Louisiana (214): New
Request # 2233 For Policy # 10HUA43331     issued to the                                     Local Council and effective 1/1/1974    to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Orleans Area 1927-1993 (214)

                                                           Southeast Louisiana (214): New
Request # 2234 For Policy # 10CA43329      issued to the                                     Local Council and effective 1/1/1974    to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Orleans Area 1927-1993 (214)

                                                           Southeast Louisiana (214): New
Request # 2235 For Policy # 10CA43342E     issued to the                                     Local Council and effective 1/1/1975    to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Orleans Area 1927-1993 (214)

                                                           Southeast Louisiana (214): New
Request # 2236 For Policy # 10CA43349E     issued to the                                     Local Council and effective 1/1/1976    to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Orleans Area 1927-1993 (214)

                                                           Southeast Louisiana (214):
Request # 2237 For Policy # 10CA43342E     issued to the                                     Local Council and effective 1/1/1975    to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Southeast Louisiana (214)

                                                           Southeast Louisiana (214):
Request # 2238 For Policy # 10CA43349E     issued to the                                     Local Council and effective 1/1/1976    to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Southeast Louisiana (214)

                                                           Southern Shores FSC (783):
Request # 2239 For Policy # 10CA43342E     issued to the                                     Local Council and effective 1/1/1975    to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Southern Shores FSC (783)

                                                           Southern Shores FSC (783):
Request # 2240 For Policy # 10CA43349E     issued to the                                     Local Council and effective 1/1/1976    to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Southern Shores FSC (783)

                                                           Southern Sierra (030): Southern
Request # 2241 For Policy # 10CA43342E     issued to the                                     Local Council and effective 1/1/1975    to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Sierra 1965- (030)

                                                           Southern Sierra (030): Southern
Request # 2242 For Policy # 10CA43349E     issued to the                                     Local Council and effective 1/1/1976    to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Sierra 1965- (030)

                                                           Southwest Florida (088): Southwest
Request # 2243 For Policy # 10HUA43302     issued to the                                      Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Florida 1966- (088)



                                                                                                                    134
                                                           Southwest Florida (088): Southwest
Request # 2244 For Policy # 10CA43303      issued to the                                      Local Council and effective 1/1/1973    to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Florida 1966- (088)

                                                           Southwest Florida (088): Southwest
Request # 2245 For Policy # 10CA43329      issued to the                                      Local Council and effective 1/1/1974    to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Florida 1966- (088)

                                                           Southwest Florida (088): Southwest
Request # 2246 For Policy # 10HUA43331     issued to the                                      Local Council and effective 1/1/1974    to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Florida 1966- (088)

                                                           Southwest Florida (088): Sunny
Request # 2247 For Policy # 10 HUA 43300   issued to the                                       Local Council and effective 5/1/1971   to 5/1/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Land 1925-1995 (724)

                                                           Southwest Florida (088): Sunny
Request # 2248 For Policy # 10CA43315      issued to the                                       Local Council and effective 9/21/1971 to 1/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Land 1925-1995 (724)

                                                           Southwest Florida (088): Sunny
Request # 2249 For Policy # 10HUA43302     issued to the                                       Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Land 1925-1995 (724)

                                                           Southwest Florida (088): Sunny
Request # 2250 For Policy # 10CA43303      issued to the                                       Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Land 1925-1995 (724)

                                                           Southwest Florida (088): Sunny
Request # 2251 For Policy # 10CA43303      issued to the                                       Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Land 1925-1995 (724)

                                                           Southwest Florida (088): Sunny
Request # 2252 For Policy # 10HUA43302     issued to the                                       Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Land 1925-1995 (724)

                                                           Southwest Florida (088): Sunny
Request # 2253 For Policy # 10CA43329      issued to the                                       Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Land 1925-1995 (724)

                                                           Southwest Florida (088): Sunny
Request # 2254 For Policy # 10HUA43331     issued to the                                       Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Land 1925-1995 (724)

                                                           Southwest Florida (088): Sunny
Request # 2255 For Policy # 10CA43342E     issued to the                                       Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Land 1925-1995 (724)

                                                           Southwest Florida (088): Sunny
Request # 2256 For Policy # 10CA43349E     issued to the                                       Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Land 1925-1995 (724)

                                                           Spirit of Adventure (227): Boston
Request # 2257 For Policy # 10CA43342E     issued to the                                       Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1921-1980 (227)

                                                           Spirit of Adventure (227): Boston
Request # 2258 For Policy # 10CA43349E     issued to the                                       Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1921-1980 (227)

                                                           Spirit of Adventure (227):
Request # 2259 For Policy # 10CA43303      issued to the                                       Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Cambridge 1919-2001 (229)

                                                           Spirit of Adventure (227):
Request # 2260 For Policy # 10HUA43302     issued to the                                       Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Cambridge 1919-2001 (229)



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                                                         Spirit of Adventure (227):
Request # 2261 For Policy # 10CA43342E   issued to the                                        Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Cambridge 1919-2001 (229)

                                                         Spirit of Adventure (227):
Request # 2262 For Policy # 10CA43349E   issued to the                                        Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Cambridge 1919-2001 (229)

                                                         Spirit of Adventure (227): Greater
Request # 2263 For Policy # 10CA43342E   issued to the                                        Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Lowell 1927-1977 (238)

                                                         Spirit of Adventure (227): Greater
Request # 2264 For Policy # 10CA43349E   issued to the                                        Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Lowell 1927-1977 (238)

                                                         Spirit of Adventure (227): Greater
Request # 2265 For Policy # 10HUA43302   issued to the                                        Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Lowell 1977-1999 (238)

                                                         Spirit of Adventure (227): Greater
Request # 2266 For Policy # 10CA43303    issued to the                                        Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Lowell 1977-1999 (238)

                                                         Spirit of Adventure (227): Greater
Request # 2267 For Policy # 10CA43303    issued to the                                        Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Lowell 1977-1999 (238)

                                                         Spirit of Adventure (227): Greater
Request # 2268 For Policy # 10HUA43302   issued to the                                        Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Lowell 1977-1999 (238)

                                                         Spirit of Adventure (227): Greater
Request # 2269 For Policy # 10CA43329    issued to the                                        Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Lowell 1977-1999 (238)

                                                         Spirit of Adventure (227): Greater
Request # 2270 For Policy # 10HUA43331   issued to the                                        Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Lowell 1977-1999 (238)

                                                         Spirit of Adventure (227): Lone
Request # 2271 For Policy # 10HUA43302   issued to the                                        Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Tree 1926-1993 (749)

                                                         Spirit of Adventure (227): Lone
Request # 2272 For Policy # 10CA43303    issued to the                                        Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Tree 1926-1993 (749)

                                                         Spirit of Adventure (227): Lone
Request # 2273 For Policy # 10HUA43302   issued to the                                        Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Tree 1926-1993 (749)

                                                         Spirit of Adventure (227): Lone
Request # 2274 For Policy # 10CA43303    issued to the                                        Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Tree 1926-1993 (749)

                                                         Spirit of Adventure (227): Lone
Request # 2275 For Policy # 10CA43329    issued to the                                        Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Tree 1926-1993 (749)

                                                         Spirit of Adventure (227): Lone
Request # 2276 For Policy # 10HUA43331   issued to the                                        Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Tree 1926-1993 (749)

                                                         Spirit of Adventure (227): Lone
Request # 2277 For Policy # 10CA43342E   issued to the                                        Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Tree 1926-1993 (749)



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                                                            Spirit of Adventure (227): Lone
Request # 2278 For Policy # 10CA43349E      issued to the                                      Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Tree 1926-1993 (749)

                                                            Spirit of Adventure (227): Mass.
Request # 2279 For Policy # 10CA43349E      issued to the                                      Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Bay Federated 1976-1979 (850)

                                                            Spirit of Adventure (227):
Request # 2280 For Policy # 10CA43342E      issued to the                                      Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Minuteman 1959-1993 (240)

                                                            Spirit of Adventure (227):
Request # 2281 For Policy # 10CA43349E      issued to the                                      Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Minuteman 1959-1993 (240)

                                                            Spirit of Adventure (227): North
Request # 2282 For Policy # 10CA43342E      issued to the                                      Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Bay 1966-1993 (236)

                                                            Spirit of Adventure (227): North
Request # 2283 For Policy # 10CA43349E      issued to the                                      Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Bay 1966-1993 (236)

                                                            Spirit of Adventure (227): North
Request # 2284 For Policy # 10CA43303       issued to the                                      Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Essex 1925-1993 (712)

                                                            Spirit of Adventure (227): North
Request # 2285 For Policy # 10HUA43302      issued to the                                      Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Essex 1925-1993 (712)

                                                            Spirit of Adventure (227): North
Request # 2286 For Policy # 10HUA43302      issued to the                                      Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Essex 1925-1993 (712)

                                                            Spirit of Adventure (227): North
Request # 2287 For Policy # 10CA43303       issued to the                                      Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Essex 1925-1993 (712)

                                                            Spirit of Adventure (227): North
Request # 2288 For Policy # 10CA43329       issued to the                                      Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Essex 1925-1993 (712)

                                                            Spirit of Adventure (227): North
Request # 2289 For Policy # 10HUA43331      issued to the                                      Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Essex 1925-1993 (712)

                                                            Spirit of Adventure (227): North
Request # 2290 For Policy # 10CA43342E      issued to the                                      Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Essex 1925-1993 (712)

                                                            Spirit of Adventure (227): North
Request # 2291 For Policy # 10CA43349E      issued to the                                      Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Essex 1925-1993 (712)

                                                            Suffolk County (404): Suffolk
Request # 2292 For Policy # 12 CPP 500098   issued to the                                      Local Council and effective 6/1/1969   to 6/1/1970   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            County (404)

                                                            Suffolk County (404): Suffolk
Request # 2293 For Policy # 12 CPP 500098   issued to the                                      Local Council and effective 6/1/1970   to 6/1/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            County (404)

                                                            Suffolk County (404): Suffolk
Request # 2294 For Policy # 12 CPP 500098   issued to the                                      Local Council and effective 6/1/1971   to 6/1/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            County (404)



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                                                            Suffolk County (404): Suffolk
Request # 2295 For Policy # 12 SMP 304687   issued to the                                    Local Council and effective 6/1/1972   to 6/1/1973     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            County (404)

                                                            Suffolk County (404): Suffolk
Request # 2296 For Policy # 12 SMP 304687   issued to the                                    Local Council and effective 6/1/1973   to 6/1/1974     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            County (404)

                                                            Suffolk County (404): Suffolk
Request # 2297 For Policy # 12 SMP 304687   issued to the                                    Local Council and effective 6/1/1974   to 6/1/1975     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            County (404)

                                                            Suffolk County (404): Suffolk
Request # 2298 For Policy # 12 CBP 400297   issued to the                                    Local Council and effective 6/1/1974   to 6/1/1975     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            County (404)

                                                            Suffolk County (404): Suffolk
Request # 2299 For Policy # 10CA43342E      issued to the                                    Local Council and effective 1/1/1975   to 1/1/1976     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            County (404)

                                                            Suffolk County (404): Suffolk
Request # 2300 For Policy # 12 CBP 400297   issued to the                                    Local Council and effective 6/1/1975   to 6/1/1976     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            County (404)

                                                            Suffolk County (404): Suffolk
Request # 2301 For Policy # 10CA43349E      issued to the                                    Local Council and effective 1/1/1976   to 1/1/1977     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            County (404)

                                                            Suffolk County (404): Suffolk
Request # 2302 For Policy # 12 CBP 400297   issued to the                                    Local Council and effective 6/1/1976   to 6/1/1977     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            County (404)

                                                            Suffolk County (404): Suffolk
Request # 2303 For Policy # 12 CBP 400656   issued to the                                    Local Council and effective 6/1/1977   to 6/1/1978     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            County (404)

                                                            Suffolk County (404): Suffolk
Request # 2304 For Policy # 12 CBP 400656   issued to the                                    Local Council and effective 6/1/1978   to 6/1/1979     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            County (404)

                                                            Suffolk County (404): Suffolk
Request # 2305 For Policy # 12 CBP 400656   issued to the                                    Local Council and effective 6/1/1979   to 6/1/1980     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            County (404)

                                                            Susquehanna (533): Susquehanna
Request # 2306 For Policy # 10CA43342E      issued to the                                    Local Council and effective 1/1/1975   to 1/1/1976     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1975- (533)

                                                            Susquehanna (533): Susquehanna
Request # 2307 For Policy # 10CA43349E      issued to the                                    Local Council and effective 1/1/1976   to 1/1/1977     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1975- (533)

                                                            Susquehanna (533): Susquehanna
Request # 2308 For Policy # 10CA43342E      issued to the                                    Local Council and effective 1/1/1975   to 1/1/1976     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Valley Area 1927-1975 (533)

                                                            Susquehanna (533): West Branch
Request # 2309 For Policy # 10CA43342E      issued to the                                    Local Council and effective 1/1/1975   to 1/1/1976     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1935-1975 (543)

                                                            Suwannee River Area (664):
Request # 2310 For Policy # 10CA43342E      issued to the                                    Local Council and effective 1/1/1975   to 1/1/1976     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Suwannee River Area (664)

                                                            Suwannee River Area (664):
Request # 2311 For Policy # 21 SMP 118708   issued to the                                    Local Council and effective 9/15/1975 to 9/15/1976 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Suwannee River Area (664)



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                                                            Suwannee River Area (664):
Request # 2312 For Policy # 10CA43349E      issued to the                                        Local Council and effective 1/1/1976   to 1/1/1977     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Suwannee River Area (664)

                                                            Suwannee River Area (664):
Request # 2313 For Policy # 21 SMP 118708   issued to the                                        Local Council and effective 9/15/1976 to 9/15/1977 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Suwannee River Area (664)

                                                            Suwannee River Area (664):
Request # 2314 For Policy # 21 SMP 118708   issued to the                                        Local Council and effective 9/15/1977 to 1/1/1978      admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Suwannee River Area (664)

Request # 2315 For Policy # 10CA43342E      issued to the Tecumseh (439): Tecumseh (439)         Local Council and effective 1/1/1975   to 1/1/1976     admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 2316 For Policy # 10CA43349E      issued to the Tecumseh (439): Tecumseh (439)         Local Council and effective 1/1/1976   to 1/1/1977     admit that Abuse Claims against insureds and co-insureds are covered under the policy.

                                                            Texas Southwest (741): Concho
Request # 2317 For Policy # 10CA43303       issued to the                                        Local Council and effective 1/1/1972   to 1/1/1973     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Valley 1926-2012 (741)

                                                            Texas Southwest (741): Concho
Request # 2318 For Policy # 10CA43303       issued to the                                        Local Council and effective 1/1/1973   to 1/1/1974     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Valley 1926-2012 (741)

                                                            Texas Southwest (741): Concho
Request # 2319 For Policy # 10HUA43302      issued to the                                        Local Council and effective 1/1/1973   to 1/1/1974     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Valley 1926-2012 (741)

                                                            Texas Southwest (741): Concho
Request # 2320 For Policy # 10CA43342E      issued to the                                        Local Council and effective 1/1/1975   to 1/1/1976     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Valley 1926-2012 (741)

                                                            Texas Southwest (741): Concho
Request # 2321 For Policy # 10CA43349E      issued to the                                        Local Council and effective 1/1/1976   to 1/1/1977     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Valley 1926-2012 (741)

                                                            Texas Southwest (741): Texas
Request # 2322 For Policy # 10CA43329       issued to the                                        Local Council and effective 1/1/1974   to 1/1/1975     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Southwest 2012- (741)

                                                            Texas Southwest (741): Texas
Request # 2323 For Policy # 10HUA43331      issued to the                                        Local Council and effective 1/1/1974   to 1/1/1975     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Southwest 2012- (741)

                                                            Texas Trails (561): Chisholm Trail
Request # 2324 For Policy # 10HUA43302      issued to the                                        Local Council and effective 1/1/1972   to 1/1/1973     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1926-2003 (561)

                                                            Texas Trails (561): Chisholm Trail
Request # 2325 For Policy # 10CA43303       issued to the                                        Local Council and effective 1/1/1972   to 1/1/1973     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1926-2003 (561)

                                                            Texas Trails (561): Chisholm Trail
Request # 2326 For Policy # 10HUA43302      issued to the                                        Local Council and effective 1/1/1973   to 1/1/1974     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1926-2003 (561)

                                                            Texas Trails (561): Chisholm Trail
Request # 2327 For Policy # 10CA43303       issued to the                                        Local Council and effective 1/1/1973   to 1/1/1974     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1926-2003 (561)

                                                            Texas Trails (561): Chisholm Trail
Request # 2328 For Policy # 10CA43329       issued to the                                        Local Council and effective 1/1/1974   to 1/1/1975     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            1926-2003 (561)



                                                                                                                       139
                                                         Texas Trails (561): Chisholm Trail
Request # 2329 For Policy # 10HUA43331   issued to the                                        Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1926-2003 (561)

                                                         Texas Trails (561): Chisholm Trail
Request # 2330 For Policy # 10CA43342E   issued to the                                        Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1926-2003 (561)

                                                         Texas Trails (561): Chisholm Trail
Request # 2331 For Policy # 10CA43349E   issued to the                                        Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1926-2003 (561)

                                                         Texas Trails (561): Comanche Trail
Request # 2332 For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1972     to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1932-2003 (479)

                                                         Texas Trails (561): Comanche Trail
Request # 2333 For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1972     to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1932-2003 (479)

                                                         Texas Trails (561): Comanche Trail
Request # 2334 For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1973     to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1932-2003 (479)

                                                         Texas Trails (561): Comanche Trail
Request # 2335 For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1973     to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1932-2003 (479)

                                                         Texas Trails (561): Comanche Trail
Request # 2336 For Policy # 10CA43329    issued to the                                      Local Council and effective 1/1/1974     to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1932-2003 (479)

                                                         Texas Trails (561): Comanche Trail
Request # 2337 For Policy # 10HUA43331   issued to the                                      Local Council and effective 1/1/1974     to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1932-2003 (479)

                                                         Texas Trails (561): Comanche Trail
Request # 2338 For Policy # 10CA43342E   issued to the                                      Local Council and effective 1/1/1975     to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1932-2003 (479)

                                                         Texas Trails (561): Comanche Trail
Request # 2339 For Policy # 10CA43349E   issued to the                                      Local Council and effective 1/1/1976     to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1932-2003 (479)

                                                         Theodore Roosevelt (386): Nassau
Request # 2340 For Policy # 10CA43342E   issued to the                                    Local Council and effective 1/1/1975       to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         County 1916-1997 (386)

                                                         Theodore Roosevelt (386): Nassau
Request # 2341 For Policy # 10CA43349E   issued to the                                    Local Council and effective 1/1/1976       to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         County 1916-1997 (386)

                                                         Three Fires (127): Du Page Area
Request # 2342 For Policy # 10CA43303    issued to the                                        Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1928-1992 (148)

                                                         Three Fires (127): Du Page Area
Request # 2343 For Policy # 10HUA43302   issued to the                                        Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1928-1992 (148)

                                                         Three Fires (127): Du Page Area
Request # 2344 For Policy # 10HUA43302   issued to the                                        Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1928-1992 (148)

                                                         Three Fires (127): Du Page Area
Request # 2345 For Policy # 10CA43303    issued to the                                        Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1928-1992 (148)



                                                                                                                    140
                                                           Three Fires (127): Du Page Area
Request # 2346 For Policy # 10HUA43331     issued to the                                      Local Council and effective 1/1/1974    to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1928-1992 (148)

                                                           Three Fires (127): Du Page Area
Request # 2347 For Policy # 10CA43329      issued to the                                      Local Council and effective 1/1/1974    to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1928-1992 (148)

                                                           Three Fires (127): Du Page Area
Request # 2348 For Policy # 10CA43342E     issued to the                                      Local Council and effective 1/1/1975    to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1928-1992 (148)

                                                           Three Fires (127): Du Page Area
Request # 2349 For Policy # 10CA43349E     issued to the                                      Local Council and effective 1/1/1976    to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1928-1992 (148)

                                                           Three Fires (127): Du Page Area
Request # 2350 For Policy # 82 UUN PN2419 issued to the                                       Local Council and effective 6/1/1985    to 6/1/1986   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1928-1992 (148)

                                                           Three Fires (127): Two Rivers 1968-
Request # 2351 For Policy # 10HUA43302     issued to the                                       Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1992 (127)

                                                           Three Fires (127): Two Rivers 1968-
Request # 2352 For Policy # 10CA43303      issued to the                                       Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1992 (127)

                                                           Three Fires (127): Two Rivers 1968-
Request # 2353 For Policy # 10CA43303      issued to the                                       Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1992 (127)

                                                           Three Fires (127): Two Rivers 1968-
Request # 2354 For Policy # 10HUA43302     issued to the                                       Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1992 (127)

                                                           Three Fires (127): Two Rivers 1968-
Request # 2355 For Policy # 10CA43329      issued to the                                       Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1992 (127)

                                                           Three Fires (127): Two Rivers 1968-
Request # 2356 For Policy # 10HUA43331     issued to the                                       Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1992 (127)

                                                           Three Fires (127): Two Rivers 1968-
Request # 2357 For Policy # 10CA43342E     issued to the                                       Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1992 (127)

                                                           Three Fires (127): Two Rivers 1968-
Request # 2358 For Policy # 10CA43349E     issued to the                                       Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1992 (127)

                                                           Three Harbors (636): Milwaukee
Request # 2359 For Policy # 10CA43342E     issued to the                                      Local Council and effective 1/1/1975    to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           County 1929-2011 (629)

                                                           Three Harbors (636): Milwaukee
Request # 2360 For Policy # 10CA43349E     issued to the                                      Local Council and effective 1/1/1976    to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           County 1929-2011 (629)

                                                           Three Harbors (636): Southeast
Request # 2361 For Policy # 10CA43303      issued to the                                      Local Council and effective 1/1/1972    to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Wisconsin 1972-2011 (634)

                                                           Three Harbors (636): Southeast
Request # 2362 For Policy # 10HUA43302     issued to the                                      Local Council and effective 1/1/1972    to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Wisconsin 1972-2011 (634)



                                                                                                                     141
                                                         Three Harbors (636): Southeast
Request # 2363 For Policy # 10CA43303    issued to the                                        Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Wisconsin 1972-2011 (634)

                                                         Three Harbors (636): Southeast
Request # 2364 For Policy # 10HUA43302   issued to the                                        Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Wisconsin 1972-2011 (634)

                                                         Three Harbors (636): Southeast
Request # 2365 For Policy # 10CA43329    issued to the                                        Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Wisconsin 1972-2011 (634)

                                                         Three Harbors (636): Southeast
Request # 2366 For Policy # 10HUA43331   issued to the                                        Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Wisconsin 1972-2011 (634)

                                                         Three Harbors (636): Southeast
Request # 2367 For Policy # 10CA43342E   issued to the                                        Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Wisconsin 1972-2011 (634)

                                                         Three Harbors (636): Southeast
Request # 2368 For Policy # 10CA43349E   issued to the                                        Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Wisconsin 1972-2011 (634)

                                                         Three Rivers (578): Three Rivers
Request # 2369 For Policy # 10HUA43302   issued to the                                        Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1970- (578)

                                                         Three Rivers (578): Three Rivers
Request # 2370 For Policy # 10CA43303    issued to the                                        Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1970- (578)

                                                         Three Rivers (578): Three Rivers
Request # 2371 For Policy # 10CA43303    issued to the                                        Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1970- (578)

                                                         Three Rivers (578): Three Rivers
Request # 2372 For Policy # 10HUA43302   issued to the                                        Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1970- (578)

                                                         Three Rivers (578): Three Rivers
Request # 2373 For Policy # 10CA43329    issued to the                                        Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1970- (578)

                                                         Three Rivers (578): Three Rivers
Request # 2374 For Policy # 10HUA43331   issued to the                                        Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1970- (578)

                                                         Three Rivers (578): Three Rivers
Request # 2375 For Policy # 10CA43342E   issued to the                                        Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1970- (578)

                                                         Three Rivers (578): Three Rivers
Request # 2376 For Policy # 10CA43349E   issued to the                                        Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1970- (578)

Request # 2377 For Policy # 10CA43342E   issued to the Tidewater (596): Tidewater (596)       Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 2378 For Policy # 10CA43349E   issued to the Tidewater (596): Tidewater (596)       Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.

                                                         Transatlantic (802): Transatlantic
Request # 2379 For Policy # 10HUA43331   issued to the                                        Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1953- (802)



                                                                                                                    142
                                                         Transatlantic (802): Transatlantic
Request # 2380 For Policy # 10CA43342E   issued to the                                        Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1953- (802)

                                                         Transatlantic (802): Transatlantic
Request # 2381 For Policy # 10CA43349E   issued to the                                        Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         1953- (802)

                                                         Tukabatchee Area (005):
Request # 2382 For Policy # 10CA43303    issued to the                                        Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Tukabatchee Area (005)

                                                         Tukabatchee Area (005):
Request # 2383 For Policy # 10HUA43302   issued to the                                        Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Tukabatchee Area (005)

                                                         Tukabatchee Area (005):
Request # 2384 For Policy # 10HUA43302   issued to the                                        Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Tukabatchee Area (005)

                                                         Tukabatchee Area (005):
Request # 2385 For Policy # 10CA43303    issued to the                                        Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Tukabatchee Area (005)

                                                         Tukabatchee Area (005):
Request # 2386 For Policy # 10CA43329    issued to the                                        Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Tukabatchee Area (005)

                                                         Tukabatchee Area (005):
Request # 2387 For Policy # 10HUA43331   issued to the                                        Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Tukabatchee Area (005)

                                                         Tukabatchee Area (005):
Request # 2388 For Policy # 10CA43342E   issued to the                                        Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Tukabatchee Area (005)

                                                         Tukabatchee Area (005):
Request # 2389 For Policy # 10CA43349E   issued to the                                        Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Tukabatchee Area (005)

Request # 2390 For Policy # 10HUA43302   issued to the Tuscarora (424): Tuscarora (424)       Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 2391 For Policy # 10HUA43302   issued to the Tuscarora (424): Tuscarora (424)       Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 2392 For Policy # 10CA43342E   issued to the Tuscarora (424): Tuscarora (424)       Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 2393 For Policy # 10CA43349E   issued to the Tuscarora (424): Tuscarora (424)       Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.

                                                         Twin Rivers (364): Adirondack 1924-
Request # 2394 For Policy # 10HUA43302   issued to the                                       Local Council and effective 1/1/1973    to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         2006 (394)

                                                         Twin Rivers (364): Adirondack 1924-
Request # 2395 For Policy # 10CA43303    issued to the                                       Local Council and effective 1/1/1973    to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         2006 (394)

                                                         Twin Rivers (364): Adirondack 1924-
Request # 2396 For Policy # 10CA43329    issued to the                                       Local Council and effective 1/1/1974    to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         2006 (394)



                                                                                                                    143
                                                           Twin Rivers (364): Adirondack 1924-
Request # 2397 For Policy # 10HUA43331     issued to the                                       Local Council and effective 1/1/1974   to 1/1/1975    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           2006 (394)

                                                           Twin Rivers (364): Adirondack 1924-
Request # 2398 For Policy # 10CA43342E     issued to the                                       Local Council and effective 1/1/1975   to 1/1/1976    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           2006 (394)

                                                           Twin Rivers (364): Adirondack 1924-
Request # 2399 For Policy # 10CA43349E     issued to the                                       Local Council and effective 1/1/1976   to 1/1/1977    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           2006 (394)

                                                           Twin Rivers (364): Governor Clinton
Request # 2400 For Policy # 10CA43342E     issued to the                                       Local Council and effective 1/1/1975   to 1/1/1976    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1971-1990 (364)

                                                           Twin Rivers (364): Governor Clinton
Request # 2401 For Policy # 10CA43349E     issued to the                                       Local Council and effective 1/1/1976   to 1/1/1977    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1971-1990 (364)

                                                           Twin Rivers (364): Mohican 1927-
Request # 2402 For Policy # 10CA43303      issued to the                                      Local Council and effective 1/1/1972    to 1/1/1973    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1998 (378)

                                                           Twin Rivers (364): Mohican 1927-
Request # 2403 For Policy # 10HUA43302     issued to the                                      Local Council and effective 1/1/1972    to 1/1/1973    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1998 (378)

                                                           Twin Rivers (364): Mohican 1927-
Request # 2404 For Policy # 10HUA43302     issued to the                                      Local Council and effective 1/1/1973    to 1/1/1974    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1998 (378)

                                                           Twin Rivers (364): Mohican 1927-
Request # 2405 For Policy # 10CA43303      issued to the                                      Local Council and effective 1/1/1973    to 1/1/1974    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1998 (378)

                                                           Twin Rivers (364): Mohican 1927-
Request # 2406 For Policy # 10HUA43331     issued to the                                      Local Council and effective 1/1/1974    to 1/1/1975    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1998 (378)

                                                           Twin Rivers (364): Mohican 1927-
Request # 2407 For Policy # 10CA43329      issued to the                                      Local Council and effective 1/1/1974    to 1/1/1975    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1998 (378)

                                                           Twin Rivers (364): Mohican 1927-
Request # 2408 For Policy # 10CA43342E     issued to the                                      Local Council and effective 1/1/1975    to 1/1/1976    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1998 (378)

                                                           Twin Rivers (364): Mohican 1927-
Request # 2409 For Policy # 10CA43349E     issued to the                                      Local Council and effective 1/1/1976    to 1/1/1977    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1998 (378)

                                                           Twin Rivers (364): Saratoga County
Request # 2410 For Policy # 01 C 530923    issued to the                                      Local Council and effective 5/1/1972    to 5/1/1973    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1924-1990 (684)

                                                           Twin Rivers (364): Saratoga County
Request # 2411 For Policy # 01 C 531176    issued to the                                      Local Council and effective 5/1/1972    to 5/1/1973    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1924-1990 (684)

                                                           Twin Rivers (364): Saratoga County
Request # 2412 For Policy # 01 HU 300166   issued to the                                      Local Council and effective 12/15/1972 to 12/15/1973 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1924-1990 (684)

                                                           Twin Rivers (364): Saratoga County
Request # 2413 For Policy # 01 HU 300166   issued to the                                      Local Council and effective 12/15/1973 to 12/15/1974 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1924-1990 (684)



                                                                                                                     144
                                                           Twin Rivers (364): Saratoga County
Request # 2414 For Policy # 01 HU 300166   issued to the                                      Local Council and effective 12/15/1974 to 12/15/1975 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1924-1990 (684)

                                                           Twin Rivers (364): Saratoga County
Request # 2415 For Policy # 10CA43342E     issued to the                                      Local Council and effective 1/1/1975     to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1924-1990 (684)

                                                           Twin Rivers (364): Saratoga County
Request # 2416 For Policy # 10CA43349E     issued to the                                      Local Council and effective 1/1/1976     to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1924-1990 (684)

                                                           Twin Rivers (364): Schenectady
Request # 2417 For Policy # 10CA43342E     issued to the                                      Local Council and effective 1/1/1975     to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           County 1926-1991 (399)

                                                           Twin Rivers (364): Schenectady
Request # 2418 For Policy # 10CA43349E     issued to the                                      Local Council and effective 1/1/1976     to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           County 1926-1991 (399)

                                                           Twin Rivers (364): Sir William
Request # 2419 For Policy # 10CA43303      issued to the                                      Local Council and effective 1/1/1973     to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Johnson 1937-1990 (377)

                                                           Twin Rivers (364): Sir William
Request # 2420 For Policy # 10HUA43302     issued to the                                      Local Council and effective 1/1/1973     to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Johnson 1937-1990 (377)

                                                           Twin Rivers (364): Sir William
Request # 2421 For Policy # 10CA43329      issued to the                                      Local Council and effective 1/1/1974     to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Johnson 1937-1990 (377)

                                                           Twin Rivers (364): Sir William
Request # 2422 For Policy # 10HUA43331     issued to the                                      Local Council and effective 1/1/1974     to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Johnson 1937-1990 (377)

                                                           Twin Rivers (364): Sir William
Request # 2423 For Policy # 10CA43342E     issued to the                                      Local Council and effective 1/1/1975     to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Johnson 1937-1990 (377)

                                                           Twin Rivers (364): Sir William
Request # 2424 For Policy # 10CA43349E     issued to the                                      Local Council and effective 1/1/1976     to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Johnson 1937-1990 (377)

                                                           Twin Valley (283): Twin Valley 1969-
Request # 2425 For Policy # 10CA43303      issued to the                                        Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (283)

                                                           Twin Valley (283): Twin Valley 1969-
Request # 2426 For Policy # 10HUA43302     issued to the                                        Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (283)

                                                           Twin Valley (283): Twin Valley 1969-
Request # 2427 For Policy # 10CA43329      issued to the                                        Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (283)

                                                           Twin Valley (283): Twin Valley 1969-
Request # 2428 For Policy # 10HUA43331     issued to the                                        Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (283)

                                                           Twin Valley (283): Twin Valley 1969-
Request # 2429 For Policy # 10CA43342E     issued to the                                        Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (283)

                                                           Twin Valley (283): Twin Valley 1969-
Request # 2430 For Policy # 10CA43349E     issued to the                                        Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           (283)



                                                                                                                      145
                                                         Ventura County (057): Ventura
Request # 2431 For Policy # 10HUA43302   issued to the                                        Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         County (057)

                                                         Ventura County (057): Ventura
Request # 2432 For Policy # 10CA43303    issued to the                                        Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         County (057)

                                                         Ventura County (057): Ventura
Request # 2433 For Policy # 10CA43303    issued to the                                        Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         County (057)

                                                         Ventura County (057): Ventura
Request # 2434 For Policy # 10HUA43302   issued to the                                        Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         County (057)

                                                         Ventura County (057): Ventura
Request # 2435 For Policy # 10CA43329    issued to the                                        Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         County (057)

                                                         Ventura County (057): Ventura
Request # 2436 For Policy # 10HUA43331   issued to the                                        Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         County (057)

                                                         Ventura County (057): Ventura
Request # 2437 For Policy # 10CA43342E   issued to the                                        Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         County (057)

                                                         Ventura County (057): Ventura
Request # 2438 For Policy # 10CA43349E   issued to the                                        Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         County (057)

                                                         Verdugo Hills (058): Verdugo Hills
Request # 2439 For Policy # 10CA43342E   issued to the                                        Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (058)

                                                         Verdugo Hills (058): Verdugo Hills
Request # 2440 For Policy # 10CA43349E   issued to the                                        Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (058)

                                                         Virginia Headwaters (763):
Request # 2441 For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1973     to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Stonewall Jackson Area -2019 (763)

                                                         Virginia Headwaters (763):
Request # 2442 For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1973     to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Stonewall Jackson Area -2019 (763)

                                                         Virginia Headwaters (763):
Request # 2443 For Policy # 10HUA43331   issued to the                                      Local Council and effective 1/1/1974     to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Stonewall Jackson Area -2019 (763)

                                                         Virginia Headwaters (763):
Request # 2444 For Policy # 10CA43329    issued to the                                      Local Council and effective 1/1/1974     to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Stonewall Jackson Area -2019 (763)

                                                         Virginia Headwaters (763):
Request # 2445 For Policy # 10CA43342E   issued to the                                      Local Council and effective 1/1/1975     to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Stonewall Jackson Area -2019 (763)

                                                         Virginia Headwaters (763):
Request # 2446 For Policy # 10CA43349E   issued to the                                      Local Council and effective 1/1/1976     to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Stonewall Jackson Area -2019 (763)

                                                         Voyageurs Area (286): Headwaters
Request # 2447 For Policy # 10CA43303    issued to the                                    Local Council and effective 1/1/1973       to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area 1929-1994 (290)



                                                                                                                    146
                                                           Voyageurs Area (286): Headwaters
Request # 2448 For Policy # 10HUA43302     issued to the                                    Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area 1929-1994 (290)

                                                           Voyageurs Area (286): Headwaters
Request # 2449 For Policy # 10CA43329      issued to the                                    Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area 1929-1994 (290)

                                                           Voyageurs Area (286): Headwaters
Request # 2450 For Policy # 10HUA43331     issued to the                                    Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area 1929-1994 (290)

                                                           Voyageurs Area (286): Headwaters
Request # 2451 For Policy # 10CA43342E     issued to the                                    Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area 1929-1994 (290)

                                                           Voyageurs Area (286): Headwaters
Request # 2452 For Policy # 10CA43349E     issued to the                                    Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area 1929-1994 (290)

                                                           Voyageurs Area (286): Lake
Request # 2453 For Policy # 10CA43342E     issued to the                                    Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Superior 1959-1994 (286)

                                                           Voyageurs Area (286): Lake
Request # 2454 For Policy # 10CA43349E     issued to the                                    Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Superior 1959-1994 (286)

                                                           W.D. Boyce (138): Creve Coeur
Request # 2455 For Policy # 10HUA43302     issued to the                                    Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1929-1973 (138)

                                                           W.D. Boyce (138): Creve Coeur
Request # 2456 For Policy # 10CA43303      issued to the                                    Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1929-1973 (138)

                                                           W.D. Boyce (138): Creve Coeur
Request # 2457 For Policy # 10CA43303      issued to the                                    Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1929-1973 (138)

                                                           W.D. Boyce (138): Creve Coeur
Request # 2458 For Policy # 10HUA43302     issued to the                                    Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1929-1973 (138)

                                                           W.D. Boyce (138): Creve Coeur
Request # 2459 For Policy # 10CA43329      issued to the                                    Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1929-1973 (138)

                                                           W.D. Boyce (138): Creve Coeur
Request # 2460 For Policy # 10HUA43331     issued to the                                    Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           1929-1973 (138)

                                                           W.D. Boyce (138): Starved Rock
Request # 2461 For Policy # 10 HUA 43300   issued to the                                    Local Council and effective 5/1/1971   to 5/1/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area 1926-1973 (132)

                                                           W.D. Boyce (138): Starved Rock
Request # 2462 For Policy # 10CA43315      issued to the                                    Local Council and effective 9/21/1971 to 1/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area 1926-1973 (132)

                                                           W.D. Boyce (138): Starved Rock
Request # 2463 For Policy # 10CA43303      issued to the                                    Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area 1926-1973 (132)

                                                           W.D. Boyce (138): Starved Rock
Request # 2464 For Policy # 10HUA43302     issued to the                                    Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                           Area 1926-1973 (132)



                                                                                                                   147
                                                         W.D. Boyce (138): Starved Rock
Request # 2465 For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area 1926-1973 (132)

                                                         W.D. Boyce (138): Starved Rock
Request # 2466 For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area 1926-1973 (132)

                                                         W.D. Boyce (138): Starved Rock
Request # 2467 For Policy # 10CA43329    issued to the                                      Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area 1926-1973 (132)

                                                         W.D. Boyce (138): Starved Rock
Request # 2468 For Policy # 10HUA43331   issued to the                                      Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Area 1926-1973 (132)

                                                         W.D. Boyce (138): W.D. Boyce 1973-
Request # 2469 For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (138)

                                                         W.D. Boyce (138): W.D. Boyce 1973-
Request # 2470 For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (138)

                                                         W.D. Boyce (138): W.D. Boyce 1973-
Request # 2471 For Policy # 10CA43342E   issued to the                                      Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (138)

                                                         W.D. Boyce (138): W.D. Boyce 1973-
Request # 2472 For Policy # 10CA43349E   issued to the                                      Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (138)

                                                         Washington Crossing (777): Bucks
Request # 2473 For Policy # 10CA43342E   issued to the                                      Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         County 1927-2015 (777)

                                                         Washington Crossing (777): Bucks
Request # 2474 For Policy # 10CA43349E   issued to the                                      Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         County 1927-2015 (777)

                                                         Water and Woods FSC (782): Water
Request # 2475 For Policy # 10CA43342E   issued to the                                    Local Council and effective 1/1/1975     to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         and Woods FSC (782)

                                                         Water and Woods FSC (782): Water
Request # 2476 For Policy # 10CA43349E   issued to the                                    Local Council and effective 1/1/1976     to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         and Woods FSC (782)

                                                         West Tennessee Area (559): West
Request # 2477 For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Tennessee Area (559)

                                                         West Tennessee Area (559): West
Request # 2478 For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Tennessee Area (559)

                                                         West Tennessee Area (559): West
Request # 2479 For Policy # 10HUA43302   issued to the                                      Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Tennessee Area (559)

                                                         West Tennessee Area (559): West
Request # 2480 For Policy # 10CA43303    issued to the                                      Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Tennessee Area (559)

                                                         West Tennessee Area (559): West
Request # 2481 For Policy # 10HUA43331   issued to the                                      Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Tennessee Area (559)



                                                                                                                  148
                                                            West Tennessee Area (559): West
Request # 2482 For Policy # 10CA43329       issued to the                                     Local Council and effective 1/1/1974   to 1/1/1975     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Tennessee Area (559)

                                                            West Tennessee Area (559): West
Request # 2483 For Policy # 10CA43342E      issued to the                                     Local Council and effective 1/1/1975   to 1/1/1976     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Tennessee Area (559)

                                                            West Tennessee Area (559): West
Request # 2484 For Policy # 10CA43349E      issued to the                                     Local Council and effective 1/1/1976   to 1/1/1977     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Tennessee Area (559)

                                                            Westark Area (016): Westark Area
Request # 2485 For Policy # 10HUA43302      issued to the                                    Local Council and effective 1/1/1972    to 1/1/1973     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            (016)

                                                            Westark Area (016): Westark Area
Request # 2486 For Policy # 10CA43303       issued to the                                    Local Council and effective 1/1/1972    to 1/1/1973     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            (016)

                                                            Westark Area (016): Westark Area
Request # 2487 For Policy # 10HUA43302      issued to the                                    Local Council and effective 1/1/1973    to 1/1/1974     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            (016)

                                                            Westark Area (016): Westark Area
Request # 2488 For Policy # 10CA43303       issued to the                                    Local Council and effective 1/1/1973    to 1/1/1974     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            (016)

                                                            Westark Area (016): Westark Area
Request # 2489 For Policy # 10CA43329       issued to the                                    Local Council and effective 1/1/1974    to 1/1/1975     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            (016)

                                                            Westark Area (016): Westark Area
Request # 2490 For Policy # 10HUA43331      issued to the                                    Local Council and effective 1/1/1974    to 1/1/1975     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            (016)

                                                            Westark Area (016): Westark Area
Request # 2491 For Policy # 10CA43342E      issued to the                                    Local Council and effective 1/1/1975    to 1/1/1976     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            (016)

                                                            Westark Area (016): Westark Area
Request # 2492 For Policy # 10CA43349E      issued to the                                    Local Council and effective 1/1/1976    to 1/1/1977     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            (016)

                                                            Westchester-Putnam (388):
Request # 2493 For Policy # 02 SMP 111101   issued to the                                     Local Council and effective 1/20/1976 to 1/20/1977 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Washington Irving 1951-1973 (388)

                                                            Westchester-Putnam (388):
Request # 2494 For Policy # 02 SMP 111101   issued to the                                     Local Council and effective 1/20/1977 to 1/20/1978 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Washington Irving 1951-1973 (388)

                                                            Westchester-Putnam (388):
Request # 2495 For Policy # 02 SMP 111101   issued to the                                     Local Council and effective 1/20/1978 to 1/20/1979 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Washington Irving 1951-1973 (388)

                                                            Westchester-Putnam (388):
Request # 2496 For Policy # 02 SMP 117538   issued to the                                     Local Council and effective 1/20/1979 to 1/20/1980 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Washington Irving 1951-1973 (388)

                                                            Westchester-Putnam (388):
Request # 2497 For Policy # 02 SMP 117538   issued to the                                     Local Council and effective 1/20/1980 to 1/20/1981 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Washington Irving 1951-1973 (388)

                                                            Westchester-Putnam (388):
Request # 2498 For Policy # 02 SMP 117538   issued to the                                     Local Council and effective 1/20/1981 to 1/20/1982 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Washington Irving 1951-1973 (388)



                                                                                                                     149
                                                            Westchester-Putnam (388):
Request # 2499 For Policy # 02 SMP 118672   issued to the                                     Local Council and effective 1/20/1982 to 1/20/1983 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Washington Irving 1951-1973 (388)

                                                            Westchester-Putnam (388):
Request # 2500 For Policy # 02 SMP 118672   issued to the                                     Local Council and effective 1/20/1983 to 1/20/1984 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Washington Irving 1951-1973 (388)

                                                            Westchester-Putnam (388):
Request # 2501 For Policy # 02 SMP WC7495 issued to the                                       Local Council and effective 1/20/1984 to 1/20/1985 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Washington Irving 1951-1973 (388)

                                                            Westchester-Putnam (388):
Request # 2502 For Policy # 02 SMP 118672   issued to the                                     Local Council and effective 1/20/1984 to 1/20/1985 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Washington Irving 1951-1973 (388)

                                                            Westchester-Putnam (388):
Request # 2503 For Policy # 02 UUC NW2936 issued to the                                       Local Council and effective 1/20/1985 to 1/20/1986 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Washington Irving 1951-1973 (388)

                                                            Westchester-Putnam (388):
Request # 2504 For Policy # 10CA43342E      issued to the                                     Local Council and effective 1/1/1975   to 1/1/1976     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Westchester-Putnam 1973- (388)

                                                            Westchester-Putnam (388):
Request # 2505 For Policy # 10CA43349E      issued to the                                     Local Council and effective 1/1/1976   to 1/1/1977     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Westchester-Putnam 1973- (388)

                                                            Western Los Angeles County (051):
Request # 2506 For Policy # 10CA43342E      issued to the                                     Local Council and effective 1/1/1975   to 1/1/1976     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Great Western 1972-1985 (051)

                                                            Western Los Angeles County (051):
Request # 2507 For Policy # 10CA43349E      issued to the                                     Local Council and effective 1/1/1976   to 1/1/1977     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Great Western 1972-1985 (051)

                                                            Western Los Angeles County (051):
Request # 2508 For Policy # 10CA43342E      issued to the                                     Local Council and effective 1/1/1975   to 1/1/1976     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Western Los Angeles County (051)

                                                            Western Los Angeles County (051):
Request # 2509 For Policy # 10CA43349E      issued to the                                     Local Council and effective 1/1/1976   to 1/1/1977     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Western Los Angeles County (051)

                                                            Western Massachusetts (234):
Request # 2510 For Policy # 10CA43342E      issued to the                                     Local Council and effective 1/1/1975   to 1/1/1976     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Great Trails 1969-2008 (243)

                                                            Western Massachusetts (234):
Request # 2511 For Policy # 10CA43349E      issued to the                                     Local Council and effective 1/1/1976   to 1/1/1977     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Great Trails 1969-2008 (243)

                                                            Western Massachusetts (234):
Request # 2512 For Policy # 10CA43303       issued to the                                     Local Council and effective 1/1/1973   to 1/1/1974     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Pioneer Valley 1960-2008 (234)

                                                            Western Massachusetts (234):
Request # 2513 For Policy # 10HUA43302      issued to the                                     Local Council and effective 1/1/1973   to 1/1/1974     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Pioneer Valley 1960-2008 (234)

                                                            Western Massachusetts (234):
Request # 2514 For Policy # 10CA43329       issued to the                                     Local Council and effective 1/1/1974   to 1/1/1975     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Pioneer Valley 1960-2008 (234)

                                                            Western Massachusetts (234):
Request # 2515 For Policy # 10HUA43331      issued to the                                     Local Council and effective 1/1/1974   to 1/1/1975     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                            Pioneer Valley 1960-2008 (234)



                                                                                                                     150
                                                         Western Massachusetts (234):
Request # 2516 For Policy # 10CA43342E   issued to the                                    Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Pioneer Valley 1960-2008 (234)

                                                         Western Massachusetts (234):
Request # 2517 For Policy # 10CA43349E   issued to the                                    Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Pioneer Valley 1960-2008 (234)

                                                         Westmoreland-Fayette (512):
Request # 2518 For Policy # 10CA43303    issued to the                                    Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Westmoreland-Fayette (512)

                                                         Westmoreland-Fayette (512):
Request # 2519 For Policy # 10HUA43302   issued to the                                    Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Westmoreland-Fayette (512)

                                                         Westmoreland-Fayette (512):
Request # 2520 For Policy # 10CA43303    issued to the                                    Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Westmoreland-Fayette (512)

                                                         Westmoreland-Fayette (512):
Request # 2521 For Policy # 10HUA43302   issued to the                                    Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Westmoreland-Fayette (512)

                                                         Westmoreland-Fayette (512):
Request # 2522 For Policy # 10CA43329    issued to the                                    Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Westmoreland-Fayette (512)

                                                         Westmoreland-Fayette (512):
Request # 2523 For Policy # 10HUA43331   issued to the                                    Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Westmoreland-Fayette (512)

                                                         Westmoreland-Fayette (512):
Request # 2524 For Policy # 10CA43342E   issued to the                                    Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Westmoreland-Fayette (512)

                                                         Westmoreland-Fayette (512):
Request # 2525 For Policy # 10CA43349E   issued to the                                    Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Westmoreland-Fayette (512)

                                                         Winnebago (173): Winnebago 1937-
Request # 2526 For Policy # 10CA43342E   issued to the                                    Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (173)

                                                         Winnebago (173): Winnebago 1937-
Request # 2527 For Policy # 10CA43349E   issued to the                                    Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (173)

                                                         Yocona Area (748): Yocona Area
Request # 2528 For Policy # 10HUA43302   issued to the                                    Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (748)

                                                         Yocona Area (748): Yocona Area
Request # 2529 For Policy # 10CA43303    issued to the                                    Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (748)

                                                         Yocona Area (748): Yocona Area
Request # 2530 For Policy # 10HUA43331   issued to the                                    Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (748)

                                                         Yocona Area (748): Yocona Area
Request # 2531 For Policy # 10CA43329    issued to the                                    Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (748)

                                                         Yocona Area (748): Yocona Area
Request # 2532 For Policy # 10CA43342E   issued to the                                    Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (748)



                                                                                                                 151
                                                         Yocona Area (748): Yocona Area
Request # 2533 For Policy # 10CA43349E   issued to the                                    Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         (748)

Request # 2534 For Policy # 10CA43342E   issued to the Yucca (573): Yucca (573)           Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 2535 For Policy # 10CA43349E   issued to the Yucca (573): Yucca (573)           Local Council and effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.




                                                                                                                152
Dated: December 27, 2021
Wilmington, Delaware       SCHIFF HARDIN LLP

                           /s/Everett J. Cygal
                           Everett Cygal, admitted pro hac vice
                           David Spector, admitted pro hac vice
                           J. Mark Fisher, admitted pro hac vice
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                           -and-

                           POTTER ANDERSON & CORROON LLP

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                           Counsel for Roman Catholic Ad Hoc Committee




                            153
EXHIBIT B-3
                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

In re:                                           Case No. 20-10343 (LSS)

Boy Scouts of America and Delaware BSA,          Chapter 11
LLC,                                             Jointly Administered

               Debtors.


   THE ROMAN CATHOLIC AD HOC COMMITTEE’S REQUESTS FOR ADMISSION
                            TO ZURICH

         Pursuant to Rule 36 of the Federal Rules of Civil Procedure, as made applicable to these

proceedings by Rules 9014, 7026 and 7034 of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”), and pursuant to the Local Rules of Bankruptcy Practice and Procedure of

the United States Bankruptcy Court for the District of Delaware (the “Local Rules”), the Roman

Catholic Ad Hoc Committee (“RCAHC”), by and through its attorneys, hereby request that

American Zurich Insurance Company; American Guarantee and Liability Insurance Company;

Maryland Casualty Company; and Steadfast Insurance Company (collectively, “Zurich”) respond to

the following Requests for Admission within fourteen (14) days of service.

         Federal Rule of Civil Procedure 36, made applicable to this proceeding pursuant to

Bankruptcy Rules 7036 and 9014(c), is hereby incorporated by reference and applies to each of the

following instructions. As is more fully set out in Rule 36(a), You must admit or deny each request,

and, where necessary, specify the parts of each request to which You object or cannot in good faith

admit or deny. If You object to only part of a Request for Admission, You must admit or deny the

remainder of the Request for Admission. If You object to or deny any Request for Admission or

portion of a Request for Admission, You must state the ground for each objection. Any ground not

stated shall be waived.




                                                 1
       Unless otherwise defined, capitalized terms have the meanings stated in the Modification

Motion or in the Debtors’ Second Modified Fifth Amended Plan of Reorganization, [D.I. 7832].

“You” or “your” means Zurich including its representatives, agents, attorneys, predecessor,

successors, and anyone acting or purporting to act on its behalf.




                                                 2
                                                                                                  Requests for Admission
                                                        Alamo Area (583): Alamo Area
Request # 1    For Policy # 05-829567   issued to the                                   Local Council and effective 1/1/1968    to 1/1/1969   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        (583)

                                                        Atlanta Area (092): Atlanta Area
Request # 2    For Policy # Unknown     issued to the                                    Local Council and effective 1/1/1970   to 1/1/1971   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        (092)

                                                        Atlanta Area (092): Atlanta Area
Request # 3    For Policy # Unknown     issued to the                                    Local Council and effective 1/1/1971   to 1/1/1972   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        (092)

                                                        Atlanta Area (092): Atlanta Area
Request # 4    For Policy # Unknown     issued to the                                    Local Council and effective 1/1/1972   to 1/1/1973   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        (092)

                                                        Atlanta Area (092): Atlanta Area
Request # 5    For Policy # Unknown     issued to the                                    Local Council and effective 1/1/1973   to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        (092)

                                                        Atlanta Area (092): Atlanta Area
Request # 6    For Policy # Unknown     issued to the                                    Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        (092)

                                                        Atlanta Area (092): Atlanta Area
Request # 7    For Policy # Unknown     issued to the                                    Local Council and effective 1/1/1974   to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        (092)

                                                        Cascade Pacific (492): Columbia-
Request # 8    For Policy # 36307295    issued to the                                    Local Council and effective 7/1/1975   to 7/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Pacific 1966-1993 (492)

                                                        Cascade Pacific (492): Columbia-
Request # 9    For Policy # 3830-72-95 issued to the                                     Local Council and effective 7/1/1975   to 7/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Pacific 1966-1993 (492)

                                                        Cascade Pacific (492): Columbia-
Request # 10   For Policy # 3830-72-95 issued to the                                     Local Council and effective 7/1/1976   to 7/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Pacific 1966-1993 (492)

                                                        Cascade Pacific (492): Columbia-
Request # 11   For Policy # 36307295    issued to the                                    Local Council and effective 7/1/1976   to 7/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Pacific 1966-1993 (492)

                                                        Cascade Pacific (492): Columbia-
Request # 12   For Policy # 36307295    issued to the                                    Local Council and effective 7/1/1977   to 1/1/1978   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Pacific 1966-1993 (492)

                                                        Cascade Pacific (492): Columbia-
Request # 13   For Policy # 3830-72-95 issued to the                                     Local Council and effective 7/1/1977   to 7/1/1978   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Pacific 1966-1993 (492)

                                                        Chickasaw (558): Chickasaw 1916-
Request # 14   For Policy # 96-224611   issued to the                                    Local Council and effective 1/1/1963   to 1/1/1964   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        (558)

                                                        Chickasaw (558): Chickasaw 1916-
Request # 15   For Policy # Unknown     issued to the                                    Local Council and effective 1/1/1964   to 1/1/1965   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        (558)

                                                        Chickasaw (558): Chickasaw 1916-
Request # 16   For Policy # Unknown     issued to the                                    Local Council and effective 1/1/1965   to 8/1/1965   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        (558)



                                                                                                                      3
                                                        Circle Ten (571): Circle Ten 1913-
Request # 17   For Policy # Unknown     issued to the                                      Local Council and effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        (571)

                                                        Mason-Dixon (221): Mason-
Request # 18   For Policy # Unknown     issued to the                                    Local Council and effective 1/1/1974     to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Dixon 1956- (221)

                                                        Mason-Dixon (221): Mason-
Request # 19   For Policy # Unknown     issued to the                                    Local Council and effective 1/1/1975     to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Dixon 1956- (221)

                                                        Mason-Dixon (221): Mason-
Request # 20   For Policy # Unknown     issued to the                                    Local Council and effective 1/1/1976     to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Dixon 1956- (221)

                                                        Mason-Dixon (221): Mason-
Request # 21   For Policy # Unknown     issued to the                                    Local Council and effective 7/24/1977 to 7/24/1978 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Dixon 1956- (221)

                                                        Mason-Dixon (221): Mason-
Request # 22   For Policy # Unknown     issued to the                                    Local Council and effective 7/24/1978 to 7/24/1979 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Dixon 1956- (221)

                                                        Mason-Dixon (221): Mason-
Request # 23   For Policy # Unknown     issued to the                                    Local Council and effective 7/24/1979 to 7/24/1980 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Dixon 1956- (221)

                                                        Northeast Iowa (178): Northeast
Request # 24   For Policy # 31-086767   issued to the                                   Local Council and effective 7/7/1957      to 7/7/1958   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Iowa (178)

                                                        Northeast Iowa (178): Northeast
Request # 25   For Policy # Unknown     issued to the                                   Local Council and effective 7/1/1958      to 7/1/1959   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Iowa (178)

                                                        Washington Crossing (777):
Request # 26   For Policy # Unknown     issued to the                                    Local Council and effective 3/1/1977     to 1/1/1978   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Bucks County 1927-2015 (777)
                                                      Western Los Angeles County
Request # 27   For Policy # 80-39-959   issued to the (051): San Fernando Valley 1923- Local Council and effective 7/19/1960 to 7/19/1961 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                      1972 (050)




                                                                                                                        4
Dated: December 27, 2021
Wilmington, Delaware       SCHIFF HARDIN LLP

                           /s/Everett J. Cygal
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                           David Spector, admitted pro hac vice
                           J. Mark Fisher, admitted pro hac vice
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                           -and-

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                           Counsel for Roman Catholic Ad Hoc Committee




                             5
EXHIBIT B-4
                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

In re:                                           Case No. 20-10343 (LSS)

Boy Scouts of America and Delaware BSA,          Chapter 11
LLC,                                             Jointly Administered

               Debtors.


   THE ROMAN CATHOLIC AD HOC COMMITTEE’S REQUESTS FOR ADMISSION
                          TO THE DEBTORS

         Pursuant to Rule 36 of the Federal Rules of Civil Procedure, as made applicable to these

proceedings by Rules 9014, 7026 and 7034 of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”), and pursuant to the Local Rules of Bankruptcy Practice and Procedure of

the United States Bankruptcy Court for the District of Delaware (the “Local Rules”), the Roman

Catholic Ad Hoc Committee (“RCAHC”), by and through its attorneys, hereby request that the Boy

Scouts of America and Delaware BSA (collectively, “Debtors”) respond to the following Requests

for Admission within fourteen (14) days of service.

         Federal Rule of Civil Procedure 36, made applicable to this proceeding pursuant to

Bankruptcy Rules 7036 and 9014(c), is hereby incorporated by reference and applies to each of the

following instructions. As is more fully set out in Rule 36(a), You must admit or deny each request,

and, where necessary, specify the parts of each request to which You object or cannot in good faith

admit or deny. If You object to only part of a Request for Admission, You must admit or deny the

remainder of the Request for Admission. If You object to or deny any Request for Admission or

portion of a Request for Admission, You must state the ground for each objection. Any ground not

stated shall be waived.




                                                 1
       Unless otherwise defined, capitalized terms have the meanings stated in the Modification

Motion or in the Debtors’ Second Modified Fifth Amended Plan of Reorganization, [D.I. 7832].

“You” or “your” means the Debtors, including representatives, agents, attorneys, predecessor,

successors, and anyone acting or purporting to act on its behalf.




                                                 2
                                                                         Requests for Admission
                                                  Insurance Company of North
Request # 1    For Policy # Unknown   issued by                              to Debtors effective 1/1/1935   to 1/1/1936   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                  America

                                                  Insurance Company of North
Request # 2    For Policy # Unknown   issued by                              to Debtors effective 1/1/1936   to 1/1/1937   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                  America

                                                  Insurance Company of North
Request # 3    For Policy # Unknown   issued by                              to Debtors effective 1/1/1937   to 1/1/1938   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                  America

                                                  Insurance Company of North
Request # 4    For Policy # Unknown   issued by                              to Debtors effective 1/1/1938   to 1/1/1939   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                  America

                                                  Insurance Company of North
Request # 5    For Policy # Unknown   issued by                              to Debtors effective 1/1/1939   to 1/1/1940   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                  America

                                                  Insurance Company of North
Request # 6    For Policy # Unknown   issued by                              to Debtors effective 1/1/1940   to 1/1/1941   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                  America

                                                  Insurance Company of North
Request # 7    For Policy # Unknown   issued by                              to Debtors effective 1/1/1941   to 1/1/1942   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                  America

                                                  Insurance Company of North
Request # 8    For Policy # Unknown   issued by                              to Debtors effective 1/1/1942   to 1/1/1943   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                  America

                                                  Insurance Company of North
Request # 9    For Policy # Unknown   issued by                              to Debtors effective 1/1/1943   to 1/1/1944   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                  America

                                                  Insurance Company of North
Request # 10   For Policy # Unknown   issued by                              to Debtors effective 1/1/1944   to 1/1/1945   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                  America

                                                  Insurance Company of North
Request # 11   For Policy # Unknown   issued by                              to Debtors effective 1/1/1945   to 1/1/1946   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                  America

                                                  Insurance Company of North
Request # 12   For Policy # Unknown   issued by                              to Debtors effective 1/1/1946   to 1/1/1947   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                  America

                                                  Insurance Company of North
Request # 13   For Policy # Unknown   issued by                              to Debtors effective 1/1/1947   to 1/1/1948   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                  America

                                                  Insurance Company of North
Request # 14   For Policy # Unknown   issued by                              to Debtors effective 1/1/1948   to 1/1/1949   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                  America

                                                  Insurance Company of North
Request # 15   For Policy # Unknown   issued by                              to Debtors effective 1/1/1949   to 1/1/1950   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                  America




                                                                                                     3
                                                       Insurance Company of North
Request # 16   For Policy # Unknown        issued by                              to Debtors effective 1/1/1950   to 1/1/1951   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                       America

                                                       Insurance Company of North
Request # 17   For Policy # CGL23729       issued by                              to Debtors effective 1/1/1951   to 1/1/1952   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                       America

                                                       Insurance Company of North
Request # 18   For Policy # Unknown        issued by                              to Debtors effective 1/1/1952   to 1/1/1953   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                       America

                                                       Insurance Company of North
Request # 19   For Policy # Unknown        issued by                              to Debtors effective 1/1/1953   to 1/1/1954   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                       America

                                                       Insurance Company of North
Request # 20   For Policy # 9CGL41300      issued by                              to Debtors effective 1/1/1954   to 1/1/1955   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                       America

                                                       Insurance Company of North
Request # 21   For Policy # Unknown        issued by                              to Debtors effective 1/1/1955   to 1/1/1956   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                       America

                                                       Insurance Company of North
Request # 22   For Policy # 9CGL 41300     issued by                              to Debtors effective 1/1/1956   to 1/1/1957   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                       America

                                                       Insurance Company of North
Request # 23   For Policy # Unknown        issued by                              to Debtors effective 1/1/1957   to 1/1/1958   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                       America

                                                       Insurance Company of North
Request # 24   For Policy # CGL97448       issued by                              to Debtors effective 1/1/1958   to 1/1/1959   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                       America

                                                       Insurance Company of North
Request # 25   For Policy # 9CGL 114 960   issued by                              to Debtors effective 1/1/1959   to 1/1/1960   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                       America

                                                       Insurance Company of North
Request # 26   For Policy # CGL 121944     issued by                              to Debtors effective 1/1/1960   to 1/1/1961   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                       America

                                                       Insurance Company of North
Request # 27   For Policy # CGL 122620     issued by                              to Debtors effective 1/1/1960   to 1/1/1961   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                       America

                                                       Insurance Company of North
Request # 28   For Policy # CGL175782      issued by                              to Debtors effective 1/1/1961   to 2/1/1961   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                       America

                                                       Insurance Company of North
Request # 29   For Policy # CGL175782      issued by                              to Debtors effective 2/1/1961   to 1/1/1962   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                       America

                                                       Insurance Company of North
Request # 30   For Policy # CGL 19 18 36   issued by                              to Debtors effective 1/1/1962   to 1/1/1963   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                       America

                                                       Insurance Company of North
Request # 31   For Policy # CGL 20 46 80   issued by                              to Debtors effective 1/1/1963   to 1/1/1964   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                       America




                                                                                                          4
                                                        Insurance Company of North
Request # 32   For Policy # CGL 21 29 22    issued by                              to Debtors effective 1/1/1964    to 1/1/1965    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        America

                                                        Insurance Company of North
Request # 33   For Policy # CGL 23 24 70    issued by                              to Debtors effective 1/1/1965    to 1/1/1966    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        America

                                                        Insurance Company of North
Request # 34   For Policy # CGL 24 88 96    issued by                              to Debtors effective 1/1/1966    to 1/1/1967    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        America

                                                        Insurance Company of North
Request # 35   For Policy # GLP11200        issued by                              to Debtors effective 1/1/1967    to 1/1/1968    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        America

                                                        Insurance Company of North
Request # 36   For Policy # GLP15 12 11     issued by                              to Debtors effective 1/1/1968    to 1/1/1969    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        America

                                                        Insurance Company of North
Request # 37   For Policy # GLP 16 09 81    issued by                              to Debtors effective 1/1/1969    to 1/1/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        America

                                                        Insurance Company of North
Request # 38   For Policy # XBC43198        issued by                              to Debtors effective 3/26/1969   to 1/1/1970    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        America

                                                        Insurance Company of North
Request # 39   For Policy # BLB 51323       issued by                              to Debtors effective 1/1/1970    to 9/21/1971 admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        America

                                                        Insurance Company of North
Request # 40   For Policy # XBC 77302       issued by                              to Debtors effective 1/1/1970    to 1/1/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        America

                                                        Insurance Company of North
Request # 41   For Policy # XBC85370        issued by                              to Debtors effective 1/1/1971    to 5/1/1971    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        America

                                                        Hartford Accident and
Request # 42   For Policy # 10 HUA 43300 issued by                                 to Debtors effective 5/1/1971    to 1/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Indemnity Company

                                                        Hartford Accident and
Request # 43   For Policy # 10CA43315       issued by                              to Debtors effective 9/21/1971   to 1/1/1972    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Indemnity Company

                                                        Hartford Accident and
Request # 44   For Policy # 10CA43304       issued by                              to Debtors effective 1/1/1972    to 1/1/1973    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Indemnity Company

                                                        Hartford Accident and
Request # 45   For Policy # 10CA43303       issued by                              to Debtors effective 1/1/1972    to 1/1/1974    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Indemnity Company

                                                        Hartford Accident and
Request # 46   For Policy # 10HUA43302      issued by                              to Debtors effective 1/1/1972    to 1/1/1974    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Indemnity Company

                              UL7128600008
Request # 47   For Policy #                issued by Argonaut Insurance Company to Debtors effective 5/1/1972       to 5/1/1973    admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                              8




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                                                       Hartford Accident and
Request # 48   For Policy # 10CA43304      issued by                               to Debtors effective 1/1/1973     to 1/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                       Indemnity Company

                                                       Hartford Accident and
Request # 49   For Policy # 10HUA43303     issued by                               to Debtors effective 1/1/1973     to 5/1/1974   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                       Indemnity Company

                              UL 71-298-
Request # 50   For Policy #                issued by Argonaut Insurance Company to Debtors effective 5/1/1973        to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                              000088

                                                       Hartford Accident and
Request # 51   For Policy # 10CA43324      issued by                               to Debtors effective 1/1/1974     to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                       Indemnity Company

                                                       Hartford Accident and
Request # 52   For Policy # 10CA43329      issued by                               to Debtors effective 1/1/1974     to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                       Indemnity Company

                                                       Hartford Accident and
Request # 53   For Policy # 10HUA43331     issued by                               to Debtors effective 1/1/1974     to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                       Indemnity Company

                                                       Hartford Accident and
Request # 54   For Policy # 10HUA43335     issued by                               to Debtors effective 5/1/1974     to 1/1/1975   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                       Indemnity Company

                                                       Hartford Accident and
Request # 55   For Policy # 10CA43342E     issued by                               to Debtors effective 1/1/1975     to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                       Indemnity Company

                                                       National Union Fire Insurance
Request # 56   For Policy # BE1140592      issued by                                 to Debtors effective 1/1/1975   to 1/1/1976   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                       Company of Pittsburgh, PA

                                                       Hartford Accident and
Request # 57   For Policy # 10CA43349E     issued by                               to Debtors effective 1/1/1976     to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                       Indemnity Company

                                                       National Union Fire Insurance
Request # 58   For Policy # BE 115 15 59   issued by                                 to Debtors effective 1/1/1976   to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                       Company of Pittsburgh, PA

                                                       American Re-Insurance
Request # 59   For Policy # M-1027493      issued by                               to Debtors effective 1/1/1976     to 1/1/1977   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                       Company

Request # 60   For Policy # 76-10-08-02    issued by London Market                 to Debtors effective 9/17/1976    to 1/1/1979   admit that Abuse Claims against insureds and co-insureds are covered under the policy.

                                                       Hartford Accident and
Request # 61   For Policy # 10CA43359E     issued by                               to Debtors effective 1/1/1977     to 1/1/1978   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                       Indemnity Company

                                                       Hartford Accident and
Request # 62   For Policy # 10JPA43360E    issued by                               to Debtors effective 1/1/1977     to 1/1/1978   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                       Indemnity Company

                                                       National Union Fire Insurance
Request # 63   For Policy # BE 121 82 55   issued by                                 to Debtors effective 1/1/1977   to 1/1/1978   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                       Company of Pittsburgh, PA




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                                                       American Re-Insurance
Request # 64   For Policy # M-1027493      issued by                               to Debtors effective 1/1/1977     to 1/1/1978   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                       Company

                                                       Insurance Company of North
Request # 65   For Policy # GLP 70 64 52   issued by                              to Debtors effective 1/1/1978      to 1/1/1980   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                       America

                                                       National Union Fire Insurance
Request # 66   For Policy # CE 115 77 77   issued by                                 to Debtors effective 1/1/1978   to 1/1/1979   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                       Company of Pittsburgh, PA

                                                       First State Insurance
Request # 67   For Policy # 908954         issued by                               to Debtors effective 1/1/1978     to 1/1/1979   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                       Company

                                                       Insurance Company of North
Request # 68   For Policy # XBC 151748     issued by                              to Debtors effective 1/1/1979      to 1/1/1980   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                       America

                              01 XN 2046               Aetna Casualty and Surety
Request # 69   For Policy #                issued by                               to Debtors effective 1/1/1979     to 1/1/1980   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                              WCA                      Company

                                                       First State Insurance
Request # 70   For Policy # 927616         issued by                               to Debtors effective 1/1/1979     to 1/1/1980   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                       Company

                                                       Insurance Company of North
Request # 71   For Policy # GLP 70 64 52   issued by                              to Debtors effective 1/1/1980      to 1/1/1981   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                       America

Request # 72   For Policy # UMB 599346     issued by Allianz Insurance Company     to Debtors effective 1/1/1980     to 1/1/1981   admit that Abuse Claims against insureds and co-insureds are covered under the policy.

                              01 XN 2438               Aetna Casualty and Surety
Request # 73   For Policy #                issued by                               to Debtors effective 1/1/1980     to 1/1/1981   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                              WCA                      Company

                                                       Insurance Company of North
Request # 74   For Policy # ISL1353        issued by                              to Debtors effective 1/1/1981      to 1/1/1982   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                       America

Request # 75   For Policy # UMB964076      issued by Transit Casualty Company      to Debtors effective 1/1/1981     to 1/1/1982   admit that Abuse Claims against insureds and co-insureds are covered under the policy.

                                                       First State Insurance
Request # 76   For Policy # 931255         issued by                               to Debtors effective 1/1/1981     to 1/1/1983   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                       Company

Request # 77   For Policy # 931255A        issued by London Market                 to Debtors effective 1/1/1981     to 1/1/1983   admit that Abuse Claims against insureds and co-insureds are covered under the policy.

                                                       First State Insurance
Request # 78   For Policy # 931257         issued by                               to Debtors effective 1/1/1981     to 1/1/1983   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                       Company

Request # 79   For Policy # 931257A        issued by London Market                 to Debtors effective 1/1/1981     to 1/1/1983   admit that Abuse Claims against insureds and co-insureds are covered under the policy.




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                                                         Insurance Company of North
Request # 80   For Policy # ISL1364          issued by                              to Debtors effective 1/1/1982     to 1/1/1983   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         America

                                                         Twin City Fire Insurance
Request # 81   For Policy # TXU 100325       issued by                                to Debtors effective 1/1/1982   to 1/1/1983   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Company

                                                         Insurance Company of North
Request # 82   For Policy # XCP 144961       issued by                              to Debtors effective 11/17/1982 to 1/1/1984     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         America

                              ISL G0 28 34               Insurance Company of North
Request # 83   For Policy #                  issued by                              to Debtors effective 1/1/1983     to 1/1/1984   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                              57-1                       America

                                                         Insurance Company of North
Request # 84   For Policy # XCP144965        issued by                              to Debtors effective 1/1/1983     to 1/1/1984   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         America

                                                         Insurance Company of North
Request # 85   For Policy # XCP 144966       issued by                              to Debtors effective 1/1/1983     to 1/1/1984   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         America

Request # 86   For Policy # XLX-148 43 09 issued by National Surety Corporation       to Debtors effective 1/1/1983   to 1/1/1984   admit that Abuse Claims against insureds and co-insureds are covered under the policy.

                                                         Mission National Insurance
Request # 87   For Policy # MN 02 79 69      issued by                                to Debtors effective 1/1/1984   to 1/1/1985   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Company

                                                         Insurance Company of North
Request # 88   For Policy # XCP 145365       issued by                              to Debtors effective 1/1/1984     to 1/1/1985   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         America

Request # 89   For Policy # XLX1484392       issued by National Surety Corporation    to Debtors effective 1/1/1984   to 1/1/1985   admit that Abuse Claims against insureds and co-insureds are covered under the policy.

                                                         Insurance Company of North
Request # 90   For Policy # XCP 145366       issued by                              to Debtors effective 1/1/1984     to 1/1/1985   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         America

                              ISL G0 29 31               Insurance Company of North
Request # 91   For Policy #                  issued by                              to Debtors effective 12/31/1984 to 3/1/1986     admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                              72 2                       America

                                                         Mission National Insurance
Request # 92   For Policy # MN 045730        issued by                                to Debtors effective 1/1/1985   to 1/1/1986   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Company

                                                         Landmark Insurance
Request # 93   For Policy # FE4002136        issued by                                to Debtors effective 1/1/1985   to 3/1/1986   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Company

Request # 94   For Policy # RDX 917 64 99 issued by Columbia Casualty Company         to Debtors effective 1/1/1985   to 3/1/1986   admit that Abuse Claims against insureds and co-insureds are covered under the policy.

                                                         Insurance Company of North
Request # 95   For Policy # XCP 144232       issued by                              to Debtors effective 1/1/1985     to 3/1/1986   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         America




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Request # 96   For Policy # SR 51238          issued by Highlands Insurance Company to Debtors effective 1/1/1985       to 1/1/1986   admit that Abuse Claims against insureds and co-insureds are covered under the policy.

                              (86) 7928-83-
Request # 97   For Policy #                   issued by Federal Insurance Company     to Debtors effective 1/1/1985     to 3/1/1986   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                              37

                                                          International Insurance
Request # 98   For Policy # 522048501         issued by                               to Debtors effective 1/1/1985     to 3/1/1986   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Company

Request # 99   For Policy # ED 103126         issued by Royal Indemnity Company       to Debtors effective 1/1/1985     to 3/1/1986   admit that Abuse Claims against insureds and co-insureds are covered under the policy.

                              ISG GO 293149-           Insurance Company of North
Request # 100 For Policy #                   issued by                            to Debtors effective 1/1/1986         to 3/1/1986   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                              7                        America

Request # 101 For Policy # SR 51497           issued by Highlands Insurance Company to Debtors effective 1/1/1986       to 3/1/1986   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 102 For Policy # Unknown            issued by Unknown                       to Debtors effective 1/1/1986     to 3/1/1986   admit that Abuse Claims against insureds and co-insureds are covered under the policy.

                              ISL G0 293184-           Insurance Company of North
Request # 103 For Policy #                   issued by                            to Debtors effective 3/1/1986         to 3/1/1987   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                              9                        America

                              ISL G0 293184-           Insurance Company of North
Request # 104 For Policy #                   issued by                            to Debtors effective 3/1/1986         to 3/1/1987   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                              9                        America

Request # 105 For Policy # 5234254407         issued by U.S. Fire Insurance Company to Debtors effective 3/1/1986       to 3/1/1987   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 106 For Policy # 10272              issued by Utica Mutual Ins. Company     to Debtors effective 3/1/1986     to 3/1/1987   admit that Abuse Claims against insureds and co-insureds are covered under the policy.

                                                          National Union Fire Insurance
Request # 107 For Policy # 9607508            issued by                                 to Debtors effective 3/1/1986   to 3/1/1987   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Company of Pittsburgh, PA

                                                          Pacific Employers Ins.
Request # 108 For Policy # XCC 001154         issued by                               to Debtors effective 4/1/1986     to 3/1/1987   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Company

Request # 109 For Policy # HI 218373          issued by Harbor Insurance Company      to Debtors effective 5/20/1986    to 3/1/1987   admit that Abuse Claims against insureds and co-insureds are covered under the policy.

                                                          St. Paul Surplus Lines
Request # 110 For Policy # LCO 55 17312       issued by                               to Debtors effective 5/28/1986    to 3/1/1987   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Insurance Company

                                                          Chubb Custom Insurance
Request # 111 For Policy # 7931-00-02         issued by                               to Debtors effective 6/3/1986     to 3/1/1987   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                          Company




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                                                        National Union Fire Insurance
Request # 112 For Policy # 9601862          issued by                                 to Debtors effective 6/3/1986   to 3/1/1987   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Company of Pittsburgh, PA

                             ISL G0 997957           Insurance Company of North
Request # 113 For Policy #                 issued by                            to Debtors effective 3/1/1987         to 3/1/1988   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             8                       America

                             ISG GO 81 65               Insurance Company of North
Request # 114 For Policy #                  issued by                              to Debtors effective 3/1/1987      to 3/1/1988   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             36-1                       America

Request # 115 For Policy # 5220650601       issued by U.S. Fire Insurance Company to Debtors effective 3/1/1987       to 3/1/1988   admit that Abuse Claims against insureds and co-insureds are covered under the policy.

                                                        St. Paul Surplus Lines
Request # 116 For Policy # LCO 55 18254     issued by                               to Debtors effective 3/1/1987     to 3/1/1988   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Insurance Company

                                                        National Union Fire Insurance
Request # 117 For Policy # 9601888          issued by                                 to Debtors effective 3/1/1987   to 3/1/1988   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Company of Pittsburgh, PA

Request # 118 For Policy # 5529760          issued by Lexington Insurance Company to Debtors effective 3/1/1987       to 3/1/1988   admit that Abuse Claims against insureds and co-insureds are covered under the policy.

                             XCP-GO-                    Insurance Company of North
Request # 119 For Policy #                  issued by                              to Debtors effective 3/1/1987      to 3/1/1988   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             816538-5                   America

                             HDO-G1-                    Insurance Company of North
Request # 120 For Policy #                  issued by                              to Debtors effective 3/1/1988      to 3/1/1990   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             136741-0                   America

                             CAO G1                     Insurance Company of North
Request # 121 For Policy #                  issued by                              to Debtors effective 3/1/1988      to 3/1/1989   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             135164-5                   America

Request # 122 For Policy # 531-200-352-6 issued by U.S. Fire Insurance Company to Debtors effective 3/1/1988          to 3/1/1989   admit that Abuse Claims against insureds and co-insureds are covered under the policy.

                                                        St. Paul Surplus Lines
Request # 123 For Policy # LCO 55 19006     issued by                               to Debtors effective 3/1/1988     to 3/1/1989   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Insurance Company

Request # 124 For Policy # NV 1253834       issued by Planet Ins. Company           to Debtors effective 3/1/1988     to 3/1/1989   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 125 For Policy # 556-6184         issued by Lexington Insurance Company to Debtors effective 3/1/1988       to 3/1/1989   admit that Abuse Claims against insureds and co-insureds are covered under the policy.

                             XCPG1-135165-           Insurance Company of North
Request # 126 For Policy #                 issued by                            to Debtors effective 3/1/1988         to 3/1/1989   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             7                       America

                                                        First State Insurance
Request # 127 For Policy # EU 006921        issued by                               to Debtors effective 3/1/1988     to 3/1/1989   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Company




                                                                                                             10
                             (89) 7907-
Request # 128 For Policy #                 issued by Federal Insurance Company     to Debtors effective 3/1/1988     to 3/1/1989   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             8617

                             CAO G1                    Insurance Company of North
Request # 129 For Policy #                 issued by                              to Debtors effective 3/1/1989      to 3/1/1990   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             135164-5                  America

Request # 130 For Policy # 531-201-602-7 issued by U.S. Fire Insurance Company to Debtors effective 3/1/1989         to 3/1/1990   admit that Abuse Claims against insureds and co-insureds are covered under the policy.

                                                       National Union Fire Insurance
Request # 131 For Policy # 960-75-95       issued by                                 to Debtors effective 3/1/1989   to 3/1/1990   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                       Company of Pittsburgh, PA

                                                       St. Paul Surplus Lines
Request # 132 For Policy # LCO5519547      issued by                               to Debtors effective 3/1/1989     to 3/1/1990   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                       Insurance Company

Request # 133 For Policy # RHA000409       issued by Royal Indemnity Company       to Debtors effective 3/1/1989     to 3/1/1990   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 134 For Policy # 556-7563        issued by Lexington Insurance Company to Debtors effective 3/1/1989       to 3/1/1990   admit that Abuse Claims against insureds and co-insureds are covered under the policy.

                             CEO 6371780-           American Zurich Insurance
Request # 135 For Policy #                issued by                                to Debtors effective 3/1/1989     to 3/1/1990   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             00                     Company

                             NUA
Request # 136 For Policy #                 issued by Planet Ins. Company           to Debtors effective 3/1/1989     to 3/1/1990   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             149419100

Request # 137 For Policy # (90)7907 86 17 issued by Federal Insurance Company      to Debtors effective 3/1/1989     to 3/1/1990   admit that Abuse Claims against insureds and co-insureds are covered under the policy.

                             HDO-G1-                   Insurance Company of North
Request # 138 For Policy #                 issued by                              to Debtors effective 3/1/1990      to 3/1/1991   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             075409-4                  America

                             CAO G1                    Insurance Company of North
Request # 139 For Policy #                 issued by                              to Debtors effective 3/1/1990      to 3/1/1991   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             075410-0                  America

                                                       International Insurance
Request # 140 For Policy # 531-202912-2    issued by                               to Debtors effective 3/1/1990     to 3/1/1991   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                       Company

                                                       General Star Indemnity
Request # 141 For Policy # NEX036306       issued by                               to Debtors effective 3/1/1990     to 3/1/1991   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                       Company

                                                       Industrial Insurance Company
Request # 142 For Policy # JE 910 7188     issued by                                to Debtors effective 3/1/1990    to 3/1/1991   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                       of Hawaii

Request # 143 For Policy # RHA4001621      issued by Royal Indemnity Company       to Debtors effective 3/1/1990     to 3/1/1991   admit that Abuse Claims against insureds and co-insureds are covered under the policy.




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Request # 144 For Policy # 556-9527         issued by Lexington Insurance Company to Debtors effective 3/1/1990       to 3/1/1991   admit that Abuse Claims against insureds and co-insureds are covered under the policy.

                                                        Insurance Company of the
Request # 145 For Policy # 4290-2158        issued by                                 to Debtors effective 3/1/1990   to 3/1/1991   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        State of Pennsylvania (The)

                             NUA
Request # 146 For Policy #                  issued by Planet Ins. Company             to Debtors effective 3/1/1990   to 3/1/1991   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             149419101

Request # 147 For Policy # (91)7907 86 17 issued by Federal Insurance Company         to Debtors effective 3/1/1990   to 3/1/1991   admit that Abuse Claims against insureds and co-insureds are covered under the policy.

                                                        Niagara Fire Insurance
Request # 148 For Policy # ERX-000 387      issued by                                 to Debtors effective 10/19/1990 to 3/1/1991   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Company

                             (91)7929-52-
Request # 149 For Policy #                  issued by Federal Insurance Company       to Debtors effective 10/19/1990 to 3/1/1991   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             34

Request # 150 For Policy # GFE-536 22 31 issued by Gulf Insurance Company             to Debtors effective 10/19/1990 to 3/1/1991   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 151 For Policy # XXK-211 24 33 issued by National Surety Corporation        to Debtors effective 10/19/1990 to 3/1/1991   admit that Abuse Claims against insureds and co-insureds are covered under the policy.

                             HDO G1 07 54           Insurance Company of North
Request # 152 For Policy #                issued by                            to Debtors effective 3/1/1991          to 3/1/1992   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             47-1                   America

                             CAO G1                     Insurance Company of North
Request # 153 For Policy #                  issued by                              to Debtors effective 3/1/1991      to 3/1/1992   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             075448-3                   America

                                                        International Insurance
Request # 154 For Policy # 531-204182-1     issued by                                 to Debtors effective 3/1/1991   to 3/1/1992   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Company

Request # 155 For Policy # JE9108935        issued by Industrial Indemnity            to Debtors effective 3/1/1991   to 3/1/1992   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 156 For Policy # 8653405          issued by Lexington Insurance Company to Debtors effective 3/1/1991       to 3/1/1992   admit that Abuse Claims against insureds and co-insureds are covered under the policy.

                                                        Niagara Fire Insurance
Request # 157 For Policy # HXU 001040       issued by                                 to Debtors effective 3/1/1991   to 3/1/1992   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Company

                             NUA
Request # 158 For Policy #                  issued by Planet Ins. Company             to Debtors effective 3/1/1991   to 3/1/1992   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             149419102

Request # 159 For Policy # (92)7907 86 17 issued by Federal Insurance Company         to Debtors effective 3/1/1991   to 3/1/1992   admit that Abuse Claims against insureds and co-insureds are covered under the policy.




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Request # 160 For Policy # GFE 536 23 96 issued by Gulf Insurance Company            to Debtors effective 3/1/1991   to 3/1/1992   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 161 For Policy # XXK-217 83 02 issued by National Surety Corporation       to Debtors effective 3/1/1991   to 3/1/1992   admit that Abuse Claims against insureds and co-insureds are covered under the policy.

                             HDO G1                     Insurance Company of North
Request # 162 For Policy #                  issued by                              to Debtors effective 3/1/1992     to 3/1/1993   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             549654-A                   America

                             CAO-G1-                    Insurance Company of North
Request # 163 For Policy #                  issued by                              to Debtors effective 3/1/1992     to 3/1/1993   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             549655-1                   America

                                                        International Insurance
Request # 164 For Policy # 531-205301-7     issued by                                to Debtors effective 3/1/1992   to 3/1/1993   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Company

                                                        General Star Indemnity
Request # 165 For Policy # IXG-307138       issued by                                to Debtors effective 3/1/1992   to 3/1/1993   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Company

Request # 166 For Policy # 8654653          issued by Lexington Insurance Company to Debtors effective 3/1/1992      to 3/1/1993   admit that Abuse Claims against insureds and co-insureds are covered under the policy.

                                                        Niagara Fire Insurance
Request # 167 For Policy # HXU-001209       issued by                                to Debtors effective 3/1/1992   to 3/1/1993   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Company

                                                        California Union Insurance
Request # 168 For Policy # ZCX 02 00 25     issued by                                to Debtors effective 3/1/1992   to 3/1/1993   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Company

                             (93)7907-86-
Request # 169 For Policy #                  issued by Federal Insurance Company      to Debtors effective 3/1/1992   to 3/1/1993   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             17

Request # 170 For Policy # GFE-5450026      issued by Gulf Insurance Company         to Debtors effective 3/1/1992   to 3/1/1993   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 171 For Policy # XXK-217 50 18 issued by National Surety Corporation       to Debtors effective 3/1/1992   to 3/1/1993   admit that Abuse Claims against insureds and co-insureds are covered under the policy.

                             HDO G1                     Insurance Company of North
Request # 172 For Policy #                  issued by                              to Debtors effective 3/1/1993     to 3/1/1994   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             549727-0                   America

                             CAO-G1-                    Insurance Company of North
Request # 173 For Policy #                  issued by                              to Debtors effective 3/1/1993     to 3/1/1994   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             5497701                    America

                                                        St. Paul Surplus Lines
Request # 174 For Policy # LCO 55 2117      issued by                                to Debtors effective 3/1/1993   to 3/1/1994   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Insurance Company

                                                        General Star Indemnity
Request # 175 For Policy # IXG-307138A      issued by                                to Debtors effective 3/1/1993   to 3/1/1994   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Company




                                                                                                            13
Request # 176 For Policy # 866-7104         issued by Lexington Insurance Company to Debtors effective 3/1/1993    to 3/1/1994   admit that Abuse Claims against insureds and co-insureds are covered under the policy.

                                                        Niagara Fire Insurance
Request # 177 For Policy # HXU 001262       issued by                              to Debtors effective 3/1/1993   to 3/1/1994   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Company

                             EXC-794-74-14-           Agricultural Insurance
Request # 178 For Policy #                  issued by                              to Debtors effective 3/1/1993   to 3/1/1994   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             00                       Company

                             (94)7907-86-
Request # 179 For Policy #                  issued by Federal Insurance Company    to Debtors effective 3/1/1993   to 3/1/1994   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             17

                             XXK-000-1462-
Request # 180 For Policy #                 issued by National Surety Corporation   to Debtors effective 3/1/1993   to 3/1/1994   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             6451

                             HDO G1                     Insurance Company of North
Request # 181 For Policy #                  issued by                              to Debtors effective 3/1/1994   to 3/1/1995   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             549769-5                   America

                             CAO G1                     Insurance Company of North
Request # 182 For Policy #                  issued by                              to Debtors effective 3/1/1994   to 3/1/1995   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             549770-1                   America

                                                        St. Paul Surplus Lines
Request # 183 For Policy # LCO 55 21644     issued by                              to Debtors effective 3/1/1994   to 3/1/1996   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Insurance Company

                                                        General Star Indemnity
Request # 184 For Policy # IXG-307138B      issued by                              to Debtors effective 3/1/1994   to 3/1/1995   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Company

                                                        St. Paul Surplus Lines
Request # 185 For Policy # LCO 55 21645     issued by                              to Debtors effective 3/1/1994   to 3/1/1995   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Insurance Company

                                                        Niagara Fire Insurance
Request # 186 For Policy # HXU 001319       issued by                              to Debtors effective 3/1/1994   to 3/1/1995   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Company

                                                        Agricultural Insurance
Request # 187 For Policy # EXC-7636343      issued by                              to Debtors effective 3/1/1994   to 3/1/1995   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Company

                             (95)7907-86-               Texas Pacific Indemnity
Request # 188 For Policy #                  issued by                              to Debtors effective 3/1/1994   to 3/1/1995   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             17                         Company

                             XXK000656506
Request # 189 For Policy #                issued by National Surety Corporation    to Debtors effective 3/1/1994   to 3/1/1995   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             05

                             HDO G1 54 98           Indemnity Insurance
Request # 190 For Policy #                issued by                                to Debtors effective 3/1/1995   to 3/1/1996   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             13 4                   Company of North America

                             CAO G1                     Indemnity Insurance
Request # 191 For Policy #                  issued by                              to Debtors effective 3/1/1995   to 3/1/1996   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             549814 6                   Company of North America




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                                                         General Star Indemnity
Request # 192 For Policy # IXG-307138C       issued by                              to Debtors effective 3/1/1995   to 3/1/1996   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Company

                                                         St. Paul Surplus Lines
Request # 193 For Policy # LCO 55 23054      issued by                              to Debtors effective 3/1/1995   to 3/1/1996   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Insurance Company

                                                         Niagara Fire Insurance
Request # 194 For Policy # HXU 001363        issued by                              to Debtors effective 3/1/1995   to 3/1/1996   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Company

                             EXC 878-39-32-           Agricultural Insurance
Request # 195 For Policy #                  issued by                               to Debtors effective 3/1/1995   to 3/1/1996   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             00                       Company

                             (96)7907-86-                Texas Pacific Indemnity
Request # 196 For Policy #                   issued by                              to Debtors effective 3/1/1995   to 3/1/1996   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             17                          Company

                             XXK-000-9534-
Request # 197 For Policy #                 issued by National Surety Corporation    to Debtors effective 3/1/1995   to 3/1/1996   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             9775

                             TB1-191-                    Liberty Mutual Insurance
Request # 198 For Policy #                   issued by                              to Debtors effective 3/1/1996   to 3/1/1997   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             409751-126                  Company

                             TH1-191-                    Liberty Mutual Insurance
Request # 199 For Policy #                   issued by                              to Debtors effective 3/1/1996   to 3/1/1997   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             409751-116                  Company

                                                         St. Paul Surplus Lines
Request # 200 For Policy # LC0 55 24186      issued by                              to Debtors effective 3/1/1996   to 3/1/1997   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Insurance Company

                             AUO-3657270-           American Zurich Insurance
Request # 201 For Policy #                issued by                                 to Debtors effective 3/1/1996   to 3/1/1997   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             00                     Company

Request # 202 For Policy # CSR-283-95-07 issued by National Surety Corporation      to Debtors effective 3/1/1996   to 3/1/1997   admit that Abuse Claims against insureds and co-insureds are covered under the policy.

                                                         St. Paul Surplus Lines
Request # 203 For Policy # LC0 55 24187      issued by                              to Debtors effective 3/1/1996   to 3/1/1997   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Insurance Company

                                                         Continental Insurance
Request # 204 For Policy # 157334179         issued by                              to Debtors effective 3/1/1996   to 3/1/1997   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Company

                                                         Agricultural Insurance
Request # 205 For Policy # EXC-878-0969      issued by                              to Debtors effective 3/1/1996   to 3/1/1997   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                         Company

                             (97)7907-86-                Texas Pacific Indemnity
Request # 206 For Policy #                   issued by                              to Debtors effective 3/1/1996   to 3/1/1997   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             17 RMG                      Company

                             (97) 7907-86-               Texas Pacific Indemnity
Request # 207 For Policy #                   issued by                              to Debtors effective 3/1/1996   to 3/1/1997   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             17 CAS                      Company




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                             XXK-000-9551-
Request # 208 For Policy #                 issued by National Surety Corporation    to Debtors effective 3/1/1996     to 3/1/1997   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             6738

                                                        American Excess Insurance
Request # 209 For Policy # HR000105096 issued by                                    to Debtors effective 3/1/1996     to 3/1/1997   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Association

                             TB1-191-                   Liberty Mutual Insurance
Request # 210 For Policy #                  issued by                               to Debtors effective 3/1/1997     to 3/1/1998   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             409751-127                 Company

                             TH1-191-                   Liberty Mutual Insurance
Request # 211 For Policy #                  issued by                               to Debtors effective 3/1/1997     to 3/1/1998   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             409751-117                 Company

                                                        St. Paul Surplus Lines
Request # 212 For Policy # LC0 55 24948     issued by                               to Debtors effective 3/1/1997     to 3/1/1998   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Insurance Company

                             AUO 3657270-           American Zurich Insurance
Request # 213 For Policy #                issued by                                 to Debtors effective 3/1/1997     to 3/1/1998   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             01                     Company

                             (98)7907-86-               Texas Pacific Indemnity
Request # 214 For Policy #                  issued by                               to Debtors effective 3/1/1997     to 3/1/1998   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             17 CAS                     Company

                                                        National Union Fire Insurance
Request # 215 For Policy # 3102729          issued by                                 to Debtors effective 3/1/1997   to 3/1/1998   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Company of Pittsburgh, PA

                                                        XL Insurance (Bermuda)
Request # 216 For Policy # XLUMB-02391 issued by                                    to Debtors effective 3/1/1997     to 3/1/1998   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Limited

                             TB1-191-                   Liberty Mutual Insurance
Request # 217 For Policy #                  issued by                               to Debtors effective 3/1/1998     to 3/1/1999   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             409751-128                 Company

                             TH1-191-                   Liberty Mutual Insurance
Request # 218 For Policy #                  issued by                               to Debtors effective 3/1/1998     to 3/1/1999   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             409751-118                 Company

                                                        St. Paul Surplus Lines
Request # 219 For Policy # LC0 55 25809     issued by                               to Debtors effective 3/1/1998     to 3/1/2000   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Insurance Company

                             EUO 3657270-           American Zurich Insurance
Request # 220 For Policy #                issued by                                 to Debtors effective 3/1/1998     to 3/1/1999   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             02                     Company

                             (99)7907-86-               Texas Pacific Indemnity
Request # 221 For Policy #                  issued by                               to Debtors effective 3/1/1998     to 3/1/1999   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             17                         Company

                                                        National Union Fire Insurance
Request # 222 For Policy # BE 3463902       issued by                                 to Debtors effective 3/1/1998   to 3/1/1999   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Company of Pittsburgh, PA

Request # 223 For Policy # GA 6097623       issued by Gulf Insurance Company        to Debtors effective 3/1/1998     to 3/1/1999   admit that Abuse Claims against insureds and co-insureds are covered under the policy.




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                             TB1-191-                   Liberty Mutual Insurance
Request # 224 For Policy #                  issued by                                 to Debtors effective 3/1/1999   to 3/1/2001   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             409751-129                 Company

                             TH1-191-                   Liberty Mutual Insurance
Request # 225 For Policy #                  issued by                                 to Debtors effective 3/1/1999   to 3/1/2001   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             409751-119                 Company

                             EUO 3657270-           American Zurich Insurance
Request # 226 For Policy #                issued by                                   to Debtors effective 3/1/1999   to 3/1/2000   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             03                     Company

                                                        Texas Pacific Indemnity
Request # 227 For Policy # 7907-86-17       issued by                                 to Debtors effective 3/1/1999   to 3/1/2000   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Company

                                                        National Union Fire Insurance
Request # 228 For Policy # BE 3463968       issued by                                 to Debtors effective 3/1/1999   to 3/1/2000   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Company of Pittsburgh, PA

Request # 229 For Policy # GA0283547        issued by Gulf Insurance Company          to Debtors effective 3/1/1999   to 3/1/2000   admit that Abuse Claims against insureds and co-insureds are covered under the policy.

                                                        Agricultural Excess & Surplus
Request # 230 For Policy # ELD3211225       issued by                                 to Debtors effective 3/1/2000   to 3/1/2001   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Insurance Company

                             EUO 3657270-           American Zurich Insurance
Request # 231 For Policy #                issued by                                   to Debtors effective 3/1/2000   to 3/1/2001   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             03                     Company

                                                        Texas Pacific Indemnity
Request # 232 For Policy # 7907-86-17       issued by                                 to Debtors effective 3/1/2000   to 3/1/2001   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Company

                                                        National Union Fire Insurance
Request # 233 For Policy # BE 3463968       issued by                                 to Debtors effective 3/1/2000   to 3/1/2001   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Company of Pittsburgh, PA

Request # 234 For Policy # GA0483924        issued by Gulf Insurance Company          to Debtors effective 3/1/2000   to 3/1/2001   admit that Abuse Claims against insureds and co-insureds are covered under the policy.

                             TB1-191-                   Liberty Mutual Insurance
Request # 235 For Policy #                  issued by                                 to Debtors effective 3/1/2001   to 3/1/2002   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             409751-121                 Company

                             TH1-191-                   Liberty Mutual Insurance
Request # 236 For Policy #                  issued by                                 to Debtors effective 3/1/2001   to 3/1/2002   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             409751-111                 Company

                                                        Agricultural Excess & Surplus
Request # 237 For Policy # ELD3211225       issued by                                 to Debtors effective 3/1/2001   to 3/1/2002   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Insurance Company

                             AEC 3657270-               American Guarantee and
Request # 238 For Policy #                  issued by                                 to Debtors effective 3/1/2001   to 3/1/2002   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             04                         Liability Insurance Company

                                                        St. Paul Surplus Lines
Request # 239 For Policy # QY05501051       issued by                                 to Debtors effective 3/1/2001   to 3/1/2002   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Insurance Company




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Request # 240 For Policy # 7907-86-17      issued by Federal Insurance Company       to Debtors effective 3/1/2001   to 3/1/2002   admit that Abuse Claims against insureds and co-insureds are covered under the policy.

                                                       Interstate Fire & Casualty
Request # 241 For Policy # XUO-1102139     issued by                                 to Debtors effective 3/1/2001   to 3/1/2002   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                       Company

                                                       Westchester Fire Insurance
Request # 242 For Policy # HXS-648016      issued by                                 to Debtors effective 3/1/2001   to 3/1/2002   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                       Company

                                                       Lumbermens Mutual Casualty
Request # 243 For Policy # 9SR131379-00 issued by                                 to Debtors effective 3/1/2001      to 3/1/2002   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                       Company

                             AEC 9278457               American Guarantee and
Request # 244 For Policy #                 issued by                                 to Debtors effective 3/1/2001   to 3/1/2002   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             00                        Liability Insurance Company

Request # 245 For Policy # GA0720986       issued by Gulf Insurance Company          to Debtors effective 3/1/2001   to 3/1/2002   admit that Abuse Claims against insureds and co-insureds are covered under the policy.

                             TB1-191-                  Liberty Mutual Insurance
Request # 246 For Policy #                 issued by                                 to Debtors effective 3/1/2002   to 3/1/2003   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             409751-122                Company

                             TH1-191-                  Liberty Mutual Insurance
Request # 247 For Policy #                 issued by                                 to Debtors effective 3/1/2002   to 3/1/2003   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             409751-112                Company

                                                       Agricultural Excess & Surplus
Request # 248 For Policy # ELD3211225      issued by                                 to Debtors effective 3/1/2002   to 3/1/2003   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                       Insurance Company

                             AEC 3657270               American Guarantee and
Request # 249 For Policy #                 issued by                                 to Debtors effective 3/1/2002   to 3/1/2003   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             05                        Liability Insurance Company

                                                       Insurance Company of the
Request # 250 For Policy # 4602-2491       issued by                                 to Debtors effective 3/1/2002   to 3/1/2003   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                       State of Pennsylvania (The)

                                                       Westchester Fire Insurance
Request # 251 For Policy # MES-676215      issued by                                 to Debtors effective 3/1/2002   to 3/1/2003   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                       Company

                             7907-86-17
Request # 252 For Policy #                 issued by Federal Insurance Company       to Debtors effective 3/1/2002   to 3/1/2003   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             DAL

                                                       Allied World Assurance
Request # 253 For Policy # C000112         issued by                                 to Debtors effective 3/1/2002   to 3/1/2003   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                       Company, Ltd

                                                       Interstate Fire & Casualty
Request # 254 For Policy # XUO1102274      issued by                                 to Debtors effective 3/1/2002   to 3/1/2003   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                       Company

                                                       Westchester Fire Insurance
Request # 255 For Policy # HXS-648125      issued by                                 to Debtors effective 3/1/2002   to 3/1/2003   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                       Company




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                                                       Lumbermens Mutual Casualty
Request # 256 For Policy # 9SX 131379-01 issued by                                to Debtors effective 3/1/2002      to 3/1/2003   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                       Company

                             AEC 9278457               American Guarantee and
Request # 257 For Policy #                 issued by                                 to Debtors effective 3/1/2002   to 3/1/2003   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             01                        Liability Insurance Company

Request # 258 For Policy # GA2857739       issued by Gulf Insurance Company          to Debtors effective 3/1/2002   to 3/1/2003   admit that Abuse Claims against insureds and co-insureds are covered under the policy.

                             TB1-191-                  Liberty Mutual Insurance
Request # 259 For Policy #                 issued by                                 to Debtors effective 3/1/2003   to 3/1/2004   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             409751-123                Company

                             TH1-191-                  Liberty Mutual Insurance
Request # 260 For Policy #                 issued by                                 to Debtors effective 3/1/2003   to 3/1/2004   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             409751-113                Company

                                                       Agricultural Excess & Surplus
Request # 261 For Policy # ELD3211225      issued by                                 to Debtors effective 3/1/2003   to 3/1/2004   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                       Insurance Company

                                                       Insurance Company of the
Request # 262 For Policy # 4603-3681       issued by                                 to Debtors effective 3/1/2003   to 3/1/2004   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                       State of Pennsylvania (The)

Request # 263 For Policy # 3583189         issued by Lexington Insurance Company to Debtors effective 3/1/2003       to 3/1/2004   admit that Abuse Claims against insureds and co-insureds are covered under the policy.

                             AEC 3657270               American Guarantee and
Request # 264 For Policy #                 issued by                                 to Debtors effective 3/1/2003   to 3/1/2004   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             06                        Liability Insurance Company

                                                       Clarendon America Insurance
Request # 265 For Policy # XLX 39306224 issued by                                  to Debtors effective 3/1/2003     to 3/1/2004   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                       Company

                                                       Insurance Company of the
Request # 266 For Policy # 4603-3682       issued by                                 to Debtors effective 3/1/2003   to 3/1/2004   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                       State of Pennsylvania (The)

Request # 267 For Policy # 3583190         issued by Lexington Insurance Company to Debtors effective 3/1/2003       to 3/1/2004   admit that Abuse Claims against insureds and co-insureds are covered under the policy.

                                                       St. Paul Surplus Lines
Request # 268 For Policy # QY05501227      issued by                                 to Debtors effective 3/1/2003   to 3/1/2004   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                       Insurance Company

                                                       Westchester Fire Insurance
Request # 269 For Policy # HXS-744263      issued by                                 to Debtors effective 3/1/2003   to 3/1/2004   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                       Company

                                                       Interstate Fire & Casualty
Request # 270 For Policy # XSO 1014504     issued by                                 to Debtors effective 3/1/2003   to 3/1/2004   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                       Company

                             AEC 9278457               American Guarantee and
Request # 271 For Policy #                 issued by                                 to Debtors effective 3/1/2003   to 3/1/2004   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             02                        Liability Insurance Company




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Request # 272 For Policy # GA1327247        issued by Gulf Insurance Company          to Debtors effective 3/1/2003   to 3/1/2004   admit that Abuse Claims against insureds and co-insureds are covered under the policy.

                             TB1-191-                   Liberty Mutual Insurance
Request # 273 For Policy #                  issued by                                 to Debtors effective 3/1/2004   to 3/1/2005   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             409751-124                 Company

                             TH1-191-                   Liberty Mutual Insurance
Request # 274 For Policy #                  issued by                                 to Debtors effective 3/1/2004   to 3/1/2005   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             409751-114                 Company

                                                        Agricultural Excess & Surplus
Request # 275 For Policy # ELD3211225       issued by                                 to Debtors effective 3/1/2004   to 3/1/2005   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Insurance Company

                                                        Clarendon America Insurance
Request # 276 For Policy # XLX 00310351 issued by                                   to Debtors effective 3/1/2004     to 3/1/2005   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Company

                                                        Insurance Company of the
Request # 277 For Policy # 4604-4698        issued by                                 to Debtors effective 3/1/2004   to 3/1/2005   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        State of Pennsylvania (The)

                             AEC 3657270                American Guarantee and
Request # 278 For Policy #                  issued by                                 to Debtors effective 3/1/2004   to 3/1/2005   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             07                         Liability Insurance Company

Request # 279 For Policy # 3583264          issued by Lexington Insurance Company to Debtors effective 3/1/2004       to 3/1/2005   admit that Abuse Claims against insureds and co-insureds are covered under the policy.

                                                        St. Paul Surplus Lines
Request # 280 For Policy # QY06815029       issued by                                 to Debtors effective 3/1/2004   to 3/1/2005   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Insurance Company

                                                        Westchester Fire Insurance
Request # 281 For Policy # HXW-776138       issued by                                 to Debtors effective 3/1/2004   to 3/1/2005   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Company

Request # 282 For Policy # 3583265          issued by Lexington Insurance Company to Debtors effective 3/1/2004       to 3/1/2005   admit that Abuse Claims against insureds and co-insureds are covered under the policy.

                             AEC 9278457                American Guarantee and
Request # 283 For Policy #                  issued by                                 to Debtors effective 3/1/2004   to 3/1/2005   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             03                         Liability Insurance Company

                             XLEOCC-0488-
Request # 284 For Policy #                issued by XL Insurance (Dublin) Ltd.        to Debtors effective 3/1/2004   to 3/1/2005   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             04

                             TB1-191-                   Liberty Mutual Insurance
Request # 285 For Policy #                  issued by                                 to Debtors effective 3/1/2005   to 3/1/2006   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             409751-125                 Company

                             TH1-191-                   Liberty Mutual Insurance
Request # 286 For Policy #                  issued by                                 to Debtors effective 3/1/2005   to 3/1/2006   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             409751-115                 Company

                                                        Agricultural Excess & Surplus
Request # 287 For Policy # ELD3211225       issued by                                 to Debtors effective 3/1/2005   to 3/1/2006   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Insurance Company




                                                                                                             20
                                                       Clarendon America Insurance
Request # 288 For Policy # XLX00311014     issued by                               to Debtors effective 3/1/2005     to 3/1/2006   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                       Company

                                                       Insurance Company of the
Request # 289 For Policy # 4605-1591       issued by                                 to Debtors effective 3/1/2005   to 3/1/2006   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                       State of Pennsylvania (The)

                             AEC 3657270               American Guarantee and
Request # 290 For Policy #                 issued by                                 to Debtors effective 3/1/2005   to 3/1/2006   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             08                        Liability Insurance Company

                                                       Allied World Assurance
Request # 291 For Policy # AW2154834       issued by                                 to Debtors effective 3/1/2005   to 3/1/2006   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                       Company, Ltd

                             AAU720252/0           Axis Speciality Insurance
Request # 292 For Policy #               issued by                                   to Debtors effective 3/1/2005   to 3/1/2006   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             1/2005                Company

Request # 293 For Policy # 8851123         issued by Lexington Insurance Company to Debtors effective 3/1/2005       to 3/1/2006   admit that Abuse Claims against insureds and co-insureds are covered under the policy.

                                                       St. Paul Surplus Lines
Request # 294 For Policy # QY06825006      issued by                                 to Debtors effective 3/1/2005   to 3/1/2006   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                       Insurance Company

Request # 295 For Policy # 8851124         issued by Lexington Insurance Company to Debtors effective 3/1/2005       to 3/1/2006   admit that Abuse Claims against insureds and co-insureds are covered under the policy.

                             IE00012302LI0
Request # 296 For Policy #                 issued by XL Europe Limited               to Debtors effective 3/1/2005   to 3/1/2006   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             5A

                             TB1-191-                  Liberty Mutual Insurance
Request # 297 For Policy #                 issued by                                 to Debtors effective 3/1/2006   to 3/1/2007   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             409751-126                Company

                             TH1-191-                  Liberty Mutual Insurance
Request # 298 For Policy #                 issued by                                 to Debtors effective 3/1/2006   to 3/1/2007   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             409751-116                Company

                             ELD                       Traders and Pacific Insurance
Request # 299 For Policy #                 issued by                                 to Debtors effective 3/1/2006   to 3/1/2007   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             100000951                 Company

                                                       Insurance Company of the
Request # 300 For Policy # 4606-2795       issued by                                 to Debtors effective 3/1/2006   to 3/1/2007   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                       State of Pennsylvania (The)

Request # 301 For Policy # 6679155         issued by Lexington Insurance Company to Debtors effective 3/1/2006       to 3/1/2007   admit that Abuse Claims against insureds and co-insureds are covered under the policy.

                             AEC 3657270
Request # 302 For Policy #                 issued by Steadfast Insurance Company to Debtors effective 3/1/2006       to 3/1/2007   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             09

                                                       Allied World Assurance
Request # 303 For Policy # AW1907934       issued by                                 to Debtors effective 3/1/2006   to 3/1/2007   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                       Company, Ltd




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                             EAU720252/01
Request # 304 For Policy #                issued by Axis Insurance Company            to Debtors effective 3/1/2006   to 3/1/2007   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             /2006

Request # 305 For Policy # 6679156          issued by Lexington Insurance Company to Debtors effective 3/1/2006       to 3/1/2007   admit that Abuse Claims against insureds and co-insureds are covered under the policy.

                                                        St. Paul Surplus Lines
Request # 306 For Policy # QY01225190       issued by                                 to Debtors effective 3/1/2006   to 3/1/2007   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Insurance Company

                             ELD                        Endurance American
Request # 307 For Policy #                  issued by                               to Debtors effective 3/1/2006     to 3/1/2007   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             100000952                  Specialty Insurance Company

                             IE00013105L1
Request # 308 For Policy #                  issued by XL Europe Limited               to Debtors effective 3/1/2006   to 3/1/2007   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             06A

                             TB1-191-                   Liberty Mutual Insurance
Request # 309 For Policy #                  issued by                                 to Debtors effective 3/1/2007   to 3/1/2008   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             409751-127                 Company

                                                        Old Republic Insurance
Request # 310 For Policy # MWZX 26633       issued by                                 to Debtors effective 3/1/2007   to 3/1/2008   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Company

                             ELD100003345           Endurance American
Request # 311 For Policy #                issued by                             to Debtors effective 3/1/2007         to 3/1/2008   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             01                     Specialty Insurance Company

                                                        Insurance Company of the
Request # 312 For Policy # 4890463          issued by                                 to Debtors effective 3/1/2007   to 3/1/2008   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        State of Pennsylvania (The)

Request # 313 For Policy # 51134            issued by Lexington Insurance Company to Debtors effective 3/1/2007       to 3/1/2008   admit that Abuse Claims against insureds and co-insureds are covered under the policy.

                             EAU720252/01           Axis Surplus Insurance
Request # 314 For Policy #                issued by                                   to Debtors effective 3/1/2007   to 3/1/2008   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             /2007                  Company

                                                        Interstate Fire & Casualty
Request # 315 For Policy # HFX 1002516      issued by                                 to Debtors effective 3/1/2007   to 3/1/2008   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Company

                                                        Allied World Assurance
Request # 316 For Policy # C006822002       issued by                                 to Debtors effective 3/1/2007   to 3/1/2008   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Company, Ltd

                             71G600050-                 Everest National Insurance
Request # 317 For Policy #                  issued by                                 to Debtors effective 3/1/2007   to 3/1/2008   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             071                        Company

Request # 318 For Policy # 501135           issued by Lexington Insurance Company to Debtors effective 3/1/2007       to 3/1/2008   admit that Abuse Claims against insureds and co-insureds are covered under the policy.

                             ELD                    Endurance American
Request # 319 For Policy #                issued by                             to Debtors effective 3/1/2007         to 3/1/2008   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             100003346 01           Specialty Insurance Company




                                                                                                             22
                             IE00013396L1
Request # 320 For Policy #                  issued by XL Europe Limited               to Debtors effective 3/1/2007   to 3/1/2008   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             07A

                                                        Old Republic Insurance
Request # 321 For Policy # MWZY 57807       issued by                                 to Debtors effective 3/1/2008   to 3/1/2009   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Company

                                                        Old Republic Insurance
Request # 322 For Policy # MWZX 26642       issued by                                 to Debtors effective 3/1/2008   to 3/1/2009   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Company

                             ELD100003345           Endurance American
Request # 323 For Policy #                issued by                             to Debtors effective 3/1/2008         to 3/1/2009   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             02                     Specialty Insurance Company

                                                        Insurance Company of the
Request # 324 For Policy # 4890599          issued by                                 to Debtors effective 3/1/2008   to 3/1/2009   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        State of Pennsylvania (The)

Request # 325 For Policy # 1172858          issued by Lexington Insurance Company to Debtors effective 3/1/2008       to 3/1/2009   admit that Abuse Claims against insureds and co-insureds are covered under the policy.

                             EAU72025201
Request # 326 For Policy #               issued by Axis Insurance Company             to Debtors effective 3/1/2008   to 3/1/2009   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             2008

                                                        Interstate Fire & Casualty
Request # 327 For Policy # HFX1002550       issued by                                 to Debtors effective 3/1/2008   to 3/1/2009   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Company

                                                        Allied World Assurance
Request # 328 For Policy # C009030003       issued by                                 to Debtors effective 3/1/2008   to 3/1/2009   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Company, Ltd

                             71G60005008                Everest National Insurance
Request # 329 For Policy #                  issued by                                 to Debtors effective 3/1/2008   to 3/1/2009   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             1                          Company

Request # 330 For Policy # 1172859          issued by Lexington Insurance Company to Debtors effective 3/1/2008       to 3/1/2009   admit that Abuse Claims against insureds and co-insureds are covered under the policy.

                             ELD100003346           Endurance American
Request # 331 For Policy #                issued by                             to Debtors effective 3/1/2008         to 3/1/2009   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             02                     Specialty Insurance Company

                             EAU73768401
Request # 332 For Policy #               issued by Axis Insurance Company             to Debtors effective 3/1/2008   to 3/1/2009   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             2008

Request # 333 For Policy # 1172861          issued by Lexington Insurance Company to Debtors effective 3/1/2008       to 3/1/2009   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 334 For Policy # UXP0025030       issued by Arch Reinsurance Ltd.           to Debtors effective 3/1/2008   to 3/1/2009   admit that Abuse Claims against insureds and co-insureds are covered under the policy.

                                                        Interstate Fire & Casualty
Request # 335 For Policy # HFX1002552       issued by                                 to Debtors effective 3/1/2008   to 3/1/2009   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Company




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                             EC0095370996           Ohio Casualty Insurance
Request # 336 For Policy #                issued by                                  to Debtors effective 3/1/2008   to 3/1/2009   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             0                      Company (The)

                                                        Old Republic Insurance
Request # 337 For Policy # MWZY 58122       issued by                                to Debtors effective 3/1/2009   to 3/1/2010   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Company

                                                        Old Republic Insurance
Request # 338 For Policy # MWZX 26652       issued by                                to Debtors effective 3/1/2009   to 3/1/2010   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Company

                             ELD100003345           Endurance American
Request # 339 For Policy #                issued by                             to Debtors effective 3/1/2009        to 3/1/2010   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             03                     Specialty Insurance Company

                                                        Catlin Underwriting Agencies
Request # 340 For Policy # XSC942550310 issued by                                    to Debtors effective 3/1/2009   to 3/1/2010   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Limited

                             71G00020009                Everest National Insurance
Request # 341 For Policy #                  issued by                                to Debtors effective 3/1/2009   to 3/1/2010   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             1                          Company

                             EAU720252/01
Request # 342 For Policy #                issued by Axis Insurance Company           to Debtors effective 3/1/2009   to 3/1/2010   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             /2009

                             HFX000799955           Interstate Fire & Casualty
Request # 343 For Policy #                issued by                                  to Debtors effective 3/1/2009   to 3/1/2010   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             85                     Company

                                                        Allied World Assurance
Request # 344 For Policy # C009030/004      issued by                                to Debtors effective 3/1/2009   to 3/1/2010   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Company, Ltd

                             71G6000200-                Everest National Insurance
Request # 345 For Policy #                  issued by                                to Debtors effective 3/1/2009   to 3/1/2010   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             091                        Company

                             ELD100012406           Endurance American
Request # 346 For Policy #                issued by                             to Debtors effective 3/1/2009        to 3/1/2010   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             00                     Specialty Insurance Company

                             UXP0025030-
Request # 347 For Policy #                  issued by Arch Reinsurance Ltd.          to Debtors effective 3/1/2009   to 3/1/2010   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             01

                             EAU737684/01
Request # 348 For Policy #                issued by Axis Insurance Company           to Debtors effective 3/1/2009   to 3/1/2010   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             /2009

                             HFX000820755           Interstate Fire & Casualty
Request # 349 For Policy #                issued by                                  to Debtors effective 3/1/2009   to 3/1/2010   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             81                     Company

                             ECO(10)53709           Ohio Casualty Insurance
Request # 350 For Policy #                issued by                                  to Debtors effective 3/1/2009   to 3/1/2010   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             *960                   Company (The)

                                                        Old Republic Insurance
Request # 351 For Policy # MWZY 58666       issued by                                to Debtors effective 3/1/2010   to 3/1/2011   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Company




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                                                        Old Republic Insurance
Request # 352 For Policy # MWZX 26667       issued by                                to Debtors effective 3/1/2010   to 3/1/2011   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Company

                             ELD100003345           Endurance American
Request # 353 For Policy #                issued by                             to Debtors effective 3/1/2010        to 3/1/2011   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             04                     Specialty Insurance Company

                                                        Catlin Underwriting Agencies
Request # 354 For Policy # XSC942550311 issued by                                    to Debtors effective 3/1/2010   to 3/1/2011   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Limited

                             71G60000501                Everest National Insurance
Request # 355 For Policy #                  issued by                                to Debtors effective 3/1/2010   to 3/1/2011   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             01                         Company

                                                        Allied World Assurance
Request # 356 For Policy # 0305-3351        issued by                                to Debtors effective 3/1/2010   to 3/1/2011   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Company, Ltd

                             EAU720252/01
Request # 357 For Policy #                issued by Axis Insurance Company           to Debtors effective 3/1/2010   to 3/1/2011   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             /2010

                             ELD100001933           Endurance American
Request # 358 For Policy #                issued by                             to Debtors effective 3/1/2010        to 3/1/2011   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             7                      Specialty Insurance Company

                             UXP0025030-
Request # 359 For Policy #                  issued by Arch Reinsurance Ltd.          to Debtors effective 3/1/2010   to 3/1/2011   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             02

                             ECO 11 53 70               Ohio Casualty Insurance
Request # 360 For Policy #                  issued by                                to Debtors effective 3/1/2010   to 3/1/2011   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             9960                       Company (The)

                             G2411467300                Westchester Fire Insurance
Request # 361 For Policy #                  issued by                                to Debtors effective 3/1/2010   to 3/1/2011   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             1                          Company

                                                        Old Republic Insurance
Request # 362 For Policy # MWZY 59097       issued by                                to Debtors effective 3/1/2011   to 3/1/2012   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Company

                                                        Old Republic Insurance
Request # 363 For Policy # MWZX 26702       issued by                                to Debtors effective 3/1/2011   to 3/1/2012   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Company

                             ELD100003345           Endurance American
Request # 364 For Policy #                issued by                             to Debtors effective 3/1/2011        to 3/1/2012   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             05                     Specialty Insurance Company

                             XSC-94255-                 Catlin Underwriting Agencies
Request # 365 For Policy #                  issued by                                to Debtors effective 3/1/2011   to 3/1/2012   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             0312                       Limited

                             EAU720252/01
Request # 366 For Policy #                issued by Axis Insurance Company           to Debtors effective 3/1/2011   to 3/1/2012   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             /2011

                                                        Allied World Assurance
Request # 367 For Policy # 0305-3351        issued by                                to Debtors effective 3/1/2011   to 3/1/2012   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Company, Ltd




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                             EAU75804901
Request # 368 For Policy #               issued by Axis Insurance Company            to Debtors effective 3/1/2011   to 3/1/2012   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             2011

                             ELD100030260           Endurance American
Request # 369 For Policy #                issued by                             to Debtors effective 3/1/2011        to 3/1/2012   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             00                     Specialty Insurance Company

Request # 370 For Policy # UXP0042842       issued by Arch Reinsurance Ltd.          to Debtors effective 3/1/2011   to 3/1/2012   admit that Abuse Claims against insureds and co-insureds are covered under the policy.

                             ECO (12) 54 67           Ohio Casualty Insurance
Request # 371 For Policy #                  issued by                                to Debtors effective 3/1/2011   to 3/1/2012   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             21 20                    Company (The)

                             G2411467300                Westchester Fire Insurance
Request # 372 For Policy #                  issued by                                to Debtors effective 3/1/2011   to 3/1/2012   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             2                          Company

                             EXCDA120587           Liberty Insurance
Request # 373 For Policy #               issued by                                   to Debtors effective 3/1/2011   to 3/1/2012   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             1                     Underwriters, Inc.

                                                        Old Republic Insurance
Request # 374 For Policy # MWZY 59555       issued by                                to Debtors effective 3/1/2012   to 3/1/2013   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Company

                                                        Old Republic Insurance
Request # 375 For Policy # MWZX 26709       issued by                                to Debtors effective 3/1/2012   to 3/1/2013   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Company

                             ELD100003345           Endurance American
Request # 376 For Policy #                issued by                             to Debtors effective 3/1/2012        to 3/1/2013   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             06                     Specialty Insurance Company

                             XSC-94255-                 Catlin Underwriting Agencies
Request # 377 For Policy #                  issued by                                to Debtors effective 3/1/2012   to 3/1/2013   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             0313                       Limited

                             EAU720252/01
Request # 378 For Policy #                issued by Axis Insurance Company           to Debtors effective 3/1/2012   to 3/1/2013   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             /2012

                                                        Allied World Assurance
Request # 379 For Policy # 0305-3351        issued by                                to Debtors effective 3/1/2012   to 3/1/2013   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Company, Ltd

                             EAU758049/01
Request # 380 For Policy #                issued by Axis Insurance Company           to Debtors effective 3/1/2012   to 3/1/2013   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             /2012

                             MAX3EC30000           Alterra Excess & Surplus
Request # 381 For Policy #               issued by                                   to Debtors effective 3/1/2012   to 3/1/2013   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             062                   Insurance Company

                             ELD100035537           Endurance American
Request # 382 For Policy #                issued by                             to Debtors effective 3/1/2012        to 3/1/2013   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             00                     Specialty Insurance Company

                             UXP0042842-
Request # 383 For Policy #                  issued by Arch Reinsurance Ltd.          to Debtors effective 3/1/2012   to 3/1/2013   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             01




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                             ECO 13                     Ohio Casualty Insurance
Request # 384 For Policy #                  issued by                                to Debtors effective 3/1/2012   to 3/1/2013   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             54672120                   Company (The)

                             G2411467300                Westchester Fire Insurance
Request # 385 For Policy #                  issued by                                to Debtors effective 3/1/2012   to 3/1/2013   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             3                          Company

                             CH12EXC7470           Navigators Specialty
Request # 386 For Policy #               issued by                                   to Debtors effective 3/1/2012   to 3/1/2013   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             341C                  Insurance Company

                                                        Old Republic Insurance
Request # 387 For Policy # MWZY 59997       issued by                                to Debtors effective 3/1/2013   to 3/1/2014   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Company

                                                        Old Republic Insurance
Request # 388 For Policy # MWZX 26713       issued by                                to Debtors effective 3/1/2013   to 3/1/2014   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Company

                             CEX09600051-
Request # 389 For Policy #                issued by Gemini Insurance Company         to Debtors effective 3/1/2013   to 3/1/2014   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             00

                             IRE 2000295                First Specialty Insurance
Request # 390 For Policy #                  issued by                                to Debtors effective 3/1/2013   to 3/1/2014   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             00                         Corporation

                             XSC-94255-                 Catlin Underwriting Agencies
Request # 391 For Policy #                  issued by                                to Debtors effective 3/1/2013   to 3/1/2014   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             0314                       Limited

                                                        Allied World Assurance
Request # 392 For Policy # 0305-3351        issued by                                to Debtors effective 3/1/2013   to 3/1/2014   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Company, Ltd

                             CEX09600052-
Request # 393 For Policy #                issued by Gemini Insurance Company         to Debtors effective 3/1/2013   to 3/1/2014   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             00

                             MAX3EC30000           Alterra Excess & Surplus
Request # 394 For Policy #               issued by                                   to Debtors effective 3/1/2013   to 3/1/2014   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             192                   Insurance Company

                             CEX09600166-
Request # 395 For Policy #                issued by Gemini Insurance Company         to Debtors effective 3/1/2013   to 3/1/2014   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             00

                             1000038829-                Liberty Surplus Insurance
Request # 396 For Policy #                  issued by                                to Debtors effective 3/1/2013   to 3/1/2014   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             01                         Corporation

                             ECO (14) 54 67           Ohio Casualty Insurance
Request # 397 For Policy #                  issued by                                to Debtors effective 3/1/2013   to 3/1/2014   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             21 20                    Company (The)

                             G2411467300                Westchester Fire Insurance
Request # 398 For Policy #                  issued by                                to Debtors effective 3/1/2013   to 3/1/2014   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             4                          Company

                             CH13EXC7470           Navigators Specialty
Request # 399 For Policy #               issued by                                   to Debtors effective 3/1/2013   to 3/1/2014   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             34IC                  Insurance Company




                                                                                                            27
                                                        Old Republic Insurance
Request # 400 For Policy # MWZY 301262 issued by                                     to Debtors effective 3/1/2014   to 3/1/2015   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Company

                                                        Old Republic Insurance
Request # 401 For Policy # MWZX 300758 issued by                                     to Debtors effective 3/1/2014   to 3/1/2015   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Company

                             CEX0960051-
Request # 402 For Policy #                  issued by Gemini Insurance Company       to Debtors effective 3/1/2014   to 3/1/2015   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             01

                             IRE 2000295                First Specialty Insurance
Request # 403 For Policy #                  issued by                                to Debtors effective 3/1/2014   to 3/1/2015   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             01                         Corporation

                             XSC-94255-                 Catlin Underwriting Agencies
Request # 404 For Policy #                  issued by                                to Debtors effective 3/1/2014   to 3/1/2015   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             0315                       Limited

                             CEX09600052-
Request # 405 For Policy #                issued by Gemini Insurance Company         to Debtors effective 3/1/2014   to 3/1/2015   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             01

                                                        Allied World Assurance
Request # 406 For Policy # 0305-3351        issued by                                to Debtors effective 3/1/2014   to 3/1/2018   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Company, Ltd

Request # 407 For Policy # 15375964         issued by Lexington Insurance Company to Debtors effective 3/1/2014      to 3/1/2017   admit that Abuse Claims against insureds and co-insureds are covered under the policy.

                             MAX3EC30000           Alterra Excess & Surplus
Request # 408 For Policy #               issued by                                   to Debtors effective 3/1/2014   to 3/1/2015   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             296                   Insurance Company

                             CEX09600166-
Request # 409 For Policy #                issued by Gemini Insurance Company         to Debtors effective 3/1/2014   to 3/1/2015   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             01

                             G24114673                  Westchester Fire Insurance
Request # 410 For Policy #                  issued by                                to Debtors effective 3/1/2014   to 3/1/2015   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             005                        Company

                             EXC100045847           Endurance American
Request # 411 For Policy #                issued by                             to Debtors effective 3/1/2014        to 3/1/2015   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             00                     Specialty Insurance Company

                             ECO (15) 55 94           Ohio Casualty Insurance
Request # 412 For Policy #                  issued by                                to Debtors effective 3/1/2014   to 3/1/2015   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             28 39                    Company (The)

                                                        Old Republic Insurance
Request # 413 For Policy # MWZY 303431 issued by                                     to Debtors effective 3/1/2015   to 3/1/2016   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Company

                                                        Old Republic Insurance
Request # 414 For Policy # MWZX 303430 issued by                                     to Debtors effective 3/1/2015   to 3/1/2016   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Company

                             CEX09600051-
Request # 415 For Policy #                issued by Gemini Insurance Company         to Debtors effective 3/1/2015   to 3/1/2016   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             02




                                                                                                            28
                             IRE 2000295                First Specialty Insurance
Request # 416 For Policy #                  issued by                               to Debtors effective 3/1/2015    to 3/1/2016   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             02                         Corporation

                             XSC-94255-                 Catlin Underwriting Agencies
Request # 417 For Policy #                  issued by                                to Debtors effective 3/1/2015   to 3/1/2016   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             0316                       Limited

                             CEX09600052-
Request # 418 For Policy #                issued by Gemini Insurance Company        to Debtors effective 3/1/2015    to 3/1/2016   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             02

                             MAX3EC30000           Alterra Excess & Surplus
Request # 419 For Policy #               issued by                                  to Debtors effective 3/1/2015    to 3/1/2016   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             468                   Insurance Company

                             CEX09600166-
Request # 420 For Policy #                issued by Gemini Insurance Company        to Debtors effective 3/1/2015    to 3/1/2016   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             02

Request # 421 For Policy # 15375234         issued by Lexington Insurance Company to Debtors effective 3/1/2015      to 3/1/2016   admit that Abuse Claims against insureds and co-insureds are covered under the policy.

                             EXC100045847           Endurance American
Request # 422 For Policy #                issued by                             to Debtors effective 3/1/2015        to 3/1/2016   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             01                     Specialty Insurance Company

                             ECO (16) 55 94           Ohio Casualty Insurance
Request # 423 For Policy #                  issued by                               to Debtors effective 3/1/2015    to 3/1/2016   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             28 39                    Company (The)

                                                        Old Republic Insurance
Request # 424 For Policy # MWZY 306938 issued by                                    to Debtors effective 3/1/2016    to 3/1/2017   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Company

                                                        Old Republic Insurance
Request # 425 For Policy # MWZX 306937 issued by                                    to Debtors effective 3/1/2016    to 3/1/2017   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Company

                             CEX09600051-
Request # 426 For Policy #                issued by Gemini Insurance Company        to Debtors effective 3/1/2016    to 3/1/2017   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             03

                             IRE 2000295                First Specialty Insurance
Request # 427 For Policy #                  issued by                               to Debtors effective 3/1/2016    to 3/1/2017   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             03                         Corporation

Request # 428 For Policy # CX0043416        issued by Aspen                         to Debtors effective 3/1/2016    to 3/1/2017   admit that Abuse Claims against insureds and co-insureds are covered under the policy.

                             CEX09600052-
Request # 429 For Policy #                issued by Gemini Insurance Company        to Debtors effective 3/1/2016    to 3/1/2017   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             03

Request # 430 For Policy # CX0044G16        issued by Aspen                         to Debtors effective 3/1/2016    to 3/1/2017   admit that Abuse Claims against insureds and co-insureds are covered under the policy.

                             MKLV40LE106
Request # 431 For Policy #               issued by Evanston Insurance Company to Debtors effective 3/1/2016          to 3/1/2017   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             420




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                             CEX09600166-
Request # 432 For Policy #                issued by Gemini Insurance Company        to Debtors effective 3/1/2016   to 3/1/2017   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             03

Request # 433 For Policy # 15375234         issued by Lexington Insurance Company to Debtors effective 3/1/2016     to 3/1/2017   admit that Abuse Claims against insureds and co-insureds are covered under the policy.

                             EXC100045847           Endurance American
Request # 434 For Policy #                issued by                             to Debtors effective 3/1/2016       to 3/1/2017   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             02                     Specialty Insurance Company

                             ECO (17) 55 94           Ohio Casualty Insurance
Request # 435 For Policy #                  issued by                               to Debtors effective 3/1/2016   to 3/1/2017   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             28 39                    Company (The)

                                                        Old Republic Insurance
Request # 436 For Policy # MWZY 309927 issued by                                    to Debtors effective 3/1/2017   to 3/1/2018   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Company

                                                        Old Republic Insurance
Request # 437 For Policy # MWZX 309926 issued by                                    to Debtors effective 3/1/2017   to 3/1/2018   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Company

                             CEX09600051-
Request # 438 For Policy #                issued by Gemini Insurance Company        to Debtors effective 3/1/2017   to 3/1/2018   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             04

                             IRE 2000295                First Specialty Insurance
Request # 439 For Policy #                  issued by                               to Debtors effective 3/1/2017   to 3/1/2018   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             04                         Corporation

Request # 440 For Policy # CX0043417        issued by Aspen                         to Debtors effective 3/1/2017   to 3/1/2018   admit that Abuse Claims against insureds and co-insureds are covered under the policy.

                             CEX09600052-
Request # 441 For Policy #                issued by Gemini Insurance Company        to Debtors effective 3/1/2017   to 3/1/2018   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             04

Request # 442 For Policy # AR3461897        issued by Colony Insurance Company      to Debtors effective 3/1/2017   to 3/1/2018   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 443 For Policy # CX0044G17        issued by Aspen                         to Debtors effective 3/1/2017   to 3/1/2018   admit that Abuse Claims against insureds and co-insureds are covered under the policy.

                             MKLV4EUE100
Request # 444 For Policy #               issued by Evanston Insurance Company to Debtors effective 3/1/2017         to 3/1/2018   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             37

                             CEX09600166-
Request # 445 For Policy #                issued by Gemini Insurance Company        to Debtors effective 3/1/2017   to 3/1/2018   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             04

                                                        Indian Harbor Insurance
Request # 446 For Policy # SCS0049368       issued by                               to Debtors effective 3/1/2017   to 3/1/2018   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Company

                             EXC100458470           Endurance American
Request # 447 For Policy #                issued by                             to Debtors effective 3/1/2017       to 3/1/2018   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             3                      Specialty Insurance Company




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                             ECO (18) 55 94           Ohio Casualty Insurance
Request # 448 For Policy #                  issued by                               to Debtors effective 3/1/2017   to 3/1/2018   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             28 39                    Company (The)

                                                        Old Republic Insurance
Request # 449 For Policy # MWZY 312833 issued by                                    to Debtors effective 3/1/2018   to 3/1/2019   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Company

                                                        Old Republic Insurance
Request # 450 For Policy # MWZX 312832 issued by                                    to Debtors effective 3/1/2018   to 3/1/2019   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Company

                             CEX0960051-
Request # 451 For Policy #                  issued by Gemini Insurance Company      to Debtors effective 3/1/2018   to 3/1/2019   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             05

                             IRE 2000295                First Specialty Insurance
Request # 452 For Policy #                  issued by                               to Debtors effective 3/1/2018   to 3/1/2019   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             05                         Corporation

Request # 453 For Policy # CX0043418        issued by Aspen                         to Debtors effective 3/1/2018   to 3/1/2019   admit that Abuse Claims against insureds and co-insureds are covered under the policy.

                             CEX0960052-
Request # 454 For Policy #                  issued by Gemini Insurance Company      to Debtors effective 3/1/2018   to 3/1/2019   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             05

                                                        Allied World Assurance
Request # 455 For Policy # 0305-3351        issued by                               to Debtors effective 3/1/2018   to 3/1/2019   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Company, Ltd

Request # 456 For Policy # AR4460619        issued by Colony Insurance Company      to Debtors effective 3/1/2018   to 3/1/2019   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 457 For Policy # CX0044G17        issued by Aspen                         to Debtors effective 3/1/2018   to 3/1/2019   admit that Abuse Claims against insureds and co-insureds are covered under the policy.

                             MKLV4EUE100
Request # 458 For Policy #               issued by Evanston Insurance Company to Debtors effective 3/1/2018         to 3/1/2019   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             128

                             CEX09600166-
Request # 459 For Policy #                issued by Gemini Insurance Company        to Debtors effective 3/1/2018   to 3/1/2019   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             05

Request # 460 For Policy # SXS004936801 issued by XL Catlin                         to Debtors effective 3/1/2018   to 3/1/2019   admit that Abuse Claims against insureds and co-insureds are covered under the policy.

                             EXC100045847           Endurance American
Request # 461 For Policy #                issued by                                 to Debtors effective 3/1/2018   to 3/1/2019   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             04                     Insurance Company

                             ECO (19) 5594           Ohio Casualty Insurance
Request # 462 For Policy #                 issued by                                to Debtors effective 3/1/2018   to 3/1/2019   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             2839                    Company (The)

                             MKLV4PBC000
Request # 463 For Policy #               issued by Evanston Insurance Company to Debtors effective 3/1/2019         to 3/1/2020   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             310




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                             MKLV4EUL102
Request # 464 For Policy #               issued by Evanston Insurance Company to Debtors effective 3/1/2019         to 3/1/2020   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             026

                             BXS096035580
Request # 465 For Policy #                issued by Gemini Insurance Company        to Debtors effective 3/1/2019   to 3/1/2020   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             0

Request # 466 For Policy # CEX096005106 issued by Gemini Insurance Company          to Debtors effective 3/1/2019   to 3/1/2020   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 467 For Policy # O23627630        issued by Lexington Insurance Company to Debtors effective 3/1/2019     to 3/1/2020   admit that Abuse Claims against insureds and co-insureds are covered under the policy.


Request # 468 For Policy # SXS004936802 issued by XL Catlin                         to Debtors effective 3/1/2019   to 3/1/2020   admit that Abuse Claims against insureds and co-insureds are covered under the policy.

                             CEX096000520
Request # 469 For Policy #                issued by Gemini Insurance Company        to Debtors effective 3/1/2019   to 3/1/2020   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             6

                             UXP10279770
Request # 470 For Policy #               issued by Arch Reinsurance Ltd.            to Debtors effective 3/1/2019   to 3/1/2020   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             0

                             G7149709400                Westchester Surplus Lines
Request # 471 For Policy #                  issued by                               to Debtors effective 3/1/2019   to 3/1/2020   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             1                          Insurance Company

                                                        Allied World Assurance
Request # 472 For Policy # 3053351          issued by                               to Debtors effective 3/1/2019   to 3/1/2020   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Company (U.S.), Inc.

                             01BXLP000012           Ategrity Specialty Insurance
Request # 473 For Policy #                issued by                                 to Debtors effective 3/1/2019   to 3/1/2020   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             300                    Company

Request # 474 For Policy # AR4460619        issued by Colony Insurance Company      to Debtors effective 3/1/2019   to 3/1/2020   admit that Abuse Claims against insureds and co-insureds are covered under the policy.

                             EXC100045847           Endurance American
Request # 475 For Policy #                issued by                                 to Debtors effective 3/1/2019   to 3/1/2020   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             05                     Insurance Company

                             MKLV4EUE100
Request # 476 For Policy #               issued by Evanston Insurance Company to Debtors effective 3/1/2019         to 3/1/2020   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             212

                             CEX096001660
Request # 477 For Policy #                issued by Gemini Insurance Company        to Debtors effective 3/1/2019   to 3/1/2020   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                             6

                                                        Liberty Insurance
Request # 478 For Policy # 100032394701 issued by                                   to Debtors effective 3/1/2019   to 3/1/2020   admit that Abuse Claims against insureds and co-insureds are covered under the policy.
                                                        Underwriters, Inc.




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Dated: December 27, 2021
Wilmington, Delaware       SCHIFF HARDIN LLP

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                           -and-

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                           Counsel for Roman Catholic Ad Hoc Committee




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 EXHIBIT C-1



Filed Under Seal
EXHIBIT C-2
                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

    In re:

    Boy Scouts of America and Delaware BSA,                   Case No. 20-10343 (LSS)
    LLC,
                                                              Chapter 11
              Debtors. 1                                      Jointly Administered


         HARTFORD ACCIDENT AND INDEMNITY COMPANY’S RESPONSES AND
           OBJECTIONS TO THE ROMAN CATHOLIC AD HOC COMMITTEE’S
                          REQUESTS FOR ADMISSION

             Pursuant to Rules 26 and 36 of the Federal Rules of Civil Procedure, as made applicable

to these proceedings by Rules 9014, 7026 and 7036 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”), and pursuant to the Local Rules of Bankruptcy Practice and

Procedure of the United States Bankruptcy Court for the District of Delaware (the “Local

Rules”), Hartford Accident and Indemnity Company (“Hartford”) submits its objections and

responses to the Roman Catholic Ad Hoc Committee’s (“RCAHC”) Requests for Admission (the

“Requests”).

                                    OBJECTIONS AND RESPONSES

             Response to Request Nos. 1 through 2,535:

             With respect to each and every Request, Hartford objects that the Requests are overbroad,

unduly burdensome and seek information that is not relevant and/or proportionate to the needs of

this case, taking into account the burden placed on Hartford to respond and the availability of

information from other sources. Hartford objects to the Requests as vague and ambiguous,

including that the Requests are unclear with respect to whether they are intended to refer to the


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 The Debtors in these Chapter 11 Cases, together with the last four digits of Debtor’s federal tax identification
number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing
address is 1325 West Walnut Hill Lane, Irving, Texas 75038.

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duty to defend (or pay defense costs), or whether they are intended only to cover the duty to

indemnify. Hartford further objects to the extent that it would require the disclosure of attorney-

client communications, attorney work product or information subject to any other claim of

privilege to provide a response.

       Subject to the foregoing objections, Hartford states, with respect to each and every

Request: Denied. Hartford further states that Abuse Claims are not covered under some or

all of the insurance policies identified in the Requests because Hartford has paid its per

occurrence limits under each of the policies identified in the Requests, and Hartford Policy

No. 10 CA 43303 is subject to a general aggregate limit. Accordingly, each of the policies is

exhausted with respect to Abuse Claims. Hartford Policy No. 10 CA 43349 also does not

provide coverage to any of the identified local councils for Abuse Claims because Hartford’s

obligations under that policy with respect to Abuse Claims have been released pursuant to a

2011 settlement agreement between Hartford and Boy Scouts of America (“BSA”).

       In addition, the policies are subject to numerous limitations that restrict coverage for

some or all Abuse Claims. Each of the policies provides that it applies only to bodily injury

that occurs during the respective policy period. Each of the policies provides that it applies

only to bodily injury that arises from an “occurrence,” including the requirement that injury

must result from an accident that is neither expected nor intended from the standpoint of the

insured. Further, Hartford contends that it has no obligation to provide coverage under the

policies identified in the Requests because BSA has breached material terms of the policies,

including Hartford’s right and duty to defend suits against BSA, and BSA’s obligations of

cooperation and obtaining consent to any settlement, as set forth in pleadings that Hartford




                                                 2
has filed in this chapter 11 case and the complaint in the adversary proceeding that Hartford

has filed in this case.



 Dated: January 7, 2021                             RUGGERI PARKS WEINBERG LLP
 Washington, D.C.

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                                                    -and-

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                                                3
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4
EXHIBIT C-3
                        UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF DELAWARE

In re:                                               Chapter 11

BOY SCOUTS OF AMERICA AND                            Case No. 20-10410343 (LSS)
DELAWARE BSA, LLC,
                                                     Jointly Administered
                    Debtors.


   ZURICH INSURERS’ RESPONSES AND OBJECTIONS TO THE ROMAN
CATHOLIC AD HOC COMMITTEE’S REQUESTS FOR ADMISSION TO ZURICH

               American Zurich Insurance Company, American Guarantee and Liability

Insurance Company, and Steadfast Insurance Company (collectively, the “Zurich Insurers”),

hereby submit the following responses and objections to the Roman Catholic Ad Hoc

Committee’s Requests for Admission to Zurich (the “RFAs”).

                                     Preliminary Statement

               1.      These responses and objections are by the Zurich Insurers only. These

responses and objections are not by, and do not concern, any other party or entity.

               2.      The RFAs seek information that is not relevant to any issue properly

presented in the proceedings concerning whether to confirm the Plan, but instead are relevant, if

at all, only to insurance coverage disputes that are not at issue during the confirmation

proceedings. The Court has repeatedly stated that it will not try or resolve insurance coverage

disputes during the confirmation proceedings.

               3.      The Zurich Insurers have given the most complete responses they can at

this time. The Zurich Insurers reserve the right to amend and/or supplement these responses if

and to the extent they learn of additional or different information. In particular, and without

limiting the generality of the foregoing, the Zurich Insurers reserve the right to amend and/or
supplement their responses based on information learned as discovery and their own investigation

of the facts proceeds.

               4.        Capitalized terms not defined herein that are defined in Debtors’ Second

Modified Fifth Amended Chapter 11 Plan of Reorganization for Boy Scouts of America and

Delaware BSA LLC (the “Plan,” Dkt. No. 7832), have the meaning ascribed to them in the Plan.

                                        General Objections

               The Zurich Insurers object generally to each and every RFA on the following

grounds. These General Objections are set forth here to avoid excessive duplication, and are

incorporated by reference into each and every one of the Zurich Insurers’ responses herein.

               1.        The Zurich Insurers object to each RFA to the extent it seeks information

protected by the attorney-client privilege, the attorney work-product rule, or any other judicially-

recognized privilege or protection. In responding to these RFAs, the Zurich Insurers do not

waive or intend to waive, but rather intend to preserve and are preserving, all of their rights

under the attorney-client privilege, the attorney work-product rule, and every other judicially

recognized privilege or protection with respect to all information and documents subject

thereto. Confidential, privileged, or protected information that may be responsive to a particular

RFA is not provided in these responses and will not be provided in future responses.

               2.        The Zurich Insurers’ responses to the RFAs are and will be based upon

information available to the Zurich Insurers after reasonable and diligent investigation, including

but not limited to a diligent search of records considered reasonably likely to contain

information responsive to these RFAs. However, the Zurich Insurers have not searched, and

will not search, each and every record in their possession, custody, or control, and have not

interviewed, and will not interview, all of their current and former employees, as such an



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investigation would be unreasonable, burdensome, harassing, and oppressive under the

circumstances, and not proportional to the needs of the case. To the extent the RFAs purport

to require the Zurich Insurers to conduct more than a reasonable and diligent investigation such

as described above, the Zurich Insurers object that they are overbroad, unduly burdensome,

harassing, and oppressive.

               3.      The Zurich Insurers object to each RFA to the extent it seeks to impose

burdens and obligations exceeding those imposed by the Federal Rules of Civil Procedure, the

Federal Rules of Bankruptcy Procedure, or the Local Rules of this Court. The Zurich Insurers

will respond to these RFAs in accordance with the requirements of the aforementioned Rules,

subject to all applicable objections and protections.

               4.      The Zurich Insurers object to each RFA as overbroad, unduly

burdensome, harassing, oppressive, and not proportional to the needs of the case to the extent it

seeks information that is not reasonably available to the Zurich Insurers or within their

possession, custody, or control.

               5.      The Zurich Insurers object to each RFA to the extent it seeks information

concerning legal contentions or seeks disclosure of the mental impressions, opinions,

conclusions, or legal theories of the Zurich Insurers, or their counsel or other representatives.

               6.      The Zurich Insurers object to each RFA on the basis that it seeks

information concerning insurance policies for which the Zurich Insurers are not responsible.

Zurich American Insurance Company, via an affiliate (collectively, “Zurich”) has entered into a

transaction with a subsidiary of Enstar Group Limited (“Enstar”) to reinsure, via a loss portfolio

transfer, the remaining liabilities of certain of Zurich’s discontinued United States insurance

portfolios. This includes all of the policies listed in the 27 below RFAs served by Roman



                                                -3-
Catholic Ad Hoc Committee. Because the Zurich Insurers do not have responsibility for any of

the policies inquired about in the RFAs, requiring the Zurich Insurers to evaluate and assess the

coverage obligations under such policies, if any, would be unduly burdensome, harassing,

oppressive, and not proportional to the needs of the case to the extent it seeks information that

is not reasonably available to the Zurich Insurers, not within their possession, custody, or

control, and not binding on the entity or entities that has obligations under those policies.

               7.      In providing these responses, the Zurich Insurers do not waive or intend

to waive, but rather intend to preserve and are preserving, each of the following: (a) all

objections to competency, relevancy, materiality, authenticity, and admissibility of any

information, including, but not limited to, information provided herein and any documents

produced in response to the RFAs; (b) all rights to object on any ground to the use, in any

proceedings, in this bankruptcy case or otherwise, of any information, including, but not limited

to, information provided herein and documents produced in response to the RFAs; and (c) all

rights to object on any grounds to any further requests for admission, interrogatories, requests

for production, or other discovery requests.

               8.      These General Objections are applicable to and incorporated into each of

the Zurich Insurers’ responses below, as if specifically stated therein. The stating of specific

objections to a particular RFA shall not be construed as a waiver of the Zurich Insurers’ General

Objections.

                       Specific Objections and Responses to Requests

               The Zurich Insurers incorporate the foregoing General Objections into each of

the following responses to individual RFAs, and into each amendment, supplement, or

modification to these responses that the Zurich Insurers may later provide. By making these



                                                -4-
separate responses, the Zurich Insurers do not waive or intend to waive any of their General

Objections, but rather intend to preserve and assert, and are preserving and asserting, each of

their General Objections.

REQUEST NO. 1:

                For Policy # 05-829567 issued to Alamo Area (583): Alamo Area (583) Local

Council and effective 1/1/1968 to 1/1/1969, admit that Abuse Claims against insureds and co-

insureds are covered under the policy.

                Response to Request No. 1:

                The Zurich Insurers incorporate by reference their General Objections as if

stated here in full.

                Subject to, and without waiving any of the foregoing objections, the Zurich

Insurers state that they lack sufficient knowledge or information, based on a reasonable inquiry,

to admit or deny this RFA.

REQUEST NO. 2:

                For Policy # Unknown issued to Atlanta Area (092): Atlanta Area (092) Local

Council and effective 1/1/1970 to 1/1/1971, admit that Abuse Claims against insureds and co-

insureds are covered under the policy.

                Response to Request No. 2:

                The Zurich Insurers incorporate by reference their General Objections as if

stated here in full.

                Subject to, and without waiving any of the foregoing objections, the Zurich

Insurers state that they lack sufficient knowledge or information, based on a reasonable inquiry,

to admit or deny this RFA.



                                               -5-
REQUEST NO. 3:

                For Policy # Unknown issued to Atlanta Area (092): Atlanta Area (092) Local

Council and effective 1/1/1971 to 1/1/1972, admit that Abuse Claims against insureds and co-

insureds are covered under the policy.

                Response to Request No. 3:

                The Zurich Insurers incorporate by reference their General Objections as if

stated here in full.

                Subject to, and without waiving any of the foregoing objections, the Zurich

Insurers state that they lack sufficient knowledge or information, based on a reasonable inquiry,

to admit or deny this RFA.

REQUEST NO. 4:

                For Policy # Unknown issued to Atlanta Area (092): Atlanta Area (092) Local

Council and effective 1/1/1972 to 1/1/1973, admit that Abuse Claims against insureds and co-

insureds are covered under the policy.

                Response to Request No. 4:

                The Zurich Insurers incorporate by reference their General Objections as if

stated here in full.

                Subject to, and without waiving any of the foregoing objections, the Zurich

Insurers state that they lack sufficient knowledge or information, based on a reasonable inquiry,

to admit or deny this RFA.

REQUEST NO. 5:

                For Policy # Unknown issued to Atlanta Area (092): Atlanta Area (092) Local

Council and effective 1/1/1973 to 1/1/1974, admit that Abuse Claims against insureds and co-



                                               -6-
insureds are covered under the policy.

                Response to Request No. 5:

                The Zurich Insurers incorporate by reference their General Objections as if

stated here in full.

                Subject to, and without waiving any of the foregoing objections, the Zurich

Insurers state that they lack sufficient knowledge or information, based on a reasonable inquiry,

to admit or deny this RFA.

REQUEST NO. 6:

                For Policy # Unknown issued to Atlanta Area (092): Atlanta Area (092) Local

Council and effective 1/1/1974 to 1/1/1975, admit that Abuse Claims against insureds and co-

insureds are covered under the policy.

                Response to Request No. 6:

                The Zurich Insurers incorporate by reference their General Objections as if

stated here in full.

                Subject to, and without waiving any of the foregoing objections, the Zurich

Insurers state that they lack sufficient knowledge or information, based on a reasonable inquiry,

to admit or deny this RFA.

REQUEST NO. 7:

                For Policy # Unknown issued to Atlanta Area (092): Atlanta Area (092) Local

Council and effective 1/1/1974 to 1/1/1975, admit that Abuse Claims against insureds and co-

insureds are covered under the policy.

                Response to Request No. 7:

                The Zurich Insurers incorporate by reference their General Objections as if



                                               -7-
stated here in full. In addition to their general objections, the Zurich Insurers object to this

Request for Admission on the ground that it is duplicative of Request No. 6.

                Subject to, and without waiving any of the foregoing objections, the Zurich

Insurers state that they lack sufficient knowledge or information, based on a reasonable inquiry,

to admit or deny this RFA.

REQUEST NO. 8:

                For Policy #36307295 issued to Cascade Pacific (492): Columbia Pacific 1966-

1993 (492) Local Council and effective 7/1/1975 to 7/1/1976, admit that Abuse Claims against

insureds and co-insureds are covered under the policy.

                Response to Request No. 8:

                The Zurich Insurers incorporate by reference their General Objections as if

stated here in full.

                Subject to, and without waiving any of the foregoing objections, the Zurich

Insurers state that they lack sufficient knowledge or information, based on a reasonable inquiry,

to admit or deny this RFA.

REQUEST NO. 9:

                For Policy #3830-72-95 issued to Cascade Pacific (492): Columbia Pacific 1966-

1993 (492) Local Council and effective 7/1/1975 to 7/1/1976, admit that Abuse Claims against

insureds and co-insureds are covered under the policy.

                Response to Request No. 9:

                The Zurich Insurers incorporate by reference their General Objections as if

stated here in full.

                Subject to, and without waiving any of the foregoing objections, the Zurich



                                                -8-
Insurers state that they lack sufficient knowledge or information, based on a reasonable inquiry,

to admit or deny this RFA.

REQUEST NO. 10:

                For Policy #3830-72-95 issued to Cascade Pacific (492): Columbia Pacific 1966-

1993 (492) Local Council and effective 7/1/1976 to 7/1/1977, admit that Abuse Claims against

insureds and co-insureds are covered under the policy.

                Response to Request No. 10:

                The Zurich Insurers incorporate by reference their General Objections as if

stated here in full.

                Subject to, and without waiving any of the foregoing objections, the Zurich

Insurers state that they lack sufficient knowledge or information, based on a reasonable inquiry,

to admit or deny this RFA.

REQUEST NO. 11:

                For Policy #36307295 issued to Cascade Pacific (492): Columbia Pacific 1966-

1993 (492) Local Council and effective 7/1/1976 to 7/1/1977, admit that Abuse Claims against

insureds and co-insureds are covered under the policy.

                Response to Request No. 11:

                The Zurich Insurers incorporate by reference their General Objections as if

stated here in full.

                Subject to, and without waiving any of the foregoing objections, the Zurich

Insurers state that they lack sufficient knowledge or information, based on a reasonable inquiry,

to admit or deny this RFA.




                                               -9-
REQUEST NO. 12:

                For Policy #36307295 issued to Cascade Pacific (492): Columbia Pacific 1966-

1993 (492) Local Council and effective 7/1/1977 to 1/1/1978, admit that Abuse Claims against

insureds and co-insureds are covered under the policy.

                Response to Request No. 12:

                The Zurich Insurers incorporate by reference their General Objections as if

stated here in full.

                Subject to, and without waiving any of the foregoing objections, the Zurich

Insurers state that they lack sufficient knowledge or information, based on a reasonable inquiry,

to admit or deny this RFA.

REQUEST NO. 13:

                For Policy #3830-72-95 issued to Cascade Pacific (492): Columbia Pacific 1966-

1993 (492) Local Council and effective 7/1/1977 to 7/1/1978, admit that Abuse Claims against

insureds and co-insureds are covered under the policy.

                Response to Request No. 13:

                The Zurich Insurers incorporate by reference their General Objections as if

stated here in full.

                Subject to, and without waiving any of the foregoing objections, the Zurich

Insurers state that they lack sufficient knowledge or information, based on a reasonable inquiry,

to admit or deny this RFA.

REQUEST NO. 14:

                For Policy #96-224611 issued to Chickasaw (558): Chickasaw 1916- (558) Local

Council and effective 1/1/1963 to 1/1/1964, admit that Abuse Claims against insureds and co-



                                              - 10 -
insureds are covered under the policy.

                Response to Request No. 14:

                The Zurich Insurers incorporate by reference their General Objections as if

stated here in full.

                Subject to, and without waiving any of the foregoing objections, the Zurich

Insurers state that they lack sufficient knowledge or information, based on a reasonable inquiry,

to admit or deny this RFA.

REQUEST NO. 15:

                For Policy #Unknown issued to Chickasaw (558): Chickasaw 1916- (558) Local

Council and effective 1/1/1964 to 1/1/1965, admit that Abuse Claims against insureds and co-

insureds are covered under the policy.

                Response to Request No. 15:

                The Zurich Insurers incorporate by reference their General Objections as if

stated here in full.

                Subject to, and without waiving any of the foregoing objections, the Zurich

Insurers state that they lack sufficient knowledge or information, based on a reasonable inquiry,

to admit or deny this RFA.

REQUEST NO. 16:

                For Policy # Unknown issued to Chickasaw (558): Chickasaw 1916- (558) Local

Council and effective 1/1/1965 to 8/1/1965, admit that Abuse Claims against insureds and co-

insureds are covered under the policy.

                Response to Request No. 16:

                The Zurich Insurers incorporate by reference their General Objections as if



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stated here in full.

                Subject to, and without waiving any of the foregoing objections, the Zurich

Insurers state that they lack sufficient knowledge or information, based on a reasonable inquiry,

to admit or deny this RFA.

REQUEST NO. 17:

                For Policy # Unknown issued to Circle Ten (571): Circle Ten 1913- (571) Local

Council and effective 1/1/1975 to 1/1/1976, admit that Abuse Claims against insureds and co-

insureds are covered under the policy.

                Response to Request No. 17:

                The Zurich Insurers incorporate by reference their General Objections as if

stated here in full.

                Subject to, and without waiving any of the foregoing objections, the Zurich

Insurers state that they lack sufficient knowledge or information, based on a reasonable inquiry,

to admit or deny this RFA.

REQUEST NO. 18:

                For Policy # Unknown issued to Mason-Dixon (221): Mason-Dixon 1956- (221)

Local Council and effective 1/1/1974 to 1/1/1975, admit that Abuse Claims against insureds

and co-insureds are covered under the policy.

                Response to Request No. 18:

                The Zurich Insurers incorporate by reference their General Objections as if

stated here in full.

                Subject to, and without waiving any of the foregoing objections, the Zurich

Insurers state that they lack sufficient knowledge or information, based on a reasonable inquiry,



                                                - 12 -
to admit or deny this RFA.

REQUEST NO. 19:

                For Policy # Unknown issued to Mason-Dixon (221): Mason-Dixon 1956- (221)

Local Council and effective 1/1/1975 to 1/1/1976, admit that Abuse Claims against insureds

and co-insureds are covered under the policy.

                Response to Request No. 19:

                The Zurich Insurers incorporate by reference their General Objections as if

stated here in full.

                Subject to, and without waiving any of the foregoing objections, the Zurich

Insurers state that they lack sufficient knowledge or information, based on a reasonable inquiry,

to admit or deny this RFA.

REQUEST NO. 20:

                For Policy # Unknown issued to Mason-Dixon (221): Mason-Dixon 1956- (221)

Local Council and effective 1/1/1976 to 1/1/1977, admit that Abuse Claims against insureds

and co-insureds are covered under the policy.

                Response to Request No. 20:

                The Zurich Insurers incorporate by reference their General Objections as if

stated here in full.

                Subject to, and without waiving any of the foregoing objections, the Zurich

Insurers state that they lack sufficient knowledge or information, based on a reasonable inquiry,

to admit or deny this RFA.

REQUEST NO. 21:

                For Policy # Unknown issued to Mason-Dixon (221): Mason-Dixon 1956- (221)



                                                - 13 -
Local Council and effective 7/24/1977 to 7/24/1978, admit that Abuse Claims against insureds

and co-insureds are covered under the policy.

                Response to Request No. 21:

                The Zurich Insurers incorporate by reference their General Objections as if

stated here in full.

                Subject to, and without waiving any of the foregoing objections, the Zurich

Insurers state that they lack sufficient knowledge or information, based on a reasonable inquiry,

to admit or deny this RFA.

REQUEST NO. 22:

                For Policy # Unknown issued to Mason-Dixon (221): Mason-Dixon 1956- (221)

Local Council and effective 7/24/1978 to 7/24/1979, admit that Abuse Claims against insureds

and co-insureds are covered under the policy.

                Response to Request No. 22:

                The Zurich Insurers incorporate by reference their General Objections as if

stated here in full.

                Subject to, and without waiving any of the foregoing objections, the Zurich

Insurers state that they lack sufficient knowledge or information, based on a reasonable inquiry,

to admit or deny this RFA.

REQUEST NO. 23:

                For Policy # Unknown issued to Mason-Dixon (221): Mason-Dixon 1956- (221)

Local Council and effective 7/24/1979 to 7/24/1980, admit that Abuse Claims against insureds

and co-insureds are covered under the policy.




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                Response to Request No. 23:

                The Zurich Insurers incorporate by reference their General Objections as if

stated here in full.

                Subject to, and without waiving any of the foregoing objections, the Zurich

Insurers state that they lack sufficient knowledge or information, based on a reasonable inquiry,

to admit or deny this RFA.

REQUEST NO. 24:

                For Policy # 31-086767 issued to Northeast Iowa (178): Northeast Iowa (178)

Local Council and effective 7/7/1957 to 7/7/1958, admit that Abuse Claims against insureds

and co-insureds are covered under the policy.

                Response to Request No. 24:

                The Zurich Insurers incorporate by reference their General Objections as if

stated here in full.

                Subject to, and without waiving any of the foregoing objections, the Zurich

Insurers state that they lack sufficient knowledge or information, based on a reasonable inquiry,

to admit or deny this RFA.

REQUEST NO. 25:

                For Policy # Unknown issued to Northeast Iowa (178): Northeast Iowa (178)

Local Council and effective 7/1/1958 to 7/1/1959, admit that Abuse Claims against insureds

and co-insureds are covered under the policy.

                Response to Request No. 25:

                The Zurich Insurers incorporate by reference their General Objections as if

stated here in full.



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                Subject to, and without waiving any of the foregoing objections, the Zurich

Insurers state that they lack sufficient knowledge or information, based on a reasonable inquiry,

to admit or deny this RFA.

REQUEST NO. 26:

                For Policy # Unknown issued to Washington Crossing (777): Bucks County

1927-2015 (777) Local Council and effective 3/1/1977 to 1/1/1978, admit that Abuse Claims

against insureds and co-insureds are covered under the policy.

                Response to Request No. 26:

                The Zurich Insurers incorporate by reference their General Objections as if

stated here in full.

                Subject to, and without waiving any of the foregoing objections, the Zurich

Insurers state that they lack sufficient knowledge or information, based on a reasonable inquiry,

to admit or deny this RFA.

REQUEST NO. 27:

                For Policy # 80-39-959 issued to Western Los Angeles County (051): San

Fernando Valley 1923-1972 (050) Local Council and effective 7/19/1960 to 7/19/1961, admit

that Abuse Claims against insureds and co-insureds are covered under the policy.

                Response to Request No. 27:

                The Zurich Insurers incorporate by reference their General Objections as if

stated here in full.

                Subject to, and without waiving any of the foregoing objections, the Zurich

Insurers state that they lack sufficient knowledge or information, based on a reasonable inquiry,

to admit or deny this RFA.



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DATED: January 7, 2022


                              /s/ Robert D. Cecil, Jr.
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                             Company

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                        UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF DELAWARE

In re:                                               Chapter 11

BOY SCOUTS OF AMERICA AND                            Case No. 20-10410343 (LSS)
DELAWARE BSA, LLC,
                                                     Jointly Administered
                    Debtors.


     ZURICH INSURERS’ RESPONSES AND OBJECTIONS TO THE ROMAN
     CATHOLIC AD HOC COMMITTEE’S SUPPLEMENTAL REQUEST FOR
                       ADMISSION TO ZURICH

               American Zurich Insurance Company, American Guarantee and Liability

Insurance Company, and Steadfast Insurance Company (collectively, the “Zurich Insurers”),

hereby submit the following responses and objections to the Roman Catholic Ad Hoc

Committee’s Supplemental Request for Admission to Zurich Insurers (the “RFAs”).

                                     Preliminary Statement

               1.      These responses and objections are by the Zurich Insurers only. These

responses and objections are not by, and do not concern, any other party or entity.

               2.      The RFAs seek information that is not relevant to any issue properly

presented in the proceedings concerning whether to confirm the Plan, but instead are relevant, if

at all, only to insurance coverage disputes that are not at issue during the confirmation

proceedings. The Court has repeatedly stated that it will not try or resolve insurance coverage

disputes during the confirmation proceedings.

               3.      The Zurich Insurers have given the most complete responses they can at

this time. The Zurich Insurers reserve the right to amend and/or supplement these responses if

and to the extent they learn of additional or different information. In particular, and without

limiting the generality of the foregoing, the Zurich Insurers reserve the right to amend and/or
supplement their responses based on information learned as discovery and their own investigation

of the facts proceeds.

               4.        Capitalized terms not defined herein that are defined in Debtors’ Second

Modified Fifth Amended Chapter 11 Plan of Reorganization for Boy Scouts of America and

Delaware BSA LLC (the “Plan,” Dkt. No. 7832), have the meaning ascribed to them in the Plan.

                                        General Objections

               The Zurich Insurers object generally to each and every RFA on the following

grounds. These General Objections are set forth here to avoid excessive duplication, and are

incorporated by reference into each and every one of the Zurich Insurers’ responses herein.

               1.        The Zurich Insurers object to each RFA to the extent it seeks information

protected by the attorney-client privilege, the attorney work-product rule, or any other judicially-

recognized privilege or protection. In responding to these RFAs, the Zurich Insurers do not

waive or intend to waive, but rather intend to preserve and are preserving, all of their rights

under the attorney-client privilege, the attorney work-product rule, and every other judicially

recognized privilege or protection with respect to all information and documents subject

thereto. Confidential, privileged, or protected information that may be responsive to a particular

RFA is not provided in these responses and will not be provided in future responses.

               2.        The Zurich Insurers’ responses to the RFAs are and will be based upon

information available to the Zurich Insurers after reasonable and diligent investigation, including

but not limited to a diligent search of records considered reasonably likely to contain

information responsive to these RFAs. However, the Zurich Insurers have not searched, and

will not search, each and every record in their possession, custody, or control, and have not

interviewed, and will not interview, all of their current and former employees, as such an

investigation would be unreasonable, burdensome, harassing, and oppressive under the

                                                -2-
circumstances, and not proportional to the needs of the case. To the extent the RFAs purport

to require the Zurich Insurers to conduct more than a reasonable and diligent investigation such

as described above, the Zurich Insurers object that they are overbroad, unduly burdensome,

harassing, and oppressive.

               3.      The Zurich Insurers object to each RFA to the extent it seeks to impose

burdens and obligations exceeding those imposed by the Federal Rules of Civil Procedure, the

Federal Rules of Bankruptcy Procedure, or the Local Rules of this Court. The Zurich Insurers

will respond to these RFAs in accordance with the requirements of the aforementioned Rules,

subject to all applicable objections and protections.

               4.      The Zurich Insurers object to each RFA as unduly burdensome,

harassing, oppressive, and not proportional to the needs of the case to the extent it seeks

information that is not reasonably available to the Zurich Insurers or within their possession,

custody, or control.

               5.      The Zurich Insurers object to each RFA as vague, ambiguous and

overbroad. Each RFA asks the Zurich Insurers to “admit that Abuse Claims against insureds

and co-insureds are covered” under a particular policy. These RFAs are vague and ambiguous

as to which Abuse Claims are referred to in these requests. Moreover, whether a specific Abuse

Claim is or may be covered under a particular policy requires information about the specific

Abuse Claims that is not provided by the RFAs. It is not possible for the Zurich Insurers to

admit or deny these RFAs without knowing the particular details of each Abuse Claim that is

being inquired about. Further, these RFAs are overbroad, because as written, they refer to all

Abuse Claims. The Zurich Insurers are unable to admit or deny that all Abuse Claims are

covered under a particular policy because each particular Abuse Claim has a different set of facts

that would determine whether that Abuse Claim would or might be “covered” under a policy

                                                -3-
issued by the Zurich Insurers. Thus, the Zurich Insurers lack sufficient knowledge or

information, based on a reasonable inquiry, to admit or deny whether “Abuse Claims against

insureds and co-insureds are covered” under the policies referred to in these RFAs.

               6.      The Zurich Insurers object to each RFA to the extent it seeks information

concerning legal contentions or seeks disclosure of the mental impressions, opinions,

conclusions, or legal theories of the Zurich Insurers, or their counsel or other representatives.

               7.      The Zurich Insurers object to each RFA on the basis that it untimely.

These RFAs were served on the Zurich Insurers on January 5, 2021 – after the December 29,

2021 deadline set by the Court in its scheduling order for parties to serve written discovery

regarding settlements. See Dkt No. 7996. Nothing in the scheduling order authorizes the

service of so-called “supplemental” RFAs. Requiring the Zurich Insurers to respond to these

untimely RFAs is unduly burdensome, harassing, and oppressive.

               8.      In providing these responses, the Zurich Insurers do not waive or intend

to waive, but rather intend to preserve and are preserving, each of the following: (a) all

objections to competency, relevancy, materiality, authenticity, and admissibility of any

information, including, but not limited to, information provided herein and any documents

produced in response to the RFAs; (b) all rights to object on any ground to the use, in any

proceedings, in this bankruptcy case or otherwise, of any information, including, but not limited

to, information provided herein and documents produced in response to the RFAs; and (c) all

rights to object on any grounds to any further requests for admission, interrogatories, requests

for production, or other discovery requests.

               9.      These General Objections are applicable to and incorporated into each of

the Zurich Insurers’ responses below, as if specifically stated therein. The stating of specific

objections to a particular RFA shall not be construed as a waiver of the Zurich Insurers’ General

                                                -4-
Objections.

                       Specific Objections and Responses to Requests

                The Zurich Insurers incorporate the foregoing General Objections into each of

the following responses to individual RFAs, and into each amendment, supplement, or

modification to these responses that the Zurich Insurers may later provide. By making these

separate responses, the Zurich Insurers do not waive or intend to waive any of their General

Objections, but rather intend to preserve and assert, and are preserving and asserting, each of

their General Objections.

REQUEST NO. 28:

                For Policy # CEO 637178-00 issued to the Debtors effective March 1, 1989 -

March 1, 1990 admit that Abuse Claims against insureds and co-insureds are covered under the

policy.

                Response to Request No. 28:

                The Zurich Insurers incorporate by reference their General Objections as if

stated here in full.

                Subject to, and without waiving any of the foregoing objections, the Zurich

Insurers state that they lack sufficient knowledge or information, based on a reasonable inquiry,

to admit or deny this RFA.

REQUEST NO. 29:

                For Policy # AUO 3657270-00 issued to the Debtors effective March 1, 1996 -

March 1, 1997 admit that Abuse Claims against insureds and co-insureds are covered under the

policy.

                Response to Request No. 29:

                The Zurich Insurers incorporate by reference their General Objections as if

                                               -5-
stated here in full.

                Subject to, and without waiving any of the foregoing objections, the Zurich

Insurers state that they lack sufficient knowledge or information, based on a reasonable inquiry,

to admit or deny this RFA.

REQUEST NO. 30:

                For Policy # AUO 3657270-01 issued to the Debtors effective March 1, 1997 -

March 1, 1998 admit that Abuse Claims against insureds and co-insureds are covered under the

policy.

                Response to Request No. 30:

                The Zurich Insurers incorporate by reference their General Objections as if

stated here in full.

                Subject to, and without waiving any of the foregoing objections, the Zurich

Insurers state that they lack sufficient knowledge or information, based on a reasonable inquiry,

to admit or deny this RFA.

REQUEST NO. 31:

                For Policy # EUO 3657270-02 issued to the Debtors effective March 1, 1998 -

March 1, 1999, admit that Abuse Claims against insureds and co-insureds are covered under the

policy.

                Response to Request No. 31:

                The Zurich Insurers incorporate by reference their General Objections as if

stated here in full.

                Subject to, and without waiving any of the foregoing objections, the Zurich

Insurers state that they lack sufficient knowledge or information, based on a reasonable inquiry,

to admit or deny this RFA.

                                               -6-
REQUEST NO. 32:

                For Policy # EUO 3657270-03 issued to the Debtors effective March 1, 1999 -

March 1, 2001 admit that Abuse Claims against insureds and co-insureds are covered under the

policy.

                Response to Request No. 32:

                The Zurich Insurers incorporate by reference their General Objections as if

stated here in full.

                Subject to, and without waiving any of the foregoing objections, the Zurich

Insurers state that they lack sufficient knowledge or information, based on a reasonable inquiry,

to admit or deny this RFA.

REQUEST NO. 33:

                For Policy # AEC 3657270-04 issued to the Debtors effective March 1, 2001 -

March 1, 2002, admit that Abuse Claims against insureds and co-insureds are covered under the

policy.

                Response to Request No. 33:

                The Zurich Insurers incorporate by reference their General Objections as if

stated here in full.

                Subject to, and without waiving any of the foregoing objections, the Zurich

Insurers state that they lack sufficient knowledge or information, based on a reasonable inquiry,

to admit or deny this RFA.

REQUEST NO. 34:

                For Policy # AEC 9278457-00 issued to the Debtors effective March 1, 2001 -

March 1, 2002, admit that Abuse Claims against insureds and co-insureds are covered under the

policy.

                                               -7-
                Response to Request No. 34:

                The Zurich Insurers incorporate by reference their General Objections as if

stated here in full.

                Subject to, and without waiving any of the foregoing objections, the Zurich

Insurers state that they lack sufficient knowledge or information, based on a reasonable inquiry,

to admit or deny this RFA.

REQUEST NO. 35:

                For Policy # AEC 3657270-05 issued to the Debtors effective March 1, 2002 -

March 1, 2003 admit that Abuse Claims against insureds and co-insureds are covered under the

policy.

                Response to Request No. 35:

                The Zurich Insurers incorporate by reference their General Objections as if

stated here in full.

                Subject to, and without waiving any of the foregoing objections, the Zurich

Insurers state that they lack sufficient knowledge or information, based on a reasonable inquiry,

to admit or deny this RFA.

REQUEST NO. 36:

                For Policy # AEC 9278457-01 issued to the Debtors effective March 1, 2002 -

March 1, 2003 admit that Abuse Claims against insureds and co-insureds are covered under the

policy.

                Response to Request No. 36:

                The Zurich Insurers incorporate by reference their General Objections as if

stated here in full.

                Subject to, and without waiving any of the foregoing objections, the Zurich

                                               -8-
Insurers state that they lack sufficient knowledge or information, based on a reasonable inquiry,

to admit or deny this RFA.

REQUEST NO. 37:

                For Policy # AEC 3657270-06 issued to the Debtors effective March 1, 2003 -

March 1, 2004 admit that Abuse Claims against insureds and co-insureds are covered under the

policy.

                Response to Request No. 37:

                The Zurich Insurers incorporate by reference their General Objections as if

stated here in full.

                Subject to, and without waiving any of the foregoing objections, the Zurich

Insurers state that they lack sufficient knowledge or information, based on a reasonable inquiry,

to admit or deny this RFA.

REQUEST NO. 38:

                For Policy # AEC 9278457-02 issued to the Debtors effective March 1, 2003 -

March 1, 2004 admit that Abuse Claims against insureds and co-insureds are covered under the

policy.

                Response to Request No. 38:

                The Zurich Insurers incorporate by reference their General Objections as if

stated here in full.

                Subject to, and without waiving any of the foregoing objections, the Zurich

Insurers state that they lack sufficient knowledge or information, based on a reasonable inquiry,

to admit or deny this RFA.

REQUEST NO. 39:

                For Policy # AEC 3657270-07 issued to the Debtors effective March 1, 2004 -

                                               -9-
March 1, 2005 admit that Abuse Claims against insureds and co-insureds are covered under the

policy.

                Response to Request No. 39:

                The Zurich Insurers incorporate by reference their General Objections as if

stated here in full.

                Subject to, and without waiving any of the foregoing objections, the Zurich

Insurers state that they lack sufficient knowledge or information, based on a reasonable inquiry,

to admit or deny this RFA.

REQUEST NO. 40:

                For Policy # AEC 9278457-03 issued to the Debtor and effective March 1, 2004

- March 1, 2005 admit that Abuse Claims against insureds and co-insureds are covered under the

policy.

                Response to Request No. 40:

                The Zurich Insurers incorporate by reference their General Objections as if

stated here in full.

                Subject to, and without waiving any of the foregoing objections, the Zurich

Insurers state that they lack sufficient knowledge or information, based on a reasonable inquiry,

to admit or deny this RFA.

REQUEST NO. 41:

                For Policy # AEC 3657270-08 issued to the Debtors effective March 1, 2005 -

March 1, 2006 admit that Abuse Claims against insureds and co-insureds are covered under the

policy.

                Response to Request No. 41:

                The Zurich Insurers incorporate by reference their General Objections as if

                                              - 10 -
stated here in full.

                Subject to, and without waiving any of the foregoing objections, the Zurich

Insurers state that they lack sufficient knowledge or information, based on a reasonable inquiry,

to admit or deny this RFA.

REQUEST NO. 42:

                For Policy # AEC 3657270-09 issued to the Debtors effective March 1, 2006 -

March 1, 2007 admit that Abuse Claims against insureds and co-insureds are covered under the

policy.

                Response to Request No. 42:

                The Zurich Insurers incorporate by reference their General Objections as if

stated here in full.

                Subject to, and without waiving any of the foregoing objections, the Zurich

Insurers state that they lack sufficient knowledge or information, based on a reasonable inquiry,

to admit or deny this RFA.

DATED: January 12, 2022


                                                   /s/ Robert D. Cecil, Jr.
                                                  Robert D. Cecil, Jr.
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                                              - 11 -
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906445057




            - 12 -
EXHIBIT C-4
                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


    In re:                                                Chapter 11

    BOY SCOUTS OF AMERICA AND                             Case No. 20-10343 (LSS)
    DELAWARE BSA, LLC, 1
                                                          (Jointly Administered)
                            Debtors.



 DEBTORS’ OBJECTIONS AND RESPONSES TO THE ROMAN CATHOLIC AD HOC
       COMMITTEE’S REQUESTS FOR ADMISSION TO THE DEBTORS

             Pursuant to Federal Rules of Civil Procedure 26 and 36, made applicable to this matter by

Federal Rules of Bankruptcy Procedure 7001, 9014, 7026 and 7036, and pursuant to the Local

Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the District

of Delaware, Boy Scouts of America (“BSA”) and Delaware BSA, LLC, the non-profit

corporations that are debtors and debtors in possession in the above-captioned chapter 11 case

(together, the “Debtors”), by and through their undersigned counsel, hereby submit their

Objections and Responses to the Roman Catholic Ad Hoc Committee’s (“RCAHC”) Requests for

Admissions to the Debtors (the “Requests”). The Debtors reserve the right to supplement or amend

these Objections and Responses to the extent permitted under the Federal Rules of Civil Procedure,

the Federal Rules of Bankruptcy Procedure, and the Local Rules of this Court (the “Rules”).

                            GENERAL OBJECTIONS AND RESPONSES
             The following general objections (“General Objections”) apply to each Definition,

Instruction, and Request for Admission, and shall have the same force and effect as if fully set

forth in the response to each individual Request for Admission. To the extent that the Debtors


1
    The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax
    identification number, are as follows: Boy Scouts of America (6300); and Delaware BSA, LLC (4311).
    The Debtors’ mailing address is 1325 W. Walnut Hill Ln., Irving, TX 75038.

DEBTORS’ OBJECTIONS AND RESPONSES TO THE ROMAN CATHOLIC AD HOC
COMMITTEE’S S FIRST SET OF REQUESTS FOR ADMISSION TO THE DEBTORS                                  PAGE 1
respond to a Request for Admission, the Debtors reserve all objections as to relevance, materiality,

competence, confidentiality, propriety, privilege, and admissibility, as well as to any and all other

objections on any ground that would require or permit the exclusion of the response, or any portion

of the response, if the response were offered into evidence. The Debtors object as follows:

       1.      Debtors object to each Request or Definition to the extent that it seeks to impose

any requirements or obligations on Debtors in addition to or different from those imposed by the

Federal Rules of Civil Procedure, the Federal Rules of Bankruptcy Procedure, the Local Rules of

this Court, and applicable orders of this Court, or any stipulation or agreement of the parties.

       2.      Debtors object to the Requests for Admission to the extent that they seek disclosure

of documents or information protected from disclosure by the attorney-client privilege, the work-

product doctrine, the mediation privilege, the common interest or joint defense privilege, or any

other protection, privilege or immunity against disclosure (collectively, “Privileged Materials”).

By responding and objecting to the Requests for Admission, the Debtors do not waive or intend to

waive their attorney-client privilege, joint or common interest privilege, mediation privilege or

any other applicable privilege, doctrine or immunity protecting their Privileged Materials from

disclosure. Accordingly, any response or objection inconsistent with the foregoing is wholly

inadvertent and shall not constitute a waiver of any such privilege, doctrine or immunity.

       3.      Debtors object to the Requests for Admission to the extent that they purport to

require the Debtors to conduct anything beyond a reasonable and diligent search for readily

accessible information.

       4.      The Debtors object to the Requests for Admission to the extent that they are

overbroad, unduly burdensome, vague, cumulative, duplicative, confusing, ambiguous, unlimited

in time or seek information that is outside the scope of discovery permitted by the Rules or any



DEBTORS’ OBJECTIONS AND RESPONSES TO THE ROMAN CATHOLIC AD HOC
COMMITTEE’S S FIRST SET OF REQUESTS FOR ADMISSION TO THE DEBTORS                             PAGE 2
other applicable rules or court orders.

        5.      Debtors object to the Requests to the extent that they are duplicative of other

discovery requests.

        6.      Debtors object to the Requests for Admission to the extent that they seek

information concerning matters that are not relevant to the claims or defenses of any party or are

disproportionate to the needs of the case.

        7.      Debtors object to the terms or phrases used in the Requests for Admission to the

extent that those terms and phrases are vague or ambiguous or beyond their customary meanings.

The Debtors have done their best to understand the terms in the Requests for Admission as used

in context, but the Debtors make their responses and objections based on their understanding of

such terms and they reserve the right to amend the responses and objections herein if RCAHC

asserts meanings of such terms that are different from those employed by the Debtors in making

their responses and objections.

        8.      Debtors object to the Requests for Admission to the extent that they contain any

factual or legal misrepresentation.

        9.      Debtors object to each Request to the extent that any request calls for a legal

conclusion, including but not limited to a question of policy or contract interpretation or other

coverage issues.

        10.     Debtors object to each Request to the extent it attempts to impute or imply

knowledge on the part of the Debtors beyond that contained in the Debtors’ responses herein.

        11.     Debtors object to the extent any Request seeks an opinion or response other than

those of the Debtors, including but not limited to other insurers, insured entities, or affiliate entities.




DEBTORS’ OBJECTIONS AND RESPONSES TO THE ROMAN CATHOLIC AD HOC
COMMITTEE’S S FIRST SET OF REQUESTS FOR ADMISSION TO THE DEBTORS                                   PAGE 3
       12.       No objection, response, or limitation, or lack thereof, made in response to these

Requests shall be deemed an admission or concession of relevance by Debtors as to the existence

or non-existence of any documents or information, or an admission of the truth or accuracy of any

characterization or assertion contained in the Requests for Admission. Debtors reserve the right

to seek exclusion of any response at trial and reserve all evidentiary objections, including without

limitation objections as to relevance.

       13.       Debtors’ discovery and investigation in connection with this case is continuing. As

a result, Debtors’ Objections and Responses are limited to information obtained and reviewed to

date and are given without prejudice to Debtors’ rights to amend or supplement these Objections

and Responses after considering information obtained or reviewed through further discovery or

investigation.

       14.       Debtors respond to each and every Request subject to the General Objections set

forth here. These limitations and objections form a part of the Response to each and every Request

and are set forth here to avoid duplication and repetition. These General Objections may be

specifically referred to in a Response to certain Requests for purposes of clarity. However, the

failure to specifically incorporate a General Objection is not to be construed as a waiver of the

general objection.

       15.       Subject to and without waiving any of the foregoing General Objections, which

Debtors incorporates into each response below as if fully set forth therein, Debtors respond

specifically to the Requests as follows:




DEBTORS’ OBJECTIONS AND RESPONSES TO THE ROMAN CATHOLIC AD HOC
COMMITTEE’S S FIRST SET OF REQUESTS FOR ADMISSION TO THE DEBTORS                            PAGE 4
                         SPECIFIC OBJECTIONS AND RESPONSES

Request for Admission Nos. 1-478

Responses to Request for Admission Nos. 1-478

       The Debtors object to the terms “insureds” and “co-insureds” as used in each Request

because they are vague, ambiguous, and undefined in these Requests or in the Modification Motion

or in the Debtors’ Second Modified Fifth Amended Plan of Reorganization (Dkt. 7832).

Additionally, numerous of the Debtors’ insurance policies have numerous co-insureds and, as

such, it is unclear what these Requests seek and whether they are relevant to the RCAHC. The

Debtors further object to each Request to the extent it calls for a legal conclusion, including but

not limited to a question of policy or contract interpretation or other coverage issues. Specifically,

each Request improperly seeks a legal conclusion regarding (i) whether each insurance policy

provides coverage for Abuse Claims and (ii) whether “insureds” and “co-insureds” are afforded

similar coverage. The Bankruptcy Court has repeatedly stated that these legal issues are irrelevant

to these Chapter 11 Cases, as they will be decided by a subsequent court (if at all), which will

evaluate and resolve these and other insurance-coverage disputes (if any). The Debtors also object

to Requests 1-478 as overly broad, unduly burdensome and disproportionate to the needs of the

case because they request that the Debtors admit whether Abuse Claims against any insured or co-

insured are covered by each of 478 policies, including policies for which no policy number has

been provided and for which coverage determinations may depend on incomplete policy

documents or secondary evidence. The Debtors also object to the Requests to the extent they are

untimely. The Debtors object to Requests 1-478 to the extent they purport to require the Debtors

to admit or deny facts that exceed the Debtors’ obligations under the Federal Rules of Civil

Procedure, the United States Bankruptcy Code, or the Court’s Local Rules.



DEBTORS’ OBJECTIONS AND RESPONSES TO THE ROMAN CATHOLIC AD HOC
COMMITTEE’S S FIRST SET OF REQUESTS FOR ADMISSION TO THE DEBTORS                              PAGE 5
       Subject to and without waiving the foregoing General and Specific Objections, as discussed

with the RCACH, the Debtors will produce a spreadsheet that summarizes whether the insurance

policies identified in Requests Nos. 1-478 provide coverage for: (1) Abuse Claims; and

(2) Chartered Organizations either via endorsement or within the definition of insureds. The

information provided on this spreadsheet is not intended to be, and shall not be construed as, an

admission as to any Request, and to the extent a response is required, the Requests are denied. The

Debtors reserve the right to amend, supplement, or change their responses and objections to

Requests 1-478, whether collectively or individually, as well as the spreadsheet described herein,

for any reason, including information learned in the course of further investigation and discovery.




DEBTORS’ OBJECTIONS AND RESPONSES TO THE ROMAN CATHOLIC AD HOC
COMMITTEE’S S FIRST SET OF REQUESTS FOR ADMISSION TO THE DEBTORS                           PAGE 6
Dated: January 7, 2022                MORRIS, NICHOLS, ARSHT & TUNNELL LLP
       Wilmington, Delaware
                                      /s/ Paige N. Topper
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                                      Andrew R. Remming (No. 5120)
                                      Paige N. Topper (No. 6470)
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                                                   – and –

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                                      Adrian Azer
                                      Carla Green
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                                              carla.green@haynesboone.com

                                      ATTORNEYS FOR THE DEFENDANTS, DEBTORS,
                                      AND DEBTORS IN POSSESSION




DEBTORS’ OBJECTIONS AND RESPONSES TO THE ROMAN CATHOLIC AD HOC
COMMITTEE’S S FIRST SET OF REQUESTS FOR ADMISSION TO THE DEBTORS             PAGE 7
                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


    In re:                                                Chapter 11

    BOY SCOUTS OF AMERICA AND                             Case No. 20-10343 (LSS)
    DELAWARE BSA, LLC,1
                                                          (Jointly Administered)
                            Debtors.


                DEBTORS’ SUPPLEMENTAL OBJECTIONS AND RESPONSES TO
                     THE ROMAN CATHOLIC AD HOC COMMITTEE’S
                      REQUESTS FOR ADMISSION TO THE DEBTORS

             Pursuant to Federal Rules of Civil Procedure 26 and 36, made applicable to this matter by

Federal Rules of Bankruptcy Procedure 7001, 9014, 7026 and 7036, and pursuant to the Local

Rules of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the District

of Delaware, Boy Scouts of America (“BSA”) and Delaware BSA, LLC, the non-profit

corporations that are debtors and debtors in possession in the above-captioned chapter 11 case

(together, the “Debtors”), by and through their undersigned counsel, hereby submit their

Supplemental Objections and Responses to the Roman Catholic Ad Hoc Committee’s (“RCAHC”)

Requests for Admissions to the Debtors (the “Requests”). The Debtors reserve the right to

supplement or amend these Objections and Responses to the extent permitted under the Federal

Rules of Civil Procedure, the Federal Rules of Bankruptcy Procedure, and the Local Rules of this

Court (the “Rules”).




1
    The Debtors in these Chapter 11 cases, together with the last four digits of each Debtor’s federal tax
    identification number, are as follows: Boy Scouts of America (6300); and Delaware BSA, LLC (4311).
    The Debtors’ mailing address is 1325 W. Walnut Hill Ln., Irving, TX 75038.


                                                                                                  PAGE 1
                          GENERAL OBJECTIONS AND RESPONSES
       The following general objections (“General Objections”) apply to each Definition,

Instruction, and Request for Admission, and shall have the same force and effect as if fully set

forth in the response to each individual Request for Admission. To the extent that the Debtors

respond to a Request for Admission, the Debtors reserve all objections as to relevance, materiality,

competence, confidentiality, propriety, privilege, and admissibility, as well as to any and all other

objections on any ground that would require or permit the exclusion of the response, or any portion

of the response, if the response were offered into evidence. The Debtors object as follows:

       1.      Debtors object to each Request or Definition to the extent that it seeks to impose

any requirements or obligations on Debtors in addition to or different from those imposed by the

Federal Rules of Civil Procedure, the Federal Rules of Bankruptcy Procedure, the Local Rules of

this Court, and applicable orders of this Court, or any stipulation or agreement of the parties.

       2.      Debtors object to the Requests for Admission to the extent that they seek disclosure

of documents or information protected from disclosure by the attorney-client privilege, the work-

product doctrine, the mediation privilege, the common interest or joint defense privilege, or any

other protection, privilege or immunity against disclosure (collectively, “Privileged Materials”).

By responding and objecting to the Requests for Admission, the Debtors do not waive or intend to

waive their attorney-client privilege, joint or common interest privilege, mediation privilege or

any other applicable privilege, doctrine or immunity protecting their Privileged Materials from

disclosure. Accordingly, any response or objection inconsistent with the foregoing is wholly

inadvertent and shall not constitute a waiver of any such privilege, doctrine or immunity.

       3.      Debtors object to the Requests for Admission to the extent that they purport to

require the Debtors to conduct anything beyond a reasonable and diligent search for readily

accessible information.


                                                                                             PAGE 2
       4.      The Debtors object to the Requests for Admission to the extent that they are

overbroad, unduly burdensome, vague, cumulative, duplicative, confusing, ambiguous, unlimited

in time or seek information that is outside the scope of discovery permitted by the Rules or any

other applicable rules or court orders.

       5.      Debtors object to the Requests to the extent that they are duplicative of other

discovery requests.

       6.      Debtors object to the Requests for Admission to the extent that they seek

information concerning matters that are not relevant to the claims or defenses of any party or are

disproportionate to the needs of the case.

       7.      Debtors object to the terms or phrases used in the Requests for Admission to the

extent that those terms and phrases are vague or ambiguous or beyond their customary meanings.

The Debtors have done their best to understand the terms in the Requests for Admission as used

in context, but the Debtors make their responses and objections based on their understanding of

such terms and they reserve the right to amend the responses and objections herein if RCAHC

asserts meanings of such terms that are different from those employed by the Debtors in making

their responses and objections.

       8.      Debtors object to the Requests for Admission to the extent that they contain any

factual or legal misrepresentation.

       9.      Debtors object to each Request to the extent that any request calls for a legal

conclusion, including but not limited to a question of policy or contract interpretation or other

coverage issues.

       10.     Debtors object to each Request to the extent it attempts to impute or imply

knowledge on the part of the Debtors beyond that contained in the Debtors’ responses herein.




                                                                                           PAGE 3
        11.      Debtors object to the extent any Request seeks an opinion or response other than

those of the Debtors, including but not limited to other insurers, insured entities, or affiliate entities.

        12.      No objection, response, or limitation, or lack thereof, made in response to these

Requests shall be deemed an admission or concession of relevance by Debtors as to the existence

or non-existence of any documents or information, or an admission of the truth or accuracy of any

characterization or assertion contained in the Requests for Admission. Debtors reserve the right

to seek exclusion of any response at trial and reserve all evidentiary objections, including without

limitation objections as to relevance.

        13.      Debtors’ discovery and investigation in connection with this case is continuing. As

a result, Debtors’ Objections and Responses are limited to information obtained and reviewed to

date and are given without prejudice to Debtors’ rights to amend or supplement these Objections

and Responses after considering information obtained or reviewed through further discovery or

investigation.

        14.      Debtors respond to each and every Request subject to the General Objections set

forth here. These limitations and objections form a part of the Response to each and every Request

and are set forth here to avoid duplication and repetition. These General Objections may be

specifically referred to in a Response to certain Requests for purposes of clarity. However, the

failure to specifically incorporate a General Objection is not to be construed as a waiver of the

general objection.

        15.      Subject to and without waiving any of the foregoing General Objections, which

Debtors incorporates into each response below as if fully set forth therein, Debtors respond

specifically to the Requests as follows:




                                                                                                   PAGE 4
                        SPECIFIC OBJECTIONS AND RESPONSES

Request for Admission Nos. 1-478

Responses to Request for Admission Nos. 1-478

       The Debtors object to the terms “insureds” and “co-insureds” as used in each Request

because they are vague, ambiguous, and undefined in these Requests or in the Modification Motion

or in the Debtors’ Second Modified Fifth Amended Plan of Reorganization (Dkt. 7832).

Additionally, numerous of the Debtors’ insurance policies have numerous co-insureds and, as

such, it is unclear what these Requests seek and whether they are relevant to the RCAHC. The

Debtors further object to each Request to the extent it calls for a legal conclusion, including but

not limited to a question of policy or contract interpretation or other coverage issues. Specifically,

each Request improperly seeks a legal conclusion regarding (i) whether each insurance policy

provides coverage for Abuse Claims and (ii) whether “insureds” and “co-insureds” are afforded

similar coverage. The Bankruptcy Court has repeatedly stated that these legal issues are irrelevant

to these Chapter 11 Cases, as they will be decided by a subsequent court (if at all), which will

evaluate and resolve these and other insurance-coverage disputes (if any). The Debtors also object

to Requests 1-478 as overly broad, unduly burdensome and disproportionate to the needs of the

case because they request that the Debtors admit whether Abuse Claims against any insured or co-

insured are covered by each of 478 policies, including policies for which no policy number has

been provided and for which coverage determinations may depend on incomplete policy

documents or secondary evidence. The Debtors also object to the Requests to the extent they are

untimely. The Debtors object to Requests 1-478 to the extent they purport to require the Debtors

to admit or deny facts that exceed the Debtors’ obligations under the Federal Rules of Civil

Procedure, the United States Bankruptcy Code, or the Court’s Local Rules.




                                                                                              PAGE 5
       Subject to and without waiving the foregoing General and Specific Objections, the Debtors

respond as follows: Requests for Admission Nos. 1-478 seek legal conclusions and interpretation

of contract provisions. As discussed with RCAHC counsel, the Debtors refer RCAHC to Exhibit

9 of the Supplemental Expert Report of Nancy A. Gutzler, served on December 29, 2021 (“Exhibit

9”), which reflects the Debtors’ position as to whether insurance policies issued to the Debtors or

Local Councils, including the policies identified in Request Nos. 1-478, provide coverage: (1) for

Abuse Claims; and (2) to Chartered Organizations either via endorsement or within the definition

of insureds. The information provided in Exhibit 9 is not intended to be, and shall not be construed

as, an admission as to any Request, and to the extent a response is required, the Requests are

denied. The Debtors reserve the right to amend, supplement, or change their responses and

objections to Request Nos. 1-478, whether collectively or individually, as well as the spreadsheet

described herein, for any reason, including information learned in the course of further

investigation and discovery.




                                                                                            PAGE 6
Dated: January 19, 2022       MORRIS, NICHOLS, ARSHT & TUNNELL LLP
       Wilmington, Delaware
                              Ernest Martin, Jr.
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                              Andrew R. Remming (No. 5120)
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                              Email: dabbott@morrisnichols.com
                                     aremming@morrisnichols.com
                                     ptopper@morrisnichols.com

                                           – and –

                              HAYNES AND BOONE, L.L.P.
                              Ernest Martin, Jr.
                              Adrian Azer
                              Carla Green
                              2323 Victory Ave., Suite 700
                              Dallas, Texas 75219
                              Telephone: (214) 651-5000
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                                      adrian.azer@haynesboone.com
                                      carla.green@haynesboone.com

                              ATTORNEYS FOR THE DEFENDANTS, DEBTORS,
                              AND DEBTORS IN POSSESSION




                                                                     PAGE 7
EXHIBIT D-1
                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:                                           Case No. 20-10343 (LSS)

Boy Scouts of America and Delaware BSA,          Chapter 11
LLC,                                             Jointly Administered

               Debtors.

   THE ROMAN CATHOLIC AD HOC COMMITTEE’S NOTICE OF DEPOSITION TO
          THE BOY SCOUTS OF AMERICA AND DELAWARE BSA, LLC

         PLEASE TAKE NOTICE THAT pursuant to Fed. R. Civ. P. Rule 30(b)(6) and Fed. R.

Bank. P. 7030 and 9014, The Roman Catholic Ad Hoc Committee shall take the deposition of the

Boy Scouts of America and Delaware BSA (collectively, “Debtors”) on the topics described in

attached Exhibit 1.

         The deposition will commence on January 26, 2022 at 10:00 a.m. (Eastern Time) and

will proceed in person at the office of Schiff Hardin LLP, 233 S. Wacker Drive, Suite 7100,

Chicago, IL 60606, remotely via video conference, or by such other means as may be agreed upon

by counsel.

         The deposition shall be taken upon oral examination before an officer authorized by law to

administer oaths and shall be recorded by videographic and/or stenographic means.




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                                                                                      Docket No. 8295
                                                                                    Date Filed: 1/13/22
Dated: January 13, 2022   POTTER ANDERSON & CORROON LLP
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                          Counsel to the Roman Catholic Ad Hoc
                          Committee




                            2
                                         EXHIBIT 1

                                         Definitions

       1.     Unless otherwise defined, capitalized terms shall have the meanings stated in the

Second Modified Fifth Amended Chapter 11 Plan of Reorganization for Boy Scouts of America

and Delaware BSA, LLC [Docket. No. 7832].

       2.     “Plan” shall mean the Second Modified Fifth Amended Chapter 11 Plan of

Reorganization for Boy Scouts of America and Delaware BSA, LLC [Docket. No. 7832] including

all Exhibits, Appendices and any documents attached to the Plan Supplement [Docket No. 7515]

or the Amended Plan Supplement [Docket No. 7953].

                                     Deposition Topics

       1.     The treatment of Claims of Chartered Organizations under the Plan and Trust

Distribution Procedures.

       2.     The Century and Chubb Companies Insurance Settlement Agreement.

       3.     The Century and Chubb Companies Term Sheet.

       4.     Hartford Insurance Settlement Agreement.

       5.     Hartford Term Sheet.

       6.     The Zurich Settlement Term Sheet [Docket No. 7928].

       7.     The Zurich Insurance Settlement Agreement [Docket No. TBD].

       8.     Clarendon Term Sheet [Docket No. 8095].

       9.     Clarendon Insurance Settlement Agreement [Docket No. TBD].

       10.    Paragraphs 8, 9 and 11 of the Century Term Sheet.

       11.    BSA Insurance Policies.
       12.    Which Abuse Claims against insureds and co-insureds covered under insurance

policies issued by any Settling Insurance Company will be channeled under the Settling Insurer

Policy Injunction [Century Term Sheet] or the Channeling Injunction [Plan].

       13.    Which BSA Insurance Policies cover Abuse Claims against insureds and co-

insureds.

       14.    The scope of the Channeling Injunction for claims against Participating Chartered

Organizations, including:

                  a. By year and by Local Council what Abuse Claims will be subject to the

                      Channeling Injunction for Abuse Claims Arising prior to January 1, 1976;

                      and

                  b. By year, what Abuse Claims will be subject to the Channeling Injunction

                      for Abuse Claims that Arose on or after January 1, 1976.




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                                        CERTIFICATE OF SERVICE

          I, Jeremy W. Ryan do hereby certify that on January 13, 2022, a copy of the foregoing The

Roman Catholic Ad Hoc Committee’s Notice of Deposition to the Boy Scouts of America and

Delaware BSA, LLC was served on the parties listed via email.

                                                /s/ Jeremy W. Ryan
                                                Jeremy Ryan (No. 4057)


CH2:25416567.1




IMPAC - 7547148v.2 01/13/2022 9:26 AM
                 In re Boy Scouts of America and Delaware BSA, LLC
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                                8
File a Notice:
20-10343-LSS Boy Scouts of America
Type: bk                      Chapter: 11 v             Office: 1 (Delaware)
Assets: y                     Judge: LSS
Case Flag: STANDOrder, SealedDoc(s), APPEAL, TRANSIN, MEGA, LEAD, CLMSAGNT

                                                      U.S. Bankruptcy Court

                                                        District of Delaware

Notice of Electronic Filing

The following transaction was received from Jeremy William Ryan entered on 1/13/2022 at 10:55 AM EST and filed on 1/13/2022
Case Name:           Boy Scouts of America
Case Number:         20-10343-LSS
Document Number: 8295

Docket Text:
Notice of Deposition // The Roman Catholic Ad Hoc Committee's Notice of Deposition to the Boy Scouts of America and Delaware
BSA, LLC Filed by Roman Catholic Ad Hoc Committee. (Attachments: # (1) Certificate of Service) (Ryan, Jeremy)

The following document(s) are associated with this transaction:

Document description:Main Document
Original filename:3a. BSA - Debtors 30(b)(6) Deposition Notice.pdf
Electronic document Stamp:
[STAMP bkecfStamp_ID=983460418 [Date=1/13/2022] [FileNumber=17401150-0
] [5c5566841fa4bdfd1d9d9d52d4cb12b74ec1c585ee0cbe75c3912481da190df89d1
bfc71c84b0587188f9bbbc9c0325b445f6f4426441c5c2ae0a352a7bc5e3a]]
Document description:Certificate of Service
Original filename:C:\fakepath\3b. BSA - Debtors COS.pdf
Electronic document Stamp:
[STAMP bkecfStamp_ID=983460418 [Date=1/13/2022] [FileNumber=17401150-1
] [28ce25b3f6b25972d223fc099ac65cfb6bde5f060b7d80de248544b16e2d435e264
f8df9afe688bbac213a83f5d86f607728f2b8dc04452f5f51f5f23dc49cd5]]

20-10343-LSS Notice will be electronically mailed to:

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EXHIBIT D-2
                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:                                           Case No. 20-10343 (LSS)

Boy Scouts of America and Delaware BSA,          Chapter 11
LLC,                                             Jointly Administered

               Debtors.

   THE ROMAN CATHOLIC AD HOC COMMITTEE’S NOTICE OF DEPOSITION TO
                   CENTURY INDEMNITY COMPANY

         PLEASE TAKE NOTICE THAT pursuant to Fed. R. Civ. P. Rule 30(b)(6) and Fed. R.

Bank. P. 7030 and 9014, The Roman Catholic Ad Hoc Committee shall take the deposition of the

Century Indemnity Company (“Century”) on the topics described in attached Exhibit 1.

         The deposition will commence on January 27, 2022 at 10:00 a.m. (Eastern Time) and

will proceed in person at the office of Schiff Hardin LLP, 233 S. Wacker Drive, Suite 7100,

Chicago, IL 60606, remotely via video conference, or by such other means as may be agreed upon

by counsel.

         The deposition shall be taken upon oral examination before an officer authorized by law to

administer oaths and shall be recorded by videographic and/or stenographic means.




                           [Remainder of Page Intentionally Left Blank]




                                                                                      Docket No. 8293
                                                                                    Date Filed: 1/13/22
Dated: January 13, 2022   POTTER ANDERSON & CORROON LLP
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                            2
                                           EXHIBIT 1

                                            Definitions

       1.      Unless otherwise defined, capitalized terms shall have the meanings stated in the

Second Modified Fifth Amended Chapter 11 Plan of Reorganization for Boy Scouts of America

and Delaware BSA, LLC [Docket. No. 7832].

       2.      “Plan” shall mean the Second Modified Fifth Amended Chapter 11 Plan of

Reorganization for Boy Scouts of America and Delaware BSA, LLC [Docket. No. 7832] including

all Exhibits, Appendices and any documents attached to the Plan Supplement [Docket No. 7515]

or the Amended Plan Supplement [Docket No. 7953].

                                         Deposition Topics

       1.      Any topic that has been noticed for your deposition or about which you are asked

at your deposition by any other party.

       2.      The treatment of Claims of Chartered Organizations under the Plan and Trust

Distribution Procedures.

       3.      The Century and Chubb Companies Insurance Settlement Agreement.

       4.      The Century and Chubb Companies Term Sheet.

       5.      Paragraphs 8, 9 and 11 of the Century Term Sheet.

       6.      All BSA Insurance Policies issued by Century.

       7.      All Local Council Insurance Policies issued by Century.

       8.      All policies of insurance issued to Roman Catholic Entities.

       9.      Which Abuse Claims against insureds and co-insureds covered under insurance

policies issued by any Settling Insurer [as defined in the Century Term Sheet] will be channeled
under the Settling Insurer Policy Injunction [as defined in the Century Term Sheet] or the

Channeling Injunction [as defined in the Plan].

       10.     Which BSA Insurance Policies issued by any Settling Insurer [Century Term Sheet]

cover Abuse Claims against insureds and co-insureds.

       11.     Which Local Council Insurance Policies issued by any Settling Insurer [Century

Term Sheet] cover Abuse Claims against insureds and co-insureds.

       12.     Which policies of insurance issued by any Settling Insurer [Century Term Sheet]

to any Roman Catholic Entity cover Abuse Claims against insureds and co-insureds.

       13.     The scope of the Channeling Injunction for claims against Participating Chartered

Organizations, including:

                  a. With respect to Local Council Insurance Policies issued by any Settling

                      Insurer [Century Term Sheet], by year and by Local Council, what Abuse

                      Claims will be subject to the Channeling Injunction for Abuse Claims

                      Arising prior to January 1, 1976; and

                  b. With respect to BSA Insurance Policies issued by any Settling Insurer

                      [Century Term Sheet], by year, what Abuse Claims will be subject to the

                      Channeling Injunction for Abuse Claims that Arose on or after January 1,

                      1976.




                                                  2
                                        CERTIFICATE OF SERVICE

          I, Jeremy W. Ryan do hereby certify that on January 13, 2022, a copy of the foregoing The

Roman Catholic Ad Hoc Committee’s Notice of Deposition to Century Indemnity Company was

served on the parties listed via email.

                                                /s/ Jeremy W. Ryan
                                                Jeremy Ryan (No. 4057)


CH2:25416567.1




IMPAC - 7547191v.2 01/13/2022 9:25 AM
                 In re Boy Scouts of America and Delaware BSA, LLC
                           Revised Participating Parties List


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                                         6
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1
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                                                            7
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                                8
File a Notice:
20-10343-LSS Boy Scouts of America
Type: bk                      Chapter: 11 v             Office: 1 (Delaware)
Assets: y                     Judge: LSS
Case Flag: STANDOrder, SealedDoc(s), APPEAL, TRANSIN, MEGA, LEAD, CLMSAGNT

                                                      U.S. Bankruptcy Court

                                                        District of Delaware

Notice of Electronic Filing

The following transaction was received from Jeremy William Ryan entered on 1/13/2022 at 10:49 AM EST and filed on 1/13/2022
Case Name:           Boy Scouts of America
Case Number:         20-10343-LSS
Document Number: 8293

Docket Text:
Notice of Deposition // The Roman Catholic Ad Hoc Committee's Notice of Deposition to Century Indemnity Company Filed by
Roman Catholic Ad Hoc Committee. (Attachments: # (1) Certificate of Service) (Ryan, Jeremy)

The following document(s) are associated with this transaction:

Document description:Main Document
Original filename:1a. BSA - Century 30(b)(6) Deposition Notice to .pdf
Electronic document Stamp:
[STAMP bkecfStamp_ID=983460418 [Date=1/13/2022] [FileNumber=17401134-0
] [82f46abb2b56c71100e9a02a7e68cade60d012cb283135a3ae6c159f2fe2278fdb6
031c8b0c433ab82564fd0e4768447b64c0444886057bbc6e9fac28c7c3e5b]]
Document description:Certificate of Service
Original filename:C:\fakepath\1b. BSA - Century COS.pdf
Electronic document Stamp:
[STAMP bkecfStamp_ID=983460418 [Date=1/13/2022] [FileNumber=17401134-1
] [9468592ca4f293307c063c7d3951a135f8457033e950b04191581a50e047f3ad576
0c982b2969c493b93941ec9b9586bd7624760b40d26916f36d8b749a8e496]]

20-10343-LSS Notice will be electronically mailed to:

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EXHIBIT D-3
                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In re:                                           Case No. 20-10343 (LSS)

Boy Scouts of America and Delaware BSA,          Chapter 11
LLC,                                             Jointly Administered

               Debtors.

   THE ROMAN CATHOLIC AD HOC COMMITTEE’S NOTICE OF DEPOSITION TO
                    CHUBB GROUP HOLDINGS, INC.

         PLEASE TAKE NOTICE THAT pursuant to Fed. R. Civ. P. Rule 30(b)(6) and Fed. R.

Bank. P. 7030 and 9014, The Roman Catholic Ad Hoc Committee shall take the deposition of the

Chubb Limited, Chubb Group Holdings, Inc., and the Chubb Subsidiary Insurers (collectively,

“Chubb”) on the topics described in attached Exhibit 1.

         The deposition will commence on January 27, 2022 at 10:00 a.m. (Eastern Time) and

will proceed in person at the office of Schiff Hardin LLP, 233 S. Wacker Drive, Suite 7100,

Chicago, IL 60606, remotely via video conference, or by such other means as may be agreed upon

by counsel.

         The deposition shall be taken upon oral examination before an officer authorized by law to

administer oaths and shall be recorded by videographic and/or stenographic means.




                           [Remainder of Page Intentionally Left Blank]




                                                                                      Docket No. 8297
                                                                                    Date Filed: 1/13/21
Dated: January 13, 2022   POTTER ANDERSON & CORROON LLP
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                          Counsel to the Roman Catholic Ad Hoc
                          Committee




                            2
                                           EXHIBIT 1

                                            Definitions

       1.      Unless otherwise defined, capitalized terms shall have the meanings stated in the

Second Modified Fifth Amended Chapter 11 Plan of Reorganization for Boy Scouts of America

and Delaware BSA, LLC [Docket. No. 7832].

       2.      “Plan” shall mean the Second Modified Fifth Amended Chapter 11 Plan of

Reorganization for Boy Scouts of America and Delaware BSA, LLC [Docket. No. 7832] including

all Exhibits, Appendices and any documents attached to the Plan Supplement [Docket No. 7515]

or the Amended Plan Supplement [Docket No. 7953].

                                         Deposition Topics

       1.      Any topic that has been noticed for your deposition or about which you are asked

at your deposition by any other party.

       2.      The treatment of Claims of Chartered Organizations under the Plan and Trust

Distribution Procedures.

       3.      The Century and Chubb Companies Insurance Settlement Agreement.

       4.      The Century and Chubb Companies Term Sheet.

       5.      Paragraphs 8, 9 and 11 of the Century and Chubb Term Sheet.

       6.      All BSA Insurance Policies issued by Chubb.

       7.      All Local Council Insurance Policies issued by Chubb.

       8.      All policies of insurance issued to Roman Catholic Entities.

       9.      Which Abuse Claims against insureds and co-insureds covered under insurance

policies issued by any Settling Insurer [as defined in the Century and Chubb Term Sheet] will be
channeled under the Settling Insurer Policy Injunction [as defined in the Century and Chubb Term

Sheet] or the Channeling Injunction [as defined in the Plan].

       10.     Which BSA Insurance Policies issued by any Settling Insurer [Century and Chubb

Term Sheet] cover Abuse Claims against insureds and co-insureds.

       11.     Which Local Council Insurance Policies issued by any Settling Insurer [Century

and Chubb Term Sheet] cover Abuse Claims against insureds and co-insureds.

       12.     Which policies of insurance issued by any Settling Insurer [Century and Chubb

Term Sheet] to any Roman Catholic Entity cover Abuse Claims against insureds and co-insureds.

       13.     The scope of the Channeling Injunction for claims against Participating Chartered

Organizations, including:

                  a. With respect to Local Council Insurance Policies issued by any Settling

                      Insurer [Century and Chubb Term Sheet], by year and by Local Council,

                      what Abuse Claims will be subject to the Channeling Injunction for Abuse

                      Claims Arising prior to January 1, 1976; and

                  b. With respect to BSA Insurance Policies issued by any Settling Insurer

                      [Century and Chubb Term Sheet], by year, what Abuse Claims will be

                      subject to the Channeling Injunction for Abuse Claims that Arose on or after

                      January 1, 1976.




                                                2
                                         CERTIFICATE OF SERVICE

          I, Jeremy W. Ryan do hereby certify that on January 13, 2022, a copy of the foregoing The

Roman Catholic Ad Hoc Committee’s Notice of Deposition to Chubb Group Holdings, Inc. was

served on the parties listed via email.

                                                 /s/ Jeremy W. Ryan
                                                 Jeremy Ryan (No. 4057)


CH2:25416567.1




IMPAC - 7553721v.1 01/13/2022 10:05 AM
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                                8
File a Notice:
20-10343-LSS Boy Scouts of America
Type: bk                      Chapter: 11 v             Office: 1 (Delaware)
Assets: y                     Judge: LSS
Case Flag: STANDOrder, SealedDoc(s), APPEAL, TRANSIN, MEGA, LEAD, CLMSAGNT

                                                      U.S. Bankruptcy Court

                                                        District of Delaware

Notice of Electronic Filing

The following transaction was received from Jeremy William Ryan entered on 1/13/2022 at 11:01 AM EST and filed on 1/13/2022
Case Name:           Boy Scouts of America
Case Number:         20-10343-LSS
Document Number: 8297

Docket Text:
Notice of Deposition // The Roman Catholic Ad Hoc Committee's Notice of Deposition to Chubb Group Holdings, Inc. Filed by
Roman Catholic Ad Hoc Committee. (Attachments: # (1) Certificate of Service) (Ryan, Jeremy)

The following document(s) are associated with this transaction:

Document description:Main Document
Original filename:5a. BSA - Chubb 30(b)(6) Deposition Notice.pdf
Electronic document Stamp:
[STAMP bkecfStamp_ID=983460418 [Date=1/13/2022] [FileNumber=17401162-0
] [0eac06762bce193218a89a73dd1a63770f3e2787574c41bb2992bed870fb8963c8f
bff85dfa2ba50fa69cb429651715174d01703b0e6e939171e058ba4c97da6]]
Document description:Certificate of Service
Original filename:C:\fakepath\5b. BSA - Chubb COS.pdf
Electronic document Stamp:
[STAMP bkecfStamp_ID=983460418 [Date=1/13/2022] [FileNumber=17401162-1
] [7398d00010151217347914692cd6a0064aaa73667a0c51d78909d536b25525ffad7
bc4cef935b1c60f9424b8fba3acb0a0ef0c9fe0e3934849922099445e4ab1]]

20-10343-LSS Notice will be electronically mailed to:

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EXHIBIT D-4
                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

In re:                                             Case No. 20-10343 (LSS)

Boy Scouts of America and Delaware BSA,            Chapter 11
LLC,                                               Jointly Administered

                   Debtors.

   THE ROMAN CATHOLIC AD HOC COMMITTEE’S NOTICE OF DEPOSITION TO
            HARTFORD ACCIDENT AND INDEMNITY COMPANY

         PLEASE TAKE NOTICE THAT pursuant to Fed. R. Civ. P. Rule 30(b)(6) and Fed. R.

Bank. P. 7030 and 9014, The Roman Catholic Ad Hoc Committee shall take the deposition of the

Hartford Accident and Indemnity Company, First State Insurance Company, Twin City Fire

Insurance Company and Navigators Specialty Insurance Company (collectively, “Hartford”) on the

topics described in attached Exhibit 1.

         The deposition will commence on January 25, 2022 at 10:00 a.m. (Eastern Time) and

will proceed in person at the office of Schiff Hardin LLP, 233 S. Wacker Drive, Suite 7100,

Chicago, IL 60606, remotely via video conference, or by such other means as may be agreed upon

by counsel.

         The deposition shall be taken upon oral examination before an officer authorized by law to

administer oaths and shall be recorded by videographic and/or stenographic means.




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IMPAC 7547172v.2
                                                                                      Docket No. 8296
                                                                                    Date Filed: 1/13/22
 Dated: January 13, 2022   POTTER ANDERSON & CORROON LLP
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                           Aaron H. Stulman (Bar No. 5807)
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                           Counsel to the Roman Catholic Ad Hoc
                           Committee




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IMPAC 7547172v.2
                                              EXHIBIT 1

                                               Definitions

        1.         Unless otherwise defined, capitalized terms shall have the meanings stated in the

Second Modified Fifth Amended Chapter 11 Plan of Reorganization for Boy Scouts of America

and Delaware BSA, LLC [Docket No. 7832].

        2.         “Plan” shall mean the Second Modified Fifth Amended Chapter 11 Plan of

Reorganization for Boy Scouts of America and Delaware BSA, LLC [Docket. No. 7832] including

all Exhibits, Appendices and any documents attached to the Plan Supplement [Docket No. 7515]

or the Amended Plan Supplement [Docket No. 7953].

                                           Deposition Topics

        1.         Any topic that has been noticed for your deposition or about which you are asked

at your deposition by any other party.

        2.         The treatment of Claims of Chartered Organizations under the Plan and Trust

Distribution Procedures.

        3.         The Hartford Settlement Agreement.

        4.         The Hartford Term Sheet.

        5.         Paragraphs vi, vii and viii of the Hartford Term Sheet.

        6.         All BSA Insurance Policies issued by Hartford.

        7.         All Local Council Insurance Policies issued by Hartford.

        8.         All policies of insurance issued to Roman Catholic Entities.

        9.         Which Abuse Claims against insureds and co-insureds covered under insurance

policies issued by any Settling Insurer [as made applicable by paragraph 7 of the Century Term




IMPAC 7547172v.2
Sheet] will be channeled under the Settling Insurer Policy Injunction [as made applicable by

paragraph 5 of the Century Term Sheet] or the Channeling Injunction [as defined in the Plan].

        10.        Which BSA Insurance Policies issued by any Settling Insurer [Century Term Sheet]

cover Abuse Claims against insureds and co-insureds.

        11.        Which Local Council Insurance Policies issued by any Settling Insurer [Century

Term Sheet] cover Abuse Claims against insureds and co-insureds.

        12.        Which policies of insurance issued by any Settling Insurer [Century Term Sheet]

to any Roman Catholic Entity cover Abuse Claims against insureds and co-insureds.

        13.        The scope of the Channeling Injunction for claims against Participating Chartered

Organizations, including:

                      a. With respect to Local Council Insurance Policies issued by any Settling

                          Insurer [Century Term Sheet], by year and by Local Council, what Abuse

                          Claims will be subject to the Channeling Injunction for Abuse Claims

                          Arising prior to January 1, 1976; and

                      b. With respect to BSA Insurance Policies issued by any Settling Insurer

                          [Century Term Sheet], by year, what Abuse Claims will be subject to the

                          Channeling Injunction for Abuse Claims that Arose on or after January 1,

                          1976.




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IMPAC 7547172v.2
                                 CERTIFICATE OF SERVICE

          I, Jeremy W. Ryan do hereby certify that on January 13, 2022, a copy of the foregoing The

Roman Catholic Ad Hoc Committee’s Notice of Deposition to Hartford Accident and Indemnity

Company was served on the parties listed via email.

                                             /s/ Jeremy W. Ryan
                                             Jeremy Ryan (No. 4057)




CH2:25416323.1




IMPAC 7547172v.2
                 In re Boy Scouts of America and Delaware BSA, LLC
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                                8
File a Notice:
20-10343-LSS Boy Scouts of America
Type: bk                      Chapter: 11 v             Office: 1 (Delaware)
Assets: y                     Judge: LSS
Case Flag: STANDOrder, SealedDoc(s), APPEAL, TRANSIN, MEGA, LEAD, CLMSAGNT

                                                      U.S. Bankruptcy Court

                                                        District of Delaware

Notice of Electronic Filing

The following transaction was received from Jeremy William Ryan entered on 1/13/2022 at 10:58 AM EST and filed on 1/13/2022
Case Name:           Boy Scouts of America
Case Number:         20-10343-LSS
Document Number: 8296

Docket Text:
Notice of Deposition // The Roman Catholic Ad Hoc Committee's Notice of Deposition to Hartford Accident and Indemnity Company
Filed by Roman Catholic Ad Hoc Committee. (Attachments: # (1) Certificate of Service) (Ryan, Jeremy)

The following document(s) are associated with this transaction:

Document description:Main Document
Original filename:4a. BSA - Hartford 30(b)(6) Deposition Notice.pdf
Electronic document Stamp:
[STAMP bkecfStamp_ID=983460418 [Date=1/13/2022] [FileNumber=17401153-0
] [71db7bf52e60ca90f7b5361de6c039ef164069773f02b8cc62a2cd8d16282ae7829
e036c00fdec228dccb82654f3b149009be1b8079dc9c4c73f183a1fbc8035]]
Document description:Certificate of Service
Original filename:C:\fakepath\4b. BSA - Hartford COS.pdf
Electronic document Stamp:
[STAMP bkecfStamp_ID=983460418 [Date=1/13/2022] [FileNumber=17401153-1
] [7d2e06ed7a4816b8c3367719f4ac7a7d643d134084586f965b5bcd276294b1d9489
794e5db15c89e1a79f97c4ae410e9248f43f5ce947ef78babadc536c23f48]]

20-10343-LSS Notice will be electronically mailed to:

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EXHIBIT D-5
                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

In re:                                             Case No. 20-10343 (LSS)

Boy Scouts of America and Delaware BSA,            Chapter 11
LLC,                                               Jointly Administered

                   Debtors.

  THE ROMAN CATHOLIC AD HOC COMMITTEE’S NOTICE OF DEPOSITION TO
   AMERICAN ZURICH INSURANCE COMPANY, AMERICAN GUARANTEE AND
  LIABILITY INSURANCE COMPANY, AND STEADFAST INSURANCE COMPANY

         PLEASE TAKE NOTICE THAT pursuant to Fed. R. Civ. P. Rule 30(b)(6) and Fed. R.

Bank. P. 7030 and 9014, The Roman Catholic Ad Hoc Committee shall take the deposition of

American Zurich Insurance Company, American Guarantee and Liability Insurance Company, and

Steadfast Insurance Company on the topics described in attached Exhibit 1.

         The deposition will commence on January 26, 2022 at 1:00 p.m. (Eastern Time) and

will proceed in person at the office of Schiff Hardin LLP, 233 S. Wacker Drive, Suite 7100,

Chicago, IL 60606, remotely via video conference, or by such other means as may be agreed upon

by counsel.

         The deposition shall be taken upon oral examination before an officer authorized by law to

administer oaths and shall be recorded by videographic and/or stenographic means.




                              [Remainder of Page Intentionally Left Blank]




IMPAC 7555691v.1
                                                                                      Docket No. 8294
                                                                                    Date Filed: 1/13/22
 Dated: January 13, 2022   POTTER ANDERSON & CORROON LLP
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                           Counsel to the Roman Catholic Ad Hoc
                           Committee




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IMPAC 7555691v.1
                                              EXHIBIT 1

                                               Definitions

        1.         Unless otherwise defined, capitalized terms shall have the meanings stated in the

Second Modified Fifth Amended Chapter 11 Plan of Reorganization for Boy Scouts of America

and Delaware BSA, LLC [Docket No. 7832].

        2.         “Plan” shall mean the Second Modified Fifth Amended Chapter 11 Plan of

Reorganization for Boy Scouts of America and Delaware BSA, LLC [Docket No. 7832] including

all Exhibits, Appendices and any documents attached to the Plan Supplement [Docket No. 7517]

or the Amended plan Supplement [Docket No. 7953].

                                            Deposition Topics

        1.         Any topic that has been noticed for your deposition or about which you are asked

at your deposition by any other party.

        2.         The treatment of Claims of Chartered Organizations under the Plan and Trust

Distribution Procedures.

        3.         The Zurich Insurance Settlement Agreement.

        4.         The Zurich Term Sheet.

        5.         Paragraphs 5, 6 and 7 of the Zurich Term Sheet.

        6.         All BSA Insurance Policies issued by Zurich.

        7.         All Local Council Insurance Policies issued by Zurich.

        8.         All policies of insurance issued to Roman Catholic Entities.

        9.         Which Abuse Claims against insureds and co-insureds covered under insurance

policies issued by any Settling Insurer [as defined in the Zurich Term Sheet] will be channeled




IMPAC 7555691v.1
under the Settling Insurer Policy Injunction [as defined in the Century Term Sheet] or the

Channeling Injunction [as defined in the Plan.]

        10.        Which BSA Insurance Policies issued by any Settling Insurer [Zurich Term Sheet]

cover Abuse Claims against insureds and co-insureds.

        11.        Which Local Council Insurance Policies issued by any Settling Insurer [Zurich

Term Sheet] cover Abuse Claims against insureds and co-insureds.

        12.        Which policies of insurance issued by any Settling Insurer [Zurich Term Sheet] to

any Roman Catholic Entity cover Abuse Claims against insureds and co-insureds.

        13.        The scope of the Channeling Injunction for claims against Participating Chartered

Organizations, including:

                      a. With respect to Local Council Insurance Policies issued by any Settling

                          Insurer [Zurich Term Sheet], by year and by Local Council, what Abuse

                          Claims will be subject to the Channeling Injunction for Abuse Claims

                          Arising prior to January 1, 1976; and

                      b. With respect to BSA Insurance Policies issued by any Settling Insurer

                          [Zurich Term Sheet], by year, what Abuse Claims will be subject to the

                          Channeling Injunction for Abuse Claims that Arose on or after January 1,

                          1976.




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IMPAC 7555691v.1
                                 CERTIFICATE OF SERVICE

          I, Jeremy W. Ryan do hereby certify that on January 13, 2022, a copy of the foregoing The

Roman Catholic Ad Hoc Committee’s Notice of Deposition to American Zurich Insurance

Company, American Guarantee and Liability Insurance Company, and Steadfast Insurance

Company was served on the parties listed via email.

                                             /s/ Jeremy W. Ryan
                                             Jeremy Ryan (No. 4057)




CH2:25416323.1




IMPAC 7555691v.1
                 In re Boy Scouts of America and Delaware BSA, LLC
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                                        4
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                                         5
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                                         6
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Tad Thomas                                                      tad@thomaslawoffices.com
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Lonnie Washburn (Pro Se)1
Frank Schwindler (Pro Se)                                       nundawao@gmail.com
Gillispie Claimants
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1
    Contact information for the pro se individuals has been provided to the Participating Parties.


                                                            7
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Dumas & Vaughn, LLC Claimants
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                                8
File a Notice:
20-10343-LSS Boy Scouts of America
Type: bk                      Chapter: 11 v             Office: 1 (Delaware)
Assets: y                     Judge: LSS
Case Flag: STANDOrder, SealedDoc(s), APPEAL, TRANSIN, MEGA, LEAD, CLMSAGNT

                                                      U.S. Bankruptcy Court

                                                        District of Delaware

Notice of Electronic Filing

The following transaction was received from Jeremy William Ryan entered on 1/13/2022 at 10:52 AM EST and filed on 1/13/2022
Case Name:           Boy Scouts of America
Case Number:         20-10343-LSS
Document Number: 8294

Docket Text:
Notice of Deposition // The Roman Catholic Ad Hoc Committee's Notice of Deposition to American Zurich Insurance Company,
American Guarantee and Liability Insurance Company, and Steadfast Insurance Company Filed by Roman Catholic Ad Hoc
Committee. (Attachments: # (1) Certificate of Service) (Ryan, Jeremy)

The following document(s) are associated with this transaction:

Document description:Main Document
Original filename:2a. BSA - Zurich 30(b)(6) Deposition Notice.pdf
Electronic document Stamp:
[STAMP bkecfStamp_ID=983460418 [Date=1/13/2022] [FileNumber=17401142-0
] [a02565b6b402e081ec65ad9cdbdaf27c4ede93541d9cf59e9d5c8c72cb2bb4ecc9b
74df980e7ecd3a8a544ea821f969b1703d0b2344a94bcc0f304d72fe035fb]]
Document description:Certificate of Service
Original filename:C:\fakepath\2b. BSA - Zurich COS.pdf
Electronic document Stamp:
[STAMP bkecfStamp_ID=983460418 [Date=1/13/2022] [FileNumber=17401142-1
] [3ffe7b9ac7f1ab3e2a32c5852e3bdeed4586921f0531cd341602b762ad204b3ebfb
745707375702b8b9c7932d743021f34951ddb788043c11dd40af3b81636f4]]

20-10343-LSS Notice will be electronically mailed to:

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EXHIBIT E
                                                                                                      James P. Ruggeri
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                                                                                             jruggeri@ruggerilaw.com




                                                      January 24, 2022

VIA CM/ECF

Hon. Laurie Selber Silverstein
Chief Judge, United States Bankruptcy Court for
       the District of Delaware
824 North Market Street, 3rd Floor
Wilmington, DE 19801

Dear Judge Silverstein:

        Hartford Accident and Indemnity Company, First State Insurance Company, Twin City
Fire Insurance Company and Navigators Specialty Insurance Company (collectively, “Hartford”)
respectfully request that this Court enter an Order quashing the Notice of Deposition that The
Roman Catholic Ad Hoc Committee (“RCAHC”) served on Hartford on January 13, 2022 as
well as the Second Amended Notice of Deposition that the Official Committee of Tort Claimants
(“TCC”) served on Hartford on January 20, 2022 (the “Notices”). 1

        Hartford previously appeared for deposition on December 2, 2021 in connection with
Plan confirmation proceedings, and both RCAHC and the TCC had a full and fair opportunity to
depose Hartford’s witness then. The Notices seek testimony on a total of eighteen separate
topics, each of which is inappropriate because (i) the topic was raised (or abandoned) during the
prior deposition of Hartford; (ii) the topic is overbroad and abusive; or (iii) the topic concerns
documents that Hartford had no role in preparing. 2 The Court accordingly should enter a
protective order quashing the Notices in their entirety.

Topics That Were the Subject of the Previous Hartford Deposition are Improper.

        Many of the topics in the Notices have already been the subject of deposition. On
December 2, 2021, and in response to deposition notices from the RCAHC and the TCC,
Hartford presented Michael Hotaling as its Rule 30(b)(6) witness for deposition. A number of
the topics are identical (or nearly so) to topics that the TCC noticed for the earlier deposition:



1
          The “Notices” are attached as Exhibit 1 (RCAHC Notice [D.I. 8296]) and Exhibit 2 (TCC Notice [D.I.
8418]).
2
          On January 17, 2022, counsel for Hartford wrote to counsel for the RHAHC objecting to the deposition
topics as duplicative and/or overbroad, unduly burdensome and abusive. On January 19, 2022, Hartford met and
conferred with counsel for the RCAHC.

            1875 K STREET NW, SUITE 600 | WASHINGTON, DC 20006-1251 | (202) 984-1400 | WWW.RUGGERILAW.COM
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         RCAHC Topic No. 3: The Hartford Settlement Agreement. 3

         RCAHC Topic No. 4: The Hartford Term Sheet. 4

         RCAHC Topic No. 5: Paragraphs vi, vii and viii of the Hartford Term Sheet. 5

         RCAHC Topic No. 6: All BSA Insurance Policies issued by Hartford. 6

         RCAHC Topic No. 7: All Local Council Insurance Policies issued by Hartford. 7

         RCAHC Topic No. 10: Which BSA Insurance Policies issued by any Settling Insurer
         [Century Term Sheet] cover Abuse Claims against insureds and co-insureds.

         RCAHC Topic No. 11: Which Local Council Insurance Policies issued by any Settling
         Insurer [Century Term Sheet] cover Abuse Claims against insureds and co-insureds.

         TCC Topic No. 1: The BSA Plan Settlements, including . . . the Hartford Insurance
         Settlement. . . .

         TCC Topic No. 2: The identity of all Insurance Policies included in the BSA Plan
         Settlements.8

None of these topics is proper. With respect to the “Hartford Settlement Agreement,” Hartford
informed the parties at the first Hartford deposition that the parties have not yet finalized the
Hartford Insurance Settlement Agreement; accordingly, there is no final agreement yet on which
a witness could properly testify. That remains the case.

       Mr. Hotaling did testify extensively regarding the Hartford Term Sheet, including the
treatment of Chartered Organizations. 9 The RCAHC’s counsel introduced the Hartford Term

3
         Compare Ex. 1, RCAHC Notice Topic No. 3 with The Official Committee of Tort Claimants’ Second
Amended Notice of Deposition Pursuant to Rule 30(b)(6) of the Federal Rules of Civil Procedure of Hartford
Accident and Indemnity Company, First State Insurance Company, and Twin City Insurance Company [D.I. 7258,
7258-1] (the “First TCC Dep. Notice”) Topic No. 6 (attached as Exhibit 3).
4
         See id.
5
         See id.
6
         Compare Ex. 1, RCAHC Notice Topic No. 6 with Ex. 3, First TCC Dep. Notice Topic No. 11.
7
         See id.
8
         To the extent this topic is aimed at testimony regarding policies issued by other insurers, it is also grossly
overbroad, for the reasons explained below.
9
         Compare Ex. 1, RCAHC Notice Topic Nos. 4, 5 with Deposition Transcript of Michael Hotaling (Dec. 2,
2021) (“Hotaling Tr.”) (relevant excerpts attached as Exhibit 4) at 11-20 (discussing settlement payment and
treatment of Chartered Organizations); 181-187 (drafting and negotiation of the Term Sheet); 189-201 (buyback of
Hartford Policies); 194-199 (discussion of terms relating to releases regarding Chartered Organizations, judgment
reduction provisions, and administrative claims).
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Sheet into evidence and asked Mr. Hotaling about it.10

        Mr. Hotaling also testified extensively concerning the policies Hartford issued to BSA
and the Local Councils. Mr. Hotaling testified regarding whether Hartford policies provided
primary or excess coverage as well as about who is an insured, the policy limits, and how those
limits might apply to abuse claims.11

        Moreover, the TCC and RCAHC have already been provided extensive evidence of
Hartford’s known policies that are covered by its settlement. Hartford produced its known
policies issued to BSA or the Local Councils in October 2021. In addition, prior to the
deposition, Hartford and the TCC reached agreement on a stipulation that identified the policies
that Hartford issued (or allegedly issued) to BSA and the Local Councils, as well as the essential
terms of the known Hartford policies.12 The parties had a full opportunity to ask questions
regarding which Hartford policies provide coverage for Abuse Claims, or any other issues
concerning the Hartford policies. There is no basis for Hartford to present a witness on these
topics a second time.

Topics Seeking Testimony Concerning All Policies Issued to Roman Catholic Entities are
Oppressive and Unduly Burdensome.

       A number of other topics in the Notices would be oppressive, if not impossible, for
Hartford to present for deposition because they would require Hartford to perform an impossibly
broad search, and then to educate a witness regarding the results of that search:

         RCAHC Topic No. 8: All policies of insurance issued to Roman Catholic Entities.

         RCHAC Topic No. 12: Which policies of insurance issued by any Settling Insurer
         [Century Term Sheet] to any Roman Catholic Entity cover Abuse Claims against insureds
         and co-insureds.

The search and preparation that would be required to prepare a witness far outweighs the
relevance – if any – of these topics. The Plan defines “Roman Catholic Entities” to mean “each

10
          See Ex. 4, Hotaling Tr. 10-29.
11
          Compare Ex. 1, RCAHC Notice Topic Nos. 6, 7, 10 and 11 with Ex. 4, Hotaling Tr. 86-88 (discussing
whether policies provided primary or excess coverage and whether policies were subject to aggregate limits); 91-93
(discussing per person and per occurrence policy limits); 113-115 (discussing exhaustion of policy limits); 124-125
(discussing alleged additional unconfirmed policies); 144-146 (discussing insureds under certain policies); 151-159
(discussing policy limits, including aggregate limits); 265-267 (discussing aggregate limits and number of
occurrences).
12
          The stipulation was introduced as an exhibit at Mr. Hotaling’s deposition. For convenience of the parties,
the stipulation identified, by Bates range, where to locate each of the known Hartford policies in Hartford’s
document production. See Stipulation Between the Official Committee of Tort Claimants and Hartford Regarding
the Existence and Terms and Conditions of the Hartford Policies and Related Matters (attached as Exhibit 5).
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and every (i) Roman Catholic parish, school, diocese, archdiocese, association, of religious or lay
persons in the United States or its territories that . . . provided any support in connection with
Scouting activities in any way . . . ; (ii) all entities listed or eligible to be listed in the Official
Catholic Directory since 1910; (iii) all Representatives of the foregoing, including their attorneys
and the Roman Catholic Ad Hoc Committee.” 13 Today there are more than 190 Catholic
dioceses, 17,000 Catholic parishes and thousands of Catholic schools. It would be prohibitive to
search for policies for even a small percentage of these entities, and searching back over a
century to locate policies issued to predecessors or former entities is obviously not possible. Nor
has the RCAHC offered any plausible basis for creating such a burden.

        Topic No. 9 is equally overbroad and abusive:

        RCAHC Topic No. 9: Which Abuse Claims against insureds and co-insureds covered
        under insurance policies issued by any Settling Insurer [as made applicable by paragraph
        5 of the Century Term Sheet] will be channeled under the Settling Insurer Policy
        Injunction or the Channeling Injunction [as defined in the Plan].

To prepare to respond to Topic No. 9, a witness would need to know: (i) the facts of every Abuse
Claim, (ii) the terms of all BSA Insurance Policies issued by any insurer, not just Hartford, and
(iii) the operation of the Channeling Injunction (which was not drafted by Hartford). Hartford is
not obligated to produce a witness to testify on a topic that is so abusively overbroad.

Topics Concerning Plan Documents and Settlements That Hartford Did Not Negotiate or Prepare
are Not Properly Directed to Hartford.

      The Notice is also improper because a number of topics seek testimony concerning
documents that Hartford had no role in drafting or preparing:

        RCAHC Topic No. 2: The treatment of Claims of Chartered Organizations under the
        Plan and Trust Distribution Procedures.

        RCAHC Topic No. 13: The scope of the Channeling Injunction for claims against
        Participating Chartered Organizations. . . .

        TCC Topic No. 1: The BSA Plan Settlements, including the Century and Chubb
        Companies Term Sheet, the TCJC Settlement, the Hartford Insurance Settlement, the
        Zurich Settlement and the United Methodist Settlement.




13
       See Second Modified Firth Amended Chapter 11 Plan of Reorganization for Boy Scouts of America and
Delaware BSA, LLC, Art. I, Def. 241 [D.I. 7832].
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Hartford had no role in preparing the Plan (including the Channeling Injunction) or the TDPs.
Nor did Hartford have any role in negotiating or preparing the TCJC Settlement, the Century
Term Sheet, the Zurich Settlement or the Methodist Settlement.

        Hartford consequently has no knowledge regarding facts concerning the Plan, its
treatment of Chartered Organizations, the scope of the Channeling Injunction or the various
settlement agreements beyond Hartford’s understanding from reading the same publicly-filed
versions of these documents that are equally available to RCAHC and the TCC. If the RHAHC
or the TCC has questions concerning these topics, they should be directed to the parties involved
in drafting them. But, with respect to Hartford, these topics are not reasonably calculated to lead
to the discovery of admissible or otherwise relevant evidence and should be stricken.

The Remaining Topics in the TCC Notice Are Privileged, Not Relevant and the TCC Previously
Agreed Not to Pursue Them.

       The remaining topics in the TCC Notice are equally improper:

       TCC Topic No. 3: All drafts of any settlement agreement relating to the Plan
       Settlements, whether final, signed or not.

       TCC Topic No. 4: Any Indirect Abuse Claim asserted against the Debtors, including, but
       not limited to, the value or amount of such Indirect Abuse Claim.

       TCC Topic No. 5: Your determination Concerning who would testify on Your behalf in
       response to this Deposition Notice.

All of these are topics that the TCC previously agreed it would not pursue. As part of the
consideration for the pre-deposition stipulation between Hartford and the TCC, the TCC
expressly agreed that its deposition of Hartford would be limited to agreed-upon topics following
the parties’ meet and confer discussions. 14 Each of these topics was part of the TCC’s initial
notice, and the TCC agreed not to pursue them in response to Hartford’s objections. 15

        But these topics would be improper in any event. With respect to Topic No. 3, Hartford
has informed the TCC (and the TCC has acknowledged) that any drafts of the Hartford Term
Sheet (or settlement) were exchanged in mediation, and are protected by privilege. And Hartford
was not involved in negotiating any other settlement agreement. Topic No. 4 is not relevant
because Hartford is releasing its Indirect Abuse Claim as part of the settlement (and Hartford is
not a proper party for discovery on Indirect Abuse Claims that others might assert). And finally,
as Hartford has previously informed the TCC, Topic No. 5 seeks information that is privileged

14
       See Ex. 5, Stipulation ¶ 6.
15
       See Ex. 3, First TCC Dep Notice Topic Nos. 6, 7, and 35.
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January 24, 2022
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because Hartford’s determination was made through communications with counsel (and is not
relevant in any event).

        Hartford respectfully requests that the Court enter an order quashing the Notices and
determining that Hartford need not appear for a second deposition regarding Plan confirmation
issues.

                                            Respectfully submitted,




                                            James P. Ruggeri
EXHIBIT 1
                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

In re:                                             Case No. 20-10343 (LSS)

Boy Scouts of America and Delaware BSA,            Chapter 11
LLC,                                               Jointly Administered

                   Debtors.

   THE ROMAN CATHOLIC AD HOC COMMITTEE’S NOTICE OF DEPOSITION TO
            HARTFORD ACCIDENT AND INDEMNITY COMPANY

         PLEASE TAKE NOTICE THAT pursuant to Fed. R. Civ. P. Rule 30(b)(6) and Fed. R.

Bank. P. 7030 and 9014, The Roman Catholic Ad Hoc Committee shall take the deposition of the

Hartford Accident and Indemnity Company, First State Insurance Company, Twin City Fire

Insurance Company and Navigators Specialty Insurance Company (collectively, “Hartford”) on the

topics described in attached Exhibit 1.

         The deposition will commence on January 25, 2022 at 10:00 a.m. (Eastern Time) and

will proceed in person at the office of Schiff Hardin LLP, 233 S. Wacker Drive, Suite 7100,

Chicago, IL 60606, remotely via video conference, or by such other means as may be agreed upon

by counsel.

         The deposition shall be taken upon oral examination before an officer authorized by law to

administer oaths and shall be recorded by videographic and/or stenographic means.




                              [Remainder of Page Intentionally Left Blank]




IMPAC 7547172v.2
 Dated: January 13, 2022   POTTER ANDERSON & CORROON LLP
 Wilmington, Delaware
                           /s/ Jeremy W. Ryan
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                           Aaron H. Stulman (Bar No. 5807)
                           1313 N. Market Street, 6th Floor
                           Wilmington, DE 19801-6108
                           Telephone: (302) 984-6000
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                           - and -

                           SCHIFF HARDIN LLP

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                           David Spector, admitted pro hac vice
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                           Counsel to the Roman Catholic Ad Hoc
                           Committee




                             2

IMPAC 7547172v.2
                                              EXHIBIT 1

                                               Definitions

        1.         Unless otherwise defined, capitalized terms shall have the meanings stated in the

Second Modified Fifth Amended Chapter 11 Plan of Reorganization for Boy Scouts of America

and Delaware BSA, LLC [Docket No. 7832].

        2.         “Plan” shall mean the Second Modified Fifth Amended Chapter 11 Plan of

Reorganization for Boy Scouts of America and Delaware BSA, LLC [Docket. No. 7832] including

all Exhibits, Appendices and any documents attached to the Plan Supplement [Docket No. 7515]

or the Amended Plan Supplement [Docket No. 7953].

                                           Deposition Topics

        1.         Any topic that has been noticed for your deposition or about which you are asked

at your deposition by any other party.

        2.         The treatment of Claims of Chartered Organizations under the Plan and Trust

Distribution Procedures.

        3.         The Hartford Settlement Agreement.

        4.         The Hartford Term Sheet.

        5.         Paragraphs vi, vii and viii of the Hartford Term Sheet.

        6.         All BSA Insurance Policies issued by Hartford.

        7.         All Local Council Insurance Policies issued by Hartford.

        8.         All policies of insurance issued to Roman Catholic Entities.

        9.         Which Abuse Claims against insureds and co-insureds covered under insurance

policies issued by any Settling Insurer [as made applicable by paragraph 7 of the Century Term




IMPAC 7547172v.2
Sheet] will be channeled under the Settling Insurer Policy Injunction [as made applicable by

paragraph 5 of the Century Term Sheet] or the Channeling Injunction [as defined in the Plan].

        10.        Which BSA Insurance Policies issued by any Settling Insurer [Century Term Sheet]

cover Abuse Claims against insureds and co-insureds.

        11.        Which Local Council Insurance Policies issued by any Settling Insurer [Century

Term Sheet] cover Abuse Claims against insureds and co-insureds.

        12.        Which policies of insurance issued by any Settling Insurer [Century Term Sheet]

to any Roman Catholic Entity cover Abuse Claims against insureds and co-insureds.

        13.        The scope of the Channeling Injunction for claims against Participating Chartered

Organizations, including:

                      a. With respect to Local Council Insurance Policies issued by any Settling

                          Insurer [Century Term Sheet], by year and by Local Council, what Abuse

                          Claims will be subject to the Channeling Injunction for Abuse Claims

                          Arising prior to January 1, 1976; and

                      b. With respect to BSA Insurance Policies issued by any Settling Insurer

                          [Century Term Sheet], by year, what Abuse Claims will be subject to the

                          Channeling Injunction for Abuse Claims that Arose on or after January 1,

                          1976.




                                                   2

IMPAC 7547172v.2
EXHIBIT 2
                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE



    In re:                                                       Chapter 11

    BOY SCOUTS OF AMERICA AND                                    Case No. 20-10343 (LSS)
    DELAWARE BSA, LLC,
                                                                 (Jointly Administered)
                             Debtors.1
                                                                 Re Docket Nos. 6438, 6443, 6445, 6528 and 6855



   THE OFFICIAL COMMITTEE OF TORT CLAIMANTS’ SECOND AMENDED
NOTICE OF DEPOSITION PURSUANT TO RULE 30(b)(6) OF THE FEDERAL RULES
OF CIVIL PROCEDURE OF HARTFORD ACCIDENT AND INDEMNITY COMPANY,
FIRST STATE INSURANCE COMPANY, AND TWIN CITY INSURANCE COMPANY

         PLEASE TAKE NOTICE THAT pursuant to Rule 30(b)(6) of the Federal Rules of Civil

Procedure (the “Civil Rules”), made applicable to these proceedings by Rules 9014 and 7030 of

the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), the Official Committee of

Tort Claimants (the “TCC”) to Boy Scouts of America and Delaware BSA, LLC (the “Debtors”)

shall take the deposition of Hartford Accident and Indemnity Company, First State Insurance

Company, and Twin City Insurance Company (collectively, “Hartford”) by the person(s) most

qualified to testify on Hartford’s behalf with respect to the topics described in Exhibit A hereto.

         The deposition will take place on January 28, 2022 at 9:30 a.m. Eastern Time or at such

other date and time as the parties may agree. Pursuant to the Order (I) Scheduling Certain Dates

and Deadlines in Connection with the Debtors’ Plan of Reorganization, (II) Establishing Certain

Protocols, (III) Granted Related Relief [Docket No. 6528], dated October 8, 2021, Hartford has

elected to be deposed remotely.


1
    The Debtors in these Chapter 11 Cases, together with the last four digits of Debtor’s federal tax identification
    number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing
    address is 1325 West Walnut Hill Lane, Irving, Texas 75038.


DOCS_DE:236555.6 85353/002
       With respect to the remote deposition of Hartford:

                 1.          Counsel for the parties and their clients will be participating from various,
                             separate locations;

                 2.          The court reporter will administer the oath to the witness remotely;

                 3.          The witness will be required to provide government-issued identification
                             satisfactory to the court reporter, and this identification must be legible on
                             camera;

                 4.          Each participating attorney may be visible to all other participants, and
                             their statements will be audible to all participants;

                 5.          All exhibits will be provided simultaneously and electronically to the
                             witness and all participants;

                 6.          The court reporter will record the testimony;

                 7.          The deposition may be recorded electronically; and

                 8.          Counsel for all parties will be required to stipulate on the record:

                             a.      Their consent to this manner of deposition; and

                             b.      Their waiver of any objection to this manner of deposition,
                                     including any objection to the admissibility at trial of this
                                     testimony based on this manner of deposition.

                                  [Remainder of page intentionally left blank]




                                                       2
DOCS_DE:236555.6 85353/002
Dated: January 20, 2022

                             PACHULSKI STANG ZIEHL & JONES LLP

                             /s/ James E. O’Neill
                             James I. Stang (CA Bar No. 94435) (admitted pro hac vice)
                             Robert B. Orgel (CA Bar No. 10187) (admitted pro hac vice)
                             Iain A.W. Nasatir (CA Bar No. 148977) (admitted pro hac vice)
                             James E. O’Neill (DE Bar No. 4042)
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                             JSchulman@PasichLLP.com

                             Counsel for the Official Committee of Tort Claimants




                                              3
DOCS_DE:236555.6 85353/002
                                 EXHIBIT A TO THE NOTICE
                                OF DEPOSITION OF HARTFORD


                                           DEFINITIONS

             For the purposes of this Notice of Deposition, the following Definitions shall apply:


        1.        The terms “all,” “any,” and “each” shall each be construed as encompassing

any and all. The singular shall include the plural and vice versa; the terms “and” or “or” shall

be both conjunctive and disjunctive; and the term “including” means “including without

limitation.” The present tense shall be construed to include the past tense, and the past tense

shall be construed to include the present tense.

        2.        Capitalized terms not otherwise defined herein shall have the same meanings

set forth in the Plan.

        3.        “BSA Plan Settlement” means any settlement, whether incorporated into the

Plan or presented for approval pursuant to Bankruptcy Rule 9019, between the Debtors and

any other Entity (including, but not limited to, an Insurance Company, Chartered

Organization, or Local Council), including, but not limited to, the Hartford Insurance

Settlement, the Century Settlement, the Zurich Settlement, the TCJC Settlement and the

United Methodist Settlement.

        4.        “Century and Chubb Companies Term Sheet” shall mean Exhibit A to the

Seventh Mediator’s Report [Docket No. 7741], filed on December 13, 2021.

        5.        “Concerning” means relating to, evidencing, supporting, negating, refuting,

embodying, containing, memorializing, comprising, reflecting, analyzing, constituting,




DOCS_DE:236555.6 85353/002
describing, identifying, referring to, referencing, discussing, indicating, connected with or

otherwise pertaining in any way, in whole or in part, to the subject matter being referenced.

        6.       “Debtors” means, collectively or individually, as context requires and to

encompass responsive documents Boy Scouts of America and Delaware BSA, LLC, and each

of their agents, accountants, financial advisors, employees, experts, attorneys, officers,

directors, direct or indirect shareholders, members, representatives, affiliates, subsidiaries,

predecessors and/or successors.

        7.       “Hartford Insurance Settlement” shall have the meaning provided in the

Amended Plan.

        8.       “Indirect Abuse Claim” shall have the meaning provided in the Amended Plan.

        9.       “Insurance Policy” shall have the meaning provided in the Plan, including all

rights and benefits thereunder, and the proceeds thereof.

        10.      “Plan” shall mean the Modified Fifth Amended Chapter 11 Plan of

Reorganization for Boy Scouts of America and Delaware BSA, LLC [Docket No. 6443], as

such Document may be amended, supplemented, or modified from time to time.

        11.      “TCJC Settlement” shall have the meaning provided in the Plan.

        12.      “You” or “Your” and variants thereof shall mean “Debtors”.

        13.      “Zurich Settlement” means the term sheet attached as Exhibit A to the Ninth

Mediator’s Report [Docket No. 7928], filed with the Court on December 22, 2021 and any

documentation of the Settlement embodied therein.




                                                  5
DOCS_DE:236555.6 85353/002
                                           TOPICS

Topic No. 1.


        The BSA Plan Settlements, including the Century and Chubb Companies Term Sheet,

the TCJC Settlement, the Hartford Insurance Settlement, the Zurich Settlement and the United

Methodist Settlement.

Topic No. 2.


        The identity of all Insurance Policies included in the BSA Plan Settlements.

Topic No. 3.


        All drafts of any settlement agreement relating to the BSA Plan Settlements, whether

final, signed or not.

Topic No. 4.


        Any Indirect Abuse Claim asserted against the Debtors, including, but not limited to,

the value or amount of such Indirect Abuse Claim.

Topic No. 5.


        Your determination Concerning who would testify on Your behalf in response to

this Deposition Notice.




                                                6
DOCS_DE:236555.6 85353/002
EXHIBIT 3
                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE



    In re:                                                       Chapter 11

    BOY SCOUTS OF AMERICA AND                                    Case No. 20-10343 (LSS)
    DELAWARE BSA, LLC,
                                                                 (Jointly Administered)
                             Debtors.1
                                                                 Re Docket Nos. 6438, 6443, 6445, 6528 and 6855



   THE OFFICIAL COMMITTEE OF TORT CLAIMANTS’ SECOND AMENDED
NOTICE OF DEPOSITION PURSUANT TO RULE 30(b)(6) OF THE FEDERAL RULES
OF CIVIL PROCEDURE OF HARTFORD ACCIDENT AND INDEMNITY COMPANY,
FIRST STATE INSURANCE COMPANY, AND TWIN CITY INSURANCE COMPANY

         PLEASE TAKE NOTICE THAT pursuant to Rule 30(b)(6) of the Federal Rules of Civil

Procedure (the “Civil Rules”), made applicable to these proceedings by Rules 9014 and 7030 of

the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), the Official Committee of

Tort Claimants (the “TCC”) to Boy Scouts of America and Delaware BSA, LLC (the “Debtors”)

shall take the deposition of Hartford Accident and Indemnity Company, First State Insurance

Company, and Twin City Insurance Company (collectively, “Hartford”) by the person(s) most

qualified to testify on Hartford’s behalf with respect to the topics described in Exhibit A hereto.

         The deposition will take place on December 2, 2021 at 9:30 a.m. Eastern Time or at such

other date and time as the parties may agree. Pursuant to the Order (I) Scheduling Certain Dates

and Deadlines in Connection with the Debtors’ Plan of Reorganization, (II) Establishing Certain

Protocols, (III) Granted Related Relief [Docket No. 6528], dated October 8, 2021, Hartford has

elected to be deposed remotely.


1
    The Debtors in these Chapter 11 Cases, together with the last four digits of Debtor’s federal tax identification
    number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing
    address is 1325 West Walnut Hill Lane, Irving, Texas 75038.


DOCS_DE:236555.5 85353/002
       With respect to the remote deposition of Hartford:

                 1.          Counsel for the parties and their clients will be participating from various,
                             separate locations;

                 2.          The court reporter will administer the oath to the witness remotely;

                 3.          The witness will be required to provide government-issued identification
                             satisfactory to the court reporter, and this identification must be legible on
                             camera;

                 4.          Each participating attorney may be visible to all other participants, and
                             their statements will be audible to all participants;

                 5.          All exhibits will be provided simultaneously and electronically to the
                             witness and all participants;

                 6.          The court reporter will record the testimony;

                 7.          The deposition may be recorded electronically; and

                 8.          Counsel for all parties will be required to stipulate on the record:

                             a.      Their consent to this manner of deposition; and

                             b.      Their waiver of any objection to this manner of deposition,
                                     including any objection to the admissibility at trial of this
                                     testimony based on this manner of deposition.

                                  [Remainder of page intentionally left blank]




                                                       2
DOCS_DE:236555.5 85353/002
Dated: November 16, 2021

                             PACHULSKI STANG ZIEHL & JONES LLP

                             /s/ James E. O’Neill
                             James I. Stang (CA Bar No. 94435) (admitted pro hac vice)
                             Robert B. Orgel (CA Bar No. 10187) (admitted pro hac vice)
                             Iain A.W. Nasatir (CA Bar No. 148977) (admitted pro hac vice)
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                             Counsel for the Official Committee of Tort Claimants




                                              3
DOCS_DE:236555.5 85353/002
                               EXHIBIT A TO THE NOTICE
                              OF DEPOSITION OF HARTFORD

                                         DEFINITIONS

        For the purposes of this Notice of Deposition, the following Definitions shall apply:

        1.       The terms “all,” “any,” and “each” shall each be construed as encompassing any

and all. The singular shall include the plural and vice versa; the terms “and” or “or” shall be both

conjunctive and disjunctive; and the term “including” means “including without limitation.” The

present tense shall be construed to include the past tense, and the past tense shall be construed to

include the present tense.

        2.       Capitalized terms not otherwise defined herein shall have the same meanings set

forth in the Plan.

        3.       “Abuse” shall have the meaning provided in the Plan.

        4.       “Abuse Claim” means a liquidated or unliquidated Claim against one or more

Abuse Parties that is attributable to, arises from, is based upon, relates to, results from, or is

otherwise Concerned with, in whole or in part, directly, indirectly, or derivatively, alleged Abuse

that occurred prior to the Petition Date, including any such Claim that seeks monetary damages or

other relief, under any theory of law or equity whatsoever, including vicarious liability, respondeat

superior, conspiracy, fraud, including fraud in the inducement, any negligence-based or

employment-based theory, including negligent hiring, selection, supervision, retention or

misrepresentation, any other theory based on misrepresentation, concealment, or unfair practice,

public or private nuisance, or any other theory, including any theory based on public policy or any

act or failure to act by an Abuse Party or any other Person for whom any Abuse Party is alleged to

be responsible. The term “Abuse Claim” includes Direct Abuse Claims and Indirect Abuse

Claims.



DOCS_DE:236555.5 85353/002
        5.       “Abuse Claimant” shall mean the party asserting an Abuse Claim and their

attorneys, advisors, agents, representatives, and experts.

        6.       “Abuse Party” means, individually and collectively, (a) the Debtors; (b)

Reorganized BSA; (c) the Related Non-Debtor Entities; (d) the Local Councils; (e) the Chartered

Organizations; (f) Insurance Companies; or (g) all of any of the foregoing’s Persons’

Representatives.

        7.       “Applicable Insurance Policies” shall mean (a) any Insurance Policy that You sold

to the Debtors and (b) any Insurance Policy that You sold to any Abuse Party that provides, may

provide, or has been alleged to provide coverage for any Abuse Claim.

        8.       “BSA Plan Settlement” means any settlement, whether incorporated into the Plan

or presented for approval pursuant to Bankruptcy Rule 9019, between the Debtors and any other

Entity (including, but not limited to, an Insurance Company, Chartered Organization, or Local

Council), including, but not limited to, the Hartford Insurance Settlement and the TCJC Settlement.

        9.       “Chapter 11 Cases” shall mean the above-captioned chapter 11 cases of Boy Scouts

of America and Delaware BSA, LLC pending before the United States Bankruptcy Court for the

District of Delaware.

        10.      “Chartered Organization” shall have the meaning provided in the Plan.

        11.      “Claim” means any “claim,” as defined in section 101(5) of the Bankruptcy Code.

        12.      “Concerning” means relating to, evidencing, supporting, negating, refuting,

embodying, containing, memorializing, comprising, reflecting, analyzing, constituting, describing,

identifying, referring to, referencing, discussing, indicating, connected with or otherwise

pertaining in any way, in whole or in part, to the subject matter being referenced.




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DOCS_DE:236555.5 85353/002
        13.      “Debtors” means, collectively or individually, as context requires and to encompass

responsive documents Boy Scouts of America and Delaware BSA, LLC, and each of their agents,

accountants, financial advisors, employees, experts, attorneys, officers, directors, direct or indirect

shareholders, members, representatives, affiliates, subsidiaries, predecessors and/or successors.

        14.      “Documents” shall mean any writings, recordings, electronic files and mails, or

photographs, whether original or duplicate, as defined in Federal Rule of Evidence 1001 and

Federal Rule of Civil Procedure 34(a), inclusively, including (but not limited to) all Documents

and information in Your possession, custody, or control, and includes: all and any written,

recorded, or graphic material, however produced or reproduced, minutes, summaries, memoranda,

transcripts, tapes, or other voice recordings, and all other Documents and tangible things, including

booklets, brochures, pamphlets, circulars, notices, periodicals, papers, records, contracts,

agreements, photographs, minutes, memoranda, messages, appraisals, analyses, reports, files,

interoffice memoranda, or interoffice communications of any description, calculations, invoices,

accounting entries, diary entries, calendars, inventory sheets, ledgers, correspondence, emails,

phone recordings, instant messages, text messages, telegrams, advertisements, press releases,

notes, letters, diaries, working papers, schedules, projections, graphs, charts, films, tapes, print-

outs, and all other data, whether recorded by electronic or other means, and all drafts thereof. If a

Document was prepared in several copies, or if additional copies were thereafter made, and if any

such copies are not identical in all respects or are no longer identical by reason of subsequent

notation or modification of any kind whatsoever, including notes on the front or back, in the

margins, or on any of the pages thereof, then each such non-identical copy is a separate Document

and must be produced. “Documents” always includes Communications.




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DOCS_DE:236555.5 85353/002
        15.      “Hartford” shall mean Hartford Accident and Indemnity Company, First State

Insurance Company, and Twin City Fire Insurance Company, and each of their agents,

accountants, financial advisors, employees, experts, attorneys, officers, directors, direct or indirect

shareholders, members, representatives, affiliates, subsidiaries, predecessors and/or successors.

        16.      “Hartford Additional Administrative Expense Claim” shall have the meaning

provided in the Plan.

        17.      “Hartford Admin Claims” shall mean the Hartford Administrative Expense Claim

and the Hartford Additional Administrative Expense Claim.

        18.      “Hartford Administrative Expense Claim” shall have the meaning provided in the

Plan.

        19.      “Hartford Coverage Action” shall mean that certain adversary proceeding entitled

Hartford Accident and Indemnity Company et al. v. Boy Scouts of America et al., Case No. 20-

50601 (LSS).

        20.      “Hartford Insurance Settlement” shall have the meaning provided in the Plan.

        21.      “Hartford Insurance Settlement Agreement” shall have the meaning provided in the

Plan.

        22.      “Hartford Letters of Credit” shall mean the letters of credit referenced in the

Hartford Proofs of Claim asserted to be valued at $600,000.00.

        23.      “Hartford Proofs of Claim” shall mean the Proofs of Claim You filed against the

Debtors bearing claim numbers 13, 26, and 8191.

        24.      “Insurance Company” shall have the meaning provided in the Plan.

        25.      “Insurance Policy” shall have the meaning provided in the Plan, including all rights

and benefits thereunder, and the proceeds thereof.



                                                  7
DOCS_DE:236555.5 85353/002
         26.     “IV Files” shall mean any Documents that identify individuals associated with the

Debtors accused of Abuse, including those records and files referred to as “ineligible volunteer”

or “perversion” files.

         27.     “Local Councils” shall have the meaning provided in the Plan.

         28.     “Perpetrator” shall have the meaning provided in the Plan.

         29.     “Petition Date” shall mean February 18, 2020.

         30.     “Plan” shall mean the Modified Fifth Amended Chapter 11 Plan of Reorganization

for Boy Scouts of America and Delaware BSA, LLC [Docket No. 6443], as such Document may

be amended, supplemented, or modified from time to time.

         31.     “Prepetition” shall mean occurring prior to the Petition Date.

         32.     “Proof of Claim” shall have the meaning provided in the Plan.

         33.     “Settlement” shall mean any Prepetition settlement or other resolution of an Abuse

Claim.

         34.     “Settlement Trust” shall have the meaning provided in the Plan.

         35.     “TCC” shall mean the Official Committee of Tort Claimants to Boy Scouts of

America and Delaware BSA, LLC.

         36.     “TCJC Settlement” shall have the meaning provided in the Plan.

         37.     “Verdict” shall mean any Prepetition verdict, judgment, award or decision of a

court, arbitrator, mediator or similar tribunal Concerning an Abuse Claim.

         38.     “You” or “Your” and variants thereof mean Hartford.

                                              TOPICS

Topic No. 1.

         The Plan, including, but not limited to, the effect of the Plan on Your rights or obligations

(including without limitation inter-insurer contribution claims).

                                                  8
DOCS_DE:236555.5 85353/002
Topic No. 2.

        The Settlement Trust, including, but not limited to, the effect of the Settlement Trust on

Your rights or obligations (including without limitation inter-insurer contribution claims).

Topic No. 3.

        The Trust Distribution Procedures.

Topic No. 4.

        The BSA Plan Settlements, including the TCJC Settlement and the Hartford Insurance

Settlement.

Topic No. 5.

        The Hartford Admin Claims.

Topic No. 6.

        The Hartford Insurance Settlement Agreement, including, but not limited to, any drafts of

and term sheets related thereto.

Topic No. 7.

        The Hartford Proofs of Claim.

Topic No. 8.

        The Hartford Letters of Credit.

Topic No. 9.

        The Abuse Claims, including, but not limited to, (a) all Analyses of Abuse Claims; (b) the

value of Abuse Claims; (c) all estimates of the numbers of Survivors and/or Perpetrators; and (d)

insurance coverage for Abuse Claims.




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DOCS_DE:236555.5 85353/002
Topic No. 10.

        Any Indirect Abuse Claim You assert or may assert against the Debtors, including, but not

limited to, the value or amount of such Indirect Abuse Claim.

Topic No. 11.

        All Insurance Policies that provide, potentially provide, or have been alleged to provide

coverage for Abuse Claims, including, but not limited to, the Applicable Insurance Policies.

Topic No. 12.

        Reinsurance for the Applicable Insurance Policies.

Topic No. 13.

        Your Liabilities Concerning each Insurance Policy that the Debtors are proposing or may

propose to contribute to the Settlement Trust under the Plan.

Topic No. 14.

        Your financial ability to satisfy Your obligations under the Applicable Insurance Policies

Topic No. 15.

        Any actual or proposed settlements of Your coverage obligations under the Applicable

Insurance Policies.

Topic No. 16.

        Payments (or lack thereof) for defense costs and/or indemnity that You made Concerning

any Abuse Claims.

Topic No. 17.

        Your denial or reservation of rights under any Applicable Insurance Policies Concerning

any Abuse Claims, including, but not limited to, (a) reasons and bases for Your decision to deny




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coverage or reserve rights for the Abuse Claims and (b) facts upon which You based Your decision

to deny coverage or reserve rights for the Abuse Claims.

Topic No. 18.

        Settlements of Abuse Claims and all settlement agreements between You and the Debtors

Concerning the same.

Topic No. 19.

        Verdicts in favor of Abuse Claimants.

Topic No. 20.

        Verdicts in favor of the Defense Concerning Abuse Claims.

Topic No. 21.

        The IV Files.

Topic No. 22.

        Any reserves that You contemplated, established, set, maintained, and/or changed

Concerning Abuse Claims.

Topic No. 23.

        The Hartford Coverage Action, including, but not limited to, Your contentions and

allegations made in and Concerning the Hartford Coverage Action.

Topic No. 24.

        Your handling, processing, adjusting, review, investigation, evaluation, acceptance, denial,

reservation of rights, or other response to sexual abuse claims, including the Abuse Claims, under

any Insurance Policy.




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DOCS_DE:236555.5 85353/002
Topic No. 25.

        Your policies, practices, and procedures Concerning valuing or evaluating sexual abuse

claims, including Abuse Claims, that were filed after the expiration of any applicable statute of

limitations or were filed in jurisdictions where the statute of limitations with respect to sexual

abuse claims may change.

Topic No. 26.

        All discussions of the Debtors, the Insurance Policies sold by You to the Debtors, Abuse

Claims, or the Debtors’ claims for insurance coverage under Insurance Policies (whether or not

regarding the Abuse Claims) of Your board of directors or managers, any committee or

subcommittee thereof, any task force or working group thereof, or any of Your other executive

task forces or working groups.

Topic No. 27.

        Your interpretation of the Insurance Policies You sold to the Debtors and application

thereof to claims for coverage for Abuse Claims.

Topic No. 28.

        Your investigation, supervision, adjustment, and handling of Abuse Claims, including the

existence or scope of insurance coverage for the Abuse Claims.

Topic No. 29.

        The underwriting of the Insurance Policies You sold to the Debtors.

Topic No. 30.

        The negotiations and drafting of (a) the Insurance Policies You sold to the Debtors and (b)

any predecessor Insurance Policies issued by any of Your affiliates.




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DOCS_DE:236555.5 85353/002
Topic No. 31.

        The drafting of the forms used in drafting the Insurance Policies You sold to the Debtors

or any predecessor Insurance Policies issued by any of Your affiliates.

Topic No. 32.

        Your interpretation of any terms or conditions of the Insurance Policies You sold to the

Debtors.

Topic No. 33.

        All Documents that You produced to the TCC or any other Person in connection with the

Bankruptcy Cases.

Topic No. 34.

        Your responses to the TCC’s Requests for Admission and Interrogatories served on You.

Topic No. 35.

        Your determination Concerning who would testify on Your behalf in response to this

Deposition Notice.

Topic No. 36.

        Your document retention, storage, filing, and destruction procedures in effect from January

1, 2010 through the present.




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DOCS_DE:236555.5 85353/002
EXHIBIT 4
IN RE BOY SCOUTS AND DELAWARE BSA
                                                           MICHAEL HOTALING

                                                                       Page 1


              UNITED STATES BANKRUPTCY COURT
               FOR THE DISTRICT OF DELAWARE
                          -      -    -
     IN RE:                           : CHAPTER 11
     BOY SCOUTS OF AMERICA AND        : CASE NO.
     DELAWARE BSA, LLC,               : 20-10343 (LSS)
          Debtors.                    : (Jointly Administered)
                          -      -    -




                     Remote videotaped deposition of
     MICHAEL HOTALING, held via videoconference on
     Thursday, December 2, 2021, beginning at
     approximately 9:35 a.m., the proceedings being
     recorded stenographically by Gail Inghram
     Verbano, Registered Diplomate Reporter, Certified
     Realtime Reporter, Certified Shorthand
     Reporter-CA (No. 8635), and transcribed under her
     direction.




                              www.reliable-co.com        Reliable Court Reporting
IN RE BOY SCOUTS AND DELAWARE BSA
                                                        MICHAEL HOTALING

                                                                Page 2
  1   A P P E A R A N C E S:
  2   On behalf of Debtor:
          JENNIFER THOMAS, ESQ.
  3          WHITE & CASE, LLP
             1221 Avenue of the Americas
  4          New York, New York 10020
  5   On Behalf of Tort Claimants Committee:
          IAIN NASATIR, ESQ.
  6       PATRICIA JEFFRIES, ESQ.
             PACHULSKI STANG ZIEHL JONES, LLP
  7          10100 Santa Monica Boulevard, 13th Floor
             Los Angeles, California 90067
  8          New York, New York 10017-2024
  9   -and-
 10
          JEFFREY SCHULMAN, ESQ.
 11          PASICH LLP
             757 Third Avenue, 20th Floor
 12          New York, New York 10017
 13   On behalf of the FCR:
          KENNETH ENOS, ESQ.
 14          YOUNG CONAWAY STARGATT & TAYLOR, LLP
             Rodney Square, 1000 North King Street
 15          Wilmington, Delaware 19801
 16   -and-
 17       KYLE DECHANT, ESQ.
          KAMI QUINN, ESQ.
 18          GILBERT LLP
             700 Pennsylvania Avenue, SE, Suite 400
 19          Washington, DC 20003
 20   On Behalf of Roman Catholic Ad Hoc Committee:
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 21       EVERETT CYGAL, ESQ.
          DANIEL SCHUFREIDER, ESQ.
 22          SCHIFF HARDIN
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 23          Washington, DC 20001
 24
 25

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  1   A P P E A R A N C E S (Cont'd):
  2   On behalf of the Coalition of Abused Scouts for
      Justice:
  3       LUIS VARGAS RIVERA, ESQ.
             BROWN RUDNICK LLP
  4          601 Thirteenth Street NW, Suite 600
             Washington, DC 20005
  5
  6   On behalf of National Surety Corporation and
      Interstate Fire & Casualty Company:
  7       KARL M. SIGWARTH, ESQ.
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  8          500 West Madison Avenue, Suite 1000
             Chicago, Illinois 60654
  9
      On Behalf of Hartford Accident Indemnity Company,
 10   First State Insurance Company, Twin City Fire
      Insurance Company, and Navigators Specialty Insurance
 11   Company:
          PHILIP ANKER, ESQ.
 12          WILMER CUTLER PICKERING HALE & DORR, LLP
             1875 Pennsylvania Avenue NW
 13          Washington, DC 20006
 14   -and-
 15       ANNETTE P. ROLAIN, ESQ.
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 16          SHIPMAN & GOODWIN, LLP
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 17          Washington, DC 20006-1251
 18
      On behalf of The Church of Jesus Christ of
 19   Latter-day Saints:
          AMANDA STANZIONE, ESQ.
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             1271 Avenue of the Americas
 21          New York, New York 10020
 22   On behalf of JPMorgan Chase Bank, N.A.:
          JOHN HAMMOND HEATH, ESQ.
 23          NORTON ROSE FULBRIGHT US LLP
             799 9th Street NW, Suite 1100
 24          Washington, DC 20001-4501
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  1   A P P E A R A N C E S (Cont'd):
  2   On behalf of CNA:
          EMILY STONE, ESQ.
  3          LOEB & LOEB, LLP
             901 New York Avenue, Suite 300-E
  4          Washington, DC 20001
  5   On Behalf of Travelers:
          LOUIS J. RIZZO, JR., ESQ.
  6          REGER, RIZZO & DARNALL, LLP
             1521 Concord Pike, Suite 305
  7          Wilmington, Delaware 19803
  8   On Behalf of the UCC:
          NATAN HAMERMAN, ESQ.
  9          KRAMER LEVIN NAFTALIS & FRANKEL, LLP
             1177 Avenue of the Americas
 10          New York, New York 10036
 11   On Behalf of The Zalkin Law Firm, PC, Pfau Cochran
      Vertetis Amala PLLC:
 12       MICHEL Y. HORTON, ESQ.
             LAW OFFICES OF MICHEL Y. HORTON
 13          115 West California Boulevard, Suite 254
             Pasadena, California 91105
 14
      On Behalf of Great American Assurance Company and
 15   Great American E&S Insurance Company:
          DEAN McELROY, ESQ.
 16          CLYDE & CO. USS LLP
             Four Embarcadero Center, Suite 1350
 17          San Francisco, California 94111
 18   On Behalf of Old Republic Insurance Company:
          RYAN T. SCHULTZ, ESQ.
 19          FOX SWIBEL LEVIN & CARROLL, LLP
             200 West Madison Street, Suite 3000
 20          Chicago, Illinois 60606
 21   On Behalf of United Methodist Ad Hoc Committee:
          EDWIN G. RICE, ESQ.
 22          BRADLEY ARANT BOULT CUMMINGS, LLP
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 23          Tampa, Florida 33602-5809
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 25

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  2   On Behalf of Liberty Mutual:
          KAITLYN LEONARD, ESQ.
  3          MINTZ, LEVIN, COHN, FERRIS, GLOVSKY AND POPEO, P.C.
             One Financial Center
  4          Boston, Massachusetts 02111
  5
      On Behalf of AIG:
  6       DYLAN CASSIDY, ESQ.
             GIBSON, DUNN & CRUTCHER, LLP
  7          200 Park Avenue
             New York, New York 10166
  8
  9
 10   ALSO PRESENT:
          CHRIS WEISS CALHOUN, Legal Videographer
 11       REBEKAH ROTHSTEIN, Document Tech
 12
 13
 14
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 11
 12                    REPORTER'S NOTE:
 13     QUOTATION MARKS ARE USED FOR CLARITY AND DO NOT
 14     NECESSARILY REFLECT A DIRECT QUOTE.
 15
 16
 17
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                                                                   Page 9
  0
  1           Thursday, December 2, 2021; 9:35 a.m.
  2                           -    -    -
  3                      THE VIDEOGRAPHER:    And we are
  4         now on the record.     My name is Chris Weiss
  5         Calhoun, certified legal videographer,
  6         retained by Reliable Court Reporting --
  7                      -- and somebody is making a lot
  8         of noise.
  9                      -- retained by Reliable Court
 10         Reporting.   The document technician today
 11         is Rebekah Rothstein.
 12                      This is a video deposition in
 13         the US Bankruptcy Court for the District
 14         of Delaware.    Today's date is
 15         December 2nd of 2021.      The time on the
 16         monitor is, hang on, 9:35 a.m. Eastern
 17         Time.
 18                      We are here in the matter --
 19         the deposition is being held virtually in
 20         the matter of In Re: Boy Scouts of America
 21         and Delaware BSA LLC.      The deponent is
 22         Michael Hotaling.     The attorneys will be
 23         on the stenographic record.
 24                      The court reporter is Gail
 25         Verbano, and will now administer the oath.


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                                                                  Page 10
  1                         -   -    -
  2                     MICHAEL HOTALING,
  3   after being duly sworn or affirmed to testify to
  4   the truth, was examined and testified as follows:
  5                         -   -    -
  6                    MR. SCHULMAN:     Mr. Cygal, were
  7       you going to be kicking us off on behalf
  8       of one of the committees, ad hoc
  9       committees?
 10                   MR. CYGAL:    I could start if --
 11                   THE VIDEOGRAPHER:     We've got an
 12       echo.
 13                   MR. CYGAL:    Mr. Schulman, if
 14       you want me to start, I can.
 15                       EXAMINATION
 16   BY MR. CYGAL:
 17           Q.      Mr. -- and I hope I pronounce this
 18   correctly.   Hotaling; is that correct?
 19           A.      That's correct.
 20           Q.      Thank you for being here and good
 21   morning.    My name is Everett Cygal.    I represent
 22   the Roman Catholic Ad Hoc Committee.      I just have
 23   a few questions for you this morning relating to
 24   the agreement that The Hartford Insurance Company
 25   has entered into with the Coalition and the FCR


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                                                                      MICHAEL HOTALING

                                                                             Page 11
  1   in this case.
  2                   And what I'd like to do is start
  3   with the term sheet that was entered into and
  4   provided to the Court as part of the sixth
  5   mediators report.       So I'm not sure what the
  6   convention is for the deposition exhibits.                Are
  7   we marking them Hotaling 1?                 Is that the
  8   convention?
  9                   THE COURT REPORTER:               Yes.
 10                   MR. CYGAL:          So if that's the
 11       case, I'd like to mark this as Exhibit
 12       Number 1.
 13                       -       -       -
 14           (Whereupon, Hotaling Exhibit 1 was
 15           marked for identification.)
 16                           -       -       -
 17   BY MR. CYGAL:
 18           Q.      And if I could ask to go to the
 19   sixth page of this PDF.
 20                   Mr. Hotaling, this is the first
 21   page of the settlement term sheet.                Have you seen
 22   this before?
 23           A.      Yes, I have.
 24           Q.      And are you familiar with the
 25   terms contained within this document?


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                                                         MICHAEL HOTALING

                                                                Page 12
  1              A.   I am generally familiar with the
  2   terms.
  3              Q.   And are you prepared to testify
  4   today in connection with the Hartford's
  5   settlement with the Coalition and the FCR?
  6              A.   Yes.
  7              Q.   And if we look at Romanette ii on
  8   the very first page -- oh, I'm sorry.    I meant on
  9   the sixth page of the PDF, first page of the
 10   settlement -- sorry.    There we go -- it indicates
 11   that The Hartford is going to be making two cash
 12   payments if this settlement is consummated;
 13   correct?
 14            A.     Yes.
 15            Q.     And that would be a total of
 16   $787 million?
 17            A.     Correct.
 18            Q.     Now, if I could ask to go to the
 19   ninth page of the PDF.
 20                   There's a Romanette Number viii,
 21   Chartered Organizations.
 22                   Do you see that, Mr. Hotaling?
 23            A.     I do.
 24            Q.     And for the record, can you read
 25   into the record the first sentence of Romanette


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                                                                MICHAEL HOTALING

                                                                       Page 13
  1   Number viii.
  2           A.      Yes.       "Under the plan, the
  3   debtors, the Coalition, the FCR, and the trust
  4   shall secure an assignment to the trust of, or
  5   otherwise resolve to the parties' satisfaction,
  6   chartered organizations' rights or claims to
  7   coverage under abuse insurance policies issued by
  8   Hartford."
  9           Q.      Thank you.
 10                   Now, this uses a defined term
 11   "abuse insurance policies."            I believe that was a
 12   defined term in the fifth amended plan.
 13                   As you sit here, do you recall
 14   what that term encompasses?
 15           A.      Not with precision.
 16                   MR. CYGAL:         Okay.   We could
 17       mark then -- I have a single page from the
 18       fifth amended plan.        We'll mark this as
 19       Hotaling Exhibit 2; and it's the single
 20       page PDF.
 21                     -        -       -
 22           (Whereupon, Hotaling Exhibit 2 was
 23           marked for identification.)
 24                          -       -       -
 25                   MR. RUGGERI:           Everett, is that


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                                                                Page 14
  1       from the Modified Fifth Amended Plan?
  2                   MR. CYGAL:    It should be, yes.
  3                   MR. RUGGERI:   Fine.
  4   BY MR. CYGAL:
  5           Q.      And so you can see that it has --
  6   it's Document Number 6443, for the record.
  7                   And so, Mr. Hotaling, I want to
  8   turn your attention to paragraph 20, which has a
  9   definition of "abuse insurance policies."
 10                   Do you see that?
 11           A.      Yes.
 12           Q.      And that refers to policies
 13   collectively, the BSA insurance policies and the
 14   local council insurance policies.
 15                   Do you see that?
 16           A.      I do.
 17           Q.      Does that refresh your
 18   recollection that the term "abuse insurance
 19   policies" would cover both policies issued by The
 20   Hartford to the BSA directly as well as to local
 21   councils?
 22           A.      I believe that's correct.
 23           Q.      Okay.   Can we go back to Hotaling
 24   Exhibit Number 1.
 25                   Thank you.


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                                                               Page 15
  1                  So is it fair to say,
  2   Mr. Hotaling, that this term sheet was
  3   conditioned upon some type of assignment of the
  4   rights of the chartered organizations to -- not
  5   only their rights to the BSA policies issued by
  6   The Hartford to the BSA but also policies issued
  7   by The Hartford to the local councils?
  8           A.     The term sheet itself is the --
  9   the best memorialization of the negotiated
 10   agreement of the parties.     As I understand
 11   Romanette viii and the first sentence of
 12   Romanette viii, the agreement is conditioned upon
 13   the -- the debtors, the Coalition, the FCR, and
 14   the trust securing an assignment to the trust of
 15   chartered organizations' rights or claims.
 16                  But that --
 17           Q.     And -- oh, I'm sorry.
 18           A.     -- that -- the issue may be
 19   otherwise resolved as well.
 20           Q.     And that language is "otherwise
 21   resolved to the parties' satisfaction"; correct?
 22           A.     Yes.
 23           Q.     And so that would include The
 24   Hartford's satisfaction?
 25           A.     Correct.    That's my understanding.


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                                                                    Page 16
  1           Q.        And what if that issue was not
  2   resolved to The Hartford's satisfaction?       Would
  3   The Hartford still pay the $787 million?
  4                     MR. RUGGERI:   Objection to form
  5       to the extent it calls for speculation.
  6                     You may answer it again.
  7           A.        I can't answer that question as I
  8   sit here.    That situation has not arisen.    But I
  9   believe that Hartford has the option to make a
 10   decision at the point in time when that -- when
 11   that situation presents itself.
 12           Q.      So you're saying The Hartford
 13   could waive this condition?
 14           A.      I believe there's another document
 15   that speaks to that, if I'm recalling correctly.
 16   But my understanding is that Hartford could waive
 17   this condition.
 18           Q.      And what document are you
 19   recalling, sir?
 20           A.      I can't place it.    It -- I
 21   can't -- it may be a term of the -- it may be in
 22   the term sheet somewhere.     I'm not sure what I'm
 23   thinking of.
 24           Q.      Okay.   So The Hartford could waive
 25   this or The Hartford could enforce this; correct?


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                                                               Page 17
  1           A.     Yes.
  2           Q.     Has this condition been satisfied
  3   to the satisfaction of The Hartford, as you sit
  4   here today?
  5           A.     Not to my knowledge.
  6           Q.     Now, it talks about the charters'
  7   rights or claims to coverage under abuse
  8   insurance policies.
  9                  Do you see that?
 10           A.     Yes.
 11           Q.     Is it your understanding that
 12   those rights or claims to coverage would be as
 13   additional insureds under those policies?
 14           A.     Well, the -- the best indication
 15   of that is in the policies themselves in the "who
 16   is insured" provisions.   My recollection, as I
 17   sit here, is that chartered organizations have
 18   additional insured rights on at least some of the
 19   abuse insurance policies.
 20           Q.     And in particular, is it your
 21   recollection that chartered organizations have in
 22   some instances additional insured rights under
 23   policies issued by The Hartford or its affiliates
 24   to the local councils?
 25           A.     So, again, the policies themselves


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                                                               Page 18
  1   would be the best source on that.
  2                  My recollection is that that --
  3   that they are -- that the chartered
  4   organizations -- some chartered organizations may
  5   be additional insureds on some of the local
  6   council policies.
  7           Q.     And is there a way that you're
  8   familiar where those additional insured rights
  9   could be taken away from the chartered
 10   organizations on the local council policies
 11   without their consent?
 12                  MR. RUGGERI:    Objection; calls
 13       for a legal conclusion.
 14           A.     I don't have an answer to that
 15   question.
 16           Q.     In your dealings has anybody ever
 17   suggested that that could be done?
 18                  MR. RUGGERI:    Objection;
 19       instruct not to answer to the extent it
 20       requires you to disclose mediation
 21       communications or attorney-client
 22       communications.
 23           A.     No.
 24           Q.     The last sentence in this
 25   particular condition says, "The debtors, the


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                                                                Page 19
  1   Coalition, and the FCR shall use their best
  2   efforts to settle with the chartered
  3   organizations."
  4                   Do you see that?
  5              A.   I do.
  6              Q.   What do you understand this term
  7   to require the debtors, the Coalition, and the
  8   FCR to do?
  9                   MR. RUGGERI:   Objection; to the
 10       extent it calls for speculation.
 11           A.      I believe the best -- the best
 12   efforts language is a -- is a legal term of art,
 13   and I'm not certain what it -- what it requires.
 14   But generally speaking, I think the language
 15   is -- speaks for itself.
 16           Q.      What would happen if the debtors,
 17   the Coalition, and the FCR did not use their best
 18   efforts?
 19                   MR. RUGGERI:   Objection; calls
 20       for speculation.
 21           A.      Well, again, that I -- I'll defer
 22   to the term sheet as the contract and the -- that
 23   defines the obligations of the parties.   My
 24   understanding is that that would be a breach of
 25   this term sheet condition.


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                                                                          Page 20
  1             Q.     And then it would be up to The
  2   Hartford either to waive the condition or The
  3   Hartford could walk away from the deal?
  4             A.     That's my understanding.
  5                    MR. CYGAL:             Okay.   Now, there
  6       was a plan supplementation that came out
  7       yesterday that contained a draft insurance
  8       agreement.    So I'd like to mark -- or I'm
  9       sorry -- draft settlement agreement.               I'd
 10       like to just mark that as Hotaling Exhibit
 11       Number 3.    And then that's the big
 12       2-megabyte file that I sent last night.
 13                      -        -       -
 14             (Whereupon, Hotaling Exhibit 3 was
 15             marked for identification.)
 16                           -       -       -
 17   BY MR. CYGAL:
 18             Q.     So this was Exhibit J to Document
 19   Number 7515.
 20                    Mr. Hotaling, have you seen -- so
 21   let's go one -- into the second page of the PDF.
 22                    Have you seen this document
 23   before?
 24             A.     No.
 25             Q.     So this is the first time that


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                                                                   Page 21
  1   you've seen this?
  2           A.        Yes.
  3           Q.        Okay.    Did you know that a full
  4   settlement agreement was under negotiation?
  5           A.        Yes.
  6           Q.        Were you involved in the
  7   negotiation of that agreement?
  8           A.        No.
  9           Q.        I understand that this is the
 10   first time you're looking at it.       I will ask you
 11   some questions; and we'll see what you can and
 12   can't testify about this.
 13                   MR. RUGGERI:      Everett, just to
 14       be clear, Everett, our understanding and
 15       agreement was that Mr. Hotaling testify to
 16       the term sheet and to the settlement
 17       agreement if one were executed by his
 18       deposition.    The witness has not seen this
 19       document.
 20                   I think you see from the
 21       Footnote 1 that it remains subject to
 22       change.   I don't think it's appropriate to
 23       ask this witness on the fly to review a
 24       draft document that he's never seen
 25       before.


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                                                                  Page 22
  1                    MR. CYGAL:     Well, Mr. Ruggeri,
  2       I -- I think he is the company's 30(b)(6)
  3       representative.    If he doesn't know
  4       anything about it, you know, obviously, he
  5       could say he doesn't and he's not
  6       prepared; and we could deal with that.
  7                    But I -- you know, I was just
  8       as surprised as everyone else to see this
  9       come across on the 30th.      So I would
 10       like to ask these questions.      And if he --
 11       if he defers from answering, then we'll
 12       just deal with it that way.
 13                    MR. RUGGERI:    He may and I'll
 14       object beyond the scope, so . . .
 15                    MR. CYGAL:   Okay.   All right.
 16       Can we go to page 28 of this PDF.
 17                    Oh, I'm sorry.    Can we go one
 18       page back -- there we go.
 19             Q.     There is a paragraph D, Chartered
 20   Organizations.   And I'll just read it into the
 21   record.   "Under the plan, the debtors, the
 22   Coalition, and the FCR, and the settlement trust
 23   shall secure an assignment to the settlement
 24   trust of, or otherwise resolve to the parties'
 25   satisfaction, chartered organizations' rights or


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                                                                Page 23
  1   claims to coverage under The Hartford policies.
  2   The debtor, the Coalition, and the FCR shall use
  3   their best efforts to settle with the chartered
  4   organizations."
  5                    Do you see that, Mr. Hotaling?
  6              A.    I do.
  7              Q.    All right.   That language is very
  8   similar to the language that's in the term sheet;
  9   is it not?
 10           A.      It appears to be.
 11           Q.      I think the only difference is
 12   there's a reference to The Hartford policies,
 13   which is a defined term in this settlement
 14   agreement, and that could be found on page 10 of
 15   the PDF.    And you'll see that it's paragraph
 16   number 46.
 17                   "Hartford policies means The
 18   Hartford BSA policies and The Hartford local
 19   council policies."
 20                   Do you see that?
 21           A.      I do.
 22           Q.      So that seems to be very similar
 23   to the prior definition of "abuse insurance
 24   policies"; correct?
 25           A.      It seems to be.


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                                                                 Page 24
  1            Q.      Now, I do want to turn your
  2   attention, however, to page 15 of the
  3   agreement -- page 15 of the PDF -- I'm sorry.       I
  4   think this is 15 of the agreement -- so one page
  5   prior.   There we go.
  6                    So there's a Roman II,
  7   Effectiveness and Conditions Precedent.
  8                    Do you see that?
  9            A.      Yes.
 10            Q.      Do you have an understanding of
 11   what a condition precedent is, Mr. Hotaling?
 12            A.      In a general sense I do have an
 13   understanding.
 14            Q.      And those are conditions that have
 15   to be satisfied before any obligations are
 16   imposed on the other party; correct?      As a
 17   general --
 18            A.      That sounds like -- that sounds
 19   like a fair characterization as a general matter.
 20            Q.      If we can go to the 18th page of
 21   the PDF -- there we go -- there's this
 22   paragraph F.
 23                    So this is under the Conditions
 24   Precedent section, so this is Roman II B2F for
 25   the record.    And this too talks about, "Under the


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                                                               Page 25
  1   plan, the debtors, the Coalition, the FCR, and/or
  2   the settlement trust shall secure an assignment
  3   to the settlement trust of and then release any
  4   and all present and future claims by chartered
  5   organizations."   And the language changes, it
  6   says, "against any Hartford protected party."
  7                  Do you see that?
  8           A.     Yes.
  9           Q.     And then it goes on to say,
 10   "arising out of or relating in any way to
 11   coverage issued or allegedly issued by any
 12   Hartford protected party for claims for abuse
 13   relating in whole or in part to Scouting."
 14                  So with that in mind, let's go to
 15   the 11th page of the PDF.
 16                  If you look at paragraph 47,
 17   there's a definition of "Hartford protected
 18   parties."
 19                  Do you see that, Mr. Hotaling?
 20           A.     Yes.
 21           Q.     So that includes, "Hartford
 22   Accident Indemnity, First State Insurance, Twin
 23   City Fire Insurance Company, Navigators Specialty
 24   Company solely in their capacity as such and each
 25   of their affiliates."


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                                                                  Page 26
  1                    Is that correct?
  2           A.       That's what the language -- the
  3   document in front of me says, yes.
  4           Q.       Okay.   So if we go back to
  5   paragraph F on page 18 of the PDF, this condition
  6   is requiring "a release of all present and future
  7   claims by chartered organizations against any
  8   Hartford protected party relating to coverage
  9   issued by a Hartford protected party for abuse
 10   relating in whole or in part to Scouting."
 11                    Is that correct?
 12                    MR. RUGGERI:   Objection; beyond
 13       the scope.   The witness has never seen the
 14       document.
 15                    You may answer in a personal
 16       capacity to the extent you can.     If you
 17       can't, then say so.
 18           A.       So my answer is that I've not seen
 19   the document before.     I'm no more able to
 20   interpret the language that's in front of me for
 21   the first time than anybody else here.     I don't
 22   know whose language it is.      I don't know what the
 23   status of this document is or who is proposing
 24   the language here.    And I don't have any
 25   confidence in my ability to sit here and


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                                                                Page 27
  1   interpret it.
  2           Q.        As you sit here today, do you
  3   understand that this language is much broader
  4   than the previous language that required to
  5   resolve to the parties' satisfaction the
  6   charters' rights or claims under The Hartford
  7   policies?
  8                     MR. RUGGERI:   Same objection;
  9       and instruction.
 10                   If your answer is the same, say
 11       so, please.
 12           A.      I don't have a view on whether
 13   it's broader or not.
 14           Q.      Do you know if by including a term
 15   that related to Hartford protected parties, this
 16   would include coverage that chartered
 17   organizations independently bought from The
 18   Hartford protected parties separate and apart
 19   from the coverage that the BSA and the local
 20   councils purchased?
 21                   MR. RUGGERI:     Same objection;
 22       and instruction.
 23           A.      I don't know.
 24           Q.      Do you know if the judge would
 25   have the jurisdiction to impair the insurance


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                                                                 Page 28
  1   that The Hartford protected parties sold to
  2   chartered organizations independently of the
  3   policies sold by The Hartford to the BSA or local
  4   councils?
  5                  MR. RUGGERI:     Same objection;
  6       and instruction.     Obviously calls for a
  7       legal conclusion.    You don't have to
  8       answer that.
  9                  The judge will decide what she
 10       does or doesn't have the jurisdiction to
 11       do, Everett.   Can we move on?
 12           Q.     All right.     So, Mr. Hotaling, I
 13   assume you're going to follow your attorney's
 14   instruction on that?
 15           A.     I will.
 16           Q.     Okay.    What happens if this
 17   condition isn't fulfilled?    Do you know?
 18                  MR. RUGGERI:    Same objection
 19       and instruction.
 20           A.     I don't know.
 21           Q.     One of the possibilities is that
 22   The Hartford could terminate this deal and refuse
 23   to pay the $787 million; correct?
 24                  MR. RUGGERI:    Same objection
 25       and instruction.


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                                                                   Page 29
  1             A.      I don't think that is a
  2   possibility, because as I understand it, this is
  3   not an agreement.
  4             Q.      So what was your involvement with
  5   the BSA and the negotiations with the debtor, the
  6   FCR and the coalition after the term sheet was
  7   agreed?
  8             A.      I was not directly involved.    I
  9   was generally kept apprised of the progress.
 10             Q.     And it's your testimony that no
 11   one apprised you of the change that's encompassed
 12   in paragraph F?
 13                    MR. RUGGERI:   Objection to
 14       form.
 15             A.     That's correct.
 16                    MR. CYGAL:   All right.    I think
 17       those are all the questions I have.      I
 18       appreciate, Mr. Hotaling, your time today.
 19       Thank you.
 20             A.     Thank you.
 21                        EXAMINATION
 22   BY MR. RICE:
 23             Q.     This is Ed Rice representing the
 24   United Methodist ad hoc committee.    I just have
 25   one question, if I could interpose it now.       It's


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  1   has -- well, strike that.
  2                   Can you tell from the policy
  3   number whether or not that's a primary -- a
  4   primary or excess policy?
  5              A.   I believe it is an excess policy.
  6              Q.   And can you tell that from the
  7   policy number or you just happen to know or
  8   something else?
  9              A.   I'm looking at the policy number.
 10           Q.      And what in the policy number
 11   leads you to believe that?
 12           A.      The HUA designation.
 13           Q.      What does "HUA" stand for?
 14           A.      I don't know.
 15           Q.      Okay.    But you have reason to
 16   believe that that designation is something
 17   affiliated with an umbrella or excess policy as
 18   opposed to a primary policy?
 19           A.      Yes.
 20           Q.      Does this -- this row on Exhibit A
 21   of Exhibit 6 refresh your recollection that The
 22   Hartford first went on the Boy Scouts risk in May
 23   of 1971?
 24                   MR. RUGGERI:    Objection; form.
 25           A.      No.


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                                                                   Page 87
  1             Q.      Okay.   Well, can we agree, based
  2   upon this chart, that The Hartford sold the
  3   Boy Scouts an excess policy with a policy period
  4   starting May 1st, 1971?
  5             A.      Yes.
  6             Q.      All right.   Does The Hartford have
  7   a position or opinion as to whether or not this
  8   policy has -- or is subject to an aggregate limit
  9   applicable to bodily injury claims?
 10                  MR. RUGGERI:     Objection to
 11       form, overly broad to the extent it calls
 12       for a legal conclusion.
 13                  You may answer if you have
 14       knowledge outside of attorney-client
 15       communications.
 16             A.   I believe the policy includes an
 17   aggregate limit.
 18             Q.   That may be, but I'm asking you if
 19   that, according to the policy, to your knowledge,
 20   does that aggregate limit apply to bodily injury
 21   claims?
 22                  MR. RUGGERI:     Same objection
 23       and instruction.
 24             A.   I would need to review the terms
 25   and conditions.


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                                                                Page 88
  1           Q.     Have you ever seen a Hartford
  2   general liability policy that is subject to an
  3   aggregate limit but only for ongoing
  4   operations -- completed operations or
  5   work-related claims, employment-related claims?
  6                  MR. RUGGERI:     Objection; form.
  7       I think you jumbled your question, Jeff.
  8           A.     I don't think I've seen a policy
  9   that fits the description you just gave, but I'm
 10   not sure if that was the intention behind your
 11   question.
 12           Q.     Were any dollars from policy
 13   10 HUAA -- 10 HUA 43300 contributed to the
 14   $787 million purported settlement offered by
 15   Hartford?
 16                  MR. RUGGERI:   Objection; form.
 17           A.     So the settlement has not been
 18   approved or paid so there's no dollars
 19   attributable to any policies.
 20           Q.     So I understand that.    I
 21   appreciate that clarification.
 22                  Assuming that settlement were to
 23   go forward, would any dollars of the $787 million
 24   come from policy number 10 HUA 43300?
 25                  MR. RUGGERI:   Same objection.


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                                                                 Page 91
  1                    Does that sound like it might be
  2   right, give or take?
  3           A.       I'll take your word for it.
  4           Q.       Have you personally reviewed any
  5   of these policies in preparation for your
  6   deposition?
  7           A.       Yes.
  8           Q.       Which ones?
  9           A.       I don't recall.
 10           Q.       Did you review any of the BSA
 11   policies in Exhibit A in preparation for your
 12   deposition?
 13           A.       Yes.
 14           Q.       Which ones?
 15           A.       I don't recall.
 16           Q.       Let's start with the BSA -- the
 17   BSA policies.
 18                    Do you recall reviewing one or
 19   more than one?
 20           A.       I recall reviewing several.
 21           Q.       Were they primary, excess or both?
 22           A.       Both.
 23           Q.       Were they policies that you wanted
 24   to see or that were presented to you for review?
 25           A.       I had all of the policies at my


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                                                                Page 92
  1   disposal, and I reviewed a small sample of them.
  2              Q.   How did you decide what that small
  3   sample would consist of?
  4              A.   Consecutively, based on the pile
  5   of policies at my disposal.
  6              Q.   So you started from the beginning?
  7              A.   Yes.
  8              Q.   So would that have been the -- the
  9   '71, '72, excess policy we were talking about
 10   earlier?
 11           A.      It may have been.    It may have
 12   been early primaries.
 13                   MR. SCHULMAN:   All right.
 14       Well, then let's go back to Exhibit A for
 15       a moment, if we could.
 16                   Thank you.
 17           Q.      If you go to the third one down,
 18   that has a different prefix, the CA; right?
 19           A.      Yes.
 20           Q.      Does that -- that CA prefix give
 21   you some indication as to whether it's a primary
 22   or excess policy?
 23           A.      It does.
 24           Q.      What does that indicate to you?
 25           A.      That it's primary.


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                                                                  Page 93
  1             Q.      What does CA stand for?
  2             A.      I don't know.
  3             Q.      Can we agree that at least based
  4   upon this chart, policy 10CA43315 with a policy
  5   period of 9/21/71 to 1/1/72 is the first or
  6   earliest Hartford primary policy sold to the Boy
  7   Scouts?
  8                     MR. RUGGERI:    Objection to
  9       form.      Ignores the asterisk, Jeff.
 10             A.      I haven't undertaken to look
 11   through the dates, but I don't have a reason to
 12   doubt it.
 13             Q.      Did you happen to notice that that
 14   policy has a per person limit of liability?
 15             A.      I don't recall.
 16             Q.      Do you know what the difference is
 17   between a per person limit of liability and a per
 18   occurrence limit of liability?
 19             A.      Generally, yes, but policy
 20   language has varied over the years and they --
 21   those terms can be defined in different ways
 22   depending on the specifics of the policy.
 23             Q.      What is your general
 24   understanding?
 25             A.      I really -- I defer to the


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                                                               Page 113
  1   say that Hartford considers primary policies to
  2   be exhausted on the basis of the occurrence
  3   limits, and in some cases by virtue of
  4   settlements.
  5            Q.     When you say "the occurrence
  6   limits," can you tell me what you mean by that.
  7            A.     I mean, that each primary policy
  8   has a limit that is defined as a per occurrence
  9   limit.   And that some or all or many of the
 10   primarily policies are exhausted on that basis.
 11            Q.    So if --
 12            A.    Actually, I misspoke.   As I -- I'm
 13   sorry.   As I reflect for a moment, some of the
 14   policies are exhausted.   I would not say many or
 15   all.
 16            Q.    Which ones are exhausted?
 17            A.    I don't know off the top of my
 18   head which ones in particular but it is -- it
 19   was -- there are a number of them that are.
 20            Q.    Are you referring to -- because
 21   you mentioned BSA Hartford settlement agreements
 22   earlier, and we'll get to those.   But are those
 23   the policies you're thinking of that were
 24   exhausted by, according to Hartford, by operation
 25   of settlement agreements with the Boy Scouts?


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                                                                Page 114
  1           A.        I believe some are exhausted by
  2   operation of settlement agreements and some are
  3   exhausted by operation of the policy language and
  4   the occurrence limit.
  5           Q.        So back in 2000 -- looks like '16
  6   when that $1.2 million payment was made, fair to
  7   say, based upon your earlier testimony, that that
  8   individual alleged abuse between January 1st,
  9   1974, and January 1st, 1975?
 10           A.     It's speculation on my part.    I
 11   don't have the complaint.     But if -- that's my
 12   speculation.
 13           Q.     Okay.    And would -- if there were,
 14   let's say, five people, including this individual
 15   who alleged abuse between January 1st, 1974,
 16   and January 1st, 1975, did Hartford consider that
 17   to be one occurrence, five occurrences or
 18   something else?
 19           A.     So that's a hypothetical question.
 20   I will say that Hartford considers the sexual
 21   abuse allegations against the BSA to arise from a
 22   single occurrence.
 23           Q.     All allegations of sexual abuse
 24   arise from one occurrence?    That's Hartford's
 25   position?


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                                                                Page 115
  1           A.       Sexual abuse associated with
  2   Scouting, yes.
  3           Q.       Meaning that if there were 10,000
  4   people who alleged abuse associated with Scouting
  5   between 1/1/74 and 1/1/75 that would be, in
  6   Hartford's view, one occurrence?
  7           A.       Again, that's a hypothetical
  8   question; and may depend on facts and
  9   circumstances of each -- of each claim; but
 10   generally speaking, yes.
 11                    MR. SCHULMAN:   Can we go back
 12       to Exhibit 8 for identification, please.
 13                    Oh, that's there.   Great.   And
 14       then on the right-hand side if you could
 15       bring us back to that chart we've been
 16       using, Exhibit 3 -- C.
 17                    Perfect, thank you very much.
 18           Q.       So on page 1 of the chart on the
 19   right-hand side, four lines from the bottom,
 20   there is a -- five lines from the bottom it's
 21   identified by DSP-1-52-4916.
 22                    Do you see that?
 23           A.       No, not at the moment.
 24                    Four lines from the bottom it
 25   looks like?


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                                                                 Page 124
  1   me to read Footnote 2 as well?
  2           Q.     Just 1 is fine for now.
  3           A.     Okay.
  4           Q.     You've read it?
  5           A.     I have.
  6           Q.     Okay.   Did you see about four
  7   lines down it makes reference to concurrent
  8   coverage provided by primary policies?
  9           A.     Yes.
 10           Q.     All right.     And in that footnote
 11   it starts by making reference to, for example,
 12   policy 10CA43303, with a policy period of
 13   1/1/71 to 1/1/74; right?
 14           A.     Yes.
 15           Q.     Okay.   And that's -- I think
 16   that's one that we saw on the chart and we were
 17   talking about earlier; right?
 18           A.     I believe so.
 19           Q.     And one to which I think we saw on
 20   the Exhibit C to our stipulation some settlements
 21   have been allocated to; correct?
 22           A.     I think so.
 23           Q.     Okay.   And then she describes as
 24   concurrent coverage, for example, policy
 25   10CA43304, with the same policy period.


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                                                               Page 125
  1                    Do you see that?
  2             A.     Yes.
  3             Q.     Do you know why or how it is that
  4   Hartford sold liability -- different liability
  5   policies to the Boy Scouts with the same policy
  6   period?
  7             A.     It's Hartford's position that the
  8   concurrent policies were intended to cover the
  9   home office operations of the Boy Scouts and not
 10   the Scouting operations.
 11             Q.    You say that they were intended
 12   to.   Are you suggesting that that's not actually
 13   how they operate?
 14                   MR. RUGGERI:    Objection; calls
 15         for a legal conclusion.
 16             A.    I believe it is a disputed issue.
 17   It's Hartford's position that the parties'
 18   intentions can be determined from the terms of
 19   the concurrent policies.
 20             Q.    Do you know if any underlying
 21   sexual molestation claim was settled with
 22   proceeds from any of what she refers to as this
 23   concurrent coverage?
 24             A.    Not to my knowledge.
 25             Q.    Can you go to page 2 of that


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                                                                Page 144
  1           A.     I thought that -- as I just heard
  2   you -- your recitation, I thought you said that
  3   the 49E policy was '76 to '77.
  4           Q.     It is.    And I -- what -- what you
  5   have in front of you is the 59E '77 to '78.
  6           A.     Oh, I see.     Okay.
  7           Q.     Okay.    So now that I've read that
  8   definition and with the first page of this policy
  9   in front of you, can we agree that Exhibit 12 is
 10   the 1977 policy referenced in the settlement
 11   agreement at Exhibit 11?
 12           A.     Yes.
 13           Q.     Okay.    And at the top right-hand
 14   corner it says, "Boy Scouts of America National
 15   Council."
 16                  Do you see that?
 17           A.     I do.
 18           Q.     Okay.    Where in this policy would
 19   we go to look to see whether anyone or anything
 20   other than the Boy Scouts of America are insured
 21   under this policy?
 22           A.     Well, we might start with a named
 23   insured or additional insured endorsement.
 24           Q.     Do you recall seeing such an
 25   endorsement in this policy when you reviewed it


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                                                              Page 145
  1   in preparation for your deposition?
  2           A.       I don't recall.
  3           Q.       How about the definition of
  4   "insured"?
  5           A.       The definition of "insured" would
  6   also be relevant to understand who the insured
  7   parties are under the policy.
  8           Q.       Just give me one minute.
  9                    And so by way of example if we
 10   went to Bates stamp 15880, is that an additional
 11   insured endorsement you were referring to?
 12                   MR. RUGGERI:    Objection to
 13       form.    That doesn't apply to CGL --
 14           (Simultaneous cross-talk.)
 15                   MR. SCHULMAN:   Fair point.
 16       Strike that.   Yep.
 17                   MR. RUGGERI:    You're getting
 18       close -- you're getting warmer, though.
 19                   MR. SCHULMAN:   Yeah, yeah,
 20       yeah, 15888.   Sorry.
 21           Q.      Is that an additional insured
 22   endorsement with regard to the CGL coverage?
 23           A.      Yes.
 24           Q.      Okay.   How about 15889, also other
 25   insureds?


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                                                                Page 146
  1           A.       Yes, this is a form of an
  2   additional insured endorsement.
  3           Q.       How about 15895?
  4           A.       Yes.
  5           Q.       And I don't know if -- I don't
  6   recall if I asked you before.      So if I did, I
  7   apologize.   But do you recall when you reviewed
  8   this policy in preparation for your deposition,
  9   whether or not one or any local councils were
 10   also insureds under this policy?
 11           A.       I don't recall.
 12           Q.       Do you know why it is -- strike
 13   that.
 14                    Why is it that only the Boy Scouts
 15   of America are signatories to this settlement
 16   agreement, given the other additional insureds
 17   under this policy?
 18                    MR. RUGGERI:    And I object to
 19       the form of the question; misreads the
 20       agreement.
 21           A.       I don't know.
 22           Q.       Did Hartford seek permission or
 23   consent to release this policy from any of the
 24   other insureds -- named insureds or additional
 25   named insureds besides the Boy Scouts of America?


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                                                                    Page 151
  1   whatever they did with it?       Is that the
  2   understanding?
  3                    MR. RUGGERI:    Calls for
  4       speculation.
  5           A.       Yeah, again, the agreement speaks
  6   to Hartford's rights and responsibilities.           But,
  7   yes.
  8           Q.       What was the per occurrence limit
  9   of the '76 policy?
 10           A.       You have to go back to the policy.
 11           Q.       How about the '77 policy?
 12           A.       Same answer.
 13           Q.       Fine.
 14                    MR. SCHULMAN:    So can we pull
 15       up Exhibit 12, please.      And if we go to --
 16       this is the '77/'78 policy.      If we go to
 17       Bates stamp 158850.
 18                    THE DOCUMENT TECH:    I'm sorry,
 19       what was the Bates stamp again, 158 --
 20                    MR. SCHULMAN:    15852 -- sorry.
 21       15852.   Sorry.
 22                    I don't think that's it.      Let
 23       me see what --
 24                    MR. RUGGERI:    That's not it.
 25       That is not it.


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                                                                   Page 152
  1                      MR. SCHULMAN:    Yeah, so 15852.
  2       All right.      Can you scroll up to the top
  3       of that page, if you don't mind.        There we
  4       go.    Okay.    Got it.
  5             Q.       Sir, looking at 15852, do you see
  6   at the top it's the comprehensive general
  7   liability insurance coverage part?
  8             A.       Yes.
  9             Q.       And then if you go to coverages,
 10   you see Coverage A, bodily injury liability?
 11             A.       Yes.
 12             Q.       And under Limits of Liability
 13   there are no numbers there but it says "See
 14   single limit"?
 15             A.       And some additional words, yes.
 16                      MR. SCHULMAN:   All right.   Can
 17       we go to 15893, please.
 18             Q.       Is this the single limit
 19   endorsement that was referenced on the dec page
 20   we just looked at?
 21             A.       It appears to be.
 22             Q.       Okay.   And you see towards the
 23   middle of the page it says "coverages" and then
 24   it has coverage parts CGL and K.
 25                      THE WITNESS:    Can we zoom in on


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                                                                   Page 153
  1          it a bit.
  2                      Thank you.
  3                      (Witness reviews document.)
  4             A.       Yes.
  5             Q.       And if we -- if we look at the
  6   coverage parts and the codes above it, CGL is the
  7   comprehensive general liability insurance; right?
  8             A.       Yes.
  9             Q.       All right.   And it has a
 10   $1 million limit each occurrence?
 11             A.       Yes.
 12             Q.       And has a $1 million aggregate for
 13   a Division 1?
 14             A.       Can we -- I can go back to my
 15   earlier response, coverage part K is contractual
 16   liability insurance.
 17             Q.       So is -- is your understanding
 18   that this -- these are the limits for just the
 19   contractual liability insurance?
 20             A.       Yes.
 21             Q.       All right.   Where we would go --
 22             A.       I don't -- so I'm reading it with
 23   you.    I have not studied this in preparation for
 24   the deposition.     I'm trying to interpret the
 25   endorsement.


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                                                              Page 154
  1                  If it's intended that CGL
  2   represents the -- CGL as indicated in the
  3   coverage part list before the parenthetical K,
  4   the CGL without parentheses -- I'm sorry --
  5   without quotation marks around it, if those are
  6   each intended to be a separate indication of the
  7   limits then the CGL would be a million limit and
  8   the contractual liability would be a million
  9   limit.
 10                  I don't know, as I sit here,
 11   whether K is intended to be a subpart of CGL in
 12   the somewhat peculiar way that it's designated on
 13   that line.
 14            Q.    So in -- I received a letter from
 15   Mr. Ruggeri dated October 29th, 2021, wherein
 16   we were told that Hartford would present a
 17   witness to testify regarding the identification
 18   of the relevant policy limits.   So I'm asking you
 19   now on behalf of Hartford what the relevant
 20   policy limits are for policy 10CA43359E.
 21                  MR. RUGGERI:   To be clear, he's
 22       doing his best to do that in accord of the
 23       letter, Mr. Schulman.
 24            A.    So maybe it would be -- an easier
 25   way to accomplish it to reference the limits as


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                                                                Page 155
  1   captured in the exhibit to the stipulation, which
  2   I would not dispute.
  3           Q.      Well, was there any review of this
  4   or any other policy in preparation for today,
  5   sir?
  6                   MR. RUGGERI:   Asked and
  7       answered.
  8           A.      I -- I read some of the policies.
  9   I did not study each and every page and
 10   endorsement of every policy throughout the
 11   history of the BSA program.
 12           Q.      I will represent to you that in
 13   the stipulation, policy 10CA43359E has an
 14   occurrence limit of $1 million.
 15           A.      And I will accept that.
 16           Q.      Okay.   And I will also represent
 17   to you that policy 10CA43349E, which is the '76
 18   policy referenced in the settlement agreement,
 19   has a stated occurrence limit of $500,000.
 20           A.      And I will accept that.
 21           Q.      Okay.   Now, on this page we were
 22   looking at -- because we're talking about
 23   occurrence and aggregate limits earlier -- does
 24   Hartford -- can you tell me on behalf of Hartford
 25   whether policy 10CA4359E, is subject to an


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                                                                 Page 156
  1   aggregate limit?
  2           A.     Yes.
  3           Q.     And on what do you base that
  4   opinion?
  5           A.     I base it on -- in the central
  6   part of the page, coverage parts, limits of
  7   liability, it says $1 million aggregate,
  8   Division 1.
  9           Q.     Okay.    And have you read
 10   Division 1?
 11           A.     I have read Division 1.      I have
 12   not read paragraph B in the limits of liability
 13   provision of the endorsement, which I can't quite
 14   see.
 15           Q.     Well, if we scroll down to the
 16   bottom of the page you'll see that paragraph A is
 17   there; and if we go to the next page, you will
 18   see that paragraph B is not there.   But if we can
 19   go to HFBKPLAN-15954.
 20                  And, actually, we can go one
 21   page back to 53, just so you see the context for
 22   it.
 23                  This appears to be the same form
 24   we were just looking at not filled out.
 25                  And then if we go to the next


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                                                               Page 157
  1   page, you'll see B.
  2                  Have you seen this -- this
  3   page before?   Or this subparagraph B before?
  4           A.     Not that I recall.
  5           Q.     Okay.   Well, sub B is how -- we
  6   get to sub B through Division 1; right?    Because
  7   that's -- that's the -- that's referenced in the
  8   aggregate in the limits?
  9           A.     Yes.
 10           Q.     Okay.   And then sub B talks about
 11   the limit of liability.    And if you go -- I would
 12   encourage you to read the whole thing.    But in
 13   the third line it says, "For all damages because
 14   of all bodily injury and property damage, which
 15   is included in any of the numbered subparagraphs
 16   below and, in Subparagraph 3" . . .
 17                  Do you see that?
 18           A.     I do.
 19           Q.     Okay.   And subparagraph -- the
 20   subparagraphs below, for example, number 1 is
 21   property -- starts with property damage; right?
 22           A.     Yes.
 23           Q.     Can we agree that that doesn't
 24   apply to sexual misconduct claims?
 25           A.     Yes.


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                                                                Page 158
  1              Q.     Subparagraph 2 also applies to
  2   property damage claims, yes?
  3              A.     Yes.
  4              Q.     Can we agree that that does not
  5   apply to sexual misconduct claims?
  6              A.     Yes.
  7              Q.     Subparagraph 3, "All bodily injury
  8   and property damage included within the completed
  9   operations hazard and all bodily injury and
 10   property damage included within the products
 11   hazard."
 12                   Can we agree that that is not
 13   relative to sexual misconduct claims?
 14                   MR. RUGGERI:   Objection to
 15       form, calls for a legal conclusion and for
 16       knowledge of all the facts and
 17       circumstances of the underlying claims.
 18                   You can answer it if you can.
 19           A.      I can't necessarily agree as to
 20   this provision.
 21           Q.      What is the "completed operations
 22   hazard"?
 23           A.      It's a defined term in the policy.
 24           Q.      Have you heard that term before?
 25           A.      Yes, I have.


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                                                              Page 159
  1           Q.     And generally speaking, this
  2   completed operations and -- relate to work being
  3   performed and whether or not that work has been
  4   completed or whether it is ongoing?
  5                  MR. RUGGERI:    Objection to
  6       form.
  7           A.     Without the language, I can't
  8   answer with precision, but I would note that it's
  9   operations being performed and after the
 10   operations are completed.
 11           Q.     So is it Hartford's testimony
 12   that -- that bodily injury claims for alleging
 13   sexual misconduct might be included within the
 14   completed operations hazard?
 15           A.     It's Hartford's testimony that
 16   there could be situations in which that is the
 17   case that would involve evaluating the facts and
 18   circumstances of the -- of the alleged loss as
 19   well as looking at any potentially applicable
 20   case law in order to properly interpret the term.
 21           Q.     Is there -- do you know, as you
 22   sit here today, how many proofs of claim have
 23   been filed in the bankruptcy by individuals
 24   alleging sexual misconduct in connection with
 25   Scouting?


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                                                                Page 181
  1           Q.     Did -- was Hartford involved in
  2   the drafting of the settlement term sheet?
  3           A.     I believe so, through counsel,
  4   yes.
  5           Q.     Who else was involved in the
  6   drafting of the settlement term sheet?
  7           A.     At The Hartford?
  8           Q.     Outside of The Hartford.
  9           A.     I don't know.
 10           Q.     Was there anybody at The Hartford
 11   involved in it that is -- other than in-house or
 12   outside counsel?
 13           A.     No.
 14           Q.     Were -- who at The Hartford other
 15   than counsel were involved in any negotiations
 16   leading up to the drafting of this settlement
 17   term sheet?
 18           A.     Would you repeat that question.
 19           Q.     Yeah.    Who at The Hartford other
 20   than counsel were involved in any negotiations
 21   leading up to the drafting of this settlement
 22   term sheet?
 23           A.     John Kinney.
 24           Q.     What was his involvement?
 25           A.     He was the principal


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                                                                  Page 182
  1   decision-maker.
  2           Q.       I think you might have said
  3   earlier that he was the one who authorized the
  4   number; right?
  5           A.       Correct.
  6           Q.       Did he do anything else?
  7           A.       Not to my knowledge.
  8           Q.       Okay.    So other than counsel and
  9   Mr. Kinney authorizing the 787 million, was there
 10   anybody else at The Hartford involved in the
 11   negotiations leading up to the drafting of this
 12   term sheet?
 13           A.       Not to my knowledge.
 14           Q.       To your knowledge, were there
 15   drafts of this term sheet?      Earlier drafts.
 16           A.       I assume so, but I don't know.
 17           Q.       Have you ever seen any?
 18           A.       No.
 19           Q.       Have you spoken with Mr. Kinney
 20   about this settlement term sheet?
 21           A.       No.
 22           Q.       Have you spoken with anybody other
 23   than counsel about this settlement term sheet?
 24           A.       No.
 25           Q.       From the agreement itself -- well,


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                                                              Page 183
  1   strike that.
  2                    The agreement appears to involve a
  3   bunch of parties including what's defined as
  4   Hartford; right?
  5           A.       Yes.
  6           Q.       And then what's defined as BSA or
  7   the debtors; right?
  8           A.       Yes.
  9           Q.       The ad hoc committee of local
 10   councils, yes?
 11           A.       Yes.
 12           Q.       Do you know what the ad hoc
 13   committee of local councils is?
 14           A.       Not precisely, no.
 15           Q.       Do you know what an ad hoc
 16   committee is in the bankruptcy context generally?
 17           A.       I really don't.
 18           Q.       Do you know who, if anyone, on
 19   behalf of this ad hoc committee of local councils
 20   was communicating with Hartford about the
 21   settlement term sheet?
 22                    MR. RUGGERI:   Objection; lack
 23       of foundation.
 24           A.       I don't know who that person would
 25   have been.


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                                                                Page 184
  1           Q.       Okay.   Do you know what the
  2   Coalition of Abused Scouts for Justice is?
  3           A.       Yes.
  4           Q.       What do you understand that to be?
  5           A.       I understand it to be one of the
  6   organizations -- or one of the collectives of
  7   counsel and claimants against the debtor for
  8   abuse claims.
  9           Q.       Do you know what TCC stands for in
 10   a bankruptcy context?
 11                    MR. RUGGERI:   Objection; form.
 12           A.       Yes.
 13           Q.       What does it stand for?
 14           A.       I believe it stands for Tort Claim
 15   Committee.
 16           Q.       What generally is a Tort Claim
 17   Committee in the bankruptcy context?
 18                    MR. RUGGERI:   Objection; beyond
 19       the scope.
 20                    You may answer in your personal
 21       capacity to the extent you know.
 22           A.       I don't -- I don't know the
 23   precise legal authorization or definition.      I
 24   know generally that it is a committee appointed
 25   to represent the interests of Tort Claimants.


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                                                             Page 185
  1            Q.    And then there's also the FCR
  2   referenced here; right?
  3            A.    Yes.
  4            Q.    The Future Claimants'
  5   Representative?
  6            A.    Yes.
  7            Q.    Do you know what role a Future
  8   Claimants' Representative plays in a bankruptcy?
  9                  MR. RUGGERI:    Objection to
 10       form.
 11            A.    Again, I don't have a precise
 12   understanding of the legal definition or role.
 13   But my understanding is -- generally is that the
 14   FCR is there to protect the interests of any
 15   claims that have not arisen or have not been
 16   presented in the -- in the bankruptcy.
 17            Q.    Is the -- do you see any reference
 18   in this first paragraph to the TCC or Tort
 19   Claimants' Committee?
 20            A.    No.
 21            Q.    Was the TCC involved in any of the
 22   negotiations leading up to the preparation of
 23   this settlement term sheet?
 24            A.    My understanding is that the
 25   TCC --


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                                                               Page 186
  1                    MR. RUGGERI:    Let me pause.
  2       Jeff, I think -- I'll let him answer yes
  3       or no whether he knows.      You're inviting
  4       or eliciting testimony potentially
  5       regarding what we believe are protected
  6       mediation communications.
  7                    If you elicit testimony about
  8       the TCC's participation, to the extent the
  9       witness knows, I want to be clear that the
 10       witness' responses will not be a waiver of
 11       the topic that we agreed would not be
 12       pursued because of our mediation privilege
 13       claim.
 14                    MR. SCHULMAN:   I hear you.
 15                    MR. RUGGERI:    Do we have an
 16       agreement?
 17                    MR. SCHULMAN:   Yes.
 18                    MR. RUGGERI:    Okay.
 19           A.       I don't know anything about the
 20   TCC's involvement that would not have been in the
 21   context of the mediation.
 22           Q.       Do you have any knowledge as to
 23   why the TCC is not listed as one of the parties
 24   to this term sheet?
 25           A.       The TCC did not agree to the


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                                                              Page 187
  1   terms.
  2            Q.    The term being the $787 million?
  3            A.    The entirety of the terms
  4   reflected in the term sheet.
  5            Q.    Well, was the TCC, to your
  6   knowledge, provided this term sheet before it was
  7   finalized and filed with the court on
  8   September 14th, 2021?
  9            A.    Everything I know about the TCC's
 10   involvement in these negotiations would have been
 11   in the context of the mediation.
 12            Q.    What about charter organizations?
 13   Are any charter organizations party to this
 14   agreement?
 15            A.    They are not listed among the
 16   agreement's parties.
 17            Q.    Now, in Footnote 2 it refers to a
 18   restructuring support agreement.   Do you see that
 19   at the bottom of the page?
 20            A.    I do.
 21            Q.    Have you seen that document?
 22            A.    I can't recall.
 23            Q.    Okay.    Do you have any independent
 24   recollection or understanding of what the
 25   restructuring support agreement, as referenced in


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                                                               Page 189
  1   read the words than to have me try to fumble
  2   around and recharacterize them.
  3                  But 50 percent, 1 million, is --
  4   is treated as an administrative expense claim in
  5   the calculation of net unrestricted cash and
  6   investments under the amended plan, and the other
  7   50 percent reduces the unrestricted cash and
  8   investments reserved for BSA upon its emergence.
  9           Q.     But generally speaking, 787 would
 10   go out from Hartford and 2 million would come
 11   back; is that fair?
 12           A.     From Hartford's perspective that's
 13   what would happen, yes.
 14           Q.     Okay.   And pursuant to the terms
 15   of this term sheet, The Hartford policies would
 16   effectively be bought back, yes?
 17           A.     There's a provision in here,
 18   Romanette v, sale of Hartford policies that
 19   essentially so provides, yes.
 20           Q.     But there's --
 21           (Telephonic interruption.)
 22                  MR. SCHULMAN:    I think the
 23       witness and I would take personal offense
 24       to that characterization.
 25                  MR. RUGGERI:    There's plenty of


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                                                                 Page 190
  1       activity, plenty of activity.
  2                     MR. SCHULMAN:    Where were we?
  3             Q.      Oh, yeah, so in -- and in
  4   Romanette v there is -- there's a carve-out from
  5   that release for charter organizations; is there
  6   not?
  7             A.      If you're referring to the
  8   language at the top of page 3 with the italicized
  9   "provided that" and the language that follows as
 10   a carve-out, then, yes, there is.
 11             Q.     And what do you understand that
 12   carve-out to accomplish?
 13                    MR. RUGGERI:     And objection to
 14       the extent it calls for a legal
 15       conclusion.
 16             A.     So, again, I'm not a bankruptcy
 17   lawyer.   I'm not particularly conversant with the
 18   Bankruptcy Code sections that are cited in this
 19   provision.     As I understand it generally, the
 20   chartered organizations lose their rights
 21   directly under the policies and instead take
 22   rights in the proceeds.
 23             Q.     But according to this -- as -- in
 24   accordance with this term sheet, the chartered
 25   organizations would maintain their rights under


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                                                                 Page 191
  1   The Hartford policies?
  2                    MR. RUGGERI:    Objection;
  3       misstates the document; asked and answered
  4       by the witness.
  5           A.       I don't think that's the case.
  6           Q.       So is it your -- is it Hartford's
  7   testimony that a -- if this settlement term sheet
  8   were to be memorialized into a final settlement
  9   agreement, would a chartered organization be able
 10   to seek rights and proceeds as an insured under
 11   one of these Hartford policies?
 12                    MR. RUGGERI:    Calls for a legal
 13       conclusion and misstates the witness'
 14       testimony.   He asked and answered as to
 15       his understanding, also saying he's not a
 16       bankruptcy expert or bankruptcy --
 17                    MR. SCHULMAN:   I'm not asking
 18       for his understanding.      I'm asking for
 19       Hartford's understanding.
 20                    MR. RUGGERI:    He actually said
 21       generally the chartered organizations lose
 22       rights under the policies and instead take
 23       rights in the proceeds.
 24                    MR. SCHULMAN:   I heard that.
 25       And then I asked him a follow-up question.


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                                                                Page 192
  1           A.     So Hartford's understanding is
  2   what is memorialized in the term sheet and what
  3   should ultimately be memorialized in the
  4   settlement agreement when the term sheet is --
  5   becomes a final settlement agreement.      Beyond
  6   that all I can do is give you my relatively
  7   unsophisticated understanding of what these very
  8   sophisticated terms referencing bankruptcy code
  9   provisions that I don't understand what they
 10   mean.
 11           Q.     Well, who at Hartford can I talk
 12   to that would be able to provide a relatively
 13   sophisticated understanding of what these terms
 14   mean?
 15           A.     I would suggest that your best
 16   source of interpretation of this term sheet is
 17   the term sheet itself, and that if you'd like to
 18   discuss what -- what was -- what is memorialized
 19   here, you can raise that with counsel.
 20           Q.     Can we agree that chartered
 21   organizations are not referenced in the release
 22   by Hartford section, which is Romanette vi?
 23                  MR. RUGGERI:   Objection.
 24                  THE WITNESS:   Can we scroll?
 25                  Can we scroll down a little


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                                                               Page 193
  1       bit, please.   That's good.   Thank you.
  2            A.     So, again, I will say that I am no
  3   more qualified to read this language than anybody
  4   else here, and then I will read the language and
  5   see if I can answer your question.
  6                   (Witness reviews document.)
  7            A.     So there are a number of defined
  8   terms here that have a scope that I don't
  9   understand.   So I can't tell you --
 10            (Simultaneous cross-talk.)
 11            Q.    Sorry.   That --
 12            A.    I can't tell you if chartered
 13   organizations are included within some of those
 14   terms.
 15            Q.    How about the release of Hartford
 16   provision below it, Romanette vii?
 17                  MR. RUGGERI:   Jeff, I'd object.
 18       It would require the witness to go back
 19       and forth to the modified fifth plan to
 20       see all the definitions that are embedded
 21       in these provisions you're asking him
 22       about.
 23            A.    Yeah, the release of Hartford
 24   includes some of those same terms that I'm not
 25   familiar with and can't tell you what the scope


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                                                                 Page 194
  1   is.
  2                    And, again, I will just add that
  3   the best statement of Hartford's intentions with
  4   respect to this term sheet is the term sheet
  5   itself.
  6                    MR. SCHULMAN:    If you can go to
  7         Romanette viii, please.
  8             Q.     And I know you were asked about
  9   this earlier today.     My question is:   What
 10   happens if the debtors, the Coalition, the FCR
 11   and the trust cannot or are unable to secure an
 12   assignment to the trust or resolve to their
 13   satisfaction chartered organization rights or
 14   claims to coverage under the Hartford policies?
 15                   MR. RUGGERI:     You gave me a
 16         softball, Jeff.   Asked and answered.
 17             A.    So that -- it's Hartford's
 18   position that this is a condition of Hartford's
 19   performance under the term sheet so that if that
 20   condition was not satisfied or waived, then
 21   Hartford's performance is excused.
 22             Q.    To your knowledge, what efforts or
 23   best efforts have been used since
 24   September 14th, 2021, to settle with chartered
 25   organizations, if any?


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                                                             Page 195
  1             A.    I don't have any knowledge.
  2             Q.    In Romanette ix -- Romanette ix is
  3   called the Judgment -- it's entitled Judgment
  4   Reduction.
  5                   Do you see that?
  6             A.    Yes.
  7             Q.    And does this effectively mean
  8   that the $787 million number can be reduced based
  9   upon any contribution, subrogation,
 10   indemnification or other similar causes of action
 11   that the Hartford may have?
 12                  MR. RUGGERI:   Objection to
 13       form, misstates -- misreads the document.
 14                  You may answer.
 15             A.   And I'll express my same
 16   characterization that the best expression of what
 17   this means is the language of the term sheet
 18   itself.   And if you give me a moment, I will give
 19   you my best interpretation of what I think it
 20   means in regard to the specific question you
 21   asked.
 22             Q.   Okay.
 23                  (Witness reviews document.)
 24             A.   So in the first instance the
 25   provisions of this -- this section of the term


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                                                               Page 196
  1   sheet do not do what -- what your question
  2   suggested.   They oblige -- they oblige the trust
  3   to voluntarily reduce its judgment against the
  4   other insurer by the amount that the other
  5   insurer is asserting should be Hartford's
  6   accountability.   So as I understand the operation
  7   of this provision, if the trust voluntarily
  8   reduced its judgment or cause of action in that
  9   amount, then the claim of the other insurer would
 10   go away.
 11                   But in the event that it doesn't
 12   happen, then there's a provision that allows
 13   Hartford to assert this paragraph as a defense to
 14   any action against it for any unpaid portion of
 15   the -- or -- or -- to assert it as a defense in
 16   any action for that judgment.
 17           Q.      So if -- if at some point in the
 18   future National Union or some other Boy Scouts
 19   insurer filed a lawsuit seeking indemnification
 20   from Hartford and got a judgment against Hartford
 21   in the sum of $100 million, would that
 22   $100 million come from the 787-?
 23                   MR. RUGGERI:   Objection;
 24       document says what it says, misreads the
 25       document.


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IN RE BOY SCOUTS AND DELAWARE BSA
                                                          MICHAEL HOTALING

                                                                Page 197
  1                   MR. SCHULMAN:    I know it says
  2       what it says.      I'm asking --
  3            (Simultaneous cross-talk.)
  4                   MR. RUGGERI:    You're
  5       misreading -- you have it backwards --
  6            A.     I don't think -- I don't think
  7   that's what it -- what it says.
  8            Q.     What does it say?      Where am I
  9   wrong?
 10            A.     So I think in the -- in the first
 11   instance, the provision is intended to operate
 12   where the trust is pursuing another insurer; and
 13   the other insurer asserts contribution or
 14   subrogation rights against Hartford; and this
 15   provision obliges the trust to reduce its claim
 16   against that other insurer by the amount that the
 17   other insurer is contending is Hartford's
 18   responsibility so that the claim of the other
 19   insurer against Hartford would be mooted or
 20   extinguished.
 21                   MR. SCHULMAN:    Can you go to
 22       page 6, please.
 23            Q.     See at the top, Fiduciary
 24   Obligations of the Debtors and the FCR?
 25            A.     Yes.


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                                                                Page 198
  1            Q.      There's reference to an additional
  2   Hartford administrative claim in this provision.
  3                    Do you see that?
  4            A.      I do.
  5            Q.      In the amount of $23.61 million?
  6            A.      Yes.
  7            Q.      And that's indicated to be an
  8   agreed amount, meaning agreed upon by the Boy
  9   Scouts and Hartford?
 10            A.      Agreed upon about the parties to
 11   the agreement.
 12            Q.      And what does that $23.61 million
 13   represent?
 14            A.      So, again, I'll advance my caveat
 15   that the term sheet says what it says and it is
 16   the best indication of the parties' agreements.
 17                    My understanding of that
 18   $23.6 million is it would only come into play in
 19   the event that BSA or the FCR determines to
 20   repudiate the agreement reflected in this term
 21   sheet.
 22            Q.      I understand that.   But how was --
 23   how was the 23.61 million calculated?    What is
 24   the significance of $23.61 million to Hartford?
 25            A.      So I believe there's a document


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                                                                 Page 199
  1   that characterizes it.     I think it's one of the
  2   Hartford's interrogatory responses.      And that
  3   would be the best expression of Hartford's
  4   position on how this operates and what it's
  5   derived from.
  6           Q.       Yeah.    So it's 3. -- 3 percent of
  7   the 787 million; right?
  8           A.       That's my understanding.
  9           Q.       Right.   So how -- what -- how was
 10   that number arrived at?     What is the significance
 11   of 3 percent of $787 million?
 12                    MR. RUGGERI:    Caution you not
 13       to disclose mediation communications.
 14           A.       It's the product of the
 15   negotiations.    It has a -- it has a foundation,
 16   as I understand it, in what is sometimes called
 17   breakup fees associated with other types of
 18   transactions.
 19           Q.       Have you had any discussions with
 20   anybody at the Boy Scouts about this
 21   $23.61 million administrative claim?
 22                    MR. RUGGERI:    Instruct you not
 23       to answer on mediation privilege grounds.
 24                    MR. SCHULMAN:   Mediation
 25       privilege?


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                                                        MICHAEL HOTALING

                                                              Page 200
  1                  MR. RUGGERI:    Correct.
  2           A.     Was the question me or Hartford?
  3           Q.     Hartford.
  4                  MR. SCHULMAN:   Are you
  5       asserting privilege over that question?
  6                  MR. RUGGERI:    If you have any
  7       knowledge outside of what was conveyed by
  8       counsel through mediation communications,
  9       then you may answer.    If you don't, you
 10       may not answer.
 11           A.     I do not.
 12           Q.     Do you have any knowledge, other
 13   than what has been conveyed to you through
 14   counsel, as to the Boy Scouts' ability to pay
 15   that $23.61 million?
 16           A.     I do not.
 17           Q.     Do you know of -- are you aware of
 18   any communications outside of mediation
 19   regarding -- strike that.
 20                  Are you aware of any non-mediation
 21   communications within Hartford that don't involve
 22   counsel with respect to whether the Boy Scouts
 23   was considering or have considered exercising
 24   their fiduciary out?
 25           (Clarification by reporter.)


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                                                           MICHAEL HOTALING

                                                                 Page 201
  1           A.        No.
  2           Q.        In the next Romanette, Effect of
  3   Reversal of Confirmation Order Following the
  4   Effective Date, there is reference to another --
  5   strike that.
  6                     In little (a) in that Romanette
  7   there's reference to a $2 million Hartford
  8   administrative claim.
  9                     Is that $2 million Hartford
 10   administrative claim in addition to the
 11   $2 million Hartford administrative claim on
 12   page 2 of the agreement?
 13           A.     Again, I'll say that the
 14   agreement's terms are the controlling expression
 15   of the parties' intentions and what the rights
 16   and responsibilities are.
 17                  It's my understanding that the
 18   2 million fee there is the same Hartford
 19   administrative claim that's referenced earlier in
 20   the term sheet.
 21                  MR. SCHULMAN:       Can we mark --
 22       can we pull up Tab 12, please.       I think
 23       this is Exhibit 14.
 24
 25


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                                                           MICHAEL HOTALING

                                                                 Page 265
  1       question -- you seem to believe that
  2       you're able to repeat the questions
  3       because you didn't ask them?      I disagree
  4       with that.
  5                    That's abusive to the witness
  6       and the process.     Move on, please.
  7                    MR. HORTON:     Let's take a look
  8       at the stipulation, which is
  9       Exhibit Number 6.
 10                    Could you pull that up, please.
 11                    Thank you.
 12           Q.       Let's turn to Exhibit A.
 13                    Mr. Hotaling, based on Hartford's
 14   investigation, does Exhibit A set forth all the
 15   known and alleged Hartford BSA policies?
 16           A.       Yes, it does.
 17           Q.       Do any of these policies -- does
 18   Hartford contend that any of these policies do
 19   not contain aggregate limits applicable to
 20   Boy Scouts sex abuse claims?
 21                    MR. RUGGERI:    I didn't
 22       understand the question.      Can someone
 23       repeat it for me, please.
 24                    MR. HORTON:    Ms. Reporter?
 25           (Record read.)


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                                                           MICHAEL HOTALING

                                                                 Page 266
  1                   MR. RUGGERI:    Asked and
  2       answered.
  3           Q.      Mr. Hotaling?
  4           A.      I'm having a little trouble with
  5   the -- still sorting out the question even with
  6   the second reading.
  7           Q.      Okay.   Let me rephrase it, then.
  8   Not -- it's not a trick question.     I just want to
  9   know if Hartford's position is that all of these
 10   policies have aggregate limits, or is it
 11   Hartford's position that some of these policies
 12   do not contain aggregate limits applicable to
 13   Boy Scouts sex abuse claims?
 14                   MR. RUGGERI:    Objection;
 15       compound and asked and answered.
 16           A.      So there are -- just, for example,
 17   on the page in front of us, there's a policy
 18   identified where the aggregate limit is declared
 19   as unknown.   There are some situations like that.
 20                   Hartford has a number of
 21   significant coverage issues that it contends
 22   stand between it and the Boy Scouts' efforts to
 23   collect under the policy.     And more relevant to
 24   the limits question is the occurrence limit,
 25   which Hartford contends the entirety of the


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                                                             MICHAEL HOTALING

                                                                   Page 267
  1   Boy Scouts sexual abuse claim population
  2   constitutes a single occurrence.
  3            Q.      Do you have any legal authority
  4   for that position?
  5                    MR. RUGGERI:   Objection to
  6       form.     You may point Mr. Horton to public
  7       filings of which you're aware, if any,
  8       where Hartford discussed its position on
  9       number of occurrences, but you may not
 10       disclose attorney-client communications
 11       outside those public filings.
 12           A.       There are public filings.     There
 13   are two documents that I can think of as I sit
 14   here.   One is a brief that Hartford filed in the
 15   coverage action in Texas responding to a motion
 16   filed by BSA on the issue of occurrences that
 17   cites to multiple legal authorities.
 18                    And I can also recall an item of
 19   correspondence between counsel from Hartford
 20   counsel to, I believe, BSA's counsel -- but I'm
 21   not certain about that -- that also addressed the
 22   issue of legal authority and cited specific legal
 23   authority on the question of the number of
 24   occurrences.
 25           Q.       Is there particular policy


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                                                        MICHAEL HOTALING

                                                              Page 305
  1
  2               C E R T I F I C A T I O N
  3
  4
  5                  I hereby certify that I have read
  6   the foregoing transcript of my deposition
  7   testimony, and that my answers to the questions
  8   propounded, with the attached corrections or
  9   changes, if any, are true and correct.
 10
 11          -----------------------------------
             MICHAEL HOTALING
 12
 13
 14
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1    IN RE BOY SCOUTS OF AMERICA AND DELAWARE BSA
2    Michael Hotaling
3                       E R R A T A   S H E E T
4         60
     PAGE_____       5
               LINE_____        "finalled" to "finalized"
                         CHANGE____________________________
5    ______________________________________________________
6            Spelling error
     REASON________________________________________________
7         68
     PAGE_____      11
               LINE_____         "it" to "they"
                         CHANGE____________________________
8    ______________________________________________________
9           Clarification
     REASON________________________________________________
10   PAGE_____      13
          100 LINE_____         Remove period, should be
                         CHANGE____________________________
      continuous sentence
     ______________________________________________________
11
12           Transcription error
     REASON________________________________________________
13   PAGE_____     10
          113 LINE_____        "primarily" to "primary"
                        CHANGE____________________________
14   ______________________________________________________
15          Transcription error
     REASON________________________________________________
16        131 LINE_____
     PAGE_____     16          Remove quotation mark
                        CHANGE____________________________
17   ______________________________________________________
18           Punctuation; continuation of quote
     REASON________________________________________________
19   PAGE_____     20
          171 LINE_____        "existing" to "existence"
                        CHANGE____________________________
20   ______________________________________________________
21           Transcription error
     REASON________________________________________________
22
23
24   _____________________________           ________________
                                             January 5, 2022

25   Michael Hotaling                              Date
1    IN RE BOY SCOUTS OF AMERICA AND DELAWARE BSA
2    Michael Hotaling
3                       E R R A T A   S H E E T
4         206 LINE_____
     PAGE_____                 "flight" to "part"
                    19 CHANGE____________________________

5    ______________________________________________________
6           Transcription error/clarification
     REASON________________________________________________
7    PAGE_____ LINE_____ CHANGE____________________________
8    ______________________________________________________
9    REASON________________________________________________
10   PAGE_____ LINE_____ CHANGE____________________________
11   ______________________________________________________
12   REASON________________________________________________
13   PAGE_____ LINE_____ CHANGE____________________________
14   ______________________________________________________
15   REASON________________________________________________
16   PAGE_____ LINE_____ CHANGE____________________________
17   ______________________________________________________
18   REASON________________________________________________
19   PAGE_____ LINE_____ CHANGE____________________________
20   ______________________________________________________
21   REASON________________________________________________
22
23
24   _____________________________           ________________
                                             January 5, 2022

25   Michael Hotaling                              Date
EXHIBIT 5
                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE


 In re:                                                  Chapter 11

 BOY SCOUTS OF AMERICA AND                               Case No. 20-10343 (LSS)
 DELAWARE BSA, LLC,1
                                                         Jointly Administered
                              Debtors.



 STIPULATION BETWEEN THE OFFICIAL COMMITTEE OF TORT CLAIMANTS
AND HARTFORD REGARDING THE EXISTENCE AND TERMS AND CONDITIONS
         OF THE HARTFORD POLICIES AND RELATED MATTERS

          The Official Committee of Tort Claimants (“TCC”), on the one hand, and Hartford

Accident and Indemnity Company, First State Insurance Company, Twin City Fire Insurance

Company and Navigators Specialty Insurance Company (collectively, “Hartford”), on the other

hand, hereby stipulate and agree as follows:

          WHEREAS, on or about October 26, 2021, the TCC served a 30(b)(6) Notice of

Deposition (the “Notice”) on Hartford Accident and Indemnity Company, First State Insurance

Company and Twin City Fire Insurance Company; and

          WHEREAS, on or about October 29, 2021, Hartford Accident and Indemnity Company,

First State Insurance Company and Twin City Fire Insurance Company served objections to the

Notice on the TCC; and

          WHEREAS, the TCC and Hartford (together, the “Parties”) enter this Stipulation to

facilitate an efficient deposition of Hartford’s witness, inter alia, by (i) stipulating that the policy


 1
       The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s
 federal tax identification number, are as follows: Boy Scouts of America (6300) and Delaware
 BSA, LLC (4311). The Debtors’ mailing address is 1325 West Walnut Hill Lane, Irving,
 Texas 75038.

                                                   1
documents identified by Bates number are “business records” of Hartford under Federal Rule of

Evidence 803(6), and (ii) identifying topics that Hartford asserts are irrelevant and/or privileged

and that the TCC has agreed it will not seek to elicit testimony about at the deposition;

          NOW, THEREFORE, the Parties agree and stipulate, solely for purposes of the hearing

on confirmation of the Debtors’ pending plan of reorganization (the “Confirmation Hearing”), as

follows:

          1.     Hartford represents that Exhibit A identifies all liability insurance policies, known

and alleged, of which Hartford is aware that Hartford issued to the Boy Scouts of America as the

first named insured. Hartford represents that Exhibit B identifies all liability insurance policies,

known and alleged, of which Hartford is aware that any Hartford Protected Party issued to any

Local Council.

          2.     Hartford represents that Exhibit C identifies indemnity payments made by

Hartford in connection with Abuse Claims.

          3.     Hartford will not challenge at the Confirmation Hearing, on authenticity or

hearsay grounds, the admissibility of Exhibits A, B, and C, or the documents reflected by Bates

numbers on Exhibits A, B and C. Hartford reserves the right to object on relevance grounds.

Hartford stipulates for purposes of the Confirmation Hearing that those exhibits and the

documents cited by Bates numbers thereon are business records under Federal Rule of Evidence

803(6).

          4.     Hartford will not offer into evidence at the Confirmation Hearing any evidence

from its claim files or information concerning any internal liability forecasts. Hartford advises

that if the TCC asked questions concerning Hartford’s pre-petition handling of Abuse Claims,

Hartford’s non-public reserves concerning Abuse Claims, or Hartford’s reinsurance



                                                   2
communications, Hartford would object on privilege and relevance grounds. Hartford further

contends that any such questions would seek to invade privilege and further would seek

information irrelevant to plan confirmation issues. In light of Hartford’s position, the TCC will

not ask questions of Hartford’s witness regarding Hartford’s pre-petition handling of Abuse

Claims other than with respect to the settlement of those claims. The TCC also will not ask

questions of Hartford’s witness regarding non-public reserves concerning Abuse Claims, or

Hartford’s reinsurance communications because of Hartford’s assertions of privilege and the

scope of the Court’s discovery rulings on November 19, 2021.

       5.      The TCC has noticed several topics that Hartford believes invades mediation

privilege. The Court has ruled that Plan objectors are entitled to discovery concerning the trust

distribution procedures (“TDPs”), the claims matrices and the Settlement Trust Agreement.

Hartford is not a Plan Proponent and Hartford advises that it was not involved in negotiations

concerning the TDPs, the claims matrices or the Settlement Trust Agreement filed with the

Modified Fifth Amended Chapter 11 Plan of Reorganization for Boy Scouts of America and

Delaware BSA, LLC (Docket No. 6443) (Sept. 30, 2021). The TCC reserves the right to

challenge that representation including, but not limited to, by seeking discovery as to

communications regarding any iterations of the TDPs. Harford states that if the TCC asked

questions of Hartford’s witness concerning the substance of communications between and among

Hartford and any other mediating parties concerning the negotiation of the settlement reached

between the Debtors and Hartford, Hartford would object on privilege grounds. In light of

Hartford’s position, the TCC will not ask questions of Hartford’s witness that would ask

Hartford’s witness to disclose mediation communications (with the exception of such

communications, if any, regarding the TDPs, which the Court has ruled is an area of permissible



                                                3
inquiry). The TCC will not ask questions of Hartford’s witness concerning the TDP contained

in the Second Amended Plan of Reorganization for Boy Scouts of America and Delaware BSA,

LLC, which was filed with the Court, because Hartford acknowledges that on May 6, 2021,

Hartford’s counsel forwarded to BSA’s counsel and Mediator Timothy Gallagher revised

working draft TDPs (see BSA-PLAN_01271985-BSA-PLAN_01272016).

       6.      Harford represents that, subject to the exceptions in Paragraph 8, it will not offer

direct evidence through documents or through a witness at the Confirmation Hearing outside of

the topics on which Hartford has offered a witness to testify at deposition.     In consideration of

the agreements reached herein, including the information provided in Exhibits A, B and C, the

TCC agrees that the topics for the Hartford deposition will be limited based upon the parties’

meet and confer efforts.

       7.      The Parties agree that this Stipulation is entered into solely for purposes of

determination of facts in connection with the Confirmation Hearing. This Stipulation does not

bind the Parties in any other proceeding and shall not be considered as an admission by any Party

for any other purpose.

       8.      Except to the extent agreed upon as a result of the parties’ meet and confer efforts,

this Stipulation shall not operate to limit the Parties’ respective rights at the Confirmation Hearing

to respond to arguments that are made and documents or evidence that are introduced by any

other party. This stipulation does not affect the right of Hartford to offer rebuttal evidence at the

Confirmation Hearing. However, if any of the representations made in this Stipulation are shown

to be incorrect, the limitations upon discovery or offering evidence contained herein shall not

preclude the Party who relied on the incorrect representation from engaging in discovery or

offering evidence at the Confirmation Hearing that relate to the incorrect representation.



                                                  4
       9.      Except as specifically set forth in Exhibits A, B and C, nothing in this Stipulation

constitutes an interpretation of any Hartford policy (or alleged Hartford policy), and each Party

reserves all rights it has with regard to the proper interpretation of the Hartford policies.

       10.     Nothing in this Stipulation is intended to address or resolve whether, or the extent

to which, any of the Hartford policies has been released, nor whether or the extent to which any

policy provides coverage for Abuse Claims.



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Company, First State Insurance Company,
Twin City Fire Insurance Company, and
Navigators Specialty Insurance Company




7
EXHIBIT A
                                                                         Exhibit A

                                                         Known and Alleged Hartford BSA Policies
   Insurance                                                             Occurrence           Aggregate          Attachment           Bates Numbers
                     Policy Number1         Start Date     End Date
   Company                                                                 Limit               Limit2               Point
Hartford
Accident and
Indemnity                                                                                                                          HFBKPLAN015263-
Company           10 HUA 43300                 5/1/1971      5/1/1972   $2,000,000.00       $2,000,000.00        $500,000.00       HFBKPLAN015272
Hartford
Accident and
Indemnity         10 HUA433013                                                                                                     HFBKPLAN015984-
Company                                        1/1/1971      1/1/1972   $2,000,000.00       $2,000,000.00        $500,000.00       HFBKPLAN015995
Hartford
Accident and
Indemnity                                                                                                                          HFBKPLAN014689-
Company           10CA43315*                 9/21/1971       1/1/1972   $1,000,000.00         Unknown                              HFBKPLAN014695
Hartford
Accident and
Indemnity                                                                                                                          HFBKPLAN015388-
Company           10CA43304*                   1/1/1972      1/1/1974   $1,000,000.00       $1,000,000.00                          HFBKPLAN015521
Hartford
Accident and
Indemnity                                                                                                                          HFBKPLAN014582-
Company           10CA43303                    1/1/1972      1/1/1974    $500,000.00         $500,000.00                           HFBKPLAN014688




     1
            An asterisk (*) denotes a policy (or alleged policy) for which Hartford disputes the existence of the policy and/or coverage for Direct
     Abuse Claims.
     2
            The TCC disputes whether an “aggregate limit” applies to Abuse Claims.
     3
            The policy documents state that this policy was “CANCELLED FLAT.”
   Insurance                                              Occurrence       Aggregate      Attachment       Bates Numbers
                Policy Number1   Start Date   End Date
   Company                                                  Limit           Limit2           Point
Hartford
Accident and
Indemnity                                                                                                 HFBKPLAN015273-
Company        10HUA43302          1/1/1972    1/1/1974   $2,000,000.00   $2,000,000.00   $500,000.00     HFBKPLAN015321
Hartford
Accident and
Indemnity                                                                                                 HFBKPLAN015996-
Company        10HUA43303*         1/1/1973    5/1/1974   $5,000,000.00   $5,000,000.00   $1,000,000.00   HFBKPLAN016014
Hartford
Accident and
Indemnity                                                                                                 HFBKPLAN015522-
Company        10CA43324*          1/1/1974    1/1/1975   $1,000,000.00   $1,000,000.00                   HFBKPLAN015540
Hartford
Accident and
Indemnity                                                                                                 HFBKPLAN014696-
Company        10CA43329           1/1/1974    1/1/1975   $500,000.00     $500,000.00                     HFBKPLAN015023
Hartford
Accident and
Indemnity                                                                                                 HFBKPLAN015322-
Company        10HUA43331          1/1/1974    1/1/1975   $2,000,000.00   $2,000,000.00   $500,000.00     HFBKPLAN015362
Hartford
Accident and
Indemnity                                                                                                 HFBKPLAN016015-
Company        10HUA43335*         5/1/1974    1/1/1975   $5,000,000.00   $5,000,000.00   $1,000,000.00   HFBKPLAN016038
Hartford
Accident and
Indemnity                                                                                                 HFBKPLAN015024-
Company        10CA43342E          1/1/1975    1/1/1976   $500,000.00     $500,000.00                     HFBKPLAN015262




                                                              2
   Insurance                                                              Occurrence        Aggregate       Attachment        Bates Numbers
                     Policy Number1            Start Date    End Date
   Company                                                                  Limit            Limit2            Point
Hartford
Accident and
Indemnity                                                                                                                   HFBKPLAN015541-
Company           10CA43349E                      1/1/1976    1/1/1977    $500,000.00      $500,000.00                      HFBKPLAN015849
Hartford
Accident and                                                                                                                See 2011 BSA-
Indemnity                                                                                     N/A 4                         Hartford Settlement
Company           10CA43359E                      1/1/1977    1/1/1978   $1,000,000.00                                      Agreement
Hartford
Accident and                                                                                                                See 2011 BSA-
Indemnity                                                                                     N/A5                          Hartford Settlement
Company           10JPA43360E                     1/1/1977    1/1/1978   $1,000,000.00                                      Agreement
First State
Insurance                                                                                                                   HFBKPLAN015363-
Company           908954                          1/1/1978    1/1/1979   $10,000,000.00   $10,000,000.00   $1,000,000.00    HFBKPLAN015377
First State
Insurance                                                                                                                   HFBKPLAN015378-
Company           927616                          1/1/1979    1/1/1980   $5,000,000.00    $5,000,000.00    $10,500,000.00   HFBKPLAN015387
First State                                                                                                                 See 2010 BSA-
Insurance                                                                                                                   Hartford Settlement
Company           931255                          1/1/1981    1/1/1983   $3,900,000.00    $3,900,000.00    $5,500,000.00    Agreement
First State                                                                                                                 See 2010 BSA-
Insurance                                                                                                                   Hartford Settlement
Company           931257                          1/1/1981    1/1/1983   $5,500,000.00    $5,500,000.00    $11,150,000.00   Agreement
Twin City Fire                                                                                                              See 2010 BSA-
Insurance                                                                                                                   Hartford Settlement
Company           TXU 100325                      1/1/1982    1/1/1983   $5,000,000.00        N/A6          $500,000.00     Agreement

     4
             Hartford considers this policy “released.”
     5
             Hartford considers this policy “released.”
     6
             Hartford considers this policy “released.”
                                                                              3
   Insurance                                               Occurrence        Aggregate       Attachment        Bates Numbers
                Policy Number1   Start Date   End Date
   Company                                                   Limit            Limit2            Point
First State
Insurance                                                                                                     HFBKPLAN016054-
Company        EU 006921           3/1/1988    3/1/1989   $5,000,000.00    $5,000,000.00    $34,000,000.00    HFBKPLAN016064
Navigators
Specialty
Insurance                                                                                                     HFBKPLAN014552-
Company        CH12EXC747034IC     3/1/2012   3/1/2013    $15,000,000.00   $15,000,000.00   $195,000,000.00   HFBKPLAN014566
Navigators
Specialty
Insurance                                                                                                     HFBKPLAN014567-
Company        CH13EXC747034IC     3/1/2013   3/1/2014    $15,000,000.00   $15,000,000.00   $195,000,000.00   HFBKPLAN014581




                                                               4
EXHIBIT B
                                                                         Exhibit B

                                                   Known and Alleged Hartford Local Council Policies


                                                                                                                      Alleged
 Insurance                                                      Occurrence        Aggregate       Attachment       Insured Local
               Policy Number7      Start Date     End Date
 Company                                                          Limit            Limit8            Point          Council Per
                                                                                                                        BSA             Bates Numbers
Hartford                                                                                                          Baltimore Area
Fire                                                                                                              (220):
Insurance                                                                                                         Baltimore Area
Company        30 CBP 104757*        1/1/1970       1/1/1971      Unknown          Unknown                        (220)
Hartford                                                                                                          Baltimore Area
Fire                                                                                                              (220):
Insurance                                                                                                         Baltimore Area     HFBKPLAN011216-
Company         30 CBP 108939        1/1/1971       1/1/1974                                                      (220)              HFBKPLAN011325

                                     1/1/1971       5/1/1973 $2,500,000.00 $2,500,000.00

                                     5/1/1973       1/1/1974    $300,000.00      $300,000.00
Hartford                                                                                                          Baltimore Area
Fire                                                                                                              (220):
Insurance                                                                                                         Baltimore Area     HFBKPLAN011111-
Company         30 CBP 115631        1/1/1974       1/1/1977                                                      (220)              HFBKPLAN011216

                                     1/1/1974       1/1/1976    $300,000.00      $300,000.00

                                     1/1/1976       1/1/1977    $500,000.00      $500,000.00



      7
             An asterisk (*) denotes a policy (or alleged policy) for which Hartford disputes the existence of the policy and/or coverage for Direct
      Abuse Claims.
      8
             The TCC disputes whether an “aggregate limit” applies to Abuse Claims.
                                                                                                          Alleged
Insurance                                                Occurrence        Aggregate     Attachment    Insured Local
            Policy Number7    Start Date   End Date
Company                                                    Limit            Limit8          Point       Council Per
                                                                                                            BSA            Bates Numbers
Hartford                                                                                              Baltimore Area
Fire                                                                                                  (220):
Insurance                                                                                             Baltimore Area     HFBKPLAN011326-
Company       30 CBP 115827     1/1/1977      1/1/1980   $500,000.00       $500,000.00                (220)              HFBKPLAN011475
Hartford                                                                                              Black Swamp
Accident                                                                                              Area (449): Put-
and                                                                                                   Han-Sen Area
Indemnity                                                                                             1930-1992          HFBKPLAN011476-
Company     45 CBP 130782*     3/26/1975    3/26/1978                                                 (449)              HFBKPLAN011590

                               5/23/1975   12/31/1977    $500,000.00        Unknown
Hartford                                                                                         Coastal Georgia
Fire                                                                                             (99): Coastal
Insurance                                                                                        Empire -2014            HFBKPLAN011591-
Company     20 SBM US2073       1/1/2007      1/1/2008 $1,000,000.00 $2,000,000.00               (99)                    HFBKPLAN011689
Hartford                                                                                         Coastal Georgia
Fire                                                                                             (99): Coastal
Insurance                                                                                        Empire -2014            HFBKPLAN011591-
Company     20 SBM US2073       1/1/2007      1/1/2008 $2,000,000.00 $2,000,000.00 $2,000,000.00 (99)                    HFBKPLAN011689
Hartford                                                                                         Coastal Georgia
Fire                20 SBM                                                                       (99): Coastal
Insurance           US20739                                                                      Empire -2014            HFBKPLAN014312-
Company                         1/1/2008      1/1/2009 $1,000,000.00 $2,000,000.00               (99)                    HFBKPLAN014415
Hartford
Accident                                                                                              Evangeline
and                                                                                                   Area (212):
Indemnity                                                                                             Evangeline
Company           Unknown*      1/1/1975      1/1/1976    Unknown           Unknown                   Area (212)



      9
            The policy documents state that this policy was “CANCELLED FLAT.”

                                                                       2
                                                                                                     Alleged
Insurance                                              Occurrence       Aggregate   Attachment    Insured Local
            Policy Number7   Start Date   End Date
Company                                                  Limit           Limit8        Point       Council Per
                                                                                                       BSA           Bates Numbers
Hartford                                                                                         Five Rivers
Fire                                                                                             (375): Sullivan
Insurance                                                                                        Trail 1947-1991   HFBKPLAN011690-
Company     01 UEC FN2321 10/28/1991       11/8/1992 $1,000,000.00 $1,000,000.00                 (375)             HFBKPLAN011730
Hartford
Accident
and                                                                                              Gateway Area
Indemnity                                                                                        (624): Gateway
Company            714239* 12/15/1961     12/15/1962    Unknown         Unknown                  Area (624)
Hartford
Accident
and                                                                                              Gateway Area
Indemnity                                                                                        (624): Gateway
Company            715173* 12/15/1962     12/15/1963    Unknown         Unknown                  Area (624)
Hartford
Accident
and                                                                                              Gateway Area
Indemnity                                                                                        (624): Gateway
Company            716126* 12/15/1963     12/15/1964    Unknown         Unknown                  Area (624)
Hartford
Accident
and                                                                                              Gateway Area
Indemnity                                                                                        (624): Gateway
Company            717220* 12/15/1964     12/15/1965    Unknown         Unknown                  Area (624)
Hartford
Accident
and                                                                                              Gateway Area
Indemnity                                                                                        (624): Gateway
Company        86C718423* 12/15/1965      12/15/1966    Unknown         Unknown                  Area (624)




                                                                    3
                                                                                                    Alleged
Insurance                                              Occurrence       Aggregate   Attachment   Insured Local
            Policy Number7   Start Date   End Date
Company                                                  Limit           Limit8        Point      Council Per
                                                                                                     BSA            Bates Numbers
Hartford
Accident
and                                                                                              Gateway Area
Indemnity                                                                                        (624): Gateway
Company        86C718423* 12/15/1966      12/15/1967    Unknown         Unknown                  Area (624)
Hartford
Accident
and                                                                                              Gateway Area
Indemnity                                                                                        (624): Gateway
Company        86C718423* 12/15/1967      12/15/1968    Unknown         Unknown                  Area (624)
Hartford
Accident
and                                                                                              Gateway Area
Indemnity                                                                                        (624): Gateway
Company        86C807701* 12/15/1968      12/15/1969    Unknown         Unknown                  Area (624)
Hartford
Accident
and                                                                                              Gateway Area
Indemnity                                                                                        (624): Gateway
Company        86C807701* 12/15/1969      12/15/1970    Unknown         Unknown                  Area (624)
Hartford
Accident
and                                                                                              Gateway Area
Indemnity                                                                                        (624): Gateway
Company        86C807701* 12/15/1970      12/15/1971    Unknown         Unknown                  Area (624)
Hartford
Accident                                                                                         Golden Empire
and                                                                                              (47): Golden
Indemnity                                                                                        Empire 1937-     HFBKPLAN011731-
Company        54 C 990478     7/1/1972     7/1/1975 $1,000,000.00 $1,000,000.00                 (47)             HFBKPLAN011759




                                                                    4
                                                                                                       Alleged
 Insurance                                             Occurrence        Aggregate     Attachment   Insured Local
             Policy Number7   Start Date   End Date
 Company                                                 Limit            Limit8          Point      Council Per
                                                                                                        BSA              Bates Numbers
Hartford
Accident                                                                                            Great Trail
and                                                                                                 (433): Northeast
Indemnity                                                                                           Ohio 1929-1993     HFBKPLAN011760-
Company       45 CBP 132079     8/1/1981    8/1/1984   $500,000.00       $500,000.00                (463)              HFBKPLAN011828
                                                                                                    Greater Hudson
Hartford                                                                                            Valley (388):
Fire                                                                                                Washington
Insurance                                                                                           Irving 1951-       HFBKPLAN014145-
Company      02 SMP 111101*   1/20/1976    1/20/1979   $500,000.00       $500,000.00                1973 (388)         HFBKPLAN014177
                                                                                                    Greater Hudson
Hartford                                                                                            Valley (388):
Fire                                                                                                Washington
Insurance                                                                                           Irving 1951-       HFBKPLAN014178-
Company      02 SMP 117538*   1/20/1979    1/20/1982   $500,000.00       $500,000.00                1973 (388)         HFBKPLAN014201
                                                                                                    Greater Hudson
Hartford                                                                                            Valley (388):
Casualty                                                                                            Washington
Insurance                                                                                           Irving 1951-       HFBKPLAN014202-
Company      02 SMP 118672*   1/20/1982    1/20/1983   $500,000.00       $500,000.00                1973 (388)         HFBKPLAN014221
                                                                                                    Greater Hudson
Hartford                                                                                            Valley (388):
Casualty                                                                                            Washington
Insurance                                                                                           Irving 1951-       HFBKPLAN014222-
Company      02 SMP 118672*   1/20/1983    1/20/1984   $500,000.00       $500,000.00                1973 (388)         HFBKPLAN014240
                                                                                                    Greater Hudson
Hartford                                                                                            Valley (388):
Casualty                                                                                            Washington
Insurance                                                                                           Irving 1951-
Company      02 SMP 118672*   1/20/1984    1/20/1985    Unknown           Unknown                   1973 (388)




                                                                     5
                                                                                                         Alleged
 Insurance                                              Occurrence        Aggregate     Attachment    Insured Local
             Policy Number7   Start Date   End Date
 Company                                                  Limit            Limit8          Point       Council Per
                                                                                                           BSA          Bates Numbers
                                                                                                     Greater Hudson
Hartford                                                                                             Valley (388):
Casualty                                                                                             Washington
Insurance          02 SMP                                                                            Irving 1951-     HFBKPLAN014241-
Company           WC7495*     1/20/1984     1/20/1985   $500,000.00       $500,000.00                1973 (388)       HFBKPLAN014273
                                                                                                     Greater Hudson
Hartford                                                                                             Valley (388):
Casualty                                                                                             Washington
Insurance          02 UUC                                                                            Irving 1951-     HFBKPLAN014274-
Company            NW2936     1/20/1985     1/20/1986   $500,000.00       $500,000.00                1973 (388)       HFBKPLAN014311
Hartford
Accident                                                                                             Greater Tampa
and                                                                                                  Bay Area (89):
Indemnity                                                                                            Pinellas Area    HFBKPLAN013550-
Company      21 CBP 158051*   4/26/1975      1/1/1977    Unknown           Unknown                   1970-1978 (89)   HFBKPLAN013608
Hartford                                                                                             Hawk Mountain
Fire                                                                                                 (528): Hawk
Insurance                                                                                            Mountain 1970-   HFBKPLAN011829-
Company       39 CBP 109170 10/29/1970     10/29/1973   $500,000.00       $500,000.00                (528)            HFBKPLAN011901
Twin City                                                                                            Hawk Mountain
Fire                                                                                                 (528): Hawk
Insurance                                                                                            Mountain 1970-   HFBKPLAN011902-
Company       39 CBP 161610 10/29/1973     10/29/1976   $500,000.00       $500,000.00                (528)            HFBKPLAN012031




                                                                      6
                                                                                                         Alleged
 Insurance                                              Occurrence        Aggregate     Attachment    Insured Local
             Policy Number7   Start Date   End Date
 Company                                                  Limit            Limit8          Point       Council Per
                                                                                                           BSA           Bates Numbers
Twin City                                                                                            Hawk Mountain
Fire                                                                                                 (528): Hawk
Insurance                                                                                            Mountain 1970-    HFBKPLAN012032-
Company       44 CBP 448087 10/29/1976     10/29/1979                                                (528)             HKBKPLAN012134

                              10/29/1976   12/31/1977   $500,000.00       $500,000.00
                                                                                                     Heart of
Hartford                                                                                             Virginia (602):
Casualty                                                                                             Robert E. Lee
Insurance           14 UUC                                                                           1953-2003         HFBKPLAN012234-
Company            CZ6576*      6/9/1998     6/9/1999 $1,000,000.00 $2,000,000.00                    (602)             HFBKPLAN012290
                                                                                                     Heart of
Hartford                                                                                             Virginia (602):
Casualty                                                                                             Robert E. Lee
Insurance           14 UUC                                                                           1953-2003         HFBKPLAN012291-
Company            CZ6576*      6/9/1999     6/9/2000 $1,000,000.00 $2,000,000.00                    (602)             HFBKPLAN012343
                                                                                                     Heart of
Hartford                                                                                             Virginia (602):
Casualty                                                                                             Robert E. Lee
Insurance           14 UUC                                                                           1953-2003         HFBKPLAN012135-
Company            CZ6576*      6/9/2000     6/9/2001 $1,000,000.00 $2,000,000.00                    (602)             HFBKPLAN012183
                                                                                                     Heart of
Hartford                                                                                             Virginia (602):
Casualty                                                                                             Robert E. Lee
Insurance           14 UUC                                                                           1953-2003         HFBKPLAN012183-
Company            CZ6576*      6/9/2001     6/9/2002 $1,000,000.00 $2,000,000.00                    (602)             HFBKPLAN012233
Twin City                                                                                            Hoosier Trails
Fire                                                                                                 (145): Hoosier
Insurance          736 CBP                                                                           Trails 1973-
Company            109458*      4/1/1973     4/1/1974    Unknown           Unknown                   (145)



                                                                      7
                                                                                                        Alleged
Insurance                                             Occurrence        Aggregate     Attachment     Insured Local
            Policy Number7   Start Date   End Date
Company                                                 Limit            Limit8          Point        Council Per
                                                                                                          BSA           Bates Numbers
Twin City                                                                                           Hoosier Trails
Fire                                                                                                (145): Hoosier
Insurance         736 CBP                                                                           Trails 1973-
Company           109458*      4/1/1974    4/1/1975    Unknown           Unknown                    (145)
Twin City                                                                                           Hoosier Trails
Fire                                                                                                (145): Hoosier
Insurance         736 CBP                                                                           Trails 1973-
Company           109458*      4/1/1975    4/1/1976    Unknown           Unknown                    (145)
Twin City                                                                                           Hoosier Trails
Fire                                                                                                (145): Hoosier
Insurance                                                                                           Trails 1973-      HFBKPLAN012344-
Company      36 CBP 185443     4/1/1976    4/1/1979   $500,000.00       $500,000.00                 (145)             HFBKPLAN012404
Hartford
Accident                                                                                            Iroquois Trail
and                                                                                                 (376): Lewiston
Indemnity                                                                                           Trail 1937-1994
Company       32 C 715130*     1/1/1975    1/1/1976    Unknown           Unknown                    (385)
Hartford
Accident                                                                                            Iroquois Trail
and                                                                                                 (376): Lewiston
Indemnity                                                                                           Trail 1937-1994   HFBKPLAN012405-
Company       32 HU 360257   3/10/1975     1/1/1976                                                 (385)             HFBKPLAN012415

                             3/10/1975     4/8/1975 $1,000,000.00 $1,000,000.00       $500,000.00

                               4/8/1975    1/1/1976 $2,000,000.00 $2,000,000.00       $500,000.00
Hartford
Accident                                                                                            Iroquois Trail
and                                                                                                 (376): Lewiston
Indemnity                                                                                           Trail 1937-1994
Company        32C719701*      1/1/1977    1/1/1978    Unknown           Unknown                    (385)


                                                                    8
                                                                                                         Alleged
 Insurance                                              Occurrence        Aggregate     Attachment    Insured Local
             Policy Number7   Start Date   End Date
 Company                                                  Limit            Limit8          Point       Council Per
                                                                                                           BSA          Bates Numbers
Hartford                                                                                             Laurel
Accident                                                                                             Highlands
and                                                                                                  (527): Potomac
Indemnity                                                                                            1938-2014
Company      30 CBP 109015*     6/1/1972     6/1/1973    Unknown           Unknown                   (757)
Hartford                                                                                             Laurel
Accident                                                                                             Highlands
and                                                                                                  (527): Potomac
Indemnity                                                                                            1938-2014
Company      30 CBP 109015*     6/1/1973     6/1/1974    Unknown           Unknown                   (757)
Hartford                                                                                             Laurel
Accident                                                                                             Highlands
and                                                                                                  (527): Potomac
Indemnity                                                                                            1938-2014
Company      30 CBP 109015*     6/1/1974     6/1/1975    Unknown           Unknown                   (757)
Hartford                                                                                             Laurel
Accident                                                                                             Highlands
and                                                                                                  (527): Potomac
Indemnity                                                                                            1938-2014        HFBKPLAN012416-
Company      30 CBP 115715*     6/1/1975     6/1/1978                                                (757)            HFBKPLAN012496

                                6/1/1975     1/1/1976   $300,000.00       $300,000.00

                                1/1/1976   12/31/1977   $500,000.00       $500,000.00
Hartford                                                                                             Longhorn
Fire                                                                                                 (662):
Insurance                                                                                            Longhorn -2001
Company           Unknown*    7/27/1961     7/27/1962    Unknown           Unknown                   (582)




                                                                      9
                                                                                                     Alleged
Insurance                                             Occurrence        Aggregate   Attachment    Insured Local
            Policy Number7   Start Date   End Date
Company                                                 Limit            Limit8        Point       Council Per
                                                                                                       BSA         Bates Numbers
Hartford                                                                                         Longhorn
Fire                                                                                             (662):
Insurance                                                                                        Longhorn -2001
Company          Unknown*    7/27/1962    7/27/1963    Unknown          Unknown                  (582)
Hartford                                                                                         Longhorn
Fire                                                                                             (662):
Insurance                                                                                        Longhorn -2001
Company          Unknown*    7/27/1963    7/27/1964    Unknown          Unknown                  (582)
Hartford                                                                                         Longhorn
Fire                                                                                             (662):
Insurance                                                                                        Longhorn -2001
Company          Unknown*    7/27/1964     1/1/1965    Unknown          Unknown                  (582)
Hartford
Accident                                                                                         Mayflower
and                                                                                              (251): Knox
Indemnity                                                                                        Trail 1996-2017
Company     34UUVIS5513*     6/20/2007    6/20/2008    Unknown          Unknown                  (244)
Hartford
Accident                                                                                         Mayflower
and                                                                                              (251): Knox
Indemnity                                                                                        Trail 1996-2017
Company     34UUVIS5513*     6/20/2008    6/20/2009    Unknown          Unknown                  (244)
Hartford
Accident                                                                                         Mayflower
and                                                                                              (251): Knox
Indemnity                                                                                        Trail 1996-2017
Company     34UUVIS5513*     6/20/2009    6/20/2010    Unknown          Unknown                  (244)
Hartford
Accident                                                                                         Mayflower
and                                                                                              (251): Knox
Indemnity                                                                                        Trail 1996-2017
Company     34UUVIS5513*     6/20/2010    6/20/2011    Unknown          Unknown                  (244)


                                                                   10
                                                                                                            Alleged
 Insurance                                                Occurrence         Aggregate     Attachment    Insured Local
             Policy Number7    Start Date   End Date
 Company                                                    Limit             Limit8          Point       Council Per
                                                                                                              BSA          Bates Numbers
                                                                                                        Northern New
Hartford                                                                                                Jersey (333):
Fire                                                                                                    Northern New
Insurance            13 UUN                                                                             Jersey 1999-     HFBKPLAN012594-
Company             CY4185*      4/5/1999      4/5/2000 $1,000,000.00 $2,000,000.00                     (333)            HFBKPLAN012689
                                                                                                        Northern New
Hartford                                                                                                Jersey (333):
Fire                                                                                                    Northern New
Insurance            13 UUN                                                                             Jersey 1999-     HFBKPLAN012497-
Company             CY4185*      4/5/2000      4/5/2001 $1,000,000.00 $2,000,000.00                     (333)            HFBKPLAN012593
                                                                                                        Northern New
Hartford                                                                                                Jersey (333):
Fire                 13 UUN                                                                             Northern New
Insurance           CY418510                                                                            Jersey 1999-     HFBKPLAN014467-
Company                          4/5/2001      4/5/2002 $1,000,000.00 $2,000,000.00                     (333)            HFBKPLAN014521
Hartford                                                                                                Northwest
Fire                                                                                                    Georgia (100):
Insurance                                                                                               Northwest        HFBKPLAN012690-
Company      20 SMP 267512*     1/21/1976    1/21/1978                                                  Georgia (100)    HFBKPLAN012717

                                1/21/1976      3/9/1976   $500,000.00        $500,000.00

                                 3/9/1976    1/21/1978    $500,000.00        $500,000.00
Hartford
Accident
and                                                                                                     Old Hickory
Indemnity                                                                                               (427): Old
Company            Unknown*      1/1/1959      1/1/1960    Unknown            Unknown                   Hickory (427)


      10
             The policy documents state that this policy was “CANCELLED FLAT.”

                                                                        11
                                                                                                    Alleged
Insurance                                             Occurrence        Aggregate   Attachment   Insured Local
            Policy Number7   Start Date   End Date
Company                                                 Limit            Limit8        Point      Council Per
                                                                                                     BSA         Bates Numbers
Hartford
Accident
and                                                                                              Old Hickory
Indemnity                                                                                        (427): Old
Company          Unknown*      1/1/1960    1/1/1961    Unknown          Unknown                  Hickory (427)
Hartford
Accident
and                                                                                              Old Hickory
Indemnity                                                                                        (427): Old
Company          Unknown*      1/1/1961    1/1/1962    Unknown          Unknown                  Hickory (427)
Hartford
Accident
and                                                                                              Old Hickory
Indemnity                                                                                        (427): Old
Company          Unknown*      1/1/1962    1/1/1963    Unknown          Unknown                  Hickory (427)
Hartford
Accident
and                                                                                              Old Hickory
Indemnity                                                                                        (427): Old
Company          Unknown*      1/1/1963    1/1/1964    Unknown          Unknown                  Hickory (427)
Hartford
Accident
and                                                                                              Old Hickory
Indemnity                                                                                        (427): Old
Company          Unknown*      1/1/1964    1/1/1965    Unknown          Unknown                  Hickory (427)
Hartford
Accident
and                                                                                              Old Hickory
Indemnity                                                                                        (427): Old
Company          Unknown*      1/1/1965    1/1/1966    Unknown          Unknown                  Hickory (427)




                                                                   12
                                                                                                       Alleged
Insurance                                             Occurrence         Aggregate     Attachment   Insured Local
            Policy Number7   Start Date   End Date
Company                                                 Limit             Limit8          Point      Council Per
                                                                                                        BSA            Bates Numbers
Hartford
Accident
and                                                                                                 Old Hickory
Indemnity                                                                                           (427): Old
Company          Unknown*      1/1/1966    1/1/1967    Unknown            Unknown                   Hickory (427)
Hartford
Accident
and                                                                                                 George
Indemnity                                                                                           Washington       HFBKPLAN012718-
Company     39 SMP 110975    5/16/1977     1/1/1980   $500,000.00        $500,000.00                Council Inc.     HFBKPLAN012771
Hartford
Accident
and                                                                                                 Pack 61 George
Indemnity                                                                                           Washington       HFBKPLAN012772-
Company       13 C 718232*   9/20/1979    9/20/1980   $300,000.00         Unknown                   Council          HFBKPLAN012782
Hartford
Accident
and                                                                                                 Pack 61 George
Indemnity                                                                                           Washington       HFBKPLAN012783-
Company        13 C BF1880   9/20/1980    9/20/1981   $300,000.00         Unknown                   Council          HFBKPLAN012795
Hartford
Accident
and                                                                                                 Pack 61 George
Indemnity                                                                                           Washington       HFBKPLAN012796-
Company      13 C DK2266*    9/20/1981    9/20/1982   $300,000.00         Unknown                   Council          HFBKPLAN012809
Hartford
Accident
and                                                                                                 Pack 61 George
Indemnity                                                                                           Washington       HFBKPLAN012810-
Company      13 C DK2266*    9/20/1982    9/20/1983   $300,000.00         Unknown                   Council          HFBKPLAN012823




                                                                    13
                                                                                                     Alleged
Insurance                                             Occurrence         Aggregate   Attachment   Insured Local
            Policy Number7   Start Date   End Date
Company                                                 Limit             Limit8        Point      Council Per
                                                                                                      BSA            Bates Numbers
Hartford
Accident
and                                                                                               Pack 61 George
Indemnity                                                                                         Washington       HFBKPLAN012824-
Company      13 C DK2266*    9/20/1983    9/20/1984   $300,000.00        Unknown                  Council          HFBKPLAN012836
Hartford
Accident
and                                                                                               Pack 61 George
Indemnity          13 UEC                                                                         Washington       HFBKPLAN012926-
Company           KC9259*    9/20/1984    9/20/1985   $300,000.00        Unknown                  Council          HFBKPLAN012947
Hartford
Accident
and                                                                                               Pack 61 George
Indemnity          13 UEC                                                                         Washington       HFBKPLAN012948-
Company           KC9259*    9/20/1985    9/20/1986   $300,000.00        Unknown                  Council          HFBKPLAN012968
Hartford
Accident
and                                                                                               Pack 61 George
Indemnity          13 UEC                                                                         Washington       HFBKPLAN012969-
Company           KC9259*    9/20/1986    9/20/1987   $300,000.00        Unknown                  Council          HFBKPLAN012993
Hartford
Accident
and                                                                                               Pack 61 George
Indemnity          13 UEC                                                                         Washington       HFBKPLAN012994-
Company           KC9259*    9/20/1987    9/20/1988   $300,000.00        Unknown                  Council          HFBKPLAN013017
Hartford
Accident
and                                                                                               Pack 61 George
Indemnity          13 UEC                                                                         Washington       HFBKPLAN013018-
Company           KC9259*    9/20/1988    9/20/1989   $300,000.00        Unknown                  Council          HFBKPLAN013041




                                                                    14
                                                                                                     Alleged
Insurance                                             Occurrence         Aggregate   Attachment   Insured Local
            Policy Number7   Start Date   End Date
Company                                                 Limit             Limit8        Point      Council Per
                                                                                                      BSA            Bates Numbers
Hartford
Accident
and                                                                                               Pack 61 George
Indemnity          13 UEC                                                                         Washington       HFBKPLAN013042-
Company           KC9259*    9/20/1989    9/20/1990   $300,000.00        Unknown                  Council          HFBKPLAN013065
Hartford
Accident
and                                                                                               Pack 61 George
Indemnity          13 UEC                                                                         Washington       HFBKPLAN013066-
Company           KC9259*    9/20/1990    9/20/1991   $300,000.00        Unknown                  Council          HFBKPLAN013089
Hartford
Accident
and                                                                                               Pack 61 George
Indemnity                                                                                         Washington       HFBKPLAN013090-
Company     13 UEC KC9259    9/20/1991    9/20/1992   $400,000.00    $1,000,000.00                Council          HFBKPLAN013119
Hartford
Accident
and                                                                                               Pack 61 George
Indemnity                                                                                         Washington       HFBKPLAN013120-
Company     13 UEC KC9259    9/20/1992    9/20/1993   $400,000.00    $1,000,000.00                Council          HFBKPLAN013151
Hartford
Accident
and                                                                                               Pack 61 George
Indemnity                                                                                         Washington       HFBKPLAN013152-
Company     13 UEC KC9259    9/20/1993    9/20/1994   $400,000.00    $1,000,000.00                Council          HFBKPLAN013182
Hartford
Accident
and                                                                                               Pack 61 George
Indemnity                                                                                         Washington       HFBKPLAN013382-
Company     13 UEC KC9259    9/20/1994    9/20/1995   $400,000.00    $1,000,000.00                Council          HFBKPLAN013412




                                                                    15
                                                                                                     Alleged
Insurance                                             Occurrence         Aggregate   Attachment   Insured Local
            Policy Number7   Start Date   End Date
Company                                                 Limit             Limit8        Point      Council Per
                                                                                                      BSA            Bates Numbers
Hartford
Accident
and                                                                                               Pack 61 George
Indemnity                                                                                         Washington       HFBKPLAN013183-
Company     13 UEC KC9259    9/20/1995    9/20/1996   $400,000.00    $1,000,000.00                Council          HFBKPLAN013217
Hartford
Accident
and                                                                                               Pack 61 George
Indemnity                                                                                         Washington       HFBKPLAN013218-
Company     13 UEC KC9259    9/20/1996    9/20/1997   $400,000.00    $1,000,000.00                Council          HFBKPLAN013254
Hartford
Accident
and                                                                                               Pack 61 George
Indemnity                                                                                         Washington       HFBKPLAN013255-
Company     13 UEC KC9259    9/20/1997    9/20/1998   $400,000.00    $1,000,000.00                Council          HFBKPLAN013296
Hartford
Accident
and                                                                                               Pack 61 George
Indemnity                                                                                         Washington       HFBKPLAN013297-
Company     13 UEC KC9259    9/20/1998    9/20/1999   $400,000.00    $1,000,000.00                Council          HFBKPLAN013340
Hartford
Accident
and                                                                                               Pack 61 George
Indemnity                                                                                         Washington       HFBKPLAN013341-
Company     13 UEC KC9259    9/20/1999    9/20/2000   $400,000.00    $1,000,000.00                Council          HFBKPLAN013381
Hartford
Accident
and                                                                                               Pack 61 George
Indemnity                                                                                         Washington       HFBKPLAN012837-
Company     13 UEC KC9259    9/20/2000    9/20/2001   $400,000.00    $1,000,000.00                Council          HFBKPLAN012878




                                                                    16
                                                                                                       Alleged
Insurance                                             Occurrence         Aggregate     Attachment   Insured Local
            Policy Number7   Start Date   End Date
Company                                                 Limit             Limit8          Point      Council Per
                                                                                                        BSA              Bates Numbers
Hartford
Accident
and                                                                                                 Pack 61 George
Indemnity                                                                                           Washington         HFBKPLAN012879-
Company     13 UEC KC9259    9/20/2001    9/20/2002   $400,000.00    $1,000,000.00                  Council            HFBKPLAN012925
Hartford
Accident
and
Indemnity                                                                                           Pine Tree (218):
Company       04 C 154949*   1/25/1973    1/25/1974    Unknown            Unknown                   Pine Tree (218)
Hartford
Accident
and
Indemnity                                                                                           Pine Tree (218):   HFBKPLAN013413-
Company        04 C 157992   1/25/1974    1/25/1975   $300,000.00        $300,000.00                Pine Tree (218)    HFBKPLAN013447
Hartford
Accident
and
Indemnity                                                                                           Pine Tree (218):   HFBKPLAN013477-
Company        04 C 161230   1/25/1975    1/25/1976                                                 Pine Tree (218)    HFBKPLAN013520

                             1/25/1975    4/25/1975   $300,000.00        $300,000.00

                             4/25/1975    1/25/1976   $500,000.00        $500,000.00
Hartford
Accident
and
Indemnity                                                                                           Pine Tree (218):   HFBKPLAN013448-
Company        04 C 161099   1/25/1976    1/25/1977   $500,000.00        $500,000.00                Pine Tree (218)    HFBKPLAN013476




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                                                                                                        Alleged
Insurance                                             Occurrence         Aggregate     Attachment    Insured Local
            Policy Number7   Start Date   End Date
Company                                                 Limit             Limit8          Point       Council Per
                                                                                                         BSA              Bates Numbers
Hartford
Accident
and
Indemnity                                                                                            Pine Tree (218):   HFBKPLAN013521-
Company        04 C 163132   1/25/1977    1/25/1978   $500,000.00        $500,000.00                 Pine Tree (218)    HFBKPLAN013549
Hartford
Accident
and
Indemnity                                                                                            Rainbow (702):
Company       82 C 282090*     1/1/1975    1/1/1976    Unknown            Unknown                    Rainbow (702)
Hartford
Accident
and
Indemnity                                                                                            Rainbow (702):     HFBKPLAN013609-
Company       82 HU 580155   1/16/1975    1/16/1976 $2,000,000.00 $2,000,000.00        $500,000.00   Rainbow (702)      HFBKPLAN013617
Hartford                                                                                             Seneca
Accident                                                                                             Waterways
and                                                                                                  (397): Finger
Indemnity                                                                                            Lakes 1924-
Company       03 C 804621*   4/27/1973    4/27/1974    Unknown            Unknown                    2009 (391)
Hartford                                                                                             Seneca
Accident                                                                                             Waterways
and                                                                                                  (397): Finger
Indemnity                                                                                            Lakes 1924-        HFBKPLAN013618-
Company        03 C 807376   4/27/1974    4/27/1975   $500,000.00        $500,000.00                 2009 (391)         HFBKPLAN013646
Hartford                                                                                             Seneca
Accident                                                                                             Waterways
and                                                                                                  (397): Finger
Indemnity                                                                                            Lakes 1924-        HFBKPLAN013647-
Company        03 C 809631   4/27/1975    4/27/1976   $500,000.00        $500,000.00                 2009 (391)         HFBKPLAN013673




                                                                    18
                                                                                                         Alleged
Insurance                                              Occurrence         Aggregate     Attachment    Insured Local
            Policy Number7    Start Date   End Date
Company                                                  Limit             Limit8          Point       Council Per
                                                                                                           BSA           Bates Numbers
Hartford                                                                                             Seneca
Accident                                                                                             Waterways
and                                                                                                  (397): Finger
Indemnity                                                                                            Lakes 1924-       HFBKPLAN013674-
Company        03 C 811730    4/27/1976    4/27/1977   $500,000.00        $500,000.00                2009 (391)        HFBKPLAN013699
Hartford                                                                                             Seneca
Accident                                                                                             Waterways
and                                                                                                  (397): Finger
Indemnity                                                                                            Lakes 1924-       HFBKPLAN013700-
Company        03 C 814173    4/27/1977    4/27/1978   $500,000.00        $500,000.00                2009 (391)        HFBKPLAN013728
Hartford                                                                                             Seneca
Accident                                                                                             Waterways
and                                                                                                  (397): Otetiana
Indemnity                                                                                            1943-2009
Company       CBP 800237*       1/1/1977    1/1/1978    Unknown            Unknown                   (397)
Hartford
Casualty                                                                                             South Plains
Insurance                                                                                            (694): South
Company       46 IC 632582*   2/16/1973    2/16/1974    Unknown            Unknown                   Plains (694)
Hartford
Casualty                                                                                             South Plains
Insurance                                                                                            (694): South
Company       46 IC 632582*   2/16/1974    2/16/1975    Unknown            Unknown                   Plains (694)
Hartford
Casualty                                                                                             South Plains
Insurance                                                                                            (694): South
Company       46 IC 632582*   2/16/1975    2/16/1976    Unknown            Unknown                   Plains (694)
Hartford
Casualty                                                                                             South Plains
Insurance                                                                                            (694): South      HFBKPLAN013729-
Company     46 TMP 100576*    2/16/1976    2/16/1979   $500,000.00        $500,000.00                Plains (694)      HFBKPLAN013762



                                                                     19
                                                                                                       Alleged
Insurance                                             Occurrence         Aggregate     Attachment   Insured Local
            Policy Number7   Start Date   End Date
Company                                                 Limit             Limit8          Point      Council Per
                                                                                                        BSA            Bates Numbers
Hartford
Accident
and                                                                                                 Suffolk County
Indemnity                                                                                           (404): Suffolk   HFBKPLAN013928-
Company     12 CPP 500098*     6/1/1969    6/1/1972   $300,000.00        $300,000.00                County (404)     HFBKPLAN013983
Hartford
Accident
and                                                                                                 Suffolk County
Indemnity                                                                                           (404): Suffolk   HFBKPLAN013984-
Company     12 SMP 304687*     6/1/1972    6/1/1975   $300,000.00         Unknown                   County (404)     HFBKPLAN014060
Hartford
Accident
and                                                                                                 Suffolk County
Indemnity                                                                                           (404): Suffolk   HFBKPLAN013763-
Company     12 CBP 400297*     6/1/1974    6/1/1977                                                 County (404)     HFBKPLAN013865

                               6/1/1974    1/1/1976   $300,000.00        $300,000.00

                               1/1/1976    6/1/1977   $500,000.00        $500,000.00
Hartford
Accident
and                                                                                                 Suffolk County
Indemnity                                                                                           (404): Suffolk   HFBKPLAN013866-
Company      12 CBP 400656     6/1/1977    6/1/1980   $500,000.00        $500,000.00                County (404)     HFBKPLAN013927
Hartford
Accident                                                                                            Suwannee River
and                                                                                                 Area (664):
Indemnity                                                                                           Suwannee River   HFBKPLAN014061-
Company     21 SMP 118708*   9/15/1975     1/1/1978   $500,000.00        $500,000.00                Area (664)       HFBKPLAN014089




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                                                                                                        Alleged
Insurance                                                 Occurrence        Aggregate   Attachment   Insured Local
             Policy Number7    Start Date   End Date
Company                                                     Limit            Limit8        Point      Council Per
                                                                                                         BSA             Bates Numbers
Hartford
Accident                                                                                             Three Fires
and                                                                                                  (127): Du Page
Indemnity            82 UUN                                                                          Area 1928-1992    HFBKPLAN014090-
Company             PN2419*      6/1/1985      6/1/1986   $25,000.00        Unknown                  (148)             HFBKPLAN014133
Hartford                                                                                             Three Fires
Insurance                                                                                            (127): Du Page
Company of           83 UUN                                                                          Area 1928-1992    HFBKPLAN014416-
Illinois            PN241911     6/1/1986      6/1/1987   $25,000.00        Unknown                  (148)             HFBKPLAN014466
Hartford
Accident                                                                                             Twin Rivers
and                                                                                                  (364): Saratoga
Indemnity                                                                                            County 1924-
Company         01 C 530923*     5/1/1972      5/1/1973    Unknown          Unknown                  1990 (684)
Hartford
Accident                                                                                             Twin Rivers
and                                                                                                  (364): Saratoga
Indemnity                                                                                            County 1924-
Company         01 C 531176*     5/1/1972      5/1/1973    Unknown          Unknown                  1990 (684)
Hartford
Accident                                                                                             Twin Rivers
and                                                                                                  (364): Saratoga
Indemnity                                                                                            County 1924-      HFBKPLAN014134-
Company         01 HU 300166 12/15/1972     12/15/1975 $2,000,000.00 $2,000,000.00       Unknown     1990 (684)        HFBKPLAN014144




     11
             The policy documents state that this policy was “CANCELLED FLAT.”

                                                                       21
EXHIBIT C
                                CERTIFICATE OF SERVICE

       I, Gregory J, Flasser, hereby certify that on the 24th day of January 2022, a copy of

Hartford’s Letter to the Honorable Laurie Selber Silverstein Regarding Motion to Quash

30(b)(6) Notices of Deposition was served on all parties who have entered a notice of appearance

through the notice of filing generated through the Court’s Case Management/Electronic Case

File (“CM/ECF”) system and via electronic mail on the Participating Parties attached hereto as

Exhibit A.



                                             /s/ Gregory J. Flasser
                                             Gregory J. Flasser (No. 6154)
EXHIBIT A
                 In re Boy Scouts of America and Delaware BSA, LLC
                           Revised Participating Parties List


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William McGrath                              wmcgrath@dilworthlaw.com

National Surety
Todd C Jacobs                                TJacobs@bradleyriley.com
John E. Bucheit                              jbucheit@bradleyriley.com
David M. Caves                               dcaves@bradleyriley.com
Harris B. Winsberg                           harris.winsberg@troutman.com
David Fournier                               david.fournier@troutman.com
Marcy Smith                                  marcy.smith@troutman.com
Matthew Ray Brooks                           Matthew.Brooks@troutman.com

Old Republic Insurance Company
Thomas Dare                                  tdare@oldrepublic.com
Peg Anderson                                 panderson@foxswibel.com
Adam Hachikian                               ahachikian@foxswibel.com
Kenneth Thomas                               kthomas@foxswibel.com
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Stephen Miller                               smiller@morrisjames.com
Carl Kunz, III                               ckunz@morrisjames.com

Traders and Pacific Insurance Company, Endurance American Specialty Insurance
Company, and Endurance American Insurance Company
Joseph Ziemianski                          jziemianski@cozen.com


                                         6
Marla Benedek                                                   mbenedek@cozen.com

Travelers
Scott Myers                                                     SPMyers@travelers.com
Louis Rizzo                                                     lrizzo@regerlaw.com

                                              Notice of Intent Parties
Lujan Claimants
Delia Lujan Wolff                                               dslwolff@lawguam.com
Christopher Loizides                                            loizides@loizides.com
Kentucky Creditors: N.C., K.W., C.F., B.L.,
A.F. and A.S:
Raeann Warner                                                   raeann@jcdelaw.com
Louis Schneider                                                 lou.schneider@thomaslawoffices.com
Tad Thomas                                                      tad@thomaslawoffices.com
Crew Janci Claimants
Salle Veghte                                                    sveghte@klehr.com
Morton Branzburg                                                mbranzburg@klehr.com
Peter Janci                                                     peter@crewjanci.com
Hurley McKenna & Mertz Survivors
(HMM)
Sally Veghte                                                    sveghte@klehr.com
Christopher Hurley                                              churley@hurley-law.com
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Lonnie Washburn (Pro Se)1
Frank Schwindler (Pro Se)                                       nundawao@gmail.com
Gillispie Claimants
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Joshua Gillispie                                                josh@greenandgillispie.com
Morton Branzburg                                                mbranzburg@klehr.com




1
    Contact information for the pro se individuals has been provided to the Participating Parties.


                                                            7
Arch Insurance Company
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Matthew Hamermesh                   mah@hangley.com
Ronald Schiller                     rschiller@hangley.com
Sharon McKee                        smckee@hangley.com
Elizabeth Dolce                     edolce@hangley.com

Jane Doe
Mark L. Desgrosseilliers            desgross@chipmanbrown.com
Cindy L. Robinson                   crobinson@robinsonmahoney.com;
Douglas Mahoney                     dmahoney@robinsonmahoney.com

Dumas & Vaughn, LLC Claimants
Ashley L. Vaughn                    ashley@dumasandvaughn.com
Gilion Dumas                        gilion@dumasandvaughn.com




                                8
EXHIBIT F
                                  Three Embarcadero Center, 26th Floor, San Francisco, California 94111  p415 986-2800  f415 986-2827




                                                                                                                                    Mark D Plevin
                                                                                                                                    415.365.7446
                                                                                                                                    202.624.2801
                                                                                                                                    mplevin@crowell.com

                                                                    January 25, 2022

  BY CM/ECF

  Hon. Laurie Selber Silverstein
  Chief Judge, U.S. Bankruptcy Court, District of Delaware
  824 North Market Street, 6th Floor
  Wilmington, Delaware 19801

                 Re:           In re Boy Scouts of America, No. 20-10343: Zurich’s motion to quash
                               and/or limit the RCAHC’s Rule 30(b)(6) deposition notice to Zurich

  Dear Judge Silverstein:

         American Zurich Insurance Company, American Guarantee and Liability Insurance
  Company, and Steadfast Insurance Company (collectively, “Zurich”) hereby move, pursuant to
  Bankruptcy Rules 7026, 7030, and 9014, Rules 26(c) and 30(d) of the Federal Rules of Civil
  Procedure, and Local Rule 7030-1(c), to quash a Rule 30(b)(6) deposition notice issued to them
  by the Roman Catholic Ad Hoc Committee (the “RCAHC”) on January 13, 2022 (the “Notice,”
  Exhibit A hereto).

          As a threshold matter, and as explained in Century’s Motion to Compel the [RCAHC] to
  Comply with Rule 2019 (Dkt No. 8332), the RCAHC has not established that it has standing to
  take discovery in this contested matter. In particular, the RCAHC has not produced a document
  or agreement that demonstrates it has authority to act on behalf of its members pursuant to
  Bankruptcy Rule 2019. 1 Further, although the RCAHC’s Rule 2019 Statement identifies
  Catholic Mutual as a member, Catholic Mutual predicates its standing on the issuance of
  coverage to 112 archdioceses and dioceses2 – but the Rule 2019 Statement does not disclose the
  identity of these 112 dioceses. Without this information, Zurich cannot know the parties on
  whose behalf the RCAHC is purporting to notice this Rule 30(b)(6) deposition or those parties’
  interest in this bankruptcy case. Zurich has a right to know who is taking its deposition and
  what interest they have in this case and in Zurich’s settlement.

                 Even if the RCAHC has standing, this Court should still quash the Notice. It largely


  1        Rule 2019 requires that “a verified statement setting forth the information specified in
  subdivision (c) of this rule shall be filed by every group or committee that consists of or represents . . .
  multiple creditors or equity security holders that are (A) acting in concert to advance their common
  interests, and (B) not composed entirely of affiliates or insiders of one another.” Rule 2019 also requires
  committees to provide “a copy of the instrument, if any, authorizing the entity, group, or committee to
  act on behalf of creditors or equity security holders.”
  2              Rule 2019 Statement (Dkt No. 7805), ¶¶ 3, 6.


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seeks testimony about insurance coverage issues that are not relevant to whether the Zurich
Settlement meets the requirements of § 363(b) and (f) and Rule 9019. Many of the topics
improperly seek testimony about legal conclusions, and constitute improper contention
interrogatories that may not be sought in a Rule 30(b)(6) deposition.

       In addition to the foregoing points, Zurich requests that the Notice be quashed for the
following reasons.

        1.      Contentions and legal conclusions (Topics 2-13). These 30(b)(6) topics ask for Zurich’s
contentions and/or legal conclusions about a broad array of general topics. However, as this
Court ruled in Imerys, 30(b)(6) depositions of insurers must be “limited to facts and not legal
conclusions.” 3 “[D]epositions, including 30(b)(6) depositions, are designed to discover facts, not
contentions or legal theories, which, to the extent discoverable at all prior to trial, must be
discovered by other means.”4 The bar on using Rule 30(b)(6) depositions to obtain contention
testimony or legal conclusions reflects the fact that such testimony would necessarily invade
attorney work-product and privilege. Accordingly, Rule 30(b)(6) cannot be used “to explore
opposing counsel’s thought processes as to which facts support these contentions (and which
do not), or what inferences can be drawn from the evidence that has been assembled so
far.” 5 Courts routinely grant protection against Rule 30(b)(6) topics seeking contention
testimony or testimony regarding legal conclusions. 6

        2.      Lack of relevance (Topics 2, 7-13). Testimony regarding Zurich’s term sheet or the
insurance policies Zurich issued to BSA, and particularly regarding the interpretation or
application of those documents, is not relevant to whether the Zurich Settlement should be
approved because (a) the term sheet and the policies are contracts, interpretation of which raise
questions of law 7 and (b) insurance coverage disputes will not be resolved during the plan

3       See Transcript of June 22, 2021 Telephonic Hearing, In re Imerys Talc America, Inc., at 241:5-7. See
also Transcript of November 19, 2021 Hearing in this case, at 132:24-133:3.
4       JP Morgan Chase Bank v. Liberty Mut. Ins. Co., 209 F.R.D. 361, 362 (S.D.N.Y. 2002).
5       FTC v. Cyberspy Software, LLC, 2009 WL 2386137, at *4 (M.D. Fla. July 31, 2009).
6        See, e.g., Kinetic Concepts, Inc. v. Convatec Inc., 268 F.R.D. 255 (M.D.N.C. 2010) (granting motion for
protective order as to Rule 30(b)(6) deposition topic seeking contention testimony). See also State Farm
Mut. Auto. Ins. Co. v. New Horizon, Inc., 250 F.R.D. 203, 216 (E.D. Pa. 2008) (“a question seeking the
‘reasons State Farm believes each or all bills are fraudulent’ likely seeks counsel’s ‘legal theories,’ and thus
is improper”); Captain Shontel Nicholas v. City of New York, 2009 U.S. Dist. LEXIS 4366, at *1-2 (E.D.N.Y.
Jan. 22, 2009) (eliciting support for contentions “is not the purpose of Rule 30(b)(6), which is to discover
facts, not contentions or legal theories”); King Pharmaceuticals, Inc. v. Eon Labs, Inc., 2008 WL 5111005, at
*1 (E.D.N.Y. Dec. 4, 2008) (seeking elaboration on legal issues “is an improper use of Rule 30(b)(6)
depositions, which ‘are designed to discover facts, not contentions or legal theories’”).
7       See, e.g., O’Brien v. Progressive Northern Ins. Co., 785 A.2d 281, 286 (Del. 2001). Zurich does not
contend that its term sheet or policies should be interpreted under Delaware law, but this concept is
universal in the various states.
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confirmation hearing.

        The meaning of language in a contract, such as a term sheet or an insurance policy, is a
question of law. 8 The intent of the parties is determined from the plain meaning of the words
used in the contract. 9 Thus, even if the Court, despite its many statements to the contrary, were
to decide coverage issues, testimony by Zurich’s 30(b)(6) witnesses about policy language
interpretation is improper because it seeks evidence regarding legal determinations for which
factual support is unnecessary.

        Questions about insurance coverage are not relevant to confirmation or approval of the
Zurich Term Sheet. Yet, the RCAHC explicitly seeks such testimony. For example, Topics 10-
12 explicitly ask for testimony about whether certain insurance policies “cover” Abuse Claims;
such issues are not relevant to plan confirmation or Rule 9019 issues.

       3.      Failure to describe the topics for examination “with reasonable particularity” (Topics 2-8, 10-
12). Deposition notices under Rule 30(b)(6) must “describe with reasona ble particula rity the
matters for examination.” 10 “An overbroad Rule 30(b)(6) notice subjects the noticed party to an
impossible task” and may “verg[e] on taking the deposition of counsel.” 11

       Almost all of the RCAHC’s topics violate the “reasonable particularity” requirement
because they are vague, ambiguous, and overbroad. Examples include the following:

              • Topic 2: “The treatment of Claims of Chartered Organizations under the Plan
                and Trust Distribution Procedures.”
              • Topic 3: “Zurich Insurance Settlement Agreement”
              • Topic 4: “The Zurich Term Sheet.”
              • Topic 5: “Paragraphs 5, 6 and 7 of the Zurich Term Sheet.”


8      See, e.g., O’Brien v. Progressive Northern. Ins. Co., 785 A.2d 281, 286 (Del. 2001). Zurich does not
contend that their policies or the Zurich Term Sheet should be interpreted under Delaware law, but this
concept is universal in the various states.
9      See, e.g., In re Solera Insurance Coverage Appeals, 240 A.2d 1121, 1132 (Del. 2020). This, too, is a
concept accepted universally.
10      Fed. R. Civ. P. 30(b)(6) (emphasis added).
11       Wright & Miller, 8A FED. PRAC. & PROC. CIV. § 2103 (3d ed.), quoting Reed v. Bennett, 193 F.R.D.
689 (D. Kan. 2000). See also Doe v. Yorkville Plaza Assocs., 1996 U.S. Dist. LEXIS 8683, at *19 (S.D.N.Y
June 20, 1996) (denying an overbroad Rule 30(b)(6) request for information like “Fire Code requirements
for residential buildings built in New York City from 1983 to date”); E.E.O.C. v. Thorman & Wright Corp.,
243 F.R.D. 421, 426 (D. Kan. 2007) (“To allow the Rule to effectively function, the requesting party
must take care to designate with painstaking specificity , the particular subject areas that are intended
to be questioned, and that are relevant to the issues in dispute”) (emphasis added).
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             • Topic 6: “All BSA Insurance Policies issued by Zurich.”
             • Topic 7: “All Local Council Insurance Policies issued by Zurich.”
             • Topic 8: “All policies of insurance issued to Roman Catholic Entities.”

      Zurich cannot possibly prepare a witness to testify in response to such overbroad, vague,
and ambiguous topics. These topics therefore must be quashed.

       4.        Lack of information (Topics 2-3, 7-13). These topics ask Zurich to provide
testimony on matters that Zurich was not involved in, such as “All policies of insurance issued
to Roman Catholic Entities” (Topic 8). Zurich’s objections to the RCAHC’s interrogatories
make clear that Zurich has no capacity to search for “all policies of insurance issued [by Zurich]
to Roman Catholic Entities,” and thus no ability to provide testimony on this topic.

         Zurich has also made clear that it issued no “Local Council Policies” (Topic 7), and thus
have no ability to provide testimony on this topic. Topic 3 asks the Zurich Insurers to provide
testimony on “The Zurich Insurance Settlement Agreement” – a document that Zurich cannot
testify about because, to Zurich’s knowledge, no such document exists. 12

        Further, Zurich’s fact witness would have no knowledge about policies of insurance
issued to Roman Catholic Entities by other insurers, which appears to be within the scope of
Topic 8. Likewise, Zurich is in no position to say which Abuse Claims are covered under
insurance policies issued by Century or Hartford, as Topics 9-12 seem to request. No purpose
would be served by forcing Zurich to present a 30(b)(6) witness on these topics, which would
require Zurich’s counsel to prepare a fact witness to testify regarding information counsel has
learned solely as a result of the discovery received from other insurers on these topics.
Accordingly, such topics seek information that is not relevant, lack proportionality, and would
impose undue burden on the insurers.

        5.     Topics concerning the Zurich Settlement (Topics 3-6). Topics 3-5 admittedly ask
questions about Zurich’s settlement, but these topics are overbroad and do not “describe with
reasonable particularity the matters for examination.” Topic 3 asks the Zurich Insurers to
provide testimony on “The Zurich Insurance Settlement Agreement” – a document that, as
noted, does not yet exist – while Topics 4 and 5 ask for testimony on “The Zurich Term Sheet.”
These topics are too broad, vague, and ambiguous for a Zurich witness to prepare to testify on
behalf of Zurich.

       Topic 6 – “All BSA Insurance Policies issued by Zurich” – is similarly defective. The
topic does not say what subjects the Zurich witness should be prepared to talk about.

       In addition, these vague, ambiguous, and overbroad topics are defective because any

12
       The Notice does not define “Zurich Insurance Settlement Agreement,” but we take it to
mean something other than the “Zurich Term Sheet.”
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questions asking a Zurich witness to summarize or analyze the terms of the Zurich Term Sheet
or the BSA Insurance Policies issued by Zurich, or to interpret their provisions or apply them to
actual or hypothetical facts, would improperly call for legal conclusions and contention
testimony. The Zurich Term Sheet speaks for itself, as do the BSA policies issued by Zurich.
Further, the Zurich Term Sheet was negotiated in a mediation. Any testimony about Zurich’s
discussions with the mediator or with other mediation parties would be protected from
disclosure. Finally, any testimony about communications between Zurich and its counsel would
be privileged. In short, these topics are completely improper.

                                                              *         *         *

       For these reasons, Zurich requests that the Court quash the Notice.

                                                                    Sincerely yours,

                                                                    /s/ Mark D. Plevin

                                                                    Mark D. Plevin
                                                                    CROWELL & MORING LLP


                                                                    /s/ Robert D. Cecil, Jr.
                                                                    Robert D. Cecil, Jr. (No. 5317)
                                                                    TYBOUT, R EDFEARN & PELL
                                                                    501 Carr Road, Suite 300
                                                                    Wilmington, Delaware 19809
                                                                    Phone: (302) 658-6901
                                                                    E-mail: rcecil@trplaw.com
906460258




                                                Local Rule 7026-1 (d) Certification

        I hereby certify that a reasonable effort was made to reach agreement with the opposing
parties on the matters set forth in the motion, through an exchange of e-mails between January
18 and 24, 2022, and in an in-person meeting on January 20, 2022.

                                                                    /s/ Mark D. Plevin
                                                                    Mark D. Plevin
                                                                    CROWELL & MORING LLP
                                                      Crowell & Moring LLP  www.crowell.com
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                                                                    /s/ Robert D. Cecil, Jr.
                                                                    Robert D. Cecil, Jr. (No. 5317)
                                                                    TYBOUT, R EDFEARN & PELL




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                                 Exhibit 1 – Topics in the RCAHC Notice to Zurich


Topic 1: “Any topic that has been noticed for your deposition or about which you are asked
at your deposition by any other party.”

Topic 2: “The treatment of Claims of Chartered Organizations under the Plan and Trust
Distribution Procedures.”

Topic 3: “The Zurich Insurance Settlement Agreement”

Topic 4: “The Zurich Term Sheet.”

Topic 5: “Paragraphs 5, 6 and 7 of the Zurich Term Sheet.”

Topic 6: “All BSA Insurance Policies issued by Zurich.”

Topic 7: “All Local Council Insurance Policies issued by Zurich.”

Topic 8: “All policies of insurance issued to Roman Catholic Entities.”

Topic 9: “Which Abuse Claims against insureds and co-insureds covered under insurance
policies issued by any Settling Insurer [as defined in the Zurich Term Sheet] will be channeled
under the Settling Insurer Policy Injunction [as defined in the Century Term Sheet] or the
Channeling Injunction [as defined in the Plan.]

Topic 10: “Which BSA Insurance Policies issued by any Settling Insurer [Zurich Term Sheet]
cover Abuse Claims against insureds and co-insureds”

Topic 11: “Which Local Council Insurance Policies issued by any Settling Insurer [Zurich Term
Sheet] cover Abuse Claims against insureds and co-insureds.”

Topic 12: “Which policies of insurance issued by any Settling Insurer [Zurich Term Sheet] to
any Roman Catholic Entity cover Abuse Claims against insureds and co-insureds.”

Topic 13: “The scope of the Channeling Injunction for claims against Participating Chartered
Organizations, including:

       a.             With respect to Local Council Insurance Policies issued by any Settling Insurer
                      [Zurich Term Sheet], by year and by Local Council, what Abuse Claims will be
                      subject to the Channeling Injunction for Abuse Claims Arising prior to January 1,
                      1976; and

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       b.             With respect to BSA Insurance Policies issued by any Settling Insurer [Zurich
                      Term Sheet], by year, what Abuse Claims will be subject to the Channeling
                      Injunction for Abuse Claims that Arose on or after January 1, 1976.”




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EXHIBIT A
                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

In re:                                             Case No. 20-10343 (LSS)

Boy Scouts of America and Delaware BSA,            Chapter 11
LLC,                                               Jointly Administered

                   Debtors.

  THE ROMAN CATHOLIC AD HOC COMMITTEE’S NOTICE OF DEPOSITION TO
   AMERICAN ZURICH INSURANCE COMPANY, AMERICAN GUARANTEE AND
  LIABILITY INSURANCE COMPANY, AND STEADFAST INSURANCE COMPANY

         PLEASE TAKE NOTICE THAT pursuant to Fed. R. Civ. P. Rule 30(b)(6) and Fed. R.

Bank. P. 7030 and 9014, The Roman Catholic Ad Hoc Committee shall take the deposition of

American Zurich Insurance Company, American Guarantee and Liability Insurance Company, and

Steadfast Insurance Company on the topics described in attached Exhibit 1.

         The deposition will commence on January 26, 2022 at 1:00 p.m. (Eastern Time) and

will proceed in person at the office of Schiff Hardin LLP, 233 S. Wacker Drive, Suite 7100,

Chicago, IL 60606, remotely via video conference, or by such other means as may be agreed upon

by counsel.

         The deposition shall be taken upon oral examination before an officer authorized by law to

administer oaths and shall be recorded by videographic and/or stenographic means.




                              [Remainder of Page Intentionally Left Blank]




IMPAC 7555691v.1
 Dated: January 13, 2022   POTTER ANDERSON & CORROON LLP
 Wilmington, Delaware
                           /s/ Jeremy W. Ryan
                           Jeremy W. Ryan (Bar No. 4057)
                           Aaron H. Stulman (Bar No. 5807)
                           1313 N. Market Street, 6th Floor
                           Wilmington, DE 19801-6108
                           Telephone: (302) 984-6000
                           Facsimile: (302) 658-1192
                           Email: jryan@potteranderson.com
                                   astulman@potteranderson.com

                           - and -

                           SCHIFF HARDIN LLP

                           Everett Cygal, admitted pro hac vice
                           David Spector, admitted pro hac vice
                           J. Mark Fisher, admitted pro hac vice
                           Neil Lloyd, admitted pro hac vice
                           Daniel Schufreider, admitted pro hac vice
                           Jin Yan, admitted pro hac vice
                           233 South Wacker Drive, Suite 7100
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                           Telephone: (312) 258-5500
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                                  mfisher@schiffhardin.com
                                  nlloyd@schiffhardin.com
                                  dschufreider@schiffhardin.com
                                  jyan@schiffhardin.com

                           Counsel to the Roman Catholic Ad Hoc
                           Committee




                             2

IMPAC 7555691v.1
                                              EXHIBIT 1

                                               Definitions

        1.         Unless otherwise defined, capitalized terms shall have the meanings stated in the

Second Modified Fifth Amended Chapter 11 Plan of Reorganization for Boy Scouts of America

and Delaware BSA, LLC [Docket No. 7832].

        2.         “Plan” shall mean the Second Modified Fifth Amended Chapter 11 Plan of

Reorganization for Boy Scouts of America and Delaware BSA, LLC [Docket No. 7832] including

all Exhibits, Appendices and any documents attached to the Plan Supplement [Docket No. 7517]

or the Amended plan Supplement [Docket No. 7953].

                                            Deposition Topics

        1.         Any topic that has been noticed for your deposition or about which you are asked

at your deposition by any other party.

        2.         The treatment of Claims of Chartered Organizations under the Plan and Trust

Distribution Procedures.

        3.         The Zurich Insurance Settlement Agreement.

        4.         The Zurich Term Sheet.

        5.         Paragraphs 5, 6 and 7 of the Zurich Term Sheet.

        6.         All BSA Insurance Policies issued by Zurich.

        7.         All Local Council Insurance Policies issued by Zurich.

        8.         All policies of insurance issued to Roman Catholic Entities.

        9.         Which Abuse Claims against insureds and co-insureds covered under insurance

policies issued by any Settling Insurer [as defined in the Zurich Term Sheet] will be channeled




IMPAC 7555691v.1
under the Settling Insurer Policy Injunction [as defined in the Century Term Sheet] or the

Channeling Injunction [as defined in the Plan.]

        10.        Which BSA Insurance Policies issued by any Settling Insurer [Zurich Term Sheet]

cover Abuse Claims against insureds and co-insureds.

        11.        Which Local Council Insurance Policies issued by any Settling Insurer [Zurich

Term Sheet] cover Abuse Claims against insureds and co-insureds.

        12.        Which policies of insurance issued by any Settling Insurer [Zurich Term Sheet] to

any Roman Catholic Entity cover Abuse Claims against insureds and co-insureds.

        13.        The scope of the Channeling Injunction for claims against Participating Chartered

Organizations, including:

                      a. With respect to Local Council Insurance Policies issued by any Settling

                          Insurer [Zurich Term Sheet], by year and by Local Council, what Abuse

                          Claims will be subject to the Channeling Injunction for Abuse Claims

                          Arising prior to January 1, 1976; and

                      b. With respect to BSA Insurance Policies issued by any Settling Insurer

                          [Zurich Term Sheet], by year, what Abuse Claims will be subject to the

                          Channeling Injunction for Abuse Claims that Arose on or after January 1,

                          1976.




                                                   2

IMPAC 7555691v.1
  EXHIBIT G



Filed Under Seal
  EXHIBIT H



Filed Under Seal
EXHIBIT I
From:                                 Ryan, Jeremy W.
Sent:                                 Tuesday, January 25, 2022 4:12 PM
To:                                   Abbott, Derek
Cc:                                   Andolina, Michael; Hershey, Samuel; Stulman, Aaron H.; Lauria (Boelter), Jessica; Linder,
                                      Matthew; Baccash, Laura; Warner, Blair; Kurtz, Glenn; Tiedemann, Robert; Hammond,
                                      Andrew; Thomas, Jennifer; Remming, Andrew; Topper, Paige; Remington, Tori; Martin,
                                      Ernest (External); Azer, Adrian (External); Schlecker, Elizabeth R.; Noa, Jesse L.; Cygal,
                                      Everett; Lloyd, Neil; Schufreider, Daniel
Subject:                              Re: [EXT] BSA - 30(b)(6) Deposition of Debtors


Derek,

We timely noticed a deposition on 1/13 to be held on 1/26. We sent out two requests to confer in keeping with our
obligations under FECP 30(b)(6), both of which were ignored by the Debtors. Instead the Debtors elected to wait until
the eve of the deposition and three days before discovery closes to serve responses and objections. Then the Debtors
demands a meet and confer on the scheduled date of the deposition. That is wholly inappropriate.

The local rules are clear that to properly forestall a deposition, the noticed party must file a motion to quash at least one
day prior to the noticed date. BSA did not do so. By rights, we could open the deposition tomorrow and make a record of
the failure of the Debtors to appear.

We are very comfortable with our proactive efforts and are happy to make sure the Court is aware of the Debtors’ last
minute efforts.


              Jeremy W. Ryan | Partner
              Potter Anderson & Corroon LLP | 1313 N. Market Street, 6th Floor | Wilmington, DE 19801-6108
              T +1 302.984.6108 | F +1 302.658.1192
              jryan@potteranderson.com | potteranderson.com




On Jan 25, 2022, at 12:47 PM, Abbott, Derek <DAbbott@morrisnichols.com> wrote:


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                               opening attachments, or responding to this message. **


Jeremy, I think it wholly inappropriate to file a motion to compel in light of the email chain below. If you file it, your
certification required under the local rules should indicate our position described on the emails in this chain and you
should attach them. We reserve all rights.

Derek

DEREK C. ABBOTT
Partner
Morris, Nichols, Arsht & Tunnell LLP
1201 North Market Street
P.O. Box 1347
                                                                      1
Wilmington, DE 19899-1347
(302) 351-9357 Office | (302) 593-4729 Cell
dabbott@morrisnichols.com | vcard | bio
www.morrisnichols.com

From: Ryan, Jeremy W. <jryan@potteranderson.com>
Sent: Tuesday, January 25, 2022 3:39 PM
To: Andolina, Michael <mandolina@whitecase.com>
Cc: Hershey, Samuel <sam.hershey@whitecase.com>; Stulman, Aaron H. <astulman@potteranderson.com>; Lauria
(Boelter), Jessica <jessica.lauria@whitecase.com>; Linder, Matthew <mlinder@whitecase.com>; Baccash, Laura
<laura.baccash@whitecase.com>; Warner, Blair <blair.warner@whitecase.com>; Kurtz, Glenn
<gkurtz@whitecase.com>; Tiedemann, Robert <rtiedemann@whitecase.com>; Hammond, Andrew
<ahammond@whitecase.com>; Thomas, Jennifer <jennifer.thomas@whitecase.com>; Abbott, Derek
<DAbbott@morrisnichols.com>; Remming, Andrew <ARemming@morrisnichols.com>; Topper, Paige
<ptopper@morrisnichols.com>; Remington, Tori <tremington@morrisnichols.com>; Martin, Ernest (External)
<Ernest.Martin@haynesboone.com>; Azer, Adrian (External) <Adrian.Azer@haynesboone.com>; Schlecker, Elizabeth R.
<eschlecker@potteranderson.com>; Noa, Jesse L. <jnoa@potteranderson.com>; Cygal, Everett
<ecygal@schiffhardin.com>; Lloyd, Neil <nlloyd@schiffhardin.com>; Schufreider, Daniel
<DSchufreider@schiffhardin.com>
Subject: Re: [EXT] RE: BSA - 30(b)(6) Deposition of Debtors

Mike,

The notice was served on 1/13. Discovery closes 1/28. BSA is taking 12 days to respond and object. We sent out requests
to confer on 1/16 and 1/23. BSA chose instead to wait and serve R&Os. You haven’t left us any choice but to get a
motion on file.


                  Jeremy W. Ryan | Partner
                  Potter Anderson & Corroon LLP | 1313 N. Market Street, 6th Floor | Wilmington, DE 19801-6108
                  T +1 302.984.6108 | F +1 302.658.1192
                  jryan@potteranderson.com | potteranderson.com

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On Jan 25, 2022, at 3:29 PM, Andolina, Michael <mandolina@whitecase.com> wrote:


Jeremy,

To be clear, it is totally inappropriate for you to file a motion to compel before meeting and conferring, particularly
when we have confirmed we intend to produce a witness.

It is also a waste of your clients’ resources, and the Debtors. Please let us know when you and Everett are free to
discuss, either today or tomorrow.

Thanks,

Mike

                                                                                 2
Michael Andolina | Partner
T +1 312 881 5388 M +1 773 531 0712 mandolina@whitecase.com
White & Case LLP | 111 South Wacker Drive, Suite 5100 | Chicago, IL 60606-4302




From: Ryan, Jeremy W. <jryan@potteranderson.com>
Date: Tuesday, Jan 25, 2022, 12:19 PM
To: Hershey, Samuel <sam.hershey@whitecase.com>
Cc: Stulman, Aaron H. <astulman@potteranderson.com>, Lauria (Boelter), Jessica <jessica.lauria@whitecase.com>, Andolina,
Michael <mandolina@whitecase.com>, Linder, Matthew <mlinder@whitecase.com>, Baccash, Laura
<laura.baccash@whitecase.com>, Warner, Blair <blair.warner@whitecase.com>, Kurtz, Glenn <gkurtz@whitecase.com>,
Tiedemann, Robert <rtiedemann@whitecase.com>, Hammond, Andrew <ahammond@whitecase.com>, Thomas, Jennifer
<jennifer.thomas@whitecase.com>, Abbott, Derek (External) <DAbbott@morrisnichols.com>, Remming, Andrew (External)
<ARemming@morrisnichols.com>, Topper, Paige (External) <ptopper@morrisnichols.com>, Remington, Tori (External)
<tremington@morrisnichols.com>, Martin, Ernest (External) <Ernest.Martin@haynesboone.com>, Azer, Adrian (External)
<Adrian.Azer@haynesboone.com>, Schlecker, Elizabeth R. <eschlecker@potteranderson.com>, Noa, Jesse L.
<jnoa@potteranderson.com>, Cygal, Everett <ecygal@schiffhardin.com>, Lloyd, Neil <nlloyd@schiffhardin.com>, Schufreider,
Daniel <DSchufreider@schiffhardin.com>
Subject: Re: [EXT] RE: BSA - 30(b)(6) Deposition of Debtors

Sam,

Yes. Sorry to prejudge your responses. I was preparing for a response along the lines of the carrier’s refusals to produce
witnesses on any of the salient topics.

We are preparing a motion to compel in the interests of time. As with last time, let’s continue the discussion for
profitable resolutions notwithstanding the need to get papers on the docket.

Everett and I will be at the mediation tomorrow so we should have flexibility. Please propose a time slot or two.

Thanks

Jeremy




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                  jryan@potteranderson.com | potteranderson.com

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On Jan 25, 2022, at 3:10 PM, Hershey, Samuel <sam.hershey@whitecase.com> wrote:


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                                                                                 3
Hi Jeremy,

To be clear, we are willing to put up a witness, subject to meeting and conferring on the topics. Do you want to set a time
for the meet and confer tomorrow?

Best,
Sam

Samuel P. Hershey | Partner
T +1 (212) 819-2699 M +1 (914) 582-1628 E sam.hershey@whitecase.com
White & Case LLP | 1221 Avenue of the Americas | New York, NY 10020-1095




From: Ryan, Jeremy W. <jryan@potteranderson.com>
Sent: Tuesday, January 25, 2022 2:37 PM
To: Hershey, Samuel <sam.hershey@whitecase.com>
Cc: Stulman, Aaron H. <astulman@potteranderson.com>; Lauria (Boelter), Jessica <jessica.lauria@whitecase.com>;
Andolina, Michael <mandolina@whitecase.com>; Linder, Matthew <mlinder@whitecase.com>; Baccash, Laura
<laura.baccash@whitecase.com>; Warner, Blair <blair.warner@whitecase.com>; Kurtz, Glenn
<gkurtz@whitecase.com>; Tiedemann, Robert <rtiedemann@whitecase.com>; Hammond, Andrew
<ahammond@whitecase.com>; Thomas, Jennifer <jennifer.thomas@whitecase.com>; Abbott, Derek (External)
<DAbbott@morrisnichols.com>; Remming, Andrew (External) <ARemming@morrisnichols.com>; Topper, Paige
(External) <ptopper@morrisnichols.com>; Remington, Tori (External) <tremington@morrisnichols.com>; Martin, Ernest
(External) <Ernest.Martin@haynesboone.com>; Azer, Adrian (External) <Adrian.Azer@haynesboone.com>; Schlecker,
Elizabeth R. <eschlecker@potteranderson.com>; Noa, Jesse L. <jnoa@potteranderson.com>; Cygal, Everett
<ecygal@schiffhardin.com>; Lloyd, Neil <nlloyd@schiffhardin.com>; Schufreider, Daniel
<DSchufreider@schiffhardin.com>
Subject: Re: [EXT] RE: BSA - 30(b)(6) Deposition of Debtors

Sam,

Thanks. We will take a look at the responses when served. Given the amount of time it is taking to respond, the close of
discovery and the upcoming plan objection deadline, it appears that we will have run out of time for meet and confers if
BSA is not willing to put up a witness on the settlements.


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                  T +1 302.984.6108 | F +1 302.658.1192
                  jryan@potteranderson.com | potteranderson.com

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On Jan 25, 2022, at 10:43 AM, Hershey, Samuel <sam.hershey@whitecase.com> wrote:


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                       links, opening attachments, or responding to this message. **

                                                                                 4
Hi Jeremy,

We will send R&Os by the end of today. Can you please let me know times that work for you tomorrow to meet and
confer?

Best,
Sam

Samuel P. Hershey | Partner
T +1 (212) 819-2699 M +1 (914) 582-1628 E sam.hershey@whitecase.com
White & Case LLP | 1221 Avenue of the Americas | New York, NY 10020-1095




From: Ryan, Jeremy W. <jryan@potteranderson.com>
Sent: Sunday, January 23, 2022 1:07 PM
To: Hershey, Samuel <sam.hershey@whitecase.com>
Cc: Stulman, Aaron H. <astulman@potteranderson.com>; Lauria (Boelter), Jessica <jessica.lauria@whitecase.com>;
Andolina, Michael <mandolina@whitecase.com>; Linder, Matthew <mlinder@whitecase.com>; Baccash, Laura
<laura.baccash@whitecase.com>; Warner, Blair <blair.warner@whitecase.com>; Kurtz, Glenn
<gkurtz@whitecase.com>; Tiedemann, Robert <rtiedemann@whitecase.com>; Hammond, Andrew
<ahammond@whitecase.com>; Thomas, Jennifer <jennifer.thomas@whitecase.com>; Abbott, Derek (External)
<DAbbott@morrisnichols.com>; Remming, Andrew (External) <ARemming@morrisnichols.com>; Topper, Paige
(External) <ptopper@morrisnichols.com>; Remington, Tori (External) <tremington@morrisnichols.com>; Martin, Ernest
(External) <Ernest.Martin@haynesboone.com>; Azer, Adrian (External) <Adrian.Azer@haynesboone.com>; Schlecker,
Elizabeth R. <eschlecker@potteranderson.com>; Noa, Jesse L. <jnoa@potteranderson.com>; Cygal, Everett
<ecygal@schiffhardin.com>; Lloyd, Neil <nlloyd@schiffhardin.com>; Schufreider, Daniel
<DSchufreider@schiffhardin.com>
Subject: Re: [EXT] RE: BSA - 30(b)(6) Deposition of Debtors

Sam,

Thanks so much.

Talk early this week then.

Jeremy


                  Jeremy W. Ryan | Partner
                  Potter Anderson & Corroon LLP | 1313 N. Market Street, 6th Floor | Wilmington, DE 19801-6108
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                  jryan@potteranderson.com | potteranderson.com

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On Jan 23, 2022, at 12:45 PM, Hershey, Samuel <sam.hershey@whitecase.com> wrote:


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                                                                                 5
Hi Jeremy,

Apologies for the confusion. We thought there had been follow-up on this point, though it may have fallen through the
cracks given everything going on. We intend to serve responses and objections shortly and to meet and confer about the
deposition. We appreciate your willingness to accommodate and will send a proposed date for next week shortly.

Best,
Sam

Samuel P. Hershey | Partner
T +1 (212) 819-2699 M +1 (914) 582-1628 E sam.hershey@whitecase.com
White & Case LLP | 1221 Avenue of the Americas | New York, NY 10020-1095




From: Ryan, Jeremy W. <jryan@potteranderson.com>
Sent: Sunday, January 23, 2022 12:36 PM
To: Stulman, Aaron H. <astulman@potteranderson.com>; Lauria (Boelter), Jessica <jessica.lauria@whitecase.com>;
Andolina, Michael <mandolina@whitecase.com>; Linder, Matthew <mlinder@whitecase.com>; Baccash, Laura
<laura.baccash@whitecase.com>; Warner, Blair <blair.warner@whitecase.com>; Hershey, Samuel
<sam.hershey@whitecase.com>; Kurtz, Glenn <gkurtz@whitecase.com>; Tiedemann, Robert
<rtiedemann@whitecase.com>; Hammond, Andrew <ahammond@whitecase.com>; Thomas, Jennifer
<jennifer.thomas@whitecase.com>; Abbott, Derek (External) <DAbbott@morrisnichols.com>; Remming, Andrew
(External) <ARemming@morrisnichols.com>; Topper, Paige (External) <ptopper@morrisnichols.com>; Remington, Tori
(External) <tremington@morrisnichols.com>; Martin, Ernest (External) <Ernest.Martin@haynesboone.com>; Azer,
Adrian (External) <Adrian.Azer@haynesboone.com>
Cc: Schlecker, Elizabeth R. <eschlecker@potteranderson.com>; Noa, Jesse L. <jnoa@potteranderson.com>; Cygal,
Everett <ecygal@schiffhardin.com>; Lloyd, Neil <nlloyd@schiffhardin.com>; Schufreider, Daniel
<DSchufreider@schiffhardin.com>
Subject: RE: BSA - 30(b)(6) Deposition of Debtors

Counsel,

Forgive me if I missed it, but I do not think I saw a response to the below, any objections to the depositions or
a request for a meet and confer from BSA. Accordingly, we will plan on the deposition going forward as
noticed.

Regards,

Jeremy



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                                                                                 6
From: Stulman, Aaron H. <astulman@potteranderson.com>
Sent: Sunday, January 16, 2022 1:13 PM
To: jessica.lauria@whitecase.com; mandolina@whitecase.com; mlinder@whitecase.com;
laura.baccash@whitecase.com; blair.warner@whitecase.com; sam.hershey@whitecase.com; gkurtz@whitecase.com;
rtiedemann@whitecase.com; ahammond@whitecase.com; Jennifer.thomas@whitecase.com;
DAbbott@morrisnichols.com; aremming@morrisnichols.com; ptopper@morrisnichols.com;
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Cc: Ryan, Jeremy W. <jryan@potteranderson.com>; Schlecker, Elizabeth R. <eschlecker@potteranderson.com>; Noa,
Jesse L. <jnoa@potteranderson.com>; Cygal, Everett <ecygal@schiffhardin.com>; Lloyd, Neil
<nlloyd@schiffhardin.com>; Schufreider, Daniel <DSchufreider@schiffhardin.com>
Subject: BSA - 30(b)(6) Deposition of Debtors

Counsel,

As you know, the Roman Catholic Ad Hoc Committee (the “RCAHC”) issued a notice of deposition (attached for your
convenience) to your client last week with respect to insurance settlements. While we took the liberty of inserting a
placeholder date of January 26, 2022 at 10am ET that complies with the notice requirements under the Local Bankruptcy
Rules, we write to inquire of dates when your client will have an available witness and for disclosure of that witness if
the proposed date is not possible. As you know, January 28, 2022 is the deadline for completing depositions. However,
the RCAHC is willing to have some flexibility, mindful that February 4 is the current deadline for objections to
confirmation.

Please let us know at your earliest convenience. Thanks.

Aaron


             Aaron H. Stulman | Associate
             Potter Anderson & Corroon LLP | 1313 N. Market Street, 6th Floor | Wilmington, DE 19801-6108
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                                                              8
EXHIBIT J
                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


    In re:                                                  Chapter 11

    BOY SCOUTS OF AMERICA AND                               Case No. 20-10343 (LSS)
    DELAWARE BSA, LLC,1
                                                            (Jointly Administered)
                            Debtors.



                 DEBTORS’ RESPONSES AND OBJECTIONS TO THE ROMAN
               CATHOLIC AD HOC COMMITTEE’S NOTICE OF DEPOSITION TO
                 THE BOY SCOUTS OF AMERCIA AND DELAWARE BSA, LLC

             Boy Scouts of America (“BSA”) and Delaware BSA, LLC, the non-profit corporations that

are debtors and debtors in possession in the above-captioned chapter 11 cases (together, the

“Debtors”), by and through their undersigned counsel, hereby respond and object, without

prejudice and while reserving all rights, to The Roman Catholic Ad Hoc Committee’s Notice of

Deposition to The Boy Scouts of America and Delaware BSA, LLC (the “Notice”)2 served on the

Debtors on January 13, 2022 by Roman Catholic Ad Hoc Committee (the “RCAHC”) as follows:

                            GENERAL RESPONSES AND OBJECTIONS

             The following general objections (the “General Objections”) apply to each Definition and

topic, and shall have the same force and effect as if fully set forth in the response to each individual

topic. To the extent that the Debtors respond to a topic, the Debtors reserve all objections as to

relevance, materiality, competence, confidentiality, propriety, privilege, and admissibility, as well



1
      The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax
      identification number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311).
      The Debtors’ mailing address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
2
      Capitalized terms used but not defined herein shall have the meanings set forth in the Notice.
as to any and all other objections on any ground that would require or permit the exclusion of the

testimony, or any portion of the testimony, if the testimony were offered into evidence. The

Debtors object to the Notice as follows:

       1.      The Debtors object to each of the topics to the extent that they purport to impose

any requirements or discovery obligations upon the Debtors that are broader than, or inconsistent

with, those required or allowed by the Federal Rules of Civil Procedure, as incorporated by the

Federal Rules of Bankruptcy Procedure, the Local Rules of the United States District Court for the

District of Delaware, and the Local Rules for the United States Bankruptcy Court for the District

of Delaware (collectively, the “Rules”), or other applicable laws, rules, court orders, or regulations.

       2.      The Debtors object to each of the topics to the extent that they seek information

whose disclosure would violate the privacy rights of any individual, confidentiality agreements or

arrangements between the Debtors and any of their stakeholders or other persons, the

confidentiality of settlement discussions or agreements, the confidentiality of mediation

discussions or communications, court orders restricting the disclosure of information, or that

would result in the disclosure of confidential commercial information, trade secrets, or proprietary

information (“Confidential Information”).

       3.      The Debtors object to the Notice, and each of the topics, as unduly burdensome,

harassing, oppressive, and not proportional to the needs of the case, to the extent that the Notice

purports to define “Debtors” to include unidentified and/or unidentifiable persons or entities other

than debtors, Boy Scouts of America and Delaware BSA LLC. Any testimony provided by the

Debtors in response to the Notice will only be on behalf of the Debtors, and not on behalf of any

other person or entity.




                                                  2
       4.      The Debtors object to each of the topics to the extent that the topic purports to

require a witness to disclose communications or information that is protected by the attorney-client

privilege, the attorney work-product doctrine, the common interest or joint defense privilege, the

settlement privilege, the mediation privilege, or any other protection, privilege or immunity

(“Privileged Information”).

       5.      The Debtors object to each of the topics to the extent that the topic purports to

require a witness to answer a contention interrogatory on the Debtor’s behalf. Rule 30(b)(6) topics

that require a witness to review a particular document (e.g., the Plan), marshal and identify (from

memory) all of the facts that might support or relate to a statement made in the particular document,

and then provide answers that are identical to the information that would be provided in an answer

to a contention interrogatory, are improper. See, e.g., Kinetic Concepts, Inc. v. Convatec Inc., 268

F.R.D. 255 (M.D.N.C. 2010) (granting motion for protective order as to 30(b)(6) deposition topic

seeking contention testimony); JPMorgan Chase Bank v. Liberty Mut. Ins. Co., 209 F.R.D. 361,

362 (S.D.N.Y. 2002) (“depositions, including 30(b)(6) depositions, are designed to discover facts,

not contentions or legal theories, which, to the extent discoverable at all prior to trial, must be

discovered by other means”); American Nat’l Red Cross v. Travelers Indem. Co. of Rhode Island,

896 F. Supp. 8, 14 (D.D.C. 1995) (when deposing counsel requested a description of the “facts

and documents which [the opposing party] contends supports” each of its affirmative defenses,

deposing counsel “was asking questions that intruded upon protected work product; in effect, what

[deposing counsel] was requesting was insight into [the opposing side’s] defense plan”).

       6.      The Debtors object to each of the topics to the extent that the topic would require

the Debtors’ 30(b)(6) witness to provide legal conclusions. See, e.g., Yahoo!, Inc. v. MyMail, Ltd.,

Case No. 16-cv-07044-EJD (SVK), 2017 U.S. Dist. LEXIS 76154, at *6-8 (N.D. Cal. May 18,

                                                 3
2017); see also Transcript of Hearing at 241:5-7, In re Imerys Talc America, No. 19-10289 (LSS)

(Jun. 22, 2021) (ordering that 30(b)(6) examination of insurers be “limited to facts and not legal

conclusions”).

       7.        The Debtors object to each of the topics to the extent that they violate Delaware

Local Rule 9019-5(d)(i), which provides that “no person shall seek discovery from any participant

in the mediation with respect to any information disclosed during mediation,” and the Order

(I) Appointing Mediators, (II) Referring Certain Matters to Mediation, and (III) Granting Related

Relief [D.I. 812] (the “Mediation Order”), which incorporates that rule. See Mediation Order ¶ 7.

Local Rule 9019-5(d)(i) also provides that “the participants in mediation are prohibited from

divulging, outside of the mediation, any oral or written information disclosed by the parties or by

witnesses in the course of the mediation.” Del. L. Bankr. R. 9019-5(d)(i). The Debtors will not

divulge such information.

       8.        The Debtors object to each of the topics to the extent that they seek information

which is publicly available, or already in the possession, custody, or control of the RCAHC, or is

more readily or equally available from any other party to the above-captioned action, without

subjecting the Debtors to unnecessary burden or expense.

       9.        The Debtors object to each of the topics to the extent that they seek disclosure of

information that is unreasonably cumulative or duplicative, including but not limited to, any and

all topics that seek disclosure of information that is cumulative or duplicative of documents or

information received from, or more appropriately sought from, some other source that is more

convenient, less burdensome, or less expensive.

       10.       The Debtors object to each of the topics to the extent that they are overly broad or

unduly burdensome, fail to identify the information sought with reasonable particularity, or seek

                                                  4
information that is outside the scope of discovery permitted by the Rules, or any other applicable

rules or orders.

       11.     The Debtors object to each of the topics to the extent they prematurely seek facts

or information that is the subject of ongoing discovery, including, without limitation, discovery

regarding voting.

       12.     The Debtors object to each of the topics to the extent that they impose unreasonable

annoyance, expense, disadvantage, or other prejudice on the Debtors.

       13.     The Debtors object to each of the topics to the extent they are unclear, overly broad,

unlimited in time, unduly burdensome, harassing, and/or oppressive, fail to identify the

information sought with reasonable particularity, seek information that is not relevant to

confirmation of the Chapter 11 Plan, and/or are not reasonably calculated to lead to the discovery

of admissible documents or information proportional to the needs of the case, considering the

importance of the issues at stake in the action, the amount in controversy, the parties’ relative

access to relevant information, the parties’ resources, the importance of the discovery in resolving

the issues, and whether the burden or expense of the proposed discovery outweighs its likely

benefit. Unless otherwise stated, any testimony that the Debtors provide shall be limited to the

following time period: the Petition Date to the present.

       14.     The Debtors object to the terms or phrases defined or used in the Notice to the

extent that those terms and phrases are vague or ambiguous or beyond their customary meanings.

The Debtors have done their best to understand the terms in the Notice as used in context, but the

Debtors make their responses and objections based on their understanding of such terms and the

Debtors reserve the right to amend the responses and objections herein if the RCAHC asserts

meanings of such terms that are different from those employed by the Debtors.

                                                 5
          15.   The Debtors object to the Notice to the extent that it contains any factual or legal

misrepresentation.

          16.   Nothing herein shall be construed as an admission concerning the admissibility or

the relevance of any documents or information, an admission that documents or information exist,

or an admission of the truth or accuracy of any characterization or assertion contained in the

Notice.

          17.   No specific objection to any Definition or topic is to be construed as a waiver of

any general objection applicable to that Definition or topic.

          18.   The Debtors’ failure to object to a Definition or topic on a particular ground shall

not be construed as a waiver of their right to object on that ground or any additional ground at any

time.

          19.   The Debtors do not in any way waive or intend to waive, but rather preserve and

intend to preserve: (a) all rights to object on any ground to the use of any testimony given in

response to the Notice or the subject matter thereof, in any subsequent proceeding; and (b) all

rights to object on any ground to any other deposition notice.

          20.   The Debtors’ responses and objections to the Notice and each of the topics are made

to the best of their present knowledge, information and belief. The objections are made without

prejudice to the assertion of additional objections and responses by the Debtors at a later date. The

Debtors reserve the right to supplement and amend any or all of their responses and objections to

the Notice and each of the topics, pursuant to Bankruptcy Rule 7026, Federal Rule 26(e), any other

applicable Rule and any order of this Court.




                                                 6
                      OBJECTIONS TO TOPICS LISTED IN NOTICE

Topic No. 1:

The treatment of Claims of Chartered Organizations under the Plan and Trust Distribution

Procedures.

        Objections to Topic No. 1:

        The Debtors incorporate their General Objections as if fully set forth herein. The Debtors

object to this topic to the extent it purports to require the Debtors to designate a witness to testify

on their behalf concerning Confidential Information and Privileged Information. The Debtors

further object to this topic to the extent it purports to require the Debtors to designate a witness to

testify on their behalf concerning information that is protected from disclosure under Fed. R. Civ.

P. 26(b)(4)(B) or (D). The Debtors further object to this topic as overly broad, unduly burdensome

and harassing because it fails to provide a reasonable and narrowly tailored subject matter for the

topic. The Debtors further object to this topic to the extent it seeks information that is publicly

available or that is already within the RCAHC’s possession, custody or control. The Debtors

further object to this topic to the extent it seeks testimony regarding legal documents that speak

for themselves.

        Subject to the foregoing objections, the Debtors will designate a witness to testify as to

facts regarding the treatment of Claims of Chartered Organizations generally under the Plan and

TDPs.

Topic No. 2:

The Century and Chubb Companies Insurance Settlement Agreement.




                                                  7
       Objections to Topic No. 2:

       The Debtors incorporate their General Objections as if fully set forth herein. The Debtors

object to this topic to the extent it purports to require the Debtors to designate a witness to testify

on their behalf concerning Confidential Information and Privileged Information. The Debtors

further object to this topic to the extent it purports to require the Debtors to designate a witness to

testify on their behalf concerning information that is protected from disclosure under Fed. R. Civ.

P. 26(b)(4)(B) or (D). The Debtors further object to this topic as overly broad, unduly burdensome

and harassing because it fails to provide a reasonable and narrowly tailored subject matter for the

topic. The Debtors further object to this topic to the extent it seeks information that is publicly

available or that is already within the RCAHC’s possession, custody or control. The Debtors

further object to this topic to the extent it seeks testimony regarding legal documents that speak

for themselves.

       Subject to the foregoing objections, the Debtors propose to meet and confer with the

RCAHC regarding narrowing this topic.

Topic No. 3:

The Century and Chubb Companies Term Sheet.

       Objections to Topic No. 3:

       The Debtors incorporate their General Objections as if fully set forth herein. The Debtors

object to this topic to the extent it purports to require the Debtors to designate a witness to testify

on their behalf concerning Confidential Information and Privileged Information. The Debtors

further object to this topic to the extent it purports to require the Debtors to designate a witness to

testify on their behalf concerning information that is protected from disclosure under Fed. R. Civ.

P. 26(b)(4)(B) or (D). The Debtors further object to this topic as overly broad, unduly burdensome

                                                  8
and harassing because it fails to provide a reasonable and narrowly tailored subject matter for the

topic. The Debtors further object to this topic to the extent it seeks information that is publicly

available or that is already within the RCAHC’s possession, custody or control. The Debtors

further object to this topic to the extent it seeks testimony regarding legal documents that speak

for themselves.

       Subject to the foregoing objections, the Debtors propose to meet and confer with the

RCAHC regarding narrowing this topic.

Topic No. 4:

Hartford Insurance Settlement Agreement.

       Objections to Topic No. 4:

       The Debtors incorporate their General Objections as if fully set forth herein. The Debtors

object to this topic to the extent it purports to require the Debtors to designate a witness to testify

on their behalf concerning Confidential Information and Privileged Information. The Debtors

further object to this topic to the extent it purports to require the Debtors to designate a witness to

testify on their behalf concerning information that is protected from disclosure under Fed. R. Civ.

P. 26(b)(4)(B) or (D). The Debtors further object to this topic as overly broad, unduly burdensome

and harassing because it fails to provide a reasonable and narrowly tailored subject matter for the

topic. The Debtors further object to this topic to the extent it seeks information that is publicly

available or that is already within the RCAHC’s possession, custody or control. The Debtors

further object to this topic to the extent it seeks testimony regarding legal documents that speak

for themselves.

       Subject to the foregoing objections, the Debtors propose to meet and confer with the

RCAHC regarding narrowing this topic.

                                                  9
Topic No. 5:

Hartford Term Sheet.

       Objections to Topic No. 5:

       The Debtors incorporate their General Objections as if fully set forth herein. The Debtors

object to this topic to the extent it purports to require the Debtors to designate a witness to testify

on their behalf concerning Confidential Information and Privileged Information. The Debtors

further object to this topic to the extent it purports to require the Debtors to designate a witness to

testify on their behalf concerning information that is protected from disclosure under Fed. R. Civ.

P. 26(b)(4)(B) or (D). The Debtors further object to this topic as overly broad, unduly burdensome

and harassing because it fails to provide a reasonable and narrowly tailored subject matter for the

topic. The Debtors further object to this topic to the extent it seeks information that is publicly

available or that is already within the RCAHC’s possession, custody or control. The Debtors

further object to this topic to the extent it seeks testimony regarding legal documents that speak

for themselves.

       Subject to the foregoing objections, the Debtors propose to meet and confer with the

RCAHC regarding narrowing this topic.

Topic No. 6:

The Zurich Settlement Term Sheet [Docket No. 7928].

       Objections to Topic No. 6:

       The Debtors incorporate their General Objections as if fully set forth herein. The Debtors

object to this topic to the extent it purports to require the Debtors to designate a witness to testify

on their behalf concerning Confidential Information and Privileged Information. The Debtors

further object to this topic to the extent it purports to require the Debtors to designate a witness to

                                                  10
testify on their behalf concerning information that is protected from disclosure under Fed. R. Civ.

P. 26(b)(4)(B) or (D). The Debtors further object to this topic as overly broad, unduly burdensome

and harassing because it fails to provide a reasonable and narrowly tailored subject matter for the

topic. The Debtors further object to this topic to the extent it seeks information that is publicly

available or that is already within the RCAHC’s possession, custody or control. The Debtors

further object to this topic to the extent it seeks testimony regarding legal documents that speak

for themselves.

       Subject to the foregoing objections, the Debtors propose to meet and confer with the

RCAHC regarding narrowing this topic.

Topic No. 7:

The Zurich Insurance Settlement Agreement [Docket No. TBD].

       Objections to Topic No. 7:

       The Debtors incorporate their General Objections as if fully set forth herein. The Debtors

object to this topic to the extent it purports to require the Debtors to designate a witness to testify

on their behalf concerning Confidential Information and Privileged Information. The Debtors

further object to this topic to the extent it purports to require the Debtors to designate a witness to

testify on their behalf concerning information that is protected from disclosure under Fed. R. Civ.

P. 26(b)(4)(B) or (D). The Debtors further object to this topic as overly broad, unduly burdensome

and harassing because it fails to provide a reasonable and narrowly tailored subject matter for the

topic. The Debtors further object to this topic to the extent it seeks information that is publicly

available or that is already within the RCAHC’s possession, custody or control. The Debtors

further object to this topic to the extent it seeks testimony regarding legal documents that speak

for themselves.

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       Subject to the foregoing objections, the Debtors propose to meet and confer with the

RCAHC regarding narrowing this topic.

Topic No. 8:

Clarendon Term Sheet [Docket No. 8095].

       Objections to Topic No. 8:

       The Debtors incorporate their General Objections as if fully set forth herein. The Debtors

object to this topic to the extent it purports to require the Debtors to designate a witness to testify

on their behalf concerning Confidential Information and Privileged Information. The Debtors

further object to this topic to the extent it purports to require the Debtors to designate a witness to

testify on their behalf concerning information that is protected from disclosure under Fed. R. Civ.

P. 26(b)(4)(B) or (D). The Debtors further object to this topic as overly broad, unduly burdensome

and harassing because it fails to provide a reasonable and narrowly tailored subject matter for the

topic. The Debtors further object to this topic to the extent it seeks information that is publicly

available or that is already within the RCAHC’s possession, custody or control. The Debtors

further object to this topic to the extent it seeks testimony regarding legal documents that speak

for themselves.

       Subject to the foregoing objections, the Debtors propose to meet and confer with the

RCAHC regarding narrowing this topic.

Topic No. 9:

Clarendon Insurance Settlement Agreement [Docket No. TBD].

       Objections to Topic No. 9:

       The Debtors incorporate their General Objections as if fully set forth herein. The Debtors

object to this topic to the extent it purports to require the Debtors to designate a witness to testify

                                                  12
on their behalf concerning Confidential Information and Privileged Information. The Debtors

further object to this topic to the extent it purports to require the Debtors to designate a witness to

testify on their behalf concerning information that is protected from disclosure under Fed. R. Civ.

P. 26(b)(4)(B) or (D). The Debtors further object to this topic as overly broad, unduly burdensome

and harassing because it fails to provide a reasonable and narrowly tailored subject matter for the

topic. The Debtors further object to this topic to the extent it seeks information that is publicly

available or that is already within the RCAHC’s possession, custody or control. The Debtors

further object to this topic to the extent it seeks testimony regarding legal documents that speak

for themselves.

       Subject to the foregoing objections, the Debtors propose to meet and confer with the

RCAHC regarding narrowing this topic.

Topic No. 10:

Paragraphs 8, 9 and 11 of the Century Term Sheet.

       Objections to Topic No. 10:

       The Debtors incorporate their General Objections as if fully set forth herein. The Debtors

object to this topic to the extent it purports to require the Debtors to designate a witness to testify

on their behalf concerning Confidential Information and Privileged Information. The Debtors

further object to this topic to the extent it purports to require the Debtors to designate a witness to

testify on their behalf concerning information that is protected from disclosure under Fed. R. Civ.

P. 26(b)(4)(B) or (D). The Debtors further object to this topic as overly broad, unduly burdensome

and harassing because it fails to provide a reasonable and narrowly tailored subject matter for the

topic. The Debtors further object to this topic to the extent it seeks information that is publicly

available or that is already within the RCAHC’s possession, custody or control. The Debtors

                                                  13
further object to this topic to the extent it seeks testimony regarding legal documents that speak

for themselves.

       Subject to the foregoing objections, the Debtors propose to meet and confer with the

RCAHC regarding narrowing this topic.

Topic No. 11:

BSA Insurance Policies.

       Objections to Topic No. 11:

       The Debtors incorporate their General Objections as if fully set forth herein. The Debtors

object to this topic to the extent it purports to require the Debtors to designate a witness to testify

on their behalf concerning Confidential Information and Privileged Information. The Debtors

further object to this topic to the extent it purports to require the Debtors to designate a witness to

testify on their behalf concerning information that is protected from disclosure under Fed. R. Civ.

P. 26(b)(4)(B) or (D). The Debtors further object to this topic as overly broad, unduly burdensome

and harassing because it fails to provide a reasonable and narrowly tailored subject matter for the

topic. The Debtors further object to this topic to the extent it seeks information that is publicly

available or that is already within the RCAHC’s possession, custody or control. The Debtors

further object to this topic to the extent it seeks testimony regarding legal documents that speak

for themselves.

       Subject to the foregoing objections, the Debtors propose to meet and confer with the

RCAHC regarding narrowing this topic.




                                                  14
Topic No. 12:

Which Abuse Claims against insureds and co-insureds covered under insurance policies issued by

any Settling Insurance Company will be channeled under the Settling Insurer Policy Injunction

[Century Term Sheet] or the Channeling Injunction [Plan].

       Objections to Topic No. 12:

       The Debtors incorporate their General Objections as if fully set forth herein. The Debtors

object to this topic to the extent it purports to require the Debtors to designate a witness to testify

on their behalf concerning Confidential Information and Privileged Information. The Debtors

further object to this topic to the extent it purports to require the Debtors to designate a witness to

testify on their behalf concerning information that is protected from disclosure under Fed. R. Civ.

P. 26(b)(4)(B) or (D). The Debtors further object to this topic as overly broad, unduly burdensome

and harassing because it fails to provide a reasonable and narrowly tailored subject matter for the

topic. The Debtors further object to this topic to the extent it seeks information that is publicly

available or that is already within the RCAHC’s possession, custody or control. The Debtors

further object to this topic to the extent it seeks testimony regarding legal documents that speak

for themselves. The Debtors further object to this topic to the extent it seeks a legal conclusion.

       Subject to the foregoing objections, the Debtors propose to meet and confer with the

RCAHC regarding this topic.

Topic No. 13:

Which BSA Insurance Policies cover Abuse Claims against insureds and co-insureds.

       Objections to Topic No. 13:

       The Debtors incorporate their General Objections as if fully set forth herein. The Debtors

object to this topic to the extent it purports to require the Debtors to designate a witness to testify

                                                  15
on their behalf concerning Confidential Information and Privileged Information. The Debtors

further object to this topic to the extent it purports to require the Debtors to designate a witness to

testify on their behalf concerning information that is protected from disclosure under Fed. R. Civ.

P. 26(b)(4)(B) or (D). The Debtors further object to this topic as overly broad, unduly burdensome

and harassing because it fails to provide a reasonable and narrowly tailored subject matter for the

topic. The Debtors further object to this topic to the extent it seeks information that is publicly

available or that is already within the RCAHC’s possession, custody or control. The Debtors

further object to this topic to the extent it seeks testimony regarding legal documents that speak

for themselves. The Debtors further object to this topic to the extent it seeks a legal conclusion.

       Subject to the foregoing objections, the Debtors propose to meet and confer with the

RCAHC regarding this topic.

Topic No. 14:

The scope of the Channeling Injunction for claims against Participating Chartered Organizations,

including:

       a. By year and by Local Council what Abuse Claims will be subject to the Channeling

       Injunction for Abuse Claims Arising prior to January 1, 1976; and

        b. By year, what Abuse Claims will be subject to the Channeling Injunction for Abuse

       Claims that Arose on or after January 1, 1976.

       Objections to Topic No. 14:

       The Debtors incorporate their General Objections as if fully set forth herein. The Debtors

object to this topic to the extent it purports to require the Debtors to designate a witness to testify

on their behalf concerning Confidential Information and Privileged Information. The Debtors

further object to this topic to the extent it purports to require the Debtors to designate a witness to

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testify on their behalf concerning information that is protected from disclosure under Fed. R. Civ.

P. 26(b)(4)(B) or (D). The Debtors further object to this topic as overly broad, unduly burdensome

and harassing because it fails to provide a reasonable and narrowly tailored subject matter for the

topic. The Debtors further object to this topic to the extent it seeks information that is publicly

available or that is already within the RCAHC’s possession, custody or control. The Debtors

further object to this topic to the extent it seeks testimony regarding legal documents that speak

for themselves. The Debtors further object to this topic to the extent it seeks a legal conclusion.

       Subject to the foregoing objections, the Debtors propose to meet and confer with the

RCAHC regarding this topic.




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Dated: January 25, 2022

/s/ Samuel P. Hershey                              MORRIS, NICHOLS, ARSHT & TUNNELL LLP
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